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            IN THE UNITED STATES COURT OF APPEALS
                    FOR THE THIRD CIRCUIT

                            No. 19-2562
__________________________________________________________________

                              SIERRA CLUB,
                                         Petitioner,
                                   v.

    UNITED STATES ENVIRONMENTAL PROTECTION AGENCY,
                                      Respondent.
 ________________________________________________________________

           On Petition for Review of Final Agency Action of the
              United States Environmental Protection Agency
__________________________________________________________________

                JOINT APPENDIX, Vol. II, pp. 26-358
__________________________________________________________________

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    MATERIALS APPEARING IN THE ADMINISTRATIVE RECORD
              Proposed Rule and Technical Support Documents
                    Document                           Excerpted Pages JA Page
EPA Proposed Rule, Approval and Promulgation           All             JA026
of Air Quality Implementation Plans;
Pennsylvania; Regulatory Amendments Addressing
Reasonably Available Control Technology
Requirements Under the 1997 and 2008 8-Hour
Ozone National Ambient Air Quality Standards, 83
Fed. Reg. 11,155 (Mar. 14, 2018), EPA-R03-OAR-
2017-0290-0001 (Certified Doc. No. A-1)
EPA, Technical Support Document (#1) for the           All                 JA034
Pennsylvania State Implementation Plan Revision
for Certain Reasonably Available Control
Technology Requirements under the 1997 and
2008 8-hour Ozone National Ambient Air Quality
Standard (Feb. 22, 2018), EPA-R03-OAR-2017-
0290-0017 (Certified Doc. No. A-3)
Appendix B – Comparison NOx State Regulations,         All                 JA075
EPA-R03-OAR-2017-0290-0017, Appendix B
(Certified Doc. No. A-3(b))
EPA, Technical Support Document (#2)—Cost              All                 JA080
Effective Analyses for Coal Fired Boilers (Feb. 22,
2018), EPA-R03-OAR-2017-0290-0018 (Certified
Doc. No. A-4)
EPA, Air Pollution Cost Control Manual, Section        Ch. 2 Title Page,   JA106
4—NOx Controls, Chapter 2 (May 2016, rev. Nov.         Contents,
2017), EPA-R03-OAR-2017-0290-0047 (Certified           2-2 to 2-45
Doc. No. A-4(h))




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                       EPA Guidances and Memorandums
                     Document                          Excerpted Pages JA Page
EPA, December 9, 1976 mem. from Roger Strelow,         All             JA152
Assistant Adm’r for Air and Waste Mgmt., to Reg’l
Adm’rs, “Guidance for Determining Acceptability
of SIP Regulations in Non-Attainment Areas,”
EPA-R03-OAR-2017-0290-0096 (Certified Doc.
No. E-1)
EPA, Mar. 16, 1994 mem. “Cost-Effective                All                 JA157
Nitrogen Oxides (NOx) Reasonably Available
Control Technology (RACT),” EPA-R03-OAR-
2017-0290-0099 (Certified Doc. No. E-5)
CAM Technical Guidance Document, B.15                  All                 JA162
Selective Catalytic Reduction, EPA-R03-OAR-
2017-0290-0098 (Certified Doc. No. E-6)
EPA, Alternative Control Techniques Document—          Front Matter,       JA168
NOx Emissions from Utility Boilers (Mar. 1994),        1-1 to 1-2,
EPA-R03-OAR-2017-0290-0097 (Certified Doc.             2-1 to 2-43,
No. E-7)                                               5-1,
                                                       5-128 to 5-134

         State SIP Revision Submittals and Other State Documents
                   Document                            Excerpted Pages JA Page
PADEP, SIP Submittal, Proposed Rulemaking,             All             JA225
Additional RACT Requirements for Major Sources
of NOx & VOCs, 44 Pa.B. 2,392 (Apr. 19, 2014),
EPA-R03-2017-0290-0002 (Certified Doc. No. B-
2)
PADEP, RACT II Rule Comment Response                   Cover Page,         JA238
Document for the DEP Rulemaking “Additional            2–4,
RACT Requirements for Major Sources of NOx             18–61,
and VOCs”, 25 Pa. Code Chapters 121 and 129, 44        79–80,
Pa.B. 2,392-2404 (April 19, 2014), Environmental       104–05,
Quality Board Regulation #7-485 and Independent        110
Regulatory Review Commission #3052, EPA-R03-
OAR-2017-0290-0004 (Certified Doc. No. B-3)

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     State SIP Revision Submittals and Other State Documents (cont.)
                    Document                           Excerpted Pages JA Page
PADEP, SIP Submittal, Final Rulemaking,                All             JA291
Additional RACT Requirements for Major Sources
of NOx & VOCs, 46 Pa.B. 2,036 (Apr. 23, 2016),
EPA-R03-OAR-2017-0290-0003 (Certified Doc.
No. B-4)
Letter from Patrick McDonnell to Cecil A.              All                  JA320
Rodrigues regarding supplemental submission
(Sept. 22, 2017), EPA-R03-OAR-2017-0290-0019
(Certified Doc. No. B-5)
PADEP, Supplemental Submittal Memorandum,              All                  JA321
EPA-R03-OAR-2017-0290-0020 (Certified Doc.
No. B-6)
Average SCR NOx Rate table, EPA-R03-OAR-               All                  JA329
2017-0290-0020, Attachment 9 to PADEP’s
Supplemental SIP Submittal Memorandum
(Certified Doc. No. B-6(r))
Letter from Diana Esher to Joyce Epps (May 18,         All                  JA330
2015), EPA-R03-OAR-2017-0290-0020,
Attachment 10 to PADEP’s Supplemental SIP
Submittal Memorandum (Certified Doc. No. B-
6(s))

                      Public Comments on EPA’s Proposal
                    Document                           Excerpted Pages JA Page
Sierra Club Comments Concerning EPA’s                  All             JA331
Proposed Approval (Apr. 13, 2018), EPA-R03-
OAR-2017-0290-0045 (Certified Doc. No. C-1)
N.Y. State Dep’t of Envtl. Conservation Comments       All                  JA351
(Apr. 13, 2018), EPA-R03-OAR-2017-0290-0044
(Certified Doc. No. D-20)
Md. Dep’t of the Env’t Comments, at 1-2 (Apr.13,       All                  JA354
2018), (EPA-R03-OAR-2017-0290-0039)
(Certified Doc. No. D-22)


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                                                 the RIS 2002–22 endorsement of the NEI                  qualitative assessment approaches                     Act (CAA). EPA is also proposing to
                                                 01–01 guidance by providing additional                  described in the draft RIS?                           conditionally approve certain
                                                 guidance for developing and                                The NRC plans to hold a public                     provisions of this SIP revision, based
                                                 documenting ‘‘qualitative assessments’’                 meeting to discuss this RIS and the                   upon Pennsylvania’s commitment to
                                                 that are used to provide an adequate                    issues associated with clarification of               submit additional enforceable measures
                                                 basis for a licensee’s determination that               the applicability of the endorsed NEI                 that meet RACT. This action is being
                                                 a digital modification will exhibit a low               01–01 guidance. All comments that are                 taken under the CAA.
                                                 likelihood of failure to support a                      to receive consideration in the final RIS             DATES: Written comments must be
                                                 conclusion when applying 10 CFR 50.59                   must still be submitted electronically or             received on or before April 13, 2018.
                                                 that a license amendment is not needed.                 in writing as indicated in the ADDRESSES              ADDRESSES: Submit your comments,
                                                    The NRC published a notice of                        section of this document. Additional                  identified by Docket ID No. EPA–R03–
                                                 opportunity for public comment on this                  details regarding the meeting will be                 OAR–2017–0290 at http://
                                                 RIS in the Federal Register on July 3,                  posted at least 10 days prior to the                  www.regulations.gov, or via email to
                                                 2017 (82 FR 30913). Following that                      public meeting on the NRC’s Public                    Spielberger.susan@epa.gov. For
                                                 notice, the NRC staff engaged in                        Meeting Schedule website at http://                   comments submitted at Regulations.gov,
                                                 multiple communications with the                        www.nrc.gov/public-involve/public-                    follow the online instructions for
                                                 public and stakeholders and continued                   meetings/index.cfm. The NRC staff will                submitting comments. Once submitted,
                                                 internal discussions about the RIS. As a                make a final determination regarding                  comments cannot be edited or removed
                                                 result of these efforts, the NRC has                    issuance of the RIS after it considers any            from Regulations.gov. For either manner
                                                 substantially rewritten the RIS. Due to                 public comments received in response                  of submission, EPA may publish any
                                                 the extensive nature of these revisions,                to this request.                                      comment received to its public docket.
                                                 and in light of this additional                           Dated at Rockville, Maryland, this day of           Do not submit electronically any
                                                 opportunity for comment, the NRC is                     March 7, 2018.                                        information you consider to be
                                                 not directly responding to each                           For the Nuclear Regulatory Commission.              confidential business information (CBI)
                                                 comment received in the previous                        Tekia Govan,                                          or other information whose disclosure is
                                                 comment period. All comments and                        Project Manager, ROP Support and Generic              restricted by statute. Multimedia
                                                 other communications associated with                    Communication Branch, Division of                     submissions (audio, video, etc.) must be
                                                 the previous version of this RIS can be                 Inspection and Regional Support, Office of            accompanied by a written comment.
                                                 found in ADAMS under Accession No.                      Nuclear Reactor Regulation.                           The written comment is considered the
                                                 ML18039A804.                                            [FR Doc. 2018–04958 Filed 3–13–18; 8:45 am]           official comment and should include
                                                 Proposed Action                                         BILLING CODE 7590–01–P                                discussion of all points you wish to
                                                                                                                                                               make. EPA will generally not consider
                                                    The NRC is requesting public                                                                               comments or comment contents located
                                                 comments on the draft RIS. To the                                                                             outside of the primary submission (i.e.
                                                 extent that the NRC’s revisions have not                ENVIRONMENTAL PROTECTION
                                                                                                                                                               on the web, cloud, or other file sharing
                                                 resolved a comment that was submitted                   AGENCY
                                                                                                                                                               system). For additional submission
                                                 in the previous comment period, the                     40 CFR Part 52                                        methods, please contact the person
                                                 NRC asks that such comments be                                                                                identified in the ‘‘For Further
                                                 resubmitted for further consideration.                  [EPA–R03–OAR–2017–0290; FRL–9975–14–                  Information Contact’’ section. For the
                                                 Because of the extensive                                Region 3]                                             full EPA public comment policy,
                                                 communication about this RIS, the NRC                                                                         information about CBI or multimedia
                                                 believes that stakeholders will be able to              Approval and Promulgation of Air
                                                                                                                                                               submissions, and general guidance on
                                                 submit comments quickly. In addition,                   Quality Implementation Plans;
                                                                                                                                                               making effective comments, please visit
                                                 the NRC seeks to issue this RIS as                      Pennsylvania; Regulatory
                                                                                                                                                               http://www2.epa.gov/dockets/
                                                 expeditiously as possible to minimize                   Amendments Addressing Reasonably
                                                                                                                                                               commenting-epa-dockets.
                                                 misunderstandings about the NRC’s                       Available Control Technology
                                                                                                                                                               FOR FURTHER INFORMATION CONTACT:
                                                 requirements for digital I&C                            Requirements Under the 1997 and 2008
                                                                                                         8-Hour Ozone National Ambient Air                     Emlyn Vélez-Rosa, (215) 814–2038, or
                                                 modifications under 10 CFR 50.59.                                                                             by email at velez-rosa.emlyn@epa.gov.
                                                 Therefore, the NRC is publishing the                    Quality Standards
                                                                                                                                                               SUPPLEMENTARY INFORMATION: On May
                                                 draft RIS with a 15 day comment period.                 AGENCY:  Environmental Protection                     16, 2016, the Pennsylvania Department
                                                 Requests for extension of the comment                   Agency (EPA).                                         of Environmental Protection (PADEP)
                                                 period may be submitted as described                                                                          submitted a revision to the
                                                                                                         ACTION: Proposed rule.
                                                 above in the ADDRESSEES section.                                                                              Pennsylvania SIP consisting of
                                                    The NRC is also requesting specific                  SUMMARY:   The Environmental Protection               amendments to regulations in 25 Pa.
                                                 comments on Figure 1 in the attachment                  Agency (EPA) is proposing rulemaking                  Code Chapters 121 and 129, to meet
                                                 of the draft RIS:                                       action on a state implementation plan                 certain RACT requirements of the CAA
                                                    • Does Figure 1 clearly explain the                  (SIP) revision submitted by the                       for both the 1997 and 2008 8-hour ozone
                                                 engineering evaluation process (as                      Commonwealth of Pennsylvania                          NAAQS.
                                                 described in Section 4 of the RIS                       (Pennsylvania or the Commonwealth).
                                                 attachment) to determine sufficient                     This revision consists of regulatory                  I. Background
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                                                 dependability, which may be used in                     amendments intended to meet certain                      The Pennsylvania May 16, 2016 SIP
                                                 performing and documenting a                            reasonably available control technology               revision submitted by PADEP includes
                                                 qualitative assessment (as described in                 (RACT) requirements under the 1997                    the Pennsylvania regulations in 25 Pa.
                                                 Section 3 of the RIS attachment)?                       and 2008 8-hour ozone national ambient                Code sections 129.96–129.100 titled
                                                    • How could the figure and/or                        air quality standards (NAAQS). EPA is                 ‘‘Additional RACT Requirements for
                                                 explanatory text in the draft RIS be                    proposing to approve most parts of the                Major Sources of NOX and VOCs’’ (the
                                                 modified to clarify the relationship                    Pennsylvania SIP revision as meeting                  RACT II Rule) and amendments to 25
                                                 between the engineering evaluation and                  RACT requirements under the Clean Air                 Pa. Code section 121.1, including
                                                                                                                                                                                       JA026
                                            VerDate Sep<11>2014   16:23 Mar 13, 2018   Jkt 244001   PO 00000   Frm 00002   Fmt 4702   Sfmt 4702   E:\FR\FM\14MRP1.SGM   14MRP1
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                                                 11156                 Federal Register / Vol. 83, No. 50 / Wednesday, March 14, 2018 / Proposed Rules

                                                 related definitions, to be incorporated                    Areas designated nonattainment for                 categories covered by CTGs through
                                                 into the Pennsylvania SIP. These                        the ozone NAAQS are subject to the                    adoption of rules as part of the SIP.
                                                 regulatory amendments were adopted                      general nonattainment area planning                      Section 184(b)(1)(B) of the CAA
                                                 by PADEP on April 23, 2016 and                          requirements of CAA section 172.                      applies the RACT requirements in
                                                 effective on the same date upon                         Section 172(c)(1) of the CAA provides                 section 182(b)(2) for moderate
                                                 publication in the Pennsylvania                         that SIPs for nonattainment areas must                nonattainment areas to nonattainment
                                                 Bulletin. The May 16, 2016 SIP revision                 include reasonably available control                  areas classified as marginal and to
                                                 was submitted to satisfy certain CAA                    measures (RACM) for demonstrating                     attainment areas located within ozone
                                                 RACT requirements under both the 1997                   attainment of all NAAQS, including                    transport regions established pursuant
                                                 and 2008 8-hour ozone NAAQS for                         emissions reductions from existing                    to section 184 of the CAA. Section
                                                 specific source categories.                             sources through adoption of RACT.                     184(a) of the CAA established by law
                                                    On July 18, 1997 (62 FR 38856), EPA                  Further, section 182(b)(2) of the CAA                 the current Ozone Transport Region (the
                                                 promulgated a standard for ground level                 sets forth additional RACT requirements               OTR) comprised of 12 eastern states,
                                                 ozone based on 8-hour average                           for ozone nonattainment areas classified              including Pennsylvania. The
                                                 concentrations (1997 8-hour ozone                       as moderate or higher nonattainment.                  requirement in section 184(b)(1)(B) is
                                                 NAAQS). The 8-hour averaging period                        Section 182(b)(2) of the CAA sets                  referred to as OTR RACT. A ‘‘major
                                                 replaced the previous 1-hour averaging                  forth three distinct requirements                     source’’ is defined based on the source’s
                                                 period, and the level of the NAAQS was                  regarding RACT for the ozone NAAQS:                   potential to emit (PTE) of NOX, VOC, or
                                                 changed from 0.12 parts per million                     First, section 182(b)(2)(A) requires states           both pollutants, and the applicable
                                                 (ppm) to 0.08 ppm. On April 30, 2004                    with ozone areas designated moderate                  thresholds differ based on the
                                                 (69 FR 23858), EPA designated                           or higher to submit a rule (or negative               classification of the nonattainment area
                                                 nonattainment areas under the 1997 8-                   declaration) for each category of VOC                 in which the source is located. See
                                                 hour ozone NAAQS. Designations                          sources in the nonattainment area                     sections 182(c)–(f) and 302 of the CAA.
                                                 included 16 nonattainment areas in                      covered by a Control Technique                           Since the 1970’s, EPA has
                                                 Pennsylvania, with only 2 moderate                      Guideline (CTG) document issued by                    consistently defined RACT as the lowest
                                                 nonattainment areas, namely                             EPA between November 15, 1990 and                     emission limit that a particular source is
                                                 Philadelphia-Wilmington-Atlantic City,                  the date of attainment for an ozone                   capable of meeting by the application of
                                                 PA–NJ–MD–DE (the Philadelphia Area)                     NAAQS. These rules shall be submitted                 the control technology that is reasonably
                                                 and Pittsburgh-Beaver Valley (the                       as SIP revisions within the period set                available considering technological and
                                                 Pittsburgh Area). The remaining 14                      forth by EPA in issuing the relevant                  economic feasibility. See December 9,
                                                 areas in Pennsylvania were designated                   CTG document. Second, section                         1976 memorandum from Roger Strelow,
                                                 marginal nonattainment areas. See 40                    182(b)(2)(B) requires a rule (or negative             Assistant Administrator for Air and
                                                 CFR 81.339.                                             declaration) for all VOC sources in the               Waste Management, to Regional
                                                    On March 12, 2008 (73 FR 16436),                     nonattainment area covered by any CTG                 Administrators, ‘‘Guidance for
                                                 EPA strengthened the 8-hour ozone                       issued before November 15, 1990. And                  Determining Acceptability of SIP
                                                 standards, by revising its level to 0.075               third, section 182(b)(2)(C) requires a                Regulations in Non-Attainment Areas,’’
                                                 ppm averaged over an 8-hour period                      rule or rules for implementing RACT for               and also 44 FR 53762 (September 17,
                                                 (2008 8-hour ozone NAAQS). On May                       any other major stationary sources of                 1979).
                                                 21, 2012, EPA designated most areas in                  VOCs located in the nonattainment area.                  EPA has provided more substantive
                                                 the country for the 2008 8-hour ozone                      In addition, section 182(f) subjects               RACT requirements through final
                                                 NAAQS, including 5 marginal                             major stationary sources of NOX to the                implementation rules for each ozone
                                                 nonattainment areas in Pennsylvania:                    same RACT requirements that are                       NAAQS as well as through guidance. In
                                                 Allentown-Bethlehem-Easton,                             applicable to major stationary sources of             2004 and 2005, EPA promulgated an
                                                 Lancaster, Reading, the Philadelphia                    VOC. EPA has not issued any CTGs for                  implementation rule for the 1997 8-hour
                                                 Area, and the Pittsburgh Area. See 77                   categories of NOX sources, so the                     ozone NAAQS in two phases (‘‘Phase 1
                                                 FR 30088 and 40 CFR 81.339.                             requirement in section 182(f) in essence              of the 1997 Ozone Implementation
                                                                                                         refers to section 182(b)(2)(C). The ozone             Rule’’ and ‘‘Phase 2 of the 1997 Ozone
                                                    On March 6, 2015 (80 FR 12264), EPA
                                                                                                         RACT requirements under section                       Implementation Rule’’). See 69 FR
                                                 announced its revocation of the 1997 8-
                                                                                                         182(b)(2) are usually referred to as VOC              23951 (April 30, 2004) and 70 FR 71612
                                                 hour ozone NAAQS for all purposes and
                                                                                                         CTG RACT, non-CTG major VOC RACT,                     (November 29, 2005), respectively.
                                                 for all areas in the country, effective on
                                                                                                         and major NOX RACT.                                   Particularly, the Phase 2 Ozone
                                                 April 6, 2015. EPA also determined that
                                                                                                            Pursuant to section 183(c) of the CAA,             Implementation Rule addressed RACT
                                                 certain nonattainment planning
                                                                                                         EPA must revise and update CTGs and                   statutory requirements under the 1997
                                                 requirements continue to be in effect
                                                                                                         Alternative Control Techniques                        8-hour ozone NAAQS. See 70 FR 71652.
                                                 under the revoked standard for
                                                                                                                                                                  On March 6, 2015, EPA issued its
                                                 nonattainment areas under the 1997 8-                   guidelines (ACTs) as the Administrator
                                                                                                                                                               final rule for implementing the 2008 8-
                                                 hour ozone NAAQS, including RACT.                       determines necessary. EPA’s CTGs
                                                                                                                                                               hour ozone NAAQS (‘‘the 2008 Ozone
                                                 See 80 FR 12296 (March 6, 2015).                        establish presumptive RACT level
                                                                                                                                                               SIP Requirements Rule’’). See 80 FR
                                                                                                         control requirements for various source
                                                 A. RACT Requirements for Ozone                                                                                12264. At the same time, EPA revoked
                                                                                                         categories. The CTGs usually identify a
                                                                                                                                                               the 1997 8-hour ozone NAAQS,
                                                    The CAA regulates emissions of                       particular control level which EPA
                                                                                                                                                               effective on April 6, 2015.1 The 2008
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                                                 nitrogen oxides (NOX) and volatile                      recommends as being RACT. In some
                                                 organic compounds (VOC) to prevent                      cases, EPA has issued ACTs for source                   1 On February 16, 2018, the United States Court
                                                 photochemical reactions that result in                  categories, which in contrast to the                  of Appeals for the District of Columbia Circuit (D.C.
                                                 ozone formation. RACT is an important                   CTGs, only present a range for possible               Cir. Court) issued an opinion on the 2008 Ozone
                                                 strategy for reducing NOX and VOC                       control options but do not identify any               SIP Requirements Rule. South Coast Air Quality
                                                                                                                                                               Mgmt. Dist. v. EPA, No. 15–1115 (D.C. Cir. Feb. 16,
                                                 emissions from major stationary sources                 particular option as the presumptive                  2018). The D.C. Cir. Court found certain parts
                                                 within areas not meeting the ozone                      norm for what is RACT. States are                     reasonable and denied the petition for appeal on
                                                 NAAQS.                                                  required to address RACT for the source               those. In particular, the D.C. Cir. Court upheld the
                                                                                                                                                                                                JA027
                                            VerDate Sep<11>2014   16:23 Mar 13, 2018   Jkt 244001   PO 00000   Frm 00003   Fmt 4702   Sfmt 4702   E:\FR\FM\14MRP1.SGM   14MRP1
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                                                 Ozone SIP Requirements Rule provided                    feasible in determining RACT, based on                EPA did not designate any
                                                 comprehensive requirements to                           information that is current as of the time            nonattainment areas above marginal for
                                                 transition from the revoked 1997 8-hour                 of development of the RACT SIP.                       this standard in Pennsylvania. Thus, in
                                                 ozone NAAQS to the 2008 8-hour ozone                      In addition, in the 2008 Ozone SIP                  practice, the same RACT requirements
                                                 NAAQS, as codified in 40 CFR part 51,                   Requirements Rule, EPA clarified that                 continue to be applicable in
                                                 subpart AA, following revocation.                       states can use weighted average NOX                   Pennsylvania for both the 1997 and
                                                 Consistent with previous policy, EPA                    emissions rates from sources in the                   2008 8-hour ozone NAAQS. RACT must
                                                 determined that areas designated                        nonattainment area for meeting the                    be evaluated and satisfied as separate
                                                 nonattainment for both the 1997 and                     major NOX RACT requirement under the                  requirements under each applicable
                                                 2008 8-hour ozone NAAQS at the time                     CAA, as consistent with existing                      standard.
                                                 of revocation, must retain                              policy.2 EPA also recognized that states                 RACT applies to major sources of
                                                 implementation of certain                               may conclude in some cases that                       NOX and VOC under each ozone
                                                 nonattainment area requirements (i.e.                   sources already addressed by RACT                     NAAQS or any VOC sources subject to
                                                 anti-backsliding requirements) for the                  determinations for the 1-hour and/or                  CTG RACT. Which NOX and VOC
                                                 1997 8-hour ozone NAAQS as specified                    1997 8-hour ozone NAAQS may not                       sources in Pennsylvania are considered
                                                 under section 182 of the CAA, including                 need to implement additional controls                 ‘‘major’’ and must be therefore subject to
                                                 RACT. See 40 CFR 51.1100(o). An area                    to meet the 2008 ozone NAAQS RACT                     RACT, is dependent on the location of
                                                 remains subject to the anti-backsliding                 requirement. See 80 FR 12278–12279.                   each source within the Commonwealth.
                                                 requirements for a revoked NAAQS                        B. Applicability of RACT Requirements                 Sources located in nonattainment areas
                                                 until EPA approves a redesignation to                   in Pennsylvania                                       would be subject to the ‘‘major source’’
                                                 attainment for the area for the 2008 8-                                                                       definitions established under the CAA.
                                                 hour ozone NAAQS. There are no                             As indicated earlier, RACT                         In the case of Pennsylvania, sources
                                                                                                         requirements apply to any ozone                       located in any areas outside of moderate
                                                 effects on applicable requirements for
                                                                                                         nonattainment areas classified as                     or above nonattainment areas, as part of
                                                 areas within the OTR, as a result of the
                                                                                                         moderate or higher (serious, severe or                the OTR, shall be treated as if these
                                                 revocation of the 1997 8-hour ozone
                                                                                                         extreme) under CAA sections 182(b)(2)                 areas were moderate.
                                                 NAAQS. Thus, Pennsylvania, as a state
                                                                                                         and 182(f). Pennsylvania has                             States were required to make RACT
                                                 within the OTR, remains subject to
                                                                                                         outstanding ozone RACT requirements                   SIP submissions for the 1997 8-hour
                                                 RACT requirements for both the 1997
                                                                                                         for both the 1997 and 2008 8-hour ozone               ozone NAAQS by September 15, 2006.
                                                 ozone NAAQS and the 2008 ozone
                                                                                                         NAAQS. The entire Commonwealth of                     PADEP submitted a SIP revision on
                                                 NAAQS.
                                                                                                         Pennsylvania is part of the OTR                       September 25, 2006, certifying that a
                                                    In addressing RACT, the 2008 Ozone
                                                                                                         established under section 184 of the                  number of previously approved VOC
                                                 SIP Requirements Rule is consistent                     CAA and thus is subject statewide to the
                                                 with existing policy and Phase 2 of the                                                                       CTG and non-CTG RACT rules
                                                                                                         RACT requirements of CAA sections
                                                 1997 Ozone Implementation Rule. In the                                                                        continued to satisfy RACT under the
                                                                                                         182(b)(2) and 182(f), pursuant to section
                                                 2008 Ozone SIP Requirements Rule,                                                                             1997 8-hour ozone NAAQS for the
                                                                                                         184(b).
                                                 EPA requires RACT measures to be                           At the time of revocation of the 1997              remainder of Pennsylvania.3 PADEP has
                                                 implemented by January 1, 2017 for                      8-hour ozone NAAQS (effective April 6,                met its obligations under the 1997 8-
                                                 areas classified as moderate                            2015), only two moderate                              hour ozone NAAQS for its CTG and
                                                 nonattainment or above and all areas of                 nonattainment areas remained in the                   non-CTG VOC sources. See 82 FR 31464
                                                 the OTR. EPA also provided in the 2008                  Commonwealth of Pennsylvania for this                 (July 7, 2017). RACT control measures
                                                 Ozone SIP Requirements Rule that                        standard, the Philadelphia and the                    addressing all applicable CAA
                                                 RACT SIPs must contain adopted RACT                     Pittsburgh Areas. As required under                   requirements under the 1997 8-hour
                                                 regulations, certifications where                       EPA’s anti-backsliding provisions, these              ozone NAAQS have been implemented
                                                 appropriate that existing provisions are                two moderate nonattainment areas                      and fully approved in the jurisdictions
                                                 RACT, and/or negative declarations                      continue to be subject to RACT under                  of Allegheny County and Philadelphia
                                                 stating that there are no sources in the                the 1997 8-hour ozone NAAQS. Given                    County in Pennsylvania. See 78 FR
                                                 nonattainment area covered by a                         its location in the OTR, the remainder                34584 (June 10, 2013) and 81 FR 69687
                                                 specific CTG source category. In the                    of the Commonwealth is also treated as                (October 7, 2016).
                                                 preamble to the 2008 Ozone SIP                          moderate nonattainment area under the                    For the 2008 8-hour ozone NAAQS,
                                                 Requirements Rule, EPA clarified that                   1997 8-hour ozone NAAQS for any                       states were required to submit RACT
                                                 states must provide notice and                          planning requirements under the                       SIP revisions by July 20, 2014. On May
                                                 opportunity for public comment on                       revoked standard, including RACT. The                 16, 2016, PADEP submitted a SIP
                                                 their RACT SIP submissions, even when                   OTR RACT requirement is also in effect                revision addressing RACT under both
                                                 submitting a certification that the                     under the 2008 8-hour ozone NAAQS                     the 1997 and 2008 8-hour ozone
                                                 existing provisions remain RACT or a                    throughout the Commonwealth, since                    NAAQS in Pennsylvania. Specifically,
                                                 negative declaration. States must submit                                                                      the May 16, 2016 SIP submittal intends
                                                 appropriate supporting information for                     2 EPA’s NO RACT guidance ‘‘Nitrogen Oxides
                                                                                                                       X
                                                                                                                                                               to satisfy sections 182(b)(2)(C), 182(f),
                                                 their RACT submissions, in accordance                   Supplement to the General Preamble’’ (57 FR           and 184 of the CAA for both the 1997
                                                 with the Phase 2 of the 1997 Ozone                      55625; November 25, 1992) encouraged states to        and 2008 8-hour ozone NAAQS for
                                                                                                         develop RACT programs that are based on ‘‘area
                                                 Implementation Rule. Adequate                           wide average emission rates.’’ Additional guidance
                                                                                                                                                               Pennsylvania’s major NOX and VOC
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                                                 documentation must support that states                  on area-wide RACT provisions is provided by EPA’s     non-CTG sources, except ethylene
                                                 have considered control technology that                 January 2001 economic incentive program guidance      production plants, surface active agents
                                                                                                         titled ‘‘Improving Air Quality with Economic          manufacturing, and mobile equipment
                                                 is economically and technologically                     Incentive Programs,’’ available at http://
                                                                                                         www.epa.gov/ttn/oarpg/t1/memoranda/eipfin.pdf.        repair and refinishing.
                                                 use of NOX averaging to meet RACT requirements          In addition, as mentioned previously, the D.C. Cir.
                                                 for 2008 ozone NAAQS. However, the Court also           Court recently upheld the use of NOX averaging to       3 The September 15, 2006 SIP submittal initially

                                                 found certain other provisions, not relevant to this    meet RACT requirements for 2008 ozone NAAQS.          included Pennsylvania’s certification of NOX RACT
                                                 action, unreasonable. The D.C. Cir. Court vacated       South Coast Air Quality Mgmt. Dist. v. EPA, No. 15–   regulations; however, NOX RACT portions were
                                                 the provisions it found unreasonable.                   1115 (D.C. Cir. Feb. 16, 2018).                       withdrawn by PADEP on June 27, 2016.
                                                                                                                                                                                              JA028
                                            VerDate Sep<11>2014   16:23 Mar 13, 2018   Jkt 244001   PO 00000   Frm 00004   Fmt 4702   Sfmt 4702   E:\FR\FM\14MRP1.SGM   14MRP1
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                                                    This notice includes EPA’s rationale                  in existence as of July 20, 2012 or any              in a 12-month rolling period.
                                                 for proposing rulemaking action on the                   major sources installed or modified after            Presumptive RACT NOX limits are
                                                 Pennsylvania May 16, 2016 SIP revision                   July 20, 2012, which became a major                  provided for combustion units, process
                                                 for purposes of meeting these RACT                       source before January 1, 2017. The                   heaters, combustion turbines, stationary
                                                 requirements under the CAA. EPA                          RACT II Rule establishes a general                   internal combustion engines, cement
                                                 prepared two technical support                           compliance date of January 1, 2017, as               kilns, and municipal waste combustors.
                                                 documents (TSDs) in support of this                      provided in paragraphs in 129.97(a) and              Presumptive RACT VOC limits are
                                                 proposed rulemaking action: ‘‘Technical                  129.99(d)(4). EPA recognizes that RACT               provided for combustion turbines,
                                                 Support Document for the Pennsylvania                    controls under the 1997 8-hour ozone                 stationary internal combustion engines,
                                                 State Implementation Plan Revision for                   NAAQS were required to be                            and municipal solid waste landfills.
                                                 Certain Reasonably Available Control                     implemented in Pennsylvania by 2009                     In evaluating whether controls and
                                                 Technology Requirements under the                        and that this requirement is past due;               emission limitations meet RACT, EPA
                                                 1997 and 2008 8-Hour Ozone National                      however, EPA believes that the May 16,               generally considers controls that have
                                                 Ambient Air Quality Standards’’ and                      2016 SIP revision should sufficiently                been achieved in practice by other
                                                 ‘‘Technical Support Document for the                     address the pending RACT obligations                 similar existing sources to be
                                                 Pennsylvania State Implementation Plan                   under the 1997 8-hour ozone NAAQS by                 technologically and economically
                                                 Revision for Certain Reasonably                          addressing the more stringent RACT                   feasible. For that reason, to evaluate
                                                 Available Control Technology                             level of control under the 2008 8-hour               PADEP’s RACT determinations under
                                                 Requirements under the 1997 and 2008                     ozone NAAQS. The general compliance                  the RACT II Rule, EPA reviewed NOX
                                                 8-Hour Ozone National Ambient Air                        date of the RACT II Rule is consistent               emissions limits in effect in adjacent
                                                 Quality Standards- Cost Effective                        with EPA’s required deadline for states              OTR states for certain source categories
                                                 Analyses for Coal Fired Boilers.’’ For                   to implement RACT controls under the                 addressed by Pennsylvania’s rule.5 EPA
                                                 further details on this proposed                         2008 8-hour ozone NAAQS. See 80 FR                   also reviewed and considered guidance
                                                 rulemaking action, please refer to these                 12279.                                               documents that have been published to
                                                 TSDs, which are included as part of this                    The RACT II Rule permits an affected              assist states in identifying NOX RACT
                                                 rulemaking docket and are available                      major source that needs additional time              level of controls. EPA finds that the
                                                 online at www.regulations.gov.                           to install an air pollution control device           NOX presumptive limits in 25 Pa. Code
                                                                                                          to meet the requirements under the                   section 129.97 of the RACT II Rule are
                                                 II. Summary of SIP Revision and EPA’s                    RACT II Rule to petition PADEP for an                comparable to NOX emission limitations
                                                 Evaluation                                               alternative compliance schedule. The                 in other states and consistent with
                                                    The RACT II Rule applies statewide to                 RACT II Rule also allows an owner or                 EPA’s RACT guidance on additional
                                                 existing major NOX and/or VOC sources                    operator of a major source to petition an            control requirements. EPA finds that the
                                                 in Pennsylvania, except those subject to                 alternative compliance schedule if it                presumptive requirements of the RACT
                                                 other Pennsylvania regulations, as                       needs additional time to install an air              II Rule represent emission limitations
                                                 specified in 25 Pa. Code 129.96(a)–(b).4                 pollution control device on an affected              achievable through implementation of
                                                 All but one of the exempted rules listed                 emissions unit in order to comply with               reasonably available controls. EPA also
                                                 in section 129.96(a)–(b) have been                       the RACT II requirements. These                      finds the VOC presumptive limits for
                                                 previously approved by EPA into the                      provisions allow the owner or operator               combustion turbines and internal
                                                 SIP to meet RACT requirements under                      in this situation to petition in writing             combustion engines to be reasonable
                                                 the CAA. The RACT II Rule exempts all                    for an alternative compliance schedule,              considering feasibility of available
                                                 VOC source categories for which PADEP                    by proposing an interim emission limit,              controls. For municipal solid waste
                                                 had adopted CTG RACT regulations at                      and a later compliance date to                       landfills, the RACT II Rule incorporates
                                                 the time the RACT II Rule was finalized.                 implement such control device ‘‘as soon              by reference as VOC presumptive limits
                                                 In addition, regulations exempted under                  as possible but not later than 3 years               the federal New Source Performance
                                                 the RACT II Rule also apply to three                     after the written approval of the                    Standards (NSPS) in 40 CFR part 60,
                                                 non-CTG VOC source categories: (1)                       petition.’’ EPA believes that the                    subpart Cc (Subpart Cc) and subpart
                                                 Ethylene production plants, (2) surface                  language in the rule allows for                      WWW (Subpart WWW). EPA finds that
                                                 active agents manufacturing, and (3)                     Pennsylvania’s implementation of
                                                                                                                                                               the NSPS standards represent
                                                 mobile equipment repair and                              RACT controls as expeditiously as
                                                                                                                                                               reasonably achievable NOX emissions
                                                                                                          practicable.
                                                 refinishing. The RACT II Rule also                                                                            limits based on the operation of
                                                                                                             Section 129.97 of the RACT II Rule
                                                 exempts 25 Pa. Code sections 129.301–                                                                         reasonably available controls, and thus,
                                                                                                          establishes NOX and VOC emission
                                                 129.310, which has not been approved                     limits or operational requirements on                meet RACT for this source category.
                                                 as RACT, although it is approved into                                                                            EPA further evaluated the NOX
                                                                                                          certain types of emissions units in the
                                                 the SIP. This regulation establishes NOX                                                                      presumptive requirements in 25 Pa.
                                                                                                          affected major sources which
                                                 control requirements for glass melting                                                                        Code section 129.97 of the RACT II Rule
                                                                                                          Pennsylvania presumes to meet RACT,
                                                 furnaces. Any other NOX major sources                                                                         that are applicable to large coal-fired
                                                                                                          thus referred to in the rule as
                                                 in Pennsylvania are covered by the                       presumptive RACT. Operating                          boilers. Sources under these
                                                 RACT II Rule.                                            requirements apply to smaller emissions              requirements would include utility
                                                    The RACT II Rule requirements apply                   units; namely, combustion units with                 boilers and large industrial boilers,
                                                 to any emissions unit or process at an                   rated heat input equal to or greater than            which are a significant NOX emissions
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                                                 affected major source having a PTE of 1                  20 million British Thermal Units per                 sector in Pennsylvania. The RACT II
                                                 ton per year (TPY) or more of NOX and/                   hour (MMBTU/hr) and less than 50                     Rule establishes more rigorous
                                                 or VOC. In the context of the rule,                      MMBTU/hr, NOX sources with PTE of                    requirements for large coal-fired boilers
                                                 existing major sources are those already                 less than 5 TPY, VOC sources with PTE                with certain post-combustion controls
                                                   4 In the context of the RACT II Rule, the terms
                                                                                                          of less than 2.7 TPY, combustion units                 5 EPA evaluated NO emission limits in adjacent

                                                 ‘‘major NOX emitting facility’’ and ‘‘major VOC
                                                                                                          with rated heat input of less than 20                                     X
                                                                                                                                                               OTR states because the OTR states are all subject
                                                 emitting facility,’’ as defined in 25 Pa Code section    MMBTU/hour, and emergency                            to the same RACT requirements for the 1997 and
                                                 121.1, are used to refer to major stationary sources.    generators operating less than 500 hours             2008 ozone NAAQS under CAA section 184.
                                                                                                                                                                                              JA029
                                            VerDate Sep<11>2014   16:23 Mar 13, 2018   Jkt 244001   PO 00000   Frm 00005   Fmt 4702   Sfmt 4702   E:\FR\FM\14MRP1.SGM   14MRP1
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                                                 in place, specifically selective catalytic                 The NOX averaging provisions                       by itself without further information on
                                                 reduction (SCR), while other coal-fired                 established in 25 Pa. Code section                    specific sources and is therefore not
                                                 boilers without these controls in place                 129.98 allow the owner or operator of an              approvable as RACT for sources seeking
                                                 are the subject of less stringent NOX                   affected major NOX source that is unable              or required to establish an alternative
                                                 emissions limits based on the boiler                    to meet a NOX presumptive limit for at                RACT limit. Therefore, EPA is
                                                 type. EPA finds that the presumptive                    least one of its emissions unit, to                   proposing to conditionally approve the
                                                 limit of 0.12 pounds of NOX per heat                    establish an alternative RACT limit by                provisions in 25 Pa. Code section
                                                 input in million British Thermal Unit                   averaging the NOX emissions from the                  129.99. Additional discussion and
                                                 (lb/MMBTU) is consistent with the                       non-compliant emissions unit and other                explanation for this conditional
                                                 operation of SCR presently installed and                emissions units. Participating NOX                    approval is provided in the section III of
                                                 reasonably represents RACT for coal-                    emissions units can be located either                 this notice.
                                                 fired boilers with this control in place.               within the same facility (facility-wide                  The RACT II Rule contains certain
                                                 EPA evaluated economic feasibility of                   averaging) or in another facility but                 ancillary provisions to ensure RACT
                                                 installing and operating additional post-               within the same nonattainment area                    level of control for sources that have
                                                 combustion controls on any large coal-                  (system-wide averaging). As discussed                 been previously subject to RACT or are
                                                 fired boilers in Pennsylvania that to date              in the following section, EPA finds that              subject to other federally enforceable
                                                 do not have these controls, in order to                 25 Pa. Code section 129.98 is not                     requirements. Section 129.97(i) of the
                                                 determine which RACT control level is                   sufficient to address RACT for sources                RACT II Rule provides that the
                                                 reasonable as a basis for PADEP’s                       seeking averaging, without the specific               presumptive requirements in section
                                                 presumptive requirements for this                       NOX averaging provisions for any                      129.97 will supersede any RACT
                                                 subset of boilers. EPA finds that                       affected sources being submitted to EPA               requirements of a ‘‘RACT permit’’
                                                 Pennsylvania’s presumptive RACT                         for SIP approval. Therefore, EPA is                   issued prior April 23, 2016 under 25 Pa.
                                                 determination for coal-fired boilers                    proposing to conditionally approve the                Code sections 129.91–95, unless the
                                                 without post-combustion controls is                     provisions in 25 Pa. Code section                     RACT permit contains more stringent
                                                 reasonable, as it is based on the                       129.98. Additional discussion and                     requirements. ‘‘RACT permits’’ under 25
                                                 economic infeasibility of retrofitting                  explanation for this conditional                      Pa. Code sections 129.91–95 were
                                                 coal-fired boilers in Pennsylvania. Thus,               approval is provided in the following                 submitted by Pennsylvania as SIP
                                                 EPA concludes that PADEP has                            section III of this notice.                           revisions and, if determined to meet
                                                 adequately established for coal-fired                      Under 25 Pa. Code section 129.99, the              RACT, were approved by EPA into the
                                                 boilers NOX presumptive RACT                            owner or operator of an affected major                Pennsylvania SIP under 40 CFR
                                                 requirements based on reasonably                        NOX and/or VOC source that is unable                  52.2020(d). Section 129.99(k) of the
                                                 available controls that therefore                       to meet a presumptive requirement                     RACT II Rule provides that any source-
                                                 represent RACT. For further details,                    under section 129.97, may propose an                  specific requirements approved under
                                                 refer to EPA’s ‘‘Technical Support                      alternative RACT emissions limit, based               section 129.99 will supersede any
                                                 Document for the Pennsylvania State                     on the feasibility evaluation of                      similar NOX and/or VOC requirements
                                                 Implementation Plan Revision for                        reasonably available controls for each                that have been approved into an existing
                                                 Certain Reasonably Available Control                    emissions unit. The resulting limits are              enforceable permit issued for the
                                                 Technology Requirements under the                       typically unique to the affected                      affected source prior to April 23, 2016,
                                                 1997 and 2008 8-Hour Ozone National                     emissions unit and achievable through                 except to the extent the existing permit
                                                                                                         the application of specific controls,                 requirements are more stringent.
                                                 Ambient Air Quality Standards- Cost
                                                                                                         therefore referred to as source-specific              Subsequent RACT SIP revisions under
                                                 Effective Analyses for Coal Fired
                                                                                                         RACT limits. In addition, an affected                 section 129.99 must include a
                                                 Boilers.’’
                                                                                                         major source of NOX and/or VOC with                   demonstration consistent with CAA
                                                    Pursuant to 25 Pa. Code section                      any emissions unit that is not subject to             section 110(l) to supersede any
                                                 129.97(g)(4), any combustion unit firing                any presumptive limits or requirements                previously SIP approved RACT
                                                 multiple fuels and subject to different                 under 25 Pa. Code section 129.97, is                  requirements, and such revisions will be
                                                 presumptive limits for each fuel, must                  required to propose a source-specific                 evaluated and acted on by EPA
                                                 comply with a single NOX or VOC                         RACT limit under 25 Pa. Code section                  separately. EPA finds that the
                                                 emission limit determined on a total                    129.99, similarly based on the                        provisions in sections 129.97(i) and
                                                 heat input fuel weighted basis for any                  evaluation of technologically and                     129.99(k) are approvable, as they
                                                 fuel representing 1% of more of the                     economically feasible controls.                       adequately ensure that additional SIP
                                                 combustion unit’s annual fuel                              Section 129.99 outlines a common                   revisions establishing RACT for major
                                                 combustion on a heat input basis. EPA                   procedure for proposing a source-                     NOX and non-CTG VOC sources in
                                                 finds the RACT II Rule’s multiple fuel                  specific RACT limit, whether proposed                 Pennsylvania reflect the most stringent
                                                 compliance method practicable and                       as an alternative under section 129.99(a)             level of control for the affected sources.
                                                 adequate for RACT.                                      or as required under section 129.99(b)–                  25 Pa. Code section 129.100 of the
                                                    Affected major sources subject to the                (c). A written RACT proposal under                    RACT II Rule establishes compliance
                                                 presumptive requirements of 25 Pa.                      section 129.99 must be submitted to                   demonstration and recordkeeping
                                                 Code section 129.97 that cannot comply                  PADEP or local agency for any affected                requirements for affected sources.
                                                 with the applicable presumptive NOX                     emissions units with PTE of 5.0 TPY or                Specific monitoring and testing
                                                 limits for any given emissions units,                   more of NOX and/or 2.7 TPY or more of                 requirements are established for sources
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                                                 may choose one of two alternative                       VOC. Source-specific limits determined                complying with presumptive RACT
                                                 compliance options to establish RACT.                   to be adequate by PADEP or local                      requirements under section 129.97.
                                                 Such sources may either propose an                      agency will be approved into federally                Recordkeeping requirements are
                                                 alternative NOX emissions limit based                   enforceable permits and then submitted                established under section 129.100(d) for
                                                 on average NOX emissions from                           for EPA’s review and approval into the                any affected sources under the RACT II
                                                 multiple sources or else propose a                      SIP to meet RACT. As discussed in the                 Rule.
                                                 source-specific emission NOX or VOC                     following section, EPA finds that 25 Pa.                 Additional compliance demonstration
                                                 limit.                                                  Code section 129.99 is not approvable                 requirements for NOX averaging or
                                                                                                                                                                                         JA030
                                            VerDate Sep<11>2014   16:23 Mar 13, 2018   Jkt 244001   PO 00000   Frm 00006   Fmt 4702   Sfmt 4702   E:\FR\FM\14MRP1.SGM   14MRP1
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                                                 source-specific RACT alternative limits                 182, and 184 as meeting RACT for the                  resulting limit is practically and
                                                 will be established by PADEP or the                     affected major sources of non-CTG VOC                 federally enforceable to meet RACT and
                                                 local permitting agency on a source-                    and major sources of NOX under both                   in accordance with CAA section
                                                 specific basis, in accordance with                      the 1997 and 2008 8-hour ozone                        110(a)(2)(A).
                                                 sections 129.98 and 129.99,                             NAAQS. As discussed in the following                     The lack of specificity in 25 Pa. Code
                                                 respectively, and consistent with                       section, EPA is also proposing                        section 129.98 allows certain
                                                 section 129.100. In the case of sources                 conditional approval of 25 Pa. Code                   unbounded discretion in determining an
                                                 complying with 129.99, such additional                  sections 129.98 and 129.99.                           alternative NOX RACT limit, which
                                                 compliance demonstration requirements                      Additional details of Pennsylvania’s               correspondingly results in our inability
                                                 will be submitted to EPA for approval                   SIP submission and EPA’s reasoning for                to determine if such limit would be
                                                 into the SIP, along with the source-                    proposing approval of this SIP revision               adequate for RACT for any major source
                                                 specific limits. Because section 129.98                 can be found in the ‘‘Technical Support               required to meet RACT. Also, this
                                                 does not contain any similar                            Document for the Pennsylvania State                   uncertainty prevents consistent
                                                 requirement to submit NOX averaging                     Implementation Plan Revision for                      implementation of the NOX averaging
                                                 provisions for approval into the SIP,                   Certain Reasonably Available Control                  provisions and ultimately prevents the
                                                 EPA finds that the RACT II Rule does                    Technology Requirements under the                     adequate enforceability of these
                                                 not sufficiently establish compliance                   1997 and 2008 8-Hour Ozone National                   provisions as a practical matter. 25 Pa.
                                                 demonstration requirements for sources                  Ambient Air Quality Standards,’’                      Code Section 129.98 fails to provide, on
                                                 choosing to comply with NOX averaging                   prepared for this rulemaking action and               its face, a generic mechanism to
                                                 under section 129.98, without                           available online at www.regulations.gov               establish a presumptive alternative NOX
                                                 submitting those additional compliance                  for this rulemaking.                                  limit.
                                                 demonstration requirements to EPA for                                                                            Further, EPA has long interpreted the
                                                                                                         III. Rationale for Proposing Conditional              RACT requirement of the CAA to mean
                                                 approval in the SIP. EPA is proposing                   Approval of Certain Provisions
                                                 conditional approval of the NOX                                                                               states must adopt and submit
                                                 averaging provisions in section 129.98,                    EPA identified deficiencies in 25 Pa.              regulations that include emission
                                                 which will address the lack of specific                 Code sections 129.98 and 129.99,                      limitations 6 as applicable to the subject
                                                 compliance demonstration requirements                   respectively, that prevent full approval              sources. In other words, a state would
                                                 for sources seeking to comply with these                of the RACT II Rule SIP revision. The                 not fully meet the RACT requirement
                                                 provisions. Additional discussion and                   NOX averaging provisions in 25 Pa.                    until it established emissions
                                                 explanation for this conditional                        Code section 129.98 are deficient                     limitations applicable to the appropriate
                                                 approval is provided in the section III of              because they do not clearly specify how               sets of sources. Hence, the NOX
                                                 this notice.                                            to properly establish an alternative                  averaging provisions in section 129.98,
                                                    Any definitions related to the RACT                  RACT limit and do not require the                     even if sufficiently specific, would not
                                                 II Rule are codified in 25 Pa. Code                     submission of averaging NOX limits to                 be adequate to fully meet RACT in the
                                                 section 121.1. The May 16, 2016 SIP                     EPA for SIP approval as RACT. EPA                     absence of the submitted RACT
                                                 revision included amendments to                         finds that the NOX averaging provisions,              emissions limitations for approval into
                                                 existing definitions: ‘‘CEMS—                           particularly as provided in section                   the SIP.7 Consequently, NOX averaging
                                                 continuous emissions monitoring                         129.98(e), are too vague to establish an              alternative limits would need to be
                                                 system,’’ ‘‘major NOX emitting facility,’’              adequate alternative RACT limit,                      established on a source-specific basis,
                                                 ‘‘major VOC emitting facility,’’                        without a specific determination for                  and would need to be submitted to EPA
                                                 ‘‘stationary internal combustion engine                 each source and specific inclusion into               for approval into the SIP.8
                                                 or stationary reciprocating internal                    the Pennsylvania SIP of all permit                       With respect to 25 Pa. Code section
                                                 combustion engine;’’ and included new                   conditions relevant to implementation                 129.99 for source-specific RACT, EPA
                                                 definitions for ‘‘process heater,’’                     of the NOX alternative limit for each                 finds that the generic process to
                                                 ‘‘refinery gas,’’ ‘‘regenerative cycle                  affected source. Although section 129.98              subsequently establish source-specific
                                                 combustion cycle combustion turbine,’’                  (e) intended to define the alternative                RACT emissions limits is deficient,
                                                 ‘‘simple cycle combustion turbine,’’ and                NOX RACT emission limit under a NOX                   because it lacks a date certain by which
                                                 ‘‘stationary combustion turbine.’’ The                  averaging plan, the equation provided                 Pennsylvania must submit the relevant
                                                 definitional changes in 25 Pa. Code                     only stipulates that the cumulative                   source-specific RACT SIP revisions to
                                                 section 121.1 are consistent with                       actual NOX emissions from the emission                EPA to meet RACT requirements for the
                                                 requirements in the RACT II Rule and                    units included in the averaging plan                  1997 and 2008 ozone NAAQS.
                                                 are thus approvable under CAA section                   must be no greater than the cumulative                According to EPA’s longstanding policy,
                                                 110.                                                    allowable NOX emissions for those                     such ‘‘generic rule’’ or process cannot
                                                    EPA finds that the presumptive                       emissions units. Section 129.98(e) also               fully satisfy RACT, in the absence of the
                                                 requirements of 25 Pa. Code section                     specifies that the alternative NOX limit              submitted emission limitations.9 Thus,
                                                 129.97 represent RACT for the NOX and                   must be based on the application of the
                                                 VOC source categories affected by these                 relevant presumptive NOX limit (as an                    6 The use of the term emissions limitation is not

                                                 provisions. EPA also finds that the                     emissions rate) under 25 Pa. Code                     meant to exclude the use of work practice standards
                                                                                                                                                               or other operation and maintenance requirements
                                                 applicability requirements of 25 Pa.                    section 129.97 or a more stringent limit              that might be determined to be RACT.
                                                 Code section 129.96, the compliance                     and must be expressed as NOX mass                        7 EPA’s November 7, 1996 Memorandum

                                                 demonstration requirements of 25 Pa.                    emissions; and it requires compliance                 ‘‘Approval Option for Generic RACT Rules
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                                                 Code section 129.100, and the                           with the alternative NOX limit                        Submitted to Meet the non-CTG VOC RACT
                                                                                                                                                               Requirements and Certain NOX RACT
                                                 definitions in 25 Pa. Code section 121.1                determined on a 30-day rolling basis.                 Requirements.’’
                                                 are necessary to implement the RACT                     Neither 25 Pa. Code section 129.98(e)                    8 However, as mentioned previously, the D.C. Cir.

                                                 requirements of section 129.97. Thus,                   nor any other provision in section                    Court recently upheld the use of NOX averaging to
                                                 EPA finds that these particular                         129.98 establish how to properly                      meet RACT requirements for 2008 ozone NAAQS.
                                                                                                                                                               South Coast Air Quality Mgmt. Dist. v. EPA, No. 15–
                                                 provisions of the RACT II Rule are                      compute the alternative NOX limit, such               1115 (D.C. Cir. Feb. 16, 2018).
                                                 approvable in accordance with                           that an affected source can consistently                 9 EPA’s November 7, 1996 Memorandum

                                                 requirements in CAA sections 110, 172,                  establish an alternative limit and the                ‘‘Approval Option for Generic RACT Rules
                                                                                                                                                                                               JA031
                                            VerDate Sep<11>2014   16:23 Mar 13, 2018   Jkt 244001   PO 00000   Frm 00007   Fmt 4702   Sfmt 4702   E:\FR\FM\14MRP1.SGM   14MRP1
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                                                 EPA cannot fully approve 25 Pa. Code                    these provisions as meeting RACT for                  rule, the conditional approval remains
                                                 section 129.99 of the RACT II Rule                      sources seeking a NOX averaging plan or               in effect until EPA takes its final action.
                                                 without the submission of all source-                   source-specific RACT. Under section                      By conditionally approving 25 Pa.
                                                 specific RACT limits established under                  110(k)(4) of the CAA, EPA may                         Code sections 129.98 and 129.99, EPA
                                                 these provisions.                                       conditionally approve a plan based on                 would ensure that adequate RACT
                                                    Further, EPA finds that the RACT II                  a commitment from the state to adopt                  limits are established in addition to or
                                                 Rule does not specify compliance                        specific enforceable measures within 1                as alternative to the presumptive RACT
                                                 demonstration requirements for sources                  year from the date of approval. If the                requirements of 25 Pa. Code section
                                                 choosing to meet RACT by complying                      state fails to adopt and submit the                   129.97. Additional compliance
                                                 with NOX averaging under section                        specified measures by the end of 1 year               demonstration requirements would also
                                                 129.98. Section 129.100 only establishes                (from the final conditional approval), or             be approved into the SIP for sources
                                                 recordkeeping requirements for sources                  fails to submit anything at all, EPA will             complying with either 25 Pa. Code
                                                 complying with NOX averaging under                      revert its conditional approval to a                  section 129.98 or 129.99, which would
                                                 section 129.98. Section 129.98 requires                 disapproval, triggering additional                    ensure adequate federal and practical
                                                 each source included in the NOX                         obligations under sections 179 and                    enforceability of any additional RACT
                                                 emissions averaging plan to provide                     110(c) of the CAA.                                    limits under the RACT II Rule for
                                                 methods for demonstrating compliance                       In this event, EPA will send a letter              compliance with CAA section
                                                 and recordkeeping and reporting                         to the state finding that it had failed to            110(a)(2)(A). In addition, with EPA’s
                                                 requirements; however, those                            meet its commitment and that the SIP                  conditional approval of these
                                                 requirements are not required to be                     submittal is disapproved. Subsequently,               requirements, EPA would set a specific
                                                 included into the SIP. Because these                    a disapproval notice will be published                schedule for producing enforceable
                                                 additional compliance demonstration                     in the Federal Register, and appropriate              RACT measures, resulting in more
                                                 requirements would need to be                           language will be inserted in the Code of              timely implementation of RACT
                                                 determined on a source-specific basis                   Federal Regulations. EPA’s disapproval,               controls in Pennsylvania than would
                                                 consistent with the limits and affected                 effective as of the date of the letter to the         otherwise occur if EPA was to
                                                 sources under a NOX averaging plan,                     state, will trigger a ‘‘clock’’ to impose             disapprove these provisions and require
                                                 EPA requires the submission of such                     sanctions under section 179(a) and for                a federal plan for control.
                                                 requirements for approval into the SIP,                 EPA to issue a federal implementation                    Conditional approval of 25 Pa. Code
                                                 in order for the alternative NOX limits                 plan (FIP) under section 110(c)(1). For               sections 129.98 and 129.99 should not
                                                 under section 129.98 to be practically                  plan submittals required under Part D,                result in the approved portions of the
                                                 and federally enforceable, pursuant to                  such as ozone RACT, section 179(a)                    RACT II Rule being any more stringent
                                                 CAA section 110(a)(2)(A).                               allows for up to 18 months for the state              than anticipated or intended by
                                                    On September 26, 2017, PADEP                         to correct the deficiency that is the                 Pennsylvania. 25 Pa. Code 129.99
                                                 submitted a supplemental document to                    subject of a finding or disapproval                   requires source-specific RACT to receive
                                                 EPA that included PADEP’s specific                      before EPA is required to impose                      EPA approval and required sources
                                                 commitments to address the                              sanctions. Further, section 110(c)(1)                 complying with these requirements to
                                                 deficiencies in 25 Pa. Code sections                    provides for up to 2 years for the state              submit an alternative proposal to
                                                 129.98 and 129.99. PADEP committed to                   to correct the deficiency, or else                    PADEP by a date certain which has
                                                 submit to EPA, within 12 months of                      additional sanctions apply at this time,              already passed. In addition, compliance
                                                 EPA’s final rulemaking action,                          and for EPA to approve a new submittal                with 25 Pa. Code sections 129.98 and
                                                 additional SIP revisions that include the               before being obligated to promulgate a                129.99 is intended in most cases as an
                                                 portions of enforceable permits                         FIP. Similarly, if EPA receives a                     alternative option for affected sources
                                                 containing the terms and conditions                     submittal addressing the commitment                   that are unable to comply with the
                                                 relevant for compliance with section                    but determines that the submittal is                  established presumptive RACT
                                                 129.98, which would include the                         incomplete, EPA will send a letter to the             emissions requirements under section
                                                 alternative NOX limits as averaging                     state making such a finding. As with the              129.97. The presumptive RACT
                                                 plans and relevant compliance                           failure to submit, the sanctions and FIP              requirements in section 129.97 remain
                                                 demonstration requirements. PADEP                       clocks will begin as of the date of the               applicable unless and until a source
                                                 also committed to submit within 12                      finding letter.                                       receives approval of an alternative
                                                 months of EPA’s final rulemaking                           In addition, where the state does                  RACT limit (under 25 Pa. Code sections
                                                 action, additional source-specific RACT                 make a complete submittal by the end                  129.98 and 129.99) and EPA approves
                                                 SIP revisions containing source-specific                of the 1-year period, EPA will have to                such alternative RACT limits into the
                                                 RACT limits approved by PADEP under                     evaluate that submittal to determine if it            Pennsylvania SIP. Further, PADEP’s
                                                 25 Pa. Code section 129.99. A copy of                   may be approved and take final action                 September 22, 2017 commitments
                                                 PADEP’s September 22, 2017                              on the submittal within 12 months after               confirm PADEP’s intention to submit
                                                 documentation containing these                          the date EPA determines the submittal                 alternative RACT limits under 25 Pa.
                                                 commitments is available in the docket                  is complete. If the submittal does not                Code sections 129.98 and 129.99 to EPA
                                                 for this rulemaking and online at                       adequately address the deficiencies that              for SIP approval. The submission of any
                                                 www.regulations.gov.                                    were the subject of the conditional                   alternative RACT requirement approved
                                                    EPA finds Pennsylvania’s                             approval, and is therefore not                        by Pennsylvania as a SIP revision will
                                                 commitments adequately address the                      approvable, EPA will go through notice-               not supplant the presumptive RACT
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                                                 deficiencies noted in this rulemaking                   and-comment rulemaking to disapprove                  requirements for purposes of Federal
                                                 action for 25 Pa. Code sections 129.98                  the submittal. The 18-month clock for                 enforceability unless and until the
                                                 and 129.99 and are a sufficient basis for               sanctions and the 2-year clock for a FIP              alternative is fully approved by EPA
                                                 EPA to propose conditional approval of                  start as of the date of final disapproval.            into the SIP.
                                                                                                         If EPA determines that the rule is                       In conclusion, EPA is proposing
                                                 Submitted to Meet the non-CTG VOC RACT
                                                                                                         approvable, EPA will propose approval                 conditional approval under CAA section
                                                 Requirements and Certain NOX RACT                       of the rule. In either instance, whether              110(k)(4) only of 25 Pa. Code sections
                                                 Requirements.’’                                         EPA finally approves or disapproves the               129.98 and 129.99 of the RACT II Rule
                                                                                                                                                                                         JA032
                                            VerDate Sep<11>2014   16:23 Mar 13, 2018   Jkt 244001   PO 00000   Frm 00008   Fmt 4702   Sfmt 4702   E:\FR\FM\14MRP1.SGM   14MRP1
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                                                 for the reasons provided above. EPA is                  IV. Incorporation by Reference                           • is not a significant regulatory action
                                                 also proposing full approval under CAA                     In this proposed rule, EPA is                      subject to Executive Order 13211 (66 FR
                                                 110 of the rest of the RACT II Rule                     proposing to include in a final EPA rule              28355, May 22, 2001);
                                                 included for incorporation in the                                                                                • is not subject to requirements of
                                                                                                         regulatory text that includes
                                                 Pennsylvania SIP through PADEP’s May                                                                          Section 12(d) of the National
                                                                                                         incorporation by reference. In
                                                 16, 2016 SIP submittal, as EPA finds                                                                          Technology Transfer and Advancement
                                                                                                         accordance with requirements of 1 CFR
                                                 that the remainder of the RACT II Rule                                                                        Act of 1995 (15 U.S.C. 272 note) because
                                                                                                         51.5, EPA is proposing to incorporate by
                                                 meets the intended RACT requirements                                                                          application of those requirements would
                                                                                                         reference the regulatory provisions of 25
                                                 under sections 172, 182, 184 and 110 of                                                                       be inconsistent with the CAA; and
                                                                                                         Pa. Code sections 129.96–129.100 of the
                                                 the CAA for the 1997 and 2008 ozone                                                                              • does not provide EPA with the
                                                                                                         RACT II Rule and related amendments
                                                                                                                                                               discretionary authority to address, as
                                                 NAAQS.                                                  of 25 Pa Code section 121.1, as adopted
                                                                                                                                                               appropriate, disproportionate human
                                                                                                         by Pennsylvania on April 23, 2016. EPA
                                                 IV. Proposed Action                                                                                           health or environmental effects, using
                                                                                                         has made, and will continue to make,
                                                                                                                                                               practicable and legally permissible
                                                   EPA’s review of the Pennsylvania                      these materials generally available
                                                                                                                                                               methods, under Executive Order 12898
                                                 May 16, 2016 SIP submittal indicates                    through http://www.regulations.gov and
                                                                                                                                                               (59 FR 7629, February 16, 1994).
                                                 that certain portions of the submittal are              at the EPA Region III Office (please                     In addition, this proposed rule,
                                                 adequate to meet RACT requirements                      contact the person identified in the ‘‘For            concerning Pennsylvania’s 1997 and
                                                 under the CAA for both the 1997 and                     Further Information Contact’’ section of              2008 8-hour ozone reasonably available
                                                 2008 8-hour ozone NAAQS. EPA is                         this preamble for more information).                  control technology for certain major
                                                 proposing to fully approve into the SIP                 V. Statutory and Executive Order                      NOx and VOC sources, does not have
                                                 the provisions in 25 Pa. Code sections                  Reviews                                               tribal implications as specified by
                                                 129.96–129.97, and 129.100 of the                                                                             Executive Order 13175 (65 FR 67249,
                                                                                                            Under the CAA, the Administrator is
                                                 RACT II Rule and relevant definitions in                                                                      November 9, 2000), because the SIP is
                                                                                                         required to approve a SIP submission
                                                 25 Pa. Code section 121.1, adopted by                                                                         not approved to apply in Indian country
                                                                                                         that complies with the provisions of the
                                                 Pennsylvania on April 23, 2016, as                                                                            located in the state, and EPA notes that
                                                                                                         CAA and applicable federal regulations.
                                                 meeting RACT for the 1997 and 2008                                                                            it will not impose substantial direct
                                                                                                         42 U.S.C. 7410(k); 40 CFR 52.02(a).
                                                 ozone NAAQS. These provisions are                                                                             costs on tribal governments or preempt
                                                                                                         Thus, in reviewing SIP submissions,
                                                 adequate to meet the ozone-specific                                                                           tribal law.
                                                                                                         EPA’s role is to approve state choices,
                                                 RACT requirements of sections 172,                      provided that they meet the criteria of               List of Subjects in 40 CFR Part 52
                                                 182(b)(2)(C), 182(f), and 184 of the CAA                the CAA. Accordingly, this action                       Environmental protection, Air
                                                 for both the 1997 and 2008 8-hour ozone                 merely approves state law as meeting                  pollution control, Incorporation by
                                                 NAAQS for specific NOX and VOC                          federal requirements and does not                     reference, Intergovernmental relations,
                                                 sources in Pennsylvania, and in                         impose additional requirements beyond                 Nitrogen dioxide, Ozone, Reporting and
                                                 accordance with section 110.                            those imposed by state law. For that                  recordkeeping requirements, Volatile
                                                   In addition, EPA is proposing to                      reason, this proposed action:                         organic compounds.
                                                 conditionally approve 25 Pa. Code                          • Is not a ‘‘significant regulatory
                                                                                                                                                                 Authority: 42 U.S.C. 7401 et seq.
                                                 sections 129.98 and 129.99, as these                    action’’ subject to review by the Office
                                                                                                         of Management and Budget under                          Dated: February 23, 2018.
                                                 provisions provide alternative RACT
                                                 requirements which require further                      Executive Orders 12866 (58 FR 51735,                  Cosmo Servidio,
                                                 PADEP and EPA action in order to meet                   October 4, 1993) and 13563 (76 FR 3821,               Regional Administrator, Region III.
                                                 RACT requirements under the CAA. The                    January 21, 2011);                                    [FR Doc. 2018–04933 Filed 3–13–18; 8:45 am]
                                                                                                            • is not an Executive Order 13771 (82
                                                 provisions of 25 Pa. Code sections                                                                            BILLING CODE 6560–50–P
                                                                                                         FR 9339, February 2, 2017) regulatory
                                                 129.98 and 129.99 will become fully
                                                                                                         action because SIP approvals are
                                                 approvable, if PADEP submits to EPA,
                                                                                                         exempted under Executive Order 12866.                 DEPARTMENT OF THE INTERIOR
                                                 within 12 months of EPA’s final action,
                                                                                                            • does not impose an information
                                                 additional SIP revisions that include                   collection burden under the provisions
                                                 any alternative NOX averaging limits                                                                          Fish and Wildlife Service
                                                                                                         of the Paperwork Reduction Act (44
                                                 and source-specific RACT limits                         U.S.C. 3501 et seq.);                                 50 CFR Part 17
                                                 adopted under sections 129.98 and                          • is certified as not having a
                                                 129.99, respectively, as well as any                    significant economic impact on a                      [Docket No. FWS–R2–ES–2016–0110;
                                                 relevant compliance demonstration                                                                             FXES11130900000 178 FF09E42000]
                                                                                                         substantial number of small entities
                                                 requirements. Once EPA has determined                   under the Regulatory Flexibility Act (5               RIN 1018–BB79
                                                 that PADEP has satisfied this condition,                U.S.C. 601 et seq.);
                                                 EPA shall remove the conditional nature                    • does not contain any unfunded                    Endangered and Threatened Wildlife
                                                 of its approval and, at that time, the                  mandate or significantly or uniquely                  and Plants; Removing the Black-
                                                 provisions in 25 Pa. Code sections                      affect small governments, as described                Capped Vireo From the Federal List of
                                                 129.98 and 129.99 will receive a full                   in the Unfunded Mandates Reform Act                   Endangered and Threatened Wildlife;
                                                 approval status. Should PADEP fail to                   of 1995 (Pub. L. 104–4);                              Availability of Post-Delisting
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                                                 meet this condition, the final                             • does not have federalism                         Monitoring Plan
                                                 conditional approval of 25 Pa. Code                     implications as specified in Executive                AGENCY:   Fish and Wildlife Service,
                                                 sections 129.98 and 129.99 will convert                 Order 13132 (64 FR 43255, August 10,                  Interior.
                                                 to a disapproval. EPA is soliciting                     1999);                                                ACTION: Proposed rule; availability of
                                                 public comments on the issues                              • is not an economically significant               supplemental information.
                                                 discussed in this document. These                       regulatory action based on health or
                                                 comments will be considered before                      safety risks subject to Executive Order               SUMMARY:  We, the U.S. Fish and
                                                 taking final action.                                    13045 (62 FR 19885, April 23, 1997);                  Wildlife Service (Service), announce the
                                                                                                                                                                                             JA033
                                            VerDate Sep<11>2014   16:23 Mar 13, 2018   Jkt 244001   PO 00000   Frm 00009   Fmt 4702   Sfmt 4702   E:\FR\FM\14MRP1.SGM   14MRP1
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                          UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                                 REGION III
                                              1650 Arch Street
                                    Philadelphia, Pennsylvania 19103-2029




DATE:              2/22/2018


SUBJECT:           Technical Support Document for the Pennsylvania State Implementation Plan
                   Revision for Certain Reasonably Available Control Technology Requirements
                   under the 1997 and 2008 8-hour Ozone National Ambient Air Quality Standard

FROM:                   \s\ ______________________________ ,
                   Emlyn Vélez-Rosa, Environmental Engineer
                   Office of Air Program Planning (3AP30)

TO:                SIP Docket File: EPA-R03-OAR-2017-0290


REVIEWED                 \s\ ____________________                  ,
BY:                Susan I. Spielberger, Associate Director
                   Office of Air Program Planning (3AP30)



      I.     Affected Regulation

          On May 16, 2016, the Pennsylvania Department of Environmental Protection (PADEP)
      submitted a revision to the Commonwealth of Pennsylvania (Pennsylvania) State Implementation
      Plan (SIP) consisting of amendments to regulations in 25 Pa. Code chapters 121 and 129 to meet
      certain reasonably available control technology (RACT) requirements of the Clean Air Act
      (CAA) for both the 1997 and 2008 8-hour ozone National Ambient Air Quality Standard
      (NAAQS or standard). This technical support document (TSD) provides the Environmental
      Protection Agency’s (EPA’s) rationale for proposing rulemaking action on Pennsylvania’s
      RACT SIP revision.

      II.     Background

      A.       Ozone NAAQS and RACT Requirements

            On July 18, 1997 (62 FR 38856), EPA promulgated a standard for ground level ozone based


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on 8-hour average concentrations. The 8-hour averaging period replaced the previous 1-hour
averaging period, and the level of the NAAQS was changed from 0.12 parts per million (ppm) to
0.08 ppm. On April 30, 2004, EPA designated two nonattainment areas in Pennsylvania under
the 1997 8-hour ozone NAAQS, namely Philadelphia-Wilmington-Atlantic City, PA-NJ-MD-DE
(the Philadelphia Area) and Pittsburgh-Beaver Valley (the Pittsburgh Area). The remaining 14
areas in Pennsylvania were designated marginal nonattainment areas. See 69 FR 23858 and
23931; see also 40 CFR 81.339.

    On March 12, 2008, EPA strengthened the 8-hour ozone standards, by revising its level to
0.075 parts per million (ppm) averaged over an 8-hour period (2008 8-hour ozone NAAQS). On
May 21, 2012, EPA designated five marginal nonattainment areas in Pennsylvania for the 2008
8-hour ozone NAAQS: Allentown-Bethlehem-Easton, Lancaster, Reading, the Philadelphia
Area, and the Pittsburgh Area. See 77 FR 30088.

    On March 6, 2015 (80 FR 12264), EPA announced its revocation of the 1997 8-hour ozone
NAAQS for all purposes and for all areas in the country, effective on April 6, 2015. EPA has
determined that certain nonattainment planning requirements continue to be in effect under the
revoked standard for nonattainment areas under the 1997 8-hour ozone NAAQS, including
RACT. See 80 FR 12296 (March 6, 2015).

    The CAA regulates emissions of nitrogen oxides (NOx) and volatile organic compounds
(VOC) to prevent photochemical reactions that result in ozone formation. RACT is an important
strategy for reducing NOx and VOC emissions from major stationary sources within areas not
meeting the ozone NAAQS. Since the 1970’s, EPA has consistently defined “RACT” as the
lowest emission limit that a particular source is capable of meeting by the application of the
control technology that is reasonably available considering technological and economic
feasibility.1

    Section 172(c)(1) of the CAA provides that SIPs for nonattainment areas must include
reasonably available control measures (RACM) for demonstrating attainment of all NAAQS,
including emissions reductions from existing sources through adoption of RACT. Further,
section 182(b)(2) of the CAA sets forth three distinct requirements regarding RACT for the
ozone NAAQS: First, section 182(b)(2)(A) requires states to submit a rule (or negative
declaration) for each category of VOC sources in the area covered by a control technique
Guideline (CTG) document issued by EPA between November 15, 1990 and the date of
attainment. These rules shall be submitted as SIP revisions within the period set forth by EPA in
issuing the relevant CTG document. Second, section 182(b)(2)(B) requires a rule (or negative


1
 See December 9, 1976 memorandum from Roger Strelow, Assistant Administrator for Air and Waste
Management, to Regional Administrators, “Guidance for Determining Acceptability of SIP Regulations in Non-
Attainment Areas,” and also 44 FR 53762; September 17, 1979.

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declaration) for all VOC sources in the area covered by any CTG issued before November 15,
1990. And third, section 182(b)(2)(C) requires a rule or rules for all other major stationary
sources of VOCs that are located in the area. In addition, section 182(f) subjects major
stationary sources of NOx to the same RACT requirements applicable to major stationary
sources of VOC.2 EPA has not issued any CTGs for categories of NOx sources, so this
requirement in essence refers to section 182(b)(2)(C). The ozone RACT requirements under
section 182(b)(2) are usually referred to as VOC CTG RACT, non-CTG VOC RACT, and major
NOx RACT.

    Section 184(b)(1)(B) of the CAA applies the requirements in section 182(b)(2) to
nonattainment areas classified as marginal and attainment areas located within ozone transport
regions established pursuant to section 184 of the CAA. Section 184(a) of the CAA established
by law the current Ozone Transport Region (OTR) comprised of 12 eastern states, including
Pennsylvania. This requirement is referred to as OTR RACT.

    EPA’s CTGs establish presumptive RACT level control requirements for various source
categories; that is, they identify a level of control, which EPA recommends as RACT for the
affected source category. In some cases, EPA has issued Alternative Control Techniques
guidelines (ACTs) for source categories, which in contrast to the CTGs, only present a range for
possible control options but do not identify any particular option as the presumptive norm for
what is RACT. EPA has provided more substantive RACT requirements through
implementation rules for each ozone NAAQS as well as guidance. For a discussion on EPA’s
RACT regulatory requirements, see the notice of proposed rulemaking (NPR).

B.       Ozone RACT Applicability in Pennsylvania

    RACT under each ozone NAAQS applies to major sources of NOx and VOC, and must be
evaluated and satisfied as separate requirements under the applicable standard. At the time of
revocation of the 1997 8-hour ozone NAAQS (effective April 6, 2015), only two moderate
nonattainment areas remained in the Commonwealth of Pennsylvania for this standard, the
Philadelphia and the Pittsburgh Areas. As required under EPA’s anti-backsliding provisions,
these two moderate nonattainment areas continue to be subject to RACT under the 1997 8-hour
ozone NAAQS.

     In addition, the entire Commonwealth of Pennsylvania is part of the OTR established under
section 184 of the CAA. Given its location in the OTR, the remainder of the Commonwealth is
also treated as a moderate nonattainment area under the 1997 8-hour ozone NAAQS for any


2
  A “major source” is defined based on the source’s potential to emit (PTE) of NOx or VOC, and the applicable
thresholds for RACT differ based on the classification of the nonattainment area in which the source is located. See
sections 182(c)–(f) and 302 of the CAA.

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planning requirements under the revoked standard, including RACT. The OTR RACT
requirement is also in effect under the 2008 8-hour ozone NAAQS throughout the
Commonwealth, since EPA did not designate any nonattainment areas above marginal for this
standard in Pennsylvania. Thus, in effect, the same RACT requirements for moderate
nonattainment areas continue to be applicable statewide in Pennsylvania under both the 1997 and
2008 8-hour ozone NAAQS.

    RACT applies to major sources of NOx and VOC under each ozone NAAQS or any VOC
sources subject to CTG RACT. Which NOx and VOC sources in Pennsylvania are considered
“major” and must be therefore subject to RACT, is dependent on the location of each source
within the Commonwealth. Sources located in nonattainment areas are subject to the “major
source” definitions established under the CAA. In the case of Pennsylvania, sources located in
any areas outside of moderate or above nonattainment areas, as part of the OTR, are treated as if
these areas were moderate.

    In Pennsylvania, the SIP program is implemented primarily by PADEP, but also by local air
agencies in Philadelphia County (the City of Philadelphia Air Management Services (AMS)) and
Allegheny County, (Allegheny County Health Department (ACHD)). These agencies have
implemented numerous RACT regulations and source-specific measures in Pennsylvania to meet
the applicable ozone RACT requirements. Statewide RACT controls have been promulgated by
PADEP in Pennsylvania Code Title 25- Environmental Resources, Part I- Department of
Environmental Protection, Subpart C- Protection of Natural Resources, Article III- Air
Resources, (25 Pa. Code) Chapter 129. AMS and ACHD incorporate by reference Pennsylvania
regulations, but have also promulgated a number of regulations adopting RACT controls for their
own jurisdictions. In addition, AMS and ACHD have submitted separate source-specific RACT
determinations as SIP revisions, which have been approved by EPA. See 40 CFR 52.2020(d)(1).

    States were required to make RACT SIP submissions for the 1997 8-hour ozone NAAQS by
September 15, 2006. PADEP submitted a SIP revision on September 25, 2006, certifying that a
number of previously approved VOC RACT rules continued to satisfy RACT under the 1997 8-
hour ozone NAAQS for the remainder of Pennsylvania.3 PADEP has met its obligations under
the 1997 8-hour ozone NAAQS for its CTG and non-CTG VOC sources. See 82 FR 31464 (July
7, 2017). RACT control measures addressing all applicable CAA RACT requirements under the
1997 8-hour ozone NAAQS have been implemented and fully approved in the jurisdictions of
Allegheny County and Philadelphia County. See 78 FR 34584 (June 10, 2013) and 81 FR 69687
(October 7, 2016).




3
 The September 15, 2006 SIP submittal initially included Pennsylvania’s certification of NOx RACT regulations;
however, NOx RACT portions were withdrawn by PADEP on June 27, 2016.

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    For the 2008 8-hour ozone NAAQS, states were required to submit RACT SIP revisions by
July 20, 2014. On May 16, 2016, PADEP submitted a SIP revision addressing RACT under both
the 1997 and 2008 8-hour ozone NAAQS in Pennsylvania. PADEP’s May 16, 2016 SIP revision
intends to address certain outstanding non-CTG VOC RACT, VOC CTG RACT, and major NOx
RACT requirements under the CAA for both standards. This TSD discusses EPA’s rationale for
proposing rulemaking action on the Pennsylvania May 16, 2016 SIP revision for purposes of
meeting certain RACT requirements under the CAA.

III. Summary of Pennsylvania SIP Revision

    The May 16, 2016 SIP revision submitted by PADEP consists of the Pennsylvania regulation
in 25 Pa. Code sections 129.96-100 titled “Additional RACT Requirements for Major Sources of
NOx and VOCs” (hereafter referred to as the RACT II Rule) and amendments to 25 Pa. Code
section 121.1, including related definitions, to be incorporated into the SIP. These revisions
were adopted by PADEP on April 23, 2016 and effective on the same date upon publication in
the Pennsylvania Bulletin. The RACT II Rule supersedes in part Pennsylvania’s regulation in 25
Pa. Code sections 129.91-95 for purposes of meeting certain RACT obligations under 1997 and
2008 ozone NAAQS.

    As provided in section 129.96, the RACT II Rule applies statewide to any existing major
NOx and/or VOC sources not subject to other Pennsylvania RACT regulations specified in
129.96(a)-(b).4 RACT II Rule standards, provided in sections 129.96 to 129.99, apply to any
emissions unit or process at the affected major source having a potential to emit (PTE) of 1 ton
per year (TPY) or more of NOx and/or VOC, whichever is the major pollutant at an affected
major source. In the context of the rule, existing major sources are those in existence on July 20,
2012 or any major sources installed of modified after July 20, 2012, which consequently became
a major source before January 1, 2017. Affected major sources must comply with all applicable
requirements of the RACT II Rule by January 1, 2017. However, the rule allows an affected
major source to petition an alternative compliance schedule if the source needs additional time to
install an air pollution control device to meet the requirements under the RACT II Rule.

    Section 129.97 of the RACT II Rule establishes NOx and VOC emission limits or
operational requirements on certain types of emissions units in the affected major sources which
Pennsylvania presumed to meet RACT, thus referred to as presumptive RACT. Presumptive
RACT NOx and/or VOC limits are provided for combustion units, process heaters, combustion
turbines, stationary internal combustion engines, cement kilns, municipal solid waste landfills,
and municipal waste combustors (MWCs). Affected major sources that cannot comply with the


4
 The terms “major NOx emitting facility” and “major VOC emitting facility” are used to refer to major stationary
sources, as defined in 25 Pa. Code section 121.1.


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applicable presumptive requirements for any given emissions units, may choose one of two
alternative compliance options to establish RACT for that unit through either a NOx emissions
averaging plan or a RACT proposal.

    The NOx averaging provisions in section 129.98 allow the owner or operator of an affected
major NOx source that is unable to meet a NOx presumptive limit for at least one of its
emissions unit, to establish an alternative RACT limit by averaging the NOx emissions from the
non-compliant emissions unit and any other emissions units also subject to NOx presumptive
limits in section 129.97. Participating NOx emission units can be located either within the same
facility (facility-wide averaging) or in another facility but within the same nonattainment area
(system-wide averaging).5

    As an alternative, section 129.99 allows the owner or operator of an affected major NOx
and/or VOC source that is unable to meet a presumptive limit for at least one of its emissions
unit, to propose an alternative RACT emissions limit, based on the feasibility evaluation of
reasonably available controls for each particular emissions unit. The resulting limits are
typically unique to the affected emissions unit and achievable through the application of specific
controls, therefore referred to as source-specific RACT limits. In addition, section 129.99
requires an affected major source of NOx and/or VOC with any emissions unit that is not subject
to section 129.97, to propose a source-specific RACT limit under section 129.99, similarly based
on the evaluation of controls. Section 129.99 outlines a common procedure for proposing a
RACT limit, whether the source has chosen or is required to comply with source-specific RACT
under the RACT II Rule. A written RACT proposal under section 129.99 must be submitted to
PADEP or local agency for any affected emissions units with PTE of 5.0 TPY or more of NOx
and/or 2.7 TPY or more of VOC. Source-specific limits determined to be adequate by PADEP
or local agency will be approved into federally enforceable permits and then submitted for EPA’s
review and approval into the SIP to meet RACT.

  Relevant definitions and general compliance requirements were established as part of the
RACT II Rule, in 25 Pa. Code section 121.1 and 129.100, respectively.

    On September 26, 2017, PADEP submitted a supplemental document that clarified the
intended implementation of certain provisions of the RACT II Rule. The supplemental submittal


5
  On February 16, 2018, the United States Court of Appeals for the District of Columbia Circuit (D.C. Cir. Court)
issued an opinion on the requirements EPA promulgated for implementing the 2008 ozone NAAQS, known as the
2008 Ozone SIP Requirements Rule. South Coast Air Quality Mgmt. Dist. v. EPA, No. 15-1115 (D.C. Cir. Feb. 16,
2018). The D.C. Cir. Court found certain parts reasonable and denied the petition for appeal on those. In particular,
the D.C. Cir. Court upheld the use of NOx averaging to meet RACT requirements for 2008 ozone
NAAQS. However, the Court also found certain other provisions, not relevant to this action, unreasonable. The D.
C. Cir. Court vacated the provisions it found unreasonable.


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also included PADEP’s commitments to submit additional SIP revisions to address certain
deficiencies of the RACT II Rule identified by EPA.

IV. EPA’s Evaluation of Pennsylvania RACT II Rule SIP

     EPA has evaluated various components of the RACT II Rule for determining approvability
and compliance with the CAA RACT requirements and EPA’s RACT policy.
   A. Scope of RACT SIP Revision Based on Rule’s Applicability

     In its transmittal letter, PADEP indicates that the May 16, 2016 SIP revision containing the
RACT II Rule was submitted to EPA “to fulfill certain 8-hour ozone RACT requirements for the
1997 and 2008 ozone National Ambient Air Quality Standards and to satisfy requirements of the
Clean Air Act for sources located in ozone nonattainment areas and the Ozone Transport
Region.” EPA has reviewed the applicability of the RACT II Rule to further identify the specific
RACT requirements of the CAA addressed by the May 16, 2016 SIP revision.

       As provided in section 129.96, the RACT II Rule applies to major sources of NOx and
VOC that are not covered by other Pennsylvania rules specified in paragraphs (a) and (b). Table
1 lists those exempted rules and indicates the applicable RACT requirement, based on EPA’s
approval of such regulation into the SIP.

        Table 1. Exemptions in RACT II Rule Listed in 25 Pa. Code Section 129.96(a)-(b)
    25 Pa. Code     Title of Regulation                        Relevance to RACT (as SIP-
    Section                                                    approved)
    129.51.         General. (VOC sources)                     Supporting RACT provisions6
    129.52.         Surface coating processes.                 CTG VOC RACT
    129.52a.        Control of VOC emissions from large        CTG VOC RACT (for 2008 ozone
                    appliance and metal furniture surface      NAAQS)
                    coating processes.
    129.52b.        Control of VOC emissions from paper,       CTG VOC RACT (for 2008 ozone
                    film and foil surface coating processes.   RACT)
    129.52c.        Control of VOC emissions from flat         CTG VOC RACT (for 2008 ozone
                    wood paneling surface coating              NAAQS)
                    processes.
    129.54.         Seasonal operation of auxiliary            RACT Correction7
                    incineration equipment.
    129.55.         Petroleum refineries—specific sources.     CTG VOC RACT

6
  25 Pa. Code section 129.51 contains compliance demonstration requirements for sources subject to other CTG
rules (25 Pa. Code section 129.52, 129.52a, 129.52b, 129.52c, 129.54-129.69, 129.71-129.73 and 129.77).
7
  25 Pa. Code section 129.54 was approved into the SIP to meet RACT under the 1-hour ozone NAAQS for seasonal
operation of auxiliary incineration equipment, but was later revised by PADEP in 1991 to correct deficiencies in
Pennsylvania’s SIP, pursuant to EPA’s requirements in CAA section 182(a)(2)(A). 58 FR 28362 (May 13, 1993).

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    25 Pa. Code     Title of Regulation                       Relevance to RACT (as SIP-
    Section                                                   approved)
    129.56.         Storage tanks greater than 40,000         CTG VOC RACT
                    gallons capacity containing VOCs.
    129.57.         Storage tanks less than or equal to       CTG VOC RACT
                    40,000 gallons capacity containing
                    VOCs.
    129.58.         Petroleum refineries—fugitive sources.    CTG VOC RACT
    129.59.         Bulk gasoline terminals.                  CTG VOC RACT
    129.60.         Bulk gasoline plants.                     CTG VOC RACT
    129.61.         Small gasoline storage tank control       CTG VOC RACT
                    (Stage 1 control).
    129.62.         General standards for bulk gasoline       CTG VOC RACT
                    terminals, bulk gasoline plants and
                    small gasoline storage tanks.
    129.63.         Degreasing operations.                    CTG VOC RACT
    129.64.         Cutback asphalt paving.                   CTG VOC RACT
    129.65.         Ethylene production plants.               Non-CTG VOC RACT
    129.66.         Compliance schedules and final            Supporting RACT provisions 8
                    compliance dates.
    129.67.         Graphic arts systems.                     CTG VOC RACT
    129.67a.        Control of VOC emissions from             CTG VOC RACT (only for 2008
                    flexible packaging printing presses.      ozone NAAQS)
    129.67b.        Control of VOC emissions from offset      CTG VOC RACT (only for 2008
                    lithographic printing presses and         ozone NAAQS)
                    letterpress printing presses.
    129.68.         Manufacture of synthesized                CTG VOC RACT
                    pharmaceutical products.
    129.69.         Manufacture of pneumatic rubber tires.    CTG VOC RACT
    129.71.          Synthetic organic chemical and           CTG VOC RACT
                    polymer manufacturing—fugitive
                    sources.
    129.72.         Manufacture of surface active agents.     Non-CTG VOC RACT
    129.73.         Aerospace manufacturing and rework.       CTG VOC RACT
    129.75.         Mobile equipment repair and               Non-CTG VOC RACT
                    refinishing.
    129.77.         Control of emissions from the use or      CTG VOC RACT
                    application of adhesives, sealants,
                    primers and solvents.
    129.101-        Wood furniture manufacturing              CTG VOC RACT

8
 25 Pa Code section 129.66 clarifies new compliance dates for CTG source categories covered by 25 PA code
129.51 and 129.52c, following Pennsylvania’s recent amendments to these regulations. 76 FR 31855 (June 2,
2011).

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 25 Pa. Code    Title of Regulation                     Relevance to RACT (as SIP-
 Section                                                approved)
 129.107        operations
 129.301-       Control of NOx emissions from glass     N/A
 129.310        melting furnaces

    All but one of the exempted rules listed in section 129.96(a)-(b) have been previously
approved by EPA into the SIP to meet RACT requirements under the CAA. The RACT II Rule
exempts all VOC source categories for which PADEP had adopted CTG RACT regulations at
the time the RACT II Rule was finalized. Regulations exempted under the RACT II Rule also
apply to three non-CTG VOC source categories: (1) ethylene production plants, (2) surface
active agents manufacturing, and (3) mobile equipment repair and refinishing. It is worth noting
that the RACT II Rule excludes the CTG and non-CTG major VOC source categories for which
PADEP has previously adopted regulations to meet 1997 8-hour ozone RACT. Also, some of the
excluded CTG regulations were recently adopted by PADEP to meet additional RACT
requirements that became applicable under the 2008 8-hour ozone NAAQS.

   There is one exempted rule listed in section 129.96(a)-(b) that has not been approved as
RACT, although it is approved into the SIP, 25 Pa. Code sections 129.301-129.310. This
regulation establishes NOx control requirements for glass melting furnaces, and is the only
exempted rule addressing a major NOx source category. Therefore, any other NOx major
sources in Pennsylvania would be covered by the RACT II Rule.

    In summary, the RACT II Rule addresses Pennsylvania RACT for all non-CTG major VOC
source categories, except ethylene production plants, surface active agents manufacturing, and
mobile equipment repair and refinishing; and all major NOx source categories, except glass
melting furnaces. Therefore, EPA concludes that PADEP’s May 16, 2016 SIP submittal intends
to satisfy the RACT requirements of sections 182(b)(2)(C), 182(f), and 184 of the CAA under
both the 1997 and 2008 8-hour ozone NAAQS for certain source categories.

   B. Compliance Date and Alternative Compliance Schedules

    Pennsylvania’s RACT II Rule establishes a general compliance date of January 1, 2017, as
provided in paragraphs in 129.97(a) and 129.99(d)(4). EPA recognizes that RACT controls
under the 1997 8-hour ozone NAAQS were required to be implemented in Pennsylvania by 2009
and that this requirement is past due; however, EPA believes that the May 16, 2016 SIP revision
should sufficiently address the pending RACT obligations under the 1997 8-hour ozone NAAQS
by addressing the more stringent RACT level of control under the 2008 8-hour ozone NAAQS.
The general compliance date of the RACT II Rule is consistent with EPA’s required deadline for
states to implement RACT controls under the 2008 8-hour ozone NAAQS. See 80 FR 12279.


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    The RACT II Rule also contains separate provisions, in sections 129.97(k)-(m) and
129.99(i)-(l), that provide additional time to an owner or operator of a major source that needs to
install an air pollution control device on an affected emissions unit in order to comply with the
RACT II limits, under either section 129.97 or section 129.99. These provisions allow the owner
or operator in this situation to petition in writing for an alternative compliance schedule.

    The process for alternative compliance schedules is outlined in sections 129.97(k)-(m) and
129.99(i)-(l). The written petitions were required to be submitted to PADEP or local agency by
October 26, 2014, or 6 months after meeting the major source definition, whichever is latest;
followed by approval or denial of such petitions in writing by PADEP or local agency. An
alternative compliance schedule petition must include, among other things, a schedule for the
installation of the air cleaning device, a proposed interim emission limit, and a proposed final
compliance date to implement such control device “as soon as possible but not later than 3 years
after the written approval of the petition.” The interim emissions limit will be imposed on the
affected emissions unit until installation is completed and compliance of the applicable RACT II
requirement is achieved. Once approved, the requirements of the petition must be incorporated
in an applicable operating permit or plan approval.

    EPA acknowledges that it was reasonable for Pennsylvania to believe it would be impractical
to presume that all sources would be able to install additional controls timely to meet the rule’s
January 1, 2017 deadline, given the timing of the RACT II Rule final rulemaking in April 23,
2016. The RACT II Rule only allowed up to nine months (from the time of Pennsylvania’s final
rulemaking to January 1, 2017) for sources to install and implement additional controls in order
to comply with the applicable requirements. EPA has estimated that installation of NOx controls
alone can take from five months to over a year depending on the type of control and the type of
source being retrofitted, which does not account for any additional time needed for permitting or
for any preparation prior the installation.9 Thus, allowing alternative schedules is reasonable, as
long as the source is able to justify that additional time is needed for the installation of additional
controls. EPA believes that the language in the rule allows for Pennsylvania’s implementation of
RACT controls as expeditiously as practicable.

    C. Presumptive RACT Requirements

    Section 129.97 of the RACT II Rule establishes operating or emissions limits for different
types of emissions units in the affected major sources of NOx and/or VOC. Operating
requirements apply to smaller emissions units. Namely, combustion units with rated heat input
equal to or greater than 20 million Btu/hour (MMBTU/hr) and less than 50 MMBTU/hr are
subject to biennial combustion tune-up, while other smaller emissions units, as specified in

9
 “Assessment of Non-EGU NOx Emission Controls, Cost of Controls, and Time for Compliance Final TSD” Table
3, Final Technical Support Document (TSD) for the Cross-State Air Pollution Rule for the 2008 Ozone NAAQS,
August 2016. EPA Docket ID No. EPA-HQ-OAR-2015-0500

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sections 129.97(c)(1) to (8), are required to be installed, maintained, and operated with
manufacturer’s specifications and with good operating practices. The remaining smaller
emissions units include NOx sources with PTE of less than 5 TPY, VOC sources with PTE of
less than 2.7 TPY, combustion units with rated heat input of less than 20 MMBTU/hour, and
emergency generators operating less than 500 hours in a 12-month rolling period.

    The RACT II Rule also sets forth specific NOx and/or VOC limits for eight source categories
designated by type of emissions units: (1) boilers, (2) process heaters, (3) any other (external)
combustion units, (4) combustion turbines, (5) stationary internal combustion engines, (6)
cement kilns, (7) municipal waste combustors, and (8) municipal solid waste (MSW) landfills.
VOC limits are only established for municipal solid waste landfills, combustion turbines, and
stationary internal combustion turbines. Tables 3 and 4 summarize applicable presumptive NOx
and VOC limits under Pennsylvania’s RACT II Rule, respectively.

Table 3. Presumptive NOx RACT Limits under 25 Pa. Code Section 129.97
 Source              Applicability                 NOx RACT Requirement            Applicable
 Category                                                                          Provision
 Combustion unit  Fired by natural gas             0.10 lb/MMBTU                   129.97(g)(1)(i)
 or process heaterFired by distillate oil          0.12 lb/MMBTU                   129.97(g)(1)(ii)
 with rated heat  Fired by residual oil            0.20 lb/MMBTU                   129.97(g)(1)(iii)
 input > 50       Fired by refinery gas            0.25 lb/MMBTU                   129.97(g)(1)(iv)
 MMBTU/hr         Fired by any other type of       0.25 lb/MMBTU                   129.97(g)(1)(vii)
                  solid fuel
 Coal-fired       With rated heat input > 50       0.45 lb/MMBTU                   129.97(g)(1)(v)
 combustion units MMBTU/hr, firing any
                  other type of solid fuel-fired
                  With rated heat input > 250      For circulating fluidized bed   129.97(g)(1)(vi)
                  MMBTU/hr, by firing              (CFB), 0.16 lb/MMBTU
                  configuration                    For tangentially fired,
                                                   0.35 lb/MMBTU
                                                   Any other type,
                                                   0.40 lb/MMBTU
                     With selective catalytic      0.12 lb/MMBTU                   129.97(g)(1)(viii)
                     reduction system (SCR)
                     operating with an inlet
                     temperature equal to or
                     greater than 600°F
 Combustion          Combined cycle or             For natural gas or              129.97(g)(2)(i)
 Turbine             combined heat and power       noncommercial gaseous fuel,
                     combustion turbine with       42 ppmvd, at 15% O2
                     rated output > 1000 bhp and   For oil, 96 ppmvd, at 15% O2
                     < 180 MW


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Source            Applicability                  NOx RACT Requirement           Applicable
Category                                                                        Provision
                  Combined cycle or              For natural gas or             129.97(g)(2)(ii)
                  combined heat and power        noncommercial gaseous fuel,
                  combustion turbine with        4 ppmvd, at 15% O2
                  rated output > 180 MW
                                                 For oil, 8 ppmvd, at 15% O2

                  Simple cycle or regenerative   For natural gas or             129.97(g)(2)(iii)
                  with rated output > 1000       noncommercial gaseous fuel,
                  bhp and < 6000 bhp             150 ppmvd, at 15% O2

                                                 For oil, 150 ppmvd, at 15%
                                                 O2
                  Simple cycle or regenerative   For natural gas or             129.97(g)(2)(iv)
                  with rated output > 6000       noncommercial gaseous fuel,
                  bhp                            42 ppmvd, at 15% O2

                                                 For oil, 96 ppmvd, at 15% O2

Stationary        Lean burn with rating > 500    3.0 gram/bhp-hr                129.97(g)(3)(i)
internal          bhp firing natural gas or
combustion        noncommercial gaseous fuel
engine
                  Rich burn with rating > 500    2.0 gram/bhp-hr                129.97(g)(3)(iii)
                  bhp firing natural gas or
                  noncommercial gaseous fuel
                  Lean or rich burn with         8.0 gram/bhp-hr                129.97(g)(3)(ii)
                  rating > 500 bhp firing
                  liquid fuel or dual fuel
Portland cement   Long-wet process               3.88 lb/ton of clinker         129.97(h)(1)
kilns                                            produced
                  Dry-wet process                3.44 lb /ton of clinker        129.97(h)(2)
                                                 produced
                  Pre-heater and pre-calciner    2.36 lb/ton of clinker         129.97(h)(3)
                  cement kilns                   produced
Municipal waste                                  180 ppmvd at 7% oxygen         129.97(f)
combustor




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Table 4. Presumptive VOC RACT Limits under 25 Pa. Code Section 129.97
 Source                  Applicability                     VOC RACT Requirement            Applicable
 Category                                                                                  Provision
 Municipal solid         Constructed on or before          Compliance with 40 CFR 60,      129.97(e)(1)
 waste landfill          May 30, 1991                      Subpart Cc.
                         Constructed after May 30,         Compliance with 40 CFR 60,      129.97(e)(2)
                         1991                              Subpart WWW.
 Combustion              Combined cycle or                 For natural gas or              129.97(g)(2)(i)
 Turbine                 combined heat and power           noncommercial gaseous fuel,
                         combustion turbine with           5 ppmvd, at 15% O2
                         rated output > 1000 bhp and       For oil, 9 ppmvd, at 15% O2
                         < 180 MW
                         Combined cycle or                 For natural gas or              129.97(g)(2)(ii)
                         combined heat and power           noncommercial gaseous fuel
                         combustion turbine with           and for oil, 2 ppmvd, at 15%
                         rated output > 180 MW             O2
                         Simple cycle or regenerative      For natural gas or              129.97(g)(2)(iii)
                         with rated output > 1000          noncommercial gaseous fuel
                         bhp and < 6000 bhp                and for oil, 9 ppmvd, at 15%
                                                           O2
                         Simple cycle or regenerative      For natural gas or              129.97(g)(2)(iv)
                         with rated output > 6000          noncommercial gaseous fuel
                         bhp                               and for oil, 9 ppmvd, at 15%
                                                           O2
 Stationary              Lean burn with rating > 500       For natural gas or              129.97(g)(3)(i)
 internal                bhp                               noncommercial gaseous fuel,
 combustion                                                liquid fuel or dual-fuel,
 engine                                                    1.0 gram/bhp-hr

                         Rich burn with rating > 500       For natural gas or              129.97(g)(3)(iii)
                         bhp                               noncommercial gaseous fuel,
                                                           1.0 gram /bhp-hr

    As presented, the majority of presumptive limits in section 129.97 of the RACT II Rule are
applicable to NOx emissions from combustion units. According to the National Emissions
Inventory (NEI)10, fuel combustion contributed 72% of NOx emissions from stationary sources
in Pennsylvania during 2011. From the fuel combustion sector, utility boilers alone constituted
71% of all NOx emissions reported in 2011. See Figures 1 and 2. A summary of NEI data relied
on this document is provided in Appendix A.




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     Unless specified otherwise, emissions data in this TSD is from 2011 NEI, version 2.

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    PADEP has established NOx or VOC emissions limits for some industrial processes: kilns at
cement manufacturing, municipal waste combustors, and municipal waste landfills. Industrial
processes constituted 26% of NOx emissions from Pennsylvania’s stationary sources during
2011. In Pennsylvania, the predominant NOx emitting industrial source categories were oil and
gas production, cement manufacturing, glass manufacturing, and lime manufacturing.

Figure 1. Pennsylvania’s 2011 NOx Emissions from Stationary Sources by Sector
                          2% 0.05%
                                                                 Industrial Processes
                                          26%

                                                                 Fuel Combustion



                                                                 Waste Disposal



                                                                 Other (Bulk gas terminals,
                                                                 gas stations, solvent, &
            72%                                                  miscelleaneous)




Figure 2. Pennsylvania’s 2011 NOx Emissions from Fuel Combustion Sector



                                                  Industrial/Commercial/Institutional
                    10%      13%
         1%                                       Boilers
               5%                                 Utility Boilers

                                                  Internal Combustion (Electricity)

                                                  Internal Combustion

                           71%                    Residential

                                                  Space Heaters < 1%




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    The RACT II Rule generally does not specify control technology for affected sources,
however, based on our evaluation, we believe the adopted presumptive NOx and VOC emissions
limits are reflective of reasonably available controls for each source category. RACT may
require control technologies that have been applied to similar, but not necessarily identical
source categories. Presumptive RACT limits are based on capabilities which are general to an
industry, but may not be attainable at every facility. 11 In addition, EPA generally considers
controls that have been achieved in practice by other similar existing sources to be
technologically and economically feasible. For that reason, in evaluating Pennsylvania’s
presumptive NOx limits, we have reviewed NOx emissions limits in effect at adjacent OTR
states for the source categories identified in Pennsylvania’s rule. EPA particularly reviewed
regulations that have been adopted as RACT in New York, New Jersey, Connecticut, and
Delaware, since these states are adjacent to or nearby Pennsylvania while being located in the
OTR. Appendix B of this TSD provides a summary of NOx limits from each state by source
category, as defined in Pennsylvania’s RACT II Rule. EPA’s evaluation of the requirements of
section 129.97 is provided in the following sections of this document.

        1.    Presumptive NOx RACT Limits for External Combustion Units

    Sections 129.97(g)(1)(i)-(v) and (vii) of the RACT II Rule set forth limits for controlling
NOx emissions from any external combustion units and process heaters with heat input rating of
50 MMBTU/hr or greater and combusting different fuels.12 This would apply to smaller
combustion units, which would include a number of industrial, commercial and institutional
(ICI) boilers as well as process and space heaters. The industrial boilers generally have heat
input ratings ranging from 10 to 250 MMBTU/hr, while institutional and commercial generally
range from 0.4 to 12.5 MMBTU/hr.13 The RACT II Rule established additional requirements for
coal-fired units with heat input rating of 250 MMBTU/hr or greater, which have been evaluated
in the following section of this TSD.

    The RACT II Rule controls NOx emissions from combustion units firing natural gas,
distillate oil, residual oil, coal, refinery gas and any other solid fuel. In 2011, the majority of
NOx emissions from fuel combustion in Pennsylvania resulted from firing coal, natural gas, and
distillate oil. Process heaters in Pennsylvania are used to support petroleum refinery or oil and
gas processes. As expected, the combustion of refinery gas in Pennsylvania was almost
exclusive to petroleum refinery process heaters during 2011. For a summary of Pennsylvania’s
NOx emissions from fuel combustion, refer to Appendix A of this document.


11
   See 57 FR 55624 (November 25, 1992).
12
   See definition of “combustion unit” in 25 Pa. Code section 121.1.
13
   From EPA’s ACT “NOx Emissions from Industrial/Commercial/Institutional (ICI) Boilers.” (EPA-453/R-94-022,
March 1994)

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     EPA has provided guidance for states to determine RACT for ICI boilers based on the
expected NOx emissions levels resulting from the application of different controls. The
reduction of NOx emissions from ICI boilers can be accomplished with combustion modification
and flue gas treatment techniques or a combination of these. The application of a specific
technique will depend on the type of boiler, the characteristic of its primary fuel, and method of
firing (i.e., boiler type). NOx emissions from ICI boilers can be controlled by suppressing both
thermal and fuel NOx. The combustion modification techniques that are most effective in
reducing thermal NOx are particularly those that reduce the temperature of the flame, such as
water or steam injection (WI/SI) and recirculating a portion of the flue gas to the burner zone
(FGR). Thermal NOx can also be reduced by minimizing the amount of excess oxygen (known
as oxygen trim or low excess air) or delaying the mixing of fuel and air (staged air combustion or
SCA). The installation of low NOx burners (LNB) is also effective in certain types of boilers.
Flue gas treatment controls can reduce NOx in the flue gas, regardless of how it was produced,
and are limited to selective non-catalytic reduction (SNCR) and selective catalytic reduction
(SCR). Both techniques involve the injection of ammonia or urea in a temperature window of
the boiler where NOx reduction occurs to form water and nitrogen. The reaction for the SNCR
process must occur at more elevated temperatures, typically between 1600 and 2000 ºF, as the
reaction takes place without a catalyst. Table 4 summarizes the expected NOx emissions rates
from ICI boilers, in lb/MMBTU, after the application of combustion modifications and flue gas
controls.

Table 4. Controlled NOx Emissions Levels from ICI Boilers by Fuel and Control Type14
                                           Estimated NOx Control Levels
                                                (lb NOx/ MMBTU)
 Type of NOx Controls
                          Pulverized       Coal      Residual    Distillate   Natural
                              Coal                      Oil         Oil        Gas
 Combustion Modifications   0.2-0.93    0.05-0.52    0.09-0.74   0.03-0.33  0.02-0.24
 Flue Gas Controls          0.15-0.4    0.05-0.30         -      0.01-0.10  0.01-0.10
 RACT II Limits               0.45         0.45         0.20        0.12       0.10

    EPA also evaluated NOx emissions limits that have been applied in states adjacent to or
nearby Pennsylvania, and have been approved as RACT, as summarized in Table 5.15 EPA finds
that the NOx limits in the RACT II Rule as applicable to ICI boilers are comparable to emissions
limits from other states.




14
   From Tables 2-4, 2-5, and 2-6 of EPA’s ACT for ICI Boilers. It is possible that further technological
advancements may have been proven to result in lower NOx emissions levels than those reported in EPA’s ACT.
15
   Appendix B provides a more detailed summary of other states NOx RACT limits for this source category.


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Table 5. Summary of States NOx RACT Limits for ICI Boilers
                                NOx RACT Emissions Limits
                                     (lb NOx/ MMBTU)
                  Natural Gas   Distillate Oil Residual Oil                            Coal
 Other States             0.05-0.43           0.08-0.43          0.20-0.43           0.08-1.0

 RACT II Limits              0.10                0.12                0.2               0.45


   States do not typically regulate NOx emissions from other solid fuels other than coal. During
2011, Pennsylvania sources also combusted wood and wood bark, solid waste, petroleum coke,
and fire log. Combustion of these fuels represented only around 3% of Pennsylvania’s total NOx
emissions from combustion. Given the low contribution of these fuels to Pennsylvania’s total
NOx emissions, we find the NOx presumptive limit of 0.20 lb/MMBTU in section
129.97(g)(1)(vii) within the reasonable range as it is similar to the NOx rates established by
Pennsylvania and other OTR states for other fuels and is thus not unreasonable.

    The combustion of refinery gas is likely limited in Pennsylvania to process heaters. Process
heaters are heat transfer units in which heat from fuel combustion is transferred predominantly
by radiation and secondarily by convection to process fluids contained in tubes. Process heaters
are generally used in heat transfer applications where steam heaters (i.e., boilers) are
inappropriate. These include applications in which heat must be transferred at temperatures in
excess of 200 to 400 ºF. Combustion air is supplied to the burners at a process heater via natural
draft (ND) or mechanical draft (MD) systems. NOx emissions from process heaters are greater
for mechanical draft units than for natural draft units, because mechanical draft heater have an air
pre-heaters, which increases thermal NOx emissions. Also, it is expected that higher thermal
NOx emissions are generated from oil-fired heaters than natural gas fired heaters.

    Most combustion controls are designed for process heaters to reduce thermal and/or fuel
NOx emissions. Post-combustion controls techniques reduce NOx in the flue gas, regardless of
the mechanism. Thermal NOx formation increases with temperature and is the primary source of
natural gas and refinery gas fired heaters. With respect to NOx controls, the following
techniques are available and used in process heaters: LNB, ultra-low NOx burners (ULNB),
FGR, SNCR and SCR. ULNB used staging techniques similar to staged-fuel LNB in addition to
FGR. The reduction efficiency of each control technique varies depending on the process heater
application and design, ranging from 50 to 75% reduction.16




16
 See Table 2-3 EPA-453/R-93-034 (September 1993). It is possible that the referenced NOx control technologies
may have been proven to be more NOx effective due to further technological advancements after publication of the
ACT.

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    In the OTR, only the state of New Jersey was found to have an emission limit set specifically
applicable for refinery gas, like Pennsylvania.17 Other states simply have limits that applied to
‘other gas’ and therefore could not be definitively compared to Pennsylvania’s RACT II Rule.
New Jersey adopted a NOx limit of 0.20 lbs/MMBTU that applies to any unit with a heat input
rating greater than or equal to 50 MMBTU/hr. EPA finds Pennsylvania’s refinery gas fired limit
is comparable to RACT limits in nearby states and is thus reasonable.

    EPA finds that the presumptive NOx limits for combustion units and process heaters in
sections 129.97(g)(1)(i)-(v) and (vii) are reasonably achievable and should represent RACT for
these sources.

        2.     Presumptive NOx RACT limits for Very Large Coal-Fired Boilers, including
               Utility Boilers

    Sections 129.97(g)(1)(vi), (viii), and (ix) establish NOx presumptive requirements for coal-
fired combustion units with heat input rating over 250 MMBTU/hr. Combustion units of this
size would predominantly include utility boilers, but may also include some industrial boilers. It
is worthy to note that coal-fired utility boilers generated the majority of NOx emissions from the
fuel combustion sector in Pennsylvania during 2011.18 Industrial boilers of heat input rating
greater than 250 MMBTU/hr are similar to utility boilers and correspondingly are subject to
similar NOx control applications.19

    Being the most significant NOx emitting source category in Pennsylvania, EPA further
evaluated the NOx emissions from any coal-fired boilers in Pennsylvania with heat input rating
over 250 MMBTU/hr based on EPA’s Air Markets Program Data (AMPD).20 In 2011, there was
a total of 78 coal-fired boilers with heat input ratings of 250 MMBTU/hr or greater in operation
in Pennsylvania, from which the majority were used for electricity generation or cogeneration.
Specifically, 52 were coal-fired utility boilers or cogeneration boilers, while only 7 were large
industrial boilers.21

    The RACT II Rule establishes two sets of presumptive NOx requirements for large coal-fired
boilers: the NOx limits in section 129.97(g)(1)(vi) apply based on the boilers’ furnaces

17
   See Table 8, in NJAC 7:27- 19.7.
18
   See Figure xx of Appendix A.
19
   See EPA’s ACT for ICI Boilers (EPA-453/R-94-022, March 1994).
20
   The Air Markets Program Data (AMPD) is a web-based application that provides to the public current and
historical data collected by EPA as part of Federal emissions trading programs. AMPD is available at
https://ampd.epa.gov/ampd/.
21
   Based on 2011 AMPD inventory of Pennsylvania’s coal-fired boilers over 250 MMBTU/hr. The following source
categories are reported under AMPD: Cogeneration, Electric Utility, Small Power Producer, Industrial Boiler and
Pulp & Paper Mill. For the purpose of simplifying this discussion, we have categorized electric utility and small
power producer boilers into one group, and industrial boilers and pulp & paper mill boilers into another one.

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configuration or boiler type; and the requirements in section 129.97(g)(1)(viii) and (ix) apply
only to those boilers that have specific NOx controls in place, SCR or SNCR. We assessed
Pennsylvania’s coal-fired boilers based on these two features: boiler type and existing controls.

      Coal-fired utility boilers or very large ICI boilers have a number of different burner
configurations. Each type of burner has specific design characteristics which can influence the
NOx emissions levels. Typical configurations include tangentially-fired, wall-fired, cyclone,
stoker, and circulating fluidized bed (CFB) combustion. Wall-fired boilers can be
subcategorized depending on the design and location of the burners as single-wall, opposed-wall,
cell burner, vertical, arch or turbo. CFB combustion is considered a non-conventional boiler.
CFB boilers are designed to operate at much lower temperatures and tend to have lower NOx
emissions than the conventional types.22

    Figure 3 below provides a summary of Pennsylvania’s very large coal-fired boilers in
operation during 2011 by their burner configurations or boiler type. Presumptive NOx limits of
0.35 lb/MMBTU and 0.16 lb/MMBTU were established for tangentially-fired and CFB boilers,
respectively. Any other boiler types in this category (i.e., arch, cell burner, and wall-fired) are
subject to a higher NOx rate of 0.4 lb/MMBTU. For this evaluation, it is relevant to point that no
arch or cell burner boilers remain operational to date in Pennsylvania, based on more recent
emissions data (2016).

Figure 3. Pennsylvania’s Coal-Fired Boilers with 250 MMBTU/hr or Greater by Boiler
Type, as of 2011


                                  5%
                                               4%
                                                                         Arch
              27%

                                                                         Cell Burner


                                                                         Wall Fired (Dry)
                                                       36%

                                                                         Tangentially Fired


                 28%                                                     Circulating Fluidized Bed




22
     EPA’s ACT Document “NOx Emissions from Utility Boilers,” (EPA-453/R-94-023, March 1994).

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    Additional presumptive requirements apply to any large coal-fired boilers in Pennsylvania
operating selective catalytic reduction SCR or SNCR as a NOx control. Common NOx
emissions control technologies for these boilers can be grouped into two fundamental categories:
combustion controls and post-combustion controls (or flue gas treatment). As for other
combustion sources, combustion modifications reduce NOx emissions by suppressing NOx
formation during the combustion process with a variety of techniques, while post-combustion
controls reduce NOx emissions after its formation. Combustion controls for large coal-fired
boilers include LNB, FGR and overfire air (OFA). Typical post-combustion controls are SCR
and SNCR. Combinations of flue gas treatment controls and combustion controls are often
applied to maximize NOx reduction.23

   Figure 4 below summarizes the NOx controls that were in place in 2011 on Pennsylvania’s
coal-fired boilers with heat input rating of 250 MMBTU/hr or greater. As presented, the
majority of boilers in Pennsylvania have SCR or SNCR (54%) or else have combustion controls
(37%). Combustion controls found in these boilers are LNB and/or OFA. Also, all boilers with
SCR and the majority of boilers with SNCR also have combustion controls in place (OFA or
LNB with OFA). As of 2011, combustion controls were the most common NOx control in place
(75%).

Figure 4. NOx Controls in Place in Pennsylvania’s Coal-Fired Boilers with 250
MMBTU/hr or Greater, as of 201124



                            9%

                                                                         Combustion Controls
                                                      37%
                                                                         SCR with Combustion Controls

     24%
                                                                         SNCR


                                                                         SNCR with Combustion
                                                                         Controls
                                                                         Not Specified
             16%
                                                    14%




23
 Id.
24
 Several boilers in Pennsylvania are operating ammonia injection as a NOx control, which we believe is similar to
SNCR. For simplicity, Figure 4 includes these controls as SNCR.

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    Post-combustion controls, such as SCR and SNCR are currently the most-effective NOx
control technology for existing and new utility boilers. The SCR process operates by injecting
ammonia into the flue gas in the presence of a catalyst at temperatures of around 315 to 698 ºF.
For most applications, this temperature range makes it necessary to locate the SCR reactor
adjacent to the boiler – immediately after the boiler and before the air preheater. An SCR system
requires an initial and ongoing supply of catalyst, and a reagent. The reagent can be ammonia or
urea. Most facilities to date have used ammonia; however, urea is becoming an increasingly
popular reagent due to its inherent safety and the recent availability of systems to convert urea to
ammonia on-site. Pennsylvania’s NOx presumptive limit in section 129.97(g)(vii) for
combustion units with SCR is applicable when the inlet temperature to the control is 600 ºF or
greater, which EPA finds is consistent with the technical limitations of the SCR.

    By contrast, SNCR involves injecting ammonia or urea into the exhaust gases without the
presence of a catalyst. The ammonia or urea must be injected into specific high-temperature
zones in the upper furnace or convective pass for this method to be effective. Effective injection
temperatures for SNCR range from 930 to 1,040 ºC (1,700 to 1,900 ºF), depending on the
reagent used. Ammonia injection is an uncommon control technology, but similar to SNCR.
Section 129.97(g)(viii) requires combustion units with an SNCR to operate this control when the
temperature at the injection point is equal to or greater than 1,600 ºF, which EPA finds is
consistent with the technical limitations of the SNCR.

        The presumptive NOx emission requirements for coal-fired boilers with SCR and SNCR
in place are dependent on the injection temperature, and are therefore not applicable at all times.
Because the rates are not applicable at all times, EPA investigated the rates further. However,
any affected boiler with SCR or SNCR is also required to comply at all times with the boiler type
limits in section 129.97(g)(1)(vi), which in practice would be applicable in any instances where
the SCR or SNCR is not in operation. For instance, a coal-fired boiler that has an SCR in place
would be subject in practice to two set of RACT NOx limits: (1) The SCR limit of 0.12
lb/MMBTU when the inlet temperature to the control equals to or is greater than 600 ºF; and (2)
the boiler type limit (0.16, 0.35, or 0.4 lb/MMBTU) at any other times when the inlet
temperature to the control is less than 600 ºF. EPA finds that this control approach is practical
and acceptable to satisfy RACT for boilers with SCR and SNCR, as it ensures applicability of
RACT year-round, while requiring the lowest NOx emissions limit considering the technical
feasibility of existing NOx controls. In our engineering judgment based upon acknowledged
limitations of SCR and SNCR, EPA agrees with PADEP’s determination that SCR or SNCR
cannot result in lower NOx emission rates at those lower operating temperatures.

  Although boilers with SNCR are not subject to a particular NOx emission limit under the
RACT II Rule aside from the boiler type limit (0.16, 0.35, or 0.4 lb/MMBTU), we expect


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additional NOx reductions to be achieved through optimum operation of the SNCR, consistent
with the requirement in section 129.97(g)(1)(ix). Because boilers with SNCR are also required
to comply with the boiler type limits in section 129.97(g)(1)(vi) when SNCR is not required to
be operated (when injection temperature is less than 1,600 ºF), these boilers remain subject to
continuous emission limitations.

    EPA has provided guidance to states for developing RACT standards for utility boilers, and
has identified NOx emissions rates expected to be achieved on different types of coal-fired
boilers based on the different NOx controls. Industrial coal-fired boilers of similar size are
expected to operate and generate similar level of NOx reductions. A summary of EPA’s
estimated NOx rates for utility boilers is presented in Table 5.25

Table 5. EPA’s Estimated NOx Emissions Levels from Utility Coal-Fired Boilers By NOx
Control Technology
                                   Estimated NOx Control Level
 NOx Control                            (lb NOx/ MMBTU)
 Technology                Wall-fired      Tangentially-       CFBs
                                               fired
 SCR on LNB controlled      0.10-0.20        0.05-0.15           -
 SCR on uncontrolled        0.15-0.25        0.10-0.15           -
 SNCR on LNB controlled     0.35-0.45        0.25-0.35           -
 SNCR on uncontrolled       0.50-0.65        0.30-0.40       0.03-0.1
 LNB+OFA                    0.35-0.55        0.30-0.45        0.1-0.3

    The NOx presumptive limit of 0.12 lb/MMBTU for coal-fired boilers with SCR is consistent
with the NOx emissions rates that would be expected on all types of boilers with SCR (listed in
Table 5), with or without additional combustion modifications. After examining AMPD data,
EPA finds that coal-fired boilers in Pennsylvania with SCR in place have been able to achieve
NOx emissions rates as low as 0.107 lb/MMBTU.26 Thus, EPA believe the presumptive NOx
limit of 0.12 is consistent with the operation of SCR and should reasonably represent RACT as
technologically and economically feasible.

    In general, Pennsylvania’s NOx presumptive rates for coal-fired boilers are comparable to
RACT NOx emissions limits established for the different types of boilers in nearby states, as
summarized in Table 6.27 However, a significant distinction is that the RACT II Rule’s most
stringent NOx limit for sources with SCR (0.12 lb/MMBTU) is only applicable to a narrow
subset of coal-fired boilers in Pennsylvania, rather than being applicable for all boilers. In

25
   EPA’s ACT Document “NOx Emissions Document “NOx Emissions from Utility Boilers” (EPA-453/R-94-023;
March 1994. It is possible that further technological advancements may have been proven to result in lower NOx
emissions levels than those reported in EPA’s ACT.
26
   These rates are on an annual basis, as reported on AMPD during 2011, 2015, and 2016.
27
   Appendix B provides a detailed summary of other states NOx RACT limits for this source category.

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determining the adequacy of Pennsylvania’s overall RACT determination for large coal-fired
boilers, we must also evaluate the control basis for boiler type presumptive NOx limits in the
RACT II Rule.

Table 6. Pennsylvania and Other States’ NOx RACT Limits for Large Coal-Fired Boilers
by Boiler Type
                                NOx RACT Emissions Limits
                                      (lb NOx/ MMBTU)
                                 Tangentially-               Boilers with
 Boiler Type       Wall- Fired                    CFB
                                     Fired                      SCR
 RACT II Rule               0.40               0.35               0.16               0.12

 Other States            0.12 - 0.45        0.12 - 0.38        0.08 - 0.29             -


    Any large coal-fired boilers in Pennsylvania that do not have in place SCR or SNCR are only
subject to one of the first tier presumptive NOx RACT limits under section 129.97(g)(1)(vi),
based on its furnace configuration. In 2011, there was a total of 36 coal-fired boilers in
Pennsylvania without either SCR or SNCR, representing roughly half of the coal-fired boilers in
Pennsylvania (46%). We have reason to believe that the boiler type limits in section
129.97(g)(1)(vi) represent the operation of combustion modifications. PADEP previously
required any coal-fired combustion units with heat input rating of 100 MMBTU/hr or greater to
meet RACT through the installation and operation of LNB with OFA, and established source-
specific NOx limits representative of the operation of these controls for each individual boiler.28
Thus, LNB with OFA has been in place on the majority of large coal-fired boilers in
Pennsylvania. Consistently, 2011 AMPD emissions data confirms that 75% of boilers had LNB
and/or OFA. Also, Pennsylvania’s boiler type NOx limits are consistent with the NOx emissions
levels expected to result from combustion modifications for each boiler type. For these limits to
be adequate as RACT, no additional NOx controls beyond combustion controls should be
reasonably available (technologically and economically) as RACT for this subset of coal-fired
boilers, thus being adequate to require as RACT less stringent NOx levels of control. We further
evaluated Pennsylvania’s coal-fired boilers to confirm if this is the basis for PADEP’s
determination.

   In terms of RACT, a control technology is determined to be “reasonable” for a particular
source category based on its technical and economic feasibility. For this reason, EPA evaluated

28
  These controls were required under 25 Pa. code section 129.93(b)(1). Based on EPA’s conditional approval of
these provisions as RACT, PADEP established specific enforceable NOx emission limitations to be met through the
required operation of LNB with OFA, following the procedures in 25 Pa. code section 129.92. See 63 FR 13789
(March 23, 1997) for EPA’s conditional approval action; and 73 FR 62891 (October 22, 2008) for EPA’s full
approval action. All source-specific RACT limits have been approved into Pennsylvania’s SIP, as codified in 40
CFR 52.2020(d)(1).

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feasibility of both SCR and SNCR on each of the 36 coal-fired boilers in Pennsylvania without
these controls in place as of 2011. The objective of EPA’s evaluation was to confirm
Pennsylvania’s underlying presumption for the coal-fired boilers by determining whether
additional NOx controls, specifically SCR or SNCR, should or should not constitute RACT for
this subset of boilers. SCR and SNCR are the most effective NOx controls for coal-fired boilers,
hence these controls should be considered as RACT for any boilers in Pennsylvania that are
either uncontrolled or currently operating combustion controls. In fact, SCR has been
determined to be the basis for NOx RACT for utility boilers on nearby states, and PADEP itself
has determined it to be RACT for all other large coal-fired boilers in Pennsylvania. Feasibility
of additional NOx controls on Pennsylvania’s 36 coal-fired boilers would question the adequacy
of PADEP’s RACT determination for these boilers as LNB with OFA. If either SCR or SNCR
are determined to be feasible for the majority, or all, of the 36 coal-fired boilers, it would be
reasonable to expect more stringent NOx RACT emissions rates than those required under
section 129.97(g)(1)(vi) on all-coal fired boilers in Pennsylvania.

     EPA estimated cost-effectiveness of NOx controls for each of the 36 coal-fired boilers
individually, based on 2011 emissions and operational data from AMPD and using EPA’s Air
Pollution Control Cost Manual, both which are publicly available sources of information.29 We
selected 2011 data, since EPA has recommended states to use 2011 as the baseline year for
ozone planning purposes.30 Although, several coal-fired boilers have changed or ceased
operations since 2011, and are no longer subject to the coal-fired RACT requirements in section
129.97, EPA ultimately evaluated all 36 boilers without post-combustion controls, because this
would have been the universe of sources which PADEP would have evaluated to determine
RACT.31 We have assumed that both SCR and SNCR are technically feasible options for most
of the coal-fired boilers, as they have been widely applied as NOx controls for similar coal-fired
boilers in Pennsylvania and nearby states. As an exception, we presumed only SNCR is
technically feasible for CFB boilers in Pennsylvania, since SCR has not been applied to this type
of boilers.

    In determining its presumptive NOx RACT limits under the RACT II Rule, PADEP
considered controls to be economically reasonable when installed and operated under $2,500 per
ton of NOx removed.32 EPA finds PADEP’s cost effectiveness threshold reasonable. Based on
our analysis, EPA found that cost-effectiveness of SCR in Pennsylvania boilers ranged from
$3,651-$25,238 per ton, while SNCR ranged from $2,217 to $17,594 per ton for conventional

29
   See Section 4 of EPA’s Air Pollution Control Cost Manual, as updated on December 8, 2017, and the cost
calculation spreadsheets for SCR and SNCR, all available online at https://www.epa.gov/economic-and-cost-
analysis-air-pollution-regulations/cost-reports-and-guidance-air-pollution.
30
   See 80 FR 12264 at 12271-12272, March 6, 2015.
31 Sixteen coal-fired boilers without SCR and SNCR remain operational as of 2016 and were subject to the NOx

presumptive boiler type limits in section 129.97(g)(1)(vi).
32
   As provided in PADEP’s Comment and Response Document (on Page 24), submitted as part of the May 16, 2016
SIP submittal.

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boilers (non-CFBs) and $6,076 to $19,732 per ton for CFB boilers.33 Because cost-effectiveness
of these controls exceeded $2,500 per ton of NOx removed for the majority of coal-fired boilers
in Pennsylvania without these controls in place, it is reasonable to conclude that it would be
economically infeasible to require the installation and operation of SCR or SNCR on all coal-
fired boilers in Pennsylvania. Based on this analysis, EPA concludes that PADEP’s RACT II
Rule determination for any large coal-fired boilers without post-combustion controls in place is
based on the operation of existing controls, in most cases LNB and/or OFA. Thus, EPA finds
that PADEP’s determination for this subset of coal-fired boilers is reasonable, considering
economic infeasibility of retrofitting these additional controls. A separate TSD detailing EPA’s
cost-effective evaluation is available as part of the docket for this rulemaking action.

    Although the installation of SCR and SNCR on all other coal-fired boilers in Pennsylvania
has resulted from the implementation of other non-RACT regulatory programs, EPA agrees with
Pennsylvania’s determination that is reasonable to require additional NOx reductions from
boilers with post-combustion controls (like SCR or SNCR) EPA agrees that the operation of an
existing SCR or SNCR should be both technically and economically reasonable, even when this
may include additional costs for optimizing existing systems, such as additional reagent and
catalyst maintenance. Thus, EPA agrees with Pennsylvania’s determination to require lower
NOx limits as RACT on those coal-fired boilers with SCR or SNCR.

    EPA finds that Pennsylvania’s NOx presumptive RACT limits for coal-fired boilers with heat
input rating of 250 MMBTU/hr or greater provided in subsections 129.97(g)(1)(vi),
129.97(g)(1)(viii) and 129.97(g)(1)(ix) are based on the consideration of reasonably available
controls for the affected boilers. Therefore, EPA finds these presumptive NOx limits to be
collectively adequate as RACT for these sources.

         3.    Presumptive RACT Limits for Combustion Turbines

    Section 129.97(g)(2) of the RACT II Rule contains presumptive NOx and VOC limits for
combustion turbines for oil and gas firing, including natural gas and non-commercial gas fuel.
Stationary reciprocating internal combustion engines are generally used in a wide variety of
applications where mechanical work is performed using shaft power. Therefore, they can burn a
variety of fuels. In Pennsylvania, most combustion turbines during 2011 burned natural gas,
waste process gases, or liquid fuels such as distillate oils (primarily No. 2 fuel oil).

   The RACT II Rule sets NOx and VOC limits for combustion turbines based on their
operating cycle and the fuel combusted. These operating cycles are simple cycle, regenerative


33
  The installation of SNCR would be economically reasonable only for 5 boilers in Pennsylvania; however, most of
these boilers have either retired or are operating additional post-combustion controls since 2011. These boilers are:
Hatfield’s Ferry Power Station- Units 1 and 2; Conemaugh- Units 1 and 2; and Brunner Island- Unit 3.

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cycle, combined cycle, and combined heat and power. The simple cycle is the most basic
operating cycle of combustion turbines, and these types of combustion turbines are typically used
for shaft horsepower applications without recovery of exhaust heat, such as in electric utilities
for generation of electricity during emergencies or during peak demand periods. A regenerative
cycle is a simple cycle combustion turbine with an added heat exchanger. The heat exchanger
uses the turbine exhaust gases to heat the combustion air which reduces the amount of fuel
required to reach combustor temperatures. A combined cycle combustion turbine is a
combustion turbine with a heat recovery steam generator (HRSG) applied at electric utility sites.
The combustion turbine drives an electric generator, and the steam from the HRSG drives a
steam turbine which also drives an electric generator. Combustion turbine applications include
gas and oil industry, emergency power generation facilities, independent electric power
producers, electric utilities, and other industrial applications.34

    The primary pollutants from combustion turbines are NOx, carbon monoxide (CO), and to a
lesser extent, VOC. NOx formation is strongly dependent on the high temperatures developed in
the combustor. CO and VOC are primarily the result of incomplete combustion. The principal
mechanism of NOx formation in combustion turbines firing gas or distillate fuel is thermal NOx,
which arises from the thermal dissociation and subsequent reaction of nitrogen and oxygen
molecules in the combustion air. The second mechanism, called prompt NOx, is formed from
early reactions of nitrogen molecules in the combustion air and hydrocarbon radicals from the
fuel. Prompt NOx forms within the flame and is usually negligible when compared to the
amount of thermal NOx formed. The combustion of distillate oils also have low levels of fuel-
bound nitrogen, with thermal NOx also being the predominant NOx formation mechanism these
turbines.

    NOx emissions are typically regulated from combustion turbines. Because thermal NOx is
primarily a function of combustion temperature, NOx emission rates vary with combustor
design. There is no discernable correlation between turbine size and NOx emission levels.
Reductions in NOx emissions can be achieved using combustion controls or flue gas treatment.
Available combustion controls are water or steam injection and dry low-NOx combustion
designs. SCR is the only available flue gas treatment. Controlled NOx emission levels from
combustion turbines are typically achieved between 9 and 42 parts per million volume on a dry
basis (ppmvd) for natural gas fuel and 18 and 75 ppmvd for distillate oil fuel, although lower
emissions may be achieved through the effective operation of SCR.35

    The RACT II Rule’s presumptive NOx limits for combustion turbines vary by size and by
fuel. Presumptive NOx limits for simple and regenerative cycle combustion turbines range from


34
   EPA’s AP-42: Fifth Edition Compilation of Air Emission Factors, Volume I, Chapter 3, Section 3.1, available
online at https://www3.epa.gov/ttnchie1/ap42/ch03/final/c03s01.pdf.
35
   EPA’s ACT “NOx Emissions from Stationary Combustion Turbines” (EPA-453/R-93-007, January 1993).

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42 to 150 ppmvd, and for combined cycle or combined heat and power combustion turbine range
from 4 to 150 ppmvd, all limits corrected to 15% oxygen. One must note that Pennsylvania’s
NOx emissions rates are applicable to any gaseous fuel and to any fuel oil, so it is not
unreasonable for these rates to be higher than the levels expected based on NOx controls. Most
of the NOx limits in the RACT II Rule reflect the application of reasonably available control
techniques. The higher NOx limit of 150 ppmvd is limited to fairly small simple and
regenerative cycle combustion turbines with output ratings between 1,000 to 6,000 boiler
horsepower (bhp) (0.75 to 4.5 megawatts, MW). Pennsylvania’s presumptive NOx limits for
combustion turbines are also comparable to what other states have determined RACT for this
source category. Appendix B provides a summary of other states NOx RACT limits for this
source category.

    The RACT II Rule also establishes the following VOC limits: 9 ppmvd for simple and
regenerative cycle combustion turbines, and limits ranging from 2 to 9 ppmvd for combined
cycle or combined heat and power combustion turbine, all limits corrected to 15% oxygen. An
oxidation catalyst can be used to reduce VOC emissions to below 10 ppmv.36 EPA finds
Pennsylvania’s presumptive VOC limits for combustion turbines are reasonably achievable
based on available controls.

    EPA finds that the presumptive NOx and VOC limits in section 129.97(g)(2) for combustion
turbines are reasonable and should meet RACT, as the rates are comparable to what other states
have established as RACT and because they apply limits determined using technologically
feasible controls.

           4.     Presumptive RACT Limits for Stationary Internal Combustion Engines

   Section 129.97(g)(3) contains presumptive NOx and VOC limits for stationary internal
combustion engines based on the engine type and fuel. Pennsylvania established limits for the
combustion of natural gas, noncommercial gaseous fuel, liquid fuel, and both liquid or gas fuels
(dual-fuel) at combustion engines.

    In general, the primary domestic use of large diesel-fired stationary combustion engines
(greater than 600 bhp) is in oil and gas exploration and production. Another frequent application
of large diesel-fired stationary combustion engines is electricity generation for both base and
standby service. Most natural gas-fired combustion engines are used in the natural gas industry
at pipeline compressor and storage stations and at gas processing plants, with sizes for these
engines varying greatly from 50 to 11,000 bhp. Dual-fuel engines use a minimum of 5 to 6
percent diesel fuel to ignite the natural gas. Large dual-fuel engines have been used almost


36
     See Page 3.1-6 of EPA’s AP-42: Fifth Edition Compilation of Air Emission Factors, Volume I, Section 3.1.

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exclusively for prime electric power generation.37 Pennsylvania is regulating combustion
engines with output rating of 500 bhp and above.

    The primary pollutants from internal combustion engines are NOx, VOC, CO and particulate
matter. NOx formation is directly related to high pressures and temperatures during the
combustion process and of the nitrogen content, if any, of the fuel. The other pollutants, are
primarily the result of incomplete exhaust. Most NOx emissions from internal combustion
engines in Pennsylvania result from natural gas firing. Other fuels combusted in Pennsylvania
during 2011, in order of NOx emissions contribution were distillate oil, diesel/kerosene mix,
landfill gas, dual fuel (oil and gas), gasoline, kerosene/naphtha (jet fuel), and liquid petroleum
gas (LPG). All fuels are addressed in the RACT II Rule.

    From a NOx control perspective, the most important distinction between different engine
models and types of reciprocating engines is whether they are rich-burn or lean-burn. Rich-burn
engines have an air-to-fuel ratio (A/F) operating range that is near stoichiometric or fuel-rich of
stoichiometric and as a result the exhaust gas has little or no excess oxygen. A lean-burn engine
has an air-to-fuel operating range that is fuel-lean of stoichiometric; therefore, the exhaust from
these engines is characterized by medium to high levels of oxygen.38

    Available NOx controls for internal combustion engines include combustion modification
and post-combustion controls, including SCR, SNCR, and pre-stratified charge (PSC). PSC is an
add-on control technique that facilities combustion of a leaner A/F. By increasing the air
content, PSC acts as a heat sink, and reduces combustion temperatures, therefore, reducing NOx
formation rates. SNCR and SCR are the same technologies used in other types of combustion
units. SNCR can only be applied to rich-burn engines. Expected NOx emission levels from the
application of different NOx control technologies on combustion engines are summarized in
Table 9.39 Pennsylvania’s presumptive NOx limits for combustion turbines are consistent with
expected achievable rates reflecting available NOx controls. Also, Pennsylvania’s presumptive
limits are comparable to RACT limits established in nearby states. Appendix B provides a
summary of other states NOx RACT limits for this source category.




37
   EPA’s AP-42: Fifth Edition Compilation of Air Emission Factors, Volume I, Chapter 3, Sections 3.2 and 3.4,
available online at https://www3.epa.gov/ttnchie1/ap42/ch03/final/c03s01.pdf.
38
   Id.
39 EPA’s ACT “NOx Emissions from Stationary Internal Combustion Engines” (EPA-453/R-93-032, July 1993).


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Table 9. Expected Range of Controlled NOx Emissions Reduction Levels for Internal
Combustion Engines
 Engine Type or Fuel  Expected Controlled       Most-effective NOx
                         NOx Emissions                 Controls
                             Levels
                           (gr/bhp-hr)
 Natural Gas- Rich         0.3 to 15.8     SNCR, low-emissions
 Burn                                      combustion (L-E), and pre-
                                           stratified charge (PSC)
 Natural Gas- Lean         1.7 to 16.8     SCR and L-E
 Burn
 Diesel-Fired40             1.2 to 9.6     SCR
 Dual-Fired                 0.8 to 6.8     SCR; L-E

    The RACT II Rule also establishes a VOC limit of 1.0 gr/bhp-hr for any combustion engine
with output rating of 500 bhp of above. VOC emissions from internal combustion engines are
not commonly regulated for RACT purposes. However, Pennsylvania’s presumptive VOC limits
for combustion engines are consistent with EPA’s more rigorous VOC emissions standards for
similar size sources, and thus should be reasonably achievable considering available controls.41

    EPA finds that the presumptive NOx and VOC limits in section 129.97(g)(3) for combustion
turbines are reasonable (given technical feasibility analyzed by EPA) and should meet RACT.

           5.    Presumptive RACT Limits for Combustion Units Firing Multiple Fuels

    Section 129.97(g)(4) of the RACT II Rule requires any combustion unit firing multiple fuels
and subject to different presumptive NOx or VOC limits for each fuel, to comply with a single
NOx or VOC emission limit that is determined on a total heat input fuel weighted basis. The
following equation was provided to compute a heat input fuel weighted multiple fuel emission
limit:
                         ∑𝑛
                          𝑖=1 𝐸𝑖 ×𝐻𝐼𝑖
       𝐸𝐻𝐼 𝑊𝑒𝑖𝑔ℎ𝑡𝑒𝑑 =     ∑𝑛
                                        ;
                           𝑖=1 𝐻𝐼𝑖
where 𝐸𝑖 is the presumptive limit emissions limit for a particular fuel, or fuel i, and 𝐻𝐼𝑖 is the
total heat input for fuel i during the compliance period, determined for n number of different
fuels.

    This provision is only applicable for any fuel representing 1% or more of the combustion
unit’s annual fuel combustion on a heat input basis. Also, this provision particularly excludes
stationary internal combustion engines subject to presumptive limits in 25 Pa. Code section
129.97(g)(3). EPA does not expect this provision to apply to municipal waste combustors or

40
     Diesel fuel is one of distillate fuels, and is found in liquid form in typical conditions.
41
     See EPA’s VOC New Source Performance Emissions Standards in 40 CFR 60, subparts IIII and JJJJ.

                                                       29
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cement kilns, as they would not be subject to fuel-based presumptive limits under section 129.97
of the RACT II Rule.

    This provision requires an affected emission unit to comply with an emissions rate that is
more reflective of the actual operation of the unit, while effectively establishing a numeric
emissions limitation that falls between the lowest and the highest of the applicable presumptive
limits.

    EPA finds the multiple fuel compliance method practicable and adequate for RACT, as it is
not a new limit but a method for compliance with presumptive limits and addresses RACT.

        6.    Presumptive RACT Limits for Municipal Waste Combustors

    Section 129.97(f) of the RACT II Rule establishes a NOx presumptive limit of 180 ppmvd at
7% oxygen (O2) for municipal waste combustors. NOx emissions limits for municipal waste
combustors tend to vary by combustor technology. OTR states have adopted NOx limits for
municipal waste combustors ranging from 120 to 372 ppmvd at 7% O2.42 In addition, EPA has
established new source performance emissions standards (NSPS) of NOx for municipal waste
combustor that range from 170 to 380 ppmvd, at 7% O2, depending on the NOx potential
emission as well as construction dates of the affected combustor. Thus, Pennsylvania’s NOx
presumptive limits are comparable to existing regulations for these sources, are at the lower end
of the range of limits set as RACT by neighboring states, and reflect achievable rates set by
Pennsylvania based on reasonably available controls.

   Therefore, EPA finds that the presumptive NOx limits in section 129.97(f) for municipal
waste combustors reasonably represent RACT.

        7.    Presumptive RACT Limits for Cement Kilns

    The RACT II rule establishes in section 129.97 (h) NOx presumptive limits for cement kilns
ranging from 2.36 to 3.44 lb per ton of clinker, depending on the type. EPA has identified that
available control technologies have been able to achieve NOx emissions rates from 1.2 to 9.0 lb
per ton of clinker on cement kilns. NOx controls applicable to the cement industry may be
grouped in three categories: process modifications, combustion controls, and NOx reduction
controls.43 It is worthy to note that many states in the OTR do not have RACT regulations for
cement kiln, as most do not have cement kilns operations. States that do regulate NOx emissions

42
   “White Paper on Control Technologies and OTC State Regulations for Nitrogen Oxides (NOx) Emissions from
Eight Source Categories,” by Stationary & Area Source Committees of Ozone Transport Commission (OTC),
February 10, 2017 (hereafter, OTC’s NOx White Paper).
http://otcair.org/upload/Documents/Reports/WhitePaper_NOx_Control_04052017.pdf
43
   EPA’s “NOx Control Technologies for the Cement Industry: Final Report” (EPA-457/R-00-002, September 2000).

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from cement kilns have established NOx limits ranging from 1.7 to 6.8 lbs per ton of clinker.44
Thus, Pennsylvania’s NOx presumptive limits are comparable to existing regulations for these
sources, are at the lower end of the range of limits set as RACT by neighboring states, and
should reflect reasonable achievable rates set by Pennsylvania based on reasonably available
controls.

    EPA finds that the presumptive NOx limits in section 129.97(h) for cement kilns are based
on reasonably available controls and adequately meet RACT.

        8.    Presumptive RACT Limits for Municipal Waste Landfills

    Subsection 129.97(e) of the RACT II Rule establishes VOC RACT for municipal solid waste
(MSW) landfills, particularly adopting by reference EPA’s NSPS in 40 CFR part 60, subpart Cc
and subpart WWW. The NSPS rules are applicable to any MSW landfills with a design capacity
greater than or equal to 2.5 million mega grams and 2.5 million cubic meters. “Design capacity”
refers to the maximum amount of solid waste a landfill can accept, in terms of volume or mass,
and as permitted. Although NSPS regulate MSW landfills in terms of non-methane organic
compounds (NMOC), this in effect is the same as controlling directly VOC emissions.45

    The standards of 40 CFR part 60, subpart Cc apply to those MSW landfills constructed on or
before May 30, 1991 emitting 50 mega grams per year or more (approximately 55 TPY) of
NMOC. By contrast, 40 CFR part 60, subpart WWW applies to those MSW landfills
constructed after May 30, 1991. Subpart Cc requires the owner and/operator of an affected
landfill to install and operate a gas collection and control system to meet the standards. See 40
CFR section 60.33c. Subpart WWW requires compliance with the same NMOC emissions
standards as in subpart Cc. See 40 CFR section 60.752. The applicable emissions standards
differ based on the underlying control device, as summarized in Table 10.

Table 10. RACT Emissions Standards for MSW Landfills, Expressed in NMOC
 Control Basis                           Emissions Standards
 Any control                             Reductions of 98% by weight
 Open Flare                              Operate the control in accordance with 60.18
 Enclosed Combustor                      Concentration of 20 ppmvd as hexane, at 3%
                                         oxygen or less

   Under both NSPS rules, the landfill NMOC emissions rate shall be calculated using the
equation provided in 40 CFR section 60.754. The one difference between the NSPS rules is that

44
  OTC’s NOx White Paper.
45
  VOC from landfills represents a 0.997 fraction of NMOC. See EPA’s September 2008 “Background Information
Document for Updating AP-42 Section 2.4 for Estimating Emissions from Municipal Solid Waste Landfills”
(EPA/600/R-08-116).

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subpart WWW establishes additional operational standards for any MSW landfills constructed
after May 30, 1991. See 40 CFR section 60.753. The operational standards are the following:
(a) Operation of the collection system such that gas is collected from each area, cell, or group of
cells in the MSW landfill in which solid waste has been in place for 5 or more years if active; or
2 or more years if closed or at final grade; (b) operation of the collection system with negative
pressure, except under specified conditions; (c) operation of each interior wellhead in the
collection system with a landfill gas temperature less than 55 °C with either a nitrogen level less
than 20 percent or an oxygen level less than 5 percent, and (d) operation of the collection system
so that the methane concentration is less than 500 parts per million above background at the
surface of the landfill.

    EPA finds that the standards in NSPS subparts Cc and WWW represent achievable NOx
emissions rates through the operation of reasonably available controls, and thus adequately
satisfy VOC RACT for MSW landfills, as the NSPS provisions reflect reasonably achievable
emissions rates set by Pennsylvania based on technically and economically feasible controls.

   D. NOx Averaging Plans

    Under the RACT II Rule, one of the alternative compliance options to presumptive RACT is
the use of NOx averaging plans as provided by section 129.98. The NOx averaging provisions
only apply to NOx emission units in a major source of NOx and/or VOC that are unable to meet
NOx presumptive limits specified in section 129.97. A major source may choose to alternatively
comply with RACT by “averaging” NOx emissions with other units on either a facility-wide or
system-wide basis using a 30-day rolling average. In the context of section 129.98, “systems”
are considered to be any sources that are under common control of the same owner or operator.
System-wide emissions averaging is only allowed for sources located within the same ozone
nonattainment area in the Commonwealth, as provided in 25 Pa. Code subsection 129.98(a).

    Under subsection 129.98(c), any other NOx emissions units included in the NOx averaging
plan, in addition to the “non-complying” emissions unit, must also be subject to a NOx emissions
limit under section 129.97. Affected sources choosing to comply with NOx averaging must
establish an alternative NOx emissions averaging limit that would apply to any emissions units
covered under such plan, rather than the individual limits under section 129.97. Subsection
129.98(e) provides the following equation for determining the alternative NOx RACT emission
limit under a NOx averaging plan,
                                   𝑛                  𝑛
                               ∑       𝐸𝑖𝑎𝑐𝑡𝑢𝑎𝑙 ≤ ∑       𝐸𝑖𝑎𝑙𝑙𝑜𝑤𝑎𝑏𝑙𝑒
                                   𝑖=1                𝑖=1


   Where 𝐸𝑖𝑎𝑐𝑡𝑢𝑎𝑙 denotes the actual NOx mass emissions, including emissions during start-ups,
shutdowns, and malfunctions, for any emissions unit on a 30-day rolling basis; 𝐸𝑖𝑎𝑙𝑙𝑜𝑤𝑎𝑏𝑙𝑒
denotes the allowable NOx mass emissions computed on a 30-day rolling basis using the NOx

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allowable emissions rate limits specified in section 129.97 for any emissions unit in the plan, or
else any other more stringent numerical NOx emissions limit than the limits specified in section
129.97; and n represents the number of emission units that are included in the NOx averaging
plan. Affected sources were required to submit a NOx averaging plan as part of a permit
application by October 24, 2016, or 6 months after the date that the source meets the definition
of a major NOx emitting facility, whichever is later. After PADEP or local agencies reviews and
approves the NOx averaging plan, the agency must issue an air quality enforceable permit.

    EPA interprets the language in section 129.98 to limit the use of NOx averaging to an owner
or operator of a non-compliant emission unit who is able to show that this unit is unable to meet
the applicable presumptive limit in section 129.97, and it is an alternative to adopting source-
specific limits under section 129.99. Given the basis of RACT, inability to meet presumptive
RACT limits should be based on technical and/or economic infeasibility of controls in place or to
be retrofitted at each particular emission unit. EPA interprets that the presumptive RACT
requirements in section 129.97 would remain applicable unless and until a source receives
approval of an alternative NOx averaging plan containing an alternative RACT limit.

    The geographic applicability of section 129.98 is consistent with EPA’s policy and consistent
with the D.C. Circuit’s recent February 16, 2018 decision finding NOx averaging provisions
reasonable for ozone RACT in South Coast Air Quality Mgmt. Dist. v. EPA. Although
Pennsylvania’s provisions do not restrict the application of NOx averaging to moderate or worse
nonattainment areas, this is still aligned with EPA’s interpretation of CAA RACT requirements.
For Pennsylvania, RACT applies to any moderate or worse nonattainment areas as well as any
areas within the OTR, which would include any marginal nonattainment areas as well as any
areas not designated nonattainment. PADEP limited the applicability of system-wide averaging
to nonattainment areas. Pennsylvania has defined “nonattainment area” consistent with EPA’s
designations in 40 CFR part 81.46 In its September 26, 2017 supplemental, PADEP clarified its
intention to consider any “unclassifiable/attainment areas” under 40 CFR part 81 as a single
nonattainment area, by virtue of being in the OTR. In accordance with CAA section 184, RACT
applies to any areas in the OTR “as if the area was classified as a moderate nonattainment area,”
so allowing system-wide NOx averaging outside of designated nonattainment areas is still
adequate. PADEP’s implementation of section 129.98 is consistent with this interpretation.
Also, PADEP’s restriction of system-wide averaging to nonattainment areas is consistent with
the Court decision in South Coast Air Quality Mgmt. Dist. v. EPA (February 16, 2016) and in
NRDC v EPA, 571 F.3D 1245 (D.C. Circ. 2009), which indicated that RACT-level emissions
reductions must occur within a nonattainment area. Thus, sources within specific nonattainment
areas designated under 40 CFR Part 81 may only average with other Pennsylvania sources within
the same designated nonattainment area and may not average with sources in areas that are
simply within the OTR area of Pennsylvania.

46
     See 25 Pa. Code section 121.1.

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    EPA’s NOx RACT guidance encourages the use of “averaging” to determine NOx emission
rates that ensure RACT-level reductions in nonattainment areas. 47 The concept of “averaging”
results in a bubble or emissions cap equivalent to the cumulative emissions that would be
achieved by implementation of RACT control measures on source-specific basis. Although
“averaging” would prevent the direct application of RACT controls on all affected major
sources, it should still result in the same level of emissions reductions, and thus has been
recognized as an adequate approach to meet RACT by EPA, as long as the reductions from
averaging with sources in designated nonattainment areas all occur within the designated
nonattainment area. In the context of Pennsylvania’s RACT II Rule, “RACT-level reductions”
would be achieved through the implementation of the presumptive limits in section 129.97.

     As part of their RACT SIP submissions, EPA requires states to include a demonstration that
the application of “averaging” at sources in nonattainment areas meets NOx RACT
requirements. The RACT II Rule SIP submission did not include the needed demonstration for
NOx averaging provisions to meet RACT. Instead, subsection 129.98(d) requires the owner or
operator of the non-compliant emissions unit submitting a NOx averaging plan to include this
demonstration as part of its permit application. Because neither the averaging plan nor the
permit application are required to be submitted for SIP approval, EPA finds that this approach is
inadequate. Thus, the RACT II Rule does not satisfy this particular requirement of EPA’s
policy. However, as Pennsylvania is committing to submit NOx averaging plans to EPA for SIP
approval, EPA is proposing conditional approval of Pennsylvania’s NOx averaging regulation.

    Another deficiency of Pennsylvania’s NOx averaging provisions is that section 129.98 does
not sufficiently specify how to establish and enforce the alternative RACT limit. The equation in
subsection 129.98(e) solely stipulates that the cumulative actual emissions from the emission
units included in the averaging plan must be no greater than the cumulative allowable emissions
for those emissions units. Subsection 129.98(e) does not provide how to compute the alternative
limit, but only specifies that the limit would be determined using a 30-day rolling average based
on the application of the relevant presumptive limit under section 129.97 or a more stringent
limit, and that the alternative limit would ultimately be expressed as NOx mass emissions.48
This lack of specificity in section 129.98 allows certain unbounded discretion in determining an
alternative NOx RACT limit, which correspondingly results in our inability to determine if such
limit is adequate for RACT. Also, the uncertainty of subsection 129.98(e) prevents consistent
implementation of NOx averaging provisions and ultimately prevents the adequate enforceability
of these provisions as a practical matter.

47  See 80 FR 12279. In the context of the 2008 Ozone Implementation Rule, EPA referred to this as “area wide
average emissions rates”
48
   Although PADEP does have a general definition for “allowable emissions” under section 121.1, EPA believes this
definition is not relevant in the context of section 129.98, as it refers to an emissions rate applicable to a facility, as
opposed to mass emissions applicable to a particular emissions unit, as stipulated by section 129.98(e).

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    In the September 26, 2017 supplemental document, PADEP explained that this deficiency in
the RACT II Rule’s NOx averaging provisions resulted from the final amendments of these
provisions in response to comments received during the proposal of the rule. The proposed NOx
averaging provisions in section 129.98(e) included a different equation to compute the
alternative NOx limit, one which was tailored specifically for combustion units. Allowable NOx
mass emissions for each emissions unit were to be calculated based on the allowable NOx
emission rate limit (in lb/MMBTU) and the actual heat input. In response to public comments,
PADEP simplified the equation in section 129.98(e) to allow averaging of NOx emissions for all
emission units subject to presumptive NOx limits.

    The deficiency of section 129.98 could be corrected by revising section 129.98(e) to further
establish how to compute allowable emissions, or by PADEP submitting to EPA the alternative
NOx limits under section 129.98 for approval into the SIP. EPA recognizes that the amendment
of section 129.98 is less practicable, as it would take additional time and resources, and would
further delay implementation of RACT. The submission of alternative NOx limits for approval
into the SIP would allow EPA to verify if RACT-level reductions are achieved through
implementation of section 129.98, and to determine if each NOx averaging plan, and underlying
alternative NOx limit is adequate as RACT.

    As part of the September 26, 2017 supplemental document, PADEP committed to submit to
EPA as SIP revisions the portions of enforceable permits containing terms and conditions
relevant for compliance with section 129.98, which would include the NOx averaging limits and
as well as relevant compliance demonstration requirements, which should ensure practical
enforceability of the averaging plan as a limit. This commitment addresses the deficiency of
section 129.98 and allows EPA to propose conditional approval of these provisions. Under
section 110(k)(4) of the CAA, EPA may conditionally approve a plan based on a commitment
from the state to adopt specific enforceable measures within 1 year from the date of approval. If
the state fails to meet its commitment within the 1-year period, the approval is treated as a
disapproval.

   E. Alternative RACT Proposals

      Section 129.99 of the RACT II Rule allows or requires sources to propose source-specific
RACT emissions limits based on a comprehensive evaluation of additional controls. Section
129.99(a) allows the adoption of source-specific RACT as a second alternative compliance
option for sources that cannot meet presumptive RACT. By contrast, sections 129.99(b) and (c)
require the adoption of source-specific RACT limits for any emissions units at a major sources
subject to the RACT II Rule for which there are no applicable presumptive requirements in
section 129.97 and whose PTE exceeds 5 TPY of NOx and/or 2.7 TPY of VOC.


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     Sections 129.99 (d)-(h) outline a common procedure for any source proposing a source-
specific emissions limit. PADEP required sources to submit the “alternative RACT proposals”
to the appropriate state or local agency by October 24, 2016. Section 129.99(d)(1) incorporates
by reference the procedures in 25 Pa. Code 129.92(a)(1)-(5) and (b), establishing the
requirements of an alternative RACT proposal. A RACT proposal must include, among other
things, the proposed limit/s, relevant compliance methods, an implementation schedule, and a
permit application to incorporate these requirements (under 25 Pa. Code chapter 127). Source-
specific limits must be proposed based on the evaluation of technical and economic feasibility of
all available controls for each emissions unit. Once approved by PADEP or local agency, the
source-specific limits and relevant compliance demonstration requirements are adopted into
enforceable permits and submitted as a SIP revision for EPA’s approval.

    Affected sources are required to propose a schedule for implementation of the proposed
RACT requirement or emissions limit as soon as possible but not later than January 1, 2017 or
six months after meeting the “major source” definition, whichever is later. As discussed earlier,
affected sources are also able to petition an alternative compliance deadline if they need to install
an air pollution control device to meet the specific requirements under the RACT II Rule.

    The language in 25 Pa. Code 129.99 limits the use of source-specific RACT as an alternative
compliance option to an owner or operator of a non-compliant emission unit (subject to
presumptive RACT), who is able to show that this unit is unable to meet the applicable
presumptive limit in section 129.97. For NOx emissions units, source-specific RACT under
section 129.99(a) would be an alternative to NOx averaging. Inability to meet presumptive
RACT limits should be based on technical and/or economic infeasibility of controls in place or to
be retrofitted at each particular emission unit. Thus, presumptive RACT requirements in section
129.97 would remain applicable unless and until a source receives approval of an alternative
RACT limit.

    EPA finds that the process in section 129.99 for sources to propose source-specific RACT
emissions limits and for PADEP to submit such limits as a SIP revision is adequate, with one
exception. Section 129.99 does not establish a date certain by which Pennsylvania must submit
the relevant source-specific RACT SIP revisions to EPA. PADEP has reported to EPA that
approximately 150 major sources have submitted RACT proposals under section 129.99. At this
time, PADEP has only provided to EPA source-specific RACT SIP revisions addressing nine
major facilities. According to EPA’s longstanding policy, a generic rule cannot fully meet
RACT under the CAA in the absence of the submitted emission limitations.49 Thus, EPA cannot
fully approve the provisions of section 129.99 of the RACT II Rule without the submission of all
source-specific RACT limits approved under these provisions.

 EPA’s November 7, 1996 Memorandum “Approval Option for Generic RACT Rules Submitted to Meet the non-
49

CTG VOC RACT Requirements and Certain NOx RACT Requirements.”

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     As part of the September 26, 2017 supplemental document, PADEP committed to submit
within 12 months of EPA’s final action, additional source-specific RACT SIP revisions
containing source-specific RACT limits approved under section 129.99. PADEP’s commitment
would correct the deficiency of section 129.99 and allows EPA to propose conditional approval
of these provisions. Under section 110(k)(4) of the CAA, EPA may conditionally approve a plan
based on a commitment from the state to adopt specific enforceable measures within 1 year from
the date of approval. If the state fails to meet its commitment within the 1-year period, the
approval is treated as a disapproval.

     F. Superseding Provisions

    The RACT II Rule contains “superseding” provisions that in most cases ensure that RACT
for major NOx and non-CTG VOC sources continues to be based on the most stringent level of
control. Section 129.97(i) of the RACT II Rule provides that the presumptive requirements in
section 129.97 will supersede any RACT requirements of a “RACT permit” issued prior April
23, 2016 under 25 Pa. Code sections 129.91-95, unless the RACT permit contains more stringent
requirements. Prior to the adoption of the RACT II Rule, Pennsylvania relied on the NOx and
VOC control measures in 25 Pa. Code sections 129.91-95 to meet RACT for non-CTG major
VOC sources and major NOx sources. The requirements of 25 Pa. Code sections 129.91-95 are
in effect and continue to be implemented as RACT.50 Section 129.92 established a procedure for
affected sources to propose source-specific requirements, which were approved into federally
enforceable permits, and whose relevant portions were submitted for approval into the SIP. 25
Pa. Code section 129.93 contains presumptive RACT requirements for major sources of NOx,
particularly establishing operational standards for combustion units. Section 129.94 contained
Pennsylvania’s NOx averaging provisions, which required the approval of such NOx averaging
plans into federally enforceable permits and the submission of the relevant portions of the
permits for approval into the SIP. Hence, “RACT permits” issued under sections 129.91-95, as
referred to in section 129.97(i), would have resulted from the implementation of source-specific
RACT under section 129.92 and NOx averaging plans under section 129.94, all which were
required to be submitted to EPA for approval as SIP revisions. If EPA agreed with
Pennsylvania’s underlying RACT determinations as satisfying RACT under the CAA, then the
corresponding RACT permits, or portions thereof, were also approved by EPA into the SIP under
40 CFR 52.2020(d).

    In implementing the provisions in sections 129.97(i), PADEP or the local permitting agency
must make a determination for each affected source as to which requirements are more stringent,
prior to establishing RACT for the affected source. Such determination would need to be made
on a source-specific basis, based on the requirements that have been previously approved into the

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  These requirements were initially approved as RACT for Pennsylvania under the 1-hour ozone NAAQS, and were
recertified as RACT under the 1997 8-hour ozone NAAQS only for affected major sources in Philadelphia.

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SIP and that are applicable for each affected source. In the case that the RACT II Rule
presumptive requirement is more stringent than a previously SIP-approved requirement
(established under section 129.91-95) for an affected source, PADEP may submit to EPA a SIP
revision clarifying which would be the applicable RACT requirement and properly removing the
previously approved requirements from the SIP, consistent with CAA section 110(l). Otherwise,
until such a SIP revision is made, the previously SIP-approved RACT requirements will continue
to be federally enforceable and necessary for the source to comply with RACT. Should the
RACT II Rule be fully approved by EPA into the SIP, these requirements will also become
federally enforceable and the affected source would be required to comply with both
requirements.

    EPA finds that the language in section 129.97(i) alone cannot supersede the previously
approved SIP provisions unless and until PADEP submits an additional SIP revision in
accordance with section 110(l) of the CAA. This is consistent with PADEP’s own interpretation
of section 129.97(i). In the preamble to the RACT II Rule final rulemaking, PADEP stated that
the provisions in section 129.97(i) were intended to ensure that an affected source is required to
comply with the most stringent of the RACT requirements; and that the provisions in 25 Pa.
Code sections 129.91-95 continue to apply regardless of the RACT II Rule provisions being in
place, so that a major NOx and/or VOC source that has been subject to sections 129.91-95 and is
now also subject to section 129.96-100 will be required to comply with both provisions to meet
RACT.51

    Section 129.99(k) of the RACT II Rule provides that any source-specific requirements
approved under section 129.99 will supersede any similar NOx and/or VOC requirements that
have been approved into an existing enforceable permit issued for the affected source prior to
April 23, 2016, except to the extent the existing permit requirements are more stringent.
Pursuant to section 129.99(f) and (h), any source-specific RACT requirements adopted under the
RACT II Rule must be incorporated into federally enforceable permits and submitted for
approval into the SIP. The provision in section 129.99(k) ensures that any control measures
being submitted for SIP approval as source-specific RACT are as stringent if not more stringent
than other RACT measures previously approved into the SIP. Subsequent RACT SIP revisions
under section 129.99 must include a demonstration consistent with CAA section 110(l) to
supersede any previously SIP approved RACT requirements, and such revisions will be
evaluated and acted on by EPA separately.

    EPA finds that the provisions in sections 129.97(i) and 129.99(k) are approvable as SIP
strengthening measures, as they adequately ensure that additional SIP revisions establishing
RACT for major NOx and non-CTG VOC sources in Pennsylvania reflect the most stringent

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   See 46 Pa Bulletin 2046, PADEP’s April 23, 2016 final rulemaking notice adopting the RACT II Rule; this notice
is also included in PADEP’s May 16, 2016 SIP revision.

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level of control for the affected sources.

    In addition, in an ancillary provision, section 129.97(j) provides that the presumptive
requirements of the RACT II Rule supersede the requirements of section 129.201 to 129.205
(“Additional NOx Requirements”), 145.111 to 145.113 (“Interstate Pollution Transport
Reduction- Emissions of NOx from Stationary Internal Combustion Engines”) and 145.141-
145.146 (“Interstate Pollution Transport Reduction- Emissions of NOx from Cement
Manufacturing”). These regulations contain Pennsylvania’s cap-and-trade provisions addressing
interstate transport of NOx emission from boilers, stationary combustion turbines, stationary
internal combustion engines, and Portland cement kilns. EPA has not approved any of these
regulations as meeting RACT. For that reason, section 129.97(j) should not affect
Pennsylvania’s ability to establish RACT for any major NOx and VOC sources subject to the
RACT II Rule. It appears Pennsylvania may have intended to relieve affected sources from
complying with other SIP approved provisions. If PADEP would like to remove these other
previously approved provisions from the SIP, PADEP must submit separate SIP revision
requesting their removal and showing compliance with CAA section 110(l). As the May 16,
2016 SIP revision was submitted to satisfy applicable RACT requirements under the CAA, EPA
finds that 129.97(j) does not interfere with the RACT requirements established in the RACT II
Rule and as such the provision is ancillary and will not interfere with implementation of RACT
within Pennsylvania.

   G. Compliance Demonstration Requirements

      Section 129.100 of the RACT II Rule establishes compliance demonstration requirements
for affected sources. Section 129.100(a) applies to sources subject to presumptive RACT
requirements in section 129.97. Emissions units subject to section 129.97 that have a continuous
emissions monitoring system (CEMS), must meet the monitoring and testing requirements of 25
Pa. Code chapter 139, subchapter C and must determine compliance on a 30-day rolling average
basis, except municipal waste combustors which use a daily average. Portland cement kilns with
a CEMS must follow the monitoring requirements in 40 CFR 63.1350(d). Any other sources
subject to section 129.97 that do not have CEMS, must meet the monitoring and testing
requirements of 25 Pa. Code chapter 139, subchapter A, and must conduct testing at least once
every five years.

      As provided in section 129.100(b), sources subject to presumptive RACT in section 129.97
must comply with those requirements no later than January 1, 2017 or one year after the date that
the source meets the definition of a major source, whichever is later. This excludes sources that
have petitioned for alternative compliance schedules.

     Section 129.100(c) allows an affected source complying with presumptive RACT to


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request a waiver by October 24, 2016, or six months after the date that the source meets the
definition of a major source, whichever is later, from the requirement to demonstrate compliance
with the applicable limit in section 129.97.

      Recordkeeping requirements are established under section 129.100(d) for any affected
sources under the RACT II Rule. An affected source must keep sufficient records of data and
calculations needed to demonstrate compliance with the applicable requirements of the RACT II
Rule.

      Compliance demonstration requirements for NOx averaging or source-specific RACT
alternative limits will be established by PADEP or local agency on a source-specific basis,
consistent with section 129.100. Specifically, section 129.98(g)(3) requires the owner or
operator of an affected source subject to 129.98 to specify any compliance demonstration
requirements as part of its permit application, in accordance with section 129.100. Section
129.99(d)(6) requires the owner or operator of an affected source subject to 129.99 to submit as
part of the RACT proposal any compliance demonstration methods and recordkeeping and
reporting requirements, in accordance with section 129.100. Section 129.99 also incorporates by
reference the provision in 129.92(a)(7), which requires that the source includes as part of the
RACT proposal the testing, monitoring, recordkeeping and reporting procedures proposed to
demonstrate compliance. These additional compliance demonstration requirements for sources
complying with section 129.98 and 129.99 will be submitted for approval into the SIP, as part of
PADEP’s commitment to correct deficiencies on these provisions.

     EPA finds the provisions of the RACT II Rule to be adequate to ensure enforceable limits
for CAA section 110 and thus approvable.

   H. Definitions

    Pennsylvania codifies all definitions that are related to chapter 129 (as well as all the other
chapters) in section 121.1. The May 16, 2016 SIP revision included for incorporation into the
SIP only those definitions in 25 Pa. Code section 121.1 relevant to the RACT II Rule. Section
121.1 was amended to revise the existing definitions for “CEMS—continuous emissions
monitoring system,” “major NOx emitting facility,” “major VOC emitting facility,” “stationary
internal combustion engine or stationary reciprocating internal combustion engine” and to add
definitions for “process heater,” “refinery gas,” “regenerative cycle combustion cycle
combustion turbine,” “simple cycle combustion turbine,” and “stationary combustion turbine.”

    For Pennsylvania’s rules, “major facility” is the same as a “major source” or “major
stationary source.” For RACT purposes, Pennsylvania relies on its definitions of “major NOx
emitting facility” and a “major VOC emitting facility,” both based on a facility’s overall PTE for
each pollutant. The applicable PTE thresholds are different according to the classification of the

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nonattainment area where the facility is located. These thresholds are consistent with the
relevant “major stationary source” definitions in sections 182(c)–(f) and 302 of the CAA.
Although Pennsylvania does not explicitly define thresholds for major sources in Moderate
nonattainment areas, it includes thresholds for any sources “in an area included in an ozone
transport region established under section 184,” which are lower and consistent with the CAA.

    As part of the RACT II Rule amendments, PADEP revised its existing definitions for “major
NOx emitting facility” and a “major VOC emitting facility” to clarify that the 25 TPY major
source NOx and VOC thresholds no longer apply in Bucks, Chester, Delaware, Montgomery and
Philadelphia Counties for applicability of the RACT II Rule. EPA clarifies that the 25 TPY
thresholds were applicable under the 1-hour ozone NAAQS for these particular counties as part
of the Philadelphia-Wilmington-Trenton Severe nonattainment area. However, since the RACT
II Rule intends to address RACT requirements for the 1997 and 2008 8-hour ozone standards, the
25 TPY thresholds are no longer relevant given the classification of the areas under both
NAAQS at the time of revocation of the later 1997 8-hour ozone NAAQS. PADEP has retained
the 25 TPY thresholds to continue to apply to RACT sources subject to previous 1-hour ozone
RACT requirements in those counties. As indicated earlier, Pennsylvania is subject to anti-
backsliding requirements under the 1997 8-hour ozone NAAQS, following its revocation, and
continues to be required to meet RACT under this standard. However, major source thresholds
under both the 1997 and 2008 standards are the same for RACT purposes, given that there are no
areas under either standard with classifications higher than Moderate. Thus, EPA is proposing to
approve for inclusion into the SIP the amended definitions in 25 Pa. Code section 121.1.

V. Recommended Rulemaking Action

      EPA finds that Pennsylvania’s May 16, 2016 SIP revision containing the RACT II Rule is
adequate to meet the intended RACT requirements under the CAA, except for the identified
deficiencies in sections 129.98 and 129.99. Given these deficiencies and pursuant to section
110(k)(4) of the CAA, EPA is recommending the following rulemaking actions on the May 16,
2016 SIP revision. EPA recommends to fully approve 25 Pa. Code sections 121.1, 129.96,
129.97, and 129.100 included in the May 16, 2016 SIP revision (for inclusion into the
Pennsylvania SIP) as meeting certain aspects of major stationary source RACT in CAA 172, 182
and 184 for 1997 ozone and 2008 ozone. EPA also recommends to conditionally approve 25 Pa.
Code 129.98 and 129.99. This conditional approval is based on the commitment provided by
PADEP in its September 26, 2017 supplemental document to submit additional SIP revisions
containing alternative RACT emissions limits, and the respective compliance demonstration
requirements, established under section 129.98 and section 129.99. These additional SIP
revisions would address the deficiencies identified by EPA in the May 16, 2016 SIP revision.




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Appendix B- Comparison NOx State Regulations For Sources Covered by Pennsylvania’s Presumptive RACT




Table 1: Summary of States RACT SIPs
                   PA             NY                             CT               NJ                  DE
                                            Proposed          Approved
                  Partial Approval                                                                 Approved
                                            Approval-        2008 RACT
                  for 1997 RACT                                                                   2008 RACT
                                           2008 RACT            SIP
 EPA’s Latest       (VOC only)                                                  Approved             SIP
                                               SIP
  RACT SIP                                                                     1997 RACT
                                                             [EPA-R01-
   Action            Approval                                                     SIP             [EPA-R03-
                                           [EPA-R02-         OAR-2014-
                      Pending-                                                                    OAR-2015-
                                           OAR-2017-           0611]
                  1997/2008 RACT                                                                    0656]
                                             0459]
                                                                                                  7 DE Admin.
                                                              22a-174-22
                                                                                                  Code sections
                    25 Pa Code             6 NYCRR           22a-174-22e       NJAC 7:27-
  State Rules                                                                                      1112, 1142,
                   section 129.97           227-2.4          (as of June 1,       19.7
                                                                                                   1144, 1146,
                                                                 2018)
                                                                                                      1148



Table 2. States NOx Limits for Natural Gas Fired Combustion Units or Process Heaters with Rated Heat of 50
MMBTU/hr or Greater
                                    NOx Limits by States (lb NOx/ MMBTU)
    Heat Input
                          PA            NY              CT            NJ            DE
   (MMBtu/hr)
  Greater than 50                                      0.20
                                        0.05                         0.05            -
 but less than 100                                     0.43
        100                             0.05        (varies by       0.10          0.20
                     0.10 (natural                 firing type)
                         gas)
                                     0.06; 0.08     0.20 (as of
  Greater than 100                                                   0.10          0.20
                                   (vary by size) June 1, 2018)


                          25 Pa Code
                                                                 22a-174-22       NJAC 7:27-          7 DE Admin.
     State Rule             section          6 NYCRR 227-2
                                                                 22a-174-22e      19.7, Table 9        Code 1112
                        129.97(g)(1)(iv)

* NY regulates any gaseous fuel as “gas”. NY defines Large Boilers as units with heat input > 100 MMBtu/hr and  250
MMBtu/hr. NY defines Mid-sized Boilers as units with heat input > 25 MMBtu/hr and  100 MMBtu/hr
* CT regulates as “gas” any gaseous fuel under 22a-174-22; and any gaseous fuel, except landfill gas or digester gas.
under 22a-174-22e.
* NJ limit applies to natural gas only. Another limit applies for other gaseous fuels.
* DE presumably regulates any gaseous fuels as “gas” under section 1112.
* MD regulates any gaseous fuel.

Conclusion: PA’s NOx limits for natural gas fired combustion units are comparable to other states; therefore, they
are reasonably available and should adequately represent RACT for this NOx source category.




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Table 3. States NOx Limits for Distillate Oil-Fired Combustion Units or Process Heaters with Rated Heat Input
Equal to or Greater than 50 MMBTU/hr
                                      NOx Limits by States (lb NOx/ MMBTU)
    Heat Input
                         PA                NY            CT             NJ             DE
   (MMBtu/hr)
  Greater than 50                                        0.20
                                          0.08                         0.08           N/A
 but less than 100                                       0.30
                                                         0.43                      0.25; 0.43
        100                               0.08        (varies by       0.10         (vary by
                         0.12                        boiler type)                 firing type)
                                       0.15; 0.20
                                                      0.20 (as of                  0.25; 0.43
                                       (varies by
  Greater than 100                                   June 1, 2018)     0.10         (vary by
                                        size and
                                                                                  firing type)
                                      boiler type)
                          25 Pa Code
                                           6 NYCRR 227-   22a-174-22 and       NJAC 7:27-      7 DE Admin.
     State Rule             section
                                                2.4        22a-174-22e         19.7, Table 9    Code 1112
                        129.97(g)(1)(ii)

* NJ and PA regulate distillate oil separately from other types of oil fuel.

Conclusion: PA’s NOx limits for distillate oil fired combustion units are comparable to other states; therefore,
they are reasonably available and should adequately represent RACT for this NOx source category.



Table 4. States NOx Limits for Residual Oil-Fired Combustion Units or Process Heaters with Rated Heat of 50
MMBTU/hr or Greater
                                     NOx Limits by States (lb NOx/ MMBTU)
    Heat Input
                         PA               NY             CT           NJ              DE
   (MMBtu/hr)
  Greater than 50                                       0.25
                                         0.20                         0.2            N/A
 but less than 100                                      0.30
                                                        0.43          0.2         0.25; 0.43
        100                              0.20         (vary by                     (vary by
                        0.20                        firing type)                 firing type)
                                      0.15; 0.20                      0.2
                                                     0.25 (as of                  0.25; 0.43
                                      (varies by
  Greater than 100                                 June 1, 2018)                   (vary by
                                       size and
                                                                                 firing type)
                                     boiler type)
                         25 Pa Code
                                           6 NYCRR 227-   22a-174-22 and       NJAC 7:27-      7 DE Admin.
                           section
                                                2.4        22a-174-22e         19.7, Table 9    Code 1112
                       129.97(g)(1)(iii)
* PA and CT regulate residual oil separately from other types of oil fuel.

Conclusion: PA’s NOx limits for residual oil fired combustion units are comparable to other states; therefore, they
are reasonably available and should adequately represent RACT for this NOx source category.




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Table 5. States NOx Limits for Coal-Fired Combustion Units or Process Heaters with Rated Heat Input of 50
MMBTU/hr or Greater but Less than 250 MMBTU/hr
                                     NOx Limits by States (lb NOx/ MMBTU)
    Heat Input
                         PA              NY            CT              NJ            DE
   (MMBtu/hr)
                                                                   0.38, 0.43,
  Greater than 50                                                   0.55, 1.0
                                         N/A                                         N/A
 but less than 100                                                 (varies by
                                                       0.29       boiler type)
                                                       0.30        0.38, 0.45,
                                                                                  0.38; 0.40
                                                       0.38          0.6, 1.0
        100             0.45             N/A                                       (vary by
                                                       0.43        (varies by
                                                                                 boiler type)
                                                    (vary by      boiler type)
                                                   boiler type)    0.38, 0.45,
                                      0.08; 0.20                                  0.38; 0.40
  Greater than 100                                                   0.6, 1.0
                                    (vary by coal                                  (vary by
 but less than 250                                                 (varies by
                                        type)                                    boiler type)
                                                                  boiler type)
                           25 Pa Code
                                             6 NYCRR 227-                       NJAC 7:27-
     State’s Rule            section
                                                  2.4
                                                              22a-174-22
                                                                                19.7, Table 8
                         129.97(g)(1)(vii)
* NJ limits include different limits for wet- or dry-bottom coal-fired boilers.

Conclusion: PA’s NOx limits for small coal-fired combustion units are comparable to other states; therefore, they
are reasonably available and should adequately represent RACT for this NOx source category.



Table 6. States NOx Limits by Firing Type for Coal-Fired Combustion Units, Including Boilers Serving Electric
Generating Units (EGUs), or Process Heaters with Rated Heat Input of 250 MMBTU/hr or Greater
                                              NOx Limits by States (lb NOx/ MMBTU)
 Firing Type         PA             NY                 CT                      NJ                       DE
                  EGU and        EGU and                                         Non-EGU        EGU
                                                EGU       Non-EGU       EGU                               Non-EGU
                  Non-EGU        Non-EGU
                                                                                              0.125 (for
 Circulated
                                 0.08 (dry                                                     any; 24-
 Fluidized          0.16                                    0.29                    N/A                       N/A
                                  bottom)                                                     hour avg.)
 Bed
                                        0.12 (dry or                                              0.38 (dry)                  0.38
 Tangential              0.35                                           0.38
                                        wet bottom)                                               1.0 (wet)
                                                       0.28 (as of
                                                                                     0.15 (for
 Wall/Face                              0.12 (dry or      June                                    0.45 (dry)
                                                                        0.38           any)                                   0.38
 Fired                                  wet bottom)      2018)                                    1.0 (wet)
                    0.40 (for any        0.20 (wet                                                0.55 (dry)
 Cyclone                                                                0.43                                                  N/A
                       other)             bottom)                                                 1.0 (wet)
 Cell Burner                                N/A                         0.38                         N/A                      N/A
 Arch                                       N/A                         0.38                         N/A                      N/A
 Stoker                                     N/A                         0.38                         N/A                      0.4
                      25 Pa Code                                                                  7:27-19.7;
                                        6 NYCRR 227-                                 7:27-19-4;
 States Rules           section                        22a-174-22e    22a-174-22                   Table 8     DE Reg. 1112 and 1146
                                             2.4                                     7:27-19.7
                    129.97(g)(1)(vi)
* PA limits do not distinguish from dry or wet bottom, but NEI data indicates there are only dry bottom coal-fired boilers.
* NY regulates any boilers with heat input rating greater than 100 MMBTU/hr. For boilers with other configurations not
addressed in the section 227-2.4, source-specific RACT applies.
* CT has regulated NOx emissions from any coal-fired boilers based on burner configuration, but then adopted more
stringent NOx limits for coal-fired EGU boilers, which will be in effect after June 2018.                 JA077
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* NJ provides a NOx limit for any coal-fired EGU boilers of any size, regardless of burner configuration. This limit is
presented in lb/MW units, and has been converted to lb/MMBTU for this comparison. See
http://www.nj.gov/dep/rules/proposals/080408a.pdf at page 52. This limit is also applicable on a 24-hour basis.
* DE adopted NOx limits for EGU boilers, regardless of burner configuration. DE also established NOx limits for ICI
coal-fired boilers with heat input rating greater than or equal to 100 MMBTU/hr, for some burner configurations.


Conclusion: PA’s NOx limits for large coal-fired combustion units are comparable to other states; therefore, they
are reasonably available and should adequately represent RACT for this NOx source category.


Table 7. States NOx Limits for Combustion Turbines
                                             NOx Limits by States (ppmvd at 15% O2)
     Type           Fuel           PA           NY             CT             NJ                       DE
                                   150
                                    42
                              (vary by size)
                    Gas                          50            55             25                        42
                              (also apply to
    Simple                     regenerative
                               cycle units)
                                   150
                    Oil             96          100            75             42                        88
                              (vary by size)
                                    42
                    Gas              4           42            42             25                        42
                              (vary by size)
  Combined
                                     4
                    Oil              8           65            65             42                        88
                              (vary by size)
                                  25 Pa Code
                                                  6 NYCRR 227-     22a-174-22 and                  DE Reg. 1112
          States Rules              section                                          7:27-19-5
                                                       2.4          22a-174-22e                     and 1148
                                  129.97(g)(2)
* Applicability thresholds not provided, but vary per state. PA regulates NOx emissions from significantly smaller
combustion turbines than other states. PA established NOx limits for two different size categories; which is an uncommon
practice from the majority of states.
* PA regulates regenerative cycle units the same way as simple cycle. PA regulates combustion turbines dedicated to
electricity generation the same way as combined cycle units.
* NJ NOx limits are expressed in lb/MMBTU and/or lb/MW-hr, but for this comparison have been converted to
ppmvd@15% O2 based on New Jersey’s technical support document. (or Regenerative)
* CT has currently other applicable NOx limits for combustion turbines expressed in lb/MMBTU; however, these limits
will be superseded in June 2018 by the ppmvd limits listed in the table. For simplicity, only those have been indicated for
this comparison.


Conclusion: PA’s NOx limits for combustion turbines are comparable to other states; therefore, they are
reasonably available and should adequately represent RACT for this NOx source category.




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Table 8. States NOx Limits for Stationary Internal Combustion Engines
                                                NOx Limits by States (gr/bhp-hr)
   Type          Fuel           PA              NY           CT              NJ                       DE
                                          1.5; 2.0 (vary
                                3.0
   Lean           Gas                       by type of        2.5            1.5
                                                gas)
                                          1.5; 2.0 (vary
   Rich           Gas           2.0         by type of        2.5            1.5
                                                gas)                                                  1.35
                                           2.3 (distillate
   Any        Liquid fuel       8.0                           8.0            2.3
                                                oil)
               Dual (Gas
   Any        and Liquid        8.0             N-A          N-A             2.3
                 Fuel)
                               25 Pa Code
                                               6 NYCRR 227-    22a-174-22 and
         States Rules            section                                           7:27-19-8      DE Reg. 1144
                                                    2.4         22a-174-22e
                               129.97(g)(3)
* Applicability varies by state and is determined by the output rating of the engines. All states regulate engines of nearly
the same rating as PA of 500 bhp or greater. Only NJ regulates smaller engines down to ~200 bhp.
* DE limits are expressed in lb/MW-hr. Also, the NOx limits in DE Reg section 1144 are applicable for new sources,
based on installation dates. For this comparison, only the limit for existing units was considered. It also worth to note that
these standards were truly established to meet other Federal requirements, which are typically mores stringent (BACT or
LAER),
Conclusion: PA’s NOx limits for stationary internal combustion engines are comparable to other states; therefore,
they are reasonably available and should adequately represent RACT for this NOx source category.




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            UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                             REGION III
                                          1650 Arch Street
                             Philadelphia, Pennsylvania 19103-2029


DATE:           2/22/2018



SUBJECT:        Technical Support Document for the Pennsylvania State Implementation Plan
                Revision for Certain Reasonably Available Control Technology Requirements
                under the 1997 and 2008 8-hour Ozone National Ambient Air Quality
                Standard - Cost Effective Analyses for Coal Fired Boilers

FROM:           Christopher Cripps, Environmental Engineer
                Office of Air Program Planning (3AP30)

TO:             SIP Docket File: EPA-R03-OAR-2017-0290




REVIEWED               \s\ ____________________                 ,
BY:
                Susan I. Spielberger, Associate Director
                Office of Air Program Planning (3AP30)



      I. Part I: General

      A. Baseline Data & Data Sources
      EPA started with the 2011 inventory data of nitrogen oxides (NOx) and also emissions and
      operational data for coal-fired boilers reported to EPA’s Air Markets Program Data (AMPD) for
      2011. The calendar year 2011 was chosen because this year is the presumptive inventory base
      year for the 2008 ozone NAAQS. See 80 FR 12264 at 12271-12272 (March 6, 2015).
      B. Scope of Data and Units in APMD:




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The AMPD contains NOx emissions data for emissions units covered under any one or more of
the following allocation or cap and trading programs:1
       The Acid Rain Program under Title IV of the Clean Air Act (CAA) (42 USC 42 U.S.C.
7601 and 7651 et seq.) (40 CFR Part 76).
        The NOx State Implementation Plan (SIP) Call (40 CFR Part 96, Subparts A to I [2004
Ed.], 63 FR 57356, October, 27, 1998).2
       The Clean Air Interstate Rule (CAIR) and CAIR FIPs (40 CFR Part 96 and 40 CFR Part
97 including for example subparts AA, BB, EE to II, and EEEE to IIII).
       The Cross-State Air Pollution Rule (CSAPR) and CSAPR Update FIPs (40 CFR Part 97,
including for example Subparts AAAAA, BBBBB, EEEEE).

The sorts of emissions units include (for example):
        Emission units specifically identified in CAA Title IV.
        Emission units subject to 40 CFR Part 97 (for examples, refer to §§97.4 or 97.404)
These include:
      1       Generally units that, any time on or after January 1, 1995, serves a generator with
a nameplate capacity greater than 25 MWe, and
        2      Generally units that is not a unit serving a generator with a nameplate capacity
greater than 25 MWe but that has a maximum design heat input greater than 250 mmBtu/hr, and
        3      Cogeneration units generally those serving a generator with a nameplate capacity
greater than 25 MWe.
        4        Certain “opt-in” emissions units (refer to subparts I and II to 40 CFR part 97).
EPA has placed, as Attachment AA, this AMPD data in the docket for this rulemaking action in
the form of Excel®. Attachment AA to this document contains the 2011, 2015 and 2016 annual
data for coal-fueled emissions units in Pennsylvania. The basic AMPD data is in the Tabs
labeled “Data Dictionary” and “Annual.” (The full data set is available only electronically in
Excel® format, that is, the full document is in the docket held at the Regional Office in
electronic format on a compact disk and on-line at http://www.regulations.gov). The universe of
units in the AMPD includes units combusting fuel oils, natural and other gaseous fuels or both
liquid and gaseous fuels; Attachment AA includes only units combusting coal or “coal-refuse”
during 2011, 2015 and 2016. The data included in this file is explained in the following table:3


1
  Title IV plus the NOx SIP call/CAIR/CSPAR concern either or both SO2 and NOx emissions. Therefore, only the
NOx emissions related data is of concern in this rulemaking. Only the NOx emissions-related regulatory or
statutory provisions are cited.
2
  Amended and superseded by CAIR, 70 FR 25162 (May 12, 2005).
3
  These descriptions are from the “Data Dictionary” Tab of the Excel® file.

                                                      2
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    Table I.B.-1 Data Dictionary
    Data              Description
             4
    Element /Colum
    n Heading
    Year              Year in which data was collected
    Month             Month in which data was collected
    Facility Name     Name of the facility, as reported by representative on Certification of
                      Representation forms or equivalent
    ORISPL Code       EIA-assigned identifier or FACILITY ID assigned by CAMD (if EIA
                      number is not applicable)
    Unit ID           Public identifier used for unit for program identification purposes
    Associated        Stacks associated with the unit
    Stacks
    Source Category Source category of the unit
    Boiler Type Info Type of unit or boiler
    Primary Fuel      Primary fuel type information for the year
    Info
    Secondary Fuel    Secondary fuel type information for the year
    Info
    Gross Load        Output measured in Megawatt-hrs
    Steam Load        Output measured in 1000 pounds (lbs) of steam
    Capacity Input    The maximum hourly heat input (mmBtu/hr) associated with a unit
    NOx Control       Formatted list of all NOx controls for a unit
    Info
    NOx Mass (tons) Mass of NOx (tons) emitted by a unit
    NOx Mass (lbs)    Mass of NOx (lbs) emitted by a unit
    NOx Rate          Average NOx hourly emissions rate (lbs/mmBtu) for a unit
    Total Operation Sum of hours of operation for this time interval
    Time
    Heat Input        Amount of heat (mmBtu) produced by burning fuel for the unit
    Heat Rate         The calculation of the heat input divided by the gross load.
    (mmBtu/MWh)


Included in the 2011 inventory of coal-fired boilers over 250 million British Thermal Units per
hour (mmBTU/hr) are the following source categories (Source Category): Cogeneration, Electric
Utility, Small Power Producer, Industrial Boiler and Pulp & Paper Mill.


C. Separation into Unit Type Sub-categories and by NOx Control Types

For this analysis EPA has extracted the 2011 annual data from Attachment AA to use in the
initial analysis of the cost-effectiveness of selective non-catalytic reduction (SNCR) or selective
4
    Throughout this document italic and underlined terms will identify data elements from EPA’s CAMD AMPD.

                                                       3
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catalytic reduction (SCR) on units not equipped with these post-combustion controls. EPA first
separated the circulating fluidized bed boilers (CFB) from the other “conventional” boiler types.

CFBs are a subset of fluidized bed combustion technology which is an integrated technology for
reducing both sulfur dioxide (SO2) and NOx during the combustion of coal. These furnaces
operate at much lower temperatures and have lower NOx emissions than “conventional” types of
utility boilers.5 CFBs are inherently different because in a CFB crushed coal in combination
with inert material (sand, silica, alumina, or ash) and/or a sorbent (limestone) are maintained in a
highly turbulent suspended state by the upward flow of primary air from the windbox located
directly below the combustion floor. This fluidized state provides a large amount of surface
contact between the air and solid particles, which promotes uniform and efficient combustion at
lower furnace temperatures, between 860 and 900 ºC (1,575 and 1,650 ºF) compared to 1,370
and 1,540 ºC (2,500 and 2,800 ºF) for “conventional” coal-fired boilers.6 CFBs can be used to
burn “coal-refuse.”

In a “conventional” boiler air and fuel are combusted in a furnace. The “walls” of the furnace
are formed by multiple, closely-spaced tubes filled with high-pressure water. The fuel
combustion heats the water inside these tubes to generate steam.7 The “conventional” types of
fossil fuel-fired boilers over 250 mmBTU/hr input capacity in service in 2011 within
Pennsylvania include tangentially-fired, dry-bottom wall-fired, arch-firing and cell burner.8

For both the “conventional” and FBC types, EPA divided the inventory by the type of NOx
controls for a unit (NOx Control Info).

         For FBCs, the three NOx controls categories are:
               (1) those using a NOx reducing reagent (SNCR or “ammonia injection);
               (2) other specified NOx control types – “other” or “overfire air;” and
               (3) finally those units without any identified NOx controls.


EPA added a column to the extracted 2011 data titled “Sort Key” and created the following
codes to differentiate the different boiler categories and NOx control technologies.

    Table I.C.-1 Sort Codes
    Code                  Meaning
    COG-CFB               Cogeneration – CFB with no NOx Control or “Other” NOx Control
    COG-CFB-AI            Cogeneration – CFB with Ammonia Injection
    COG-CFB-SNCR          Cogeneration – CFB with SNCR
    COG-Conv-SNCR         Cogeneration – Conventional with SNCR

5
  Refer to section 2.2 of “Alternative Control Techniques Document – NOx Emissions from Utility Boilers,” EPA-
453/R-94-023, March 1994, available on-line at https://www3.epa.gov/airquality/ctg_act/199403_nox_epa453_r-94-
023_utility_boilers.pdf.
6
  Ibid. section 3.3.2.5.
7
  Ibid. section 3.3.1.
8
  Other “conventional” types include “wet-bottom” wall fired, cyclone and stoker. None of these types were
reported as in service in 2011.

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                         Electric Generating Unit – CFB with no NOx Control or “Other” NOx
 EGU-CFB
                         Control
 EGU-CFB-AI              Electric Generating Unit – CFB with Ammonia Injection
 EGU-CFB-SNCR            Electric Generating Unit – CFB with SNCR
 EGU-CONV                Electric Generating Unit – Conventional without either SNCR or SCR
 EGU-CONV-SCR            Electric Generating Unit – Conventional with SCR
 EGU-CONV-SNCR           Electric Generating Unit – Conventional with SNCR
 Indl/P&P-CFB-SNCR       Industrial or Pulp & Paper – CFB with SNCR
 Indl/P&P-Conv           Industrial or Pulp & Paper – Conventional without either SNCR or SCR


The range of annual average NOx hourly emissions rate (NOx Rate) in lbs/mmBtu for the PA
CFBs ranges from 0.041 to 0.177 lbs/mmBTU for units without ammonia injection (AI) or
SNCR; for units with AI or SNCR the range was 0.084 to 0.146 lbs/mmBTU. In other words,
the emission rates for SNCR/AI units are not always less than those units without.
       For “conventional boilers, EPA segregated the inventory into three control categories;
       (1) those with SCR,
       (2) those with SNCR, and
       (3) those with other types of control or without any specified NOx controls.
The range of annual average NOx hourly emissions rate (NOx Rate) for the conventional boilers
are as follows:
       Type of Control            Lowest NOx Rate             Highest NOx rate
       SNCR                             0.254                        0.485
       SCR                              0.107                        0.377
       Without either SCR or SNCR       0.241                        0.480

Here again, the ranges overlap; however, units equipped with SCR (or SNCR) will emit at rates
higher than practicable minimums if less than the maximum, optimal rates of reagent injection is
not used.

The 2011 data sorted into these categories can be found in Attachment AA of this document on
Excel® tab titled “Sorted 2011.”


D. Selection of Cost-Estimating Methodology
For the initial analysis EPA elected to use the methodology of chapters 1 “Selective Non-
Catalytic Reduction” and 2 “Selective Catalytic Reduction” to the Seventh Edition of EPAs
Control Cost Manual (CCM7). (Hereafter in this document, Chapter 1 “Selective Non-Catalytic
Reduction” will be “CCM7 SNCR” and Chapter 2 “Selective Catalytic Reduction” will be
“CCM7 SCR.”) EPA chose CCM7 because EPA concurrently released cost estimation

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spreadsheet tools with these chapters of CCM7. These spreadsheet tools facilitate estimation of
the annualized cost of SNCR and SCR controls and the cost-effectiveness given the key
characteristics of a given unit. These key characteristics include the boiler size (MW rating or
heat input capacity), type (CFB or not), source category (utility/EGU or industrial), annual heat
input or gross load, baseline NOx rate, target NOx reduction percentage, costing data, and other
relevant factors.
The CCM 7 tools for SCR and SNCR contain “default” inputs for many factors. (The CCM 7
SCR tool will be called “CCM7 SCR Tool” and the CCM 7 SNCR Tool will be called “CCM7
SNCR Tool,” or just “SCR Tool” and “SNCR Tool, respectively, and “CCM Tools”
collectively.) The CCM 7 tools are set to estimate costs for 2014 dollars; Calendar year 2014 is
contemporaneous with PADEPs’ proposed rule.9

The CCM7 SCR Tool and the CCM7 SNCR Tool plus associated Chapters to Section 4 “NOx
Controls” of the EPA Air Pollution Control Cost Manual can be found at
https://www.epa.gov/economic-and-cost-analysis-air-pollution-regulations/cost-reports-and-
guidance-air-pollution [last accessed December 12, 2017].

E. CFB and SCR

EPA did not subject CFBs to an analysis of SCR cost-effectiveness. The EGU ACT “Alternative
Control Techniques Document – NOx Emissions from Utility Boilers,” EPA-453/R-94-023,
March 1994, did not present any information on the use of SCR on CFBs. EPA queried the
AMPD for all CFBs reporting to EPA that were in operation during any year between 2014
through 2016 (inclusive). This data is presented in electronic format only (in CSV)10 as
Attachment BB to this document. EPA reviewed the data to see how many units burning coal or
coal refuse reported SCR as a NOx control. Of the over 75 different CFB units using coal or coal
refuse as a primary fuel, none reported use of SCR.
Therefore, EPA did not consider SCR as being feasible for retrofit on CFBs.

F. CCM 7 SCR and SNCR Tool Inputs

General Note: Underlined text or abbreviations indicate to input/output labels or abbreviations
used in the CCM 7 Tools. Underline & italic indicate data column headers from the AMPD
output spreadsheets.

The CCM (SCR and SNCR) Tools provide a cost-estimating methodology provide a tool to
estimate “study-level” costs for SCR and SNCR installations.11 For utility/EGU boilers, the
methodology is applicable to units serving generators of load capacities greater than or equal to
(≥) 25 MW.12 The capital costs estimated by the equations in the CCM 7 SNCR and CCM 7

9
  44 Pennsylvania Bulletin, Page 2392, April 19, 2014.
10
   The CSV indicates a comma separated variable text format.
11
   See sections 1.4 of Chapter 1 to Section 4 “NOx Controls” of the EPA AIR POLLUTION CONTROL COST
MANUAL and 2.4 of Chapter 2 to Section 4 “NOx Controls” of the EPA AIR POLLUTION CONTROL COST
MANUAL.
12
   Ibid.

                                                  6
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SCR chapters represent average retrofit costs; costs for new construction are typically 10-30%
less than for average retrofits for units of the same size and design. The TCI equations include a
retrofit factor (RF). For SCR installations, a retrofit factor of 0.8 should be used for new
construction and a retrofit factor of 1 should be used for average retrofits.13 (The CCM7 SCR
Tool has a required input “Is the SCR for a new boiler or retrofit of an existing boiler?”.
Selecting “New Construction” sets the RF to 0.8 internally; for retrofits, the user-input RF is
used where the user selects “Retrofit” in cell D7 of the spreadsheet tab “Data Inputs.” {Examine
Cell D24 on Spreadsheet tab “SCR Design Parameters which sets the RF to 0.8 if “New
Construction” is selected and the user-input RF otherwise}.)

Likewise, for SNCR installations, the increased cost due to retrofit is minimal; approximately
10–30% of the cost of SNCR applied to a new boiler.14 (The CCM7 SNCR Tool also has a
required input “Is the SNCR for a new boiler or retrofit of an existing boiler?”. Selecting “New
Construction” sets the RF to 0.84 internally (Examine Cell D24 on Spreadsheet tab “SCR Design
Parameters which sets the RF to 0.84 if “New Construction” is selected; the user-input RF is
used otherwise}; selecting “retrofit” allows the user to input a RF.)

The total project cost or total capital investment (TCI) for SCR and SNCR is based on the
approach used by EPA CAMD in the Integrated Planning Model (IPM) version 5.13 (IPM
v5.13).15 In the costing method for SCR from the IPM, the purchased equipment cost, the direct
installation cost, and the indirect installation cost are estimated together. This is a slight
deviation from the Cost Control Manual’s standard procedure.

For SNCR installations, the capital cost equations are provided for coal-fired units. Capital cost
equations are provided for fluidized bed (FB) (i.e., “CFBs”) boiler units and for other boiler
types (i.e., non-FB {i.e., “conventional”} boiler units such as cyclone, wall-fired, tangential-
fired, etc.). In general, SNCR units for FB boilers are less expensive than for other boiler
types.16

G. Key Data Inputs

The following table indicates some of the key inputs to the CCM7 SCR and CCM7 SNCR Tools.

                      Table I.G.-1 Key Data Inputs by Tab and Cell ID
 Spreadsheet        Cell in   Data Element [Abbreviation in    Comments, remarks and/or
 Tab                SCR       CCM7 SNCR Tool where             EPA assumptions used.
                    Tool [in different].
                    SNCR

13
   Section 2.4 of Chapter 2 to Section 4 “NOx Controls” of the EPA AIR POLLUTION CONTROL COST
MANUAL.
14
   Section 1.4 of Chapter 1 to Section 4 “NOx Controls” of the EPA AIR POLLUTION CONTROL COST
MANUAL.
15
   See sections 1.4.1 of Chapter 1 to Section 4 “NOx Controls” of the EPA AIR POLLUTION CONTROL COST
MANUAL and 2.4.1 of Chapter 2 to Section 4 “NOx Controls” of the EPA AIR POLLUTION CONTROL COST
MANUAL.
16
   Section 1.4 of Chapter 1 to Section 4 “NOx Controls” of the EPA AIR POLLUTION CONTROL COST
MANUAL.

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                   Tool
                   where
                   different]
 For EGU/utility boilers and industrial boilers (where the same)
 Data Inputs       B4          Is the combustion unit a utility or                   Choice of “Utility” or
                               industrial boiler?                                    “Industrial.”
 Data Inputs       B5          Is the SCR [SNCR] for a new                           Choice of “New
                               boiler or retrofit of an existing                     Construction” or
                               boiler?                                               “Retrofit.” Always chose
                                                                                     Retrofit.
 Data Inputs            D7            Please enter a retrofit factor                 Allows input only if
                                      between 0.8 and 1.5 based on the               “Retrofit” previously
                                      level of difficulty. Enter 1 for               chosen. Assumed 1.0.
                                      projects of average retrofit
                                      difficulty.
 Data Inputs            C10           What is the MW rating at full load  Rated capacity. Must be >
                                      capacity (Bmw17)?                   25. Estimated – see
                                                                          Section I.K1. below
 Data Inputs            C12           What is the higher heating value    Varying this input does not
                                      (HHV) of the fuel?                  seem to affect the costing
                                                                          for utility boilers.
                                                                          Assumed 11,814 BTU/lb.
 Data Inputs            C14           What is the estimated actual annual Estimated or actual if
                                      MW output? (Boutput)                known. For EGUs
                                                                          entered Gross Load.
 Data Inputs            C17           Enter the net plant heat input rate In mmBTU/MW. Enter
                                      (NPHR)                              Heat Rate where known;
                                                                          otherwise estimated (see
                                                                          Section I.L. below.
 Data Inputs            C31           Number of days the SCR operates EPA assumed 350 days for
                                      (tSCR) [Number of days the SNCR     both SCR and 365 days for
                                      operates (tSNCR)]                   SNCR.18
 Data Inputs            C32           Number of days the boiler operates This is not present in the
                                      (tplant)                            CCM7 SNCR Tool. EPA
                                                                          assumed 350 days for
                                                                          SCR.19
 Data Inputs            C33           Inlet NOx Emissions (NOxin) to      In lbs NOx/mmBTU.
                        [C32]         SCR [to SNCR]                       Used NOx Rate.
17
   Throughout this document underlined terms will identify variable names in the CCM7 SCR and SNCR Tools.
18
   The days per year for the SCR and boiler (tscr and tplant, entered in Cells C31 and C32 on the “Design
Parameters” Tab of the CCM7 SCR Tool, respectively) is used for a limited purpose of “Total System Capacity
Factor (CFtotal)” (Cell 10 on the “SCR Design Parameters” Tab). CFtotal is equal to (Boutput/Bmw) *(tscr/tplant).
As long as tscr = tplant, the ratio tscr/tplant is equal to 1.000 and does not affect the overall results because is used
to compute “Total operating time for the SCR” (top) (Cell C11 on the “SCR Design Parameters” Tab). When
tscr/tplant is equal to 1.000, top is just equal to Boutput/Bmw from Cells C8 and C9, respectively, on the “SCR
Design Parameters” Tab.
19
   See previous footnote.

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 Data Inputs       C34          NOx Removal Efficiency (EF)             Percent. NB: this cell is
                   [C33]        provided by vendor                      not formatted as a
                                                                        percentage but rather the
                                                                        input is entered as the
                                                                        decimal fraction times
                                                                        100. That is, 75.3% is
                                                                        entered as 75.3. See
                                                                        Section I.K.4. below.
 Data Inputs       I10          What type of fuel does the unit         “Coal” was selected.
                                burn?
 Data Inputs       J10          Type of coal burned:                    “Bituminous” was
                                                                        selected.
 Data Inputs       C47          Select the reagent used                 “Urea” or “Ammonia.”
                   [C42]                                                Used Ammonia.
 Data Inputs       C24          Plant Elevation                         Feet above sea level. Does
                   [I31]                                                not have any effect for
                                                                        elevations below 500 feet.
                                                                        Used 500’ for SCR Tool
                                                                        and 250’ for SNCR Tool.
 Data Inputs       None         Is the boiler a fluid-bed boiler?       Choice of “Yes” or “No”.
                   [C6]                                                 Chose NO for
                                                                        conventional boilers and
                                                                        Yes for any Boiler Type
                                                                        Info of “Circulating
                                                                        fluidized bed boiler.”
                    I12        Enter the sulfur content (%S) =          Assumed default 2.35%.
 Data Inputs        C39        Estimated SCR equipment life             Used 20 years for SNCR
                    [C40]                                               and 20 years for SCR.
 Data Inputs        C54        Annual Interest Rate (i)                 Percent. Enter 7% as “7.”
                    [C49]                                               Used 7%.
 For Industrial Boilers where different from above:
 Data Inputs        C10        What is the maximum heat input           MMBtu/hour. Used
                               rate (QB)?                               Capacity Input.
 Data Inputs        C12        What is the higher heating value         Assumed default 11,814
                               (HHV) of the fuel?                       BTU/lb.
 Data Inputs        C14        What is the estimated actual annual      This is computed by
                               fuel consumption? Actual Annual          Mactual = Heat Input (in
                               fuel consumption (Mactual) in            mmBTU/ year [yr]) * 10^6
                               lbs/year.                                BTU/mmBTU / (11,814
                                                                        BTU/pound [lb])

H. Basis for Input Selections

1. Retrofit factor of 1.0:
For Cells B5 “Is the SCR [SNCR] for a new boiler or retrofit of an existing boiler?” and D7
“Please enter a retrofit factor between 0.8 and 1.5 based on the level of difficulty” on the

                                                  9
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Spreadsheet Tab Data Inputs, EPA always chose “Retrofit” because the analysis is concerned
with existing boilers and chose a retrofit factor (RF) of 1.0 for an average difficulty. The initial
analysis does not concern unique factors specific to a particular site because the initial analysis
concerns the question of whether the presumptive emissions limits are RACT generally; EPA’s
policy on RACT will allow source or emissions unit specific determinations of RACT to account
for the unique technological or economic circumstances of a particular source of emissions unit.
Such a unit specific analysis could use a retrofit factor greater than 1.0 based upon for example
site-specific vendor quotes.

2. Estimated SCR equipment Life:
In response to comment that the 30-year book life assumed for retrofits in IPM version v.4.10 is
too long, EPA gave a rationale that a 30-year book life for SCR retrofits is consistent with life
extension provisions which allow existing units to stay in operation throughout the 2012-2050
modeling horizon, rather than forcing them retire upon reaching a pre-specified expected
lifespan. Refer to Section 7, Documentation Supplement for EPA Base Case v.4.10_FTransport
– Updates for Final Transport Rule, May 2011 [EPA-HQ-OAR-2009-0491-4291].

However, in more recent IPM runs, EPA used 15 years for both book life and debt life in the
IPM modeling for IPM Base Case v.5.13. Refer to Table 8-4 “Book Life, Debt Life and
Depreciation Schedules for EPA Base Case v. 5.13” in Chapter 8: “Financial Assumptions” of
“Power Sector Modeling Platform v.5.13,” November 27, 2013. 20 For this initial analysis 20
years was used as a compromise.

3. Estimated SNCR equipment Life:
A life of 20 years was used.21

4. Urea or Ammonia Reagent
The reagent selected was ammonia for SCR.22 For SNCR ammonia was also selected.23

5. Plant Elevation




20
   Refer to https://www.epa.gov/airmarkets/power-sector-modeling-platform-v513. Documentation for EPA Base
Case v.5.13 Using the Integrated Planning Model,” EPA # 450R13002, November 2013, available on-line as
documentation_for_epa_base_case_v.5.13_using_the_integrated_planning_model.pdf at
https://www.epa.gov/sites/production/files/2015-
07/documents/documentation_for_epa_base_case_v.5.13_using_the_integrated_planning_model.pdf. NB: Only the
cover page through page xii and all of Chapter 8 have been placed in paper format in this docket. The full document
is in the docket in electronic format (on a compact disk in the docket held at the EPA Regional Office and on-line at
http://www.regulations.gov).
21
   “Thus, an equipment lifetime of 20 years is assumed for the SNCR system in this analysis.” Section 1.4.2 under
“Indirect Annual Costs” of Chapter 1 to the CCM7.
22
   Refer to section 2.1 of Chapter 2 to the CCM7: “Results of a survey of electric utilities that operate SCR systems
indicated that about 80 percent use ammonia (anhydrous and aqueous), and the remainder use urea.”
23
   Refer to Table 1.2 on page 1-4 Chapter 1 to the CCM7: No data is given for SNCR systems using urea installed on
CFBs; higher NOx reduction potentials are given for coal fired (conventional) boilers.

                                                         10
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EPA used 250’ feet in the CCM7 SNCR Tool and 500’ in the CCM7 SCR Tool. The range of
elevations in Pennsylvania range from tidal regions on the Delaware River at “sea level” to
Mount David at 3,213 feet.24,25

6. Annual Interest Rate

EPA assumed that the estimated control costs are annualized using a 7 percent discount rate
which is the discount (interest) rate was used in accordance with OMB guidance in Circular A-
94. See docket item EPA-HQ-OAR-2015-0500-0083 “Technical Support Document (TSD) for
the Cross-State Air Pollution Rule for the 2008 Ozone NAAQS, Assessment of Non-EGU NOx
Emission Controls, Cost of Controls, and Time for Compliance,” U.S. Environmental Protection
Agency, Office of Air and Radiation, November 2015 in Docket ID No. EPA-HQ-OAR-2015-
0500.26

7. Operating Days per Year
In the CCM7 SCR Tool, on the Data Input Tab, there are the following two inputs in Cells C31
and C32, respectively:

         Number of days the SCR operates (tSCR)                Cell C31
         Number of days the boiler operates (tplant)           Cell C32

For RACT the SCR is assumed to be operated year-round and so the same value is inputted into
Cells C31 and C32. The ratio of Cell C31 to Cell C32 is used to compute the “Total System
Capacity Factor (CFtotal)” in Cell C10 of the SCR Design Parameters Tab. This ratio reflects
the assumed percentage of the total operating time that the SCR operates and affects the cost
effectiveness in several ways. First, the tons per year reduction is dependent upon this ratio. The
lower this ratio is the fewer tons of NOx reduction are projected. Because the annualized capital
costs are fixed (once the total installed cost is set and a life in years and discount rate are
selected), as the tons/year reduction decreases the cost effectiveness value increases. However,
the lesser percentage of the year the SCR is operated the lower the annual reagent cost (a
variable operating cost) per year are; less annual operation requires less reagent lowering the
reagent costs and lowering the cost effectiveness. Because for RACT the control must be
operated year-round the ratio must be 1.0. A value of 350 days per year was used for both.

For SNCR, a value of 365 days was used as the input for “Number of days the SNCR operates
(tSNCR)” in Cell C31 of the Data Inputs Tab of the CCM7 SNCR Tool. This value is used to
compute the “Total System Capacity Factor (CFtotal)” in Cell C10 of the SNCR Design
Parameters tab. Unlike the CCM7 SCR Tool computation of “Total System Capacity Factor
(CFtotal)” tSNCR is divided by 365 in Cell C10 of the SNCR Design Parameters tab for the
computation of “Total System Capacity Factor (CFtotal).” Like the CCM7 SCR Tool, the “Total
System Capacity Factor (CFtotal)” greatly affects the projection annual tons/year NOx reduction.
Using any value in Cell C31 less than 365 will result in lower projected NOx reductions (because

24
   Refer to https://tidesandcurrents.noaa.gov/benchmarks.html?id=8540433 (last accessed August 23, 2017).
25
   Refer to https://egsc.usgs.gov/isb//pubs/booklets/elvadist/elvadist.html (last accessed August 23, 2017).
26
   The full document is in the docket in electronic format (on a compact disk in the docket held at the EPA Regional
Office and on-line at http://www.regulations.gov).

                                                         11
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the tool will assume the SNCR is not operated every hour the boiler operates) and higher cost
effectiveness values. To reflect year-round operation, a value of 365 was used in Cell C31.

8. SCR Catalyst Replacement Cost:
There are two methods to calculate the catalyst replacement cost identified as Method 1 and
Method 2. Method 1 was used for industrial boilers. Method 2 was used for utility boilers.



J. Relationships between AMPD and the CCM 7 Tool Inputs:27

 Table I.J.—1 Crosswalk between AMPD and the CCM 7 Tool Inputs
 AMPD                                       CCM7 Tool
 Data              Description              CMM7 Variable            Spreadsheet tab &
          28
 Element /Column                            name/abbreviation        Cell ID.
 Heading
 Year              Year in which data was Not applicable
                   collected
 Month             Month in which data      Not applicable
                   was collected
 Facility Name     Name of the facility, as Not applicable
                   reported by
                   representative on
                   Certification of
                   Representation forms
                   or equivalent
 ORISPL Code       EIA-assigned identifier Not applicable
                   or FACILITY ID
                   assigned by CAMD (if
                   EIA number is not
                   applicable)
 Unit ID           Public identifier used   Not applicable
                   for unit for program
                   identification purposes
 Associated Stacks Stacks associated with Not applicable
                   the unit
 Primary Fuel Info Primary fuel type        Would be relevant for    See Spreadsheet Tab
                   information for the      selecting fuel type.     Data Inputs, Cell F4:
                   year                     [Only coal fired units   What type of fuel
                                            subject to this analysis does the unit burn?
                                            considered only]




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     At this outline level (I.I.) no “I.” is used to avoid confusion with a Roman numeral 1.
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     Throughout this document italic and underlined terms will identify data elements from EPA’s CAMD AMPD.

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Secondary Fuel    Secondary fuel type      Not applicable
Info              information for the
                  year
Gross Load        Output measured in       Gross Load = Boutput        Spreadsheet tab Data
                  Megawatt-hrs                                         Inputs, Cell C10 What
                  But where AMPD does not have Gross Load the          is the estimated actual
                  following estimate can be used:                      annual MW output?
                  Boutput = Heat Input / Heat Rate                     (Boutput)

Capacity Input    The maximum hourly        QB = Bmw x NPHR            Spreadsheet tab SCR
                  heat input (mmBtu/hr)                                Design Parameters,
                  associated with a unit                               cell 6
                                                                       & Spreadsheet tab
                                                                       SCR Design
                                                                       Parameters, cell 6:
                                                                       Maximum Annual
                                                                       Heat Input Rate (QB)
Heat Rate         The calculation of the    NPHR
(mmBtu/MWh)       heat input divided by
                  the gross load.
                  Because Heat Rate corresponds to NPHR and            Spreadsheet tab Data
                  QB = Capacity Input, it follows that Bmw can be      inputs, Cell C10:
                  estimated by                                         What is the MW
                  Bmw = Capacity Input / Heat Rate                     rating at full load
                                                                       capacity (Bmw)?
NOx Mass (tons)   Mass of NOx (tons)        Not used in CCM
                  emitted by a unit         Tools.
NOx Mass (lbs)    Mass of NOx (lbs)         Ditto
                  emitted by a unit

Total Operation   Sum of hours of           Not input directly into    In the CCM7 Tools,
Time              operation for this time   the CCM7 Tools but         the total operation
                  interval                  estimated internally       time of the SCR [or
                                            from the Boutput           SNCR] Cell C11 on
                                            (Gross Load) and unit      the SCR Design
                                            Megawatt rating [or for    Parameters
                                            industrial boilers, from   Spreadsheet tab [C11
                                            the “What is the           on the SNCR Design
                                            maximum heat input         Parameters Sheet] is
                                            rate (QB),” “What is       determined by
                                            the estimated actual       multiplying a
                                            annual fuel                computed capacity
                                            consumption?” and          factor by 8,60 hours
                                            “What is the higher        per year. This result
                                            heating value (HHV)        is multiplied by the
                                            of the fuel?”]             NOx reduction per

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                                                                          hour to get total NOx
                                                                          reduced. **
** Refer to Cells C7 & C8 on the SCR[SNCR] Design Parameters Spreadsheet tab for
derivation of the “Total System Capacity Factor (CFtotal) in Cell C10; refer to Cells C11 to C14
for computation of the annual NOx reductions.
Heat Input           Amount of heat           Not input directly into
                     (mmBtu) produced by the CCM7 Tools. EPA
                     burning fuel for the     did use this to estimate
                     unit                     Boutput where no
                                              Gross Load data was
                                              available and for
                                              industrial boilers to
                                              estimate the annual
                                              pounds of fuel
                                              consumed from the
                                              “What is the higher
                                              heating value (HHV)
                                              of the fuel?” Cell C12
                                              on the Data Inputs
                                              Sheet.
Capacity Input       The maximum hourly       QB = Capacity Input         Spreadsheet tab Data
                     heat input (mmBtu/hr)                                Inputs Cell C10
                     associated with a unit                               Maximum Annual
                                                                          Heat Input Rate (QB)
                                                                          for industrial boilers;
                                                                          For utility boilers,
                                                                          Spreadsheet tab SCR
                                                                          [SNCR] Design
                                                                          Parameters, Cell 6 &
Not given                                     Mfuel = QB x 1.0^6 x SCR [SNCR]
                                              8760)/HHV                   Cell C7 Maximum
                                                                          Annual fuel
                                                                          consumption (Mfuel)
Not given                                     Mactual / HHV =             Spreadsheet tab Data
                                              annual actual heat          Inputs, Cell C14.
                                              input = Heat Input          What is the estimated
                                                                          actual annual fuel
                                                                          consumption? Actual
                                                                          Annual fuel
                                                                          consumption
                                                                          (Mactual)
Source Category      Source category of the Used to select “Utility” See Spreadsheet Tab
                     unit                     or “Industrial”             Data Inputs, Cell A4 –
                                              methodologies.              “Is the combustion
                                                                          unit a utility or
                                                                          industrial boiler?”

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 Boiler Type Info    Type of unit or boiler   Used only for the       SNCR only: See
                                              CCM7 SNCR Tool to       Spreadsheet Tab Data
                                              differentiate CFBs      Inputs, Cell C6 Is the
                                              from conventional       boiler a fluid-bed
                                              boilers.                boiler?
 Gross Load          Output measured in       Boutput relevant for    What is the estimated
                     Megawatt-hrs             only Utility units.     actual annual MW
                                                                      output? (Boutput)
 Capacity Input      The maximum hourly       Direct correlation to   Spreadsheet tab data
                     heat input (mmBtu/hr)    QB for industrial       Inputs, Cell C10.
                     associated with a unit   boilers.
 NOx Rate            Average NOx hourly       NOxin                   Inlet NOx Emissions
                     emissions rate                                   (NOxin) to SCR [to
                     (lbs/mmBtu) for a unit                           SNCR]
 Heat Rate           The calculation of the   NPHR relevant for       Enter the net plant
 (mmBtu/MWh)         heat input divided by    only Utility units.     heat input rate
                     the gross load.                                  (NPHR)




K. Use of the CCM7 SCR and CCM7 SNCR tools – Estimated Inputs:

Not all of the basic CCM7 tool inputs cannot be pulled directly AMPD data. But, the CCM7
tools often compute equivalents to AMPD, or, AMPD information can be used to estimate
CCM7 Tool inputs.

1. Megawatt Ratings:

EPA estimated MW ratings (MW rating at full load capacity (Bmw)) using the Heat Rate and the
reported Capacity Input as follows:

       Estimated MW rating = Capacity Input / Heat Rate

       This was done for conventional EGU boilers and for CFB EGU units for which a gross
load was available.

Where EPA did not have any Heat Rate (CCM7 tool input NPHR = net plant heat rate, in
MMBtu/MWh) data for conventional boilers, EPA used a default of 9.5 for conventional EGU
boilers. Both tools suggest using 10 mmBTU/MW as a default but EPA notes that this factor has
a minor effect on cost effectiveness and that most conventional PA units have a reported Heat
Rate less than 10. And 2011 AMPD data indicates most conventional boilers in Pennsylvania
did better than 10.0 mmBTU/MWh.

Gross Load - Boutput
If EPA did not have data for Gross Load and hence Boutput EPA estimated this as:

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       Boutput = Gross Load = Heat Input / Heat Rate

         This was not done for CFB Small Power Producers source category units for which no
Heat Rate data was available; that is, EPA did not assume some value. Neither the CCM7
chapters on SNCR and SCR provided any guidance on what assumed value is reasonable for
CFBs. Instead, lacking a value EPA evaluated these units by selecting the industrial boiler
option. The affected units are Units 1 and 2 at Panther Creek (ORISPL Code = 50776) and Unit
1 at St. Nicholas Cogeneration Project (ORISPL Code = 54634).

For three (Mt. Carmel Cogeneration, Ebensburg Power Company, and Northampton Generating
Plant) COGEN units for which EPA had both the Gross Load and Heat Rate EPA ran the CCM7
SNCR tool for both the “industrial” and “utility” options.

2. What is the higher heating value (HHV) of the fuel?

For HHV EPA assumed a default of 11,814 BTU/lb for bituminous coals.

3. What is the estimated actual annual fuel consumption?

This is needed for industrial boilers. See Spreadsheet Tab Data Inputs on either CCM7 Tool,
Cell C14. EPA estimated this using the AMPD Heat Input:

      What is the estimated actual annual fuel consumption = Heat Input (in mmBTU/yr) *
10^6 BTU/mmBTU / (11814 BTU/lb).

The Heat Input is in mmBTU (million BTU) and so must be adjusted by a factor of 1,000,000
BTU/mmBTU (that is 10^6 BTU/mmBTU).


4. NOx Removal Efficiency (EF):

a. Conventional Units:

For units other than the CFBs, EPA concluded that all the units in the AMPD were equipped
with at least some form of combustion modification (under NOx Control Info in the AMPD)
which in most cases was identified as “Low NOx Burner Technology” most with some form of
overfire air. (For two conventional units, “Combustion Modification/Fuel Reburning” was
specified.) Therefore, the next level of NOx control would be some form of “post-combustion”
control such as SCR or SNCR.

EPA was assessing whether or not the following emission limits applicable to coal fired boilers
over 250 mmBTU/hr were presumptively RACT:
       0.16 lbs NOx/mmBTU for circulating fluidized bed combustion units (CFBs);
       0.35 lbs NOx/mmBTU for tangentially fired combustion units; and



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       0.40 lbs NOx/mmBTU for “any other type of coal-fired combustion unit” (that is not
tangentially fired or a CFB). (Refer to section 129.97(g)(1)(vi) of PA’s RACT rule.)

In the case of SCR control, PA set a limit of 0.12 lbs NOx/mmBTU for a coal-fired combustion
unit already fitted with a selective catalytic reduction (SCR) system. As an initial matter, EPA
decided to evaluate if SCR (or SNCR) should be required on additional units not equipped with
SNCR or SCR. EPA is proposing to approve Pennsylvania’s Department of Environmental
Protection’s (PADEP’s) limit of 0.12 lbs NOx/mmBTU for a coal-fired combustion unit already
fitted with a SCR system. For the SCR case, EPA concludes that the PA rule needed to be
evaluated to determine if PA’s own SCR limit should have been required on any of those coal-
fired units over 250 mmBTU/hr heat input capacity currently equipped only with combustion
modifications.

For SNCR, EPA evaluated whether or not a 25% reduction from the reported NOx Rate would
have been cost effective. The CCM7 SNCR Tool has a utility which allows a user to input
“UNK” for NOx Removal Efficiency (EF) in Cell C33 on the Data Inputs Spreadsheet tab and
the tool will compute a reasonable value for EF in Cell C12 of the SNCR Design parameters
sheet.29 The formula used by the CCM7 SNCR tool to compute EF is:

       EF = 22.554* NOxin +16.725, where NOxin is the NOx Rate entered in Cell C33 of the
Data Inputs Sheet.

EPA did this for all NOx emissions rates of conventional units equipped with no SNCR or SCR
controls. The range of percentages ran from 22% to 27%. If the RACT II presumptive limits
from section 129.97(g) of 0.40 lbs NOx/mmBTU for other than tangentially fired and of 0.35 lbs
NOx/mmBTU for tangentially fired are input one gets 24.6 and 25.7% respectively. These
results are found on Tab SNCR UNK Reductions of Attachment AA to this document. Because
this is a “study-level” evaluation, 25 percent was used for all boilers.

b. CFBs:

As discussed in another section of this document, EPA concluded SCR is not likely feasible for
CFBs on the basis EPA did not find any coal- or coal-refuse fueled units reporting the use of
SCR to AMPD. As for CFBs using other than SNCR or “ammonia injection” EPA decided to
evaluate the cost-effectiveness addition of SNCR to such CFBs. As an initial matter, EPA
assumed a 25% reduction for the NOx Removal Efficiency (EF). EPA is aware that the CCM7
SCNR Tool allows entry of “UNK” for “NOx Removal Efficiency (EF)” in Cell C33 on the Data
Inputs Spreadsheet tab and the tool will compute a reasonable value for EF in Cell C12 of the
SNCR Design parameters sheet.

The formula used by the CCM7 SNCR tool to compute EF is:

       EF = 22.554* NOxin +16.725, where NOxin is the NOx Rate entered in Cell C33 of the
Data Inputs Sheet.


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     Examination of in Cell C12 for an input of “UNK” in Cell C33 yields the formula “22.554 x NOxinlet + 16.725.”

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       So the threshold value for NOxin that yields EF = 25% is given by:

       NOxin = (25 – 16.725)/22.554 = 0.367 lbs NOx/mmBTU.

EPA notes that all of the PA CFBs have a NOx Rate, that is, a NOxin of less than 0.200. EPA
compared the cost effectiveness results for 4 CFB units where EF was set at 25% versus an EF
computed by the tool with the input in Cell C33 of “UNK.” In all 4 cases, the cost effectiveness
with EF set at 25% was lower. EPA concludes that using a 25% value for EF will minimize the
resulting cost effectiveness in all cases. EPA evaluated four CFB units (those with the highest
two or lowest two emission rates) comparing the cost effectiveness assuming a 25% SNCR
reduction versus the CCM7 SNCR Tool provided value when “UNK” is entered in Cell C33 of
the Data Inputs sheet.
EPA concludes that if the resulting cost effectiveness for an EF of 25% is higher than RACT
then the cost effectiveness for a more feasible EF will also be greater than RACT. These results
are presented on the CFB 25pct Tab of Attachment AA.


c. Final Inputs for NOx Removal Efficiency (EF):

Therefore, EPA used the following inputs:

EPA used 25% for the CCM7 SNCR Tool for all units.

For the CCM7 SCR Tool, EPA used the percent reduction required to reduce the NOx Rate to
0.12 lbs NOx/mmBTU. EPA entered the NOx Removal Efficiency (EF) as computed using:

       EF = [(NOx Rate – 0.12) / NOx Rate] * 100


L. Use of the CCM7 SCR and CCM7 SNCR tools – Special Inputs or Procedures

Sunbury (ORISPL CODE 3152) Unit 2B:
This unit had exceptionally low 2011 utilization and no evaluation was performed. Based upon
the capacity heat input rating and boiler type, the cost effectiveness results for the other Sunbury
Units should be representative for this unit.

Net Plant Heat rate:
In some cases, a net plant heat rate was assumed or computed lacking reported data.

CFBs:
For CFBs at the Panther Creek (ORISPL Code = 50776) and at St. Nicholas Cogeneration
Project (ORISPL Code = 54634) facilities, no gross load was available just the annual heat input.
The cost effectiveness values for this facility were evaluated using the “Industrial” boilers
methodology.



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Several cogeneration units were evaluated using both the “Industrial” and “Utility” boiler
methods. These were the three CFB units at Mt. Carmel Cogeneration, Ebensburg Power
Company, and Northampton Generating Plantfor which EPA had both the Gross Load and Heat
Rate EPA ran the CCM7 SNCR tool for both the “industrial” and “utility” options.




II. Part II. Inputs and Outputs:

Attachment AA contains the inputs and outputs. The column headings and information summary
is also found on the Tab labeled “Column Headers” in Attachment AA.
A. Color Coding of and cells:
1. Column headers colored light gray indicate original APMD output.
       Plain black text and bold black text are as received from AMPD.
       Red text in the column header cell indicates CCM7 SCR/SNCR Tool inputs.
       Red text in a cell indicate an assumed or estimated CCM7 SCR/SNCR Tool inputs.
2. Column headers and/or cells colored light green are columns added by EPA with
informational data added.
3. Column headers and/or cells colored light blue are cells added by EPA with a formula to
compute some value.
       Red text in the column header indicate CCM7 SCR/SNCR Tool inputs.
4. Column headers and/or cells colored light blue are also cells/columns added by EPA with
corresponding CCM7 Tool output. The text in these output cells are blue, bold.
B. Tabs:
Annual Tab
The Tab “Annual” contains the original AMPD information as received.
Sorted 2011 Tab
The “Sorted 2011” Tab is the 2011 inventory parsed by source category, unit type and controls.
The “Sort =Key” column contains coding added by EPA to the APMD to allow sorting.
SCR Tab
The “SCR” Tab contains the CCM7 SNCR Tool inputs and the results of the SCR analysis for
conventional, utility boilers. The column “Evaluated as” identifies if a unit was evaluated as an
“EGU/utility” or as an “Industrial boiler.” The output columns of


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 Total
 Annual          NOx          Cost
 Cost (TAC) Removed Effectiveness
 =               =            =
 contain the results from Cells C102 to C104 of the Cost Estimate tab of the CCM7 SCR Tool
(Cells C84 to C86 in the CCM7 SNCR Tool).
EGU SNCR Tab
This contains the CCM7 SNCR Tool inputs and outputs in the utility boiler source category
(other than CFBs).
IDL CONV SCR Tab
This contains the CCM7 SCR Tool inputs and outputs in the industrial boiler source category.
IDL CONV SNCR Tab
This contains the CCM7 SNCR Tool inputs and outputs in the industrial boiler source category
other than CFBs.
CFB SNCR Tab
This contains the CCM7 SNCR Tool inputs and outputs for all CFBs in the industrial and utility
source categories.
CFB 25pct Tab
This contains just the outputs for the four CFBs varying the ER between 25% and the CCM7
SNCR Tool computed value for the four CFB units having either the highest two or lowest two
NOx emission rates. The inputs except for ER are the same as on the CFB SNCR Tab.


III. Part III RESULTS OF INITIAL COST ANALYSIS


A. Cost Effectiveness Results -- Conventional Boilers - SCR Control

 Table II.A Cost effectiveness for Conventional Boilers - SCR Control
 Facility        ORISPL     Unit   Source     Boiler Type   Capacity   Sort Key   Cost             Evaluated as
 Name            Code       ID     Category   Info          Input *               Effectiveness
 Sunbury         3152       1A     Electric   Arch-fired         713   EGU-            $22,962     Utility
                                   Utility    boiler                   CONV
 Sunbury         3152       1B     Electric   Arch-fired         713   EGU-            $25,238     Utility
                                   Utility    boiler                   CONV
 Sunbury         3152       2A     Electric   Arch-fired         713   EGU-            $18,394     Utility
                                   Utility    boiler                   CONV
 Sunbury         3152       2B     Electric   Arch-fired         713   EGU-
                                                                                  Not evaluated
                                   Utility    boiler                   CONV



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Titus            3115      1       Electric     Tangentially-      900   EGU-        $20,653    Utility
                                   Utility      fired                    CONV
Titus            3115      2       Electric     Tangentially-      900   EGU-        $23,385    Utility
                                   Utility      fired                    CONV
Titus            3115      3       Electric     Tangentially-      900   EGU-        $20,078    Utility
                                   Utility      fired                    CONV
Sunbury          3152      3       Electric     Dry bottom        1419   EGU-        $20,405    Utility
                                   Utility      wall-fired               CONV
                                                boiler
Sunbury          3152      4       Electric     Dry bottom        1524   EGU-        $17,253    Utility
                                   Utility      wall-fired               CONV
                                                boiler
Portland         3113      1       Electric     Tangentially-     1600   EGU-        $21,946    Utility
                                   Utility      fired                    CONV
Armstrong        3178      1       Electric     Dry bottom        2342   EGU-         $9,054    Utility
Power                              Utility      wall-fired               CONV
Station                                         boiler
Armstrong        3178      2       Electric     Dry bottom        2342   EGU-         $8,208    Utility
Power                              Utility      wall-fired               CONV
Station                                         boiler
Portland         3113      2       Electric     Tangentially-     2500   EGU-         $8,443    Utility
                                   Utility      fired                    CONV
Brunner          3140      1       Electric     Tangentially-     2914   EGU-         $5,139    Utility
Island, LLC                        Utility      fired                    CONV

Mitchell         3181      33      Electric     Tangentially-     3335   EGU-        $13,662    Utility
Power                              Utility      fired                    CONV
Station
Brunner          3140      2       Electric     Tangentially-     3507   EGU-         $4,850    Utility
Island, LLC                        Utility      fired                    CONV

Hatfield's       3179      2       Electric     Cell burner     5826.5   EGU-         $4,036    Utility
Ferry Power                        Utility      boiler                   CONV
Station
Hatfield's       3179      1       Electric     Cell burner       5911   EGU-         $3,651    Utility
Ferry Power                        Utility      boiler                   CONV
Station
Brunner          3140      3       Electric     Tangentially-     7430   EGU-         $4,669    Utility
Island, LLC                        Utility      fired                    CONV

Conemaugh        3118      2       Electric     Tangentially-     8985   EGU-         $5,510    Utility
                                   Utility      fired                    CONV
Conemaugh        3118      1       Electric     Tangentially-     9100   EGU-         $5,667    Utility
                                   Utility      fired                    CONV
G F Weaton       50130     34      Industrial   Tangentially-      600   Indl/P&P-   $11,763    Industrial
                                   Boiler       fired                    Conv
G F Weaton       50130     35      Industrial   Tangentially-      600   Indl/P&P-   $13,041    Industrial
                                   Boiler       fired                    Conv
P H Glatfelter   50397     034     Pulp &       Dry bottom         490   Indl/P&P-    $5,215    Industrial
Company                            Paper Mill   wall-fired               Conv
                                                boiler
P H Glatfelter   50397     035     Pulp &       Dry bottom         390   Indl/P&P-    $5,682    Industrial
Company                            Paper Mill   wall-fired               Conv
                                                boiler


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 Domtar Paper    54638      040     Pulp &        Dry bottom             306     Indl/P&P-          $17,975    Industrial
 Company,                           Paper Mill    wall-fired                     Conv
 LLC                                              boiler
 Domtar Paper    54638      041     Pulp &        Dry bottom             306     Indl/P&P-          $18,818    Industrial
 Company,                           Paper Mill    wall-fired                     Conv
 LLC                                              boiler
                                                     * in (mmBtu/hr)


B. Cost Effectiveness Results -- Conventional Boilers - SNCR Control

 Table II.B Cost effectiveness for Conventional Boilers - SNCR Control
 Facility       ORISPL   Unit      Source        Boiler Type     Capacity                    Cost              Evaluated
 Name           Code     ID        Category      Info            Input *       Sort Key      Effectiveness     as
                                   Electric      Arch-fired                    EGU-
 Sunbury          3152   1A                                             713                        $15,316     Utility
                                   Utility       boiler                        CONV
                                   Electric      Arch-fired                    EGU-
 Sunbury          3152   1B                                             713                        $16,783     Utility
                                   Utility       boiler                        CONV
                                   Electric      Arch-fired                    EGU-
 Sunbury          3152   2A                                             713                        $13,209     Utility
                                   Utility       boiler                        CONV
                                   Electric      Arch-fired                    EGU-
 Sunbury          3152   2B                                             713                  Not evaluated
                                   Utility       boiler                        CONV
                                   Electric      Tangentially-                 EGU-
 Titus            3115        1                                         900                        $15,506     Utility
                                   Utility       fired                         CONV
                                   Electric      Tangentially-                 EGU-
 Titus            3115        2                                         900                        $17,594     Utility
                                   Utility       fired                         CONV
                                   Electric      Tangentially-                 EGU-
 Titus            3115        3                                         900                        $15,038     Utility
                                   Utility       fired                         CONV
                                                 Dry bottom
                                   Electric                                    EGU-
 Sunbury          3152        3                  wall-fired            1419                        $11,986     Utility
                                   Utility                                     CONV
                                                 boiler
                                                 Dry bottom
                                   Electric                                    EGU-
 Sunbury          3152        4                  wall-fired            1524                         $9,712     Utility
                                   Utility                                     CONV
                                                 boiler
                                   Electric      Tangentially-                 EGU-
 Portland         3113        1                                        1600                        $11,570     Utility
                                   Utility       fired                         CONV
 Armstrong                                       Dry bottom
                                   Electric                                    EGU-
 Power            3178        1                  wall-fired            2342                         $5,414     Utility
                                   Utility                                     CONV
 Station                                         boiler
 Armstrong                                       Dry bottom
                                   Electric                                    EGU-
 Power            3178        2                  wall-fired            2342                         $5,008     Utility
                                   Utility                                     CONV
 Station                                         boiler
                                   Electric      Tangentially-                 EGU-
 Portland         3113        2                                        2500                         $5,255     Utility
                                   Utility       fired                         CONV
 Brunner                           Electric      Tangentially-                 EGU-
                  3140        1                                        2914                         $3,123     Utility
 Island, LLC                       Utility       fired                         CONV




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 Mitchell
                                 Electric     Tangentially-                  EGU-
 Power            3181      33                                       3335                     $7,122     Utility
                                 Utility      fired                          CONV
 Station
 Brunner                         Electric     Tangentially-                  EGU-
                  3140      2                                        3507                     $2,853     Utility
 Island, LLC                     Utility      fired                          CONV
 Hatfield's
 Ferry                           Electric     Cell burner                    EGU-
                  3179      2                                   5826.5                        $2,388     Utility
 Power                           Utility      boiler                         CONV
 Station
 Hatfield's
 Ferry                           Electric     Cell burner                    EGU-
                  3179      1                                        5911                     $2,217     Utility
 Power                           Utility      boiler                         CONV
 Station
 Brunner                         Electric     Tangentially-                  EGU-
                  3140      3                                        7430                     $2,478     Utility
 Island, LLC                     Utility      fired                          CONV
                                 Electric     Tangentially-                  EGU-
 Conemaugh        3118      2                                        8985                     $2,630     Utility
                                 Utility      fired                          CONV
                                 Electric     Tangentially-                  EGU-
 Conemaugh        3118      1                                        9100                     $2,762     Utility
                                 Utility      fired                          CONV
 GF                              Industrial   Tangentially-                  Indl/P&P-
                  50130     34                                        600                     $8,027     Industrial
 Weaton                          Boiler       fired                          Conv
 GF                              Industrial   Tangentially-                  Indl/P&P-
                  50130     35                                        600                     $8,395     Industrial
 Weaton                          Boiler       fired                          Conv
 PH                              Pulp &       Dry bottom
                                                                             Indl/P&P-
 Glatfelter       50397     34   Paper        wall-fired              490                     $4,589     Industrial
                                                                             Conv
 Company                         Mill         boiler
 PH                              Pulp &       Dry bottom
                                                                             Indl/P&P-
 Glatfelter       50397     35   Paper        wall-fired              390                     $5,164     Industrial
                                                                             Conv
 Company                         Mill         boiler
 Domtar
                                 Pulp &       Dry bottom
 Paper                                                                       Indl/P&P-
                  54638     40   Paper        wall-fired              306                    $15,000     Industrial
 Company,                                                                    Conv
                                 Mill         boiler
 LLC
 Domtar
                                 Pulp &       Dry bottom
 Paper                                                                       Indl/P&P-
                  54638     41   Paper        wall-fired              306                    $15,742     Industrial
 Company,                                                                    Conv
                                 Mill         boiler
 LLC



C. Cost Effectiveness Results – Non-conventional Boilers - SNCR Control


 Table II.C Cost effectiveness for Circulating Fluidized Bed Boilers - SNCR Control


                   ORISPL   Unit       Source          Boiler         Capacity    Sort   Cost
 Facility Name     Code     ID         Category        Type Info      Input       Key    Effectiveness    Evaluated as
 Colver Power      10143    AAB01      Electric        Circulating        1320    EGU-          $6,076
 Project                               Utility         fluidized                  CFB-                    Utility
                                                       bed boiler                 AI


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Ebensburg          10603   031      Cogeneration    Circulating     860   COG-      $9,544
Power                                               fluidized             CFB
                                                                                             Utility
CompanyNote A                                       bed boiler

Ebensburg          10603   031      Cogeneration    Circulating     860   COG-      $9,610   Industrial
Power                                               fluidized             CFB
CompanyNote A                                       bed boiler

Gilberton Power    10113   031      Cogeneration    Circulating     520   COG-     $19,067   Industrial
Company                                             fluidized             CFB
                                                    bed boiler

Gilberton Power    10113   032      Cogeneration    Circulating     520   COG-     $19,643   Industrial
Company                                             fluidized             CFB
                                                    bed boiler

Kimberly-Clark     50410   035      Cogeneration    Circulating     799   COG-     $12,648   Industrial
Tissue                                              fluidized             CFB
Company                                             bed boiler

Mt. Carmel         10343   SG-101   Cogeneration    Circulating     624   COG-      $7,898
CogenerationNote                                    fluidized             CFB                Utility
A
                                                    bed boiler
Mt. Carmel         10343   SG-101   Cogeneration    Circulating     624   COG-      $8,103   Industrial
CogenerationNote                                    fluidized             CFB
A
                                                    bed boiler
Northampton        50888   NGC01    Cogeneration    Circulating    1425   COG-      $9,187
Generating                                          fluidized             CFB-
                                                                                             Utility
PlantNote A                                         bed boiler            AI

Northampton        50888   NGC01    Cogeneration    Circulating    1425   COG-      $9,032   Industrial
Generating                                          fluidized             CFB-
PlantNote A                                         bed boiler            AI

Northeastern       50039   031      Electric        Circulating     750   EGU-     $19,732   Utility
Power                               Utility         fluidized             CFB
Company                                             bed boiler

Panther Creek      50776   1        Small Power     Circulating     600   EGU-      $8,468
Energy Facility                     Producer        fluidized             CFB-               Industrial
                                                    bed boiler            AI
Panther Creek      50776   2        Small Power     Circulating     600   EGU-      $9,018
Energy Facility                     Producer        fluidized             CFB-               Industrial
                                                    bed boiler            AI
St. Nicholas       54634   1        Small Power     Circulating    1300   EGU-     $14,002   Industrial
Cogeneration                        Producer        fluidized             CFB
Project                                             bed boiler

Wheelabrator -     50879   GEN1     Cogeneration    Circulating     678   COG-      $6,579   Industrial
Frackville                                          fluidized             CFB
                                                    bed boiler




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 WPS Westwood       50611       031        Electric        Circulating        615    EGU-          $13,557    Industrial
 Generation,                               Utility         fluidized                 CFB
 LLC                                                       bed boiler



 * in (mmBtu/hr)
 Note A: Unit evaluated as both an “Industrial” and “Utility” methods. Refer to Section I. L. Use of the CCM7 SCR and
 CCM7 SNCR tools – Special Inputs or Procedures under the heading “CFBs:” above.


D. Special Note Regarding Conemaugh

EPA notes that the results for Units 1 and 2 at the Conemaugh facility (ORISPL CODE 3118)
are moot because this facility now has SCR on both units. The facility reported the use of SCR
as a NOx control for both 2015 and 2016.


IV. Evaluation of More Recent Operating Data
EPA compared facilities reporting emissions to EPA’s AMPD for 2015 and 2016 to those
reporting emissions for 2011 and found that quite a number of facilities had not reported
emissions for both 2015 and 2016. EPA extracted 2016 data from Tab “Annual” of Attachment
AA. On the Tab “Sorted 2016” of Attachment AA, EPA parsed the 2016 inventory data by
source category, unit type and controls. (The “Sort =Key” column contains coding added by
EPA to the APMD to allow sorting.) EPA compared the units reporting during 2016 to those
reporting during 2011 (Tab “2011” of Attachment AA).
EPA found that many units operating in 2011 did not report any 2016 operating data to EPA’s
AMPD. EPA likewise examined the 2015 AMPD (available on the Tab “Annual” of Attachment
AA but did not prepare a special Tab.
EPA cross checked this information with the U. S. Energy Information Agency (EIA) Form 860
data for 2015 and 2016 (early release, un-validated data) and the PJM ISO information on
deactivations.30,31 From the files 3_1_Generator_Y2015.xlsx and
3_1_Generator_Y2016_Early_Release.xlsx EPA extracted only Pennsylvania data from the Tabs
“Retired and Canceled.” (EPA notes that the AMPD and EIA data share a common facility
identifier: The AMPD “ORISPL Code” is the same as the data in the column labeled “Utility ID”
in the EIA data.) Only those units identified under the “Technology” heading as “Conventional

30
   EIA Data accessed from https://www.eia.gov/electricity/data/eia860/ 2015 and 2016 Data, downloaded June 9,
2017 and August 24, 2017, respectively. The full data set is in “ZIP” file format of Excel® file format and has been
placed in the docket for this action. Due to the size of the “ZIP” files (over 15 MB for each of the 2015 and 2016)
and their relative availability on-line the full ZIP download has not been posted electronically on-line at
http://www.regulations.gov. For the same reason (over 7 MB each) the full files 3_1_Generator_Y2015.xlsx and
3_1_Generator_Y2016_Early_Release.xlsx have not been posted electronically at Regulations.gov. Only the
extracted Pennsylvania data is posted and on-line at http://www.regulations.gov. However, these full documents are
in the docket held at the EPA Regional Office in electronic format on a compact disk)
31
   PJM data from PJM generator-deactivations,pdf downloaded September 20, 2016. Updates can be found on-line
at http://www.pjm.com/planning/generation-deactivation/gd-summaries.aspx.

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Steam Coal” have been extracted with one exception.32 EPA found Portland Unit 1 (Facility
Name = Portland; ORISPL Code = 3113; Unit ID = 1) listed as “Petroleum Liquids.”33
EPA notes that the EIA data contains data for units under 25 MW rating, and EPA has not listed
closures of units under 25 MW below.
From these sources EPA concludes that the following units have ceased operation:



                                                                                                                                                                               Reported Emissions to
                                             EPA AMPD                                                                            Retirement Data             PJM Actual               EPA?
                      ORISPL                                                                Capacity Input                 EIA 2015         EIA 2016         Deactivation       2011    2015    2016
Facility Name         Code     Unit ID   Source Category     Boiler Type Info               (mmBtu/hr)         Sort Key    Month/Yr         Month/Yr            Date           AMPD    AMPD    AMPD
AES Beaver Valley                                            Dry bottom wall-fired boiler
LLC                     10676 032        Cogeneration                                                  550 COG-Conv-SNCR                                                        YES     YES     NO
AES Beaver Valley                                            Dry bottom wall-fired boiler
LLC                     10676 033        Cogeneration                                                  550 COG-Conv-SNCR                                                        YES     NO      NO
AES Beaver Valley                                            Dry bottom wall-fired boiler
LLC                     10676 034        Cogeneration                                                  550 COG-Conv-SNCR                                                        YES     YES     NO
AES Beaver Valley                                            Dry bottom wall-fired boiler
LLC                     10676 035        Cogeneration                                                  285 COG-Conv-SNCR                                                        YES     NO      NO
Piney Creek Power                        Small Power         Circulating fluidized bed
Plant                   54144 031        Producer            boiler                                    450 EGU-CFB-SNCR    No Data          No Data        April 12, 2013       YES     NO      NO
Sunbury                  3152 1A         Electric Utility    Arch-fired boiler                         713 EGU-CONV        July 2014        July 2014      July 18, 2014        YES     NO      NO
Sunbury                  3152 1B         Electric Utility    Arch-fired boiler                         713 EGU-CONV        July 2014        July 2014      July 18, 2014        YES     NO      NO
Sunbury                  3152 2A         Electric Utility    Arch-fired boiler                         713 EGU-CONV        July 2014        July 2014      July 18, 2014        YES     NO      NO
Sunbury                  3152 2B         Electric Utility    Arch-fired boiler                         713 EGU-CONV        July 2014        July 2014      July 18, 2014        YES     NO      NO
Titus                    3115 1          Electric Utility    Tangentially-fired                        900 EGU-CONV        September 2013   September 2013 September 1, 2013    YES     NO      NO
Titus                    3115 2          Electric Utility    Tangentially-fired                        900 EGU-CONV        September 2013   September 2013 September 1, 2013    YES     NO      NO
Titus                    3115 3          Electric Utility    Tangentially-fired                        900 EGU-CONV        September 2013   September 2013 September 1, 2013    YES     NO      NO
Sunbury                  3152 3          Electric Utility    Dry bottom wall-fired boiler             1419 EGU-CONV        July 2014        July 2014                           YES     NO      NO
Sunbury                  3152 4          Electric Utility    Dry bottom wall-fired boiler             1524 EGU-CONV        July 2014        July 2014                           YES     NO      NO
Portland                 3113 1          Electric Utility    Tangentially-fired                       1600 EGU-CONV        June 2014                       June 1, 2014         YES     NO      NO
Armstrong Power                                              Dry bottom wall-fired boiler
Station                  3178 1          Electric Utility                                             2342 EGU-CONV        September 2012   September 2012 September 1, 2012    YES     NO      NO
Armstrong Power                                              Dry bottom wall-fired boiler
Station                  3178 2          Electric Utility                                             2342 EGU-CONV        September 2012   September 2012 September 1, 2012    YES     NO      NO
Portland Power
Mitchell                 3113 2          Electric Utility    Tangentially-fired                       2500 EGU-CONV        June 2013        June 2013      June 1, 2014         YES     NO      NO
Station                  3181 33         Electric Utility    Tangentially-fired                       3335 EGU-CONV        October 2013?    October 2013   October 9, 2013      YES     NO      NO
Hatfield's Ferry                                             Cell burner boiler
Power Station            3179 2          Electric Utility                                           5826.5 EGU-CONV        October 2013     October 2013   October 9, 2013      YES     NO      NO
Hatfield's Ferry                                             Cell burner boiler
Power Station            3179 1          Electric Utility                                             5911 EGU-CONV        October 2013     October 2013   October 9, 2013      YES     NO      NO
                                                             Dry bottom vertically-fired
Elrama                   3098 1          Electric Utility    boiler                                   1200 EGU-CONV-SNCR March 2014         March 2014     June 1, 2012         YES     NO      NO
                                                             Dry bottom vertically-fired
Elrama                   3098 2          Electric Utility    boiler                                   1254 EGU-CONV-SNCR March 2014         March 2014     June 1, 2012         YES     NO      NO
                                                             Dry bottom vertically-fired
Elrama                   3098 3          Electric Utility    boiler                                   1300 EGU-CONV-SNCR March 2014         March 2014     June 1, 2012         YES     NO      NO
Elrama                   3098 4          Electric Utility    Dry bottom wall-fired boiler             1965 EGU-CONV-SNCR March 2014         March 2014     October 1, 2012      YES     NO      NO
Cromby                   3159 1          Electric Utility    Dry bottom wall-fired boiler           2114.2 EGU-CONV-SNCR May 2011           May 2011       May 31, 2011         YES     NO      NO
Eddystone                                                    Tangentially-fired
Generating Station       3161 1          Electric Utility                                           3883.1 EGU-CONV-SNCR May 2011           May 2011       May 31, 2011         YES     NO      NO
Eddystone                                                    Tangentially-fired
Generating Station       3161 2          Electric Utility                                           3870.7 EGU-CONV-SNCR May 2012           May 2012       May 31, 2012         YES     NO      NO
Hatfield's Ferry                                             Cell burner boiler
Power Station            3179 3          Electric Utility                                           5674.8 EGU-CONV-SNCR October 2013       October 2013   October 9, 2013      YES     NO      NO
G F Weaton              50130 34         Industrial Boiler   Tangentially-fired                        600 Indl/P&P-Conv   No Data          No Data        No Data              YES     NO      NO
G F Weaton              50130 35         Industrial Boiler   Tangentially-fired                        600 Indl/P&P-Conv   No Data          No Data        No Data              YES     NO      NO



In addition, the two conventional, coal-fired boilers (Units 034 and 035) at the P. H. Glatfelter
paper mill (ORISPL CODE 50397) are slated to be replaced by natural gas fired boilers and
decommissioned by January 31, 2017.34



32
   EPA observes that CFB units are apparently classified as “Conventional Steam Coal” on Form 860.
33
   Nor was EPA able to find Piney Creek Power Plant (Facility Name = Portland; ORISPL Code = 54144; Unit ID =
031) in the EIA data, but did find a listing in the PJM data.
34
   NOx and VOC RACT Proposal for the Spring Grove Mill, page 1-2, submitted to PADEP on October 18, 2016.

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Selective Catalytic Reduction
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May 2016



[Note: As of November 2017, this chapter reflects the change in recommended interest rate in
order to conform to the updated (Seventh Edition) of the cost estimation chapter in the EPA Air
Pollution Control Cost Manual.]




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                   2. SELECTIVE CATALYTIC REDUCTION

2.1     Introduction
        Selective catalytic reduction (SCR) has been applied to stationary source fossil fuel–fired
combustion units for emission control since the early 1970s and is currently being used in Japan,
Europe, the United States, and other countries. In the U.S. alone, more than 1,000 SCR systems
have been installed on a wide variety of sources in many different industries, including utility
and industrial boilers, process heaters, gas turbines, internal combustion engines, chemical
plants, and steel mills [1]. Other sources include fluid catalytic cracking units (FCCUs), ethylene
cracker furnaces, nitric acid plants, catalyst manufacturing processes, nitrogen fixation processes,
and solid/liquid or gas waste incinerators [2, 3]. In the U.S., SCR has been installed on more than
300 coal-fired power plants ranging in size from <100 MWe to 1,400 MWe [1, 4]. Other
combustion sources with large numbers of SCR retrofits include more than 50 gas-fired utility
boilers ranging in size from 147 MWe to 750 MWe, more than 50 industrial boilers and process
heaters (both field-erected and packaged units), and more than 650 combined cycle gas turbines
[1]. SCR can be applied as a stand-alone NOx control or with other technologies, including
selective non-catalytic reduction (SNCR)1 and combustion controls such as low NOx burner
(LNB) and flue gas recirculation (FGR) [2].
        SCR is typically implemented on stationary source combustion units requiring a higher
level of NOx reduction than achievable by selective noncatalytic reduction (SNCR) or
combustion controls. Theoretically, SCR systems can be designed for NOx removal efficiencies
up close to 100 percent (%). In practice, commercial coal-, oil-, and natural gas–fired SCR
systems are often designed to meet control targets of over 90%. However, the reduction may be
less than 90% when SCR follows other NOx controls such as LNB or FGR that achieve
relatively low emissions on their own. The outlet concentration from SCR on a utility boiler
rarely is less than 0.04 lb/MMBtu [1].2 In comparison, SNCR units typically achieve
approximately 25 to 75% reduction efficiencies [5].
        Either ammonia or urea may be used as the NOx reduction reagent in SCR systems. Urea
is generally converted to ammonia before injection. Results of a survey of electric utilities that
operate SCR systems indicated that about 80 percent use ammonia (anhydrous and aqueous), and
the remainder use urea [4]. A survey of coal-fired power plants that control NOx emissions using
either SCR or SNCR found anhydrous ammonia use exceeds aqueous ammonia use by a ratio of
3 to 1. Nearly half of these survey respondents also indicated that price is their primary
consideration in the choice of reagent; safety is the primary consideration for about 25 percent of
the operators [6].
        SCR capital costs vary by the type of unit controlled, the fuel type, the inlet NOx level,
the outlet NOx design level, and reactor arrangement. Capital costs also rose between 2000 and
2010 (at least for utility boiler applications), even after scaling all data to 2011 dollars. For a

1 A hybrid SNCR/SCR system was demonstrated at the AES Greenidge Power Plant in 2006. However, no hybrid
  SNCR/SCR systems are currently known to be operating as of February 2016.
2 Data in the Clean Air Markets Division (CAMD) database also suggest SCR units rarely achieve emissions less
  than 0.04 lb/MMBtu.


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small number of early SCR retrofits on utility boilers prior to 2000, the average costs were about
$100/kW, in 2011 dollars, and there was little scatter in the data. From 2000 to 2007, the SCR
costs for 32 utility boilers ranged from about $100/kW to $275/kW (2011$), and a slight
economy of scale was evident (i.e., using a regression equation, costs ranged from about
$200/kW for a 200 MW unit to $160/kW for an 800 MW unit). For 2008 to 2011, the average
SCR costs exhibited great variability and again a modest economy of scale was evident (i.e.,
about $300/kW for a 200 MW unit to $250/kW for an 800 MW unit; 2011$). For eight utility
boilers either installed in 2012 or projected to be installed by 2014, the SCR costs ranged from
about $270/kW to $570/kW, in 2011$; generating capacity for these units ranged from 400 MW
to 800 MW [7b]. Typical operation and maintenance costs are approximately 0.1 cents per
kilowatt-hour (kWh) [7a, 8]. Table 2.1a provides capital cost estimates for electric utility boilers,
and Table 2.1b presents capital cost estimates for SCR applications of various sizes in several
other industry source categories.
        The procedures for estimating costs presented in this report are based on cost data for
SCR retrofits on existing coal-, oil-, and gas-fired boilers for electric generating units larger than
25 MWe (approximately 250 MMBtu/hr). Thus, this report’s procedure estimates costs for
typical retrofits of such boilers. The methodology for utility boilers also has been extended to
large industrial boilers by modifying the capital cost equations and power consumption
(electricity cost) equations to use the heat input capacity of the boiler instead of electric
generating capacity.3 The procedures to estimate capital costs are not directly applicable to
sources other than utility and industrial boilers. Procedures to estimate annual costing elements
other than power consumption are the same for SCR units in any application. The cost for SCR
as part of a new plant often is likely to be less than the cost for retrofit plant. Appropriate factors
to estimate the cost of a new plant SCR have been included. In addition, the cost procedures in
this report reflect individual SCR applications. Retrofitting multiple boilers with SCR can allow
for some economies of scale for installation, thus yielding some reduction in capital costs per
SCR application. The cost methodology incorporates certain approximations; consequently, it
should be used to develop study-level accuracy (±30%) cost estimates of SCR applications. Such
accuracy in the cost methodology is consistent with the accuracy of the cost estimates for the
other control measures found in this Cost Manual as stated in Section 1.
        In the cement industry, pilot tests in the 1970s and 1990s showed SCR could be a feasible
control technology for cement kilns. Building on that experience, SCRs were first installed in
Europe in 2001. Today, SCR has been successfully implemented at seven European cement
plants in Solnhofer, Germany (operated from 2001 until 2006), Bergamo, Italy (2006), Sarchi,
Italy (2007), Mergelstetten, Germany (2010), Rohrdorf, Germany (2011), Mannersdorf, Austria
(2012), and Rezatto, Italy (2015). [94, 98, 99]. As of 2015, there is only one cement plant in the
U.S. has installed an SCR. This SCR began operation in 2013 and is installed after an
electrostatic precipitator. The control efficiency for the system is reported to be about 80%,
which is consistent with SCR applications on European kilns. SCRs have not seen widespread
use in the U.S. cement industry mainly due to industry concerns regarding potential problems
caused by high-dust levels and catalyst deactivation by high SO3 concentrations from pyritic
sulfur found in the raw materials used by U.S. cement plants. The SO3 could react with calcium


3   “Industrial” boilers as a term used in the Control Cost Manual is meant to cover not only industrial but also
     commercial and institutional (or ICI) boilers, unless noted otherwise.


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oxide in the flue gas to form calcium sulfate and with ammonia to form ammonium bisulfate.
The calcium sulfate could deactivate the catalyst, while the ammonium bisulfate could cause
catalyst plugging. There have been concerns expressed about the potential for catalyst poisoning
by sodium, potassium, and arsenic trioxide. Finally, other concerns expressed are that dioxins
and furans may form in the SCR due to combustion gases remaining at temperatures between
450°F and 750°F. These and other concerns regarding the implementation of SCR to the cement
industry are discussed in detail in “Alternative Control Techniques Document Update – NOx
Emissions from New Cement Kilns” [94]. Due to the small number of SCRs installed at cement
plants, information on capital and operating costs for SCRs at cement plants is limited. The
installation and operating costs for the SCR installed at the U.S. plant in 2013 are not publicly
available at this time. In general, we expect the capital and operating costs would be higher than
for low-dust applications due to the need to install catalyst cleaning equipment for SCR systems
installed in high-dust configurations and for heating the flue gas in low-dust, tail-end
configurations.




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                                         Table 2.1a: Summary of SCR Cost Data for Utility Boilers
                                                          Capital Cost
      Source
     Category        Unit Size   Fuel Type       Min         Avg            Max        $ Year                     Comments                      Reference
    Electric      NAa            NA           $55/kW                     $140/kW      <2000$b   Retrofit costs.                                 [9]
    Generating    ~300-1,400     NA           ~$70/kW                    ~$120/kW     <2000$b   Retrofit costs. Six boilers. No economy of      [9]
    Units         MW                                                                            scale.
                  150–1,000      Coal         $80/kWnet                  $160/kWnet   2002$     Retrofit costs. Author of referenced            [10]
                  MW                                                                            document scaled original costs to 2002
                                                                                                dollars. More than 20 boilers. Little to no
                                                                                                economy of scale.
                  NA             Coal         $60/kW      $100kW         $200/kW      <2004$b   Retrofit costs                                  [11]
                  <300 MW        Coal                     $167/kW        $186/kW      <2004$    Costs for 26 boilers.                           [12]
                  301–600 MW     Coal                     $148/kW        $192/kW      <2004$    Costs for 15 boilers.                           [12]
                  601–900 MW     Coal                     $124/kW        $221/kW      <2004$    Costs for 22 boilers.                           [12]
                  >900 MW        Coal                     $118/kW        $195/kW      <2004$    Costs for 9 boilers.                            [12]
                  100–399 MW     Coal         $70/kW      $123/kW        ~$175/kW     <2004$b   Costs for 5 boilers.                            [13]
                  400–599 MW     Coal         $73/kW      $103/kW        ~$160/kW     <2004$b   Costs for 8 boilers.                            [13]
                  600–899 MW     Coal         $56/kW      $81/kW         ~$100/kW     <2004$b   Costs for 9 boilers.                            [13]
                  >900 MW        Coal         ~$80/kW     $117/kW        ~$190/kW     <2004$b   Costs for 10 boilers.                           [13]
                  191 MW         Coal                     $149/kW                     2006$     Retrofit costs.                                 [14]
                  ~100 MW-       NA           ~$125/kW    $275/kW        ~$440/kW     2008$     Retrofit costs for 15 boilers installed in      [7a]
                  ~800MW                                                                        2008 to 2010. Most costs between
                                                                                                $200/kW and $350/kW. Slight economy of
                                                                                                scale—regression average about $340/kW
                                                                                                for 100 MW to $250/kW for 800 MW.
                  ~400 MW to     NA           ~$270/kW    ~$420/kW       ~560/kW      2011$     Retrofit costs for 8 boilers either installed   [7b]
                  ~800 MW                                                                       in 2012 or projected to be installed by
                                                                                                2014.
a
    Not Available.
b
    Year of reference.




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                              Table 2.1b: Summary of SCR Cost Data for Miscellaneous Industrial Sources
                                                                          Actual,
                                                                          Vendor
 Source        Unit      Fuel        Capital Cost: average               Quote, or
Category       Size      Type               (range)          $ Year     Estimated?                       Comments                            Reference
Industrial-   350      Coal        NA ($10,000–              1999$     Estimated     Retrofit costs. Authors of referenced document          [15]
Commerci      MMBtu                $15,000/MMBtu/hr)                                 estimated the low end of the range assuming a
al Boilers                                                                           cost of about $100/kW for a 100 MW (1000
                                                                                     MMBtu/hr) utility boiler and assuming that
                                                                                     economies of scale would be greater for utility
                                                                                     boilers than for industrial boilers (so that the cost
                                                                                     for a 350 MMBtu/hr industrial boiler would be
                                                                                     comparable to or greater than the cost for a 1000
                                                                                     MMBtu/hr utility boiler on a $/MMBtu basis).
              100–     Coal        NA ($7,300–               1999$     Estimated     Retrofit costs. Generally costs available for one       [16]
              1,000                $14,600/MMBtu/hr)                                 boiler with each type of fuel. Authors of
              MMBtu/                                                                 referenced document estimated costs for other
              hr                                                                     sizes assuming ratio of small-to-large $/MMBtu
              100–     Oil         NA ($5,550–               1999$     Estimated     costs are related to ratio of large to small heat       [16]
                                                                                     inputs raised to the 0.3 power.
              1,000                $11,100/MMBtu/hr)
              MMBtu/
              hr
              100–     Gas         NA ($4,010–               1999$     Estimated                                                             [16]
              1,000                $8,010/MMBtu/hr)
              MMBtu/
              hr
              100      Gas         NA ($7,500/MMBtu/hr)      1999$b    Vendor        Cited source in reference [15] is an unpublished        [15]
              MMBtu/                                                                 letter from a vendor.
              hr
              350      Oil, Gas,   NA ($4,000–               1999$     Estimated                                                             [17]
              MMBtu    or Wood     $6,000/MMBtu/hr)
              57       Wood        NA (>$560,000 and         1999$c    Actual/       Costs for a new boiler.                                 [15]
              MMBtu/               $9,500/MMBtu/hr)                    Estimate
              hr
              321      Wood        NA ($1,980/MMBtu/hr)      2006$     Likely                                                                [18]
              MMBtu/                                                   Estimated
              hr




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                                                                          Actual,
                                                                          Vendor
 Source       Unit      Fuel        Capital Cost: average                Quote, or
Category      Size      Type               (range)          $ Year      Estimated?                     Comments                          Reference
Petroleum    650      Gas or      NA ($3,100–               2004$ c    Estimated     Retrofit costs. Equipment costs based on range      [19]
Refining –   MMBtu/   refinery    $25,800/MMBtu)                                     of costs found in literature search (references
Steam        hr       fuel gas                                                       were not provided). Installation costs estimated
Boilers                                                                              using factors from the Control Cost Manual for
                                                                                     thermal and catalytic incinerators.
Petroleum    350      Gas/refin   NA ($3,100–               2004$ c    Estimated     Same comment as above.                              [19]
Refining –   MMBtu/   ery fuel    $25,800/MMBtu)
Process      hr       gas
Heaters
             350      Refinery    NA ($3,100–               2004$ c    Estimated     Same comment as above.                              [19]
             MMBtu/   oil         $25,800/MMBtu)
             hr
             10       Gas or      $19,200/MMBtu ($12,000–   1999b      Vendor/       Costs are based primarily on quotes from two        [20]
             MMBtu/   refinery    $26,500/MMBtu)                       Estimated     vendors (and additional discussions). Authors of
             hr       fuel                                                           the referenced report added costs for fan, motor,
                      gas/NG                                                         and ductwork costs based on procedures in the
                      combo                                                          Control Cost Manual.
             50       Gas or      $5,140/MMBtu ($4,020–     1999b      Vendor/       Same comment as above.                              [20]
             MMBtu/   refinery    $6,280/MMBtu)                        Estimated
             hr       fuel
                      gas/NG
                      combo
             75       Gas or      $4,190/MMBtu ($3,440–     1999b      Vendor/       Same comment as above.                              [20]
             MMBtu/   refinery    $4,950/MMBtu)                        Estimated
             hr       fuel
                      gas/NG
                      combo
             150      Gas or      $2,730/MMBtu ($2,570–     1999b      Vendor/       Same comment as above.                              [20]
             MMBtu/   refinery    $2,880/MMBtu)                        Estimated
             hr       fuel
                      gas/NG
                      combo
             350      Gas or      $1,550/MMBtu ($1,520–     1999b      Vendor/       Same comment as above.                              [20]
             MMBtu/   refinery    $1,570/MMBtu)                        Estimated
             hr       fuel
                      gas/NG
                      combo




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                                                                                Actual,
                                                                                Vendor
 Source         Unit        Fuel       Capital Cost: average                   Quote, or
Category        Size        Type              (range)             $ Year      Estimated?                        Comments                    Reference
              68          Refinery   NA ($22,100/MMBtu)           1991       Actual        Retrofit costs.                                  [15]
              MMBtu/      fuel gas
              hr (Two
              32
              MMBtu/
              hr)
Petroleum     70,000      NA         NA ($9.0 million)            2004$c     Vendor        Estimated cost by vendor (for 90% reduction).    [3]
Refining –    barrels/s
FCCU          tream
              day
              (bbl/stre
              am day)
              27,000      NA         NA ($8-$12 million)          2009       Estimated                                                      [21]
              bbl/strea
              m day
              <20,000     NA         NA (order of magnitude       2005 to    Actual        Costs reported by 6 petroleum refining           [22]
              -                      range; low end higher than   2010                     companies for 7 FCCUs in responses to EPA
              >100,00                two entries above)                                    ICR. One new, 6 retrofits.
              0
              bbl/strea
              m day
              NA          NA         NA ($20 million)             2006       Actual        Approximate average cost for SCR retrofits at    [23]
                                                                                           several refineries
Portland      1.09        NA         NA ($6.9 per short ton       2006a      Estimated     Retrofit cost. Estimate based primarily on SCR   [24,25]
Cement        million                clinker)                                              procedures for boilers in fifth edition of the
(dry kilns)   short tpy                                                                    Control Cost Manual. Clinker capacity obtained
              clinker                                                                      from the second reference.
              1.13        NA         NA ($5.9 per short ton       2006a      Estimated     Same comment as above.                           [24,25]
              million                clinker)
              short tpy
              clinker
              2.16        NA         NA ($3.9 per short ton       2006a      Estimated     Same comment as above.                           [24,25]
              million                clinker)
              short tpy
              clinker




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                                                                                   Actual,
                                                                                   Vendor
     Source         Unit         Fuel       Capital Cost: average                 Quote, or
    Category        Size         Type              (range)            $ Year     Estimated?                        Comments                          Reference
                  1.4         NA          NA ($5.9 per short ton      2004      Not clear     Retrofit cost for European kiln. Cost in euros         [26]
                  million                 clinker)                                            converted to dollars assuming a ratio of
                  short tpy                                                                   $1.3/euro.
                  clinker
                  1.055       NA          NA ($4.4 per short ton      2004      Estimated     Cost for new kiln.                                     [27]
                  million                 clinker)
                  tpy
                  clinker
                  1.095       NA          NA ($4.4 per short ton      2011      Estimated     Cost for new kiln. Cost based on quote for the         [28]
                  million                 clinker)                                            SCR equipment, and standard installation factors
                  short tpy                                                                   from the Control Cost Manual for other types of
                  clinker                                                                     control devices.
    Portland      0.3         NA          NA ($17.5 per short ton     2006a     Estimated     Retrofit costs for 4 kilns. Rated clinker production   [24,29]
    Cement        million                 clinker)                                            capacity obtained from the second reference.
    (wet kilns)   short tpy
                  clinker
                  0.320                   NA ($15.6-$16.6 per short   2006a     Estimated     Retrofit costs for 3 kilns. Rated clinker production   [24,25]
                  million                 ton clinker)                                        capacity obtained from second reference.
                  short tpy
                  clinker
    Gas           NA          Gas         NA ($50-$70/kW)             1999$a    Vendor        Retrofit costs.                                        [15]
    Turbine,      80 MW       Gas         NA ($51/kW)                 1999$a    Vendor        Retrofit cost, excluding balance of plant costs.       [15]
    Simple
    Cycle         2 MW        Gas         NA ($237/kW)                1999$a    Vendor        Retrofit cost.                                         [15]
                  12 MW       Gas         NA ($167/kW)                1999$a    Vendor        Retrofit cost.                                         [15]
    Internal      1,800 hp    Diesel      NA ($0.18 million)          1994      Actual        New cost                                               [15]
    Combusti                  (No. 2
    on Engine                 fuel oil)
a Year of reference.
b
  Year analysis was conducted (assumed vendor contacts were made that year).
c
  Commission year of the SCR.




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2.2       Process Description
        Like SNCR, the SCR process is based on the chemical reduction of the NOx molecule.
The primary difference between SNCR and SCR is that SCR employs a metal-based catalyst
with activated sites to increase the rate of the reduction reaction. The primary components of the
SCR include the ammonia storage and delivery system, ammonia injection grid, and the catalyst
reactor [2]. A nitrogen-based reducing agent (reagent), such as ammonia or urea-derived
ammonia, is injected into the post-combustion flue gas. The reagent reacts selectively with the
flue gas NOx within a specific temperature range and in the presence of the catalyst and oxygen
to reduce the NOx into molecular nitrogen (N2) and water vapor (H2O).
        The use of a catalyst results in two primary advantages of the SCR process over SNCR.
The main advantage is the higher NOx reduction efficiency. In addition, SCR reactions occur
within a lower and broader temperature range. However, the decrease in reaction temperature
and increase in efficiency is accompanied by a significant increase in capital and operating costs.
The capital cost increase is mainly due to the large volumes of catalyst required for the reduction
reaction. Operating costs for SCR consist mostly of replacement catalyst and ammonia reagent
costs, and while historically, the catalyst replacement cost has been the largest cost, the reagent
cost has become the most substantial portion of operating costs for most SCR [7b].4
        Figure 2.1 shows a simplified process flow schematic for SCR. Reagent is injected into
the flue gas downstream of the combustion unit and economizer through an injection grid
mounted in the ductwork. The reagent is generally diluted with compressed air or steam to aid in
injection. The reagent mixes with the flue gas, and both components enter a reactor chamber
containing the catalyst. As the hot flue gas and reagent diffuse through the catalyst and contact
activated catalyst sites, NOx in the flue gas chemically reduces to nitrogen and water. The heat of
the flue gas provides energy for the reaction. The nitrogen, water vapor, and any other flue gas
constituents then flow out of the SCR reactor. More detail on the SCR process and equipment is
provided in the following sections.
        There are several different locations downstream of the combustion unit where SCR
systems can be installed. Flue gas temperature and constituents vary with the location of the SCR
reactor chamber. SCR reactors located upstream of the particulate control device and the air
heater (“high-dust” configuration) have higher temperatures and higher levels of particulate
matter. An SCR reactor located downstream of the air heater, particulate control devices, and
flue gas desulfurization (FGD) system (“low-dust” or “tail-end” configuration) is essentially
dust- and sulfur-free but its temperature is generally below the acceptable range. In this case,
reheating of the flue gas may be required, which significantly increases the SCR operational
costs. Section 2.2.3 discusses the various SCR system configurations.




4    Several cost analyses in recent years have shown the largest operating cost is for reagent usage rather than for
    catalyst costs. For example, for the Navajo Generating Station in Arizona, a 2010 BART analysis report on an 812
    MW gross coal-fired unit estimates annual operating costs for ammonia reagent of $1,035,000 (based on
    $465/ton) and for catalyst replacement of $672,000 (based on $8,000/m 3) [30].


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                         Figure 2.1: SCR Process Flow Diagram [31, 32]

2.2.1 Reduction Chemistry, Reagents, and Catalyst
        The reducing agent employed by the majority of SCR systems is gas-phase ammonia
(NH3) because it readily penetrates the catalyst pores. The ammonia, either in anhydrous or
aqueous form, is vaporized before injection by a vaporizer. Within the appropriate temperature
range, the gas-phase ammonia then decomposes into free radicals, including NH3 and NH2. After
a series of reactions, the ammonia radicals come into contact with the NOx and reduce it to N2
and H2O. Since NOx includes both NO and NO2, the overall reactions with ammonia are as
follows:


                                           1
                         2 NO  2 NH 3        O 2 catalyst
                                                     2 N 2  3 H 2 O                     (2.1a)
                                           2

                         2 NO 2  4 NH 3  O2 catalyst
                                                3 N 2  6 H 2O                          (2.1b)



The equations indicate that one mole of NH3 is required to remove one mole of NO and two
moles of NH3 are required to remove one mole of NO2. However, Equation 2.1a is the


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predominant reaction because 90 to 95% of NOx in flue gas from combustion units is NO.
Hence, about one mole of NH3 is required to remove one mole of NOx. The catalyst lowers the
required activation energy for the reduction reaction and increases the reaction rate. In the
catalytic reaction, activated sites on the catalyst rapidly adsorb ammonia and gas-phase NO to
form an activated complex. The catalytic reaction, represented by Equations 2.1a and 2.1b,
results in nitrogen and water, which are then desorbed to the flue gas. The site at which the
reaction occurs is then reactivated via oxidation.
        The high temperature of the flue gas converts the ammonia to free radicals and provides
the activation energy for the reaction. The reaction also requires excess oxygen, typically 2–4%,
to achieve completion. NOx reduction with ammonia is exothermic, resulting in the release of
heat. However, because the NOx concentration in the flue gas at the inlet of the SCR is typically
0.01–0.02% by volume, the amount of heat released is correspondingly small. Thermodynamic
equilibrium is not a limiting factor in NOx reduction if the flue gas is within the required
temperature range [33].
Reagent
        The SCR system can use either aqueous or anhydrous ammonia for the reduction
reaction, and some plants use urea-to-ammonia reagent systems where aqueous ammonia is
produced onsite (often called onsite urea-derived ammonia production or “ammonia-on-
demand”). Anhydrous ammonia is nearly 100% pure ammonia. It is a gas at normal atmospheric
temperature; therefore, it must be transported and stored under pressure. Anhydrous ammonia is
classified as a hazardous material and often requires special permits as well as additional
procedures for transportation, handling and storage.
       SCR applications using aqueous ammonia generally transport and store it at a
concentration of 29.4% ammonia in water, although some applications use a 19% solution [33].
The use of aqueous ammonia reduces transport and storage problems related to safety. In
addition, certain locations may not require permits for concentrations less than 28%. Aqueous
ammonia, however, requires more storage capacity than anhydrous ammonia and also requires
shipping costs for the water solvent in the solution. Although the 29.4% solution has substantial
vapor pressure at normal air temperatures, a vaporizer is generally required to provide sufficient
ammonia vapor to the SCR system. Table 2.2 gives the properties of anhydrous ammonia and the
properties of a 29.4% aqueous ammonia solution.
        The type of reagent used affects both the capital costs and annual costs. Anhydrous
ammonia typically has the lowest capital and operating costs, excluding highly site-dependent
permitting and risk management planning and implementation costs. Urea systems have the
highest capital costs due to the complexity of the processing equipment. Aqueous ammonia
systems tend to have the highest operating costs, primarily because of the cost for transportation.
Urea systems have the highest energy consumption costs because the energy needed to hydrolyze
or decompose urea tends to be higher than the energy needed to vaporize aqueous ammonia.
Although the price per ton of anhydrous ammonia is higher than the price per ton of urea, the
cost per ton of NOx removed is higher for urea due to urea’s much higher molecular weight. For
example, one SCR supplier estimated capital costs for a 130 lb/hr ammonia system to be
$280,000 for anhydrous ammonia, $402,000 for 19% aqueous ammonia, and $750,000 for urea
[34]. Another reference reported that the equipment cost for urea is generally twice the


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equipment cost for anhydrous ammonia [35]. According to one reference, the total SCR system
cost is 2-5% higher when using a urea reagent system instead of an anhydrous ammonia system
[10]. Relative to anhydrous ammonia, one reference estimated annual operating costs for 19%
aqueous ammonia are 50% higher, costs for 29% aqueous ammonia are 33 percent higher, and
costs for urea are 25% higher [36]. Another reference stated that as a general rule, operating
costs for urea systems are about 50 percent more than the operating costs for anhydrous
ammonia [35]. One reference estimated energy costs for an unspecified application to be
$167,000 for a urea system, $73,000 to $117,000 for aqueous ammonia systems, and $16,000 for
anhydrous ammonia [37].
        This presentation is valid for anhydrous or aqueous ammonia; the capital cost procedures
are based on the typical mix of systems actually in operation, while the procedures for estimating
annual costs apply to any ammonia system (the examples in section 2.5 illustrate the procedures
for a system using 29% aqueous ammonia as the reagent).
                                Table 2.2: Ammonia Reagent Properties
               Property                 Anhydrous Ammonia [38,39]                  Aqueous Ammonia
 Liquid or gas at normal air         Liquid at high pressure; gas at      Liquid
 temperature                         atmospheric pressure
 Concentration of reagent normally   99.5% (by weight)                    29.4% (by weight of NH3)
 supplied
 Molecular weight of reagent         17.03                                17.03 (as NH3)
 Ratio of ammonia to solution        99.5% (by weight of NH3)             29.4% (by weight of NH3)
 Density of liquid at 60°F           5.1 lb/gal                           7.5 lb/gal
 Vapor pressure at 80°F              153 psia                             14.6 psia [39, p. 3]
 Flammability limits in air          16–25% NH3 (by volume)               16–25% NH3 (by volume)
 Short-term exposure limit           35 ppm                               35 ppm
 Odor                                Pungent odor at 5 ppm or more        Pungent odor at 5 ppm or more
 Acceptable materials for storage    Steel tank, rated for at least       Steel tank, rated for at least 25 psig
                                     250 psig pressure (no copper or      pressure (no copper or copper-
                                     copper-based alloys, etc.)           based alloys, etc.)

Catalyst
        SCR catalysts are composed of active metals or ceramics with a highly porous structure.
Within the pores of the catalyst are activated sites. These sites have an acid group on the end of
the compound structure where the reduction reaction occurs. As stated previously, after the
reduction reaction occurs, the site reactivates via rehydration or oxidation. Over time, however,
the catalyst activity decreases, requiring replacement, washing/cleaning, rejuvenation, or
regeneration of the catalyst. Catalyst designs and formulations are generally proprietary. Both the
catalyst material and configuration determine the properties of the catalyst.

        Originally, SCR catalysts were precious metals such as platinum (Pt). In the late 1970s,
Japanese researchers used base metals consisting of vanadium (V), titanium (Ti), and tungsten
(W), which significantly reduced catalyst cost. In the 1980s, metal oxides such as titanium oxide
(TiO2), zirconium oxide (ZrO2), vanadium pentoxide (V2O5), and silicon oxide (SiO2) were
employed to broaden the reaction temperature range. Zeolites, crystalline alumina silicates, were
also introduced for high temperature (675–1000°F; 360–540°C) applications; however, zeolites


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tended to be cost prohibitive. From 1980 to 2008, the cost of catalyst has dropped from
approximately $34,000/m3 to a range of $5,000 to $6,000/m3 (costs are in 2011$) [7b].5 This
reference also reported that catalyst prices remained in the approximate range of $5,000 to
$6,000/m3 through 2012.
        Improvements to the catalyst formulations over time have decreased unwanted side
reactions such as sulfur oxide conversions (SO2 to SO3) and increased the resistance to flue gas
poisons, and newer catalysts can oxidize metallic mercury (Hg) into ionic forms (for easy
removal downstream in wet scrubbers and wet electrostatic precipitators [ESPs]) [40]. Improved
catalyst designs have also increased catalyst activity, surface area per unit volume, and the
temperature range for the reduction reaction. As a consequence, there is a corresponding
decrease in the required catalyst volumes and an increase in the catalyst operating life. For coal-
fired boiler applications, SCR catalyst vendors typically guarantee the catalyst for an operating
life ranging from 8,000 to 24,000 hours [1]. Applications using oil and natural gas have a longer
operating life, typically greater than 32,000 hours [41]. In addition, operating experience
indicates that actual catalyst deactivation rates are lower than the design specifications [33]. The
latest demands on catalyst technology for both higher and lower sulfur coal-fired boilers include
design NOx removal of 90%; control of residual NH3 to 2 ppm (i.e., ammonia slip); guarantees
for SO2 oxidation to less than 1%, and in many cases, to less than 0.5%; being able to withstand
washing/cleaning and regeneration procedures; and guarantees for mercury oxidation [37].
       Catalyst formulations include single component, multi-component, or active phase with a
support structure. Most catalyst formulations contain additional compounds or supports to give
thermal and structural stability or to increase surface area [42]. Catalyst configurations are
generally ceramic honeycomb and pleated metal plate (monolith) designs in a fixed-bed reactor,
which provide high surface area to volume ratio. Pellet catalysts in fluidized beds are also
available. Pellets have greater surface area than honeycombs or pleated plates but are more
susceptible to plugging. This limits the use of pellets to clean-burning fuels such as natural gas.
         Catalyst elements placed in a frame form a catalyst module. The modules stack together
in multiple layers to create a reactor bed of the total required catalyst volume. A typical module
is 3.3 ft × 6.6 ft in area (1 m × 2 m) and 3.3 ft (1 m) in height. A crane hoists the large catalyst
modules into the reactor from either the interior or exterior of the reactor, depending on the
reactor design.
        Catalysts greatly accelerate the NOx reduction reaction rate, but some catalysts have more
favorable properties for a given application. Performance requirements that drive the choice of
catalyst include reaction temperature range, flue gas flow rate, fuel source, catalyst activity and
selectivity, SO2 oxidation, and catalyst operating life. In addition, the design must consider the
cost of the catalyst, including disposal costs [33]. In the past, the initial charge of catalyst costs
accounted for 20% or more of the capital costs for an SCR system [33], however, as catalyst unit
cost has declined over time, this catalyst cost is a smaller percentage of the capital costs [7].
        The catalyst layers may be washed/cleaned, rejuvenated, or regenerated to extend the
catalyst life as catalyst activity declines, or they may be replaced. Generally, less than one layer

5   An earlier reference shows that from 1980 to 2006, the cost of catalyst dropped by 75% from approximately
    $16,000/m3 to less than $4,000/m3 [37]. These costs are for the cost year reported and are not adjusted for
    escalation to current year.


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of catalyst is replaced per year for fixed bed designs. Most SCR manufacturers offer a disposal
service, in which either the catalyst is reactivated (i.e., rejuvenated or regenerated) for reuse or
its components are recycled for other uses [42]. If the catalyst cannot be recycled or reused, the
facility operator must dispose of the spent catalyst in an approved landfill. In the United States,
most catalyst formulations are not considered hazardous waste [42].
         Catalyst cleaning typically means the removal of physical restrictions to the catalyst (i.e.,
blinding layers and large particle ash [LPA]), rejuvenation means the removal of poisons without
replenishing catalytically active compounds in the catalyst, and regeneration typically means the
removal of poisons and the restoration of catalytic activity by restoring catalyst active
ingredients [43]. These activities may occur online/in-situ or offline, and may occur onsite or
offsite [43]. The catalyst layers may be removed and transported to the cleaning, rejuvenation, or
regeneration site. Online catalyst cleaning with soot blowers or sonic horns is conducted on a
regular basis to remove ash or particles (soot blowers and sonic horns are discussed below) [44].
Water-based cleaning can also be conducted to remove physical materials that plug or blind the
catalyst [45].
        Use of rejuvenated and regenerated catalyst has increased since the late 1990s, and for
some applications, can be considered equivalent to new catalyst [46]. For rejuvenation processes,
the focus is on removal of blinding materials and catalyst poisons [43, 47]. Rejuvenation
processes may cause the catalyst to lose structural integrity and mechanical strength [43]. Today,
regeneration processes focus on increasing the longevity of the catalyst by maintaining its
mechanical strength (both compressive and bonding) and improving its activity or performance
[43, 47]. The catalyst layer may be washed in a series of baths that remove ash and particulate,
remove poisons, and add chemicals or various metals used in the original catalyst manufacturing
[45, 47]. Moisture must also be removed from the catalyst because it reduces the strength of the
catalyst [47]. Because regeneration may cause catalysts to lose mechanical strength,
recalcination may also be conducted to ensure catalyst impregnation and that catalyst mechanical
strength is regained [43, 45, 47]. Improvements to the catalyst activity relative to certain
reactions can be made using a regeneration process (e.g., impregnating other chemicals in the
catalyst to reduce the conversion of SO2 to SO3, or to increase the oxidation of Hg over the
conversion rate of the original catalyst while maintaining the same catalyst activity for NOx)
[47]. Damage to the catalyst can occur during operation of the SCR or during transport of the
catalyst for rework, so a thorough inspection of the modules is conducted along with replacement
or repair of any damaged elements [44].
        Benefits for regenerated catalysts include the following: lower regeneration cost per layer
as compared to new replacement cost [1]; no catalyst cost [1]; disposal cost savings [1]; full
restoration of original catalytic activity [McMahon Feb 2006 for Platts]; same deactivation rate
as a new catalyst in the same SCR installation, i.e., comparable equipment life as new catalyst
[McMahon Feb 2006 for Platts]; lower SO2 oxidation for some catalysts (i.e., SO2/SO3
conversions is no higher than the new catalyst guarantee) [50]; removal of physical restrictions,
including fly ash plugging, large particle ash, and blinding layers [43]; and no physical damage
to the catalyst and no loss of structural integrity [43].
       Use of regenerated catalysts reduces catalyst replacement cost and minimizes the need to
dispose of spent catalyst [48]. It is estimated that a typical 500-MW coal-fired power plant will



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spend approximately $2,000,0006 on a single layer of new catalyst [48]. The cost for regenerated
catalyst for this same facility would be approximately $1,000,000 for a single layer of catalyst
[48]. Disposal costs when replacing a spent catalyst could be $50,000–$200,000 per layer, and
these costs are avoided with regenerated catalysts [48]. Regenerated catalyst typically costs 40
percent less than new catalyst [48-50].
2.2.2 SCR Performance Parameters
       The rate of the reduction reaction determines the amount of NOx removed from the flue
gas. The major design and operational factors that affect the NOx removal performance of SCR
are similar to those presented in Chapter 1, SNCR. The factors discussed previously for SNCR
include the following:
          Reaction temperature range;
          Residence time available in the optimum temperature range;
          Degree of mixing between the injected reagent and the combustion gases;
          Molar ratio of injected reagent to inlet NOx;
          Inlet NOx concentration level; and
          Ammonia slip.

        The majority of the discussion regarding SNCR design and operational factors is valid for
the SCR process, except for small variations due to the use of a catalyst and the reaction chamber
being separate from the combustion unit. Additional design and operational factors to consider
that are specific to the SCR process include the following:
          Catalyst activity;
          Catalyst selectivity;
          Pressure drop across the catalyst;
          Ash management (i.e., mitigating large particle ash (LPA) impacts on the catalyst) and
           dust loading;
          Catalyst pitch;
          SO2 and SO3 concentrations in gas stream;
          Catalyst deactivation; and
          Catalyst management.

           The major differences between SNCR and SCR are discussed below.
Temperature
        The NOx reduction reaction is effective only within a given temperature range. The use of
a catalyst in the SCR process lowers the temperature range required to maximize the NOx
reduction reaction. At temperatures below the specified range, the reaction kinetics decrease and
ammonia passes through the boiler (ammonia slip), but there is little effect on nitrous oxide



6   Cost year not available; data are from 2008 article [Reference 48].


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(N2O) formation. At temperatures above the specified range, N2O formation increases and
catalyst sintering and deactivation occurs, but little ammonia slip occurs.
        In an SCR system, the optimum temperature depends on both the type of catalyst used in
the process and the flue gas composition. For the majority of commercial catalysts (metal
oxides), the operating temperatures for the SCR process range from 480°F to 800°F (250–430°C)
[46]. Figure 2.2 is a graph of the NOx removal efficiency as a function of temperature for a
typical metal oxide catalyst [46]. The figure shows that the rate of NOx removal increases with
temperature up to a maximum between 700°F and 750°F (370–400°C). As the temperature
increases above 750°F (400°C), the reaction rate and resulting NOx removal efficiency begin to
decrease.




                        Figure 2.2: NOx Removal versus Temperature [46]

        As flue gas temperature approaches the optimum, the reaction rate increases and less
catalyst volume achieves the same NOx removal efficiency. Figure 2.3 shows the change in the
required catalyst volume versus temperature [51]. There is approximately a 40% decrease in the
required catalyst volume as flue gas temperature increases from 600°F (320°C) to the optimum
range, 700–750°F (370–400°C). This decrease in catalyst volume also results in a significant
decrease in capital cost for the SCR system. Less catalyst also results in a decrease in annual
operation and maintenance costs. For example, the system pressure drop would be lower, which
would reduce the additional electricity needed to run the ID fan. The net effect on catalyst
replacement costs is uncertain; although the volume of catalyst replaced would be smaller,
deactivation may occur more frequently since the quantity of materials in the emission stream
responsible for plugging and poisoning would not be reduced.


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       The relationships between flue gas temperature, catalyst volume, and NOx removal are
complicated functions of the catalyst formulation and configuration. The physical and chemical
properties of each catalyst are optimized for different operating conditions. For a given catalyst
formulation, the required catalyst volume or temperature range can even change from one
manufacturer of the catalyst to another. Therefore, the selection of the catalyst is critical to the
operation and performance of the SCR system.




                           Figure 2.3: Change in Catalyst Volume vs. Temperature [51]

        Because the optimum temperature window of the SCR process is lower than that of
SNCR, the reagent injection into a reactor chamber occurs downstream of the combustion unit,
rather than inside the combustion unit. As discussed previously, there are several options for the
location of the SCR reactor. The flue gas temperature at each of these locations is different. Most
designs install the reactor downstream of the economizer and prior to the air preheater, where the
flue gas is at the appropriate temperature for metal oxide–based catalysts. Reheating of the flue
gas may be required for reactors located downstream of the air preheater. Reheating significantly
increases SCR operational costs. This continues to be true despite natural gas prices that are
relatively low on an historical basis.7



7   A case study of tail-end SCR indicated that the cost of natural gas for flue gas reheating was about 60% of the
    variable annual operation and maintenance costs (i.e., sum of natural gas, electricity, and reagent costs) when the
    unit cost of natural gas was $8/1,000 sft 3 [52]. If the natural gas unit cost were $5/1,000 sft3, then the natural gas
    cost for flue gas reheating would have been more than 40% of the variable annual operation and maintenance
    costs.


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        Boiler operation at reduced loads decreases the gas flow rate. At reduced gas flow rates,
the economizer outlet gas temperature decreases because boiler heat transfer surfaces absorb
more heat from the flue gas. Typical SCR systems tolerate temperature fluctuations of ±200°F
(±93°C) [33]. At low boiler loads, however, the temperature can decrease below the optimum
range. For example, a coal-fired utility boiler has an economizer exit flue gas temperature of
690°F (370°C) at 100% load, but only 570°F (300°C) at 50% load [33]. For low-load operations,
an economizer bypass can be used to raise the flue gas temperature. An economizer bypass
diverts part of the hot flue gas from within the economizer through a bypass duct and mixes it
with the relatively cooler flue gas exiting the economizer. An economizer feedwater bypass also
raises the flue gas temperature. The use of an economizer bypass results in less energy transfer to
the feedwater for steam generation; consequently, there is a small reduction in boiler efficiency.
Lower boiler efficiencies require more fuel to be burned to meet the required boiler steam output.
Residence Time and Space Velocity
       Residence time is the time the reactants are within the reactor. Higher residence times
generally result in higher NOx removal rates. Temperature also affects the required residence
time. The required residence time decreases as the temperature approaches the optimum
temperature for the reduction reaction. Residence time is often expressed as space velocity, the
inverse of residence time. The space velocity of a reactor is experimentally determined from the
measured flue gas flow rate divided by the superficial volume of the catalytic reactor. The NOx
removal efficiency increases with decreasing space velocity (i.e., increasing catalyst volume) for
a given flue gas flow rate.
         The optimal residence time for an SCR system is a function of the number of active
catalyst sites available for the reduction reaction and the gas flow rates within those active sites
(interstitial flow rate). The “area velocity” is a parameter used by SCR vendors that relates the
number of sites and the interstitial flow rate to residence time. The area velocity is defined as the
space velocity divided by the catalyst pore surface area (specific surface area). For coal-fired
boilers, typical specific surface areas range from 90 to 3,800 square feet per cubic feet (ft2/ft3)
(300–1,200 square meters per cubic meters [m2/m3]) [33]. Increasing the catalyst specific surface
area increases the NOx removal for a given flue gas flow rate. This can be accomplished by
either increasing the catalyst volume, which increases the reactor size, or increasing the pore
space of the catalyst, which generally increases the catalyst cost.
Degree of Mixing
        The reagent must be dispersed and mixed throughout the flue gas to ensure sufficient
contact between the reactants. Mixing is performed by an injection system that injects
pressurized gas-phase ammonia into the flue gas. The injection system controls the spray angle,
velocity, and direction of the injected reagent. Some systems inject the ammonia with a carrier
fluid, such as steam or air, to increase penetration into the flue gas. Injection systems are
application specific. Numeric modeling of the flue gas and reagent flow optimizes the design of
the injection system (see Section 2.2.6).
       Mixing of the flue gas and ammonia occurs before entering the SCR reactor. If mixing is
not adequate, the NOx reduction is inefficient. SCR designs must incorporate adequate duct




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length between the ammonia injection and the reactor inlet to allow for mixing. Mixing patterns
can be improved by
      Installation of static mixers upstream of the reactor;
      Increasing the energy imparted to the injected fluids;
      Increasing the number of injectors and/or injection zones; and
      Modifying the nozzle design to improve the reagent distribution, spray angle, and
       direction.

Stoichiometric Ratio Factor
        The stoichiometric ratio factor (the moles of reagent injected per mole of NOx removed)
defines the quantity of reagent needed to achieve the targeted NOx reduction. Theoretically,
based on reaction equations 2.1(a) and (b), one mole of NO can be removed with one mole of
ammonia and one mole of NO2 can be removed with two moles of ammonia. Since NOx is
mostly comprised of NO (approximately 95%), the theoretical stoichiometric ratio for NOx is
close to 1.05 mole of ammonia per mole of NOx. Hence, SCR systems typically employ a
stoichiometric ratio of 1.05 moles of ammonia per mole of NOx [33]. This assumption of an
almost one-to-one linear relationship between the quantity of reagent and the NOx removed is
good up to about 85% NOx reduction [46]. Above 85%, the removal efficiency begins to level
off and more than the theoretical amount of ammonia is required for additional NOx removal
because of reaction rate limitations. Because capital and operating costs depend on the quantity
of reagent consumed, the stoichiometric ratio factor is an important design parameter that is
determined by the SCR designer.
Inlet NOx Concentration
         The concentration of the reactants also affects the reaction rate of the NOx reduction
process. In general, higher inlet NOx inlet concentrations result in higher NOx removal
efficiencies due to reaction kinetics [33]. However, NOx concentrations higher than
approximately 150 parts per million (ppm) generally do not result in increased performance. Low
NOx inlet levels result in decreased NOx removal efficiencies because the reaction rates are
slower, particularly in the last layer of catalyst [33]. The percent removal efficiency achieved is
dependent on the inlet NOx concentration, so that SCR that follow other NOx controls such as
LNB or FGR may achieve an efficiency less than 90%. In general, though, SCR achieves greater
removal efficiencies than SNCR on sources with low inlet NOx levels, such as natural gas–fired
boilers.
        For a given NOx removal efficiency, higher NOx levels at the SCR inlet require more
catalyst volume. For example, to achieve 90% NOx removal requires 10% more catalyst at an
inlet NOx level of 1.7 lb/MMBtu versus an inlet NOx level of 0.8 lb/MMBtu [53].
Ammonia Slip
        Ammonia slip refers to the excess reagent passing through the reactor. Ammonia in the
flue gas causes a number of problems, which were discussed in Chapter 1, SNCR, including
health effects, visibility of the stack effluent, salability of the fly ash, and formation of



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ammonium sulfates. Limits on acceptable ammonia slip, imposed by either regulatory limits or
design requirements, place constraints on SCR performance.
        Ammonia slip does not remain constant as the SCR system operates but increases as the
catalyst activity decreases. Properly designed SCR systems, which operate close to the
theoretical stoichiometry and supply adequate catalyst volume, maintain low ammonia slip
levels, approximately less than 2 ppm [1]. While ammonia slip levels in operating permits are
typically in the range of 2 to 10 ppm, in actual practice lower slip levels are achieved, and the
slip levels approach permitted levels only when the catalyst is near the end of its service life [1].
Ammonia slip increases with the NSR ratio.8 Ammonia slip monitoring instruments are
commercially available and are in place and operating at a number of coal-fired units. Facilities
typically install ammonia slip monitors between the SCR and the air heater and may measure at
one or several points. These systems monitor ammonia slip and help the unit maintain slip levels
of 2–3 ppmv or less. The capital cost for one ammonia slip monitoring instrument is estimated to
be $40,000 for a single measurement point and up to $70,000 in capital cost for three
measurement points [54]. Another method for quantifying ammonia slip is to determine the
ammonia concentration in collected fly ash [55].
        Raw materials at some cement kilns contain constituents that release ammonia to the kiln
gas stream when heated to high temperature. Some cement plants have ammonia in the kiln
exhaust gas without injecting any ammonia into the gas stream. Therefore, the ammonia slip
from unreacted ammonia injected for SCR is difficult to differentiate from the natural
fluctuations in ammonia in the stack gas. For this reason, it is important to understand the level
of raw material derived ammonia emissions when designing an SCR control system for cement
kilns [94].
Catalyst Activity
        Catalyst activity is a measure of how much the catalyst accelerates the NOx reduction
reaction rate. A higher catalyst activity results in a faster reaction rate and more NOx removal.
Catalyst activity is a function of many variables, including catalyst composition and structure,
diffusion rates, mass transfer rates, gas temperature, and gas composition [56]. As the catalyst
activity decreases, the NOx reduction reaction rate also decreases. This results in lower NOx
removal and higher ammonia slip levels.
         The following equation describes the deactivation of the catalyst activity, K, with
time, t [57]:

                                                K  K o e (t /  )                                   (2.2)

where Ko is the original catalyst activity and  is the catalyst operating life time constant.
Figure 2.4 shows a typical catalyst deactivation curve based on Equation 2.2. As the catalyst
activity decreases, the NOx removal efficiency is usually kept constant by injecting more
ammonia, thereby increasing the ammonia slip. When the ammonia slip reaches the maximum



8   Lewandowski, D. Design of Thermal Oxidation Systems for Volatiles Organic Compounds.


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design or permitted level, the catalyst or a catalyst layer must be cleaned, rejuvenated, or
regenerated, or new catalyst must be installed.
Catalyst Reaction Selectivity
        SCR favors the NOx reduction reaction over competing reactions if the reactants are at
the appropriate temperature and oxygen is present. However, competing reactions still occur, and
the catalyst accelerates these reactions as well. Each catalyst has different chemical reaction
selectivity properties. In general, catalysts promote the formation of two undesirable compounds,
sulfur trioxide (SO3) and nitrous oxide (N2O). SO3 is formed by the oxidation of SO2 to SO3,
which occurs both during combustion of sulfur-containing fuel and over the catalyst. In cement
plant applications, the fuel sulfur is incorporated into the clinker, however, pyritic sulfur
contained in some raw materials is oxidized and released into the kiln gas stream [94]. Sulfur
oxides (SOx) are regulated under the 1990 Clean Air Act. SO3 reacts with ammonia in the flue
gas to form ammonia sulfates. Ammonium sulfur salts deposit on the catalyst and on
downstream equipment such as the air preheaters. SO3 and ammonium sulfate formation is
primarily a concern for higher sulfur coals. Additional costs for air preheater modifications are
included in the cost analysis when the sulfur content of fuel is greater than 2 percent or the SO2
content of the fuel is greater than or equal to 3 lb/mmBtu. Increasing the number of catalyst
layers, while increasing NOx removal efficiency, can also lead to an increase in the conversion of
SO2 to SO3.9 In addition, SO3 emissions cause “blue plume” from the unit and have become an
emissions concern. Newer catalysts, however, have been developed that limit the formation of
SO3 [37], and these catalysts are now commonly used in SCR installations in the U.S. N2O is
both an ozone depleter and a greenhouse gas. N2O has a global warming potential (GWP) of 298
as compared to carbon dioxide (CO2).10




9 U.S. EPA. Federal Implementation Plan (FIP) proposal for the Four Corners Power Plant. 77 FR 51620 (August
  24, 2012). Correspondence between U.S. EPA and Hitachi Power Systems America.
10 It should be noted that EPA issued a final rule on November 29, 2013 that changed the GWP of N2 O to 298 (from
  310) as part of a notice of data availability concerning the Mandatory Greenhouse Gas Rule. The November 29,
  2013 notice can be found in the Federal Register at http://www.gpo.gov/fdsys/pkg/FR-2013-11-29/pdf/2013-
  27996.pdf .


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        Figure 2.4: Typical Catalyst Deactivation per Equation 2.2 with KO = 24.12;  = 55,000

Pressure Loss
        The flue gas pressure decreases as the flue gas flows across the catalyst. The decrease in
pressure is a function of the length of the catalyst and the catalyst configuration. Deposition of
fly ash and other particulates on the catalyst over time increases this pressure drop across the
catalyst. The flue gas pressure can be increased by installing new draft fans or by upgrading
existing fans. To minimize the pressure loss across the catalyst, the SCR reactor ductwork can be
expanded and flow rectifiers and turning vanes can be installed. Pressure loss is of greater
concern in turbine applications, which rely on air flow rather than heat transfer to generate
power.
        Pressure loss may also be an issue in cement kiln SCR applications as the dust loading in
cement kilns can be in excess of 80 g/Nm3 [94]. In addition, cement dust can be sticky, creating
residue buildups that can be difficult to remove, and generally result in higher pressure loss than
observed in other industrial operations. As such, it may require additional catalyst cleaning and
catalysts with larger pitch [94].
Ash Management and Dust Loading
Ash and dust loading in the SCR catalyst may occur from both fuel combustion (e.g. coal) and
raw materials (e.g., cement raw materials) from the process. The amount of ash or dust loading
varies depending on fuel used, source type, and raw material feeds to the process. These
particulates can mask and block the catalyst surface and inhibit the SCR NOx reduction



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efficiency. One source indicates dust loading of 6.7 gr/dscf for a coal-fired boiler (PRB), dust
loading of 4.2 to 15.5 gr/dscf for a typical long wet cement kiln, and 20.1 to 40.2 gr/dscf for a
typical PH/PC cement system [111]. One cement industry preheater kiln in Europe has a dust
loading of 35.0 gr/dscf (80 g/m3) [94].
Catalyst Pitch
        Catalyst pitch is a term used with honeycomb and metal plate catalyst, and it affects the
flue gas velocity in interstitial spaces [33]. As shown in Figure 2.5, pitch (represented as p) is the
width of the catalyst cell plus the cell wall thickness, a. For a given flow rate, wider pitch will
result in lower interstitial gas velocities. Appropriate catalyst pitch is important to ensure that ash
will not deposit and bridge over catalyst cells and pores. Plugging of the catalyst reduces the
effective surface area by decreasing the number of active sites available for the NOx reduction
reaction.
        For high-dust applications, such as cement kilns and coal-fired boilers, catalysts with
larger openings or pitch should be used to reduce the potential for catalyst plugging. However,
the wider pitch reduces the surface area per unit volume, and may necessitate additional catalyst
volume to meet emissions limits for NOx and ammonia slip.




                           Figure 2.5: Pitch for a Honeycomb Catalyst Configuration

SO2 and SO3 Concentrations in Gas Streams
        Sulfur in the fuel forms SO2 during combustion in the boiler, i.e., boiler conversion rate,
and some of the SO2 is further oxidized to SO3 within the boiler. In a coal-fired boiler,
approximately 0.5 to 1.5 percent of SO2 is converted to SO3 at typical combustion temperatures,
however, as the temperature drops more SO3 can be formed.11 Additional SO3 is formed when
SO2 passes through the SCR catalyst (i.e., SCR conversion rate). SCR catalysts can be designed
for ranges of conversion such as 0.2 to 0.8 percent per catalyst layer (for 3 layers of catalyst, this
would result in conversion of 0.6 to 2.4 percent). SO3 will combine with water to form sulfuric
acid (H2SO4) or sulfuric acid mist. Concentrations of SO3 and H2SO4 of 6 to 10 ppm can cause a
visible plume, or a blue plume. [Moretti August 2006]

11   Another source indicates that the amount of SO3 is approximately 0 to 0.2 percent of the total SOx from the
     combustion process. [Ehrnschwender Aug 2008]


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Catalyst Deactivation
        Catalysts lose their activity over time for various reasons. The primary mechanisms for
catalyst deactivation and surface area loss are discussed below.
        Poisoning – Certain fuel constituents that are released during combustion act as catalyst
poisons. Catalyst poisons include calcium oxide, magnesium oxide, potassium, sodium, arsenic,
chlorine, fluorine, and lead. These constituents deactivate the catalyst by diffusing into active
pore sites and occupying them. Catalyst poisoning represents the main cause of catalyst
deactivation. The water soluble alkali compounds are known to react with active catalyst sites
rendering them inert. The form of the alkali metals is important as water soluble alkali metals
have been found to be more detrimental to catalyst activity.
         Arsenic is a concern for boilers that reinject fly ash or burn coals that have moderate to
high arsenic content with a free lime (CaO) concentration in the ash of less than 2 percent. Some
facilities have found it useful to inject limestone into the furnace. The calcium oxide reacts with
arsenic to form calcium arsenate, which affectively removes the arsenic from the gas stream
thereby preventing it from binding to catalyst and rendering them inactive [96]. The activity of
poisoned catalysts may be restored by rejuvenation or regeneration.
        In cement kilns, both the raw materials and the fuels can contain compounds that poison
catalysts, including inorganic compounds of potassium, sodium, and chlorine. Alkali metal
compounds in the raw materials have relatively low melting points and upon reaching the
combustion zone of the kiln will readily volatize. Although these compounds are also found in
coal-fired boilers, they may be present in higher concentrations in cement kiln exhausts [94].
Catalyst poisoning by phosphorus, chromium, and lead compounds is believed to be a lesser
concern for cement kilns than for coal-fired boilers [94]. These compounds are expected to be
present in lower concentrations in cement kiln exhaust gases than is typical of coal-fired boilers
[24, 94]. Arsenic poisoning is not expected to be an issue for cement plants because the high
concentration of CaO should react with any arsenic in the exhaust gas before it reaches the SCR
catalyst [96, 111]. However, high CaO levels combined with high sulfur concentrations can
result in the formation of CaSO4 in cement kilns, which can reduce catalyst activity through
masking [94].
        Thermal Sintering – High flue gas temperatures within the SCR reactor cause sintering,
a permanent loss of catalyst activity due to a change in the pore structure of the catalyst. Thermal
sintering can occur at temperatures as low as 450°F (230°C). The amount of thermal sintering
depends on the composition and structure of the catalyst. Newer catalyst materials are less
susceptible to thermal sintering, which increases their operating life.
        Blinding, Plugging, and Fouling – Ammonia-sulfur salts, fly ash, and other particulate
matter in the flue gas cause blinding, plugging, or fouling of the catalyst. The particulate matter
deposits on the surface and in the active pore sites of the catalyst. This results in a decrease of the
number of sites available for NOx reduction and an increase in flue gas pressure loss across the
catalyst.
        Erosion – Impingement of particulate matter and high interstitial gas velocities erode the
catalyst material. Catalysts with hardened leading edges or increased structural strength are less



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susceptible to erosion. However, increasing catalyst strength through hardening reduces the
number of active pore sites.
        Aging – Catalyst aging is a change in the physical and chemical properties of the catalyst
pores that occurs over time.
        A number of measures can be taken to decrease the rate of deactivation and deterioration
of the catalyst. These measures are discussed below.
       Catalyst Formulation – Each catalyst formulation has different physical and chemical
properties. Catalyst formulations with the following properties will have decreased deactivation:
      Increased activity per unit volume;
      Greater thermal resistance;
      Chemical and physical resistance to poisons;
      Wider thermal operating range;
      Greater structural strength and hardened leading edges; and
      Lower interstitial velocities (i.e., wider catalyst pitch).

        To obtain the optimal catalyst formulation and SCR design for an application, the catalyst
supplier and SCR vendor should be informed of the fuel and raw material constituents, such as
sulfur, chlorine, fluorine, alkali metals, lead, arsenic, and trace metals. The SCR must be
designed to operate for the full range of values for the constituent concentrations, therefore, the
ranges of these data should be provided to the catalyst supplier. These constituents can be
determined by chemical analyses. The associated analytical data can then be used to modify the
catalyst composition, determine the appropriate catalyst volume, predict catalyst regeneration
and replacement schedules, and design the SCR reactor components.
        Soot Blowers and Sonic Horns – Deposits on the surface of the catalyst can be
dislodged by soot blowers, which are generally installed between each catalyst layer and
operated on a periodic basis, such as once a week. For some higher dust SCR systems, e.g., in the
cement industry, more frequent and even continuous catalyst cleaning may be needed. A sonic
horn is another option that prevents accumulation of ash deposits on the catalyst surface. A sonic
horn may operate at a typical frequency of 10 seconds every 10 minutes [37].
        Turning Vanes and Rectifier Grids – Particulate matter can be removed from the flue
gas by gas-flow turning vanes and flow rectifier grids near the front of the catalyst layer.
Particles impact the surface of the vanes or grid and fall out of the flue gas stream. In addition to
removing particles, turning vanes and flow rectifier grids decrease the linear velocity of the flue
gas and align its vector with the flow path of the catalyst.
Catalyst Management Plan
        Catalyst deactivation is an inherent part of the SCR process. As the catalyst activity
decreases with time, the NOx reduction reaction rate decreases and ammonia slip increases.
When the ammonia slip level reaches the design limit, the catalyst must be replaced with
regenerated catalyst or new catalyst must be added. The catalyst life is the time the catalyst
activity for a given catalyst volume (layer volume) maintains ammonia slip below the design


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limit. Currently, vendor-guaranteed life for a catalyst layer in coal-fired applications is typically
three years [51], and actual catalyst layer lifetimes in such applications are often in the 5 to 7
year range, depending on the condition of untreated flue gas [33]. Gas- and oil-fired applications
experience even longer catalyst layer lifetimes.
        A catalyst management plan (CMP), as described in a “saw-toothed” graphic shown in
Figure 2.6, schedules periodic replacement of catalyst to maintain ammonia slip limits (this CMP
has a maximum ammonia slip design value of 2 ppm [58]). In the past, CMP descriptions
focused mainly on the catalyst replacement schedules; however, today, a CMP is a
comprehensive catalyst management strategy that incorporates both SCR equipment
management and catalyst management, along with attention to changes in regulatory
requirements. This more comprehensive approach is needed with the move to year-round
operation of SCRs for facilities that operate continuously. While operation of SCR for
compliance with the NOx SIP Call (1998) requirements typically called for ozone season
operation only, year round operation is necessary to comply with more recent regulations (e.g.,
The Clean Air Interstate Rule (CAIR), 1999 Regional Haze Rule, an Ozone Transport
Commission (OTC) initiative, and state rules such as the North Carolina (NC) Clean
Smokestacks Rule that took effect in 2009 and the Texas requirements for the Houston area), to
generate NOx credits, or to comply with settlement agreements with the U.S. EPA and
Department of Justice. Continuous, ongoing collection and documentation of data on plant
loading and cycling, fuel demands and variation, and ongoing NOx performance and SO2
conversion, which can then be compared to catalyst activity data, is conducted to create the plant
operating history. Some companies have developed computer software that collects these data
and optimizes the costs for catalyst replacement options. In general, an annual SCR system
inspection is conducted on the catalyst, the reactor, and the complete NH3 storage and injection
system. Inspection of the catalyst includes a physical inspection along with catalyst sampling and
analysis on a bench-scale reactor for activity, SO2 to SO3 conversion rate, and pressure drop for
each catalyst layer. Annual ammonia injection grid (AIG) tuning and optimization is also
conducted to ensure uniform flow rate/velocity and uniform NH3/NOx molar distribution. Poor
distribution of the NH3/NOx decreases the NOx reduction and increases the NH3 slip [59]. In situ
measurements of the catalyst activity have been developed, where NO analyzers installed before
and after the catalyst layer and a small supplemental ammonia controller allow increases in the
NH3/NOx ratio and measurement of inlet and outlet NOx samples, contained to a small area of
the catalyst. In situ catalyst activity measurements may be important for year-round operation of
SCR units [60].




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                         Figure 2.6: Typical Catalyst Management Plan [61]

         Most CMPs call for the SCR reactor design to provide two or more layers filled with
catalyst and one or more empty or spare catalyst layers (often called “2:1” design). When the
initial catalyst layers deactivate to the point where ammonia slip reaches the maximum design
value, the facility typically adds catalyst to the empty layer. Catalyst addition is managed so that
the total catalyst activity of all the layers (the two or three older catalyst layers plus the new
catalyst layers) is sufficient to meet the ammonia slip requirement for a relatively long period of
time. As the catalyst continues to deactivate, ammonia slip begins to rise again. When ammonia
slip again reaches the maximum design value, one of the older catalyst layers is removed and
replaced. The catalyst analysis data identifies which layer should be replaced. With advances in
catalyst regeneration, part of a comprehensive CMP is determining whether the catalyst can be
regenerated or whether new catalyst must be used. Before a regeneration process is planned, the
process should be prequalified on a catalyst sample. If additional catalyst capabilities are needed,
review of recent catalyst technology advances for newer catalysts that achieve mercury
reductions, lower SO2 conversion rates, and lower load and temperature operation is advised,
although some regeneration processes may offer improvements with these catalyst capabilities as
well. Typically, the addition and replacement of catalyst layers is coordinated with plant outage
periods if at all possible, and outage frequency should be considered in conjunction with the risk
considerations for replacing sooner rather than later [59]. There would likely be additional costs



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or impacts (e.g., due to lost generation or production) if a facility is unable to coordinate with
planned unit outages.
        In the past, catalyst cost was a significant portion of the annual cost of operating an SCR
system. Under the latest operating approaches that involve using a CMP, only a fraction of the
total catalyst inventory, rather than the entire volume, is replaced at any one time. This
distributes the catalyst replacement costs more evenly over the lifetime of the system, and use of
regenerated catalyst may also reduce the overall annual costs [59]. For applications with higher
dust loading, such as the dust loading typical for cement kilns, the catalyst management plan
may include more frequent catalyst replacement and regeneration schedules than would be
typical for low-dust applications.
2.2.3 SCR System Configurations
        Electric utility and large industrial boiler applications implement several different SCR
system configurations, including high-dust, low-dust, and tail-end arrangements. In a 1997
report, the SCR configurations were reported as 88% high-dust SCR, 6% low-dust, and 6% tail-
end [62].12 More recently for the U.S, it was reported that most SCR configurations are high
dust, only one facility has a low-dust SCR, and no tail-end SCR operate in the U.S. [52]. High-
dust is generally considered the most economical and straightforward design provided sufficient
space is available to construct the SCR close to the economizer and air pre-heater. Boiler units
with space constraints must consider low-dust and tail-end SCR designs. SCR configurations for
gas turbine applications depend on the type of engine cycle, such as combined-cycle or simple
cycle. The various configurations for boilers and gas-fired turbines are discussed below. In
addition, there are two different SCR reactor designs, full SCR and in-duct SCR, which are also
discussed.
High-Dust SCR
        Figure 2.7 shows a high-dust SCR system for coal-fired boiler applications. The SCR
reactor location is downstream of the economizer and upstream of the air heater and particulate
control devices. The flue gas temperature in this location is usually within the optimal
temperature window for NOx reduction reactions using metal oxide catalysts. In this
configuration, however, the flue gas contains particulates when it enters the SCR reactor.
        Coal-fired boilers generally use a vertical SCR reactor, where the flue gas flows
downward through the catalyst. The reactor generally contains multiple layers of catalyst. The
volume of catalyst required varies with each installation, as discussed previously. Soot blowers
or sonic horns are installed to remove particulates from the catalyst surfaces. For designs that use
a honeycomb catalyst, the catalyst pitch is typically about 7–9 mm (compared with 3–4 mm for
gas-fired boilers) to allow easy passage of ash particles without deposition and ease of cleaning
with soot blowers or sonic horns. To obtain uniform gas flow and remove particulates, high-dust
SCR designs usually include turning vanes and a flow-rectifying grid in the ductwork prior to the
reactor. High-dust SCR typically require 3 or 4 layers of catalyst [52].



12   In a 2006 report, one utility/vendor reported that of their 24 SCRs, 71% were high-dust, 4% were low-dust, and
     25% were tail-end [63]. These data are from a single vendor; the data above in the text represent multiple vendors.


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        A hopper at the bottom of the SCR reactor collects ash and particulates separated from
the flue gas stream. The hopper outlet connects to the plant fly ash handling system for periodic
removal of the accumulated ash. Flue gas exits the reactor via an opening at the top of the hopper
and is directed to the air heater inlet. Some designs eliminate the need for hoppers by keeping
flue gas velocities high enough in these areas that fly ash remains entrained in the flue gas.
       Natural gas–and distillate oil–fired boilers generate flue gas that is relatively free of dust
and SO2 (for low-sulfur oil). Consequently, SCR systems for these boilers place the reactor
upstream of the air heater, in the high-dust SCR configuration.




                            Figure 2.7: High-Dust SCR Arrangement [42]

Low-Dust SCR
        Coal-fired units with an ESP located upstream of the air heater (hot-side ESP) typically
use a low-dust SCR configuration. Figure 2.8 shows a low dust configuration, which locates the
SCR reactor downstream of the ESP. In this location, the flue gas is relatively dust free. The ash
removed by the ESP typically contains arsenic, alkali metals, and other constituents that are
detrimental to catalyst performance and life.
        A low-dust SCR system increases catalyst life by mitigating concentrations of
particulates and catalyst poisons in the SCR reactor. In addition, low-dust SCR configurations do
not need ash hoppers. For designs employing honeycomb catalyst, the catalyst pitch can be
reduced to approximately 4–7 mm, resulting in lower catalyst volume. Low-dust SCR typically


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requires only 2 layers of catalyst [52]. Longer catalyst life, lower catalyst volume, and the
elimination of the ash hopper mean lower costs for low-dust SCR compared to high-dust
configurations. The only disadvantage of low-dust SCR is the temperature drop of the flue gas as
it flows through the ESP. Flue gas temperatures generally do not decrease to the point where
reheating is required. However, an increase in the size of the existing economizer bypass duct
may be required to maintain the flue gas temperature within the optimal range.
        In the low-dust SCR installed at a U.S. cement kiln in 2013, the gas stream passes
through a hot electrostatic precipitator to remove the majority of the dust prior to entering the
SCR. The gas stream exiting the SCR may then pass through a second, more efficient particulate
control device to remove the remaining particulate to acceptable emissions rates.




                            Figure 2.8: Low-Dust SCR Arrangement [42]

Tail-End SCR
        The tail-end SCR configuration places the SCR reactor downstream of all air pollution
control equipment installed on a unit. Figure 2.9 depicts a tail-end system for a plant with a
particulate control device and a wet FGD system. The air pollution control equipment removes
most flue gas constituents detrimental to SCR catalysts before the flue gas enters the SCR
reactor. The tail-end SCR configuration is often a technically feasible alternative for situations
where the high-dust SCR configuration is impractical [100].
        Because the flue gas temperature at the tail end is below the range required for the
NH3/NOx reaction, the flue gas must be reheated. Tail-end SCR systems use oil- or natural gas–
fired duct burners or steam coil gas heaters for reheating. Some of the energy used to reheat the
gas is recovered in a recuperating gas-to-gas heater. Some use catalysts specially designed for



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temperatures between 300 – 550oF and low pressure drops, which lowers the costs flue gas
reheating [103, 106, 107].
         A tail-end system may have higher capital and operating costs than the other SCR
systems because of the additional equipment and operational costs associated with flue gas
reheating and heat recovery. However, these costs are in part offset by reductions in catalyst
costs. . Tail-end units require less catalyst because they can use catalysts with smaller pitch and
higher surface area per unit volume. Tail-end SCR typically require only 2 layers of catalyst
[52], although some use four half-layers of catalyst to allow for greater flexibility for catalyst
replacement [101]. In addition, because there is less fly ash, catalyst poisons, and SO2 in the flue
gas for tail-end units, the catalyst lifetime is significantly increased and less expensive catalyst
may be used [52]. Some sources have reported catalyst lifetimes for tail-end SCRs to be over
100,000 hours [52, 100, 101]. The tail-end SCRs may also have longer lifetimes due to the lower
operating temperatures and lower levels of dust and SO3.
        Tail-end SCRs have been used since the late 1980s and were initially used on coal-fired
power plants. They are currently used at a variety of different applications in Europe, Japan, and
the U.S., including power plants, incinerators, refinery crackers, cement plants, and ethylene
crackers [100, 101]. They have been installed on units burning a wide range of fuels, including
fuels of variable composition, such as biomass (including wood waste and chicken litter),
hazardous waste, municipal waste, and wastewater sludge [104, 105]. They are often easier and
less complex to install than the high-dust and low-dust SCR configurations for retrofit situations
and can be installed with less disruption to production. The tail-end SCR configuration has been
used in many retrofits of existing power plants in Europe. In some situations, particularly where
combustion units have space constraints, the capital cost for retrofitting high-dust SCRs may be
higher than for tail-end SCR [52]. Modular tail-end SCR systems are also available that are
designed to be installed with minimal plant disruption [102].
         One other major advantage of the tail-end SCR configuration is that its preheater enables
the SCR to operate independently of the combustion unit. This arrangement enables greater
operating flexibility, allowing the combustion unit to operate in a wider range of operating loads
and fuel types [100]. Because tail-end units follow the ESP and wet scrubber, the flue gas has
cooled and must be reheated to an appropriate temperature for the NOx reaction to occur in the
SCR. For tail-end units, the flue gas is typically sent through a gas-gas heat exchanger and then
to either a natural gas-fired duct burner or steam coil to heat to the appropriate SCR operating
temperature. Most tail-end SCR in Europe use steam coil reheating, which has advantages over a
duct burner such as lower operating cost, no increase in flue gas flow rate from combustion
byproducts, and no moisture condensation on the SCR catalyst.13




13    A case study for a tail-end SCR achieving 84 percent NOx removal efficiency on a 600 MW boiler burning
     bituminous coal indicated annual reheating cost for steam coil of $2.5 million/yr and for natural gas burner of $12
     million/yr (2008$) (assuming approximately $4/1000 lb steam and $8/1000 sft 3 natural gas) [52]. For
     comparison, the annual reheating cost for natural gas burner would be $7.8 million/yr (assuming approximately
     $5/1000 sft3 natural gas).


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                            Figure 2.9: Tail-end SCR Arrangement [42]

Gas Turbines
         Natural gas–fired turbine applications frequently use SCR technology for post-
combustion NOx control. There are two basic gas turbine configurations: combined cycle
(cogeneration cycle) and simple cycle. The majority of SCR systems are installed as combined
cycle applications. As shown in Figure 2.10, a typical combined-cycle SCR design places the
reactor chamber within a cavity of the heat recovery steam generator system (HRSG), between
the superheater and the evaporator. The flue gas temperature in this area is within the operating
range for base metal catalysts. Most new HRSG units include a cavity designed to accommodate
an SCR reactor. However, older HRSG units may not have sufficient space to house the SCR
reactor within the HRSG. In these cases, a low-temperature SCR reactor may be installed after
the HRSG. The high temperature SCRs used on simple-cycle turbines are generally not
retrofitted to combined cycle turbines equipped with HRSG due to lack of space between the
turbine and the HRSG [95, 96, 97]. Simple-cycle applications of SCR place the reactor chamber
directly at the turbine exhaust, where the flue gas temperature is in the range of 850°F to 1000°F
(450–540°C). This requires the use of a high-temperature catalyst such as zeolite [42].




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                 Figure 2.10: SCR Arrangement for a Combined-Cycle Gas Turbine [42]

Cement Kilns
        SCR systems applied to cement kilns can have “tail-end”, “low-dust”, or “high-dust”
configurations. Because of the potential for catalyst plugging, the “high-dust” configuration on
cement kilns require catalyst cleaning mechanisms. The “low dust” and “tail-end” configurations
avoid the costs of catalyst cleaning systems. Currently, three “high-dust” SCR systems14, three
“low-dust” SCRs15, and one “tail-end” SCR16 are known. The “high-dust” SCRs reportedly
achieve control efficiencies of approximately 80% with inlet dust loading of up to 100 g/m3. The
“low-dust” SCRs are reported to have dust loadings less than 20 mg/m3, while the inlet dust
loading for the “tail-end” SCR is reported to be less than 10 g/m3 [94, 98, 99]
SCR Reactor Designs
        The reactor design affects the capital and operating costs of the SCR system and the
CMP. There are two different types of SCR reactors: full SCR and in-duct SCR. Full SCR
designs house the catalyst in a separate reactor chamber. The boiler flue gas must be ducted from
the economizer outlet to the SCR reactor, then to the air heater inlet. A separate reactor allows a
large volume of catalyst to be installed in layers, which increases NOx reduction and catalyst
lifetime. It also increases the duct length available for the mixing of reactants before entering the

14 The first “high-dust” configuration SCR was installed on a preheater cement kiln at the Solnhofer Zementwerkes
  in Germany in 2001 and operated until 2006. Two other “high-dust” SCRs have been installed on preheater
  cement kilns at the Cementeria di Monselice plant in Bergamo, Italy in 2006 and the Mergelstetten plant in
  Germany in 2010.
15 “Low-dust” configuration SCRs have been installed at the Sarche plant in Italy (2007), the Mannersdorf plant in
  Austria (2012), and the Joppa plant in the USA (2013). The Mannersdorf SCR is installed on a preheater cement
  kiln, while the Joppa SCR is installed on a long dry kiln. Both plants use an electrostatic precipitator to reduce
  particulate emissions entering the SCR. The Sarchi SCR is installed on a small Polysius Lepol kiln with no
  particulate controls, but low dust loading (reportedly less than 15 g/m 3).
16 The Rohrdorf plant in Germany installed a “tail-end” SCR in 2011 on a preheater kiln.



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reactor chamber. However, a separate reactor requires a large amount of space adjacent the boiler
to install the reactor and ductwork. The additional ductwork often necessitates upgrades to the
draft fan system.
        In-duct (inline) SCR systems house the reactor within the plant’s existing ductwork rather
than in a separate reactor chamber. The ductwork is generally enlarged to provide sufficient
room for the catalyst. In-duct systems save on costs for the ductwork, reactor chamber, and
induced draft (ID) fan. In-duct designs limit catalyst volume and mixing length; therefore, they
are commonly used in conjunction with other NOx control technologies [41]. Catalyst erosion is
generally higher for in-duct systems. Installation and maintenance of in-duct systems typically
require more boiler outages. Natural gas–fired boilers, which have low catalyst volumes,
frequently employ in-duct systems. Coal-fired boilers frequently employ full SCR reactors but
may apply in-duct SCR reactors where space limitations restrict the installation of a full reactor
[41]. Cement kilns have also used full scale SCR reactors, rather than in-duct SCRs. The SCRs
used for cement kilns have typically consisted of multiple catalyst layers and extensive catalyst
cleaning systems. For example, the SCR systems installed at the Solnhofen cement plant in
Germany and the Cementeria di Monselice plant in Italy used reactors with six catalyst layers,
although only three layers were in use at a time [94].
2.2.4 SCR System Primary Equipment
       The majority of SCR designs use Thermal DeNOx®, an ammonia-based NOx reduction
system developed and patented by Exxon Research and Engineering Company in 1975. An SCR
system consists of five basic steps:
      Receive and store the ammonia (or the urea reactant, followed by onsite ammonia
       production);
      Vaporize the ammonia and mix it with air;
      Inject the ammonia/air mixture at appropriate locations;
      Mix the ammonia/air with flue gas; and
      Diffuse the reactants into the catalyst and reduce the NOx.

        Although the basic steps in an SCR system are similar for all configurations, the system
design and equipment specifications are somewhat different. A discussion of the SCR system
design and equipment is given below for an ammonia reagent, high-dust, full reactor SCR for a
120 MW (approximately 1,200 MMBtu/hr) coal-burning utility boiler. These discussions are also
pertinent to industrial applications. For example, cement kilns operating in the high-dust
configuration would also require catalyst cleaning equipment [94]. The SCR process steps,
related auxiliary equipment, and the potential impacts of SCR operation on existing plant
equipment are also discussed. Simplified system flow schematics are presented in Figure 2.1 and
Figure 2.7, and a list of equipment is presented in Table 2.3.




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                        Table 2.3: Major Equipment List for an SCR Application
                     Item                                          Description/Size
 SCR reactors (1–2)                   Vertical flow type, 805,000 acfm capacity, 44 ft × 44 ft × 31 ft. high
                                      (excluding outlet duct and hoppers), equipped with 9,604 ft 3 of ceramic
                                      honeycomb catalyst, insulated casing, soot blowers or sonic horns,
                                      hoppers, and hoisting mechanism for catalyst replacement
 Anhydrous ammonia tank (1 or more)   Horizontal tank, 250 psig design pressure, storage tanks 15,000 gal, 34-
                                      ton storage capacity
 Air compressor (2)                   Centrifugal type, rated at 3,200 acfm and 30 hp motor
 Vaporizers (2)                       Electrical type, rated at 80 kW
 Mixing chamber                       Carbon steel vessel for mixing or air and ammonia
 Ammonia injection grid               Stainless steel construction, piping, valves and nozzles
 Ammonia supply piping                Piping for ammonia unloading and supply, carbon steel pipe: 1.0-inch
                                      diameter, with valves and fittings
 Soot blowing steam                   Steam supply piping for the reactor soot-piping blowers, 2-inch diameter
                                      pipe with an on-off control valve and drain and vent valved connections
 Air ductwork                         Ductwork between air blowers, mixing chamber, and ammonia injection
                                      grid, carbon steel, 14-inch diameter, with two isolation butterfly dampers
                                      and expansion joints
 Flue gas ductwork                    Ductwork modifications to install the SCR modifications reactors,
                                      consisting of insulated duct, static mixers, turning vanes, and expansion
                                      joints
 Economizer bypass                    Ductwork addition to increase flue gas temperature during low loads
                                      consisting of insulated duct, flow control dampers, static mixers, turning
                                      vanes, expansion joints, and an opening in the boiler casing
 Ash handling                         Extension of the existing fly ash handling modifications system:
                                      modifications consisting of twelve slide gate valves, twelve material
                                      handling valves, one segregating valve, and ash conveyor piping
 Induced draft fans                   Centrifugal type, 650,000 acfm at 34 inches water gauge (in. w.g.) and
                                      4,000 hp motor
 Controls and instrumentation         Stand-alone, microprocessor-based controls for the SCR system with
                                      feedback from the plant controls for the unit load, NOx emissions, etc.,
                                      including NOx analyzers, air and ammonia flow monitoring devices,
                                      ammonia sensing and alarming devices at the tank area, and other
                                      miscellaneous instrumentation
 Electrical supply                    Electrical wiring, raceway, and conduit to connect the new equipment and
                                      controls to the existing plant supply systems
 Electrical equipment                 System service transformer OA/FA/-60 Hz, 1,000/1,250 kVA (65°C)
 Foundations                          Foundations for the equipment and ductwork/piping, as required
 Structural steel                     Steel for access to and support of the SCR reactors and other equipment,
                                      ductwork, and piping



Reagent Production, Storage, and Vaporization
       As discussed previously, one of several reagents may be used in an SCR system,
including anhydrous ammonia, aqueous ammonia, or urea. In the past, reagents have typically
been purchased and stored before vaporization and use in the SCR. Ammonia (both anhydrous
and aqueous) is the type of reagent most often used in SCR systems. Of about 230 utility boilers
for which reagent type was reported in response to a survey in 2009, about 80 percent used



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ammonia, and 20 percent used urea [4]. Urea reagent is mostly used in SNCR systems [65],
however, U.S. cement plants typically use 19% aqueous ammonia for SNCR systems and likely
would use the same reagent for SCR applications. Another option that some facilities have
recently adopted is to produce ammonia onsite from urea feedstock. The onsite ammonia
production system may reduce or eliminate ammonia shipping, handling, and onsite storage.
Load following by the onsite ammonia production system is extremely important for the proper
operation of the SCR.
         Several of the pros and cons of each ammonia system are shown in Table 2.4. In general,
anhydrous ammonia is the least costly reagent; however, plant personnel and community safety,
permitting, and other hazard planning concerns associated with its use may make this option less
attractive and add to its cost. Aqueous ammonia is typically higher cost, given the energy
required to vaporize or decompose the reagent, although some facilities have chosen this option
over anhydrous ammonia to avoid some of the safety and planning concerns for anhydrous
ammonia [37]. In general, as ammonia consumption increases, onsite urea-derived ammonia
production is the most economical, while for lower consumption rates, aqueous ammonia may be
the preferred economic option. For year-round operation, onsite urea-derived ammonia systems
become economically competitive with 29% aqueous ammonia for plants around 800 MW and
larger. For ozone season operation, onsite urea-derived ammonia systems become competitive
with 29% aqueous ammonia at a plant size of 1,300 MW and larger [65]. The total cost of an
SCR system with an onsite urea-derived ammonia system is approximately 2 to 5% more than an
SCR system based on anhydrous NH3 [10]. Another source reported a capital cost of $24 million
for its onsite urea-derived ammonia system for a 1,300 MW unit delivering approximately 7,000
lb/hr NH3, with a total capital investment of $175 million for the SCR system (not including the
ammonia system) [66].
                      Table 2.4: Comparison of Ammonia Delivery Systems [65]
      Measure             Anhydrous NH3       Aqueous 19% NH3          Aqueous 29% NH3        Urea-derived NH3
 Risk level             Highest safety,       Lower safety,            Lower safety,         Lowest safety,
                        hazard, permitting,   hazard, permitting,      hazard, permitting,   hazard, permitting,
                        and regulatory        and regulatory           and regulatory        regulatory issues
                        issues                issues                   issues
 Energy                 Lowest energy use     High energy use          Medium energy use     Not known
 Product deliveries     Fewest product        Large number of          Medium number of      Not applicable
                        deliveries            product deliveries       product deliveries
 Capital cost           Low capital cost      Low capital cost         Low capital cost      Highest capital cost
 Annual cost            Lowest annual cost    High annual cost         Medium annual cost    Medium annual cost


       Aqueous ammonia is typically available as a 19–29.4% solution in water. Anhydrous
ammonia is nearly 100% pure ammonia and stored as a liquid under pressure. Table 2.2 presents
the properties of aqueous (29%) and anhydrous ammonia.
        If facilities receive anhydrous or aqueous ammonia from offsite, it is received via a tank-
truck or rail car and pumped into one or more storage tanks. Ammonia is typically stored as a
liquid in horizontal cylindrical tanks. An aqueous ammonia tank is an enclosed tank rated for
only slightly elevated pressure, while an anhydrous ammonia tank is a pressure vessel rated for at
least 250 pounds per square inch gauge (psig). An anhydrous ammonia tank can be filled to only
about 85% of its total volume to allow for a vapor space above the liquid level. The tanks are


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equipped with level and temperature indicators; a manway, vent, and access ladder; and other
appurtenances. The applicability of heat tracing, insulation, and seismic design criteria are
determined based on site-specific conditions. The tank should be mounted on a concrete pad and
surrounded by a spill containment structure such as a dike.
        SCR applications on large boilers generally require one to five tanks with volumes
ranging from 10,000 to 20,000 gallons per tank to maintain sufficient volume for 1–3 weeks of
SCR operations. The ammonia storage tank may be sized for 3–30 days of storage. The high end
of the range would be used in conservative design practice. Alternatively, if ammonia
distributors are located nearby and considered reliable, the plant owner might opt for a smaller
tank, sized for fewer days of ammonia storage.
        Aqueous ammonia is vaporized by pumping it to a vessel where it mixes with hot air. The
air from the dilution air fan is heated in an electric heater or other heat exchanger (e.g., steam). In
most aqueous ammonia applications, the ammonia-air mixture leaves the vaporizer vessel at
about 300°F (150°C). The vaporization energy required for aqueous ammonia is much greater
than that required for anhydrous ammonia because the water in the aqueous ammonia solution
also must be vaporized.
       If anhydrous ammonia is used, it is fed to the electrical vaporizer by gravity, and the
vaporized gas is returned to the storage tank vapor space. Vapor is drawn from the vapor space
and piped to the ammonia/air mixer. Alternatively, liquid anhydrous ammonia may be pumped to
a vaporizer and piped to the ammonia/air mixer.
        Ammonia (aqueous or anhydrous), diluted with air at a ratio of about 20:1 (air:NH3), is
transported to the ammonia injection grid. The high proportion of air helps ensure good mixing
of air and ammonia and keeps the mixture below the flammable limit.
Onsite Urea-Derived Ammonia Production
         Use of onsite ammonia production systems for feed into SCR reactors has increased,
mostly as a result of safety concerns [37]. Several process types can produce ammonia from
urea, including (1) systems that hydrolyze an aqueous urea solution to form ammonia and carbon
dioxide (and water); (2) systems that melt solid urea and mix the liquor with steam, where it
reacts the melted urea across a catalyst to form ammonia, carbon dioxide, and water vapor; and
(3) systems that atomize an aqueous urea solution in a decomposition chamber containing a hot
air stream or flue gas stream at 800–1200°F (430–650°C) to form ammonia and isocyanic acid
(NHCO) [37]. The capital costs of these systems vary with design [37]. Urea feedstock is
available in solid form or as urea solution in deionized water [65]. Almost all urea-to-ammonia
systems use solid urea [65]. Urea-to-ammonia systems typically include dry urea unloading
equipment, storage silo, dissolving tank using deionized water, feed tanks, feed pumps, a
solution heater, and a hydrolyzing reactor or decomposition chamber, depending on the type of
process used [65]. Descriptions of two types of these systems are provided.
        One of the urea-derived ammonia production systems converts urea by thermal
hydrolysis to ammonia, carbon dioxide, and water vapor. As shown in Figure 2.11, the system
consists of urea storage, handling, and dissolvers; a reactor feed tank; circulation; feed pump;
condensate skids; a hydrolysis reactor; and ammonia flow control units. In the urea solution
preparation, dry urea is fed batch-wise from delivery trucks directly to the dissolver along with


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deionized water, and the urea solution is stored. In the solution feed and control system, urea
solution is transferred to the reactor feed tank, and the feed pump meters the urea solution to the
reactor, which is heated using steam. The hydrolysis reactor is a kettle-reboiler type heat
exchanger that operates at 80 psig and at a temperature in the range of 280 to 310°F (140–
150°C). The urea-to-ammonia reaction occurs in two steps: the first reaction produces
ammonium carbamate (NH4COONH2) from urea and water, and the ammonium carbamate
breaks down into carbon dioxide and ammonia in the presence of heat. The temperature of the
reactor drives the rate of ammonia production. Trace amounts of formaldehyde are present when
formaldehyde-conditioned urea is used as feedstock; operating the hydrolysis reactor at a pH of 9
or higher limits formation of urea formaldehyde polymeric resins that can deposit on the reactor
[67].
        One of the urea-derived ammonia production systems decomposes urea to generate
ammonia that is fed to the AIG, as shown in Figure 2.12. The system consists of a blower,
decomposition chamber, urea storage, chemical pumping system, and process controls. In the
urea storage and pumping system, dry urea from the storage tank is mixed in a solution tank with
water and transferred to an aqueous urea solution storage tank. Filtered ambient air is fed into the
decomposition chamber through the use of a blower with automatic dampers to control discharge
flow and pressure. In the chamber, a burner is fired downstream of the dampers, and an aqueous
urea solution that is supplied by the storage and pumping system is sprayed into the post
combustion gases by injectors. The decomposition occurs under a specific temperature and
residence time, with the decomposition temperature ranging from 600 to 1000°F (320–540°C),
and the urea is decomposed to ammonia and isocyanic acid. The outlet ammonia stream from the
decomposition chamber feeds into the AIG system for the SCR [68].




       Figure 2-11: Urea-Derived Ammonia Production System Using U2A system [65]
   Used by permission of R. Salib of URS Washington Division (formerly Washington Group International).




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      Figure 2.12: Urea-Derived Ammonia Production System Using NOx ULTRA System [68]
                        Used by permission of K.R. Dougherty of Fuel Tech, Inc.

Ammonia Injection
       For aqueous, anhydrous, or urea-derived ammonia, the ammonia-air mixture is directed
through a flow-balancing skid to the AIG, where it is injected under pressure. The flow-
balancing skid consists of flow meters and manual valves to adjust the flow to each part of the
AIG.
        The AIG consists of a network of pipes or lances connected in parallel and perforated
with several holes or nozzles. The lances are placed in a grid formation across the width and
height of the ductwork. The lances and holes are sized to distribute the ammonia uniformly into
the flue gas. The spray angle and velocity of the injection control the trajectory of the ammonia.
Injectors are subject to high temperatures and flue gas impingement, which cause erosion,
corrosion, and degradation of structural integrity. Therefore, injectors are generally constructed
of stainless steel and designed to be replaceable. Multiple injection zones may be used to
increase the distribution of ammonia.
         The ammonia can be injected with a low- or high-energy system. A low-energy system
uses little or no pressurized air while a high-energy system uses large amounts of compressed air
or steam to inject and vigorously mix the solution with the flue gas. AIG systems in large boilers
typically use high-energy systems. High-energy systems are more expensive to build and operate
because they require a larger compressor and a more robust injection system, and consume more
electric power.




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        Uniform distribution and mixing with flue gas is critical to maintain desired low levels of
ammonia slip. Cold gas flow modeling and numerical flow modeling are generally performed for
the AIG and SCR system to ensure uniform mixing and dispersion before the gases enter the
SCR reactor. If duct length is inadequate to ensure thorough mixing or results from the model
study indicate poor gas mixing characteristics, devices such as turning vanes or static gas mixers
may be added.
        An essential part of an AIG system is the controller used to regulate ammonia injection.
Boiler load, inlet NOx, and inlet gas temperatures set the feed-forward signal to establish the base
ammonia injection rate. A feedback signal measuring the SCR outlet NOx concentration is used
to trim the base ammonia injection rate.
        Although not necessarily required to achieve high NOx removal efficiencies and low
ammonia slip, most SCR installations today employ some type of static mixer to achieve good
NH3/NO mixing [37]. Static mixers provide a more uniform flux of NOx and more uniform
temperature and mixing of NH3 and NO [37]. For example, achieving 90% NOx removal and a 2-
ppm ammonia slip typically requires NH3/NO uniformity less than 5% and perhaps as low as
3%, as measured on a root mean square basis, and static mixers enable the SCR to achieve these
levels [37]. The costs for static mixers vary (e.g., a 500 MW unit may have an installed cost of
$750,000 and an additional 1 in. w.g. of flue gas pressure drop) [37]. One specific type of static
mixer is the Delta WingTM mixer, which consists of an obstruction in the duct, usually a
stationary disk or triangular plate, oriented at a slant to the flow direction. The Delta Wing mixer
creates large vortices downstream of the device, which promotes mixing to a more homogenous
gas. The ammonia injection nozzles are located in the vortex zone immediately downstream of
the mixer [69]. The Delta Wing mixer costs for installing a new SCR typically are less than
$500,000 and include the capital costs for the mixer and the modeling necessary to determine the
location for maximum mixing effects. For an existing SCR that was installed without a static
mixer, the costs to install the Delta Wing mixer, including capital, modeling, and other retrofit
costs, could be up to $1,000,000 [70].
        Another approach that may help retain good NH3/NO uniformity is to conduct an annual
tuning of the AIG, which can improve the NH3/NO mixing (reduces NH3/NO “unmixedness” by
2–5% on a root mean square basis) [37]. Data have shown that the ability of the AIG to achieve
good mixing can decline over time and that annual tuning can return the AIG to startup or near-
startup mixing uniformity [37]. Annual AIG tuning can cost from $30,000 to $50,000 depending
on the unit size [37]. Depending on the type of mixer used, annual tuning may not be necessary,
because some static mixers combine gas mixing and reagent injection in one application, with no
moving parts in the gas stream; this type of mixer avoids much tuning during startup and
commissioning and for annual maintenance [71].
       Use of static mixers and annual tuning can either increase the NOx efficiency at the same
ammonia slip level or extend the catalyst life at the same NOx removal efficiency [37].
Extending the catalyst life can significantly reduce operating costs, even after accounting for the
outsourced tuning costs [37].




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Catalytic Reduction of NOx
        The catalytic reduction of NOx in the SCR reactor occurs when the NOx and ammonia in
the flue gas contact the catalyst layers. The catalyst itself is the key component of the SCR
system. The catalyst composition, type (honeycomb, corrugated, or plate), and physical
properties affect performance, reliability, catalyst quantity required, and cost. However, because
the SCR system supplier and catalyst supplier must guarantee catalyst life and performance, most
catalyst characteristics are selected by the SCR system supplier.
2.2.5 SCR System Auxiliary Equipment

SCR Inlet and Outlet Ductwork
         In retrofit installations, new ductwork is required to integrate the SCR system with the
existing equipment. In high-dust SCR systems for utility and industrial boilers, the reactor is
located between the economizer outlet and the air heater inlet. In low-dust SCR systems for
utility and industrial boilers, the SCR reactor is located between the outlet duct of the particulate
control device and the air heater inlet duct. In tail-end SCR systems for utility and industrial
boilers, the ductwork tie-ins are downstream of the FGD system and also require the integration
of the flue gas reheating equipment.
        See Section 2, Generic Equipment and Devices and Chapter 1, Hoods, Ductwork, and
Stacks, for more details.
SCR Bypass Duct
        Low-load boiler operations can decrease the temperature at the SCR reactor inlet below
the SCR operating range. In addition, startup and shutdown of the boiler causes drastic
temperature fluctuations. For these operating conditions, an SCR bypass may (but not
necessarily) be required to route the flue gas around the reactor chamber. The bypass prevents
catalyst poisoning and fouling during periods when flue gas stream conditions do not meet
design specifications for proper SCR operation. The bypass system also must include zero-
leakage dampers to prevent flue gas leakage from poisoning and fouling the catalyst while the
SCR is not operating. A bypass system may also be considered for seasonal operation of the SCR
system, such as for boilers that would require NOx control during the ozone season (typically
May to September), but not at other times of the year.
       An SCR bypass may be needed for cement plant applications. During periods of startup
and shutdown, the operating temperatures and constituents in the kiln gases may affect SCR
operating conditions and may cause catalyst plugging or damage.
       It should be noted that operational routines can be applied during SCR startup and
shutdown that could preclude the need for a bypass, however, particularly for SCRs that operate
year round [56]. Also, a Haldor Topsoe paper indicates that a bypass is not recommended for
reasons including: complicated flue gas duct work, increased risk of dust depositing in
horizontal parts, dust precipitation around dampers, and erosion of louver-type dampers that may




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result.17 In fact, many of the SCRs being built in the late 2000’s for compliance with the Clean
Air Interstate Rule (CAIR) do not include bypasses.18 Recently built coal fired power plants in
Germany are designed without any SCR bypasses, according to a report by a major engineering
services firm.19
Soot Blower or Sonic Horn
        In coal-fired boilers, soot blowers are usually installed in the SCR reactor to remove
particulates that may mask or block active catalyst surfaces and gas passages. Soot blowing helps
maintain acceptable flue gas pressure drop in the SCR reactor by keeping the catalyst gas
passages free of particulate. Soot blowers also keep the air heater gas passages open and thereby
reduce system pressure drop. This is especially true for SCR retrofits where the air heater plate
spacing is generally narrow, making it more susceptible to fouling or clogging by ammonia-
sulfur salts.
        Retractable rake-type soot blowers that use steam or air for blowing are used in SCR
designs. The soot blowers are typically located above each catalyst layer. Soot blowing is usually
performed on one catalyst layer or part of one catalyst layer at a time. Soot blowing of all the
catalyst layers takes 30 minutes to 2 hours, but is usually done infrequently. In European SCR
installations, soot blowing is done approximately once or twice a week [72]. Traveling-rake
steam soot blowers can have installed costs of $120,000–$160,000 [37].
        Use of sonic horns has risen as an alternative to soot blowers [37]. Sonic horns require
less preventive maintenance than soot blowers, but they are susceptible to moisture and fly ash,
which cause plugging of the horn [37]. Sonic horns also cannot damage catalyst through either
high-pressure operation or steam leaks, as can occur with soot blowers [37]. The capital cost for
sonic horns can be $40,000–$100,000 for each catalyst layer, depending on the size of the unit
[37]. Sonic horn operating costs have been reported from $1/day to <$4/day for each catalyst
layer, compared with approximately $41/day for conventional soot blowers [37]. Although sonic
horns may have some advantages over soot blowers, the demand for high NOx removal
efficiency requires extremely clean catalyst and thus the best cleaning system (regardless of
cost); therefore, higher costs for soot blowers are justified for many applications [37].
        For high dust loadings, the cement industry also reports use of soot blowers using heated,
dry compressed air and use of sonic horns [94]. Improvements to cement dust cleaning for high
dust loading and sticky dust have been made by changing the geometry and operating parameters
of the dust blowers [112].
Large Particle Ash (LPA) Equipment
        A significant concern for utility and industrial boiler SCR operation that was not evident
in early applications is the role of the accumulation of LPA, also referred to as “popcorn ash,” on

17 Jenson-Holm, Hans, Lindenhoff, Peter, and Safronov, Sergey. SCR Design Issues in Reduction of NO x
  Emissions from Thermal Power Plants. Haldor Topsoe A/S, Russia Power, 2007.
18 Rutherford, Scott. Cormetech, Inc. Coal-Fired Applications in the U.S. – Challenges and Strategies for Successful
  Operation and Emissions Compliance. VGB Workshop, “Flue Gas Cleaning 2007”. May 22-23, 2007, Vienna,
  Austria. Available on the Internet at http://www.cormetech.com/brochures/2007_VGB_Conference_Paper.pdf .
19 Nielsen, Flemming Skovgaard, Danesi, Paolo, and Radhakrishnan, M.V. Modern Boiler Design, BWE. January
  2012.


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catalyst surfaces of high-dust SCR applications. LPA is defined as particles that are 4–7 mm in
characteristic dimension and large enough to lodge in the openings of grid- or plate-type
catalysts [37]. It is estimated that up to half of SCR units on coal-fired utility boilers are affected
by LPA [8]. LPA is not an issue for natural gas-fired applications.
        The cause or mechanism by which LPA is formed is unknown. A survey of 32 utility
boiler operators found 23 had experienced significant plugging of catalyst modules, but there
was no clear correlation of design or operating characteristics (e.g., coal type, boiler or reactor
design, SCR cleaning method, or catalyst geometry) with either significant LPA problems or the
lack of problems. Without knowledge of how LPA is generated, many facilities mitigate its
impacts by removing some of the LPA from the flue gas before it reaches the catalyst. The most
common mitigation method is the use of screens and/or baffles between the economizer exit and
the SCR reactor that provide a barrier to the LPA and divert it to an ash hopper. This approach
was used by operators of 21 of the 23 surveyed boilers that experienced LPA problems, and the
other 2 were considering adding such equipment. Some of the 9 boilers that were not equipped
with screens also had flow or deflector baffles. The frequency of economizer ash hopper
evacuation has been suggested as a key variable affecting catalyst blockage. Increasing this
frequency would be a low-cost operating change, but the survey of utility boiler operators did not
show a correlation between evacuation frequency and catalyst blockage levels [73].
        The survey report also identified the following recommendations for effective use of
screens: (1) orient the screen at an angle to the flue gas flow, or use pleats; (2) maintain at least
50% to 60% open flow area; (3) conduct CFD or physical flow modeling and design the duct and
screen to keep flue gas velocity below 50 actual ft/s (or preferably <45 actual ft/s) and eliminate
peaks in velocity; and (4) use active cleaning systems. The open flow area and velocity
recommendations are intended to minimize erosion of the screen material by fly ash, which was
found to be significant regardless of the screen material used at the surveyed facilities [73]. The
low velocity may also encourage LPA to drop out of the flue gas [37]. LPA screens can be
modular to allow replacement, coated or uncoated depending on velocity, and rigid or flexible
[37].
        Capital costs for a simple rigid screen can be $200,000–$500,000 for an erosion-tolerant
design for high flue-gas velocity and exotic construction material [37]. The installed cost of
screens for two SCRs on twin boilers that collectively generate 745 MW was $600,000 in 2004
[74]. A redesign and replacement of this screen along with CFD flow modeling in 2009 cost
$806,000 [75, 76]. Operating costs can be a 1-in. w.g. pressure drop and require an additional
$150,000 every 2 years to replace eroded screen panels. The costs associated with LPA
mitigation methods can be recovered by avoiding an outage, by not accelerating an outage, and
by maintaining clean catalyst [37].
        Another option for LPA mitigation involves the use of targeted in-furnace injection,
which models injections strategies to reduce SO3 formation, and also minimizes slag and fouling.
This slag and fouling control also reduces LPA formation. A suspended slurry of magnesium
hydroxide (Mg(OH)2) is used to change the slag formation by traveling into a furnace, becoming
superheated and subsequently forming very small particles of magnesium oxide (MgO). The
performance of targeted injection, and associated reduction of LPA, has been established in a
case study on a 600 MW opposed wall-fired unit, where successful control of LPA has been



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demonstrated for more than six years. After successfully implementing the targeted in-furnace
injection, the facility was able to remove their pre-existing LPA screens [77].
Economizer Bypass Duct
       Although the SCR reaction occurs within a temperature window of 600–750°F (320–
400°C), the catalyst for a given application is designed for a somewhat narrower range: the
economizer outlet temperature at normal boiler operating load. Maintaining the flue gas
temperature within the required window is essential for optimizing the NOx reduction reaction.
When the economizer outlet flue gas temperature decreases because the plant is operating at
reduced loads, the temperature can be raised using an economizer bypass.
        The economizer bypass duct generally has a modulating damper to regulate the amount
of hot bypass gas flow to be mixed with the cooler economizer outlet flue gas. The lower the
boiler load, the more this damper opens, thus admitting more hot gas. The economizer outlet duct
also needs a modulating damper to provide enough backpressure to allow the required volume of
gas to flow through the bypass. The main design considerations for an economizer bypass
involve maintaining the optimum gas temperature and ensuring uniform mixing of the two gas
streams prior to entering the SCR reactor.
Upgraded or New Induced Draft (ID) Fan
        The new ductwork and the SCR reactor’s catalyst layers decrease the flue gas pressure.
To maintain the same flow rate through the duct work, additional energy is required. The
existing ID fan may be unable to provide the required increase in static pressure. In such cases,
an upgraded or new ID fan is installed. This is also true for cement kiln applications due to the
high dust loading and high pressure drop across the SCR. The existing fan and motor foundation
may also need modification. Replacement involves installation of a new fan or booster fan. In all
cases, additional electric power for the ID fan is needed to overcome the additional pressure drop
through the SCR system. Based on typical values for the pressure drop through the additional
duct work and the catalyst layers, the additional electric power needed (i.e., the heat rate penalty)
is equivalent to approximately 0.3% of the plant’s electric output for SCR on a utility boiler.
Refer to Equations 2.57 and 2.58 for estimates of the total additional electric power needs for the
ID fan as well as other equipment in the SCR system.
2.2.6 Other Considerations

Fuel Source
        Utility and industrial boilers use coal, distillate oil, residual oil, natural gas, and a variety
of other fuels such as biomass (e.g., wood, bark). The fuel type and grade affects the SCR
design, and therefore, the capital costs of the SCR system. Fuels with high heating value have
higher gas flow rates, which in turn increase the required SCR reactor size and catalyst volume.
Coal-fueled applications are more costly than oil- and natural gas–fired boilers, due to their
higher flue gas flow rates [53].
        The quantity of nitrogen, fly ash, and pollutants in the flue gas stream varies according to
the type and grade of the fuel. This affects the volume of catalyst required, as well as the catalyst
design, composition, and rate of deactivation. Coal flue gas contains a greater amount of fly ash,


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                           Office of Air and Waste Management
                                 Washington, D.C. 20460



                                December 9, 1976

MEMORANDUM

SUBJECT:     Guidance for determining Acceptability of
             SIP Regulations in Non-attainment Areas

FROM:        Roger Strelow, Assistant Administrator
             for Air and Waste Management

MEMO TO:     Regional Administrators, Regions I-X

     The basis for fully approving state-submitted SIP
regulations continues to be demonstrated attainment and
maintenance of all national ambient air quality standards as
expeditiously as practicable. If the plan demonstrates
attainment and maintenance, EPA is required to approve the
state regulations. EPA cannot disapprove them because they are
too stringent or because EPA Considers them not stringent
enough (for example, because they are less stringent than a
comparable Federal regulation or because they control fewer
sources than controlled by Federal regulations), providing the
overall SIP shows attainment and maintenance as quickly or
quicker than any other available control strategy. If the state
plan shows attainment and maintenance, Federal regulations may
be revoked at the time of approval.

     Especially for oxidant, carbon monoxide, and particulate
matter (in areas dominated by urban fugitive dust), control
measures required to attain the standards may be technically
impossible or socially or economically unacceptable within a
short time frame. In this situation, EPA still cannot
disapprove state regulations because they are "too stringent,"
and industry cannot successfully challenge an approval on the
ground that the requirements are technologically or
economically infeasible. On the other hand, EPA must
disapprove the state regulations if they are not stringent
enough. The test for approvability of individual regulations
is whether they require, at a minimum, all reasonably available
controls on a source as expeditiously as practicable. This
memorandum seeks to provide guidance as to how to ascertain if
state regulations meet these minimum requirements. The use of
any given level of control which fails to assure attainment
should only be considered to be an interim measure. As control
technology improves and as new control measures become


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feasible for an area, it will be necessary for the SIP to be
periodically revised to include these measures until
attainment and maintenance can be demonstrated.

1. Reasonably Available Control Measures

     a. Stationary Sources
     With respect to individual point sources and area sources
with defined emission points (i.e., those amenable to the
application of "classical" control equipment), reasonably
available control technology (RACT) defines the lowest
emission limit that a particular source is capable of meeting
by the application of control technology that is reasonably
available considering technological and economic feasibility.
Thus, RACT encompasses stringent, or even "technology
forcing," requirement that goes beyond simple "off-the-shelf"
technology. As noted, RACT is the minimum EPA can accept in
non-attainment state plans.

     The determination of RACT and the corresponding emission
rate, ensuring the proper application and operation of RACT,
may vary from source to source due to source configuration,
retrofit feasibility, operation procedures, raw materials, and
other technical or economic characteristics of an individual
source or group of sources. In order to assist the Regions in
determining the impact of these variables on RACT, OAQPS is
continuing to develop RACT guidance materials (see attached
status report). This material describes what can be
accomplished with good technology * and defines things that
should be considered in establishing an emission limit for a
specific source of that type. In determining RACT for an
individual source or group of sources, the control agency,
using the available guidance, should select the best available
controls, deviating from those controls only where local
conditions are such that they cannot be applied there and
imposing even tougher controls where conditions allow. For
example, the best available control for a boiler burning coal
and bark at a pulp mill is multiclone followed by an
electrostatic precipitator (ESP), the two control devices
having an overall collection efficiency of 99.5%. However, in
areas where the bark or similar fuel has a high salt content as
a result of the logs being floated in the estuary portion of
the river, it may be that the technological and economic


      *
        As stated at the outset of this memorandum, the test for approving the
entire control strategy – and for EPA thus not having to promulgate any
measures – continues to be demonstrated attainment and maintenance of the
NAAQS.


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problems of installing and operating a large, corrosion
resistant ESP may prove unreasonable. More technological and
economically feasible controls consisting of a multiclone and
,wet collector designed to withstand the corrosive conditions,
and perhaps functioning more effectively on a salt fume than an
ESP, depending on the pressure drop employed, may constitute
RACT under the conditions cited. In every case RACT should
represent the toughest controls considering technological and
economic feasibility that can be applied to a specific
situation. Anything less than this is by definition less than
RACT and not acceptable for areas where it is not possible to
demonstrate attainment

     As a further assistance to the Regions in defining RACT
for the more difficult or the far from textbook situations,
OAQPS's Emission Standards and Engineering Division (ESED)
will establish a consulting group to support the Regions. This
group will include ESED staff but will also include technical
expertise from OE and the Regional Offices. In specific
instances, the National Air Pollution Control Techniques
Advisory Committee (NAPCTAC) may be asked to assist in a RACT
determination. The consulting group is being established as a
service to the Regions and it should not be looked at as a
clearinghouse for regional RACT determinations. These
decisions are yours to make. The group is designed to help you
as needed on the most difficult cases.

     b. Mobile and Area Sources
     As with point sources, measures which constitute
reasonably available controls for mobile sources and area
sources with undefined emission points may represent
relatively stringent requirements which in many situations
forces the application of measures not previously adopted or
implemented in a given area. These measures include vehicle
inspection and maintenance, transportation control and land
use measures, certain controls on fugitive and reentrained
dust, and other measures which may influence customary life
styles. They do not include clearly un- reasonable measures
such as substantial gasoline rationing. Moreover, what may be
reasonable in one area may be un- reasonable in another. For
example, while it may be reasonable as a transportation control
measure to quickly reduce the number of cars permitted to enter
the central business district in a city with a good mass
transit system, it would not be reasonable to do this on the
same timetable in a city with a poor mass transit system.




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2. Documentation

In those situations where the State's control strategy can- not
demonstrate attainment it will be necessary for the State to
document that their control strategy represents the
application of reasonably available control measures to all
available source categories. The Region should not approve a
control strategy that does not contain sufficient
documentation to show that the required control measures are
the toughest that are reasonably available for the sources in
the area covered by the control strategy.

3. Replacement of Federal Regulation

     In some areas the SIPS already contain EPA regulations
representing reasonably available controls that generally
reflect a national definition of reasonably available controls
for that source category and that were arrived at by EPA after
proposal and public hearing, (e.g., Stage I and I1 gasoline
marketing regulations in 16 AQCRs; transportation control
measures in 28 AQCRs).

     In these situations there is inherently less flexibility
in the definition by the state of reasonably available controls
and specific justification will be needed before EPA could ap-
prove a regulation which exempts significantly more sources,
or which imposes controls significantly less stringent, than
the Federal regulations. This justification should document
the specific case-by-case economic. technical or other factors
which cause the state's regulations, although significantly
different from the Federal regulation, to include all that is
reasonable for a specific area. (The state regulation would
still have to con- form to the criteria outlined for defining
reasonable control measures.) Such justification must be
provided not only as a basis for approval of the state
regulations, but also to protect the enforceability of
comparable Federal and state regulations in other areas. In the
absence of acceptable justification, the state regulation
exempting some sources can be approved as far as it goes and
the Federal regulation should remain in effect to cover sources
for which the state's regulation does not apply. Of course,
nothing should preclude a state from adopting and this Agency
approving a regulation which requires more control than the
Federally promulgated regulation.

     Since it is the Agency's objective to encourage the states
to develop and implement regulations to replace EPA
regulations, the Agency may approve state regulations that are
only marginally different from the Federal regulations without


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the detailed justification noted above if, in the Regional
Administrator's judgment, the impact on emissions differs
imperceptibly (less than 5% in cases where it is possible to
quantify the difference) from that of the Federal regulations
and there is no significant threat of undermining EPA
activities elsewhere in the nation. When determining if a state
regulation is environmentally equivalent to the Federal
regulation, EPA can only look at the particular measure being
implemented. In other words, it would be unacceptable to
approve a measure requiring significantly less control than
the corresponding Federal measure on the basis that other
control measures implemented in the same area are
significantly more stringent than the comparable Federal
measures. In areas where attainment cannot be demonstrated,
all reasonable measures on all source categories are needed.

     To further encourage states to replace EPA regulations,
reasonable additional time generally may be granted to com- ply
with replacement regulations providing the new compliance
dates (effective dates) are not clearly excessive. We cannot
expect a state to adopt regulations which depend upon the prior
Federal regulations to alert sources to the steps needed for
control, except in those cases where the state regulation is
substantially identical to the Federal regulation which it
replaces. On the other hand, granting of additional time must
be done with care so as not to undermine the action-forcing
role of firm deadlines in EPA efforts elsewhere. The use of a
"good faith efforts" test will be appropriate in some
circumstances

4. Conclusion

     In concluding, I would like to reiterate the fact that the
air quality standards are not being attained in many of these
RACT areas. Therefore, we cannot relax the intensity of the air
pollution control effort. We should ensure that all sources
contributing to the nonattainment situation are required to
implement restrictive available control measures even if it
requires significant sacrifices.

cc:`Mr. Tuerk, Mr. Barber, Mr. Legro, Mr. Bonine, Mr. Hidinger.




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                                March 16, 1994




MEMORANDUM

SUBJECT:     Cost-Effective Nitrogen Oxides (NOx) Reasonably
             Available Control Technology (RACT)

FROM:        D. Kent Berry, Acting Director
             Air Quality Management Division (MD-15)

TO:          Director, Air, Pesticides and Toxics
               Management Division, Regions I and IV
             Director, Air and Waste Management Division,
               Region II
             Director, Air, Radiation and Toxics Division,
               Region III
             Director, Air and Radiation Division,
               Region V
             Director, Air, Pesticides and Toxics Division,
               Region VI
             Director, Air and Toxics Division,
               Regions VII, VIII, IX, and X


     This memorandum provides guidance for determining NOx RACT
[required by section 182(f) of the Clean Air Act (Act)] as it
relates to nonutility sources and utility boilers which were not
addressed by the Environmental Protection Agency's (EPA's)
previous guidance. The document entitled, "State Implementation
Plans; Nitrogen Oxides Supplement to the General Preamble; Clean
Air Act Amendments of 1990 Implementation of Title I; Proposed
Rule," (NOx supplement) (November 25, 1992, 57 FR 55625)
identifies emission rates that presumptively meet the NOx RACT
requirement for tangential and dry bottom wall-fired utility
boilers. The guidance goes on to state that, for other major NOx
sources, EPA expects that NOx RACT will be set at levels that are
"comparable" to the levels specified for tangential and dry
bottom wall-fired utility boilers. The guidance states that:
"Comparability shall be determined on the basis of several
factors including, for example, cost, cost-effectiveness, and
emission reductions." This memorandum primarily addresses one of
the factors in a NOx RACT determination--cost effectiveness--and
provides guidance on how to determine which control techniques
are of "comparable cost-effectiveness for NOx RACT." In
addition, this memorandum provides limited discussion of other
factors, including emission reductions.



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     It should also be noted that, in certain areas, States may
require NOx controls based on advanced control technologies;
i.e., control technologies that reduce emissions beyond RACT or
title IV (acid rain) requirements. For example, advanced
controls would be required as part of a serious ozone
nonattainment area's 1994 State implementation plan if modeling
found such controls to be necessary to provide for expeditious
attainment of the ozone national ambient air quality standards.
In order to avoid or minimize potentially incremental or
repetitive control requirements, States and regulated sources
should consider in advance the implications of all relevant
requirements.

     In general, the actual cost, emission reduction, and cost-
effectiveness levels that an individual source will experience in
meeting the NOx RACT requirements will vary from unit to unit and
from area to area. These factors will differ from unit to unit
because the sources themselves vary in age, condition, and size,
among other considerations. The EPA's general RACT guidance
urges States to judge the feasibility of imposing specific
controls based on the economic and technical circumstances of the
particular unit being regulated. In many cases, these factors
are not the same in all States since the specific NOx RACT
emission limitations and averaging times will differ from State
to State. The EPA's presumptive NOx RACT levels for certain
utility boilers are based on capabilities and problems which are
general to the industry on a national basis. States may adopt
statewide NOx RACT levels which are more stringent than the EPA
levels based on statewide industry conditions. For these
reasons, a single cost, emission reduction, or cost-effectiveness
figure cannot fully describe the NOx RACT requirement. Thus, the
information provided in this memorandum does not prescribe a
single cost-effectiveness figure, but rather provides additional
guidance which States may use as they make NOx RACT
determinations.

     For NOx RACT, cost effectiveness is a figure in dollars per
ton of NOx emissions reductions per year. In order to clarify
the "comparable cost-effectiveness for NOx RACT" referred to in
the NOx supplement, EPA reviewed the December 1992 EPA/Northeast
States for Coordinated Air Use Management (NESCAUM) report
(EPA/NESCAUM report) on utility boilers entitled, "Evaluation and
Costing of NOx Controls for Existing Utility Boilers in the
NESCAUM Region" (EPA 453/R-92-010). This report identifies
various NOx control technologies for existing utility boilers and
their associated costs, cost effectiveness, and emission
reductions. As described below, EPA has extracted from the
report the cost effectiveness of controls that are expected to
meet the EPA's presumptive NOx RACT for tangential and dry bottom
wall-fired utility boilers at least cost. These cost figures
generally define the "comparable cost-effectiveness for NOx RACT"
referred to in the NOx supplement.

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     The November 1992 NOx supplement to the General Preamble
specifies the following areawide presumptive NOx RACT emission
limits (lbs NOx per million Btu determined on a rolling 30-day
average) for utility boilers:

          Coal:       tangential--0.45        wall--0.50
          Gas/Oil:    tangential--0.20        wall--0.30

Technologies available to meet these NOx RACT levels are
described in section 4 of the EPA/NESCAUM report. Section 5 of
that report describes the cost algorithm used, which includes
consideration of process capital equipment, total plant cost and
investment, fixed and variable operating cost, total capital
requirement and consumable costs. The cost-effectiveness figures
in the report are based on data from different geographic regions
and represent a variety of averaging times. The EPA believes the
data are appropriate to use with respect to the EPA presumptive
NOx RACT 30-day rolling average or to a daily average.

     As described in tables 1-4 and 1-5 of the EPA/NESCAUM
report, the combustion-modification technologies available to
meet EPA's presumptive NOx RACT levels show a range of cost
effectiveness of about $160 to $5100 per ton; and the post-
combustion technologies, excluding selective catalytic reduction,
show a range of about $320 to $5200 per ton. These are national
estimates based on constant 1991 (1st quarter) dollars. Some
States may need to make regional adjustments to this range to
reflect prevailing installation and operating labor costs which
are higher or lower than the national average. The data indicate
that some coal burning wall-fired boilers can meet EPA's
presumptive NOx RACT levels by application of low NOx burners at
a cost effectiveness as low as $160 per ton. The data also
indicate that certain tangentially-fired utility boilers may
approach a cost-effectiveness level of $1300 per ton in order to
meet the EPA presumptive NOx RACT levels. Application of
selective catalytic reduction to utility boilers does not appear
necessary in order to meet the EPA presumptive NOx RACT levels.

     In determining the NOx RACT comparable cost-effectiveness
level, EPA believes that it is appropriate to focus on the range
of cost effectiveness. The range is appropriate due to the
variability of the actual cost effectiveness that is expected
from unit to unit. Therefore, NOx technologies with a cost-
effectiveness range that overlaps the $160 to $1300 range should,
at a minimum, be considered by States in the development of their
NOx RACT requirements.

     In some cases, States will need to consider a broader cost-
effectiveness range. For example, where States adopt NOx RACT
requirements that are more stringent than the EPA's presumptive
RACT, the associated control technologies may result in higher
cost-effectiveness figures and, thus, States should expect to

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apply a broader cost-effectiveness range. In addition, since the
EPA's presumptive RACT levels are expected to be met by a
majority of (but not all) sources, States should expect some
sources to experience higher cost-effectiveness levels in order
to meet the NOx RACT requirements.

     While cost effectiveness, as described above, is an
important consideration, it must be noted that other factors
should be integrated into a RACT analysis. For example, emission
reductions and environmental impact should be considered.
Regarding emission reductions, a comparison of uncontrolled NOx
emission levels (from the EPA/NESCAUM report) with EPA's
presumptive RACT levels indicates that the utility boilers are
expected to achieve emission reductions of about 30 to 50
percent. If control technologies in the $160 to $1300 range are
inadequate to achieve emission reductions in the 30 to 50 percent
range, then the State should consider alternate technologies
which achieve those reduction levels. For example, if a RACT
analysis indicates that a cost effectiveness of $2000 per ton is
necessary to achieve emission reductions in the 30 to 50 percent
range, the State may need to adopt that requirement in order to
achieve comparable emission reductions, consistent with EPA's
guidance.

     The environmental impact of various control technologies
should be included in the RACT determination in some cases. For
example, sources that operate intermittently, but whose peak
operating times coincide with the peak ozone periods, should be
considered separately from sources with relatively constant year-
round emissions. In addition, where an otherwise acceptable
control technology might significantly increase carbon monoxide
(CO) emissions in a CO nonattainment area, the State should
consider alternate technologies.

     Questions concerning this memorandum can be addressed to
John Silvasi at (919) 541-5666; questions on specific
technologies and costs can be addressed to Bill Neuffer at (919)
541-5435.




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bcc:   NOx Work Group

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B.15 SELECTIVE CATALYTIC REDUCTION28,29,30

B.15.1 Background

        Selective catalytic reduction (SCR) is an add-on NOx control technology for process gas
streams with significant oxygen (O2) content. An SCR consists of a catalyst surface, reactor
housing and support, ammonia (NH3) system (storage tank, vaporizer, injection grid, dilution air
system, and control system), CEMS, and control system. The control efficiency achieved for
NOX ranges from approximately 70 to 90 percent depending on the application. In SCR, NH3 is
injected into the inlet gas stream upstream of the catalyst bed; in the catalyst bed, the NH3 reacts
with NOx in the presence of O2 to form nitrogen (N2) and water (H2O). The NOX reduction
efficiency is controlled by the ratio of NH3 injected to the amount of NOx in the gas stream
(NH3/NOx), the catalyst material and condition, the space velocity, and the catalyst bed operating
temperature. Increasing the NH3/NOX ratio increases the level of NOx emission reduction but
may also result in higher NH3 slip levels. (Ammonia slip occurs when too much NH3 is injected
and the unreacted portion is emitted in the outlet stream from the SCR.) In general, the outlet
concentration of NH3 from the SCR should be held to less than 5 ppmv. Side reactions may
produce ammonium sulfate and ammonium bisulfate byproducts when SO3 is also present; SO2
in the process gas stream oxidizes to SO3 in some catalysts. These byproducts may cause
plugging and corrosion of downstream equipment. The load applied to the process unit (e.g., gas
turbine or some stationary internal combustion engines) affects both the exhaust temperature and
the NOx emission levels from the process, and various exhaust temperature and NOx swings may
pose problems for the SCR unit. The complexity of the NH3 injection control system increases
with fluctuations in load.

        The catalyst is arranged in a series of two to four beds or layers. Catalysts may include
base-metal oxides, precious metals, or zeolite. Optimum operating temperatures for SCR units
using a base-metal oxides catalyst range from 600° to 750°F, depending on catalyst type;
operating temperatures for platinum catalysts are lower than this range. Zeolite catalysts require
an operating temperature of 600° to 900°F, and as high as 1100°F. Typically, the optimum
performance of each SCR catalyst lies within a narrow temperature range of ±50°F. Below this
range, catalyst activity is reduced and NH3 slip increases. Above the range, NH3 may be
oxidized to form NOx, which is counter to the control device purpose.

        As catalyst activity declines, additional catalyst should be installed; as deactivation
continues, the catalyst can be replaced one layer at a time. Sufficient catalyst volume must be
provided to allow for inevitable catalyst deactivation. Catalyst deactivation may average up to
20 percent over a two-year period depending on the application. The use of fuels other than
natural gas may mask or poison the catalyst. If diesel or other fuels are used, a bed guard
upstream of the catalyst bed should be used to collect heavy hydrocarbons that would deposit on
or mask the catalyst. Zeolite catalyst is recommended for diesel fuel processes to minimize
masking and poisoning and to limit NH3 byproduct side reactions. Soot blowing, vacuuming, or
superheated steam application may be conducted periodically to remove particulate or masking
from the catalyst.


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       Space velocity (gas flow rate divided by the catalyst bed volume) is an indicator of
residence time in the catalyst bed. Lower space velocities give higher residence times and higher
NOx reduction rates.

B.15.2 Indicators of SCR Performance

        The primary indicators of SCR performance are outlet NOx concentration, NH3/NOx ratio,
catalyst bed inlet temperature, and the catalyst activity. Other parameters that can indicate SCR
performance include the outlet NH3 concentration, catalyst bed outlet temperature, inlet gas flow
rate, sulfur content of the fuel combusted, and the pressure differential across the catalyst bed.
Table B-15 lists these indicators and illustrates potential monitoring options for SCR.

        Outlet NOx concentration. The most direct single indicator of the performance of a SCR
is the NOx concentration at the outlet of the unit.

       NH3/NOx ratio (NH3 injection rate). The NH3 injection rate should increase or decrease
with changes in inlet NOx levels due to varying process load. With increasing NH3/NOx ratio,
the NOx level and the NH3 slip remain fairly constant and the SCR reduces NOx emissions;
however, above a certain value or ratio, the NH3 slip begins to increase. Limiting the amount of
NH3 slip is important to limit NH3 emissions from the SCR and to suppress reactions of the
additional NH3 with SO2 and SO3, if present, to form ammonia salt byproducts.

        Catalyst bed inlet temperature. The temperature at the inlet to the catalyst bed provides a
good indication of catalytic reduction performance because it indicates that the gas stream is at
sufficient temperature to initiate reduction of NOx on the catalyst. Too high of an inlet
temperature (i.e., of the process gas stream) may cause NOx generation in the SCR rather than
NOx reductions.

       Catalyst activity. Catalyst deactivation will result in increases in NOx emissions and NH3
emissions (ammonia slip). Catalyst activity should be check periodically and/or the catalyst or
portion of the catalyst should be replaced periodically.

       Outlet NH3 concentration. NH3 in the outlet stream is an indicator that too much NH3 is
being injected or that reduction of NOx is not occurring on the catalyst.

        Catalyst bed outlet temperature. The bed outlet temperature provides an indication that
reduction is occurring on the bed. Maintaining the operating temperature in the catalyst bed is
crucial in avoiding NOx generation at high temperatures. In general, lower operating
temperatures mean lower NOx emissions, to a minimum temperature below which NOx reduction
does not occur. Increases in the operating temperature of the SCR may cause an increase in NOx
generation rather than NOx reductions. Also, there is a maximum temperature above which the
catalyst begins to sinter; monitoring the bed outlet temperature will ensure that the temperature
within the bed does not exceed its working limit.



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        Inlet gas flow rate (Space velocity). Control efficiency is a function of the space velocity
(similar to residence time), and space velocity is a function of the gas flow rate. As flow rate
increases, the space velocity increases and control efficiency declines. Decreases in flow rate
typically mean an increase in control efficiency.

        Sulfur content of fuel. Processes that use sulfur-containing fuels should include a limit
on the sulfur content. Higher sulfur content may result in increased formation of ammonia salt
byproducts.

       Pressure differential across catalyst bed. An increase in pressure differential over time
may provide an indication that particulate matter (PM) is accumulating on the catalyst bed.
Periodic blowing, vacuuming, or steaming of the bed is necessary to remove accumulated PM.

B.15.3 Illustrations

        The following illustration presents an example of compliance assurance monitoring for
SCR:

        15a: Catalyst bed temperature, outlet NH3 concentration, and catalyst activity.

B.15.4 Bibliography




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                                                                            TABLE B-15. SUMMARY OF PERFORMANCE INDICATORS FOR SCRs
                                                                                                                                                                  Approach No.     1   2     3   4   5




                                                                                                                                                                                                          Case: 19-2562
                                                                                                                                                                Illustration No.       15a
                                                                                                                                                    Example CAM Submittals
                                              Parameters                                     Performance indication                                                   Comment
                                              Primary Indicators of Performance
        B.15 SELECTIVE CATALYTIC REDUCTION




                                              Outlet NOX concentration   Direct measure of outlet concentration. Best single indicator of SCR performance.                         X




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                                              NH3/NOX ratio (NH3         Amount of NH3 injection should be stoichiometrically based on NOX concentration in the inlet                        X   X   X
                                              injection rate)            stream. Want to maximize the ratio without increasing NH3 slip.
                                              Catalyst bed inlet         Indicator that bed inlet is of sufficient temperature to initiate reduction. Also an indicator that bed             X   X   X
                                              temperature                inlet temperature is not too high for catalyst longevity. High temperatures encourage generation of
                                                                         NOX rather than a reduction in NOX.
                                              Catalyst activity          Periodic check of catalyst activity gives an indication of catalyst fouling or masking. Must                  X     X




                                                                                                                                                                                                          Page: 145
                                                                         periodically clean and/or replace catalyst to ensure reduction is occurring.
                                              Other Performance Indicators
                                              Outlet NH3 concentration   Indicator that NH3 injection rate is too high. Must adjust to reduce NH3 slip.                                X


                                              Catalyst bed outlet        Indicator of the level of reduction that is occurring in the catalyst bed and that temperature does not       X     X   X   X




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                                              temperature                exceed design limits of catalyst. Too high a temperature may encourage generation of NOX rather
                                                                         than a reduction in NOX.
                                              Pressure differential      Indicator of bed fouling or plugging. Increase in pressure differential indicates that bed is becoming                      X
                                              across catalyst bed        fouled or plugged. Changes in pressure differential are likely to be gradual.
                                              Comments: None.
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                               CAM ILLUSTRATION
           No. 15a. SELECTIVE CATALYTIC REDUCTION FOR NOX CONTROL

1. APPLICABILITY

   1.1 Control Technology: Selective catalytic reduction [065]
   1.2 Pollutants
       Primary: Nitrogen oxides (NOX)
       Other:     Nitric acid (HNO3), ammonia (NH3)
   1.3 Process/Emission units: Gas turbines, internal combustion engines (ICE), process
       heaters, nitric acid production units, and boilers

2. MONITORING APPROACH DESCRIPTION

   2.1    Indicators Monitored: Catalyst bed temperature, outlet NH3 concentration in flue gas
          (NH3 slip causes ammonia salt fouling of the catalyst), and catalyst activity.
   2.2    Rationale for Monitoring Approach
          • Catalyst bed temperature: Indication that the reaction is occurring in the catalyst
             bed; too high a bed temperature may generate NOX rather than reduce NOX.
          • Outlet NH3 concentration: Indication of NOX reduction or indication that NH3 feed
             is too high; fouling of the catalyst is caused by ammonia salt byproducts, the
             formation of which can be avoided by limiting ammonia slip and limiting fuel sulfur
             content.
          • Catalyst activity: Indication of the catalyst’s ability to promote the reaction between
             NOX and NH3.
   2.3    Monitoring Location
          • Catalyst bed temperature: Outlet to the catalyst bed.
          • Outlet NH3 concentration: NH3 monitored at outlet duct of catalyst bed.
          • Catalyst activity: Removal of a small portion of catalyst for testing.
   2.4    Analytical Devices Required: Thermocouples or other temperature instrumentation,
          NH3 CEMS (other methods and instruments may be unit-specific).
   2.5    Data Acquisition and Measurement System Operation
          • Frequency of measurement:
             – Catalyst bed temperature: Measure continuously.
             – Outlet NH3 concentration: Measure continuously.
             – Catalyst activity: Measure periodically.
          • Reporting units:
             – Catalyst bed temperature: Degrees Celsius or Fahrenheit (C or F).
             – Outlet NH3 concentration: Parts per million by volume (ppmv) NH3.
             – Catalyst activity: Percent active compared with new catalyst (or other as
                 appropriate).
          • Recording process:
             – Catalyst bed temperature: recorded automatically on strip chart or data
                 acquisition system.


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             – Outlet NH3 concentration: recorded automatically on strip chart or data
                acquisition system.
             – Catalyst activity: manually recorded in SCR maintenance log.
       2.6 Data Requirements
           • Baseline catalyst bed temperature, outlet NH3 concentration, and catalyst activity
             measurements concurrent with emission test.
           • Historical plant records of catalyst bed temperature, outlet NH3 concentrations, and
             catalyst activity measurements.
       2.7 Specific QA/QC Procedures
           • Calibrate, maintain, and operate instrumentation using procedures that take into
             account manufacturer’s recommendations.
       2.8 References: ______

3. COMMENTS

       None.




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BEPA       Alternative Control
           Techniques Document                             --
           NOx Emissions from
           Utility Boilers




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               Alternative Control
             Techniques Document--
         NOx Emissions from Utility Boilers



                  Emission Standards Division




       U. S. ENVIRONMENTAL PROTECTION AGENCY
                 Office of Air and Radiation
        Offme of Air Quality Planning and Standards
             Research Triangle Park, NC 277 11

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             ALTERNATIVE CONTROL TECHNIQUES DOCUMENTS
     This report is issued by the Emission Standards Division,
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Springfield, VA 22161 ( [ 8 0 0 ] 553-NTIS).




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                           1.0     INTRODUCTION



  The 1990 Amendments (1990 Amendments) to the Clean Air Act
amended title I of the Clean Air Act (ACT) by adding a new
subpart 2 to part D of section 103. The new subpart 2
addresses ozone nonattainment areas. Section 183 (c) of the
new subpart 2 provides that:

        [wlithin 3 years after the date of the
        enactment of the [ C A M ] , the Administrator
        shall issue technical documents which identify
        alternative controls for all categories of
        stationary sources of...oxides of nitrogen
        which emit, or have the potential to emit
        25 tons per year or more of such pollutant.
These documents are to be subsequently revised and updated as
the Administrator deems necessary.
   Fossil fuel-fired utility boilers have been identified as a
category of stationary sources that emit more than 25 tons of
nitrogen oxides (NO,) per year. This alternative control
techniques (ACT) document provides technical information for
State and local agencies to use in developing and implementing
regulatory programs to control NOx emissions from fossil
fuel-fired utility boilers. Additional ACT documents are
being or have been developed for other stationary source
categories.
  The information provided in this ACT document has been
compiled from previous EPA documents, literature searches, an8
contacts with utility boiler manufacturers, individual utility
companies, engineering and construction firms, control

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equipment vendors, and Federal, State, and local regulatory
agencies. A summary of the findings from this study is
presented in chapter 2.0.   Descripti~nsof fossil fuel-fired
utility boilers are given in chapter 3.0. A discussion of
uncontrolled and baseline NOx emissions from utility boilers
is presented in chapter 4.0. Alternative NOx control
techniques and expected levels of performance are discussed in
chapter 5.0.  Chapter 6.0 discusses costs and cost
effectiveness of each NOx control technique. Chapter 7.0
discusses the environmental and energy impacts associated with
NOx control techniques. Information used to derive the costs
of each NOx control technology is contained in appendix A .




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  The purpose of this document is to provide technical
information that State and local agencies can use to develop
strategies for reducing nitrogen oxides (NOx) emissions from
fossil fuel-fired utility boilers. This chapter presents a
summary of the information contained in this document,
including uncontrolled and controlled NOx emissions data,
alternative control techniques (ACT'S), kapital and annual
costs, cost effectiveness, and secondary environmental and
energy impacts associated with the various NOx control
techniques. Section 2.1 presents a summary of fuel use in
utility boilers, section 2.2 presents an overview of NOx
formation, and section 2.3 describes utility boiler types and
uncontrolled NOx emission levels. Section 2.4 gives an
overview of ACT'S. The performance and costs of NO, controls
for coal-fired boilers is presented in section 2.5. The
performance and costs of NOx controls for natural gas- and
oil-fired boilers is given in section 2.6. Secondary
environmental impacts of NOx controls are summarized in
section 2.7.
2.1 SUMMARY OF FUEL USE IN UTILITY BOILERS
   As of year-end 1990, the operable capacity of U. S. electric
power plants totaled approximately 690,000 megawatts (MW)    Of          .
this, coal-fired generating capacity accounted for
approximately 43 percent, or 300,000 MW. Coal that is fired
in utility boilers can be classified by different ranks, i.e.,
anthracite, bituminous, subbituminous, and lignite. Each ran&
of coal has specific characteristics which can influence NOx

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emissions. These characteristics include heating value,
volatile matter, and nitrogen content.
   As of year-end 1990, natural gas- and oil-fired boilers
accounted for approximately 28 percent of the total U. S.
generating capacity. Of this, natural gas-fired generating
capacity accounted for about 17 percent (120,000 MW) and oil-
fired units, the remaining 11 percent (77,000M W ) . The term
I1fueloilw covers a broad range of petroleum products--from a
light petroleum fraction (similar to kerosene) to a heavy
residue. However, utility boilers typically fire No. 6 oil
 (residual oil) .
2.2   OVERVIEW OF NOx FORMATION
   The formation of NOx from a specific combustion device is
determined by the interaction of chemical and physical
processes occurring within the furnace. The three principal
NOx forms are "thermalI1NO,, "promptM NOx, and I1fueln NOx.
Thermal and fuel NOx account for the majority of the NOx
formed in coal- and oil-fired utility boilers; however, the
relative contribution of each of the total NOx formed depends
on the combustion process and fuel characteristics. Natural
gas contains virtually no fuel nitrogen; therefore, the
majority of the NOx in these boilers is thermal NO,.
   Thermal NOx results from the oxidation of atmospheric
nitrogen in the high-temperature, post-flame region of a
combustion system. The major factors that influence thermal
NOx formation are temperature, concentrations of oxygen and
nitrogen, and residence time. If the temperature or the
concentration of oxygen or nitrogen can be reduced quickly
after combustion, thermal NOx formation can be suppressed or
quenched.
   Prompt NO, is formed in the combustion system through the
 reaction of hydrocarbon fragments and atmospheric nitrogen.
As opposed to the slower formation of thermal NO,, prompt NOx
 is formed rapidly and occurs on a time scale comparable to the
 energy release reactions (i-e.,within the flame). Thus, it
 is not possible to quench prompt NOx formation as it is for
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thermal NOx formation. However, the contribution of prompt
NOx to the total NOx emissions of a system is rarely large.
   The oxidation of fuel-bound nitrogen (fuel NO,) is the
principal source of NOx emissions from combustion of coal and
some oils. All indications are that the oxidation of fuel-
bound nitrogen compounds to NOx is rapid and occurs on a time
scale comparable to the energy release reactions during
combustion. The primary technique for controlling the
formation of fuel NOx is delayed mixing of fuel and air so as
to promote conversion of fuel-bound nitrogen to N2 rather than
NOx. As with prompt NOx, fuel NOx formation cannot be
quenched as can thermal NO,.
   The formation of thermal, prompt, and fuel NOx in combustion
systems is controlled by modifying the combustion gas
temperature, residence time, and turbulence (sometimes
referred to as the "three T'sv). Of primary importance are
the localized conditions-withinand immediately following the
flame zone where most combustion reactions occur. In utility
boilers, the "three T 1 s uare determined by factors associated
with boiler and burner design, fuel characteristics, and
boiler operating conditions.
2.3 DESCRIPTION OF BOILER TYPES AND UNCONTROLLED NOx
      EMISSIONS
   The various types of fossil fuel-fired utility boilers
 include tangentially-fired, single and opposed wall-fired,
 cell burner, cyclone, stoker, and fluidized bed combustion
 (FBC). Each type of furnace has specific design
 characteristics which can influence NOx emissions levels.
 These include heat release rate, combustion temperatures,
 residence times, combustion turbulence, and oxygen levels.
    As mentioned, NOx emission rates are a function of various
 design and operating factors. Pre-new source performance
 standards (NSPS) boilers were not designed to minimize NOx
 emission rates; therefore, their NOx emissions are indicative
 of uncontrolled emission levels. Boilers subject to the
 subpart D or Da NSPS have some type of NOx control and their
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NOx emissions are considered to be baseline emissions.    To
define uncontrolled NOx emissions for the pee-NSPS boilers,
emissions data from various databases and utility retrofit
applications were examined. To define baseline NOx emissions
for the subpart D and Da boilers, the NSPS limits as well as
emissions data from various databases were examined.
   Table 2-1 summarizes the uncontrolled and baseline NO,
emission levels from conventional utility boilers. The NOx
levels are presented a s a range and a typical level. The
typical level reflects the mode, or most common value, of the
NOx emissions data in the various databases for the different
types of boilers.
   The range reflects the NOx emissions expected on a short-
term basis for most boilers of a given fuel and boiler type.
However, the actual NOx emissions from a specific boiler may
be outside this range due to unit-specific design and
operating conditions. Additionally, averaging time has an
important impact on defining NOx levels. The achievable
emission limit for a boiler increases as the averaging time
decreases. For example, a boiler that can achieve a
particular NO, limit on a 30-day basis may not be able to
achieve that same limit on a 24-hour basis.
   The tangential boilers are designed with vertically stacked
nozzles in the furnace corners that inject stratified layers
 of fuel and air into relatively low-turbulence areas. This
 creates fuel-rich regions in an overall fuel-lean environment.
 The fuel ignites in the fuel-rich region before the layers are
 mixed in the highly turbulent center fireball. Local peak
 temperatures and thermal NOx are lowered by the off-
 stoichiometric combustion conditions. Fuel NOx formation is
 suppressed by the delayed mixing of fuel and air, which allows
 fuel-nitrogen compounds a greater residence time in a fuel-
 rich environment.
    Tangential boilers typically have the lowest NOx emissions
 of all conventional utility boiler types. As shown in
 table 2-1, the coal-fired, pre-NSPS tangential boilers have
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NOx emissions in the range of 0.4 to 1.0 pound per million
British thermal unit (lb/MMBtu), with typical NOx emissions of
0.7 ~ ~ / M M B ~For
                  u . the tangential boilers subject to subpart D
standards, the NO, ,emissions are in the range of 0.3 to
0.7 lb/MMBtu with typical NOx emissions of 0.6 Ib/MMBtu. The
NOx emissions for the subpart Da boilers are in the range of
0.3 to 0.5 lb/MMBtu, with typical NOx emissions of
0.5 lb/MMBtu.
   The oil-fired, pre-NSPS tangential boilers have NOx
emissions in the range of 0.2 to 0.4 lb/MMBtu (0.3 lb/MMBtu
typical). For the boilers subject to subpart D and Da
standards, the NOx emissions are in the range of 0.2 to
0.3 lb/MMBtu with typical emissions of 0.25 lb/MMBtu. The NOx
emissions from the natural gas-fired, pre-NSPS tangential
boilers range from 0.1 to 0.9 lb/MMBtu (0.3 lb/MMBtu typical).
For the boilers subject to subpart D and Da standards, the NO,
emissions are in the range of 0.1 to 0.2 lb/MMBtu with typical
emissions of 0.2 lb/MMBtu.
   The various types of wall-fired boilers include single,
opposed, and cell burner. Single wall-fired boilers have
several rows of burners mounted on one wall of the boiler,
while opposed wall-fired boilers have multiple rows of burners
mounted on the two opposing walls. Cell-burner units have two
or three vertically-aligned, closely-spaced burners, mounted
on opposing walls of the furnace. Single, opposed, and cell
burners boilers all have burners that inject a fuel-rich
mixture of fuel and air into the furnace through a central
nozzle. Additional air i s supplied to the burner through
 surrounding air registers. Of these types of wall-fired
boilers, the cell burner is the most turbulent and has the
 highest NO, emissions.
    Table 2-1 presents the ranges and typical NOx emissions for
 wall-fired boilers. For the pre-NSPS, dry-bottom, wall-fired
 boilers firing coal, the NOx emissions are in the range of 0.6
 to 1.2 lb/MMBtu w i t h typical NOx emissions of 0.9 l b / M ~ ~ t u .
 The range of NOx emissions for these boilers subject to


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subpart D and subpart Da are in the range of 0.3 to
0.7 lb/MMBtu and 0.3 to 0.6 lb/MMBtu, respectively. The
typical NOx emissions for the subpart D, wall-fired boilers
are 0.6 lb/MMBtu, while 0.5 lb/MMBtu is typical for the
subpart Da boilers.
   ~he'pre-NSPS, wet-bottom, wall-fired boilers firing coal
have NOx emissions in the range of 0.8 to 1.6 lb/MMBtu with
typical NOx emissions of 1.2 l b / ~ ~ ~ t The
                                           u . pre-NSPS cell-type
boiler has NOx emissions in the range of 0.8 to 1.8 lb/MM~tu
with typical NOx emissions of 1.0 lb/MMBtu.
   The NOx emissions for the oil-fired pre-NSPS wall boilers
are in the range of 0.2 to 0.8 lb/MMBtu with typical NOx
emissions of 0.5 lb/MMBtu. The natural gas-fired pre-NSPS
single wall-fired boilers have NOx emissions in the range of
0.1 to 1.0 lb/MM~tuwith typical NOx levels of 0.5 lb/MMBtu.
The opposed wall, pre-NSPS boilers firing natural gas ranged
from 0.4 to 1.8 lb/MMBtu with typical NOx of 0.9 l b / ~ ~ ~ t u .
   Vertical-fired boilers have burners that are oriented
downward from the top, or roof, of the furnace. They are
usually designed to burn solid fuels that are difficult to
ignite. The NOx emissions from these boilers are shown on
table 2-1 and range from 0.6 to 1.2 lb/MMBtu. The typical NOx
emissions from these boilers are 0.9 lb/MMBtu. The vertical
oil-fired boilers have NOx emissions in the range of' 0.5 to
1.0 lb/MMBtu with typical NOx level of 0 . 7 5 lb/MMBtu.
   Another type of utility boiler is the cyclone furnace.
Cyclone furnaces are wet-bottom and fire the fuel in a highly
 turbulent combustion cylinder. Table 2-1 shows the range (0.8
 to 2.0 lb/MMBtu) and typical NOx level (1.5 lb/MMBtu) for
 these boilers. There have not been any wet-bottom wall-fired,
 cell, cyclone, or vertical boilers built since the subpart D
 or subpart Da standards were established.
    Stoker boilers are designed to feed solid fuel on a grate
 within the furnace and remove the ash residual. The NOx
 emissions from these boilers are in the range of 0.3 to
 0.6 lb/MMBtu with typical NOx levels of 0.5 lb/MMBtu.
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     .uidizedbed comb1dstion is an integrated technology for
reducing both sulfur dioxide (SO2) and NOx during the
combustion of coal. These furnaces operate at much lower
temperatures and have lower NOx emissions than conventional
types of utility boilers. While larger FBC units may be
feasible, at this time the largest operating unit is 203 MW.
Table 2-2 gives the NOx emissions for the FBC using combustion
controls to limit NOx formation, and also when using selective
noncatalytic reduction (SNCR). The NOx emissions from FBC
without SNCR are in the range of 0.1 to 0.3 lb/MMBtu with
typical NOx levels of 0.2 lb/MM~tu. The NOx emissions from
FBC with SNCR are in the range of 0.03 to 0.1 lb/MMBtu with
typical NOx levels of 0.07 lb/MMBtu.
2.4 OVERVIEW OF ALTERNATIVE CONTROL TECHNIQUES
   Alternative control techniques for reducing NOx emissions
from new or existing fossil fuel-fired utility boilers can be
grouped into one of two fundamentally different methods--
combustion controls and post-combustion controls (flue gas
treatment). Combustion controls reduce NOx formation during
the combustion process and include methods such as operational
modifications, flue gas recirculation (FGR) , overfire air
 (OFA), low NOx burners (LNB), and reburn. The retrofit
 feasibility, NOx reduction potential, and costs of combustion
 controls are largely influenced by boiler design and operating
 characteristics such as firing configuration, furnace size,
 heat release rate, fuel type, capacity factor, and the
 condition of existing equipment. Flue gas treatment controls
 reduce NOx emissions after its formation and include SNCR and
 selective catalytic reduction (SCR) .
    Operational modifications involve changing certain boiler
 operational parameters to create conditions in the furnace
 that will lower NOx emissions. Burners-out-of-service (BOOS)
 consists of removing individual burners from service by
 stopping the fuel flow. The air flow is maintained through
 the idle burners to create a staged-combustion atmosphere
 within the furnace. Low excess air (LEA) involves operating

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    TABLE 2 - 2 .     NOx EMISSION LEVELS FROM FLUIDIZED BED
                                COMBUSTION BOILERS


Classification
Combustion controls only

With S N C R ~


aNO, emissions shown are the expected ranges from
  table 4 - 5 . ,The typical NOx level is shown in parentheses.
b~luidizedbed boilers with SNCR reduction for NOx control
 as original equipment.




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the boiler at the lowest level of excess air possible without
jeopardizing good combustion. And, biased firing (BF)
involves injecting more fuel to some burners and reducing the
amount of fuel to other burners to create a staged-combustion
environment. To implement these operational modifications,
the boiler must have the flexibility to change combustion
conditions and have excess pulverizer capacity-(for coal
firing). Due to their original design type or fuel
characteristics, some boilers may not be amenable to the
distortion of the fuel/air mixing pattern imposed         BOOS and
BF. Also, some b o i l e r s may already be operating at the lowest
excess air level.
   Flue gas recirculation is a flame-quenching strategy in
which the recirculated flue gas acts as a diluent to reduce
combustion temperatures and oxygen concentrations in the
combustion zone. This method is effective for reducing
thermal NOx and is used on natural gas- and oil-fired boilers.
Flue gas recirculation can also be combined with operational
modifications or other types of combustion controls on natural
gas- and oil-fired boilers to further reduce NOx emissions.
Flue gas recirculation is used on coal-fired boilers for steam
temperature control but is not effective for NOx control on
these boilers.
   Overfire air is another technique for staging the combustion
process to reduce the formation of NO,.       Overfire air ports
 are installed above the top row of burners on wall and
 tangential boilers. The two types of OFA for tangential
boilers are close-coupled overfire air (CCOFA) and separated
 overfire air (SOFA). The CCOFA ports are incorporated into
 the main windbox whereas the SOFA ports are installed above
 the main windbox using separate ducting. The two types of OFA
 for wall-fired boilers are analogous to the tangential units.
 Conventional OFA has ports above the burners and utilizes the
 air from the main windbox. Advanced OFA has separate ductwork
 above the main windbox and, in some cases, separate fans to
 provide more penetration of OFA into the furnace.

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   Low NOx burners are designed to delay and control the mixing
of fuel and air in the main combustion zone. Lower combustion
temperatures and reducing zones are created by the LNB which
lower thermal and fuel NO,.   Low NOx burners can sometimes be
fitted directly into the existing burner opening; however,
there may be instances where changes to the high-pressure
waterwall components may be required. Low NOx burners have
been applied to both tangentially- and wall-fired boilers in
new and retrofit applications. While tangential boilers have
"coal and air nozzlesM rather than Ilburner~~~as in wall-fired
boilers, the term "LNBn is used in this document Eor both
tangential and wall applications.
   Retrofit applications must have compatible and adequate
ancillary equipment, such as pulverizers and combustion
control systems, to minimize carbon monoxide and unburned
carbon emissions and to optimize the performance of the LNB.
The NSPS subpart D and subpart Da standards have been met with
LNB on new boilers; however, they tend to have Larger furnace
volumes than pre-NSPS boilers which results in lower NOx
emissions.
   LOW NOx burners and OFA can be combined in some retrofit
applications provided there is sufficient height above the top
row of burners. However, there is limited retrofit experience
with combining LNB and OFA in wall-fired boilers in the United
States. There is more experience in retrofitting LNB and OFA
in tangential boilers since most LNB for these boilers use
some type of OFA (either CCOPA or SOFA). Some new boilers
subject to subpart Da standards have used a combination of LNB
and OFA to meet the NOx limits. Low NOx burners can also be
combined with operational modifications and flue gas treatment
controls to further reduce NOx emissions.
   Reburn is a NO, control technology that involves diverting a
portion of the fuel from the burners to a second combustion
area (reburn zone) above the main combustion zone. Completion
air (or OFA) is then added above the reburn zone to complete
 fuel burnout. The reburn fuel can be either natural gas, oil,
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or pulverized coal; however, most of the experience is with
natural gas reburning. There are many technical issues in
applying reburn, such as maintaining acceptable boiler
performame when a large amount of heat input is moved from
the main combustion zone to a different area of the furnace.
Utilizing all the carbon in the fuel is also an issue when
pulverized coal is the reburn fuel.
   Reburn can be applied to most boiler types and is the only
known combustion NOx control technique for cyclone boilers
although flue gas treatment controls may be effective on these
boilers. There are only four full-scale demonstrations of
reburn retrofit on coal-fired boilers in the United States,
two of which have been on cyclone boilers, one on a
tangentially-fired boiler, and one on a wall-fired boiler.
All of these installations are on boilers smaller than 200 MW.
There is one full-scale reburn + LNB project on a 150 MW wall-
fired boiler. To date, there have not been any reburn
installations on new boilers.
   A similar technology is natural gas co-firing which consists
of injecting and combusting natural gas near or concurrently
with the main fuel (coal, oil, or natural gas) . There is one
full-scale application of natural gas co-firing on a 400 MW
tangential, coal-fired boiler reported in this document.
   Two commercially available flue gas treatment technologies
for reducing NOx emissions from existing fossil fuel utility
boilers are SNCR and SCR. Selective noncatalytic reduction
 involves injecting ammonia (NH3) or urea into the flue gas to
yield elemental nitrogen and water. By-product emissions of
 SNCR are N20 and NH3 slip. The NH3 or urea must be injected
 into specific high-temperature zones in the upper furnace or
 convective pass for this method to be effective. If the flue
 gas temperature at the point of NH3 or urea injection is above
 the SNCR operating range, the injected reagent will oxidize to
 form NOx. If the flue gas temperature is below the SNCR
 operating range, the reagent does not react with NOx and is
 emitted to the atmosphere as NH3. Ammonia emissions must be
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minimized because NH3 is a pollutant and can also react with
sulfur oxides in the flue gas to form ammonium salts, which
can deposit on downstream equipment such as air heaters.
   The other flue gas treatment method, SCR, involves injecting
NH3 into the flue gas in the presence of a catalyst.
Selective catalytic reduction promotes the reactions by which
NOx is converted to elemental nitrogen and water at lower
temperatures than required for SNCR. The SCR reactor can be
placed before the air preheater (hot-side SCR) or after the
air preheater (cold-side S C R ) . The catalyst may be made of
precious metals (platinum or palladium), base metal oxides
 (vanadium/titaniurn are most common), or zeolites (crystalline
aluminosilicate compounds). The performance of the SCR system
is influenced by the flue gas temperature and moisture, fuel
sulfur and ash content, NH3/N0, ratio, NOx concentration at
the SCR inlet, oxygen level, flue gas flow rate, space
velocity, and catalyst condition. While SCR has been applied
to some natural gas- and oil-fired boilers in the United
States (primarily California), its use in the United States on
coal has been limited to slip-stream applications. Several
full-scale utility coal-fired SCR systems are currently under
construction on new boilers,
   Flue gas treatment controls can be combined with combustion
 controls to achieve additional NOx reduction. Conceivably,
either SNCR or SCR could be used with LNB; however, there is
 only one application of SNCR + LNB in the United States on a
 coal-fired boiler and it is in the early stages of
demonstration. When combining LNB with SCR or SNCR, the
 design of the system is critical if the two NOx control
 technologies are to achieve maximum reduction. In some cases,
 LNB can be designed to achieve the majority of the NOx
 reduction, with SNCR or SCR used to "trimw the NOx to the
 desired level.




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2.5   SUMMARY OF PERFORMANCE AND COSTS OF NOx CONTROLS FOR
      COAL-FIRED UTILITY BOILERS
2.5.1 Performance of NOx- Controls
   A summary of NOx emissions from coal-fired boilers with
combustion NOx controls is given in table 2-3. The table
includes the NOx reduction potential, typical uncontrolled NOx
levels, expected controlled NOx levels for pre-NSPS boilers,
and typical baseline NOx levels for NSPS boilers. The typical
uncontrolled NOx levels for the pre-NSPS boilers are based on
actual retrofit applications, published information, the
National Utility Reference File (NURF), the EPA's AP-42
emission factors, and utility-supplied data. For the NSPS
boilers, the typical baseline levels were derived from NOx
emission data from boilers with NOx controls as original
                        J

equipment. The typical uncontrolled NOx level for a specific
boiler may differ from those shown in table 2-3. Therefore,
the expected controlled NO, emission level should be adjusted
accordingly. The expected controlled NOx levels were
determined by applying the range of NOx reduction potential
 (percent) to the typical uncontrolled NOx level.
   Operational modifications have been shown to reduce NOx
emissions by 10-20 percent from pre-NSPS tangential boilers
from uncontrolled NOx levels of 0.7 l b / ~ ~ ~tot approximately
                                                   u
0.55 to 0.65 lb/MMBtu. Pre-NSPS wall-fired boilers with
uncontrolled NOx emissions of 0.9 lb/MM~tumay be reduced to
0.7 to 0.8 lb/MMBtu with operational modifications. Post-NSPS
boilers may be originally designed to operate with LEA as part
of the overall NOx control strategy; therefore, additional
reductions with operational modifications may only reduce NOx
marginally. There were no data available concerning the
 effectiveness of operational controls on these boilers.
    Emissions data from two pre-NSPS boilers indicate that
 retrofit of OFA can reduce NOx emissions from such boilers by
 20 to 30 percent. Based on these data, pre-NSPS tangential
 boilers with retrofit OFA are expected to have controlled NOx
 emissions of 0.50 to 0.55 lb/MM~tu. Corresponding wall-fired
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 TABLE 2-3.               EXPECTED NOx EMISSIONS FROM COAL-FIRED BOILERS WITH COMBUSTION CONTROLS

                                                                                                                          HSPS boilers
                                                                            Pre-HSPS b o i l e r s                          110 levels
                                                                          NO, level ( t b / ~ n ~ t u ~                     (lh~tu)
                                   UOx reduetian                  Typi c e l                    Expected                Typical baseline
 Control technology                potential (%la            uncontrolled levelb            control led levelC               levelC             1 Applicable bol l e r des Igns
 Operet tonal
 Uodificetlons COWS,
 LEA, BF1
                          I             10-20                         T=0.70
                                                                                        I       1=0.55-0.65
                                                                                                U=O.70-0.80       I             . .
                                                                                                                                 *   -          1 Same wall and tangential
                                                                                                                                                  b o i l e r s thet have operational
                                                                                                                                                1 flexibility.
 OFA                                   20-30                          TaO.70                    t=0.50-0.55                                     , Some well and tangential
                                                                      U4.90                     W0.60-0.70                       --             boilers u i t h sufficient
                                                                                                                                                furnace height above top row
                                                                                                                                                o f burners.
                                                                                                                                                Host wall and tangential
                                                                                                                                                boilers, encept slagging
                                                                                                                                                units.
                                                                                                                                                Some well and tangential
                                                                                                                                                boilers u it h sufficient
                                                                                                                                                furnace height above top row
                                                                                                                                                of burners.
                                                                                                                                                Most b o i l e r types with
                                                                                                                                                s u f f i c i e n t furnace height
                                                                                                                                                above top row o f burners.

a ~ ~reduction
      ,        potential based on data presented in Chapter 5.0.

b ~ y p i c a l leveis based on data presented i n Chapter 4.0.           T    =   tangential, W = wall, Ce   =       c e l l , and Cy = cyclone.

c ~ o n t r ol el d NOx level b s e d on typical NOx level and deta presented i n Chapter 5.0. The expected NOx emissions should be adjusted according
 t o the actual mcontrolled NOx Levet f o r a specific boiler by the NOx reduction potentiat.

d~angentie l lon NO, burners incorporate close- coupled overf ir e a i r .

%OS~-MSPS b o i l e r s with NO,   controls es o r i g i n a l o r r e t r o f i t equipnent.

f ~ a n g e n t i a l low NOx burners Incorporate separateil overfire a i r .

--   = Not applicable.




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    boilers with uncontrolled NOx levels of 0.9 lb/MMBtu are
    expected to have controlled NOx emissions of 0.60 to
    0.70 lb/MMBtu with OFA. However, not a l l pre-NSPS boilers
    have enough furnace height above the top row of burners to
    accommodate OFA ports.
       Some NSPS boilers have OFA as part of the original NOx
    control equipment. One application of OFA on a subpart Da
    boiler was shown to reduce NOx by approximately 25 percent
    however, OFA and the original LNB did not reduce NOx to the
    NSPS limit and the LNB had to be replaced. Another
    application of OFA on a subpart D boiler reduced NOx by
    approximately 20 percent to the NSPS limit. There are no data
    available concerning the effectiveness of retrofitting OFA on
    a NSPS boiler.
       With retrofit LNB (including CCOFA) on pre-NSPS tangential
    boilers, the controlled NOx emissions are expected to be
    reduced by 35 to 4 5 percent to 0.40 to 0.45 lb/MMBtu from an
    uncontrolled level of 0 . 7 lb/MMBtu. With LNB on wall-fired
    boilers, the NOx emissions are expected to be reduced by 40 to
    5 0 percent to 0 . 4 5 to 0.55 lb/MMBtu from an uncontrolled level
    of 0.9 lb/MMBtu. The cell boilers are also expected to
    average 0 . 4 5 to 0 . 5 0 lb/MMBtu with LNB (50 to 55 percent
    reduction) from an uncontrolled level of 1 . 0 lb/MMBtu.
    Results from 18 retrofit applications were used to estimate
     the effectiveness of LNB.
        Some post-NSPS boilers were designed with LNB to meet the
     subpart D and subpart Da standards and the NOx emissions are
     in the range of 0.35 t o 0 . 5 0 lb/MMBtu for tangential boilers
     and 0.25 to 0.50 lb/MMBtu for wall boilers. Results from 22
     new applications were used to estimate the effectiveness of
     LNB .
        For the pre-NSPS tangential boilers with retrofit LNB + OFAt
     the controlled NOx emissions are expected to be reduced by 40
     to 50 percent to 0.35 to 0.40 lb/MMBtu from an uncontrolled
     level of 0 . 7 lb/MMBtu. Wall-fired boilers with uncontrolled
     NOx of 0 . 9 lb/MMBtu are expected to be reduced to 0.35 to


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0.45 lb/MMBtu (50 to 60 percent reduction) with LNB + AOFA.
Cell-fired boilers are expected to average 0.40 to
0.50 lb/MMBtu (50 to 60 percent reduction) from an
uncontrolled level of 1.0 lb/MM~tu. The effectiveness of
LNB   + OFA is based on   11 retrofit applications.
   Some post-NSPS boilers were designed with LNB + AOFA to meet
the subpart D and subpart Da standards and the NO, emissions
range from 0.25 to 0.50 L ~ / M M B ~for
                                      U tangential and 0.40 to
0.55 lb/MMBtu for wall boilers. As a retrofit control, the
combination of LNB + AOFA may be applicable to only the
boilers with sufficient furnace height and volume to
accommodate the additional air ports. The effectiveness of
LNE3 + AOFA on new boilers is based on results from two
applications.
   With reburn retrofit on pre-NSPS tangential boilers, the NOx
emissions are expected to be 0.30 to 0.35 lb/MMBtu. For the
wall-fired boilers, the NOx emissions are expected to be 0.35
to 0.45 lb/MMBtu, whereas the NOx emissions are is expected to1
be 0.6 to 0.75 lb/MMBtu for cyclone boilers. These emission
rates are based on limited data from four reburn retrofit
projects on pre-NSPS boilers less than 200 MW in size. Based
on these data, 50 to 60 percent reduction is estimated for all
boiler types. One natural gas co-firing application on a
450 mw coal-fired boiler yielded only 20 to 30 percent NOx
reduction. There are no NSPS boilers in operation with reburn
as original or retrofit equipment. However, it is estimated
 that these boilers can achieve approximately the same
reduction ( 5 0 to 60 percent) as pre-NSPS boilers since they
may have large furnace volumes and should be able to
accommodate the reburn and completion air ports above the top
 row of burners.
    As shown in table 2-4, applying SNCR to pre-NSPS tangential
boilers is expected to reduce NOx emissions by 30 to
 60 percent to 0.30 to 0.50 lb/MMBtu. For wall-fired boilers,
 the NOx emissions are expected to average 0.35 to
 0.65 lb/MMBtu with SNCR. It is estimated that the range of ,
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                       TABLE 2 - 4 .              EXPECTED NOx EMISSIONS FROM COAL-FIRED UTILITY BOILERS
                                                              WITH FLUE GAS TREATMENT CONTROLS

                             I                                I                 re-HSPS h i ters
                                                                           NOw level Ib/MMetu)
                                                                                                                          NSPS boilers
                                                                                                                            HO levels
                                                                                                                            (i E / n ~ ~ t u )
                                     NO, reduction
                                       potentiala                     Typicel              E~pected                   Expected con r o l l e d
  Control technotogy                       C%)                   uncontroiled levelb controlled levetC                       level   d         Appltcable b o i l e r designs
  SHCR                                    30-60                             .
                                                                       T=O TO
                                                                       W=0.90
                                                                                         T-0.30-0.50
                                                                                         U=0.35-0.45
                                                                                                                                               Applicable t o most b o i l e r
                                                                                                                                               designs. Must have
                                                                       Ce=l .O          Ce=0.40-0.70                                           s u f f i c i e n t residence t i m e a t
                                                                      cy=1.5             Cy0.6-1.10                                            correct ternperature (870-
                                                                                                                                               1,040 .OC).
 SCR                                     7 ~ 4 5 ~                     T=0.70                                                                     Apptfcable t o most boiter
                                                                       V=O .90                                                                    designs. Hot-side SCR,best
                                                                       Ce=?.O                                                                     used on tow s u l f u r fuel and
                                                                                                                                                  low f l y ash applications.
                                                                                                                                                  Cold-side SCR can be used on
                                                                                                                                                  high sulfur, high ash
                                                                                                                                                  applications i f equipped
                                                                                                                                                  with upstream FGD.
                                                                                                                                                  Same as SHCR and LNB alone

  --


 LHB + AOFA + SCR
                            I            85-95f
                                                             I         T=O.~O
                                                                       Y=O.PD
                                                                                                                                                 Same as SCR and LMB + AOFA
                                                                                                                                                 elone


B ~ ~reduction
       ,           based on deta presented i n Chapter 5.0.

%ypical uncontrolled levels based upon date presented in Chapter 4.0.                         T   = tangential,   U   = watt, Ce = cett, Cy = cyclone, and
 FBC = f l u i d i z e d bed colllbustion.

C ~ o n t r o l l e dNOx level based on the t y p i c a l UOx levet and date presented in Chapter 5.0. The enpected NOx emissions should be adjusted
 according t o the actual uncontrolled NO, level f o r a specific boi t e r by the NOx reduction potential.

d ~ o n t r oled
             t   levels f o r f l w gas treatment as o r i g i n a l or r e t r o f i t equipnent.




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controlled NOx emissions fr,omthe cell and cyclone boilers
retrofit with SNCR would be 0.40 to 0.70 lb/MMBtu and 0.60 to
1.10 lb/MP$Etu, respectively. However, SNCR has not been
applied to any cell and cyclone boilers at this time. The
predicted effectiveness of SNCR for pre-NSPS boilers is based
on three full-scale applications on coal-fired boilers (two
wall-fired and one vertical-fired). There are no data
available from any conventional NSPS utility boilers with SNCR
as original or retrofit equipment. However, the same NOx
reduction (30 to 60 percent) is expected on these boilers as
on pre-NSPS boilers.
   The FBC boilers designed with SNCR as original equipment
have NOx emissions 50 to 80 percent lower than FBC boilers
without SNCR and have emissions in the range of 0.03 to
0.10 lb/MMBtu. This is based on results from seven original
applications of SNCR on FBC boilers.
   The remaining flue gas treatment control, SCR, has had very
limited application on coal firing in the United States.
However, SCR is being used in Japan and Germany on a number of
coal-fired utility boilers. Primary concerns associated with
transfer of foreign SCR performance data to the U.S. are the
higher sulfur and alkali contents in many U.S. coals, both of
which may act as catalyst poisons and thereby reduce catalyst
activity and lifetime. The predicted effectiveness of SCR is
7 5 to 85 percent, which is based on data from three p i l o t -
scale applications in the U.S. By retrofitting SCR on
pre-NSPS boilers, the estimated NOx emissions from tangential
and wall boilers would be 0.10 to 0.20 lb/MMBtu and 0.15 to
0.25 lb/MMBtu, respectively. Predicted emissions from cell
and cyclone boilers would be 0.15 to 0.25 lb/MMBtu and 0.25 to
 0.40 lb/MMBtu, respectively. Since there are no full-scale
applications on coal in the United States, the expected rangas
of NOx reduction and NOx emissions are estimated.
    The combination of LNB + SNCR is estimated to reduce NOx
 emissions by 50 to 80 percent; however, this combination of
 controls has only been applied to one coal-Fired boiler and
                                                                          I


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the results indicate approximately 70 percent reduction. For
the pre-NSPS tangential boilers, the NOx emissions are
expected to be in the range of 0.15 to 0.35 lb/MMBtu. The NOx
emissions from the pre-NSPS wall boilers are expected to be in
the range of 0.20 to 0.45 l b / ~ ~ ~ t For
                                        u . the cell boilers, the
NOx emissions are expected to be in the range of 0.20 to
0.50 lb/MMBtu. For the NSPS boilers, the NOx reduction from
LNB + SNCR is expected to be the same as SNCR alone (30 to
60 percent from the NSPS levels) since these boilers already
have LNB as original equipment. However, there are no
applications of LNB + SNCR as original equipment on new
boilers yet.
    By combining LNB + AOFA + SCR, it is estimated that 85 to
9 5 percent NOx reduction can be achieved on pre-NSPS boilers.
For these boilers, the NOx emissions are expected to be in the
range of 0.05 to 0.15 lb/MM~tu,depending on boiler type. For
the NSPS boilers, the NOx reduction are expected to be the
same as for SCR alone (75 to 85 percent from NSPS levels),
since these boilers may already have LNB + AOFA as original
equipment. However, there are no applications of LNB + AOFA +
SCR as original equipment in operation on new boilers at this
time. This combination of controls has not been applied to
existing pre-NSPS boilers either; therefore, these reductions
and controlled levels are estimates only and have not been
demonstrated.
2.5.2                -
                    Controls
  The estimated costs for controlling NOx emissions are based
on data from utilities, technology vendors, and published
literature. The actual costs for both new and retrofit cases
depend on a number of boiler-specific factors, and a
particular NO, control technology may not be applicable to
some individual boilers. The costs presented here are meant
to provide general guidance for determining costs for similar
situations. The costs are presented in 1991 dollars.
However, cost indices for 1992 dollars are only 0.85 percent


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lower than 1991 dollars; therefore, the values in this section
are indicative of the 1991-1992 timeframe.
   Table 2-5 presents a summary of the cost effectiveness of
various NOx controls applied to coal-fired utility boilers.
The costs presented are for LNB, LNE + AOFA, reburn, SNCR,
SCR, LNB + SNCR, and LNB + AOFA + SCR applied to both
tangential and wall boilers. Costs for reburn, SNCR, and SCR
are given for cyclone boilers, and costs for SNCR are given
for FBC boilers. The costs are based on various factors as
described in chapter 6. The cost estimates for SNCR are for a
low-energy, urea-based SNCR system as they were found to be
comparable in cost to a high-energy NH3-based SNCR system.
   For tangential boilers, the cost effectiveness ranges from a
low of $100 per ton for LNB (a new 600 MW baseload boiler) to
a high of $12,400 per ton for LNB + AOFA + SCR (a 100 MW
peaking boiler and a 2-year catalyst life). The retrofit of
LNB or LNB + AOFA is estimated to result in the least cost per
ton of NOx removed for the tangential boilers. The cost
effectiveness for LNB ranges from $100 to $1,800 per ton. The
cost effectiveness for LNB + AOFA ranges from $170 to $3,300
per ton. The primary cause of the higher cost effectiveness
values is boiler duty cycle ( i . e . , capacity factor). The
retrofit of SCR or LNB + AOFA + SCR is estimated to be the
highest cost per ton of NOx removed. The cost effectiveness
for SCR ranges from $1,580 to $12,200 per ton. The cost
effectiveness for LNB + AOFA + SCR ranges from $1,500 to
$12,400 per ton.
   Figure 2-1 shows the NOx control cost effectiveness for a
 300 MW baseload tangential boiler. As shown, LNB and LNB +
AOFA have the lowest cost effectiveness for controlled NOx
 levels of 0.35 to 0.45 lb/MMBtu. The large variation in
 reburn cost effectiveness (on this and other figures in the
 section) is driven primarily by the fuel price differential
 between natural gas and coal ($0.50 to $ 2 . 5 0 / M ~ ~ t u ) .The cost
 effectiveness of individual control techniques increases as
 the controlled NOx emissions decrease.
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           TABLE 2-5.         SUMMARY OF NOx CONTROL COST EFFECTIVENESS FOR COAL-FIRED
                                             'UTILITY BOILERS (1991 DOLLARS)

                                                           Cost Effectiveness ($/ton)a
 Boiler        NOx control            100 MW            100 MW         300 MW          300 MW            600 MW
 firing type   technology            (peaking)      (baseload)        (cycling)      (baseload)         (baseload)
 Tangential    LNB~                1,120-1,800       220-350           280-440         140-220           100-170
               LNB + AOFA          2,060-3,300       400-630           460-730.        230-370           170-260
               Reburn              3,870-5,930      970-3,030        1,150-3,220      72O-Z,79O         62O-2,680
               SNCR               2,600-2,960       860-1,160         900-1,210        670-970           600-910
               SCR                9,470-12,200     1,970-2,490       3,140-4,160     1,690-2,210       1,580-2,100
               LNB .t SNCR        2,420-2,530        590-700           660-770         410-520           340-450
               LNB + AOFA     +   9,990-12,400     2,020-2,490       3,120-4,040     1,650-2,110       1,500-1,970

Wall           LNB                 2,000-3,200       380-620           470-750        240-380            180-280
               LNB + AOFA          3,420-5,470      660-1,050         750-1,200       380-610            270- 4 30
               Reburn              3,010-4,600      750-2,360         900-2,500      560-2,170          48O-2,080
               SNCR               2,160-2,470       760-1,070         800-1,100       620-920            560-870
               SCR                7,540-9,650      1,580-1,990       2,500-3,300    1,360-1,760        1,270-1.670
               LNB   + SNCR       2,750-2,860        650-760           740-850        450-560            370-480
               LNB + AOFA     +   9,250-11,100     1,870-2,230       2,760-3,480    1,460-1,820        1,300-1,600
                SCR
Cyclone        Reburn             1,810-2,770       460-1,420         540-1,510      340-1,300         290-1,250
               SMCR               1,460-1,780        620-940           650-960        540-850           510-820
               SCR                4,670-5,940      1,010-1,260       1,560-2,040     870-1,110     .   810-1,050

aCost effectiveness based on data presented in Chapter 6.0.
b ~ e a k i n g = 10% capacity factor.
C~aseload= 65% capacity factor.
d~ycling= 30% capacity factor.
e~ncorporatesclose-coupled overfire air.




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   For wall boilers, the cost effectiveness ranges from a low
of $180 per ton for LNB (a new 600 MW baseload boiler) to a
high of $11,100 for LNB + AOFA + SCR (a 100 MW peaking boiler
and a 2-year catalyst life). Typically, the retrofit of LNB
or LNB + AOFA is estimated to result in the lowest cost per
ton of NOx removed for the wall boilers. The cost
effectiveness for LNB ranges from $180 to $3,200 per ton. The
cost effectiveness for LNB + AOFA ranges from $270 to $5,470
per ton. The retrofit of SCR or LNB + AOFA + SCR is estimated
to have the highest cost per ton of NOx removed. The cost
effectiveness of SCR ranges from $1,290 to $9,650 per ton.
The cost effectiveness of LNB + AOFA + SCR ranges from $1,300
to $11,100 per ton.
   Figure 2-2 shows the NOx control cost effectiveness for a
300 MW baseload wall boiler. As shown, LNB and LNB + AOFA
have the lowest cost effectiveness for controlled NOx levels
of 0.35 to 0.55 lb/MMBtu. Reburn is also cost effective if
the price of the reburn fuel is economical.
   Estimated cost effectiveness for reburn, SNCR, and SCR for
cyclone boilers are also shown in table 2 - 5 . The retrofit of
reburn and SNCR has the lowest estimated cost per ton of NOx
removed whereas retrofitting SCR has the highest. The cost
effectiveness of reburn ranges from $290 to $2,770 per ton and
the cost effectiveness of SNCR ranges from $510 to $1,780 per
ton. The cost effectiveness of SCR ranges from $810 to $5,940
per ton. Figure 2-3 shows the NOx control cost effectiveness
 for a 300 MW baseload cyclone boiler. The large variation in
 SNCR cost effectiveness is driven primarily by the variability
 in chemical costs and NOx reductions among individual boilers.
   The cost effectiveness for SNCR applied to FBC boilers is
 given in table 2-6 and ranges from a low of $1,500 per ton
 (200 MW baseload) to a high of $5,400 per ton (50 Mw cycling) .
    In all cases, the factor having the greatest potential
 impact on the cost effectiveness of NOx controls is boiler
 capacity factor. Depending on the control technology, the
 cost effectiveness associated with reducing NOx emission from
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                                                     Wall-Fired
                                                     Sizc = 3Ml M W




Figure 2 - 2 .   NOx control cost effectiveness for coal-fired wall boilers


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              TABLE 2 - 6 .     SUMMARY OF NOx CONTROL COST EFFECTIVENESS FOR FBC BOILERS
                                                             (1991 DOLLARS)
                 I                I
                                                         Cost Effectiveness ($/ton)a
     Boiler          Nox                5 0 MW           50 MW              100 MW         100 MW       200 MW
     firing          control          (cycling)b      (baseload)           (cycling)     (baseload)   (baseload)
     type            technology
     FBC             SNCR             5,100-5,400    2,800-3,100 3,550-3,850 2,000-2,300 1,500-1,800


     aCost effectiveness based on data presented in Chapter 6.0.
     bcycling = 30% capacity factor.
     CBaseload = 65% capacity factor.
h)




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a peaking-duty boiler (10 percent capacity factor) is 2 to 5
times higher than for a baseload boiler (65 percent capacity
factor). Other significant factors influencing control
technology cost effectiveness are the economic life of the
control system, the boiler size, and the uncontrolled NOx
level.
2.6 SUMMARY OF PERFORMANCE AND COSTS OF NOx CONTROLS FOR
     NATURAL GAS- AND OIL-FIRED UTILITY BOILERS
2.6.1 Performance of NO,- Controls
   A summary of NOx emissions from natural gas- and oil-fired
boilers with retrofit combustion controls is given in
table 2-7. The table includes the NOx reduction potential for
each technology, typical uncontrolled NOx levels, and expected
controlled NOx levels. These data are based on actual
retrofit applications, published literature, NURF, the EPA1s
AP-42 emission factors, and information obtained from
utilities. The typical uncontrolled NOx level for a specific
boiler may differ from those shown in table 2-7. Therefore,
the expected controlled NOx emission level should be adjusted
accordingly. The expected controlled NOx levels were
determined by applying the range of NOx reduction potential
 (percent) to the typical uncontrolled NOx level.
   For pre-NSPS tangential boilers, the uncontrolled NOx level
of 0.30 lb/MMBtu is expected to be reduced to 0.15 to
 0.20 l b / ~ ~ B t(30
                    u to 50 percent reduction) with operational
modifications such as BOOS + LEA. Corresponding pre-NSPS
wall-fired boilers with uncontrolled NOx emissions of
 0.50 lb/MMBtu are expected to be reduced to 0.25 to
 0.35 lb/MMBtu with operational modifications. Data was not
 available for operational controls on boilers subject to
 subpart D and subpart Da standards; however, it is estimated
 that these boilers may achieve approximately the same
 reduction (30 to 50 percent) as the pre-NSPS boilers. The
 effectiveness of operational controls are based on eight
 retrofit applications.



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                                          TABLE 2 - 7 . EXPECTED NOx EMISSIONS FROM NATURAL GAS- AND
                                             OIL-FI-RED UTILITY BOILERS WITH COMBUSTION CONTROLS

                                                                     Pre-NSPS Boilers                               HSPS B o i l e r s
                               NOx reduct      on                 NO, l e v e l (lb/MMBtU)                      NOx levet (tb/mdBtu)
       Control                   potential    b                                                                                                  Appticable b o i l e r designs
       technologye                    I%)                   Typi ca 1            Expected con r o l l e d          Typical baseline
                                                        uncont r d led                     level   d                       levele
     -    --     -   --   -


      Operat ione 1                                                                                                                              ~ o s tb' o i l e r s that have operational
      Modifications                                                                                                                              flexibility.
      (LEA + BOOS)                                                                                                                               -    - -      --    -   -   --



       FGR                                                                                                                                       Host wail and tangential boilers.


                                                                                                                                                 Host wall and tangential boilers.


                                                                                                                                                 Most wall and tangential boilers.

I
h,
\D    LNB + OFA (or                                                                                                                              Most wall and tangential b o i l e r s u i t h
      BOOS)                                                                                                                                      s u f f i c i e n t furnace height.

      Conbinat i o n                                                                                                                             Host wall and tangential boilers.                .
      controlsf

                                                                                                                                                 S m hil e r designs with large furnece
                                                                                                                                                 volunes and s u f f i c i e n t furnace height.


     a~~~      = burners-out-of-servlce, LEA = low excess a i r ,                   FGR = f l u e gas r e c i r c u t a t ion, OFA = o v e r f i r e a i r ,
      LNB    =   l o n NOx burners.
     40, reduction based on data presented in chapter 5.
     C ~ y p i c auncontrolled
                     l                   Ievels based on date presented in chapter 4. T = tangential and U = wall.
     d ~ o n t r o l t e dNO^ l e v e l b s e d on t y p i c a l HOx l e v e l end date presented i n chapter 5. The expected NOx
       emissions should be adjusted according t o the actuel uncontrolled NO, level f o r a s p e c i f i c b o i l e r .
     e P o s t - ~              e r~s with NO, controts es o r i g i n a l o r r e t r o f i t q i p m e n t .
                        b o~i l ~
     f ~ o & i n a t i o n o f FGR + BOOS or OFA; LHB + FGR + BOOS (or OFA).
     % i m i t e d experience abroad on gas/oi 1 and m e n i s t e n t experience i n U. S. Percent reduction based on
       coal - f ired experience.




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   The pre-NSPS tangential boilers are expected to reduce NO,
from an uncontrolled level of 0.30 lb/MMBtu to a controlled
NOx level of 0.15 to 0.20 lb/MMBtu with FGR ( 4 5 to 55 percent
reduction). Corresponding wall-fired boilers are expected to
have controlled NOx emis~ionsof 0.25 to 0.30 lb/MMBtu with
FGR. The post-NSPS boilers are expected to achieve the same
percent reduction as the pre-NSPS boilers ( 4 5 to 55 percent).
The effectiveness of FGR is based on two retrofit
applications.
   With retrofit OFA on pre-NSPS tangential boilers, the
controlled NOx emissions are expected to be 0.15 to
0.30 lb/MMBtu and.the wall-fired boilers are expected to be
0.30 to 0.45 lb/MMBtu. Some post-NSPS boilers may be designed
or retrofitted with OFA to meet the subpart D and subpart Da
standards and are expected to be in the range of 0.10 to
0.25 lb/MMBtu depending on fuel. However, OFA is typically
combined with other combustion modifications such as LEA
rather than used alone. The estimated percent reduction is
based on four applications of OFA + LEA on pre-NSPS boilers.
    With retrofit LNB on pre-NSPS tangential boilers, the
controlled NOx emissions are expected to be 0.15 to
 0.20 lb/~mtuand the wall-fired boilers are expected to be
 0.25 to 0.35 lb/MMBtu (30 to 50 percent reduction). Some
post-NSPS wall and tangential boilers may be designed with LNB
 to meet the subpart D and subpart Da standards and are in the
 range of 0.10 to 0.25 lb/MMBtu depending on fuel. Results
 from six pre-NSPS retrofit applications were used to estimate
 the effectiveness of LNB.
    By combining FGR + BOOS (or OFA) + LNB on pre-NSPS
 tangential and wall boilers, the controlled NOx emissions are
 expected to be 0.05 to 0.20 lb/MMBtu. Some post-NSPS boilers
 may be designed with FGR + BOOS + LNB that meet the subpart D
 and subpart Da standards and are in the range of 0.05 to
 0.25 lb/MMBtu. These results are based on two pre-NSPS
 boilers.



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    With reburn on pre-NSPS tangential and wall boilers firing
o i l , the NOx emissions are estimated to be 0.10 to
0.20 lb/MMBtu and 0.20 to 0.25 lb/MM~tu,respectively.
However, reburn experience on oil-fired b o i l e r s is very
limited and the expected controlled emissions are estimated.
There are no post-NSPS oil-fired boilers with reburn as
original equipment. The effectiveness of reburn on oil-fired
boilers is based on the coal-fired experience and is estimated
to be 50 to 60 percent reduction.
     Table 2-8 presents a sumnary of expected NOx emissions from
natural gas- and oil-fired boilers with flue gas treatment
alone and combined with combustion controls. For pre-NSPS
tangential boilers with SNCR, the expected controlled NOx
level is expected to be 0.20 to 0.25 lb/MMBtu, whereas the
range for wall-fired boilers is 0.30 to 0.40 lb/MMBtu (25 to
40 percent). These results are based on two SNCR application
on oil boilers and ten SNCR applications on natural gas
boilers. For post-NSPS boilers with SNCR, the expected
controlled NOx level is 0.10 to 0.25 lb/MMBtu retrofit
depending on boiler type. However, there are no data from
post-NSPS boilers with SNCR, nor are there data from post-NSPS
boilers designed with SNCR as original equipment. Therefore,
these reductions and controlled levels are estimated.
     For pre-NSPS tangential boilers, the expected controlled NOx
 is 0.03 to 0.10 lb/~MBtuwith retrofit SCR. The expected
 controlled NOx for wall-fired boilers is 0.05 t o
 0.10 lb/MMBtu. For post-NSPS boilers, the expected controlled
NOx levels is 0.05 to 0.25 lb/MMBtu depending on boiler type.
 These results are based on one pilot-scale and one full-scale
 application. There are no data from post-NSPS boilers with
 retrofit SCR, nor are there data from post-NSPS boilers
 designed with SCR as original equipment. Therefore, these
 reductions and controlled levels are estimates only.
      The combination of LNB + SNCR is estimated to reduce NOx
 emissions by 70 to 80 percent and data from one application of
 LNB + OFA * SNCR on a coal-fired boiler shows 70-85 percent
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               TABLE 2 - 8 .          EXPECTED NOx EMISSIONS FROM NATURAL GAS- AND OIL-FIRED UTILITY
                                                BOILERS         WITH FLUE GAS TREATMENT CONTROLS

                                                                               Pre-NSPS bai l e r s                      NSPS boi l e r s
                                        UOx reduct on
                                         potentiat  b                        NO,, level (lb/MMBtu)                   NOx levet tlb/MHBtu)
                                                                                                                                                Appt icable b o i l e r
      Control technologp                      (XI                                                                                               designs
                                                                  Typical               Expected con t o 1 l e d     Expected control l e d
                                                                uncontrol l e d                level  d                     Levele
                                                                   Levetc
      SHCR                                  25-40               Gas and O i l :             Gas and O i l:                   Oit:                Applicable t o most
                                                                   Tr0.30                   7~0.20-0.25                 T,CI=O.15-0.25           b o i l e r designs; however,
                                                                                            V=0.30-0.40                       Gas:              must have s u f f i c i e n t
                                                                                                                        T,U=O.lO-0.20            residence time i n
                                                                                                                                                convective pass a t
                                                                                                                                                correct temperature.
      SCR~                                  80-90               Gas and Oi 1:              Gas and O i l :                   O i I:             Applicable t o most
                                                                   1~0.30                  1=0.03-0.10                  T,U=O.O5-0.25           b o i l e r designs. Hot-
                                                                    U=O.SO                 U=0.05-0.10                       Gas:               side SCR best used on
                                                                                                                        T,U=O.03-0.20           low s u l f u r f u e l and low
                                                                                                                                                f l y ash applications.
                                                                                                                                                Cold-side SCR can be
                                                                                                                                                used on high sulfur,
                                                                                                                                                high ash apptications,
                                                                                                                                                i f equipped w i t h
                                                                                                                                                upstream FIX.
     LNB + S N C R ~                       70-80                Gas and O i l :            Gas and O i l :                   Oil:               Same as SNCR and CUB'S
                                                                   T=O .SO                  7=0.05-0.10                T,U=0.10-0.25            alone.
                                                                   u=o.50                  lk0.10-0.15                      Gas:
                                                                                                                       T,W=0.05-0.20
     LHB + AOFA + S C R ~                  85 -95               Gas and O i l :            Gas and Oit:                      Oil:               Same as SCR and LNB +
                                                                   To0.30                  1.0.02-0.30                 T,W=O.05-0.25            AOFA alone.
                                                                                           W=0.03-0.10                      Gas:
                                                                                                                       T,W=0.05-0.20

    =SNCR     = Selective noncatalytic reduction, SCR = Selective c a t a t y t i c reduction, LNB = Low HOx burners, and AOFA = Advanced overf ir e a i r                .
    bHox    reduction based upon data presented i n chapter 5.0.
    C ~ y p i c a lm c a n t r o l l e d levels based on data presented i n chapter 4.0.            T = tangential, U = wall.
    dControlled HOx level based on typicat WOx level and data presented i n chapter 5.0.                             The enpected HOx emissions should be adjusted
     according t o the actual u n c m t r o l l e d WOK l w e l f o r a s p e c i f i c b o i l e r by t h e NOx reduction potential.
    e ~ o n t r o l t e dlevels f o r f l u e gas treatment controls as o r i g i n d o r r e t r o f i t equipment.
    f ~ S oNCR applications on b o i i e r s above 200 MU.
    gLimited o r no f u l l - s c a l e i n s t a l l a t i o n s i n U. S;. therefore, these are estimated reduction levels.




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reduction across the load range, For pre-NSPS tangential
boilers, the NOx emissions are expected to be in the range of
0.05 to 0.10 lb/MMBtu. For pre-NSPS wall-fired boilers, the
NOx emissions are expected to be 0.01 to 0.15 lb/MMBtu. There
are no data from post-NSPS boilers with LNB + SNCR as original
or retrofit equipment; therefore, these reductions and are
estimated controlled levels.
    By combining LNB + AOFA + SCR, it is estimated that 85 to
95 percent NOx reduction can be achieved. The NOx emissions
are expected to be in the range of 0.02 to 0.1 lb/MMBtu and
the post-NSPS boilers are expected to be in the range of 0.05
to 0.25 lb/MMBtu. This control technology combination has not
yet been applied to existing or new boilers; therefore, these
reductions and controlled levels are estimates.
2.6.2 Costs of NO,- Controls
    Table 2-9 presents a summary of the cost effectiveness of
various NOx controls applied to natural gas- and oil-fired
utility boilers. The costs presented are for LEA + BOOS, LNB,
LNE + AOFA, reburn, SNCR, SCR, LNB + SNCR, and LNB + AOFA +
SCR applied to both tangential and wall boilers. The costs
are based on the various factors described in chapter 6.
    For tangential boilers, the cost effectiveness ranges from a
 low of $70 per ton for LEA + BOOS (a new 600 MW baseload
boiler) to a high of $16,900 per ton for LNB + AOFA + SCR
  (100 MW oil-fired peaking boiler and a 3-year catalyst life).
The retrofit of LEA + BOOS or LNB is estimated to have the
 lowest cost per ton of NOx removed for the tangential boilers.
 The cost effectiveness value of LEA + BOOS ranges from $70 to
 $500 per ton. The cost effectiveness value for LNB ranges
 from $250 to $4,200 per ton. The retrofit of SCR or LNB +
 AOFA + SCR is estimated to have the highest cost per ton of
 NOx removed. The cost effectiveness value of SCR ranges from
 $1,530 to $11,700 per ton for natural gas-fired units and from
 $1,800 to $14,700 per ton for oil-fired units. The cost
 effectiveness of LNB + AOFA + SCR ranges from $1,650 to


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               TABLE 2-9.     SUMMARY OF NOx CONTROL COST EFFECTIVENESS FOR NATURAL
                                 GAS- AND OIL-FIRED UTILITY BOILERS (1991 DOLLARS)

                                                            Cost effectiveness
Boiler       NOx control               100 MW        f 00 MW             300 MW            300 MW        600 M W
firing       technology               (peaking)    (baseload)          (cycling)         (baseload)    (baseload)
type
Tangential   LEA+BOOS                  230-500          100-360         90-350      .     80-340        70-340
             LNB                     2,620-4,190        500-810        640-1,020          330-520       250-400
             LNB+AOFA                4,810-7,690    930-1,480         1,060-1,700         540-860       380-620
             Reburne             8,480-12,800      2,320-6,690        2,720-7,080       1,800-6,170   1,580-5,940
             SNCR                    7,090-7,450   1,820-2,180        1,940-2,300       1,260-1,620   1,070-1,430
             SCR (natural qas)   10,800-11,700     2,310-2,470        3,150-3,470       1,740-1,900   1,530-1,690
             SCR (oil)           12,200-14,700     2,580-3,040        3,690-4,600       2,010-2,480   1,800-2,260
             LNB +SNCR               5,830-5,990   1,260-1,370        1,430-1,540         810-920      640-750
             LNB+AOFA+SCR        13,400-14,200     2,750-2,900        3,640-3,930       1,960-2,100   1,650-1,800
             (natural gas)
             LNB+AOFA+SCR        14,700-16,900     3,010-3,400    4,130-4,970           2,210-2,690   1,900-2,330
             (Oil)




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                   TABLE 2-9.    SUMMARY OF NOx CONTROL COST EFFECTIVENESS FOR NATUF!AL
                                    GAS- AND OIL-FIRED UTILITY BOILERS (1991 DOLLARS)
                                                ( CONCLUDED)


                                                              Cost effectiveness ($/ton)a
Boiler        NO, control                100 MW         100 MW          300 MW         300 MW          600 MW
firing        technology                              (baseload)      (cycling)      (baseload)      (baseload)
type
Wa 11         LEA+BOOS                   140-300        60-220          50-210         50-200          40-200
Firing
              LNB                      3,600-5,750     690-1,110      840-1,340       430-680          310-500

               LNB+AOFA                6,160-9,850    1,180-1,900    1,350-2.160     680-1,090        480-770

               ~eburn~                 5,080-7,690    1,390-4,010    1,630-4,250    1,080-3,700       946-3,560

               SNCR                    4,470-4,850    1,310-1,690    1,300-1,760     980-1,350        860-1,240

               SCR (natural qas)       6,700-7,200    1,460-1,550    1,960-2,150    1,100-1,200       970-1,070

               SCR (oil)              7,550-8,940     1,620-1,900    2,280-2,830    1.270-1,540      1,130-3,410

              LNB+SNCR                5,200-5,310     1,130-1,250    1,290-1,400      740-850         590-700

              LNB+AOFA+SCR            10,500-11,000   2,150-2,240    2,790-2.910    1,470-1,560      1,200-1,290
              (natural gas)
              LNB+AOFA+SCR            11,300-12,700   2,300-2,560    3.030-3,540    1,620-1,870      1,350-1,610


a ~ o s teffectiveness based on percent reductions given in chapter 6.0.
b~eaking= 10% capacity factor.
c~aseload = 65% capacity factor.
dCycling   = 30%   capacity factor.
eOil-fired boilers only.




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$14,200 per ton for natural gas-fired units and from $1 ,900 to
$16,900 per ton for oil-fired units. Figure 2-4 shows the NOx
control cost effectiveness for a 300 MW baseload tangential
boiler. As shown, LEA + BOOS and LNB have the lowest cost
effectiveness value for controlled NOx emissions of 0.1 to
0.2 lb/MMBtu. For controlled NOx emissions of less than
0.1 lb/MMBtu the cost effectiveness increases.
     For the wall boilers, the cost effectiveness ranges from a
low of $40 per ton for LEA + BOOS (a new 600 MW baseload
boiler) to a high of $12,700 per ton for LNB + AOFA + SCR
 (100 MW oil-fired peaking boiler and a 3-year catalyst life).
The retrofit of LEA + BOOS ox LNB is estimated to have the
lowest cost per ton of NOx removed for the wall boilers. The
cost effectiveness of LEA + BOOS ranges fsom $40 to $300 per
ton. The cost effectiveness of LNB ranges from $300 to $5,800
per ton. The retrofit of SCR or SCR + LNB + AOFA is estimated
to be the highest cost per ton of NOx removed. The cost
effectiveness of SCR ranges from $970 to $7,200 per ton for
natural gas-fired units and fsom $1,130 to $8,940 per ton for
oil-fired units. Figure 2-5 shows the NOx control cost
effectiveness for a 300 MW baseload wall boiler. As shown,
LEA + BOOS and LNB have the lowest cost effectiveness for
 controlled NOx emissions of 0.25 to 0.35 l b / ~ ~ ~ t For u.
 controlled NOx emissions of less than 0.25 l b / ~ M ~ t uthe
                                                             , cost
 effectiveness increases.
     The effects of various plant parameters ( e . g . , capacity
 factor, economic life, boiler size, uncontrolled NOx levels)
 on the cost effectiveness of individual NO, controls are
 similar to those for coal-fired boilers. Due to lower
 uncontrolled NOx levels, the cost effectiveness of applying
 controls to oil- and natural gas-fired boilers is higher than
 for coal-fired boilers.
 2 . 7 SUMMARY OF IMPACTS OF NOx CONTROLS
2.7.1                                     -   Contntrols
   Combustion NOx controls suppress both thermal and fuel NOx
 formation by reducing the peak flame temperature and by
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delaying the mixing of fuel with the combustion air. However,
this can result in a decrease in boiler efficiency for several
reasons. For coal-fired boilers, an increase in carbon
monoxide (CO) emissions and unburned carbon (UBC) levels, as
well as changes in the thermal profile and heat transfer
characteristics of the boiler, may result from combustion
controls. For natural gas- and oil-fired boilers, CO
emissions could also increase, although adverse effects are
infrequently reported from these boilers. The effects from
combustion NOx controls are influenced by boiler design and
operational characteristics such as furnace type, fuel type,
condition of existing equipment, and age.
   Table 2-10 summarizes the impacts from combustion NOx
controls on fossil fuel-fired utility boilers. Based on
limited data, the CO emissions increase on most installations
with use of operational modifications on coal-fired boilers
and decrease on natural gas and oil boilers. There were no
reported effects on UBC levels or boiler efficiency with the
use of operational modifications.
   Overfire air on one coal-fired boiler resulted in a 5 to
85 parts per million (pprn) decrease in CO emissions from
uncontrolled levels. The level of CO emissions with OFA on
the natural gas- and oil-fired boilers ranged from 26-830 ppm.
The UBC level for coal-fired boilers increased approximately
 two- to three-fold with OFA and the boiler efficiency
decreased by 0.4 to 0.7 percentage points.
    Low NOx burners retrofit on coal-fired boilers resulted in
 an increase of both CO and UBC for most applications, and the
 boiler efficiency decreased by 0.5 to 1.5 percentage points.
 For natural gas- and oil-fired boilers, the controlled level
 of CO was 1 to 220 ppm. There were no reported effects on
 boiler efficiency for these boilers.
    The combination of LNB and OFA on coal-fired boilers
 resulted in a slight increase in both CO and UBC. The boiler
 efficiency decreased by 0.2 to 0.9 percentage points. There

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                 TABLE 2-10.          SUMMARY OF IMPACTS FROM COMBUSTION NOx CONTROLS
                                          ON FOSSIL FUEL-FIRED UTILITY BOILERS

   Control
 technology   Fuel I     Carbon monoxide                       Unburned carbon              Boiler efficiency
BOOS, LEA, Coal     One application showed                   No reported                N   O reported
BF                  increase of 40-250 ppm.                  effects.                   I
                                                                                                .
                                                                                           effects
            Gas/Oil 2 applications showed                    No reported effects          No reported
                    decreases of 100-150 ppm.                for oil-firing.              effects.   --



OFA         Coal    One application showed                   Range increased              Decreased by 0.4-
                    decrease of 5-85 ppm.                    from 2.3-5.25 to             0.7 percentage
                                                             7.1-10.2%.                   points.
                                                         No reported effects              No reported
                                                         for oil-firing.                  effects.
LNB                            Ranged increased from 12- Range increased                  Decreased by 0.5-
                               60 pprn to 15-86 ppm.     from 1-7.4% to 1.6-              1.5 percentage
                                                             9.0%.                       points.
                                                             No reported effects          No 'reported
                                                             for oil-firing,              effects.
LNB   +   OFA                  Range increased from 12-      Range increased             Decreased by 0.. 2-
                               3 0 pprn to 20-45 ppm.        from 0.4-5% to 0.3-          0.9 percentage
                                                             6.8%.                       points.
                3as/Oil
                           INo reported effects.             No reported effects
                                                             for oil-firinq.
                                                             Range increased
                                                                                         No reported
                                                                                         effects.
                3oal        Range increased from 60-                                      Decreased by 0.5-
                            94 pprn to 50-132 pprn           from 2.5-23% to              1.5 percentage
                                                             1.5-28%.                     points
                lil        INo data                          No data                      No data




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were no reported effects on the natural gas- and oil-fired
boilers with LNB and OFA.
   With reburn applied to coal-fired boilers, both CO and UBC
increased and the boiler efficiency decreased by 0.5 to
1.5 percentage points. There were no data available for
reburn applied to oil-fired boilers.
2.7.2 Impacts from Flue Gas Treatment Controls
   Flue gas treatment controls remove NOx by a reaction of
injected NH3 or urea in the upper furnace or the convective
pass or by a reaction of NH3 in the presence of a catalyst at
lower temperatures. These controls can produce unreacted
reagents in the form of NH3 slip which can be emitted into the
atmosphere or can be adsorbed onto the fly ash. The NH3 slip
can also react with sulfur trioxide (SO3) from firing coal or
oil and deposit as ammonium sulfate compounds in downstream
equipment. Nitrous oxide (NZO) emissions are typically higher
on boilers with urea-based SNCR systems. Very limited data
are available; however, NHj-based SNCR may yield N20 levels
equal to 4 percent of the NOx reduced and urea-based.SUCR may
yield N20 levels of 7 to 25 percent of the NO, reduced. Flue
gas treatment controls also require additional energy to run
pumps, heaters, auxiliary process equipment, and to overcome
any additional pressure drop due to the catalyst beds or from
downstream equipment that may be plugged. The additional
pressure drop from downstream equipment plugging could
ultimately affect unit availability.
   Table 2-11 summarizes the impacts from SNCR and SCR systems.
 Increases of CO emissions due to the urea-based SNCR system
 have been reported since urea (NH2CONH2) has CO bound in each
molecule injected. If that CO is not oxidized to CO2, then CO
 will pass through to t h e stack. Ammonia-based SNCR does not
 contain bound CO, so use of NH3 as an SNCR reagent would not
 increase stack emissions of either CO or CO2. The NH3 slip
 for these fossil fuel-fired boilers ranged from 10 to 110 ppm.
 For FBC, the CO emissions were in the range of 10 to 110 ppm
 and NH3 slip was in the range of 20 to 30 ppm.
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                      TABLE 2-11.    SUMMARY OF IMPACTS FROM FLUE GAS TREATMENT CONTROLS ON

                                                                      --




      Application            Control technology                monoxide    Ammon ia         Other possible effects
                                                                           slip
      Conventional                                    Little or no
      utility boiler         -NH3-based SNCR          effect.
                                                                                            Nitrous oxide is a possible by-
                                                                                            product .
                             Urea-bases SNCR
                                                  I   Possible                              Ainmonium sulfate compound8 may
                             1                                             10-110 pprn
                                                      increases                             deposit in downstream equipment
                                                                                            causing air heater pluggage
                                                                                            that degrades unit performance
                                                                                            and corrodes air heater
                                                                                            baskets.
      Fluidized bed          UH3-based SNCR           10-110 ppm           20-30 pprn       Minor energy losses due to
      combustion                                                                            pumps, heaters, and control
                                                           -     -   -
                                                                                            systems.
w     Fluidized Bed          Jrea-based SNCR          Data not             3ata not         May elevate levels of NH3 in
I     Combustion                                      available.           nvailable.       the fly ash and scrubber by-
IP                                                                                          products, creating disposal
h]
                                                                                            problems at NH3 slip level
                                                                              -   -
                                                                                            above 2 ppm.
     Coal & Oil Pilot-
     Scale
                                                  IData not
                                                   available.
                                                                           :20 pprn        Ammonium sulfate compounds may
                                                                                           deposit in downstream
                                                                                           equipment.
     Gas/Oil Full-Scale                            Data not                .O-40pprn       Losses due to energy required
                                                   available.                              to overcome catalyst bed
                                                                                           pressure drop.
                                                                                           May elevate levels of NH3 in
                                                                                           the fly ash, creating disposal
                                                                                           prob1ems  .
         data
     ~ C O      from one application reported increaae of 60 to 80 pprn from uncontrolled level.




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        Limited data were available for installation of SCR in the
     United States. There were no data for SCR on CO emissions
     from the pilot- or full-scale applications. The NH3 slip for
     the pilot-scale SCR application on coal and oil was less than
     20 ppm. The NII3 slip for one full-scale SCR application on
     natural gas and oil was in the range of 10 to 40 ppm.




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                   5.0   NOx EMISSION CONTROL TECHNIQUES
I

         This chapter describes the methods of reducing nitrogen
    oxide (NOx) emissions from new and existing fossil fuel-fired
    utility boilers. All of the methods can be grouped into one
    of two fundamentally different techniques--combustion controls
    and post-combustion controls (flue gas treatment).
         Combustion controls seduce NOx emissions by suppressing
    NOx formation during the combustion process while post-
    combustion controls reduce NOx emissions after its formation.
    Combustion controls are the most widely used method of
    controlling NOx formation in utility boilers. Several
    combustion controls can be used simultaneously to further
    reduce NOx emissions. Flue gas treatment methods can often
    achieve greater NOx control than combustion controls, but have
    not been applied to many utility boilers in the United States.
    Combinations of flue gas treatment controls and combustion
    controls can be applied to maximize NOx reduction; however,
    there are even fewer U. S. applications of this type. The
    types of NOx controls currently available for fossil fuel-
    fired utility boilers are presented in table 5-1.
         This chapter describes NOx control technologies for
    fossil fuel-fired utility boilers, factors affecting the
    performance of these controls, and levels of performance for
    these controls. Section 5.1 presents controls for coal-fired
    boilers. Section 5.2 presents combustion controls for natural
    gas- and oil-fired boilers. Section 5.3 presents
    post-combustion flue gas treatment controls.



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     5.3.2.2 5
     5.3.2.2.1 Coal-fired boilers. The performance of an SCR
system is influenced by six factors: flue gas temperature,
fuel sulfur content, NH3/N0, ratio, NOx concentration at the
SCR inlet, space velocity, and catalyst condition.
     Temperature greatly affects the performance of SCR
systems, and, as discussed earlier, each type of SCR catalyst
has an optimum operating temperature range. Below this range,
NOx reduction does not occur, or occurs too slowly, which
results in NHj slip. Above the optimum temperature, the NHj
is oxidized to NO,, which decreases the NOx reduction
efficiency. The optimum temperature will depend on the type
of catalyst material being used.
     The second factor affecting the performance of SCR is the
sulfur content of the fuel. Approximately 1 to 4 percent of
the sulfur in the fuel is converted to S O 3 . The SO3 can then
react with ammonia to form ammonium sulfate salts, which
deposit and foul downstream equipment. As can be seen in
figure 5-46, the conversion of SO2 to SO3 is temperature
dependent, with higher conversion rates at the higher
temperatures.325 The temperature-sensitive nature of SO2 to
                                                                            '
SO3 conversion is especially important for boilers operating
at temperatures greater than 370 OC (700 OF) at the economizer
outlet. Potential reaction equations fox ammonium sulfate
salts are:126

NH3 (gas) + SO3 (gas) +. 520 (gas) -, NHqHS04 (liquid)                  (5-24)
NHqHS04 (liquid) + NH3 (gas) + (NH4)2 SO4 (solid)                       (5-25)
2 NH3 (gas) + SO3 (gas) + Hz0 (gas) 4 (NH4)2 SO4 (solid) ( 5 - 2 6 )

     With the use of medium- to high-sulfur coals, the
concentration of SO3 will likely be higher than experienced in
most SCR applications to date. This increase in SO3
concentration has the potential to affect amonium sulfate
salt formation. However, there is insufficient SCR

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                        Temperature, (T)




   Figure 5 - 4 6 .   Effect of tempg5ature on conversion
                      of SO2 to S O 3 .

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application experience with medium- to high-sulfur coals to
know the nature of the effects. Applications of SCR with
medium- to high-sulfur coals may need to incorporate ways to
minimize the impacts of amnonium sulfate salt formation and
deposition.
     The third factor affecting s C R performance is the ratio
of NHJ to NOx     For NOx reduction efficiencies up to
approximately 80 percent, the NH3-NO, reaction follows
approximately 1:l stoichiometry. To achieve greater NOx
SmIIoval, it is necessary to inject excess NHJ, which results
in higher levels of NH3 slip.
     The fourth factor affecting SCR performance is the
concentration of NOx at the SCR inlet. The NOx reduction is
relatively unchanged with SCR for inlet NOx concentratipns of
                127
150 to 600 ppm.      However, at inlet concentrations below
150 ppm, the reduction efficiencies decrease with decreasing
NOx concentrations.128
                                                                                I




      The fifth factor affecting SCR performance is the gas
flow rate and pressure drop across the catalyst. Gas flow
through the reactor is expressed in terms of space velocity
and area velocity. Space velocity (hr-1) is defined as the
inverse of residence time. It is determined by the ratio of
the amount of gas treated per hour to the catalyst bulk
volume. As space velocity increases, the contact time between
the gas and the catalyst decreases. As the contact time
decreases, so does NOx reduction. Area velocity (ft/hr) is
related to the catalyst-pitchand is defined as the ratio of
             ~ gas treated per hour to the apparent surface
the V O ~ W of
area of the catalyst. At lower area velocities, the NOx in
the flue gas has more time to react with NH3 on the active
sites on the catalyst; at higher area velocities, the flue gas
has less time to react.129
     The sixth factor affecting SCR performance is the
condition of the catalyst material. As the catalyst degrades
over time or is damaged, NOx removal decreases. Catalyst can
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be deactivated from wear resulting from attrition, cracking,
or breaking over time, or from fouling by solid particle
deposition in the catalyst pores and on the surface.
Similarly, catalyst can be deactivated or "poisonedH when
certain compounds (such as arsenic, lead, and alkali oxides)
react with the active sites on the catalyst. Poisoning
typically occurs over the long term, whereas fouling can be
sudden. When the maximum temperature for the catalyst
material is exceeded, catalysts can be thermally stressed or
sintered, and subsequently deactivated. As the catalyst
degrades by these processes, the NH3/NOx ratio must be
increased to maintain the desired level of NO, reduction.
This can result in increased levels of NH3 slip. However, the
greatest impact of degradation is on catalyst life. Because
the catalyst is a major component in the cost of SCR, reducing
the life of the catalyst has a serious impact on the cost.
      The top layer of catalyst is typically a wdummytllayer of
catalyst used to straighten the gas flow and reduce erosion of
subsequent catalyst layers. A metal grid can also be used as
a straightening layer. The dummy layer is made of inert
material that is less expensive than active catalyst
material.130 Active catalyst material can be replaced as
degradation occurs in several different ways in order to
maintain NO, removal efficiency. First, all the catalyst may
be replaced at one time. Second, extra catalyst may be added
 to the reactor, provided extra space has been designed into
 the reactor housing for this purpose. Third, part of the
 catalyst may be periodically replaced, which would extend the
useful life of the remaining catalyst.
     5.3.2.2.2       5The .
factors affecting the performance of SCR on coal-fired boilers
are generally applicable to natural gas- and oil-firing.
However, the effect may not be as severe on the natural
gas- and oil-fired applications.



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     The six factors affecting SCR performance on coal-fired
boilers were: flue gas temperature, fuel sulfur content,
NH3/NOx ratio, NOx concentration at the SCR inlet, space
velocity, and catalyst condition. Of these, the fuel sulfur
content will not be as much a factor in natural gas and oil
firing applications because these fuels do not contain as much
sulfur as coal. Therefore, there will not be as much SO3 in
the flue gas to react with excess ammonia and deposit in
                                                                          I
downstream equipment.
     Another parameter which will not have as much impact in
natural gas- or oil-fired boilers is the condition of the
catalyst material. The SCR catalyst material can still be
damaged by sintering or poisoned by certain compounds.
However, since natural gas- and oil-fired boilers do not have
as much fly ash as coal-fired boilers, the pores in the
catalyst will not plug as easily and the surface of the
catalyst would not be scoured or eroded due to the fly ash
particles.
     5.3.2.3 Performance of Selective Catalvtic Reduction.
                                                     7
                                                     .




Table 5-16 presents the results from pilot-scale SCR
installations at two coal-fired boilers and one oil-fired
boiler. The SCR pilot plants are equal to approximately 1 to I
2 MW and process a slip-stream of flue gas from the boiler.
Each pilot plant contained two different catalysts that were
evaluated simultaneously. As of 1993, these pilot plants had
been operating 2-3 years.
     For the coal-fired SCR demonstration projects, the
results indicate that 75-80 percent NO, reduction has been
achieved with ammonia slip of less than 20.ppm. The lower NO,
reduction and higher NH3 slip for the oil-fired demonstration
at the Oswego site were measured at higher-than-design space
velocities. Note that these results are pilot facilities in
which operating and process parameters can be carefully
controlled.
     To date, there are no full-scale SCR applications on oil-
or coal-firing. However, as shown in table 5-16, Southern
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                            TABLE 5-16.          PERFORMANCE OF SCR ON U. S. UTILITY BOILERS

                                                                                                        Reduct ion
                                                                                                          in NO,
                                                    Fuel       SCR      NH     slip    NHjto-NOX       ernissionsb
                 Utility                Unit        Type      W e a          cbDm)       ratio             (%        Reference

                                                             PILOT-SCALE SYSTEMS
         NY State Elec. h              Kintigh      Coal       Cold           el             0.8           8 Oc          131
         Gas                                                                  c1             0.8           8 tId
         Tennessee Valley             Shawnee       Coal       Hot           1- 7e           0.8         75-80e          132
         Authority                                                       2-2of               0.8         75-8of
         Niagara Mohawk                Oswego        Oi1       Hot     Up to 209             0.8         75-809          133
                                                                       Up to 5oh             0.8         60-8oh
VI                                                           FULL-SCALE SYSTEMS
I
P
w        Southern California Huntington             Gas        Hot       10-40               --            90            134
u        Edison                Beach 2

     aType: Cold = Cold-side, post-FGD SCR, after air preheater; and Hot                       =   Hot-side, high-dust
      SCR, before air preheater
     b~esultsare given for two different catalysts.
     CSpace velocity = 6,990 hr'l; catalyst exposure time                =    7,800 hours
     dspace velocity = 8,940 hr-I; catalyst exposure time                =    2,400 hours.
     %pace velocity             3,240 hr-l; catalyst exposure time = 3,600 to 14,000 hours.
     f   space velocity     a   2,200 hr'l;    catalyst exposure time    =    1,500 to 7,700 hours.
     %pace       velocity   =   4,350 to 17,400 hr-l;
     h ~ p a c evelocity    =   6,900 to 2 7 , 4 0 0 hr-l;
     --    =   Data not available.



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California Edison has a commercial size installation of SCR on
their gas-fired Huntington Beach Unit 2 boiler. The NOx
reduction reported was approximately 90 percent with the
highest level of NH3 slip at 40 ppm.
     The effect of catalyst exposure time and space velocity
on catalyst performance was also examined for each of the
pilot-scale demonstrations. Figures 5-47a and 5-471, show NOx
removal and NH3 slip as a function of N H > / N O ~ratio for two
catalysts in a cold-side, post-FGD SCR demonstration at the
Kintigh site.130 The results show no change in the activity of
either the extruded catalyst after 7,800 hours of operation or
the replacement composite catalyst after 2,400 hours of
operation. Each catalyst controlled NOx emissions by
80 percent at an NH3/NOx ratio of 0.8 with a corresponding NH3
slip of c 1 ppm. 131
     Figures 5-48a and 5-4813 show performance results for two
catalysts in the high-dust SCR demonstration at the Shawnee
site.132 The figures show a decrease in catalyst activity and
an increase in residual NHl with increasing hours of operation
for both catalysts. This deterioration in catalyst activity
is more pronounced for the zeolite catalyst as shown in
figure 5-48b.132
      Figures 5-49a and 5-49b show the performance results for
the two catalysts evaluated in the SCR application on the oil-
fired boiler at the Oswego plant.133 In each figure, the
curves show the effect of space velocity on NO, reduction as a
function of NH3/NOx ratio. The effect of space velocity on
NH3 slip is also shown in the figures. The results show the
expected decrease in NOx reduction and increase in NH3 slip at
the higher space velocity for both catalysts. The effect is
more pronounced on the V/Ti catalyst. 133
5.3.3   Selective Noncatalvtic Reduction and Co&ustion
        Controls
      5.3.3.1  Process.Combustion controls such
as LNBs and OFA may be used in combination with SNCR to reducq
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           ENVIRONMENTAL                                         ozone is one. The NAAQS are established by the EPA as
                                                                 the maximum concentrations in the atmosphere for spe-
                                                                 cific air contaminants to protect public health and wel-
           QUALITY BOARD                                         fare.
        [ 25 PA. CODE CHS. 121 AND 129 ]                            Ozone is a highly reactive gas which at sufficient
                                                                 concentrations can produce a wide variety of harmful
Additional RACT Requirements for Major Sources                   effects. At elevated concentrations, ozone can adversely
 of NOx and VOCs                                                 affect human health, vegetation, materials, economic val-
                                                                 ues, and personal comfort and well-being. It can cause
  The Environmental Quality Board (Board) proposes to            damage to important food crops, forests, livestock and
amend Chapters 121 and 129 (relating to general provi-           wildlife. Repeated exposure to ozone pollution may cause
sions; and standards for sources) to read as set forth in        a variety of adverse health effects for healthy people and
Annex A. The proposed rulemaking would amend Chapter             those with existing conditions including difficulty in
129 to adopt presumptive reasonably available control            breathing, chest pains, coughing, nausea, throat irritation
technology (RACT) requirements and RACT emission                 and congestion. It can worsen bronchitis, heart disease,
limitations for certain major stationary sources of oxides       emphysema and asthma, and reduce lung capacity.
of nitrogen (NOx) and volatile organic compound (VOC)            Asthma is a significant and growing threat to children
emissions.                                                       and adults. High levels of ozone also affect animals in
   The proposed rulemaking would revise § 121.1 (relat-          ways similar to humans.
ing to definitions) to add or amend ‘‘CEMS—continuous              The EPA promulgated primary and secondary NAAQS
emissions monitoring system,’’ ‘‘process heater’’ and ‘‘sta-     for photochemical oxidants under section 109 of the CAA
tionary internal combustion engine’’ to support the pro-         at 36 FR 8186 (April 30, 1971). These were set at an
posed amendments to Chapter 129.                                 hourly average of 0.08 parts per million (ppm) total
  The proposed rulemaking will be submitted to the               photochemical oxidants not to be exceeded more than 1
United States Environmental Protection Agency (EPA)              hour per year. The EPA announced a revision to the
upon final-form publication for approval as a revision to        then-current 1-hour standard at 44 FR 8202 (February 8,
the Commonwealth’s State Implementation Plan (SIP).              1979). The final rulemaking revised the level of the
                                                                 primary 1-hour ozone standard from 0.08 ppm to 0.12
  This proposed rulemaking is given under Board order            ppm and set the secondary standard identical to the
at its meeting of November 19, 2013.                             primary standard. This revised 1-hour standard was
A. Effective Date                                                subsequently reaffirmed at 58 FR 13008 (March 9, 1993).
  This proposed rulemaking will be effective upon final-           Section 110 of the CAA (42 U.S.C.A. § 7410) gives
form publication in the Pennsylvania Bulletin.                   states primary responsibility for achieving the NAAQS.
                                                                 The principal mechanism at the state level for complying
B. Contact Persons                                               with the CAA is the SIP. A SIP includes the regulatory
  For further information, contact Kirit Dalal, Chief,           programs, actions and commitments a state will carry out
Division of Air Resource Management, P. O. Box 8468,             to implement its responsibilities under the CAA. Once
Rachel Carson State Office Building, Harrisburg, PA              approved by the EPA, a SIP is legally enforceable under
17105-8468, (717) 772-3436; or Robert ‘‘Bo’’ Reiley, Assis-      both Federal and state law.
tant Counsel, Bureau of Regulatory Counsel, Rachel
                                                                   Section 182 of the CAA (42 U.S.C.A. § 7511a) requires
Carson State Office Building, P. O. Box 8464, Harrisburg,
                                                                 that, for areas that exceed the NAAQS for ozone, states
PA 17105-8464, (717) 787-7060. Information regarding
                                                                 shall develop and implement a program that mandates
submitting comments on this proposed rulemaking ap-
                                                                 that certain major stationary sources develop and imple-
pears in Section J of this preamble. Persons with a
                                                                 ment a RACT program. RACT is defined as the lowest
disability may use the Pennsylvania AT&T Relay Service,
                                                                 emissions limitation that a particular source is capable of
(800) 654-5984 (TDD users) or (800) 654-5988 (voice
                                                                 meeting by the application of control technology that is
users). This proposed rulemaking is available electroni-
                                                                 reasonably available considering technological and eco-
cally on the Department of Environmental Protection’s
                                                                 nomic feasibility. See 44 FR 53762 (September 17, 1979).
(Department) web site at www.dep.state.pa.us (DEP
Search/Keyword: Public Participation).                             Under section 182(f)(1) of the CAA and section 184(b)(2)
C. Statutory Authority                                           of the CAA (42 U.S.C.A. § 7511c(b)(2)), these RACT
                                                                 requirements are applicable to all sources in this Com-
  The proposed rulemaking is authorized under section            monwealth that emit or have a potential to emit greater
5(a)(1) of the Air Pollution Control Act (act) (35 P. S.         than 100 tons per year of NOx. Under sections 182(b)(2)
§ 4005(a)(1)), which grants the Board the authority to           and 184(b)(2) of the CAA, the RACT requirement are
adopt rules and regulations for the prevention, control,         applicable to all sources in this Commonwealth that emit
reduction and abatement of air pollution in this Common-         or have a potential to emit greater than 50 tons per year
wealth, and section 5(a)(8) of the act, which grants the         of VOCs. NOx and VOC controls are required Statewide
Board the authority to adopt rules and regulations de-           because of the Commonwealth’s inclusion in the North-
signed to implement the provisions of the Clean Air Act          east Ozone Transport Region. See section 184(a) of the
(CAA) (42 U.S.C.A. §§ 7401—7671q).                               CAA. Additionally, because the five-county Philadelphia
D. Background and Purpose                                        area was designated as severe ozone nonattainment for
                                                                 the 1-hour standard, sources of greater than 25 tons per
  The EPA is required under section 109 the CAA (42              year of either pollutant are required to implement RACT
U.S.C.A. § 7409) to set National Ambient Air Quality             under section 182(d) of the CAA. The Commonwealth’s
Standards (NAAQS) for six criteria pollutants of which           RACT regulations in §§ 129.91—129.95 (relating to sta-
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tionary sources of NOx and VOCs) were implemented for           source categories looking at size and fuel type; identified
the 1-hour ozone standard. These regulations were effec-        available feasible NOx or VOC, or both, control options for
tive January 15, 1994.                                          each type of existing source; estimated emission reduction
                                                                potential for each control technology; identified costs for
  The EPA concluded in 1997 that revisions to the               technologies, using appropriate updates; evaluated cost-
current primary standard to provide increased public            effectiveness per EPA guidance, for both uncontrolled and
health protection were appropriate at this time to protect      controlled sources (combinations of technologies); and
public health with an adequate margin of safety. See 62         chose emission limit achievable by cost-effective technolo-
FR 38856 (July 18, 1997). Further, the EPA determined           gies using benchmark cost/ton.
that it was appropriate to establish an 8-hour primary
standard of 0.08 ppm. See 62 FR 38856. The EPA                    Based on this analysis, the Board determined that
designated 37 counties in this Commonwealth as 8-hour           additional cost-effective controls represent RACT for the
ozone nonattainment areas for the 1997 8-hour ozone             8-hour ozone NAAQS. There are nine source categories
NAAQS at 69 FR 23858, 23931 (April 30, 2004).                   that will be affected by this proposed rulemaking: com-
                                                                bustion units; boilers; process heaters; turbines; engines;
  The EPA lowered the 8-hour standard from 0.08 ppm to          municipal solid waste landfills; municipal waste combus-
0.075 ppm at 73 FR 16436 (March 27, 2008). The EPA              tors; cement kilns; and other sources that are not regu-
made designations for the 2008 8-hour ozone standards           lated elsewhere under Chapter 129.
on April 30, 2012, with an effective date of July 20, 2012.
See 77 FR 30160 (May 21, 2012). The EPA designated all             All together this proposed rulemaking would affect the
or portions of Allegheny, Armstrong, Beaver, Berks,             owners and operators of approximately 810 individual
Bucks, Butler, Carbon, Chester, Delaware, Fayette,              sources at 192 major facilities throughout this Common-
Lancaster, Lehigh, Montgomery, Northampton, Philadel-           wealth. Under this proposed rulemaking, the Board an-
phia, Washington and Westmoreland Counties as nonat-            ticipates that the total NOx emission reductions will be
tainment for the 2008 8-hour ozone NAAQS. See 77 FR             approximately 158,421 tons per year.
30088, 30143 (May 21, 2012). Therefore, the Common-
wealth must submit a SIP revision to demonstrate how it            The Board determines that this proposed rulemaking
will attain and maintain the 2008 8-hour ozone standard         will fulfill requirements for re-evaluation and be less
in the nonattainment areas.                                     resource intensive than imposing case-by-case analysis for
                                                                affected facilities in the covered categories. As more fully
  A re-evaluation of what measures constitute RACT is a         discussed in Section E of this preamble, the Board
requirement to be fulfilled each time a NAAQS is promul-        proposes a compliance option hierarchy where the owner
gated, as happened in 1997 and 2008 for ozone. According        or operator of a subject source that cannot meet the
to the EPA’s Final Rule to Implement the 8-Hour Ozone           presumptive RACT emission limitations and require-
NAAQS, areas classified as ‘‘moderate’’ nonattainment or        ments under proposed § 129.97 (relating to presumptive
higher must submit a demonstration, as a revision to the        RACT requirements, RACT emission limitations and peti-
SIP, that their current rules fulfill 8-hour ozone RACT         tion for alternative compliance schedule) may apply for
requirements for all Control Techniques Guidelines (CTG)        facility-wide/system-wide NOx emissions averaging under
categories and all major, non-CTG sources. See 70 FR            proposed § 129.98 (relating to facility-wide or system-
71612 (November 29, 2005).                                      wide NOx emissions averaging RACT operating permit
   According to this implementation rule, demonstrations        modification general requirements) or an alternative case-
can be made with either a new RACT determination or a           by-case RACT determination under proposed § 129.99
certification that previously-required RACT controls rep-       (relating to alternative RACT proposal and petition for
resent RACT for the 8-hour ozone NAAQS. The certifica-          alternative compliance schedule).
tion should be accompanied by appropriate supporting              The Board determines that the requirements under this
information, such as consideration of information received      proposed rulemaking are reasonably necessary to attain
during the public comment period. The RACT SIP revi-            and maintain the 8-hour ozone NAAQS.
sion submittal is in addition to the 8-hour ozone attain-
ment demonstration plan for the area, which will also be        E. Summary of Regulatory Requirements
a revision to the Commonwealth’s SIP. The RACT SIP              § 121.1. Definitions
revision was required to be submitted to the EPA by
September 15, 2006.                                                The proposed rulemaking would revise § 121.1 to add
                                                                or amend ‘‘CEMS—continuous emissions monitoring sys-
   The Commonwealth submitted a SIP revision in Sep-
                                                                tem,’’ ‘‘process heater’’ and ‘‘stationary internal combus-
tember 2006 certifying that RACT determinations made
                                                                tion engine’’ to support the proposed amendments to
for the 1-hour ozone standard in 1994 under §§ 129.91—
                                                                Chapter 129.
129.95 were RACT for the 8-hour standard, including for
those sources where a determination was made that ‘‘no          § 129.96. Applicability
controls’’ continued to represent RACT for the 1-hour
ozone standard. However, the EPA informally indicated to          Under proposed subsection (a), the proposed regulation
the Department that based on NRDC v. EPA, 571 F.3d              would apply Statewide to the owner and operator of a
1245 (July 10, 2009), a reanalysis rather than certifica-       major NOx emitting facility or a major VOC emitting
tion is necessary for sources for which the Department          facility, or both, that was in existence on or before July
previously determined that ‘‘no controls’’ represented          20, 2012.
RACT for the 1-hour ozone standard.
                                                                   Under proposed subsection (b), the proposed regulation
  As a result of the EPA’s decision, the Department             would apply Statewide to the owner and operator of a
conducted a generic RACT analysis of those sources              NOx emitting facility or VOC emitting facility, or both,
where a ‘‘no controls’’ decision was previously made under      when the installation of a new source or a modification or
§§ 129.91—129.95 for the 1-hour ozone standard to deter-        change in operation of an existing source after July 20,
mine if additional controls would represent RACT for the        2012, results in the source or facility meeting the defini-
8-hour ozone NAAQS. That generic analysis identified            tion of a major NOx emitting facility or a major VOC
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emitting facility and for which a requirement or an                Under proposed subsection (j), among other things, the
emission limitation, or both, has not been established in        requirements and emission limitations of this section do
§§ 129.51—129.52c, 129.54—129.69, 129.71—129.73,                 not supersede the requirements and emission limitations
129.75, 129.77, 129.101—129.107 and 129.301—129.310.             of §§ 129.201—129.205, 145.111—145.113 and 145.141—
§ 129.97. Presumptive RACT requirements, RACT emis-              145.146 (relating to additional NOx requirements; emis-
   sion limitations and petition for alternative compliance      sions of NOx from stationary internal combustion engines;
   schedule                                                      and emissions of NOx from cement manufacturing) except
                                                                 to the extent this section contains more stringent require-
   Under proposed subsection (a), the owner and operator         ments or emission limitations, or both.
of a source listed in one or more of subsections (b)—(h)
located at a major NOx emitting facility or major VOC               Under proposed subsection (k), the owner or operator of
emitting facility, or both, shall comply with the applicable     a major NOx emitting facility or a major VOC emitting
presumptive RACT requirement or RACT emission limita-            facility, or both, subject to § 129.96 that includes an air
tion, or both, beginning with the specified compliance           contamination source subject to one or more of subsec-
date, unless an alternative compliance schedule is sub-          tions (b)—(h) that cannot meet the applicable RACT
mitted and approved under subsections (k)—(m) or                 requirement or RACT emission limitation without instal-
§ 129.99.                                                        lation of an air cleaning device may submit a petition, in
                                                                 writing, requesting an alternative compliance schedule in
   Under proposed subsection (b), the owner and operator         accordance with paragraphs (1) and (2).
of the listed combustion units that are located at a major
NOx emitting facility or major VOC emitting facility, or            Under proposed subsection (l), the Department or ap-
both, shall comply with the presumptive RACT require-            propriate approved local air pollution control agency
ment applicable to that source, which includes, among            would review the timely and complete written petition
other things, inspection and adjustment requirements.            requesting an alternative compliance schedule submitted
                                                                 in accordance with subsection (k) and approve or deny the
   Under proposed subsection (c), the owner and operator         petition in writing.
of a source listed in this subsection located at a major
NOx emitting facility or major VOC emitting facility, or            Under proposed subsection (m), approval or denial
both, shall comply with the applicable presumptive RACT          under subsection (l) of the timely and complete petition
requirement, which includes, among other things, the             for an alternative compliance schedule submitted under
operation of the source in accordance with the manufactu-        subsection (k) would be effective on the date the letter of
rer’s specifications and good engineering practices.             approval or denial of the petition is signed by the
                                                                 authorized representative of the Department or appropri-
   Under proposed subsection (d), the owner and operator         ate approved local air pollution control agency.
of a combustion unit or other combustion source located
at a major VOC emitting facility subject to § 129.96             § 129.98. Facility-wide or system-wide NOx emissions av-
(relating to applicability) shall comply with the presump-          eraging RACT operating permit modification general
tive RACT requirement of good engineering practices for             requirements
the control of the VOC emissions from the combustion                Under proposed subsection (a), the owner or operator of
unit or other combustion source.                                 a major NOx emitting facility that includes an air con-
                                                                 tamination source subject to a NOx RACT requirement or
  Under proposed subsection (e), the owner and operator
                                                                 NOx RACT emission limitation in § 129.97 that cannot
of a municipal solid waste landfill subject to § 129.96
                                                                 meet the applicable NOx RACT requirement or NOx
shall comply with the applicable presumptive RACT
                                                                 RACT emission limitation may elect to meet the appli-
requirement identified under paragraphs (1) and (2).
                                                                 cable NOx RACT requirement or NOx RACT emission
  Under proposed subsection (f), the owner and operator          limitation in § 129.97 by averaging NOx emissions on
of a municipal waste combustor subject to § 129.96 shall         either a facility-wide or system-wide basis using a 30-day
comply with the applicable presumptive RACT require-             rolling average. System-wide emissions averaging must
ment identified under paragraphs (1) and (2).                    be among sources under common control of the same
   Under proposed subsection (g), the owner and operator         owner or operator in this Commonwealth.
of a NOx air contamination source listed in this subsec-           Under proposed subsection (b), the owner or operator of
tion located at a major NOx emitting facility or a VOC air       each facility that elects to comply with subsection (a)
contamination source listed in this subsection located at a      shall submit an operating permit modification that incor-
major VOC emitting facility, or both, subject to § 129.96        porates the requirements of this section for averaging
may not cause, allow or permit NOx or VOCs, or both, to          NOx emissions on either a facility-wide or system-wide
be emitted from the air contamination source for which           basis using a 30-day rolling average to the Department or
the source is major in excess of the applicable RACT             appropriate approved local air pollution control agency by
emission limitation under paragraphs (1)—(4).                    the applicable date in paragraphs (1) and (2).
  Under proposed subsection (h), the owner and operator            Under proposed subsection (c), each NOx emitting
of a Portland cement kiln subject to § 129.96 shall              source included in the operating permit modification for
comply with the applicable presumptive RACT emission             averaging NOx emissions on either a facility-wide or
limitation under paragraphs (1)—(3).                             system-wide basis using a 30-day rolling average submit-
                                                                 ted under subsection (b) must be an air contamination
  Under proposed subsection (i), among other things, the
                                                                 source subject to a NOx RACT emission limitation in
requirements and emission limitations of this proposed
                                                                 § 129.97.
section would supersede the requirements and emission
limitations of a RACT permit issued to the owner or                Under proposed subsection (d), the operating permit
operator of an air contamination source subject to one or        modification for averaging NOx emissions on either a
more of subsections (b)—(h) prior to the effective date of       facility-wide or system-wide basis using a 30-day rolling
adoption of this proposed rulemaking except to the extent        average submitted under subsection (b) must demonstrate
the RACT permit contains more stringent requirements             that the aggregate NOx emissions emitted by the air
or emission limitations, or both.                                contamination sources included in the facility-wide or
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system-wide NOx emissions averaging RACT operating                tion or this section at that source or other source in the
permit modification using a 30-day rolling average are            operating permit modification.
not greater than 90% of the sum of the NOx emissions
                                                                  § 129.99. Alternative RACT proposal and petition for
that would be emitted by the group of included sources if
                                                                    alternative compliance schedule
each source complied with the applicable NOx RACT
requirement or NOx RACT emission limitation in                      Under proposed subsection (a), the owner or operator of
§ 129.97 on a source-specific basis.                              an air contamination source that cannot meet the appli-
                                                                  cable presumptive RACT requirement or RACT emission
  Under proposed subsection (e), the owner or operator            limitation of § 129.97 or participate in either a facility-
shall calculate the alternative facility-wide or system-          wide or system-wide NOx emissions averaging RACT
wide NOx RACT emissions limitation using a 30-day                 operating permit modification under § 129.98 may pro-
rolling average for the air contamination sources included        pose an alternative NOx RACT emission limitation or
in the operating permit modification submitted under              VOC RACT emission limitation, or both, in accordance
subsection (b) by using the equation in this subsection to        with subsection (d).
sum the emissions for all of the sources included in the
operating permit modification.                                      Under proposed subsection (b), the owner or operator of
                                                                  a NOx air contamination source with a potential emission
  Under proposed subsection (f), the operating permit             rate equal to or greater than 5.0 tons of NOx per year
modification specified in subsections (b)—(e) may include         that is not subject to § 129.97 or §§ 129.201—129.205
facility-wide or system-wide averaging emissions using a          located at a major NOx emitting facility subject to
30-day rolling average only for NOx emitting sources or           § 129.96 shall propose a NOx RACT emission limitation
NOx emitting facilities that are owned or operated, or            in accordance with subsection (d).
both, by the applicant.
                                                                    Under proposed subsection (c), the owner or operator of
  Under proposed subsection (g), the operating permit             a VOC air contamination source with a potential emission
modification specified in subsections (b)—(f) must include        rate equal to or greater than 2.7 tons of VOC per year
the information identified under paragraphs (1)—(3).              that is not subject to § 129.97 located at a major VOC
  Under proposed subsection (h), an air contamination             emitting facility subject to § 129.96 shall propose a VOC
source or facility, or both, included in the facility-wide or     RACT emission limitation in accordance with subsection
system-wide NOx emissions averaging RACT operating                (d).
permit modification may be included in only one facility-           Under proposed subsection (d), the owner or operator
wide or system-wide NOx emissions averaging RACT                  proposing an alternative RACT emission limitation under
proposal.                                                         subsection (a), (b) or (c) shall comply with all of the
                                                                  proposal requirements under paragraphs (1)—(7).
  Under proposed subsection (i), the Department or ap-
propriate approved local air pollution control agency will          Under proposed subsection (e), the Department or
issue a modification to the operating permit.                     appropriate approved local air pollution control agency
                                                                  will review and approve, modify or deny the application
  Under proposed subsection (j), the owner or operator of         as indicated under paragraphs (1)—(3).
an air contamination source or facility, or both, included
in the facility-wide or system-wide NOx emissions averag-           Under proposed subsection (f), the proposed alternative
ing RACT operating permit modification shall submit the           RACT emission limitation must be approved, denied or
reports and records specified in subsection (g)(3) to the         modified by the Department or appropriate approved local
Department or appropriate approved local air pollution            air pollution control agency through the issuance of a
control agency to demonstrate compliance with § 129.100           plan approval or operating permit modification prior to
(relating to compliance demonstration and recordkeeping           the owner or operator implementing the alternative
requirements).                                                    RACT emission limitation.
   Under proposed subsection (k), the owner or operator of          Under proposed subsection (g), the emission limit and
an air contamination source or facility, or both, included        requirements specified in the plan approval or operating
in a facility-wide or system-wide NOx emissions averaging         permit under subsection (f) supersedes the emission limit
RACT operating permit modification that achieves emis-            and requirements in the existing plan approval or operat-
sion reductions in accordance with other emission limita-         ing permit issued to the owner or operator of the source
tions required under the act or the CAA, or regulations           except to the extent the existing plan approval or operat-
adopted under the act or the CAA, that are not NOx                ing permit contains more stringent requirements.
RACT emission limitations may not substitute those                   Under proposed subsection (h), the Department will
emission reductions for the emission reductions required          submit each approved alternative RACT emission limita-
by the facility-wide or system-wide NOx emissions averag-         tion to the EPA for approval as a revision to the SIP. The
ing RACT operating permit modification.                           owner and operator of the facility will bear the costs of
  Under proposed subsection (l), the owner or operator of         public hearings and notification required for EPA SIP
an air contamination source subject to a NOx emission             approval.
limitation in § 129.97 that is not included in a facility-          Under proposed subsection (i), the owner and operator
wide or system-wide NOx emissions averaging RACT                  of a facility proposing to comply with the applicable
operating permit modification submitted under subsection          RACT emission limitation under subsection (a), (b) or (c)
(b) shall operate the source in compliance with the               through the installation of an air cleaning device may
applicable NOx emission limitation in § 129.97.                   submit a petition, in writing, requesting an alternative
                                                                  compliance schedule in accordance with paragraphs (1)
  Under proposed subsection (m), the owner and operator
                                                                  and (2).
of an air contamination source included in a facility-wide
or system-wide NOx emissions averaging RACT operating               Under proposed subsection (j), the Department or ap-
permit modification submitted under subsection (b) shall          propriate approved local air pollution control agency will
be liable for a violation of the operating permit modifica-       review the written petition requesting an alternative
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compliance schedule submitted in accordance with subsec-            Under proposed subsection (g), the owner or operator of
tion (h) and approve or deny the petition in writing.             a combustion unit subject to § 129.97(b)(1) shall record
                                                                  each adjustment conducted under the procedures in
  Under proposed subsection (k), the emission limit and           § 129.97(b)(1) in a permanently bound log book or other
requirements specified in the plan approval or operating          method approved by the Department or appropriate ap-
permit issued by the Department or appropriate approved           proved local air pollution control agency. This log book
local air pollution control agency under subsection (j)           must contain, at a minimum, the information in para-
supersede the emission limit and requirements in the              graphs (1)—(6).
existing plan approval or operating permit, except to the
extent the existing plan approval or operating permit                Under proposed subsection (h), the owner or operator of
contains more stringent requirements.                             an oil-fired, gas-fired or combination oil-fired and gas-
                                                                  fired unit subject to § 129.97(b)(2) shall maintain records
   Under proposed subsection (l), approval or denial under        including a certification from the fuel supplier of the type
subsection (j) of the timely and complete petition for an         of fuel. For each shipment of residual oil, the record must
alternative compliance schedule submitted under subsec-           include the items in paragraphs (1) and (2).
tion (i) will be effective on the date the letter of approval       Under proposed subsection (i), the owner or operator of
or denial of the petition is signed by the authorized             a Portland cement kiln subject to § 129.97(h) shall
representative of the Department or appropriate approved          maintain a daily operating log for each Portland cement
local air pollution control agency.                               kiln. The record for each kiln must include the items in
§ 129.100. Compliance demonstration and recordkeeping             paragraphs (1)—(4).
  requirements                                                    F. Benefits, Costs and Compliance
  Under proposed subsection (a), the owner and operator           Benefits
of an air contamination source subject to the require-               Reduced ambient concentrations of ground-level ozone
ments of this proposed regulation shall demonstrate               would reduce the incidences of hospital admissions for
compliance with the applicable RACT requirement or                respiratory ailments including asthma and improve the
RACT emission limitation by performing the monitoring             quality of life for citizens overall. While children, the
or testing procedures under paragraphs (1) and (2), except        elderly and those with respiratory problems are most at
as provided in subsection (c).                                    risk, even healthy individuals may experience increased
  Under proposed subsection (b), the owner and operator           respiratory ailments and other symptoms when they are
of an air contamination source subject to subsection (a)          exposed to high levels of ambient ground-level ozone
shall demonstrate compliance with the applicable RACT             while engaged in activities that involve physical exertion.
requirement or RACT emission limitation in accordance               The proposed rulemaking may create economic opportu-
with the procedures in subsection (a) not later than the          nities for NOx and VOC emission control technology
applicable time frames under paragraphs (1) and (2).              innovators, manufacturers and distributors through an
                                                                  increased demand for new or improved equipment. In
  Under proposed subsection (c), an owner or operator of          addition, the owners and operators of regulated facilities
an air contamination source subject to this section and           may be required to install and operate an emissions
§§ 129.96—129.98 may request a waiver from the re-                monitoring system or equipment necessary for an emis-
quirement to demonstrate compliance with the applicable           sions monitoring method to comply with the rulemaking,
emission limitation listed in § 129.97 if the requirements        thereby creating an economic opportunity for the emis-
under paragraphs (1)—(4) are met.                                 sions monitoring industry.
  Under proposed subsection (d), the owner and operator           Compliance Costs
of an air contamination source subject to this section and          Compliance costs will vary for each facility depending
§§ 129.96—129.99 shall keep records to demonstrate com-           on which compliance option is chosen by the owners and
pliance with §§ 129.96—129.99 as set forth in paragraphs          operators of a facility. The proposed rulemaking would
(1)—(3).                                                          include a provision for the owner and operator of an
   Under proposed subsection (e), the owner or operator of        affected facility that cannot meet the applicable NOx
an air contamination source claiming that the air con-            RACT or VOC RACT emission limitation to elect to meet
tamination source is exempt from the applicable NOx               the applicable NOx RACT requirement or NOx RACT
emission rate threshold specified in § 129.99(b) and the          emission limitation in § 129.97 by averaging NOx emis-
requirements of § 129.97 based on the air contamination           sions on either a facility-wide or system-wide basis using
source’s potential to emit shall maintain records that            a 30-day rolling average or submit a case-specific RACT
demonstrate to the Department or appropriate approved             proposal for an alternative emission limitation to the
local air pollution control agency that the air contamina-        Department for approval.
tion source is not subject to the specified emission rate            Under these provisions, the owner or operator shall
threshold.                                                        demonstrate to the Department’s satisfaction that it is
                                                                  economically or technically infeasible to meet the appli-
   Under proposed subsection (f), the owner or operator of        cable proposed NOx RACT or VOC RACT emission limita-
an air contamination source claiming that the air con-            tion. These provisions may minimize compliance costs to
tamination source is exempt from the applicable VOC               the owner or operator of an affected facility.
emission rate threshold specified in § 129.99(c) and the
requirements of § 129.97 based on the air contamination             Emission limitations established by regulation will not
source’s potential to emit shall maintain records that            require the submission of applications for amendments to
demonstrate to the Department or appropriate approved             existing operating permits. These requirements will be
local air pollution control agency that the air contamina-        incorporated as applicable requirements at the time of
tion source is not subject to the specified emission rate         permit renewal, if less than 3 years remain in the permit
threshold.                                                        term.
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Compliance Assistance Plan                                       Board by June 30, 2014. The one-page summary will be
  The Department will continue to work with the Small            distributed to the Board and available publicly prior to
Business Assistance Program to aid the facilities less able      the meeting when the final-form rulemaking will be
to handle permitting matters with in-house staff.                considered.
Through increased preapplication meetings with facilities,
the Department is targeting the benefit to industry and            Comments including the submission of a one-page
the Department for faster review of permit applications.         summary of comments may be submitted to the Board
                                                                 online, by mail or express mail as follows. Comments may
Paperwork Requirements                                           be submitted online to the Board by accessing the Board’s
  The proposed rulemaking will not increase the paper-           Regulatory Comment System at http://www.ahs.dep.pa.gov/
work that is already generated during the normal course          RegComments. If an acknowledgement of comments sub-
of business operations.                                          mitted online is not received by the sender within 2
G. Pollution Prevention                                          business days, the comments should be retransmitted to
                                                                 the Board to ensure receipt. Written comments should be
   The Pollution Prevention Act of 1990 (42 U.S.C.A.             mailed to the Environmental Quality Board, P. O. Box
§§ 13101—13109) established a National policy that pro-          8477, Harrisburg, PA 17105-8477. Express mail should be
motes pollution prevention as the preferred means for            sent to the Environmental Quality Board, Rachel Carson
achieving state environmental protection goals. The De-
                                                                 State Office Building, 16th Floor, 400 Market Street,
partment encourages pollution prevention, which is the
reduction or elimination of pollution at its source, through     Harrisburg, PA 17101-2301. Comments submitted by fac-
the substitution of environmentally friendly materials,          simile will not be accepted.
more efficient use of raw materials and the incorporation        K. Public Hearings
of energy efficiency strategies. Pollution prevention prac-
tices can provide greater environmental protection with             The Board will hold three public hearings for the
greater efficiency because they can result in significant        purpose of accepting comments on this proposed rule-
cost savings to facilities that permanently achieve or           making. The hearings will be held at 1 p.m. on the
move beyond compliance. The proposed RACT require-               following dates:
ments would allow the Department and approved local air
pollution control agencies to maintain or increase the           May 27, 2014     Department of Environmental
reductions of NOx and VOC emissions from the regulated                              Protection
sources in this Commonwealth, sustain the gains made in                           Southwest Regional Office
healthful air quality and ensure continued protection of                          Waterfront Conference Rooms A and B
the environment and the public health and welfare of the                          400 Waterfront Drive
citizens of this Commonwealth.                                                    Pittsburgh, PA 15222
H. Sunset Review                                                 May 28, 2014     Department of Environmental
                                                                                    Protection
  These regulations will be reviewed in accordance with                           Southeast Regional Office
the sunset review schedule published by the Department                            Delaware and Schuylkill Conference
to determine whether they effectively fulfill the goals for                         Rooms
which they were intended.                                                         2 East Main Street
I. Regulatory Review                                                              Norristown, PA 19401
   Under section 5(a) of the Regulatory Review Act (71           May 29, 2014     Department of Environmental
P. S. § 745.5(a)), on April 7, 2014, the Department sub-                            Protection
mitted a copy of this proposed rulemaking and a copy of a                         Rachel Carson State Office Building
Regulatory Analysis Form to the Independent Regulatory                            Conference Room 105
Review Commission (IRRC) and to the Chairpersons of                               400 Market Street
the House and Senate Environmental Resources and                                  Harrisburg, PA 17105
Energy Committees. A copy of this material is available to
                                                                    Persons wishing to present testimony at a hearing are
the public upon request.
                                                                 requested to contact the Environmental Quality Board,
   Under section 5(g) of the Regulatory Review Act, IRRC         P. O. Box 8477, Harrisburg, PA 17105-8477, (717) 787-
may convey any comments, recommendations or objec-               4526 at least 1 week in advance of the hearing to reserve
tions to the proposed rulemaking within 30 days of the           a time to present testimony. Oral testimony is limited to
close of the public comment period. The comments, recom-         10 minutes for each witness. Witnesses are requested to
mendations or objections must specify the regulatory             submit three written copies of their oral testimony to the
review criteria which have not been met. The Regulatory          hearing chairperson at the hearing. Organizations are
Review Act specifies detailed procedures for review, prior       limited to designating one witness to present testimony
to final publication of the rulemaking, by the Depart-           on their behalf at each hearing.
ment, the General Assembly and the Governor of com-
ments, recommendations or objections raised.                       Persons in need of accommodations as provided for in
                                                                 the Americans with Disabilities Act of 1990 should con-
J. Public Comments                                               tact the Board at (717) 787-4526 or through the Pennsyl-
  Interested persons are invited to submit written com-          vania AT&T Relay Service at (800) 654-5984 (TDD) or
ments, suggestions or objections regarding the proposed          (800) 654-5988 (voice users) to discuss how the Board
rulemaking to the Board. Comments, suggestions or                may accommodate their needs.
objections must be received by the Board by June 30,                                      E. CHRISTOPHER ABRUZZO,
2014. In addition to the submission of comments, inter-                                                       Chairperson
ested persons may also submit a summary of their
comments to the Board. The summary may not exceed                  Fiscal Note: 7-485. No fiscal impact; (8) recommends
one page in length and must also be received by the              adoption.
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                   Annex A                                      combustion engines), an ] An internal combustion en-
    TITLE 25. ENVIRONMENTAL PROTECTION                          gine of the reciprocating type that is either attached to a
                                                                foundation at a facility or is designed to be capable of
  PART I. DEPARTMENT OF ENVIRONMENTAL                           being carried or moved from one location to another and
                PROTECTION                                      is not a mobile air contamination source.
    Subpart C. PROTECTION OF NATURAL                                              *     *    *    *     *
                RESOURCES
                                                                     CHAPTER 129. STANDARDS FOR SOURCES
          ARTICLE III. AIR RESOURCES
                                                                ADDITIONAL RACT REQUIREMENTS FOR MAJOR
       CHAPTER 121. GENERAL PROVISIONS                                        SOURCES OF NOx AND VOCs
§ 121.1. Definitions.                                              (Editor’s Note: Sections 129.96—129.100 are new and
  The definitions in section 3 of the act (35 P. S. § 4003)     printed in regular type to enhance readability.)
apply to this article. In addition, the following words and     § 129.96. Applicability.
terms, when used in this article, have the following
meanings, unless the context clearly indicates otherwise:          (a) This section and §§ 129.97—129.100 apply State-
                                                                wide to the owner and operator of a major NOx emitting
                  *    *    *      *    *                       facility or a major VOC emitting facility, or both, that was
  CEMS—Continuous emissions monitoring system—                  in existence on or before July 20, 2012, for which a
[ For purposes of Chapter 127, Subchapter E, all ]              requirement or emission limitation, or both, has not been
All of the equipment that may be required to meet the           established in §§ 129.51—129.52c, 129.54—129.69,
data acquisition and availability requirements [ of Chap-       129.71—129.73, 129.75, 129.77, 129.101—129.107 and
                                                                129.301—129.310.
ter 127, Subchapter E to ] established under the act
or Clean Air Act to monitor, measure, calculate,                   (b) This section and §§ 129.97—129.100 apply State-
sample, condition, analyze and provide a permanent              wide to the owner and operator of a NOx emitting facility
record of emissions from an affected unit on a continu-         or VOC emitting facility, or both, when the installation of
ous basis.                                                      a new source or a modification or change in operation of
                                                                an existing source after July 20, 2012, results in the
                  *    *    *      *    *                       source or facility meeting the definition of a major NOx
  Process—A method, reaction or operation in which              emitting facility or a major VOC emitting facility and for
materials are handled or whereby materials undergo              which a requirement or an emission limitation, or both,
physical change—that is, the size, shape, appearance,           has not been established in §§ 129.51—129.52c, 129.54—
temperature, state or other physical property of the            129.69, 129.71—129.73, 129.75, 129.77, 129.101—129.107
material is altered—or chemical change—that is, a sub-          and 129.301—129.310.
stance with different chemical composition or properties        § 129.97. Presumptive RACT requirements, RACT
is formed or created. The term includes all of the                 emission limitations and petition for alternative
equipment, operations and facilities necessary for the             compliance schedule.
completion of the transformation of the materials to
produce a physical or chemical change. There may be                (a) The owner and operator of a source listed in one or
several processes in series or parallel necessary to the        more of subsections (b)—(h) located at a major NOx
manufacture of a product.                                       emitting facility or major VOC emitting facility, or both,
                                                                subject to § 129.96 (relating to applicability) shall comply
  Process heater—                                               with the applicable presumptive RACT requirement or
  (i) An enclosed device using controlled flame,                RACT emission limitation, or both, beginning with the
that is not a boiler, the primary purpose of which is           specified compliance date as follows, unless an alternative
to transfer heat to a process material or to a heat             compliance schedule is submitted and approved under
transfer material for use in a process unit.                    subsections (k)—(m) or § 129.99 (relating to alternative
                                                                RACT proposal and petition for alternative compliance
  (ii) The term does not include an enclosed device             schedule).
that meets either of the following circumstances:
                                                                   (1)             , (Editor’s Note: The blank refers to the
  (A) Has the primary purpose of generating steam.              date 1 year after the effective date of adoption of this
  (B) In which the material being heated is in                  proposed rulemaking.) for a source subject to § 129.96(a).
direct contact with the products of combustion,                    (2)             , (Editor’s Note: The blank refers to the
including:                                                      date 1 year after the effective date of adoption of this
  (I) A furnace.                                                proposed rulemaking.) or 1 year after the date the source
                                                                meets the definition of a major NOx emitting facility or
  (II) A kiln.                                                  major VOC emitting facility, whichever is later, for a
  (III) An unfired waste heat recovery heater.                  source subject to § 129.96(b).
  (IV) A unit used for comfort heat, space heat or                 (b) The owner and operator of a source in this subsec-
food preparation for onsite consumption.                        tion located at a major NOx emitting facility or major
                                                                VOC emitting facility, or both, subject to § 129.96 shall
  (V) An autoclave.                                             comply with the following:
  Project—A physical change in or change in the method             (1) Except as specified in paragraph (2), the presump-
of operation of an existing facility, including a new           tive RACT requirement for a combustion unit with a
emissions unit.                                                 rated heat input equal to or greater than 20 million
                   *   *    *     *     *                       Btu/hour and less than 50 million Btu/hour, which is the
                                                                performance of an annual adjustment to or tune-up of the
  Stationary internal combustion engine—[ For pur-              combustion process. The adjustment must include, at a
poses of § 129.203 (relating to stationary internal             minimum, the following:
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  (i) Inspection, adjustment, cleaning or replacement of       performance for municipal solid waste landfills), which
fuel-burning equipment, including the burners and mov-         are adopted and incorporated by reference in § 122.3.
ing parts necessary for proper operation as specified by
the manufacturer.                                                (f) The owner and operator of a municipal waste com-
                                                               bustor subject to § 129.96 shall comply with the following
  (ii) Inspection and adjustment of the flame pattern or       applicable presumptive RACT requirement:
characteristics necessary to minimize total emissions of
NOx and, to the extent possible, emissions of CO.                (1) For a municipal waste combustor constructed on or
                                                               before September 20, 1994, the emission guidelines and
  (iii) Inspection and adjustment of the air-to-fuel ratio     compliance times in 40 CFR Part 60, Subpart Cb (relating
control system necessary to ensure proper calibration and      to emissions guidelines and compliance times for large
operation as specified by the manufacturer.                    municipal waste combustors that are constructed on or
   (2) The presumptive RACT requirement for an oil-fired,      before September 20, 1994), which are adopted and
gas-fired or combination oil-fired and gas-fired combus-       incorporated by reference in § 122.3, and applicable
tion unit with a rated heat input equal to or greater than     Federal or state plans in 40 CFR Part 62.
20 million Btu/hour and less than 50 million Btu/hour,           (2) For a municipal waste combustor constructed after
which is the performance of all adjustments consistent         September 20, 1994, or for a municipal waste combustor
with the EPA document ‘‘Combustion Efficiency Optimiza-        that commenced a modification or reconstruction after
tion Manual for Operators of Oil and Gas-fired Boilers         June 19, 1996, the new source performance standards in
(EPA-340/1-83-023),’’ September 1983 or as amended.            40 CFR Part 60, Subpart Eb (relating to standards of
  (3) The applicable recordkeeping requirements of             performance for large municipal waste combustors for
§ 129.100(d) or (e) (relating to compliance demonstration      which construction is commenced after September 20,
and recordkeeping requirements).                               1994 or for which modification or reconstruction is com-
                                                               menced after June 19, 1996), which are adopted and
   (c) The owner and operator of a source in this subsec-      incorporated by reference in § 122.3.
tion located at a major NOx emitting facility or major
VOC emitting facility, or both, subject to § 129.96 shall         (g) The owner and operator of a NOx air contamination
comply with the following presumptive RACT require-            source in this subsection located at a major NOx emitting
ment, which is the installation, maintenance and opera-        facility or a VOC air contamination source in this subsec-
tion of the source in accordance with the manufacturer’s       tion located at a major VOC emitting facility, or both,
specifications and good engineering practices:                 subject to § 129.96 may not cause, allow or permit NOx
                                                               or VOCs, or both, to be emitted from the air contamina-
  (1) A boiler or other combustion source with an indi-        tion source for which the source is major in excess of the
vidual rated gross heat input less than 20 million Btu/        applicable RACT emission limitation:
hour.
                                                                 (1) A combustion unit or process heater:
  (2) A combustion turbine with a rated output less than
1,000 bhp.                                                       (i) For a natural gas-fired combustion unit or process
                                                               heater with a rated heat input equal to or greater than
  (3) An internal combustion engine rated at less than         50 million Btu/hour, 0.08 lb NOx/million Btu heat input.
500 bhp (gross).
                                                                 (ii) For a distillate oil-fired combustion unit or process
  (4) An incinerator, thermal oxidizer or catalytic oxi-       heater with a rated heat input equal to or greater than
dizer used primarily for air pollution control.                50 million Btu/hour, 0.12 lb NOx/million Btu heat input.
  (5) A unit of fuel-burning equipment, a gas turbine or         (iii) For a residual oil-fired combustion unit or process
an internal combustion engine with an annual capacity          heater with a rated heat input equal to or greater than
factor of less than 5%.                                        50 million Btu/hour, 0.20 lb NOx/million Btu heat input.
  (6) An emergency standby engine operating less than            (iv) For a refinery gas-fired combustion unit or process
500 hours in a 12-month rolling period.                        heater with a rated heat input equal to or greater than
   (d) The owner and operator of a combustion unit or          50 million Btu/hour, 0.25 lb NOx/million Btu heat input.
other combustion source located at a major VOC emitting          (v) For a coal-fired combustion unit with a rated heat
facility subject to § 129.96 shall comply with the pre-        input equal to or greater than 50 million Btu/hour and
sumptive RACT requirement of good engineering prac-            less than 250 million Btu/hour, 0.45 lb NOx/million Btu
tices for the control of the VOC emissions from the            heat input.
combustion unit or other combustion source.
                                                                  (vi) For a coal-fired combustion unit with a rated heat
  (e) The owner and operator of a municipal solid waste        input equal to or greater than 250 million Btu/hour that
landfill subject to § 129.96 shall comply with the follow-     is:
ing applicable presumptive RACT requirement:
                                                                (A) A circulating fluidized bed combustion unit, 0.20 lb
  (1) For a municipal solid waste landfill constructed on      NOx/million Btu heat input.
or before May 30, 1991, emission guidelines and compli-
ance times in 40 CFR Part 60, Subpart Cc (relating to           (B) A tangentially fired combustion unit, 0.35 lb NOx/
emission guidelines and compliance times for municipal         million Btu heat input.
solid waste landfills), which are adopted and incorporated       (C) Another combustion unit, 0.40 lb NOx/million Btu
by reference in § 122.3 (relating to adoption of stan-         heat input.
dards), and applicable Federal or state plans in 40 CFR
Part 62 (relating to approval and promulgation of state          (2) A combustion turbine:
plans for designated facilities and pollutants).
                                                                  (i) For a combined cycle or combined heat and power
  (2) For a municipal solid waste landfill constructed         combustion turbine with a rated output equal to or
after May 30, 1991, new source performance standards in        greater than 1,000 bhp and less than 180 MW when
40 CFR Part 60, Subpart WWW (relating to standards of          firing:
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  (A) Natural gas or a noncommercial gaseous fuel, 42             n = The number of different fuels used during the
ppmvd NOx @ 15% oxygen.                                         compliance period.
  (B) Fuel oil, 75 ppmvd NOx @ 15% oxygen.                        (ii) A fuel representing less than 1% of the unit’s
  (C) Natural gas or a noncommercial gaseous fuel, 2            annual fuel consumption on a heat input basis is excluded
ppmvd VOC (as propane) @ 15% oxygen.                            when determining the applicable RACT multiple fuel
                                                                emission limit calculated in accordance with subpara-
  (D) Fuel oil, 2 ppmvd VOC (as propane) @ 15% oxygen.          graph (i).
  (ii) For a combined cycle or combined heat and power            (iii) The determination in subparagraph (i) does not
combustion turbine with a rated output equal to or              apply to a stationary internal combustion engine that is
greater than 180 MW when firing:                                subject to the RACT emission limits in paragraph (3).
  (A) Natural gas or a noncommercial gaseous fuel, 4
                                                                  (h) The owner and operator of a Portland cement kiln
ppmvd NOx @ 15% oxygen.
                                                                subject to § 129.96 shall comply with the following
  (B) Fuel oil, 8 ppmvd NOx @ 15% oxygen.                       applicable presumptive RACT emission limitation:
  (C) Natural gas or a noncommercial gaseous fuel, 2              (1) 3.88 pounds of NOx per ton of clinker produced for
ppmvd VOC (as propane) @ 15% oxygen.                            a long wet-process cement kiln as defined in § 145.142
  (D) Fuel oil, 2 ppmvd VOC (as propane) @ 15% oxygen.          (relating to definitions).
  (iii) For a simple cycle or regenerative cycle combustion       (2) 3.44 pounds of NOx per ton of clinker produced for
turbine with a rated output equal to or greater than            a long dry-process cement kiln as defined in § 145.142.
1,000 bhp when firing:                                            (3) 2.36 pounds of NOx per ton of clinker produced for:
  (A) Natural gas or a noncommercial gaseous fuel, 42             (i) A preheater cement kiln as defined in § 145.142.
ppmvd NOx @ 15% oxygen.
                                                                  (ii) A precalciner cement kiln as defined in § 145.142.
  (B) Fuel oil, 75 ppmvd NOx @ 15% oxygen.
                                                                   (i) The requirements and emission limitations of this
  (C) Natural gas or a noncommercial gaseous fuel, 9            section supersede the requirements and emission limita-
ppmvd VOC (as propane) @ 15% oxygen.                            tions of a RACT permit issued to the owner or operator of
  (D) Fuel oil, 9 ppmvd VOC (as propane) @ 15% oxygen.          an air contamination source subject to one or more of
                                                                subsections (b)—(h) prior to                    , (Editor’s
  (3) A stationary internal combustion engine:                  Note: The blank refers to the effective date of adoption of
   (i) For a lean burn stationary internal combustion           this proposed rulemaking.) under §§ 129.91—129.95 (re-
engine with a rating equal to or greater than 500 bhp           lating to stationary sources of NOx and VOCs) to control,
fired with:                                                     reduce or minimize NOx emissions or VOC emissions, or
                                                                both, from the air contamination source except to the
  (A) Natural gas, 3.0 grams NOx/bhp-hr.                        extent the RACT permit contains more stringent require-
 (B) Natural gas, liquid fuel or dual-fuel, 0.4 gram            ments or emission limitations, or both.
VOC/bhp-hr.
                                                                   (j) The requirements and emission limitations of this
  (ii) For a stationary internal combustion engine with a       section do not supersede the requirements and emission
rating equal to or greater than 500 bhp fired with liquid       limitations of §§ 129.201—129.205, 145.111—145.113 and
fuel or dual-fuel, 8.0 grams NOx/bhp-hr.                        145.141—145.146 (relating to additional NOx require-
   (iii) For a rich burn stationary internal combustion         ments; emissions of NOx from stationary internal combus-
engine with a rating equal to or greater than 500 bhp           tion engines; and emissions of NOx from cement manufac-
fired with:                                                     turing) except to the extent this section contains more
                                                                stringent requirements or emission limitations, or both,
  (A) Natural gas, 2.0 grams NOx/bhp-hr.                        for the owner or operator of a major NOx emitting facility
  (B) Natural gas, 1.0 gram VOC/bhp-hr.                         subject to § 129.96 to control, reduce or minimize NOx
                                                                emissions from an air contamination source subject to
  (4) A unit firing multiple fuels simultaneously:              §§ 129.201—129.205, §§ 145.111—145.113 or §§ 145.141—
  (i) The applicable RACT multiple fuel emission limit          145.146.
shall be determined on a total heat input fuel weighted            (k) The owner or operator of a major NOx emitting
basis using the following equation:                             facility or a major VOC emitting facility, or both, subject
                  兺 ni = 1 EiHIi
                                                                to § 129.96 that includes an air contamination source
  EHIweighted =                                                 subject to one or more of subsections (b)—(h) that cannot
                  兺 ni = 1 HIi                                  meet the applicable RACT requirement or RACT emission
                                                                limitation without installation of an air cleaning device
  where:                                                        may submit a petition, in writing, requesting an alterna-
                                                                tive compliance schedule in accordance with the following:
  EHIweighted = The heat input fuel weighted multiple fuel
emission rate or emission limitation for the compliance           (1) The written petition shall be submitted to the
period, expressed in units of measure consistent with the       Department or appropriate approved local air pollution
units of measure for the emission limitation.                   control agency as soon as possible but not later than:
  Ei = The emission rate or emission limit for fuel i             (i)           , (Editor’s Note: The blank refers to the
during the compliance period, expressed in units of             date 6 months after the effective date of adoption of this
measure consistent with the units of measure for the            proposed rulemaking.) for a source subject to § 129.96(a).
emission limitation.                                              (ii)           , (Editor’s Note: The blank refers to the
  HIi = The total heat input for fuel i during the              date 6 months after the effective date of adoption of this
compliance period.                                              proposed rulemaking.) or 6 months after the date that the
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source meets the definition of a major NOx emitting               source meets the definition of a major NOx emitting
facility, whichever is later, for a source subject to             facility, whichever is later, for a source subject to
§ 129.96(b).                                                      § 129.96(b).
  (2) The written petition must include:                            (c) Each NOx emitting source included in the operating
  (i) A description, including make, model and location,          permit modification for averaging NOx emissions on
of each affected source subject to a RACT requirement or          either a facility-wide or system-wide basis using a 30-day
a RACT emission limitation in one or more of subsections          rolling average submitted under subsection (b) must be
(b)—(h).                                                          an air contamination source subject to a NOx RACT
                                                                  emission limitation in § 129.97.
  (ii) A description of the proposed air cleaning device to
be installed.                                                       (d) The operating permit modification for averaging
                                                                  NOx emissions on either a facility-wide or system-wide
  (iii) A schedule containing proposed interim dates for          basis using a 30-day rolling average submitted under
completing each phase of the required work to install the         subsection (b) must demonstrate that the aggregate NOx
air cleaning device described in subparagraph (ii).               emissions emitted by the air contamination sources in-
  (iv) A proposed interim emission limitation that will be        cluded in the facility-wide or system-wide NOx emissions
imposed on the affected source until compliance is                averaging RACT operating permit modification using a
achieved with the applicable RACT requirement or RACT             30-day rolling average are not greater than 90% of the
emission limitation.                                              sum of the NOx emissions that would be emitted by the
                                                                  group of included sources if each source complied with the
   (v) A proposed final compliance date that is as soon as        applicable NOx RACT requirement or NOx RACT emis-
possible but not later than                  (Editor’s Note:      sion limitation in § 129.97 on a source-specific basis.
The blank refers to the date 3 years after the effective
date of adoption of this proposed rulemaking.).                      (e) The owner or operator shall calculate the alterna-
                                                                  tive facility-wide or system-wide NOx RACT emissions
   (l) The Department or appropriate approved local air           limitation using a 30-day rolling average for the air
pollution control agency will review the timely and com-          contamination sources included in the operating permit
plete written petition requesting an alternative compli-          modification submitted under subsection (b) by using the
ance schedule submitted in accordance with subsection             following equation to sum the emissions for all of the
(k) and approve or deny the petition in writing.                  sources included in the operating permit modification:
   (m) Approval or denial under subsection (l) of the
timely and complete petition for an alternative compli-           [兺 ni = 1 Ri
                                                                             actual      ] [兺 ni = 1 Ri
                                                                                      * Hi ⱕ          allowable      ]
                                                                                                                  * Hi * 0.9
ance schedule submitted under subsection (k) will be
effective on the date the letter of approval or denial of the       Where:
petition is signed by the authorized representative of the          Riactual = The daily actual NOx emission rate for air
Department or appropriate approved local air pollution            contamination source i, lb/mmbtu, using a 30-day rolling
control agency.                                                   average.
§ 129.98. Facility-wide or system-wide NOx emis-                     Riallowable = The applicable NOx emission rate limita-
   sions averaging RACT operating permit modifica-                tion for air contamination source i, lb/mmBtu, specified in
   tion general requirements.                                     § 129.97.
   (a) The owner or operator of a major NOx emitting
                                                                    Hi = The daily actual heat input for air contamination
facility subject to § 129.96 (relating to applicability) that     source i, mmBtu, using a 30-day rolling average.
includes an air contamination source subject to a NOx
RACT requirement or NOx RACT emission limitation in                 n = The number of air contamination sources included
§ 129.97 (relating to presumptive RACT requirements,              in the operating permit modification.
RACT emission limitations and petition for alternative              0.9 = The 90% limit specified under subsection (d).
compliance schedule) that cannot meet the applicable
NOx RACT requirement or NOx RACT emission limita-                   (f) The operating permit modification specified in sub-
tion may elect to meet the applicable NOx RACT require-           sections (b)—(e) may include facility-wide or system-wide
ment or NOx RACT emission limitation in § 129.97 by               averaging emissions using a 30-day rolling average only
averaging NOx emissions on either a facility-wide or              for NOx emitting sources or NOx emitting facilities that
system-wide basis using a 30-day rolling average. System-         are owned or operated, or both, by the applicant.
wide emissions averaging must be among sources under                (g) The operating permit modification specified in sub-
common control of the same owner or operator in this              sections (b)—(f) must include the following information:
Commonwealth.
                                                                    (1) Identification of each air contamination source in-
   (b) The owner or operator of each facility that elects to      cluded in the NOx emissions averaging RACT operating
comply with subsection (a) shall submit an operating              permit modification.
permit modification that incorporates the requirements of
this section for averaging NOx emissions on either a                (2) Each air contamination source’s applicable emission
facility-wide or system-wide basis using a 30-day rolling         limitation in § 129.97.
average to the Department or appropriate approved local             (3) Methods for demonstrating compliance and record-
air pollution control agency by the applicable date as            keeping and reporting requirements in accordance with
follows:                                                          § 129.100 (relating to compliance demonstration and
   (1)             , (Editor’s Note: The blank refers to the      recordkeeping requirements) for each source included in
date 6 months after the effective date of adoption of this        the NOx emissions averaging RACT operating permit
proposed rulemaking.) for a source subject to § 129.96(a).        modification submitted under subsection (b).
   (2)             , (Editor’s Note: The blank refers to the        (h) An air contamination source or facility, or both,
date 6 months after the effective date of adoption of this        included in the facility-wide or system-wide NOx emis-
proposed rulemaking.) or 6 months after the date that the         sions averaging RACT operating permit modification sub-
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mitted in accordance with subsections (b)—(g) may be                 (c) The owner or operator of a VOC air contamination
included in only one facility-wide or system-wide NOx             source with a potential emission rate equal to or greater
emissions averaging RACT proposal.                                than 2.7 tons of VOC per year that is not subject to
   (i) The Department or appropriate approved local air           § 129.97 located at a major VOC emitting facility subject
pollution control agency will issue a modification to the         to § 129.96 shall propose a VOC RACT emission limita-
operating permit.                                                 tion in accordance with subsection (d).
   (j) The owner or operator of an air contamination                (d) The owner or operator proposing an alternative
source or facility, or both, included in the facility-wide or     RACT emission limitation under subsection (a), (b) or (c)
system-wide NOx emissions averaging RACT operating                shall:
permit modification submitted in accordance with subsec-             (1) Submit a written RACT proposal in accordance with
tions (b)—(h) shall submit the reports and records speci-         the procedures in § 129.92(a)(1)—(5), (7)—(10) and (b)
fied in subsection (g)(3) to the Department or appropriate        (relating to RACT proposal requirements) to the Depart-
approved local air pollution control agency on the sched-         ment or appropriate approved local air pollution control
ule specified in subsection (g)(3) to demonstrate compli-         agency as soon as possible but not later than:
ance with § 129.100.                                                 (i)             , (Editor’s Note: The blank refers to the
   (k) The owner or operator of an air contamination              date 6 months after the effective date of adoption of this
source or facility, or both, included in a facility-wide or       proposed rulemaking.) for a source subject to § 129.96(a).
system-wide NOx emissions averaging RACT operating                   (ii)             , (Editor’s Note: The blank refers to the
permit modification submitted in accordance with subsec-          date 6 months after the effective date of adoption of this
tions (b)—(h) that achieves emission reductions in accord-        proposed rulemaking.) or 6 months after the date that the
ance with other emission limitations required under the           source meets the definition of a major NOx emitting
act or the Clean Air Act, or regulations adopted under the        facility or major VOC emitting facility, or both, whichever
act or the Clean Air Act, that are not NOx RACT emission          is later, for a source subject to § 129.96(b).
limitations may not substitute those emission reductions
for the emission reductions required by the facility-wide            (2) Be in receipt of an approval issued by the Depart-
or system-wide NOx emissions averaging RACT operating             ment or appropriate approved local air pollution control
permit modification submitted to the Department or                agency in writing through a plan approval or operating
appropriate approved local air pollution control agency           permit modification for a RACT proposal submitted under
under subsection (b).                                             paragraph (1)(ii) prior to the installation, modification or
                                                                  change in the operation of the existing air contamination
   (l) The owner or operator of an air contamination              source that will result in the source or facility meeting
source subject to a NOx emission limitation in § 129.97           the definition of a major NOx emitting facility or major
that is not included in a facility-wide or system-wide NOx        VOC emitting facility, or both.
emissions averaging RACT operating permit modification
submitted under subsection (b) shall operate the source in           (3) Include in the RACT proposal the proposed alterna-
compliance with the applicable NOx emission limitation            tive NOx RACT emission limitation or VOC RACT emis-
in § 129.97.                                                      sion limitation developed in accordance with the proce-
                                                                  dures in § 129.92(a)(1)—(5) and (b).
   (m) The owner and operator of an air contamination
source included in a facility-wide or system-wide NOx                (4) Include in the RACT proposal a schedule for com-
emissions averaging RACT operating permit modification            pleting implementation of the RACT emission limitation
submitted under subsection (b) shall be liable for a              as soon as possible but not later than:
violation of the operating permit modification or this               (i)             , (Editor’s Note: The blank refers to the
section at that source or other source in the operating           date 1 year after the effective date of adoption of this
permit modification.                                              proposed rulemaking.) for a source subject to § 129.96(a).
§ 129.99. Alternative RACT proposal and petition                     (ii)             , (Editor’s Note: The blank refers to the
   for alternative compliance schedule.                           date 1 year after the effective date of adoption of this
   (a) The owner or operator of an air contamination              proposed rulemaking.) or 1 year after the date that the
source subject to § 129.97 (relating to presumptive RACT          source meets the definition of a major NOx emitting
requirements, RACT emission limitations and petition for          facility or major VOC emitting facility, or both, whichever
alternative compliance schedule) located at a major NOx           is later, for a source subject to § 129.96(b).
emitting facility or major VOC emitting facility, or both,          (5) Include interim dates in the schedule required
subject to § 129.96 (relating to applicability) that cannot       under paragraph (4) for the:
meet the applicable presumptive RACT requirement or
RACT emission limitation of § 129.97 or participate in              (i) Issuance of purchase orders.
either a facility-wide or system-wide NOx emissions aver-           (ii) Start and completion of process, technology and
aging RACT operating permit modification under                    control technology changes.
§ 129.98 (relating to facility-wide or system-wide NOx
emissions averaging RACT operating permit modification              (iii) Completion of compliance testing.
general requirements) may propose an alternative NOx                (6) Include in the RACT proposal methods for demon-
RACT emission limitation or VOC RACT emission limita-             strating compliance and recordkeeping and reporting
tion, or both, in accordance with subsection (d).                 requirements in accordance with § 129.100 (relating to
  (b) The owner or operator of a NOx air contamination            compliance demonstration and recordkeeping require-
source with a potential emission rate equal to or greater         ments) for each air contamination source included in the
than 5.0 tons of NOx per year that is not subject to              RACT proposal.
§ 129.97 or §§ 129.201—129.205 (relating to additional              (7) Demonstrate to the satisfaction of the Department
NOx requirements) located at a major NOx emitting                 or the appropriate approved local air pollution control
facility subject to § 129.96 shall propose a NOx RACT             agency that the proposed emission limitation is RACT for
emission limitation in accordance with subsection (d).            the air contamination source.
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  (e) The Department or appropriate approved local air             (ii) A description of the proposed air cleaning device to
pollution control agency will:                                   be installed.
  (1) Review the timely and complete alternative RACT              (iii) A schedule containing proposed interim dates for
proposal submitted in accordance with subsection (d).            completing each phase of the required work to install the
  (2) Approve the alternative RACT proposal submitted            air cleaning device described in subparagraph (ii).
under subsection (d), in writing, if the Department or             (iv) A proposed interim emission limitation that will be
appropriate approved local air pollution control agency is       imposed on the affected air contamination source until
satisfied that the alternative RACT proposal complies            compliance is achieved with the applicable RACT require-
with the requirements of subsection (d) and that the             ment or RACT emission limitation.
proposed alternative emission limitation is RACT for the
air contamination source.                                          (v) A proposed final compliance date that is as soon as
                                                                 possible but not later than                (Editor’s Note:
  (3) Deny or modify the alternative RACT proposal               The blank refers to the date 3 years after the effective
submitted under subsection (d), in writing, if the proposal      date of adoption of this proposed rulemaking.).
does not comply with the requirements of subsection (d).
                                                                   (j) The Department or appropriate approved local air
  (f) The proposed alternative RACT emission limitation          pollution control agency will review the timely and com-
and the implementation schedule submitted under sub-             plete written petition requesting an alternative compli-
section (d) will be approved, denied or modified by the          ance schedule submitted in accordance with subsection
Department or appropriate approved local air pollution           (h) and approve or deny the petition in writing.
control agency in accordance with subsection (e) in writ-
ing through the issuance of a plan approval or operating           (k) The emission limit and requirements specified in
permit modification prior to the owner or operator imple-        the plan approval or operating permit issued by the
menting the alternative RACT emission limitation.                Department or appropriate approved local air pollution
                                                                 control agency under subsection (j) supersede the emis-
  (g) The emission limit and requirements specified in           sion limit and requirements in the existing plan approval
the plan approval or operating permit issued by the              or operating permit issued to the owner or operator of the
Department or appropriate approved local air pollution           source prior to              , (Editor’s Note: The blank
control agency under subsection (f) supersede the emis-          refers to the effective date of adoption of this proposed
sion limit and requirements in the existing plan approval        rulemaking.) on the date specified in the plan approval or
or operating permit issued to the owner or operator of the       operating permit issued by the Department or appropri-
source prior to                , (Editor’s Note: The blank
                                                                 ate approved local air pollution control agency under
refers to the effective date of adoption of this proposed
                                                                 subsection (j), except to the extent the existing plan
rulemaking.) on the date specified in the plan approval or
                                                                 approval or operating permit contains more stringent
operating permit issued by the Department or appropri-
                                                                 requirements.
ate approved local air pollution control agency under
subsection (f), except to the extent the existing plan              (l) Approval or denial under subsection (j) of the timely
approval or operating permit contains more stringent             and complete petition for an alternative compliance
requirements.                                                    schedule submitted under subsection (i) will be effective
  (h) The Department will submit each alternative RACT           on the date the letter of approval or denial of the petition
emission limitation approved under subsection (f) to the         is signed by the authorized representative of the Depart-
Administrator of the EPA for approval as a revision to the       ment or appropriate approved local air pollution control
SIP. The owner and operator of the facility shall bear the       agency.
costs of public hearings and notification required for EPA       § 129.100. Compliance demonstration and record-
SIP approval.                                                      keeping requirements.
  (i) The owner and operator of a facility proposing to             (a) Except as provided in subsection (c), the owner and
comply with the applicable RACT emission limitation              operator of an air contamination source subject to a NOx
under subsection (a), (b) or (c) through the installation of     emission limitation or VOC emission limitation, or both,
an air cleaning device may submit a petition, in writing,        listed in § 129.97 (relating to presumptive RACT require-
requesting an alternative compliance schedule in accord-         ments, RACT emission limitations and petition for alter-
ance with the following:                                         native compliance schedule) shall demonstrate compliance
  (1) The written petition requesting an alternative com-        with the applicable RACT requirement or RACT emission
pliance schedule shall be submitted to the Department or         limitation by performing the following monitoring or
appropriate approved local air pollution control agency as       testing procedures:
soon as possible but not later than:                               (1) For an air contamination source with a CEMS,
  (i)             , (Editor’s Note: The blank refers to the      monitoring and testing in accordance with the require-
date 6 months after the effective date of adoption of this       ments of Chapter 139, Subchapter C (relating to require-
proposed rulemaking.) for a source subject to § 129.96(a).       ments for source monitoring for stationary sources) using
  (ii)             , (Editor’s Note: The blank refers to the     a 30-day rolling average.
date 6 months after the effective date of adoption of this         (2) For an air contamination source without a CEMS,
proposed rulemaking.) or 6 months after the date that the        monitoring and testing in accordance with a Department-
source meets the definition of a major NOx emitting              approved emissions source test that meets the require-
facility, whichever is later, for a source subject to            ments of Chapter 139, Subchapter A (relating to sampling
§ 129.96(b).                                                     and testing methods and procedures).
  (2) The written petition must include:                           (b) The owner and operator of an air contamination
  (i) A description, including make, model and location,         source subject to subsection (a) shall demonstrate compli-
of each air contamination source subject to a RACT               ance with the applicable RACT requirement or RACT
requirement or a RACT emission limitation in one or              emission limitation in accordance with the procedures in
more of subsections (a)—(c).                                     subsection (a) not later than:
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  (1)              , (Editor’s Note: The blank refers to the        (2) Data or information required to determine compli-
date 1 year after the effective date of adoption of this          ance shall be recorded and maintained in a time frame
proposed rulemaking.) for a source subject to § 129.96(a)         consistent with the averaging period of the requirement.
(relating to applicability).                                        (3) The records shall be retained for 5 years and made
   (2)              , (Editor’s Note: The blank refers to the     available to the Department or appropriate approved local
date 1 year after the effective date of adoption of this          air pollution control agency upon written request.
proposed rulemaking.) or 1 year after the date that the             (e) The owner or operator of an air contamination
source meets the definition of a major NOx emitting               source claiming that the air contamination source is
facility or major VOC emitting facility, or both, whichever       exempt from the applicable NOx emission rate threshold
is later, for a source subject to § 129.96(b).                    specified in § 129.99(b) and the requirements of § 129.97
  (c) An owner or operator of an air contamination source         based on the air contamination source’s potential to emit
subject to this section, §§ 129.96 and 129.97 and                 shall maintain records that demonstrate to the Depart-
§ 129.98 (relating to facility-wide or system-wide NOx            ment or appropriate approved local air pollution control
emissions averaging RACT operating permit modification            agency that the air contamination source is not subject to
general requirements) may request a waiver from the               the specified emission rate threshold.
requirement to demonstrate compliance with the appli-               (f) The owner or operator of an air contamination
cable emission limitation listed in § 129.97 if the follow-       source claiming that the air contamination source is
ing requirements are met:                                         exempt from the applicable VOC emission rate threshold
  (1) The request for a waiver is submitted, in writing, to       specified in § 129.99(c) and the requirements of § 129.97
the Department not later than:                                    based on the air contamination source’s potential to emit
                                                                  shall maintain records that demonstrate to the Depart-
  (i)           , (Editor’s Note: The blank refers to the         ment or appropriate approved local air pollution control
date 6 months after the effective date of adoption of this        agency that the air contamination source is not subject to
proposed rulemaking.) for a source subject to § 129.96(a).        the specified emission rate threshold.
   (ii)             , (Editor’s Note: The blank refers to the       (g) The owner or operator of a combustion unit subject
date 6 months after the effective date of adoption of this        to § 129.97(b)(1) shall record each adjustment conducted
proposed rulemaking.) or 6 months after the date that the         under the procedures in § 129.97(b)(1) in a permanently
source meets the definition of a major NOx emitting               bound log book or other method approved by the Depart-
facility or major VOC emitting facility, or both, whichever       ment or appropriate approved local air pollution control
is later, for a source subject to § 129.96(b).                    agency. This log book must contain, at a minimum:
  (2) The request for a waiver demonstrates that a                  (1) The date of the tuning procedure.
Department-approved emissions source test was per-                  (2) The name of the service company and the techni-
formed in accordance with the requirements of Chapter             cian performing the procedure.
139, Subchapter A, on or after:
                                                                    (3) The final operating rate or load.
  (i)            , (Editor’s Note: The blank refers to the          (4) The final NOx and CO emission rates.
date within 12 months prior to the effective date of
adoption of this proposed rulemaking.) for a source                 (5) The final excess oxygen rate.
subject to § 129.96(a).                                             (6) Other information required by the applicable oper-
                    , (Editor’s Note: The blank refers to the     ating permit.
  (ii)
date within 12 months prior to the effective date of                (h) The owner or operator of an oil-fired, gas-fired or
adoption of this proposed rulemaking.) or within 12               combination oil-fired and gas-fired unit subject to
months prior to the date that the source meets the                § 129.97(b)(2) shall maintain records including a certifi-
definition of a major NOx emitting facility or major VOC          cation from the fuel supplier of the type of fuel. For each
emitting facility, or both, whichever is later, for a source      shipment of residual oil, the record must include:
subject to § 129.96(b).                                             (1) A certification of the nitrogen content of the fuel.
  (3) The request for a waiver demonstrates to the                  (2) Identification of the sampling method and sampling
satisfaction of the Department that the test results show         protocol used to determine the nitrogen content of the
that the source’s rate of emissions is in compliance with         fuel.
the source’s applicable NOx emission limitation or VOC              (i) The owner or operator of a Portland cement kiln
emission limitation, or both.                                     subject to § 129.97(h) shall maintain a daily operating log
  (4) The Department approves, in writing, the request            for each Portland cement kiln. The record for each kiln
for a waiver.                                                     must include:
  (d) The owner and operator of an air contamination                (1) The total hours of operation.
source subject to this section, §§ 129.96—129.98 and                (2) The type and quantity of fuel used.
§ 129.99 (relating to alternative RACT proposal and                 (3) The quantity of clinker produced.
petition for alternative compliance schedule) shall keep
                                                                    (4) The date, time and duration of a start-up, shutdown
records to demonstrate compliance with §§ 129.96—
                                                                  or malfunction of a Portland cement kiln or emissions
129.99 in the following manner:
                                                                  monitoring system.
  (1) The records shall include sufficient data and calcu-            [Pa.B. Doc. No. 14-815. Filed for public inspection April 18, 2014, 9:00 a.m.]
lations to demonstrate that the requirements of
§§ 129.96—129.99 are met.




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                        Bureau of Air Quality




      COMMENT AND RESPONSE
          DOCUMENT


ADDITIONAL RACT REQUIREMENTS FOR
  MAJOR SOURCES OF NOX AND VOCs



           25 Pa. Code Chapters 121 and 129
          44 Pa.B. 2392-2404 (April 19, 2014)
     Environmental Quality Board Regulation #7-485
  (Independent Regulatory Review Commission #3052)




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                                                                                   JA239
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                                           Introduction

           Additional RACT Requirements for Major Sources of NOx and VOCs

On April 19, 2014, the Environmental Quality Board (Board, EQB) published a notice of public
hearings and comment period for a proposed rulemaking concerning revisions to 25 Pa. Code
Chapters 121 and 129 (relating to general provisions; and standards for sources).

The proposed rulemaking would amend Chapter 129 to adopt presumptive reasonably available
control technology (RACT) requirements and RACT emission limitations for major stationary
sources of oxides of nitrogen (NOx) and volatile organic compound (VOC) emissions in
existence on or before July 20, 2012. In addition, the proposed rulemaking would amend § 121.1
(relating to definitions) to revise four existing definitions and add five definitions to support the
amendments to Chapter 129. Emissions of NOx and VOCs are precursors to the formation of
ground-level ozone, a criteria air pollutant. High concentrations of ground-level ozone air
pollution are a serious threat to public health and welfare. This rulemaking is reasonably
required to attain and maintain the health- and welfare-based 8-hour ozone National Ambient Air
Quality Standards (NAAQS) in this Commonwealth and to satisfy related Clean Air Act (CAA)
(42 U.S.C.A. §§ 7401—7671q) requirements.

The proposed rulemaking will be effective upon publication in the Pennsylvania Bulletin as a
final-form regulation. The final-form regulation will be submitted to the United States
Environmental Protection Agency (EPA) as a revision to the State Implementation Plan (SIP).




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Public Comment Period and Public Hearings

Notice of the public comment period on the proposed RACT amendments was published in the
Pennsylvania Bulletin on April 19, 2014 (44 Pa.B. 2392). The EQB’s public comment period
opened on April 19, 2014, and closed on June 30, 2014, for a 73-day public comment period.

Three public hearings were held on the proposed rulemaking as follows:

May 27, 2014                 Department of Environmental Protection
1 p.m.                       Southwest Regional Office
                             Waterfront Conference Rooms A and B
                             400 Waterfront Drive
                             Pittsburgh, PA 15222-4745

May 28, 2014                 Department of Environmental Protection
1 p.m.                       Southeast Regional Office
                             Delaware and Schuylkill Conference Rooms
                             2 East Main Street
                             Norristown, PA 19401

May 29, 2014                 Department of Environmental Protection
1 p.m.                       Rachel Carson State Office Building
                             Conference Room 105
                             400 Market Street
                             Harrisburg, PA 17105

This document summarizes the comments received during the Board’s public comment period.
Each public comment is listed with an identifying commentator number for each commentator
that made the comment. A list of the commentators, including name and affiliation (if any) can
be found on pages 5–17 of this document. The Board invited each commentator to prepare a
one-page summary of the commentator’s comments. Sixteen one-page summaries were
submitted to the Board for this rulemaking. Twenty-five persons presented testimony during the
public hearings. The House and Senate Environmental Resources and Energy Committees did
not submit comments on the proposal.

Copies of all comments received by the Board are posted on the web site of the Independent
Regulatory Review Commission (IRRC) at http://www.irrc.state.pa.us. Search by Regulation #
7-485 or IRRC # 3052.




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                  Acronyms used in this Comment/Response Document

APCA – Pennsylvania Air Pollution Control Act
BAT – Best Available Technology
BACT – Best Available Control Technology
BAQ – Bureau of Air Quality
CAA – Federal Clean Air Act
CAIR – Clean Air Interstate Rule
CFB – Circulating Fluidized Bed
CSAPR – Cross-State Air Pollution Rule
CTG – Control Techniques Guideline
EGU – Electric Generating Unit
EMAP – Environmental Management Assistance Program
EPA – United States Environmental Protection Agency
EQB – Environmental Quality Board
GP – General Permit
HAP – Hazardous Air Pollutant
HHV – Higher Heating Value
IRRC – Independent Regulatory Review Commission
LAER – Lowest Achievable Emission Rate
LHV – Lower Heating Value
LLP – Lithographic Printing and Letterpress Printing
MACT – Maximum Achievable Control Technology
MMBtu – Million British Thermal Units
NESHAP – National Emission Standards for Hazardous Air Pollutants
NSPS – New Source Performance Standards
NSR – New Source Review
OAQPS – Office of Air Quality Planning and Standards
OTR – Ozone Transport Region
PADEP – Pennsylvania Department of Environmental Protection
RACT – Reasonably Available Control Technology
RICE – Reciprocating Internal Combustion Engines
SIP – State Implementation Plan
TPY – Tons Per Year
TSD – Technical Support Document




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                              COMMENTS AND RESPONSES

General Comments

1. Comment: Based on the U.S. Environmental Protection Agency’s (EPA) comments, it does
not appear that the proposed regulation will be viable as a SIP revision. We recommend that the
EQB meet with the EPA to gain a thorough understanding of their concerns and how to
successfully address them. In the final-form regulation submittal, the EQB should explain how
the revised regulation addresses each issue raised in the EPA comments and constitutes a viable
SIP revision. (134)

Response: The final-form regulation has been revised to address concerns raised by the EPA.
The Department of Environmental Protection’s staff met with representatives from EPA Region
III on October 8, 2014, to discuss the EPA’s comments and to seek clarification regarding the
proposed RACT regulation published in the Pennsylvania Bulletin on April 19, 2015. The
preamble for the EPA’s final rule entitled Implementation of the 2008 National Ambient Air
Quality Standards for Ozone: State Implementation Plan Requirements (80 Fed. Reg. 12264,
March 6, 2015) provides additional guidance concerning the RACT requirements for the
National Ambient Air Quality Standards (NAAQS) for ozone. Detailed responses to the EPA
comments can be found in the responses to comments numbered 13, 55, 61, 90, 100, 123, 124,
130, 134, 135, 152, 153, 154, 158, 161, 162, 163, and 191.

2. Comment: DEP has found an appropriate balance between reducing emissions and
providing an economic path forward for Pennsylvania’s electric generators while simultaneously
preserving grid reliability. The proposal represents an opportunity to achieve lower emissions
while preserving and maintaining one of the Commonwealth’s core industries – electric power
production. (84, 93, 105, 110)

Response: The Department appreciates the commentators’ support of the proposed RACT
rulemaking.

3. Comment: The commentators support the Department's decision in the proposal to provide
compliance flexibility to the regulated sources. (84, 105, 114, 127)

Response: The Department appreciates the commentators’ support of the proposed rulemaking.

4. Comment: The proposal demonstrates the intent to balance the efficiency of presumptive
RACT emission limits and standards with averaging and case-by-case provisions. (110)

Response: The Department agrees that the proposed rulemaking includes provisions that provide
flexibility for compliance demonstrations.

5. Comment: The increase of smog pollutants will be a negative influence on controlling
climate change. (4, 69, 70, 116)




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Response: Based on current ambient air monitoring data and the implementation of federal and
state measures that reduce ozone precursor emissions, an increase in “smog pollutants” is not
expected. The implementation of the RACT final-form regulation will provide reductions of
both potential and actual NOx and VOC emissions from major NOx and VOC emitting facilities.
The final rulemaking establishes RACT requirements and does not address climate change
directly.

6. Comment: The new RACT standards are not going to result in reduced smog pollution and
help Delaware County, Centre County, and other Pennsylvania Counties improve their air safety
grade from “F.” (72, 79, 80, 116)

Response: The Department disagrees. The final rulemaking, which applies statewide, includes
emission limitations for NOx or VOCs that are achievable using technologies that are reasonably
available and will also ensure continued attainment and maintenance of the 1997 and 2008 ozone
standards. For example, the final-form regulation will require that the owners and operators of
any combustion unit equipped with a selective catalytic reduction (SCR) system that is operating
with an inlet temperature equal to or greater than 600°F shall meet a NOx emission limit of 0.12
lb NOx/million Btu. Compliance with this emission limit will also be required when by-passing
the SCR system. The more stringent NOx emission limitation for coal-fired units equipped with
SCR systems will reduce NOx emissions from the electric generation sector to approximately
59,000 tons of actual NOx emissions. It is also important to note that NOx emissions have
declined significantly in Pennsylvania, especially from coal-fired electric generating units—NOx
emissions decreased from approximately 192,004 tons in 2000 to 119,025 tons of NOx emissions
in 2013. The final-form regulation will result in further reductions in actual NOx emissions from
one of the largest sources of NOx emissions in the DEP emissions inventory. Please also see the
Response to Comment 9.

7. Comment: The proposed rulemaking will weaken current emissions limits. Regulatory and
policy changes will add ozone and other criteria pollutants to some of the most overburdened
communities in the Commonwealth. (1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17, 18,
19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 29, 30, 31, 33, 34, 35, 36, 37, 38, 39, 40, 41, 42, 43, 44, 45,
46, 47, 48, 49, 50, 51, 52, 53, 54, 56, 57, 58, 59, 60, 61, 62, 67, 68, 70, 73, 75, 76, 77, 78, 80, 81,
88, 89, 91, 96, 98, 99, 100, 101, 103, 113, 116)

Response: The Department disagrees that the proposed rulemaking would have weakened
existing emissions limits. The final rulemaking strengthens the RACT requirements from what
was established under §§ 129.91—129.95 for the 1-hour ozone standard. The final-form RACT
regulation sets forth emission limitations for NOx or VOCs that are achievable using
technologies that are reasonably available to achieve and maintain the 8-hour ozone standards.

Additionally, the actual NOx emissions from the coal-fired electric generating sector in
Pennsylvania for the year 2013 were 119,025 tons, of which 92,728 tons were from coal-fired
EGUs that are not scheduled for retirement or for fuel-switching. The expected future NOx
emissions from these EGUs, based on 2013 production rates and the NOx emission limitations
set forth in the final-form regulation, are 59,039 tons per year. This is an anticipated reduction of



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approximately 36% in actual emissions from the coal-fired EGU sector as a result of the final-
form limitations. [(92,728 tons – 59,039 tons) / 92,728 tons x 100 = 36 %]

In addition, the final-form regulation specifically provides under § 129.97(i) and (j) that the more
stringent limitation or requirement applies to the owner or operator of a facility subject to the
regulation.

8. Comment: NOx and VOC limits should be set that are in line with existing, available,
feasible technology, to protect public health and welfare. (64, 65, 67, 71, 72, 80, 90, 92, 106)

Response: The term “RACT—Reasonably Available Control Technology” is defined in § 121.1
(relating to definitions) as the lowest emission limit for VOCs or NOx that a particular source is
capable of meeting by the application of control technology that is reasonably available
considering technological and economic feasibility. The final-form RACT regulation, which
addresses the 1997 and 2008 ozone NAAQS, includes emission limitations for NOx or VOCs
that are achievable using control technologies that are reasonably available considering
technological and economic feasibility.

The EPA has proposed to adopt a more protective ozone NAAQS, ranging from 65 to 70 parts
per billion (ppb), with an expected promulgation date in October 2015; the EPA also requested
comments on retaining the existing 2008 ozone standard (75 ppb) or lowering the standard to 60
ppb. See 79 FR 75234 (December 17, 2014). If the EPA promulgates a more protective ozone
NAAQS in October 2015, the Clean Air Act requires a reevaluation of RACT programs for the
implementation, maintenance and enforcement of the new standard.

9. Comment: For the class of the largest NOx-emitting sources, the representations of
“Anticipated Effect on Emissions” are overstatements in contrast with the much more common-
sense approach of comparing the proposed emission limitation with current actual emissions.
The latter comparison demonstrates that the proposed RACT requirements are no substantial
improvement with respect to controlling NOx emissions from large coal-fired power plants. (79)

Response: The Department disagrees that the representation of “anticipated effect on
emissions” should be based on a comparison of the emissions expected as a result of
implementation of the presumptive RACT requirements and RACT emission limitations with
current actual emissions. The amount of NOx and VOC emission reductions achieved as a result
of the application of RACT-level control is determined on the basis of the source’s potential to
emit before and after the application of RACT-level control. The proposed and final RACT
rulemakings establish presumptive RACT requirements and RACT emission limitations for NOx
or VOCs that are achievable and sustainable during the expected life of the affected unit using
technologies that are both technically and economically feasible. Implementation of the final
rulemaking presumptive RACT requirements and RACT emission limitations will reduce the
amount of ozone precursor emissions that the owner and operator of a facility subject to the
final-form provisions in §§ 129.96—129.100 would be legally allowed to emit to the
atmosphere.




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The anticipated reductions in the amount of potential NOx emissions beyond current RACT
potential to emit (allowable) emissions as a result of implementation of the final rulemaking
RACT requirements and RACT emission limitations are presented in Table 1. As shown in
column E of Table 1, the anticipated percent reduction in the potential NOx emissions from coal-
fired boilers (EGUs) equipped with selective catalytic reduction (SCR) control technology is
approximately 75%.

  Table 1. Anticipated Reductions in the Amount of Potential NOx Emissions by Source Type


                         A                  B                C               D                E
                                                                                          [(B - C)/B]
                                                                           B-C
                                                                                           x 100 = %
                                                                                            Percent
                                       Current NOx                      Reduction in
                   Number of Units                        RACT II*                       Reduction in
                                       Potential to                     Potential NOx
 Source Type     Subject to RACT II*                    NOx Potential                    Potential NOx
                                          Emit                           Emissions
                  for NOx Emissions                     to Emit (TPY)                     Emissions
                                         (TPY)                             (TPY)
                                                                                            (TPY)
 Boilers,
 except EGUs
 with SCR              257          246,453               176,304         70,149             28%
 EGUs
 (Boilers)
 with SCR               12          186,474                47,501         138,972            75%
 Engines               393           46,705                26,110          20,596            44%
 Turbines              148           59,743                35,837          23,906            40%
 Total                 810          539,375               285,752         253,623            47%
*RACT II refers to §§ 129.96—129.100

Reductions in actual NOx emissions from coal-fired boilers or electric generating units (EGUs)
are also anticipated as a result of the implementation of the final-form RACT requirements and
RACT emission limitations. The actual NOx emissions from coal-fired EGUs in Pennsylvania
for the year 2013 were 119,025 tons. The actual 2013 NOx emissions from coal-fired boilers
(EGUs) that are not scheduled for retirement or for fuel-switching were 92,728 tons. The
expected NOx emissions from coal-fired boilers (EGUs) that are not scheduled for retirement or
fuel-switching, based on 2013 production rates and the NOx emission limitations set forth in the
final-form regulation, are 59,039 tons per year. This is an anticipated reduction in actual
emissions of approximately 36% from this sector.
[(92,728 tons – 59,039 tons) / 92,728 tons x 100 = 36 %]

10. Comment: This proposed regulation is not RACT. It does not accomplish reasonably
available control technology (RACT), but maintains a status quo that does not meet the Federal
Clean Air Act test of reducing air pollution emissions for nitrogen oxides and VOCs (volatile
organic chemicals) “… as expeditiously as practicable”. The proposed regulation allows higher
limit (132,000 tons NOx) than what is already emitted (93,000 tons NOx). Power plants will be


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ALLOWED to increase emissions, while the purpose of RACT is to decrease emissions.
(116)

Response: The Department disagrees that the proposed rulemaking provisions are not RACT.
The evaluation or reevaluation of what constitutes RACT-level control for affected sources is a
requirement that must be fulfilled each time the EPA promulgates a new NAAQS as was the case
in 1979 for the 1-hour ozone standard and in 1997 for the 8-hour ozone standard; reevaluation of
RACT is also required when the EPA revises a NAAQS as was the case in 2008 for the 8-hour
ozone standard. The proposed rulemaking addresses the RACT requirements for the 8-hour
ozone NAAQS promulgated in 1997 and 2008. The final rulemaking will be applicable to the
owners and operators of major sources of NOx or VOC emissions (precursors to ozone
formation) in existence in this Commonwealth on or before July 20, 2012 – the effective date of
the EPA’s designations and classifications for the 2008 ozone NAAQS. See 77 FR 30088 (May
21, 2012).

The Department agrees that the purpose of RACT is to decrease ozone precursor emissions.
However, the amount of NOx or VOC emission reductions achieved as a result of the application
of RACT-level control is determined on the basis of the source’s potential to emit before and
after the application of RACT-level control, not on comparison with a source’s current actual
emissions. The proposed and final RACT rulemakings establish presumptive RACT
requirements and RACT emission limitations for NOx or VOCs that are achievable and
sustainable during the expected life of the affected unit using technologies that are both
technically and economically feasible. Implementation of the final-form regulation presumptive
RACT requirements and RACT emission limitations will reduce the amount of NOx and VOC
emissions that the owner and operator of a facility subject to final-form §§ 129.96—129.100
would be legally allowed to emit to the atmosphere.

In response to comments and the EPA’s March 6, 2015, Ozone NAAQS Implementation Rule,
the DEP conducted additional reviews of historical emissions data for coal-fired EGUs equipped
with selective catalytic reduction (SCR) technology. The DEP determined that the NOx limit
specified in § 129.97(g)(1)(viii) should be revised. Subparagraph 129.97(g)(1)(viii) specifies
that the owner and operator of any combustion unit equipped with an SCR system that is
operating with an inlet temperature equal to or greater than 600°F shall meet a NOx emission
limit of 0.12 lb NOx/million Btu. Compliance with this emission limit is also required when by-
passing the SCR system. The DEP acknowledges that the NOx RACT limit in the final
rulemaking is not the lowest achievable emissions rate (LAER) for this technology. However,
the EPA has indicated in the preamble for the final rule approving a SIP revision for Wisconsin’s
NOx RACT Rule that:

       “RACT limits are not meant to be the lowest achievable emissions rate. The Nitrogen
       Oxides Supplement to the General Preamble for the Implementation of Title I of the
       Clean Air Act Amendments of 1990 addresses the issue of an acceptable emission limit.
       See section 4.6 RACT for Certain Electric Utility Boilers (57 FR 55626), “The EPA
       expects States, to the extent practicable, to demonstrate that the variety of emission
       controls adopted are consistent with the most effective level of combustion modification
       reasonably available for its individual affected sources.””


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See 75 FR 64155, 64157 (October 19, 2010). The Department’s reevaluation of the NOx RACT
limit for coal-fired EGUs, taking into consideration cost-effectiveness and technological
feasibility, is consistent with the approach outlined in the preamble of the October 19, 2010, EPA
rule approving Wisconsin’s RACT SIP revision.

Please see the response to Comment 9 for a discussion of the anticipated reductions in the
amount of potential NOx emissions beyond current RACT potential to emit (allowable)
emissions as a result of implementation of the final rulemaking RACT requirements and RACT
emission limitations, as well as a discussion of anticipated reductions in actual emissions from
the coal-fired boilers (EGUs) sector.

11. Comment: Additional support and analysis is needed in the regulatory analysis form (RAF)
and Preamble to justify the proposed regulation. (107, 114, 115, 117, 119, 122)

Response: The Department disagrees that there is insufficient information in either the
preamble or RAF of the proposed rulemaking to justify the regulation. Both of these documents
are replete with substantive information related to emissions data, cost-effectiveness numbers,
public health information, statutory requirements, small business information, and other types of
analyses to demonstrate that this regulation is legally required, is in the public interest, is
economically and technologically feasible, and will reduce NOx and VOC emissions. The
estimates included in the RAF for the proposed and the final rulemakings are based on the
information available to the Department. The presumptive RACT emission limitations were
established based on cost-effectiveness of available control technology and are not based on the
total number of affected units or number of total units requiring control. The RAF and preamble
for the final rulemaking contain additional information to support the final-form RACT
regulation.

12. Comment: DEP should withdraw the proposed rulemaking until it can address comments
and prepare a revised RAF. (107, 115, 117)

Response: The Department disagrees. The estimates included in the RAF for the proposed and
final rulemakings are based on the information available to the Department. Both of these
documents are replete with substantive information related to emission data, cost-effectiveness
numbers, public health information, statutory requirements, small business information, and
other types of analyses to demonstrate that this regulation is legally required, is in the public
interest, is economically and technologically feasible, and will reduce emissions. The
presumptive RACT emission limitations were established based on cost-effectiveness of
available control technology and not based on the total number of affected units or number of
total units requiring control. The Department reviewed the comments received on the proposed
rulemaking. Where appropriate, the Department revised the final-form regulation in response to
comments. The Department does not believe that there is a need to withdraw the rulemaking;
reevaluation of RACT will be required if the EPA promulgates a more protective ozone NAAQS
in October 2015.




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13. Comment: The EPA therefore strongly cautions PA DEP not to rigidly apply a benchmark
as low as $2,500 per ton to exclude consideration of technically feasible controls. Rather,
Pennsylvania needs to consider a broader range of cost-effectiveness to see if some level of
additional control falls within that range. Based on Wisconsin's analysis, PA DEP should
consider raising its cost-effectiveness "benchmark" like Wisconsin and New York after
considering and evaluating thoroughly the states' analysis mentioned above. (113, 133)

Response: The Department did not establish a bright-line cost-effectiveness threshold to
determine RACT. DEP initially used minimum cost-effectiveness thresholds of $1,500 and
$3,000 per ton of NOx and VOC controlled, respectively, in 1990 dollars, for the implementation
of RACT requirements for the 1979 1-hour ozone NAAQS in §§ 129.91—129.95. These cost-
effectiveness thresholds were consistent with thresholds used at that time by other states for
RACT determinations for the 1979 1-hour ozone NAAQS as well.

DEP used the Bureau of Labor Statistics (BLS) Consumer Price Index (CPI) to adjust $1,500 in
1990 dollars to $2,500 in 2010 dollars. When extrapolated into 2014 dollars, this figure is
approximately $2,750. DEP used a NOx emission cost-effectiveness upper bound of $2,800 per
ton NOx controlled for the RACT determinations for the final-form regulation.

Even with an additional 25% margin, the upper bound cost-effectiveness threshold would not be
any greater than $3,500 per ton NOx controlled. Similarly for VOC, the upper-bound cost-
effectiveness threshold would not be any greater than $7,000 per ton VOC controlled. Applying
these new thresholds does not have an effect on the add-on control technology decisions for the
presumptive RACT requirements established in the final rulemaking. The RACT limits included
in the final-form regulation are comparable to emission limits included in other states’ RACT
regulations as well.

It should be further noted that Wisconsin’s SIP-approved RACT regulations in 2010 were based
on a NOx cost-effectiveness benchmark of $2,500 per ton controlled. EPA Region 5 stressed that
the dollar-per-ton factor should be weighed in combination with the actual limits adopted by a
state to determine RACT levels. See 75 FR 64157, 64160. The revised NOx RACT limit of 0.12
lb NOx/MMBtu in Pennsylvania’s final RACT rulemaking is consistent with RACT limits
adopted for coal-fired boilers in other states including New York, New Jersey and Delaware.

14. Comment: Given that NOx is actually the more significant ozone precursor in the Northeast
U.S., especially considering sources such as coal-fired power plants located in Pennsylvania and
other upwind states, the NOx cost-effectiveness threshold should be as high, if not higher, than
the VOC cost-effectiveness threshold. (113)

Response: The Department disagrees. The major facility thresholds for VOC and NOx
emissions are 50 and 100 tons per year, respectively. In 2012, point sources in Pennsylvania
emitted 165,771 tons of NOx, but only 19,382 tons of VOCs. The VOC emissions represent 11%
of the combined NOx and VOC total emissions. Because fewer VOCs are emitted from point
sources compared to NOx emissions, the cost per ton of VOC controlled is greater than the cost
of NOx controls. Therefore, it is appropriate that the VOC cost-effectiveness benchmark is
higher than the NOx cost-effectiveness benchmark.


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Please see the Response to Comment 13 for an explanation of how the Department developed the
cost-effectiveness thresholds.

15. Comment: RAF Section (19) states: “...developing a precise estimate of compliance costs ...
is not possible...”. A detailed source-specific RACT cost estimate is imperative, such an analysis
would likely show significantly higher costs. (111)

Response: The RAF reflects the costs associated with compliance with the presumptive RACT
emission limitations. This is a generic cost analysis for a given source category and may not
exactly reflect actual costs incurred by owners or operators of individual affected sources in the
given source category. However, the owner or operator of any affected source that cannot meet a
presumptive RACT emission limitation may propose, to the DEP or local air pollution control
program, an alternative emission limitation determined on a case-by-case basis. The proposal for
an alternative RACT emission limitation must include a detailed cost analysis on a source-
specific basis. The alternative RACT emission limitation would be based on the cost-
effectiveness of control for the specific source. As a result, there is no way to predict what type
of alternative limit a facility owner or operator may choose for its source. The case-by-case
option is a built-in flexibility provided under the regulation that gives the affected facility owners
and operators options to comply cost-effectively with the regulation. Nevertheless, the
Department has completed a robust analysis of the costs associated with compliance with the
presumptive RACT emission limitations that shows compliance costs as a general matter are
reasonable.

16. Comment: The RAF states that the compliance costs are $114 million. NOx and VOCs must
be controlled separately in lean burn engines. DEP should reevaluate the number of impacted
sources, associated cost and technical feasibility of controls. (118)

Response: The estimates for the number of affected units included in the RAF for the proposed
and final rulemakings are based on the information available to the Department. The
presumptive RACT requirements and RACT emission limitations set forth in the proposed and
final rulemakings were established based on cost-effectiveness of reasonably available control
technology for each pollutant for each type of source and not based on the total number of
affected units or number of total units requiring control.

The Department reevaluated the number of total units requiring control as a result of revisions to
emission limitations set forth in § 129.97 from proposed to final rulemaking. The number of
turbines requiring additional control has dropped from 64 to 17 primarily due to the final
rulemaking setting forth a presumptive RACT emission limitation of 150 ppmvd NOx @ 15%
oxygen for simple cycle or regenerative cycle turbines with a rated output equal to or greater
than 1,000 bhp and less than 6,000 bhp. Subsection 129.97(g) is revised from proposed to final
rulemaking to establish a presumptive NOx RACT emission limitation of 150 ppmvd NOx @
15% oxygen for a simple cycle or regenerative cycle turbine with a rated output equal to or
greater than 1,000 bhp and less than 6,000 bhp in final-form § 129.97(g)(2)(iii). Proposed §
129.97(g)(2)(iii) is revised to § 129.97(g)(2)(iv) in the final-form rulemaking.



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The Department also reevaluated the control costs due to revisions of presumptive RACT
emission limitations from proposed to final rulemaking. Table 2 calculates the anticipated total
cost of controls based on the number of units requiring additional controls to achieve the level of
NOx emission reductions required under final-form §§ 129.96—129.100. For the purposes of
Table 2, no additional control is needed for boilers (EGUs) with SCR since these units already
have the control installed. Therefore, there is no cost of control to be calculated for these sources
as a result of the implementation of the final-form rulemaking. The control costs in Column C
have been included in the final-form rulemaking RAF under question 19.

              Table 2. Total Cost of Control for Units Requiring Additional Control
                         for NOx Emissions under §§ 129.96—129.100
                               A                    B                         C
                                             Number of Units
                                                                   Total Cost of Control for
                        Number of Units         Requiring
                                                                  Units Requiring Additional
       Source Type    Subject to RACT II*   Additional Control
                                                                  Control for NOx Emissions
                       for NOx Emissions    for NOx Emissions
                                                                       under RACT II*
                                             under RACT II*
       Boilers
       except
       EGUs with
       SCR                    257                   34                 $ 39,206,476
       EGUs
       (Boilers)
       with SCR                12                    0                     N/A
       Engines                393                   28                 $ 25,941,478
       Turbines               148                   17                 $ 16,357,447
       Total                  810                   79                 $ 81,505,401
       *RACT II refers to §§ 129.96—129.100

17. Comment: RACT is one of several upcoming regulatory requirements that will reduce NOx
emissions in the Commonwealth. Some of these requirements are overlapping or will achieve
reductions through different methods. Achieving NOx reductions in an overly prescriptive
manner in RACT can counter efforts to achieve cost-effective compliance with the other
regulations. (84, 105, 130)

Response: While the DEP agrees that the RACT final rulemaking will reduce NOx emissions in
Pennsylvania, the Department disagrees with the commentator’s position that implementation of
RACT will counter compliance with other regulations. The DEP is obligated to reevaluate RACT
whenever the EPA promulgates a NAAQS and RACT-level control must be applied statewide in
the Commonwealth. The Department believes that the final rulemaking contains appropriate
presumptive RACT requirements and emission limitations for purposes of attaining and
maintaining the current ozone standards. RACT will be reevaluated by the DEP for
Pennsylvania if the EPA adopts a more protective ozone NAAQS in October 2015. In addition,
the owner or operator of any affected source that cannot meet a presumptive RACT emission
limitation may propose an alternative limit determined on a case-by-case basis. Moreover,

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subsections 129.97(i) and (j) provide that the more stringent provisions related to a NOx or VOC
reduction applies to affected facilities. Alternatively, any other more stringent provisions are
subsumed under the Title V Operating Permit. Compliance is therefore streamlined.

18. Comment: The proposed rulemaking significantly underestimates the number of affected
units that would require installation of NOx or VOC control technology. Approximately 150
units operated by natural gas transmission companies would be affected by the rulemaking; this
exceeds the PA DEP estimate for all affected units statewide. The rulemaking would have
significant impact on natural gas transmission company operations, including many requirements
to install control technology and associated costs that are significantly under-estimated by PA
DEP. (107, 115, 117, 118)

Response: The estimates for the number of affected units included in the RAF for the proposed
and final rulemakings are based on the information available to the Department. The
presumptive RACT emission limitations were established based on cost-effectiveness of
available control technology and not based on the total number of affected units or number of
total units requiring control.

The Department reevaluated the number of total units requiring controls as a result of revisions
to emission limitations set forth in the final-form regulation. The number of turbines requiring
control has dropped from 64 to 17 primarily due to the final-form regulation setting forth a
presumptive RACT emission limitation of 150 ppmvd NOx @ 15% oxygen for simple cycle or
regenerative cycle turbines with a rated output equal to or greater than 1,000 bhp and less than
6,000 bhp. Subsection 129.97(g) is revised from proposed to final rulemaking to establish a
presumptive NOx RACT emission limitation of 150 ppmvd NOx @ 15% oxygen for a simple
cycle or regenerative cycle turbine with a rated output equal to or greater than 1,000 bhp and less
than 6,000 bhp in final-form § 129.97(g)(2)(iii). Proposed § 129.97(g)(2)(iii) is revised to §
129.97(g)(2)(iv) in the final-form regulation.

19. Comment: DEP did not provide a cost basis for making RACT control decisions and did not
provide the technological and economic basis for determining presumptive RACT and economic
feasibility per ton removed. (107, 114, 115, 117, 119, 121, 122, 126)

Response: The Department disagrees. The basis for the determination of presumptive RACT
requirements is included in the preamble and the RAF of the proposed and final rulemakings.
Both of these documents are replete with substantive information related to emissions data, cost-
effectiveness numbers, public health information, statutory requirements, small business
information, and other types of analyses to demonstrate that this regulation is legally required, is
in the public interest, is economically and technologically feasible, and will reduce emissions.

20. Comment: Polluters should help to pay for the costs of climate change & respiratory
problems due to bad air. (67)

Response: The Department defines the term “RACT—Reasonably Available Control
Technology” in § 121.1 as the lowest emission limit for VOCs or NOX that a particular source is
capable of meeting by the application of control technology that is reasonably available

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considering technological and economic feasibility.” The final rulemaking sets forth RACT-
level emission limitations for NOx or VOCs that are achievable using technologies that are
reasonably available based on the costs associated with achieving reductions of ozone precursor
emissions. The emission limitations and requirements set forth in this final-form regulation will
substantially reduce emissions of ozone precursors. The final-form rulemaking is not designed
to address the cost of climate change. However, the DEP covers the cost of certain climate
change-related activities using civil penalties collected by the Department for violations of the
CAA, Air Pollution Control Act (APCA) and regulations adopted under the acts.

§ 129.96. Applicability

21. Comment: While a number of existing regulations are referenced in the applicability
section, there is no clarifying statement of prior presumptive RACT requirements that were
promulgated under §§ 129.91—129.95. It isn't until almost the end of § 129.97 that those
regulations are superseded. It may be clearer to address all the applicability pieces under §
129.96 instead of having it split up so much. (97, 109)

Response: The Department disagrees. Sections 129.91—129.95 are not superseded by the
final-form regulation. The affected owners and operators of major VOC and NOx emitting
facilities will be subject to §§ 129.91—129.95 and §§ 129.96—129.100. Subsection 129.97(i) is
intended to ensure that an owner or operator complies with the more stringent of either the
RACT requirements contained in a RACT permit issued by the DEP under §§ 129.91—129.95
and the presumptive RACT requirements established in the final rulemaking. Subsections
129.97(i) and (j) specifically provide that the more stringent provisions apply whether that
provision is under the final-form regulation, some other regulation, or a previously issued permit.
These safeguards prevent backsliding from the most stringent applicable requirements.

22. Comment: The proposed rulemaking reasonably excludes very small sources of NOx and
VOCs. (102, 110)

Response: The Department agrees. Section 129.96 is revised from proposed to final rulemaking
to set forth a de minimis threshold for the affected owner and operator with a source that has the
potential to emit less than 1 ton per year of NOx or VOCs. Section 129.97 is revised from
proposed to final rulemaking to set forth a generic presumptive requirement in § 129.97(c)(1)
and (2) for the affected owner and operator of a source with the potential to emit less than either
5 tons of NOx per year or 2.7 tons of VOC per year, respectively.

Please note that the requirement in proposed § 129.97(c)(1) is provided in final-form §
129.97(c)(3) and the requirements in proposed § 129.97(c)(2), (3), (4), (5) and (6) are revised
and set forth in final-form § 129.97(c)(4), (5), (6), (7) and (8), respectively.

23. Comment: It is arbitrary and capricious to heavily regulate trivial emission units in the same
manner as significant units. The same thresholds for non-combustion units should be applied to
combustion units. The regulations should have a lower size threshold for which RACT does not
apply, such as 10 MMBTU/hr, or state clearly that the ≤ 20 MMBTU/hr presumptive RACT



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requirements do not need to be demonstrated, nor have any record keeping requirements. (119,
121)

Response: The Department disagrees that lower size thresholds expressed as heat input in
MMBtu/hr are appropriate. Potential and actual emissions vary with fuel type and combustion
methodology, even for units with the same heat input rating. Applicability thresholds expressed
in tons per year provide a standard that can be used across all emission categories. The final
rulemaking covers a broad spectrum of source categories. Given the diversity of sources subject
to the final-form regulation, it is more appropriate to have one applicability threshold than to
have several different thresholds. Regulations developed for only one source category or type
tend to have applicability thresholds expressed in units of minimum source size that are
appropriate for each regulation.

In order to minimize the number of case-by-case determinations that may be submitted to the
Department under § 129.99, § 129.96 is revised from proposed to final rulemaking to set forth a
de minimis threshold for the affected owner and operator with a source that has the potential to
emit less than 1 ton per year of NOx or VOCs. Section 129.97 is revised from proposed to final
rulemaking to set forth a generic presumptive requirement in § 129.97(c)(1) and (2) for the
affected owner and operator of a source with the potential to emit less than either 5 tons of NOx
per year or 2.7 tons of VOC per year, respectively.

The generic applicable presumptive requirement is the installation, maintenance, and operation
of the source in accordance with the manufacturer's specifications and with good operating
practices. In the proposed rulemaking, these emission thresholds for generic presumptive
requirements were applicable only to sources undergoing case-by-case determinations.

Please note that the requirement in proposed § 129.97(c)(1) is provided in final-form §
129.97(c)(3) and the requirements in proposed § 129.97(c)(2), (3), (4), (5) and (6) are
renumbered and set forth in final-form § 129.97(c)(4), (5), (6), (7) and (8), respectively.

24. Comment: The preamble should clearly indicate that the proposed rulemaking only applies
to major sources of NOx and VOCs. (107, 115, 117, 118)

Response: The Department agrees that the NOx RACT requirements only apply to the owners
and operators of major NOx emitting facilities and the VOC RACT requirements only apply to
the owners and operators of major VOC emitting facilities. The NOx requirements of final-form
§§ 129.96—129.100 apply Statewide to the owner and operator of a major NOx emitting facility
and the VOC requirements of §§ 129.96—129.100 apply Statewide to the owner and operator of
a major VOC emitting facility. Section 129.96 has been amended in the final-form regulation to
clarify the applicability.

25. Comment: As far as new sources are concerned, DEP should consider specifying that any
sources that have undergone BACT, BAT permitting, or LAER permitting after July 20, 2012,
have established presumptive BACT limits in their plan approvals which supersede the
requirements of §§ 129.97—129.100. The requirement for sources with recent plan approvals to



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go through a RACT exercise is nothing more than wasted effort on the part of the permittee and
the Department. (109, 122)

Response: The final rulemaking RACT requirements are applicable only to the owners and
operators of major NOx emitting facilities or major VOC emitting facilities that were in existence
in this Commonwealth on or before July 20, 2012 – the effective date of the EPA’s designations
and classifications for the 2008 ozone NAAQS. See 77 FR 30088 (May 21, 2012). New sources
as defined in § 121.1 that are subject to lowest achievable emission rate (LAER), best available
control technology (BACT), or best available technology (BAT) requirements and are
constructed after July 20, 2012, are not subject to the final-form RACT regulation. The
Department disagrees that LAER, BACT, or BAT requirements supersede the requirements of
the final RACT rulemaking, which applies solely to the owners and operators of existing major
NOx or VOC emitting sources. The evaluation or reevaluation of what constitutes RACT-level
control for affected existing sources is a requirement that must be fulfilled each time the EPA
promulgates a new NAAQS as was the case in 1979 for the 1-hour ozone standard and in 1997
for the 8-hour ozone standard or revises a NAAQS as was the case in 2008 for the 8-hour ozone
standard. The final-form regulation addresses the RACT requirements for the 8-hour ozone
NAAQS promulgated in 1997 and revised in 2008 and is applicable to the owners and operators
of subject sources in existence on or before July 20, 2012. Sources that have undergone BACT
or LAER evaluation must be evaluated to verify compliance with the RACT requirements set
forth in the final rulemaking. In accordance with § 129.99, the owner or operator may opt to
propose an alternative RACT limitation on a case-by-case basis that includes the previously
determined BACT or LAER limitations as the alternative limitation for RACT compliance.

26. Comment: Maintenance and operation of sources that have been approved within the past 5
years as LAER or BACT for NOx should be presumptive RACT for these sources. (109, 122)

Response: The evaluation or reevaluation of what constitutes RACT for affected sources is a
requirement that must be fulfilled each time the EPA promulgates a new NAAQS as was the case
in 1979 for the 1-hour ozone standard and in 1997 for the 8-hour ozone standard or revises a
NAAQS as was the case in 2008 for the 8-hour ozone standard. The final rulemaking addresses
the RACT requirements for the 8-hour ozone NAAQS promulgated in 1997 and revised in 2008
and is applicable to the owners and operators of subject sources in existence on or before July 20,
2012. Sources that have undergone BACT or LAER evaluation must be evaluated to verify
compliance with the RACT requirements set forth in the final rulemaking. In accordance with §
129.99, the owner or operator may opt to propose an alternative RACT limitation on a case-by-
case basis that includes the previously determined BACT or LAER limitations as the alternative
limitation for RACT compliance.

27. Comment: The owner and operator of an affected source may choose, without precondition,
among the compliance options. (125)

Response: The Department agrees in part with the commentator that the owner and operator of
an affected source may choose the compliance option. Therefore, the language in proposed §
129.99(a) specifying that the owner or operator shall demonstrate that they cannot participate in



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either a facility-wide or system-wide NOx emissions averaging RACT operating permit
modification under § 129.98 is deleted from final-form § 129.99(a).

The Department disagrees, however, that there are no conditions pertaining to the election of
compliance options. Subsection 129.98(a) has been revised from proposed to final rulemaking to
clarify that the owner or operator of a major NOx emitting facility subject to § 129.96 that
includes at least one source subject to a NOx RACT emission limitation in § 129.97 that cannot
meet the applicable NOx RACT emission limitation may elect to meet the applicable NOx RACT
emission limitation in § 129.97 by averaging NOx emissions on either a facility-wide or system-
wide basis using a 30-day rolling average. System-wide emissions averaging must be among
sources under common control of the same owner or operator within the same ozone
nonattainment area in this Commonwealth. The source that cannot meet the applicable NOx
RACT emission limitation must be included in the emissions averaging plan so that its excess
emissions can be averaged with the emissions from sources that are emitting below their limit.

The owner and operator may include other sources in the emissions averaging plan to meet the
applicable NOx RACT emission limitation in § 129.97 on a 30-day rolling average as long as the
other sources meet the requirement of § 129.98(c), which specifies that each NOx air
contamination source included in the application for an operating permit modification or a plan
approval, if otherwise required, for averaging NOx emissions on either a facility-wide or system-
wide basis using a 30-day rolling average submitted under subsection 129.98(b) must be an air
contamination source subject to a NOx RACT emission limitation in § 129.97. Further, as
specified in final-form § 129.98(a), sources which are included in a system-wide averaging plan
must be under common control of the same owner or operator within the same ozone
nonattainment area in this Commonwealth.

The Department agrees that owners and operators of affected sources should not have to
demonstrate that they cannot participate in either a facility-wide or system-wide NOx emissions
averaging plan before proposing an alternative RACT requirement or RACT emission limitation.
Consequently, § 129.99(a) has been revised in the final-form regulation to specify that the owner
or operator of an air contamination source subject to § 129.97 located at a major facility subject
to § 129.96 that cannot meet the applicable presumptive RACT requirement or RACT emission
limitation of § 129.97 may propose an alternative RACT requirement or RACT emission
limitation in accordance with § 129.99(d). The owner or operator of an affected source would
have to demonstrate that the affected source cannot comply with the applicable standard in §
129.97 as part of the application for a case-by-case determination under § 129.99(a).

The Department agrees in part that the owner and operator may use multiple compliance options,
but only one compliance option may be used at a time to demonstrate compliance for an
individual source. The owner and operator of an individual affected source may demonstrate
compliance for that source in one of three ways: first, with the applicable presumptive RACT
requirement or emission limitation in § 129.97; secondly, either by participating in an emissions
averaging plan under § 129.98 or by submitting a request for a case-by-case RACT
determination under § 129.99.




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28. Comment: The commentators suggest that the applicability thresholds be raised. Some
suggested alternatives would be: set the de minimis level at 40 tpy for both NOx and VOCs (the
thresholds at which New Source Review is triggered for a modification); set the de minimis level
based on actual emissions rather than potential emissions, with a caveat that RACT compliance
(either presumptive RACT or submittal of a case-by-case analysis) would be triggered in the
event that annual emissions exceed that threshold; or adopt the de minimis thresholds that other
states have included (e.g., 10 tpy PTE for Maine (see 06-096 CMR 138 section (1)(B)). (93,
122)

Response: The Department disagrees. A de minimis level of 40 tons per year is significantly
greater than current levels considered to be de minimis in Pennsylvania. Using 40 tons per year
as a de minimis level would constitute backsliding from most case-by-case determinations issued
under §§ 129.91—129.95 and approved by the EPA as revisions to the Commonwealth’s SIP. In
addition, the Department cannot show that installation and operation of additional NOx or VOC
control technologies are cost prohibitive at an uncontrolled emission level of 40 tons per year for
all sources.

In order to minimize the number of case-by-case determinations that may be submitted under §
129.99, § 129.96 is revised from proposed to final rulemaking to set forth a de minimis threshold
for the affected owner and operator with a source that has the potential to emit less than 1 ton per
year of NOx or VOCs. Section 129.97 is revised from proposed to final rulemaking to set forth a
generic presumptive requirement in § 129.97(c)(1) and (2) for the affected owner and operator of
a source with the potential to emit less than either 5 tons of NOx per year or 2.7 tons of VOC per
year, respectively. Therefore, the Department does not believe that a de minimis level of 40 tons
per year is appropriate or approvable as a SIP revision.

Please note that the requirement proposed § 129.97(c)(1) is provided in final-form §
129.97(c)(3); the proposed requirements in § 129.97(c)(2), (3), (4), (5) and (6) are renumbered
and set forth in final-form § 129.97(c)(4), (5), (6), (7) and (8), respectively.

29. Comment: Subsections 129.96(a) and (b) list circumstances when the additional RACT
standards are not applicable “… and for which a requirement or emission limitation, or both, has
not been established in §§ 129.51— 129.52c….” However, there are other exemptions within
the body of the regulation, such as subsection 129.97(i) which allows a prior RACT permit to
remain effective “…to the extent the RACT permit contains more stringent requirements or
emission limitations, or both.” We found similar exceptions in subsections 129.97(j), 129.99(g)
and (k), and 129.100(a). We recommend that the regulation include in § 129.96 a full list of
exceptions by reference so that the reader can readily determine whether the additional RACT
requirements apply to their source. (134)

Response: Subsections 129.96(a) and (b) reference other sections of Chapter 129, which have
been incorporated into the Commonwealth’s SIP as meeting RACT for the covered sources.
These SIP-approved provisions include §§ 129.51—129.52c, 129.54—129.69, 129.71—129.73,
129.75, 129.77, 129.101—129.107 and 129.301—129.310. An affected owner and operator of a
major NOx emitting facility or a major VOC emitting facility that was in existence on or before
July 20, 2012, with a source that is subject to the requirements set forth in one or more of the


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provisions of §§ 129.51—129.52c, 129.54—129.69, 129.71—129.73, 129.75, 129.77,
129.101—129.107 and 129.301—129.310 would not also be subject to the requirements of §§
129.96— 129.100 for that source.

Subsections 129.97(i) and (j), 129.99(g) and (k), and 129.100(a) of the final-form regulation do
not exempt an affected owner and operator from the applicability of the requirements set forth in
final-form §§ 129.96–129.100. Subsections 129.97(i) and (j) and 129.99(g) and (k) refer to
instances where a more stringent RACT limit already applies to the affected owner and operator
of a source subject to final-form §§ 129.96–-129.100. The exceptions in subsections 129.97(i)
and (j) and 129.99(g) and (k) provide that previously issued plan approval or operating permit
requirements will continue to apply if the previously issued requirements are more stringent than
the requirements set forth in final-form §§ 129.96— 129.100. The exception in subsection
129.100(a) provides that an affected owner or operator may request a waiver from the
requirement to demonstrate compliance with the applicable emission limitation listed in §
129.97, if the requirements set forth under § 129.100(c) are met.

These instances are not exceptions to RACT applicability. In addition, it is not feasible to define
all exemptions in only one section. Therefore, the Department believes that the final rulemaking
adequately explains which sources are subject to regulation under the final rulemaking.

30. Comment: The intent of the regulation appears to be to regulate NOx emissions from major
sources of NOx and VOC emissions from major sources of VOCs. The proposed language,
however, makes this interpretation difficult to glean. We suggest the following amendments to
§ 129.96 Applicability: (a) [This section and] The NOx requirements and/or limitations of
§§ 129.97-129.100 apply Statewide to the owner and operator of a major NOx emitting facility
and the VOC requirements and for limitations of §§ 129.97-129.100 apply Statewide to the
owner and operator of [or] a major VOC emitting facility [, or both,] that was in existence on or
before July 20, 2012, for which a requirement or emission limitation, or both, has not been
established in §§ 129.51-129.52c, 129.54-129.69, 129.71-129.73, 129.75,129.77,129.101-
129.107 and 129.301-129.310. Similar amendments would apply to (b) as well as § 129.97. (109)

Response: The Department agrees that the NOx RACT requirements are applicable only to the
owners and operators of major NOx emitting facilities and the VOC RACT requirements are
applicable only to the owners and operators of major VOC emitting facilities. The NOx
requirements of §§ 129.96—129.100 apply Statewide to the owner and operator of a major NOx
emitting facility and the VOC requirements of §§ 129.96–129.100 apply Statewide to the owner
and operator of a major VOC emitting facility. The final-form regulation was amended to clarify
the applicability for the owners and operators of NOx and VOC emitting facilities.

31. Comment: As proposed, § 129.96 trips the requirements for both NOx and VOC controls
even when a unit may only be major for one of the contaminants. Why was a common approach
taken to NOx and VOC instead of identifying VOC emission sources of concern and addressing
those separately from the NOx sources? The most likely result of this blending is a lot of effort
being spent for really small gains. (97, 109)




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Response: The Department agrees that the NOx RACT requirements are applicable only to the
owners and operators of major NOx emitting facilities and the VOC RACT requirements are
applicable only to the owners and operators of major VOC emitting facilities. The NOx
requirements of §§ 129.96—129.100 apply Statewide to the owner and operator of a major NOx
emitting facility and the VOC requirements of §§ 129.96–129.100 apply Statewide to the owner
and operator of a major VOC emitting facility. The final-form regulation has been amended to
clarify the applicability so that § 129.96 does not trip the requirements for both NOx and VOC
controls when the facility is major for only NOx or only VOC.

32. Comment: Our understanding of EPA policy is that those sources that have already installed
air pollution control equipment as a result of previous RACT are not required to install additional
controls absent new information indicating otherwise. See, e.g., 70 Fed. Reg. 71612, 71655
(Nov. 29, 2005); NRDC v. U.S. EPA, 571 F.3d 1245, 1253-55 (D.C. Cir. 2008). The Department
should amend the proposed § 129.96 to exclude NOx and VOC sources that have already
undergone RACT review and have resulting NOx and/or VOC limits or restrictions, unless new
information indicates that a new RACT analysis is justified. (114, 119)

Response: The Department believes that the commentator is referring to NRDC v. EPA, 571
F.3d 1245 (D.C. Cir. 2009), decided by the D.C. Circuit Court in 2009, not 2008. The evaluation
or reevaluation of what constitutes RACT-level control for affected sources is a requirement that
must be fulfilled each time the EPA promulgates a new NAAQS as was the case in 1979 for the
1-hour ozone standard and in 1997 for the 8-hour ozone standard or revises a NAAQS as was the
case in 2008 for the 8-hour ozone standard. The final rulemaking addresses the RACT
requirements for the 8-hour ozone NAAQS promulgated in 1997 and revised in 2008. The final-
form rulemaking requirements are applicable to the owners and operators of subject sources in
existence on or before July 20, 2012, and to owners and operators of subject sources when the
installation of a new source or a modification or change in operation of an existing source after
July 20, 2012, results in the source or facility meeting the definition of a major NOx emitting
facility or a major VOC emitting facility.

The EPA’s Phase 2 Rule certification provision allows states to certify that the control measures
approved as RACT under the 1-hour ozone standard also satisfy the RACT requirements under
the 8-hour ozone standard absent information indicating it should not be approved (emphasis
added). See 70 FR 71612, 71652 and 71655 (November 29, 2005). This approach adequately
ensures that RACT determinations will take into account advances in technology.

The Department reviewed all available information, including Federal regulations and RACT
regulations from various states. This review showed that a new RACT analysis is justified. The
Department believes that the presumptive RACT requirements and emission limitations included
in the final-form regulation are appropriate. Should an affected owner or operator not be able to
comply with the presumptive requirement or emission limitation, the owner or operator may
propose an alternative RACT emission limitation under § 129.99(a) based on the source’s
potential to emit NOx or VOCs.

33. Comment: Section 129.96 also fails to exclude sources where a requirement or emission
limitation, or both, has been established by Federal regulatory programs that are not reflected in

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these state regulations. In practice, this leads to some illogical results. For example, the
proposed rulemaking would exclude VOC storage tanks subject to §§ 129.56 and 129.57 where
there is a requirement or emission limitation or both, but it would fail to exclude VOC storage
tanks that are currently regulated by 40 CFR Part 60 Subpart Kb. Depending on the capacity and
vapor pressure of the vessel, these standards can include requirements more restrictive than §
129.56 or § 129.57. The proposed rulemaking should exclude sources that are subject to Federal
regulations that have imposed a requirement or limitation, including those sources subject to 40
CFR Part 60 Subpart Kb. (114, 119, 121, 134)

Response: In the vast majority of cases, VOC emitting storage tanks subject to 40 CFR Part 60,
Subpart Kb are also subject to § 129.56 or § 129.57. The applicability of final-form § 129.96
would exclude VOC emitting storage tanks subject to §§ 129.56 and 129.57 where there is a
requirement or emission limitation from the RACT requirements. In addition, § 129.96 is
revised from proposed to final rulemaking to set forth a de minimis threshold for the affected
owner and operator with a source that has the potential to emit less than 1 ton per year of NOx or
VOCs. Section 129.97 is revised from proposed to final rulemaking to set forth a generic
presumptive requirement in § 129.97(c)(1) and (2) for the affected owner and operator of a
source with the potential to emit less than either 5 tons of NOx per year or 2.7 tons of VOC per
year, respectively.

34. Comment: Section 129.97(c)(1) doesn't have a lower bound for applicability. It would
theoretically catch every boiler or other combustion source (which is very broad) with a heat
input rating of less than 20 MMBTU/hr. The cost benefit of regulating the smallest end of this
range is questionable. In particular, very small engines, including those associated with
maintenance equipment, portable pumps and small generators should be expressly excluded from
regulatory coverage under this provision. Section 129.97(d) should limit applicability. (97, 134)

Response: The Department disagrees that lower size thresholds expressed as heat input in
MMBtu/hr are appropriate. Potential and actual emissions vary with fuel type and combustion
methodology, even for units with the same heat input rating. Applicability thresholds expressed
in tons per year provide a standard that can be used across all emission categories. The final
rulemaking covers a broad spectrum of source categories. Given the diversity of sources subject
to the final-form regulation, it is more appropriate to have one applicability threshold than to
have several different thresholds. Regulations developed for only one source category or type
tend to have applicability thresholds expressed in units of minimum source size that are
appropriate for each regulation.

In order to minimize the number of case-by-case determinations that may be submitted under §
129.99, § 129.96 is revised from proposed to final rulemaking to set forth a de minimis threshold
for the affected owner and operator with a source that has the potential to emit less than 1 ton per
year of NOx or VOCs. Section 129.97 is revised from proposed to final rulemaking to set forth a
generic applicable presumptive requirement in § 129.97(c)(1) and (2) for the affected owner and
operator of a source with the potential to emit less than either 5 tons of NOx per year or 2.7 tons
of VOC per year, respectively.




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The generic applicable presumptive requirement is the installation, maintenance, and operation
of the source in accordance with the manufacturer's specifications and with good operating
practices. In the proposed rulemaking, these emission thresholds for generic presumptive
requirements were applicable only to the owners and operators of sources undergoing case-by-
case determinations.

Please note that the requirement proposed in § 129.97(c)(1) is provided in final-form §
129.97(c)(3). The requirements proposed in § 129.97(c)(2), (3), (4), (5) and (6) are renumbered
and set forth in final-form § 129.97(c)(4), (5), (6), (7) and (8), respectively.

35. Comment: Why doesn’t § 129.97(d) also include NOx sources? (134)

Response: Subsection 129.97(d) addresses presumptive VOC requirements for combustion
units at major VOC facilities. NOx emission limitations for combustion units at major NOx
facilities are addressed in § 129.97(g)(1).

36. Comment: The combustion turbine threshold should be 50 MMBtu/hr (higher heating value
or HHV) or 6,000 horsepower. Please refer to the EPA Docket for Subpart KKKK (OAR – 2004
– 0490) for documentation and discussion of why a 50 MMBtu/hr (HHV) size threshold is
appropriate for combustion turbines. See subparagraphs 129.97(g)(2)(i) and (g)(2)(iii). To
alleviate the potential for numerous case-by-case RACT analyses, the commentators recommend
changing the 1000 hp trigger threshold to 50 MMBtu/hr (HHV) (reference EPA Docket OAR-
2004-0490). The proposed RACT levels found in clauses 129.97(g)(2)(i)(A) and (B) assume dry
low NOx or water/steam injection emissions capabilities which are not commercially available on
many combustion turbines <50 MMBtu/hr (HHV) or 6,000 horsepower. (107, 111, 115, 117,
129)

Response: Subsection 129.97(g) is revised from proposed to final rulemaking to establish a
presumptive NOx RACT emission limitation of 150 ppmvd NOx @ 15% oxygen for a simple
cycle or regenerative cycle turbine with a rated output equal to or greater than 1,000 bhp and less
than 6,000 bhp in final-form § 129.97(g)(2)(iii). This requirement is consistent with 40 CFR Part
60, Subpart KKKK. The owners and operators of turbines unable to meet the requirements
established in final-form § 129.97(g)(2)(iii) may elect to propose a case-by-case RACT emission
limitation. However, since it is expected that turbines rated greater than 1,000 bhp and less than
6,000 bhp will be able to meet the presumptive requirement of 150 ppmvd NOx @ 15% oxygen
without the addition of new dry low NOx or water/steam injection, the Department does not
anticipate a significant number of turbine owners and operators requiring a case-by-case
alternative RACT emission limitation for these sources.

37. Comment: What is the applicability to engines used by third parties on site? (114)

Response: The RACT requirements are applicable to all subject engines, including engines used
by third parties, located at major NOx emitting facilities or major VOC emitting facilities that
were in existence on or before July 20, 2012.




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38. Comment: Several commentators believe that since they are subject to more stringent
requirements under other programs (such as Maximum Achievable Control Technology
(MACT), National Emission Standards for Hazardous Air Pollutants (NESHAP) and New
Source Performance Standards (NSPS)) they should be exempt from the RACT requirements.
The Department should exempt emergency generators and other sources with applicable
Federally mandated NOx and VOC control requirements from RACT requirements. Additional
exemptions are needed to accommodate facilities that are already subject to more stringent
requirements or have already completed a RACT process. (104, 119, 134)

Response: The Department disagrees. An evaluation or reevaluation of what constitutes RACT
for affected sources is required under Section 182 of the CAA for existing major NOx emitting or
existing major VOC emitting facilities each time the EPA promulgates or revises a NAAQS.
The final rulemaking addresses the RACT requirements for the 8-hour ozone NAAQS
promulgated in 1997 and revised in 2008. RACT applies to the owners and operators of existing
major stationary sources of NOx and VOC in ozone nonattainment areas. RACT for covered
categories is required statewide and not just in designated ozone nonattainment areas in
Pennsylvania because the state is located in the Northeast Ozone Transport Region established
under Section 184 of the CAA.

Section 182(b)(2) (42 U.S.C.A. §7511a(b)(2)) requires that the Commonwealth implement
RACT for each category of existing VOC sources in the area covered by a Control Techniques
Guidelines (CTG) document issued by the Administrator between November 15, 1990, and the
date of attainment of the area, as well as for all existing VOC sources in the area covered by any
CTG issued before November 15, 1990, and all other major stationary sources of VOCs that are
located in the area. Under CAA sections 182(f)(1) and 184(b)(2) (42 U.S.C.A. § 7511a(f)(1) and
§ 7511c(b)(2)), RACT requirements are applicable to all existing major sources of NOx in this
Commonwealth.

The MACT and NESHAP requirements apply to the control of emissions of hazardous air
pollutants (HAP) as required under section 112 of the CAA (42 U.S.C.A. §7412). Many HAPs
are also VOCs, but not all VOCs are HAPs. Oxides of nitrogen are also not HAP. Therefore the
owner and operator of an existing major source subject to MACT/NESHAP requirements for the
control of HAP emissions may also be subject to RACT requirements for the control of NOx and
VOC emissions. It is important to mention that the EPA’s Implementation Rule for the 2008
ozone NAAQS provides additional guidance. The EPA recently finalized the agency’s
“proposed approach for VOC sources subject to MACT standards, such that states would be
allowed to streamline their RACT analysis by including an assessment of the MACT controls
and how they relate to VOC RACT considerations. This approach is consistent with the EPA’s
current policy.” (80 FR 12279, March 6, 2015).

Therefore, no additional exemptions are warranted to accommodate the owners and operators of
facilities that are already subject to more stringent requirements or have already completed a
RACT process.

39. Comment: The commentator requests clarification regarding applicability of NOx RACT
regulations to temporary engines. RACT operating requirements and/or emission limits for all

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internal combustion engines at major sources of NOx and VOC should not apply to engines
which are onsite for temporary periods of time. (130)

Response: The RACT requirements are applicable to all engines, including temporary engines,
located at major NOx emitting facilities or major VOC emitting facilities that were in existence
on or before July 20, 2012.

40. Comment: Proposed § 129.97(i) states that the requirements and emission limits of this
section supersede the requirements and emission limitations of a RACT permit issued to an
owner operator prior to the effective date of adoption of this proposed rulemaking, except to the
extent that the RACT permit contains more stringent requirements or emission limitations, or
both. What happens in the event that an existing RACT permit has a higher limit but a shorter
averaging time than the proposed RACT requirements or conversely, in the event that an existing
RACT permit has a lower limit but a longer averaging time than the proposed RACT
requirements? The RACT regulations should be revised to clarify how existing RACT permits
are to be handled to avoid potentially overlapping and conflicting requirements between existing
RACT plans and the new provisions. (130)

Response: The owner or operator of an affected source shall comply with all applicable
requirements, including the current requirements of the operating permit. Subsection 129.97(i) is
intended to ensure that an owner or operator complies with the more stringent of the RACT
requirements contained in a RACT permit issued under §§ 129.91—129.95 or the presumptive
RACT requirements in the final-form regulation. In the event that an existing RACT permit has
either a higher limit but a shorter averaging time than the final-form RACT requirements or a
lower limit but a longer averaging time than the final-form RACT requirements, then the owner
or operator shall comply with both the existing RACT permit requirements and the final
rulemaking RACT requirements. However, both sets of requirements could be streamlined in
the Title V Operating Permit to avoid any potential confusion.

41. Comment: Subsection 129.99(b) fails to exempt de minimis sources (below 5 tpy NOx and
below 2.7 tpy VOC). (109, 114)

 Response: In order to minimize the number of case-by-case determinations that may be
submitted under § 129.99, § 129.96 is revised from proposed to final rulemaking to set forth a de
minimis threshold for the affected owner and operator with a source that has the potential to emit
less than 1 ton per year of NOx or VOCs. Section 129.97 is revised from proposed to final
rulemaking to set forth a generic presumptive requirement in § 129.97(c)(1) and (2) for the
affected owner and operator of a source with the potential to emit less than either 5 tons of NOx
per year or 2.7 tons of VOC per year, respectively.

The generic applicable presumptive requirement is the installation, maintenance, and operation
of the source in accordance with the manufacturer's specifications and with good operating
practices. In the proposed rulemaking, these emission thresholds for generic presumptive
requirements were applicable only to the owners and operators of sources undergoing case-by-
case determinations.


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Please note that the requirement proposed in § 129.97(c)(1) has been revised and set forth in
final-form § 129.97(c)(3). The requirements proposed in § 129.97(c)(2), (3), (4), (5) and (6) are
renumbered and set forth in final-form § 129.97(c)(4), (5), (6), (7) and (8), respectively.

42. Comment: The commentators object to the Department reopening post-RACT 1 [§§
129.91—129.95] construction permitting decisions that included NOx and or VOC control
requirements/applying new RACT requirements to sources already subject to MACT, NESHAP
and new source performance standards (NSPS) requirements. The commentators recommend
removing the requirements of § 129.99(b) as this is a redo of RACT 1 and would probably yield
the same results. (119, 121)

Response: The evaluation or reevaluation of what constitutes RACT for affected sources is a
requirement that must be fulfilled each time the EPA promulgates a new NAAQS, as was the
case in 1979 for the 1-hour ozone standard and in 1997 for the 8-hour ozone standard, or revises
a NAAQS, as was the case in 2008 for the 8-hour ozone standard. The final rulemaking
addresses the RACT requirements for the 8-hour ozone NAAQS promulgated in 1997 and
revised in 2008 and is applicable to the owners and operators of subject sources in existence on
or before July 20, 2012 – the effective date of the EPA’s designations and classifications for the
2008 ozone NAAQS. See 77 FR 30088 (May 21, 2012).

The EPA’s Phase 2 Rule certification provision allows states to certify that the control measures
approved as RACT under the 1-hour ozone standard also satisfy the RACT requirements under
the 8-hour ozone standard absent information indicating it should not be approved (emphasis
added). See 70 FR 71612, 71652 and 71655 (November 29, 2005). This approach adequately
ensures that RACT determinations will take into account advances in technology.

The Department reviewed all available information, including Federal regulations and RACT
regulations from various states. This review showed that additional reductions and requirements
are appropriate. The Department believes that the presumptive RACT requirements and
emission limitations included in the final rulemaking are appropriate. Should the owner or
operator not be able to comply with the presumptive RACT requirement or emission limitation,
the owner or operator may propose an alternative RACT emission limitation under § 129.99(a)
based on the source’s potential to emit NOx or VOCs.

43. Comment: Does § 129.99(b) apply to boilers using fuels other than those listed in § 129.97?
(114)

Response: Proposed § 129.97(g) has been amended in the final rulemaking to address the firing
of non-traditional liquid and solid fuels in combustion units. However, if a presumptive RACT
limitation has not been established in § 129.97 for any other combustion unit, then the owner or
operator shall propose an alternative RACT emission limitation, to the Department or approved
local air pollution control agency, as set forth under § 129.99(b) based on the source’s potential
to emit.

44. Comment: Does § 129.99(c) apply to combustion sources only or to all VOC sources? (114)



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Response: Section 129.99(c) is not limited to combustion sources. The owner or operator of any
VOC air contamination source with a potential emission rate equal to or greater than 2.7 tons of
VOC per year that is not subject to § 129.97 and is located at a major VOC emitting facility
subject to § 129.96 shall propose a VOC RACT emission limitation.

§ 121.1. Definitions

45. Comment: All definitions should match Federal definitions. The proposed new definition
for “stationary source internal combustion engine” opens up application to the entirety of air
quality regulations. It appears the Pennsylvania definition has always included portable (not
mobile) internal combustion engines. The definition should be the same as the EPA’s
reciprocating internal combustion engines (RICE) rule (40 CFR 63, Subpart ZZZZ). Add
definitions consistent with Federal definitions: “capacity factor” in 40 CFR 72, “combustion
turbine” in 40 CFR 60 NSPS, and “stationary internal combustion engine” in NSPS IIII and JJJJ
and NESHAPS ZZZZ. (97, 104, 107, 109, 115, 117, 118, 119, 121, 129, 130, 134)

Response: The final-form rulemaking contains definitions consistent with Federal regulations.
Definitions for “regenerative cycle combustion turbine,” “simple cycle combustion turbine” and
“stationary combustion turbine” are added to § 121.1 in the final-form regulation. The definition
of “stationary internal combustion engine” is revised to include the term “stationary
reciprocating internal combustion engine.”

Final-form § 129.97(c)(7)(i) establishes that the “annual capacity factor” for a combustion unit is
the ratio of the unit’s heat input (in million Btu or equivalent units of measure) to the unit’s
maximum rated heat input (in million Btu or equivalent units of measure) times 8,760 hours
during a period of 12 consecutive calendar months. The “annual capacity factor” for an electric
generating unit is established in final-form § 129.97(c)(7)(ii) as the ratio of the unit’s actual
electric output (expressed in mwe/hr) to the unit’s nameplate capacity (or maximum observed
hourly gross load (in mwe/hr) if greater than the nameplate capacity) times 8,760 hours during a
period of 12 consecutive calendar months. Final-form § 129.97(c)(7)(iii) specifies that for any
other unit, the “annual capacity factor” is the ratio of the unit’s actual operating level to the unit’s
potential operating level during a period of 12 consecutive calendar months.

46. Comment: Clarify that new definitions contained in the proposed rulemaking, such as
"process unit" and "stationary internal combustion engine" are consistent with Federal definitions
so that there is no confusion or additional regulation placed on sources without adequate
opportunity for review. (119)

Response: The final-form regulation contains definitions consistent with Federal regulations.
The term “process unit” is in common use across various source categories and does not need to
be defined in the final-form RACT regulation.

47. Comment: The definition for “stationary internal combustion engine” and “process heater”
should be the same as the Federal RICE rules and not include non-road (portable) engines. (97,
104, 107, 109, 115, 117, 118, 119, 121, 129, 130)


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Response: The final-form regulation contains a definition for “stationary internal combustion
engine” that is consistent with the Federal RICE regulations and a definition for “process heater”
that is consistent with the Federal Boiler MACT regulations.

48. Comment: The following terms should be defined: “furnace,” “kiln,” and “individual heat
input rating.” Under § 129.97(d), the phrase “other combustion source” is vague. It is unclear
whether the phrase "other combustion source" is an unnecessary redundancy or if sources other
than combustion units are encompassed in this term. (93, 109, 119, 121, 122, 128, 130, 134)

Response: The Department disagrees; the terms “furnace,” “kiln” and “individual heat input
rating” are in common use across various source categories, and definitions for these terms are
not needed in the final-form RACT regulation. The term “combustion source” has been in use
since the RACT regulations codified at 25 Pa. Code §§ 129.91—129.95 were promulgated by the
EQB in 1994.

49. Comment: The proposed definition for "CEMS" states, "All of the equipment that may be
required to meet the data acquisition and availability requirements ... to monitor, measure,
calculate, sample, condition, analyze and provide a permanent (emphasis added) record of
emissions from an affected unit on a continuous basis." This contradicts the records retention
requirement of 5 years. (108, 112, 128, 134)

Response: The Department agrees. The word “permanent” was deleted from the final-form
definition of CEMS.

The final-form definition reads as follows:

     CEMS—Continuous emissions monitoring system—All of the equipment that may be
   required to meet the data acquisition and availability requirements established under the act
   or Clean Air Act to monitor, measure, calculate, sample, condition, analyze and provide a
   record of emissions from an affected unit on a continuous basis.

50. Comment: In §§ 129.97(g)(2)(i)(A), (g)(2)(i)(C), (g)(2)(iii)(A), and (g)(2)(iii)(C), what is a
noncommercial gaseous fuel? A definition was not found in the regulation. Did the emission
values proposed take into consideration the emissions capabilities of all gases that would fall into
the “noncommercial gaseous fuel” category? (111, 134)

Response: The term “noncommercial fuel” is already defined in § 121.1 as follows:

     Noncommercial fuel—A gaseous or liquid fuel generated as a byproduct or waste product
   which is not specifically produced and manufactured for sale. A mixture of noncommercial
   and a commercial fuel oil where at least 50% of the heat content is derived from the
   noncommercial fuel portion is considered a noncommercial fuel.

The Department examined the emissions from natural gas-fired engines and turbines. Based on
the Department’s engineering judgment, the emissions profile for landfill gas is comparable to
the emissions profile for natural gas. The Department included noncommercial gaseous fuel

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with the presumptive NOx RACT emission limitations for natural gas in order to include engines
and turbines that fire gaseous fuels with emission characteristics similar to natural gas.
However, the owner or operator of any affected source subject to a presumptive RACT
requirement or RACT emission limitation in § 129.97 that cannot meet the applicable
presumptive RACT requirement or RACT emission limitation may submit a proposal under §
129.99 for an alternative limit determined on a case-by-case basis.

51. Comment: The commentator recommends including definitions of “malfunction,” “start-
up,” and “shutdown” in relation to proposed § 129.97(h). (112)

Response: The Department disagrees. The presumptive NOx RACT emission limitations for
Portland cement kilns are applicable at all times, including start-up, shutdown, and malfunction
(SSM). Therefore, the Department does not see a need to define the terms start-up, shutdown, or
malfunction solely for the purposes of § 129.97(h) for cement kilns—there are no exceptions for
SSM events.

52. Comment: Section 129.97(c)(3) should read "A stationary internal combustion engine ... "
Please add the word "stationary." (122, 134)

Response: The Department agrees and has incorporated the requested change in the final
rulemaking. Proposed § 129.97(c)(3) has been revised and set forth in final-form § 129.97(c)(5)
and reads as follows:

     A stationary internal combustion engine rated at less than 500 bhp (gross).

53. Comment: Define “refinery gas” as “gas produced at a refinery which produces petroleum
products, including gasoline, from refinery units.” (126, 130, 134)

Response: The Department agrees. The term “refinery gas” has been added to § 121.1 in the
final rulemaking and is defined as follows:

     Refinery gas—Gas produced at a refinery which produces petroleum products, including
   gasoline, from refinery units.

54. Comment: The term “air contamination sources” is broadly defined and becomes
problematic when used in subsections 129.99(b) and (c). Does it apply to each individual piece
of equipment or a grouping of equipment? (114)

Response: The term “air contamination source” is defined in Section 3 of the Air Pollution
Control Act (APCA), 35 P.S. § Section 4003, as follows:

   "Air contamination source." Any place, facility or equipment, stationary or mobile, at, from
   or by reason of which there is emitted into the outdoor atmosphere any air contaminant.

See also the definition of “air contamination source” set forth in § 121.1, as follows:


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     Air contamination source—Any place, facility or equipment, stationary or mobile, at, from
   or by reason of which there is emitted into the outdoor atmosphere any air contaminant.

Any amendments to the definition in § 121.1 would require a legislative amendment to the
APCA.

The applicability threshold values set forth in subsections 129.99(b) and (c) in the final-form
regulation were determined as generic potential emission levels below which the application of
add-on emission control technology is not economically feasible.

55. Comment: Proposed § 129.98(b) refers to an "operating permit modification" that has two
interpretations, as proposed: that which is submitted by the owner or operator and that which is
issued by PA DEP. Neither use comports with the definition of "modification" in existing §
121.1. At a minimum, the word "application" or "proposal" should be added after "modification"
wherever this section refers to that document which is submitted by the owner or operator. (133)

Response: The Department agrees. Section 129.98 has been revised in the final-form regulation
to replace the term “operating permit modification” with the term “averaging plan” where
appropriate. The averaging plan will be incorporated into the operating permit through the use of
an operating permit modification procedure or Plan Approval, when necessary.

§ 129.97. Presumptive RACT requirements, RACT emission limitations and petition for
alternative compliance schedule.

56. Comment: The commentator supports the form and level of the presumptive emission limits
included in the proposed rulemaking as they are consistent with Ohio’s. (129)

Response: The Department appreciates the commentator’s support of the proposed RACT
regulation.

57. Comment: The Board is right not to establish presumptive limits for source categories that
are relatively rare and for which RACT cannot be readily determined without a close review of
the particular source. It would not be equitable or efficient for the Board to establish
presumptive RACT requirements for these sources. (102)

Response: The Department agrees. Those categories containing a limited number of sources
include iron and steel industries, coke oven batteries, lime kilns and refractory brick kilns.

58. Comment: RACT limits apply only during normal operations. (112, 127, 128, 130)

Response: The Department disagrees. The presumptive RACT emission limitations are
applicable at all times, including start-up, shutdown, and malfunction.

59. Comment: In § 129.97, several subsections reference “a source in this subsection.” It would
be clearer to state “a source described in this subsection.” (134)


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Response: The Department agrees. In § 129.97 of the final-form regulation, the wording of the
subsections has been clarified to read, “a source SPECIFIED in this subsection.”

60. Comment: Subsection 129.97(a) states that sources listed in subsections (b)—(h) “located at
a major NOx emitting facility or major VOC emitting facility, or both, subject to § 129.96 shall
comply. …” This phrase or portions of it are unnecessarily repeated in most of the following
subsections (b)—(h). (134)

Response: The Department agrees that the proposal was unnecessarily repetitive. As a result,
certain modifications have been made from proposed to final rulemaking to reduce or eliminate
that repetition.

61. Comment: The commentators feel that the proposed regulations are less stringent than those
that similarly-situated Mid-Atlantic States, including New Jersey, are proposing. The
commentators request that the Board explain how the final regulation will ensure that
Pennsylvania is adequately addressing emissions under its jurisdiction so that Pennsylvania is
properly meeting its pollution control responsibilities to other states. (65, 72, 80, 90, 94, 95, 101,
113, 123, 133, 134)

Response: The Department reviewed and considered RACT regulations from similarly-
situated Mid-Atlantic States, including New Jersey, during the development of the proposed and
final rulemakings. Source categories in Pennsylvania are diverse, with numerous sources having
varying characteristics differing from those of the other Mid-Atlantic States. The Department
evaluated these source categories and determined that the presumptive RACT requirements
included in the final-form regulation are appropriate. This approach is consistent with the EPA
guidance provided in the March 16, 1994, memorandum from D. Kent Berry, Acting Director,
Air Quality Management Division (MD-15), to the EPA Regional Air Directors, as follows:

  “In general, the actual cost, emission reduction, and cost-effectiveness levels that an
  individual source will experience in meeting the NOx RACT requirements will vary from unit
  to unit and from area to area. These factors will differ from unit to unit because the sources
  themselves vary in age, condition, and size, among other considerations. The EPA's general
  RACT guidance urges States to judge the feasibility of imposing specific controls based on the
  economic and technical circumstances of the particular unit being regulated. In many cases,
  these factors are not the same in all States since the specific NOx RACT emission limitations
  and averaging times will differ from State to State.” See Memorandum, Cost-Effective
  Nitrogen Oxides (NOx) Reasonably Available Control Technology (RACT), March 16, 1994,
  D. Kent Berry, Acting Director, Air Quality Management Division (MD-15).

In response to comments and the EPA’s March 6, 2015, Ozone NAAQS Implementation Rule,
the DEP conducted additional reviews of historical emissions data for coal-fired EGUs equipped
with SCR technology. DEP determined that the NOx limit specified in § 129.97(g)(1)(viii)
should be revised. Subparagraph 129.97(g)(1)(viii) specifies that any combustion unit equipped
with a selective catalytic reduction (SCR) system that is operating with an inlet temperature
equal to or greater than 600°F must meet a NOx emission limit of 0.12 lb NOx/million Btu.
Compliance with this emission limit is also required when by-passing the SCR system. The DEP

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acknowledges that the NOx RACT limit in the final rulemaking is not the lowest achievable
emissions rate (LAER) for this technology. However, the EPA has indicated in the preamble for
the final rule approving a SIP revision for Wisconsin’s NOx RACT Rule that: “RACT limits are
not meant to be the lowest achievable emissions rate.” The EPA also stated that “reductions
necessary for attainment may vary from nonattainment area to nonattainment area and will often
require greater reductions than RACT level reductions.” See 75 FR 64155, 64157. Therefore,
certain states may adopt more stringent “beyond RACT” requirements to address nonattainment.

On May 18, 2015, the U.S. Environmental Protection Agency (EPA) Region III Air Protection
Division Director, Diana Esher, sent a letter to DEP stating that the 0.12 lb/MMBTU heat input
NOx limit for coal-fired EGUs “is consistent with what the agency has “previously approved for
RACT in other nearby Ozone Transport Commission states such as Delaware, Maryland and
New Jersey.”” The EPA also indicated that based on its review of data for EGUs in
Pennsylvania including Bruce Mansfield, Cheswick, Homer City and Keystone, “a limit of the
0.12 lb/MMBTU NOx heat input appears to be achievable by Pennsylvania EGUs with SCR.”

62. Comment: Section 129.97(c) appears to establish an absolute obligation for relevant sources
to be maintained and operated in accordance with both manufacturer's specifications and good
engineering practices. However, in many cases, existing sources are components of complex
process systems, integrated operations, or are specialized and custom designed, such that the
equipment-specific manufacturer's specifications do not exist or are no longer relevant or
applicable, and indeed can be inconsistent with "good engineering practice." Even more simply,
with respect to older sources, manufacturer's specifications may no longer even be available.
Therefore, the regulation should be revised to require operation and maintenance of regulated
sources in accordance with good engineering practice, which, in appropriate circumstances,
would include operation in accordance with manufacturer's specifications. (104, 107, 114, 115,
118, 119, 121, 122, 126, 129, 134)

Response: It should be noted that the existing presumptive RACT requirements codified in 25
Pa. Code § 129.93 specify the installation, maintenance and operation of the source in
accordance with manufacturer’s specifications; this provision, which has been implemented
since 1995, is also approved by the EPA in the Commonwealth’s SIP. In addition, an affected
owner or operator that is not able to comply with the applicable presumptive RACT requirements
and emission limitations set forth in the final-form regulation may opt to determine RACT
requirements on a case-by-case basis under § 129.99.

However, subsections 129.97(c) and (d) have been revised in the final-form regulation to replace
the term “good engineering practices” with the term “good operating practices.” The word
“engineering” refers to design, whereas the word “operating” refers to operation. Since this final
rulemaking is applicable to the owners and operators of existing operating sources, it is more
appropriate to regulate operating practices. In addition, this language is consistent with the SIP-
approved permit compliance requirements found in 25 Pa. Code § 127.444 (relating to
compliance requirements).

63. Comment: Exemptions for start-up and shutdown periods and regularly scheduled
maintenance activities should be included in the proposed rulemaking. (112, 127, 128, 130, 134)

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Response: The Department disagrees. The presumptive RACT emission limitations are
applicable at all times, including start-up, shutdown, malfunction, and maintenance activities.
Moreover, on May 22, 2015, the EPA Administrator Gina McCarthy signed a final action to
ensure states have plans in place that are fully consistent with the Clean Air Act (CAA) and
recent court decisions concerning start-up, shutdown and malfunction operations. See e.g.,
Sierra Club et al. v. Jackson, No. 3:10-cv-04060–CRB (N.D. Cal.). Exemptions from emission
limits during periods of start-up, shutdown and malfunction exist in a number of state rules,
some of which were adopted and approved into SIPs by the EPA many years ago. Recent court
decisions have held that under the CAA, such exemptions are not allowed in SIPs.

64. Comment: Change “good engineering practices” to “good operating practices.” (129)

Response: The Department agrees. Subsections 129.97(c) and (d) have been revised in the
final-form regulation to replace the term “good engineering practices” with the term “good
operating practices.” The word “engineering” refers to design, whereas the word “operating”
refers to operation. Since this final rulemaking is applicable to the owners and operators of
existing operating sources, it is more appropriate to regulate operating practices. In addition, this
language is consistent with the SIP-approved permit compliance requirements found in §
127.444.

65. Comment: Subsection 129.97(g) provides sufficient clarity on the applicability issue but
then misapplies the threshold applicability requirement to the source rather than the facility.
Does § 129.97(g) apply to the source or the facility? (109, 134)

Response: Subsection 129.97(g) has been revised in the final-form regulation to clarify that the
RACT requirements are applicable to the owner and operator of subject sources located at a
major facility.

66. Comment: The commentator recommends a VOC RACT requirement of “good engineering
practices for the control of VOC emissions from the combustion unit or... source.” If not, then a
9 ppm VOC (as propane) limit for the existing fleet of combustion sources should be added.
(111)

Response: Subsections 129.97(g)(2)(i)(C) and 129.97(g)(2)(i)(D) have been revised in the final-
form regulation to establish presumptive RACT emission limitations of 5 and 9 ppmvd VOC @
15% oxygen (as propane) for combined cycle turbines or combined heat and power combustion
turbines with a rated output equal to or greater than 1,000 bhp and less than 180 MW firing
natural gas or a noncommercial gaseous fuel and firing fuel oil, respectively.

67. Comment: Proposed subsection 129.97(d) suffers from deficiencies in regulatory clarity.
For example, subsections 129.97(c) and (d) are not, on their face, mutually exclusive, yet, those
provisions should not properly be applied simultaneously to the same sources. In both cases the
presumptive RACT ends up the same (good engineering practices). Subsection 129.97(d) should
be revised to limit applicability to sources exceeding certain size thresholds. (97, 104, 107, 115,
117, 134)

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Response: The Department agrees that subsections 129.97(c) and (d) should not be applied
simultaneously to the same sources. Section 129.97 is revised in the final-form regulation to set
forth a generic presumptive requirement in § 129.97(c)(1) and (2) for the affected owner and
operator of a source with the potential to emit less than either 5 tons of NOx per year or 2.7 tons
of VOC per year, respectively.

Subsection 129.97(d) has been revised in the final-form regulation to clarify that except as
specified under subsection 129.97(c), the owner and operator of a combustion unit or other
combustion source located at a major VOC emitting facility subject to § 129.96 shall install,
maintain and operate the source in accordance with the manufacturer’s specifications and with
good operating practices for the control of VOC emissions from the combustion unit or other
combustion source. Subsection 129.97(d) does not specify a size threshold, but would not apply
to the owner and operator of a VOC emitting source subject to § 129.97(c).

Please note that the requirement in proposed § 129.97(c)(1) has been provided in final-form §
129.97(c)(3). The requirements proposed in § 129.97(c)(2), (3), (4), (5) and (6) are renumbered
and set forth in final-form § 129.97(c)(4), (5), (6), (7) and (8), respectively.

68. Comment: Federal RICE and turbine rules provide justification for rulemaking requirements
such as a higher applicability threshold for turbines subject to a 42 PPMV NOx standard and
appropriate VOC standards for lean burn engines. Federal standards should be used as a basis to
define technical limits, with turbine limits applicable at 75% of rated load and higher, and lean
burn RICE limits applicable at 90% of rated load and higher. (107, 115)

Response: The Department disagrees that turbine and engine NOx limits should be applicable
only at or above a certain rated load or that the Federal standards should be used as the sole basis
to define technical limits. The requirements set forth under 40 CFR Part 60, Subpart JJJJ and 40
CFR Part 60, Subpart KKKK express the conditions (e.g. source load) under which the source
must be tested to demonstrate compliance with the Federal emission limitations. However,
Federal emission limitations for engines and turbines are applicable under all load conditions.
The owner or operator is required to show compliance with the presumptive NOx emission limits
contained in the final-form regulation through the use of CEMS or through monitoring and
testing in accordance with a Department-approved emissions source test that meets the
requirements of Chapter 139, Subchapter A (relating to sampling and testing methods and
procedures), which may specify load conditions under which the source is to be tested.

Subsection 129.97(g) is revised in the final-form regulation to establish a presumptive NOx
RACT emission limitation of 150 ppmvd NOx @ 15% oxygen for a simple cycle or regenerative
cycle turbine with a rated output equal to or greater than 1,000 bhp and less than 6,000 bhp in
final-form § 129.97(g)(2)(iii). This requirement is consistent with 40 CFR Part 60, Subpart
KKKK. Proposed § 129.97(g)(2)(iii) is revised to § 129.97(g)(2)(iv) in the final-form regulation.
Subsection 129.97(g)(3)(i)(B) is revised from proposed to final rulemaking to revise the VOC
RACT emission limitation from 0.4 gram VOC/bhp-hr to 1.0 gram VOC/bhp-hr, excluding
formaldehyde, for a lean burn stationary internal combustion engine with a rating equal to or
greater than 500 bhp when fired with natural gas or a noncommercial gaseous fuel, liquid fuel or

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dual-fuel. This requirement is consistent with new source performance standards codified in 40
CFR Part 60, Subpart JJJJ.

69. Comment: The VOC emission standards for engines and turbines should be deleted, or
replaced with a compliance option based on good combustion practices. (107, 111, 115, 117,
118)

Response: The Department disagrees. The VOC emission standards should not be deleted or
replaced with a compliance option based on good combustion practices for either engines or
turbines. For engines, the use of certain control devices, such as non-selective catalytic
reduction (NSCR), are feasible for the purposes of VOC RACT. Additionally, Federal
regulations such as 40 CFR Part 60, Subpart JJJJ, also have VOC emission limitation
requirements. Many turbines currently have SIP-approved case-by-case RACT determinations
established under 25 Pa. Code §§ 129.91—129.95 for VOC emissions that include numerical
emission limitations. The Department, after further review of available emissions data, believes
that the VOC RACT emission limitations for turbines established in the final-form regulation are
appropriate. The owner or operator may be able to achieve compliance without add-on controls
through the application of “good combustion practices.”

Subsection 129.97(g)(3)(i)(B) is revised in the final-form regulation to establish a RACT
emission limitation of 1.0 gram VOC/bhp-hr, excluding formaldehyde, for lean burn stationary
internal combustion engines with a rating equal to or greater than 500 bhp fired with natural gas
or a noncommercial gaseous fuel, liquid fuel or dual-fuel. This requirement is consistent with
the Federal Standards of Performance for Stationary Spark Ignition Internal Combustion Engines
codified in 40 CFR Part 60, Subpart JJJJ; the standards are also adopted and incorporated by
reference in 25 Pa. Code Chapter 122 (relating to national standards of performance for new
stationary sources).

Subsections 129.97(g)(2)(i)(C) and 129.97(g)(2)(i)(D) have been revised in the final-form
regulation to establish presumptive RACT emission limitations of 5 and 9 ppmvd VOC @ 15%
oxygen (as propane) for combined cycle turbines or combined heat and power combustion
turbines with a rated output equal to or greater than 1,000 bhp and less than 180 MW firing
natural gas or a noncommercial gaseous fuel and firing fuel oil, respectively.

In addition, the owner or operator of any affected source that cannot meet a presumptive RACT
emission limitation may propose an alternative limit under § 129.99(a); the alternative limits will
be established by the Department or local air pollution control agency on a case-by-case basis.

70. Comment: In § 129.97(g)(3), there appears to be some disparity between the combustion
turbine and the reciprocating engine proposed requirements. The proposed combustion turbine
level of 42 ppm on natural gas is ~four times lower than the RACT level for a lean burn
reciprocating engine and ~two times lower than a rich burn engine. Uncontrolled combustion
turbines are close to the proposed RACT levels for reciprocating engines. With reciprocating
engines far outnumbering gas turbines in Pennsylvania does it make sense, from an
environmental and/or cost impact basis, to have a RACT for combustion turbines, especially
small combustion turbines? The RACT compliance cost analysis conducted by the agency is not

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detailed enough to determine if the RACT emissions level proposed for combustion turbines is
cost effective. (111, 134)

Response: The Department disagrees with the comparison of emission rates for engines to
turbines. They are different combustion technologies and are considered to be different source
types for the purposes of RACT determinations. Therefore, the Department disagrees that
presumptive RACT requirements and emission limitations should not be established for turbines.
The number of turbines subject to RACT requirements in Pennsylvania justifies the
establishment of presumptive RACT emission limitations for turbines in order to minimize the
number of applications for case-by-case RACT determinations.

Presumptive RACT emission limitations are implemented for each source category based on
reasonably available control technology determinations and associated emissions data. In
addition, the owner or operator of any affected source that cannot meet a presumptive RACT
emission limitation may propose an alternative limit under § 129.99(a); the alternative limits will
be established by the Department or local air pollution control agency on a case-by-case basis.

71. Comment: Emission limits should consider technology limitations at reduced load,
consistent with Federal regulations. (107, 115, 117, 118)

Response: The Department disagrees that the final-form rulemaking emission limitations are not
consistent with Federal regulations related to reduced loads. The requirements set forth under 40
CFR Part 60, Subpart JJJJ and 40 CFR Part 60, Subpart KKKK express the conditions (e.g.
source load) under which the source must be tested to demonstrate compliance with the Federal
emission limitations. However, Federal emission limitations for engines and turbines are
applicable under all load conditions. The owner or operator is required to show compliance with
the presumptive NOx emission limits contained in the final rulemaking through the use of CEMS
or through monitoring and testing in accordance with a Department-approved emissions source
test that meets the requirements of Chapter 139, Subchapter A, which may specify load
conditions under which the source is to be tested.

72. Comment: The commentator recommends that the regulation address the use of multiple
fuels consistent with the Boiler MACT. In accordance with the Boiler MACT, units that
combust 90 percent by volume or more of a specified fuel are not considered as a dual-fuel unit
and are appropriately categorized as the corresponding single fuel unit. (126)

Response: The Department disagrees. The final-form rulemaking retains the equation that was
proposed in § 129.97(g)(4) to determine the applicable RACT multiple fuel emission limit on a
total heat input fuel weighted basis for a unit firing multiple fuels. However, based on the EPA’s
Implementation Rule for the 2008 ozone NAAQS, “states would be allowed to streamline their
RACT analysis by including an assessment of the MACT controls and how they relate to VOC
RACT considerations. This approach is consistent with the EPA’s current policy.” See 80 FR
12279 (March 6, 2015).

73. Comment: While § 129.97(g) addresses a multitude of fuels, some commentators believe
further direction is needed for units that use dual fuels, use different fuels at different times, or

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use landfill gas rather than natural gas. We ask the EQB to review the list of fuels and add more
categories of fuels where appropriate and also provide further direction on what category a dual
fuel-fired source falls into. (134)

Response: Subsection 129.97(g) has been revised in the final rulemaking to clarify the use of
multiple fuels. The presumptive RACT emission limitations are applicable only to sources
identified in final-form paragraphs 129.97(g)(1)—(3). Paragraph 129.97(g)(4) sets forth an
equation to determine the applicable RACT multiple fuel emission limit on a total heat input fuel
weighted basis for a unit firing multiple fuels. The owner and operator of any other combustion
source firing multiple fuels would be subject to the case-by-case RACT requirements under §
129.99.

The Department established presumptive levels applicable to landfill gas-fired internal
combustion engines in § 129.97(g)(3) of the final-form regulation. Landfill gas-fired engines
will be subject to the same emission limitations established for natural gas-fired engines in §
129.97(g)(3)(i)(A) and (iii)(A).

74. Comment: The Board should clarify the presumptive RACT requirement of paragraph
129.97(g)(4) for units firing multiple fuels simultaneously. The Board should clarify that
paragraph 129.97(g)(4) does not apply to a source that happens to fire multiple fuels but does not
otherwise fall within a source category under paragraphs 129.97(g)(1)—(3) or another source
category for which a presumptive RACT limit would apply, and is not intended to cover a source
that would be subject to a case-by-case determination under subsection 129.99(b) were it to fire
just one fuel type. The regulation addresses units burning multiple fuels during the compliance
period, not necessarily "simultaneously." (102, 109)

Response: Paragraph 129.97(g)(4) has been revised from proposed to final rulemaking to clarify
the use of multiple fuels. The presumptive RACT emission limitations are applicable only to
sources identified in paragraphs 129.97(g)(1)—(3). Paragraph 129.97(g)(4) addresses units
firing multiple fuels. Any other combustion source firing multiple fuels would be subject to the
case-by-case RACT requirements of § 129.99.

75. Comment: In RAF Question 12, the EQB states that the proposed regulations are “similar to
regulations already adopted by Wisconsin and New York and approved by the EPA.” However,
Delaware (Delaware comments, page 3) and Connecticut (Connecticut comments, page 2) both
commented that New York has in place significantly more stringent emissions limits than
Pennsylvania. The EQB should either support or amend its response to RAF Question 12. (134)

Response: The Department reviewed and considered RACT regulations from various states
when evaluating what constitutes reasonably available control technology for the types of
sources affected by the final rulemaking. Source categories in Pennsylvania are diverse with
numerous individual sources having varying characteristics. The Department evaluated these
source categories and determined that the presumptive RACT requirements and emission
limitations included in the final-form regulation are appropriate.



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Due to variability in source type, combustion characteristics, unit size, fuel usage, operating
conditions, and source age, there are differences between the final-form regulation and the New
York RACT regulations in terms of emission limits, exceptions, size cutoffs, etc. For example,
New York determined that combined cycle combustion turbines operated after July 1, 2014,
should undergo case-by-case analysis due to limited numbers of this source type in New York.
As New York noted in their Regulatory Impact Statement, “Because of the limited number of
sources and the wide range of available control technologies, the [NY] Department was not able
to identify a presumptive NOx RACT emission limit for combined cycle combustion turbines.”

However, due to the large number of these sources operating in Pennsylvania, the Department
was able to determine presumptive NOx RACT emission limitations for different categories of
combined cycle combustion turbines, including large combustion turbines that will likely be
required to use SCR control to meet the applicable NOx RACT emission limitation. The basis
for the determination of the presumptive RACT requirements and emission limitations is
included in the preamble and the RAF for the final rulemaking. Both of these documents are
replete with substantive information related to emission data, cost-effectiveness numbers, public
health information, statutory requirements, small business information, and other types of
analyses to demonstrate that this regulation is legally required, is in the public interest, is
economically and technologically feasible, and will reduce emissions.

This approach is consistent with the EPA guidance provided in the March 16, 1994,
memorandum from D. Kent Berry, Acting Director, Air Quality Management Division (MD-15),
to the EPA Regional Air Directors, as follows:

  “In general, the actual cost, emission reduction, and cost-effectiveness levels that an
  individual source will experience in meeting the NOx RACT requirements will vary from unit
  to unit and from area to area. These factors will differ from unit to unit because the sources
  themselves vary in age, condition, and size, among other considerations. The EPA's general
  RACT guidance urges States to judge the feasibility of imposing specific controls based on the
  economic and technical circumstances of the particular unit being regulated. In many cases,
  these factors are not the same in all States since the specific NOx RACT emission limitations
  and averaging times will differ from State to State.” See Memorandum, Cost-Effective
  Nitrogen Oxides (NOx) Reasonably Available Control Technology (RACT), March 16, 1994,
  D. Kent Berry, Acting Director, Air Quality Management Division (MD-15).

The determinations of what add-on control technologies are reasonably available to meet the
presumptive RACT requirements and emission limitations included in the final-form regulation
are consistent with the determinations of what add-on control technologies are reasonably
available to meet the presumptive RACT requirements in New York. The RACT emission limits
included in the final-form regulation are comparable to emission limits included in other states’
RACT regulations, including New York and Wisconsin.

In response to comments and the EPA’s March 6, 2015, Ozone NAAQS Implementation Rule,
the DEP conducted additional reviews of historical emissions data for coal-fired EGUs equipped
with SCR technology. The DEP determined that the NOx limit specified in § 129.97(g)(1)(viii)
should be revised. Subparagraph 129.97(g)(1)(viii) specifies that any combustion unit equipped

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with a selective catalytic reduction (SCR) system that is operating with an inlet temperature
equal to or greater than 600°F must meet a NOx emission limit of 0.12 lb NOx/MMBtu.
Compliance with this emission limit is also required when by-passing the SCR system. The DEP
acknowledges that the NOx RACT limit in the final rulemaking is not the lowest achievable
emissions rate (LAER) for this technology. However, the EPA has indicated in the preamble for
the final rule approving a SIP revision for Wisconsin’s NOx RACT Rule that: “RACT limits are
not meant to be the lowest achievable emissions rate.” The EPA also stated that “reductions
necessary for attainment may vary from nonattainment area to nonattainment area and will often
require greater reductions than RACT level reductions.” See 75 FR 64155, 64157. Therefore,
certain states may adopt more stringent “beyond RACT” requirements for attainment purposes.

On May 18, 2015, the U.S. Environmental Protection Agency (EPA) Region III Air Protection
Division Director, Diana Esher, sent a letter to DEP stating that the 0.12 lb/MMBtu heat input
NOx limit for coal-fired EGUs “is consistent with what the agency has “previously approved for
RACT in other nearby Ozone Transport Commission states such as Delaware, Maryland and
New Jersey.”” The EPA also indicated that based on its review of data for EGUs in
Pennsylvania including Bruce Mansfield, Cheswick, Homer City and Keystone, “a limit of the
0.12 lb/MMBTU NOx heat input appears to be achievable by Pennsylvania EGUS with SCR.”

   § 129.97(b) and § 129.97(g)(1). Combustion units

76. Comment: Does subsection 129.97(b) provide alternative compliance options or does it
apply simultaneously with subsections 129.97(c)—(h)? (134)

Response: Subsection 129.97(b) does not apply simultaneously with subsections 129.97(c)—
(h). Subsection 129.97(b) only applies to combustion units with a rated heat input equal to or
greater than 20 million Btu/hour and less than 50 million Btu/hour.

77. Comment: Under paragraph 129.97(b)(1), it is not clear how an adjustment under
subparagraph (i) relating to “fuel burning equipment, including the burners” is a different
requirement than subparagraph (ii) relating to the “flame pattern” and subparagraph (iii) relating
to the “air to fuel ratio.” (134)

Response: Paragraph 129.97(b)(1) has been revised from proposed to final rulemaking to
specify that the applicable requirement for the owner and operator of a combustion unit with a
rated heat input equal to or greater than 20 million Btu/hour and less than 50 million Btu/hour is
a biennial tune-up conducted in accordance with the procedures described in 40 CFR 63.11223.
The inspection and adjustment of the fuel burning equipment, including the burners and
components, the flame pattern, and the air to fuel ratio are separate and distinct components of
the tune-up procedures described in 40 CFR 63.11223.

78. Comment: As written, subparagraph 129.97(b)(1)(i) could be satisfied by just an inspection.
Is that the intent? (134)

Response: Yes, subparagraph 129.97(b)(1)(i) may be satisfied by just an inspection.
Subparagraph 129.97(b)(1)(i) has been revised from proposed to final rulemaking to clarify that

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cleaning or replacement of fuel-burning equipment, including the burners and components, is
done as necessary for proper operation as specified by the manufacturer. Paragraph 129.97(b)(1)
has been revised from proposed to final rulemaking to specify that the applicable requirement for
the owner and operator of a combustion unit with a rated heat input equal to or greater than 20
million Btu/hour and less than 50 million Btu/hour is a biennial tune-up conducted in accordance
with the procedures described in 40 CFR 63.11223.

79. Comment: As written, subparagraphs 129.97(b)(1)(ii) and (iii) would require an adjustment
in all circumstances. What if an adjustment is not needed? (134)

Response: Subparagraphs 129.97(b)(1)(i)—(iii) have been revised in the final-form regulation
to clarify that the adjustments are done as necessary to optimize the flame pattern. Paragraph
129.97(b)(1) has been revised from proposed to final rulemaking to specify that the applicable
requirement for the owner and operator of a combustion unit with a rated heat input equal to or
greater than 20 million Btu/hour and less than 50 million Btu/hour is a biennial tune-up
conducted in accordance with the procedures described in 40 CFR 63.11223. The biennial tune-
up performed to comply with paragraph 129.97(b)(1) must include, at a minimum, the
inspections set forth in subparagraphs 129.97(b)(1)(i)—(iii).

80. Comment: Subsection 129.97(b) purports to establish standards applicable to sources
located at major NOx or VOC emitting facilities, and specifies distinct control measures under
paragraphs 129.97(b)(1) and (2). However, the same regulatory provision fails to clarify that
paragraphs 129.97(b)(1) and (2) should constitute alternative compliance options, and should not
apply simultaneously to affected sources. Does the site have the option of complying with either
paragraph 129.97(b)(1) or paragraph 129.97(b)(2), or is compliance with both required? (104,
114, 134)

Response: The applicable requirements of paragraphs 129.97(b)(1) and (2) have been clarified
in the final-form regulation. The owner and operator of an affected combustion unit which is
located at a major NOx emitting facility or major VOC emitting facility subject to § 129.96 shall
comply with the applicable requirements in paragraph 129.97(b)(1) or paragraph 129.97(b)(2).
Paragraph 129.97(b)(1) has been revised from proposed to final rulemaking to remove the
reference to the requirements in paragraph (2) and to specify that the applicable requirement for
the owner and operator of a combustion unit with a rated heat input equal to or greater than 20
million Btu/hour and less than 50 million Btu/hour is a biennial tune-up conducted in accordance
with the procedures described in 40 CFR 63.11223. The biennial tune-up performed to comply
with paragraph 129.97(b)(1) must include, at a minimum, the inspections set forth in
subparagraphs 129.97(b)(1)(i)—(iii).

Paragraph 129.97(b)(2) has been revised from proposed to final rulemaking to remove the
requirements that applied only to an oil-fired, a gas-fired or a combination oil-fired and gas-fired
combustion unit with a rated heat input equal to or greater than 20 million Btu/hour and less than
50 million Btu/hour. Additionally, the reference to the 1983 EPA document has been removed.
Final-form paragraph 129.97(b)(2) specifies that the owner or operator of a combustion unit with
an oxygen trim system that maintains an optimum air-to-fuel ratio that would otherwise be
subject to a biennial tune-up shall conduct a tune-up of the boiler one time in each 5-year

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calendar period. The tune-up performed to comply with paragraph 129.97(b)(2) must include, at
a minimum, the inspections set forth in subparagraphs 129.97(b)(2)(i)—(iii).

81. Comment: Subsection 129.97(b) is formulated in a somewhat convoluted fashion. It appears
that the proposed rulemaking is attempting to regulate solid fueled boilers in subsection
129.97(b)(1) and all other boilers in subsection 129.97(b)(2), and in addition references a very
old (1983) EPA document (EPA-340/1-83-023) as a reference for the non-solid fuel boilers. This
document is outdated. (109, 114, 134)

Response: The applicable requirements of paragraphs 129.97(b)(1) and (2) have been clarified
in the final-form regulation. Please see the Response to Comment 80.

82. Comment: The commentators recommend that DEP modify § 129.97(b) to have one rule
for tune-ups regardless of the fuel combusted, that that rule mirror the existing boiler MACT
requirements, and that those requirements be listed in the rule, as opposed to referencing an
external document. The referenced document was developed to address 1983 and earlier boiler
designs, not modern boilers and control systems. In addition, the cited document, "Combustion
Efficiency Optimization Manual for Operators of Oil and Gas-fired Boilers," is not readily
available on the PA DEP or EPA websites. (109, 132)

Response: Paragraph 129.97(b)(1) has been revised from proposed to final rulemaking to
specify that the applicable requirement for the owner and operator of a combustion unit with a
rated heat input equal to or greater than 20 million Btu/hour and less than 50 million Btu/hour is
a biennial tune-up conducted in accordance with the procedures described in 40 CFR 63.11223.
The biennial tune-up performed to comply with paragraph 129.97(b)(1) must include, at a
minimum, the inspections set forth in subparagraphs 129.97(b)(1)(i)—(iii).

Paragraph 129.97(b)(2) has been revised in the final-form regulation to remove the requirements
that applied only to an oil-fired, a gas-fired or a combination oil-fired and gas-fired combustion
unit with a rated heat input equal to or greater than 20 million Btu/hour and less than 50 million
Btu/hour. The reference to the 1983 EPA document has been removed. Final-form paragraph
129.97(b)(2) specifies that for the owner and operator of a combustion unit with an oxygen trim
system that maintains an optimum air-to-fuel ratio that would otherwise be subject to a biennial
tune-up, the applicable requirement is a tune-up conducted one time in each 5-year calendar
period. The tune-up performed to comply with paragraph 129.97(b)(2) must include, at a
minimum, the inspections set forth in subparagraphs 129.97(b)(2)(i)—(iii).

83. Comment: The proposed rulemaking requires minimization of NOx and CO emissions
which is inconsistent with the boiler MACT rule. Recommend modify this provision to mirror
the boiler MACT requirements. Also state that a periodic tune-up conducted in accordance with
boiler MACT satisfies § 129.99 in the year in which it is conducted. (109)

Response: The applicable requirements of paragraphs 129.97(b)(1) and (2) have been clarified
in the final-form regulation. Please see the Response to Comment 82.




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84. Comment: We request the Department eliminate the proposed annual maintenance on
natural gas units stated in paragraph 129.97(b)(1) as this required maintenance is not expected to
result in any reduction of emissions and will add unnecessary recordkeeping burden. The EQB
should explain why an annual tune-up is needed and reasonable. (118, 134)

Response: The Department agrees. The applicable requirements of paragraphs 129.97(b)(1)
and (2) have been clarified in the final-form regulation. Please see the Responses to Comments
80 and 82.

85. Comment: We request the Department eliminate the proposed annual maintenance on
natural gas units stated in 129.97(b)(1) as this required maintenance is not expected to result in
any reduction of emissions and will add unnecessary recordkeeping burden. We further request
that the Department allow maintenance and inspection of combustion heaters using the
manufacturer's recommendations or the company's site specific maintenance and inspection plan.
If the Department includes a requirement for other natural gas-fired units we ask that the
requirement to "operate and maintain equipment in a manner consistent with safety and good air
pollution control practices for minimizing emissions" be used in place of required annual
maintenance. (104, 107, 114, 115, 118, 119, 121, 122, 129)

Response: The Department disagrees that the requirement to "operate and maintain equipment
in a manner consistent with safety and good air pollution control practices for minimizing
emissions" can be used in place of required annual maintenance for the natural gas units subject
to § 129.97(b)(1). However, the applicable requirements of paragraphs 129.97(b)(1) and (2)
have been clarified in the final-form regulation. Please see the Responses to Comments 80 and
82.

86. Comment: In § 129.97(b)(1), please denote either HHV or LHV after the MMBtu/hr in the
final-form rulemaking. We assume the intent was HHV and base some of our other comments
on such assumption. (111)

Response: Federal regulations for combustion units do not specify higher heating value (HHV)
or lower heating value (LHV) for applicability purposes. The final rulemaking is consistent with
the Federal regulations. Generally, HHV is used for determine applicability for Federal and state
regulations.

87. Comment: The reference to “flame pattern” is not applicable to all combustion sources.
The commentator has seen instances where combustion unit language has made its way into a
combustion turbine permit rendering an irrelevant and impossible-to-comply-with permit
condition. (111)

Response: The Department agrees that the requirements for combustion units referencing
“flame pattern” are not applicable to all combustion sources, including turbines. The
presumptive RACT requirement set forth in § 129.97(b)(1) for the owner and operator of a
combustion unit with a rated heat input equal to or greater than 20 million Btu/hour and less than
50 million Btu/hour is a biennial tune-up conducted in accordance with the procedures described



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in 40 CFR 63.11223. The biennial tune-up performed to comply with paragraph 129.97(b)(1)
must include, at a minimum, the inspections set forth in subparagraphs 129.97(b)(1)(i)—(iii).

The term “combustion unit” is defined in § 121.1 as “a stationary equipment used to burn fuel
primarily for the purpose of producing power or heat by indirect heat transfer [emphasis added].”
While turbines are combustion sources, they produce power by direct heat transfer and are not
combustion units by definition. Therefore, the tune-up requirement is not applicable to
combustion turbines. In addition, this tune-up requirement should not appear as an applicable
permit requirement for combustion turbines.

88. Comment: The language at § 129.97(b)(1) should be modified to match § 129.93(b)(2).
(121)

Response: The Department disagrees that the language at § 129.97(b)(1) should be modified to
match § 129.93(b)(2). The detail of the requirements included in combustion unit inspection
procedures have increased since the promulgation of § 129.93(b)(2) in January 1994. The final-
form regulation requirements are written to address the updated RACT requirements and
procedures. The presumptive RACT requirement of paragraph 129.97(b)(1) has been revised in
the final-form regulation to set forth that the affected owner and operator of a combustion unit
with a rated heat input equal to or greater than 20 million Btu/hour and less than 50 million
Btu/hour shall conduct a biennial tune-up in accordance with the procedures described in 40 CFR
63.11223. The biennial tune-up performed to comply with paragraph 129.97(b)(1) must include,
at a minimum, the inspections set forth in subparagraphs 129.97(b)(1)(i)—(iii). Should the
owner or operator not be able to comply with the presumptive requirement or emission
limitation, the owner or operator may propose an alternative NOx RACT emission limitation
under § 129.99(a) based on the source’s potential to emit NOx.

89. Comment: The commentator objects to incorporating by reference as a presumptive RACT
requirement at § 129.97(c)(1) (and other locations in the proposed rulemaking) that, " ... the
operation and maintenance of the source in accordance with the manufacturer's specifications
and good engineering practices." This will arbitrarily incorporate by reference an untold number
of new requirements (manufacturer's specifications) that are not known to and not reviewed by
the Department and in the case of many units, especially older units or units that do not come
with specifications, may not be known to the operator. Additionally, manufacturing
specifications may be incorrect and arbitrary in themselves and not in keeping with good
engineering practices. Uncertainty is not desirable for either the regulated industries or the DEP.
The Department should provide a list of presumptive good engineering practices. (97, 107, 115,
117, 119, 121, 132, 134)

Response: It should be noted that the presumptive RACT requirement included in § 129.93
requires the installation, maintenance and operation of the source in accordance with
manufacturer’s specifications. This requirement has been implemented since January 1994. In
addition, the owner or operator may opt to determine RACT requirements on a case-by-case
basis in place of presumptive RACT requirements.



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In the final-form regulation, the term “good engineering practices” has been replaced with “good
operating practices.” “Engineering” refers to design, whereas “operating” refers to operation.
Since the requirements of this final rulemaking are for existing operating sources, it is more
appropriate to regulate operating practices. In addition, this language is consistent with the
permit compliance requirements found in 25 Pa. Code § 127.444.

90. Comment: The commentators recommend that the presumptive RACT requirements for
coal-fired boilers should be established based on actual emission levels achieved in practice
while operating with post-combustion controls, such as selective catalytic reduction (SCR) or
selective non-catalytic reduction (SNCR). The RACT regulations should require the use of SCR
or other control device(s) continuously to minimize NOx pollution. (1, 2, 3, 4, 5, 6, 7, 8, 9, 10,
11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 29, 30, 31, 33, 34, 35, 36, 37,
38, 39, 40, 41, 42, 43, 44, 45, 46, 48, 49, 50, 51, 52, 53, 54, 55, 56, 58, 59, 60, 61, 62, 63, 64, 65,
66, 68, 70, 71, 72, 73, 75, 76, 77, 78, 79, 80, 81, 88, 89, 90, 91, 94, 96, 98, 99, 100, 101, 103,
106, 113, 116, 123, 133)

Response: The Department disagrees that the presumptive RACT requirements for coal-fired
boilers should be established based solely on the lowest actual emission levels achieved in
practice by some of the affected units while operating with post-combustion controls. The
proposed and final RACT rulemakings establish presumptive emission limitations for NOx or
VOCs that are achievable and sustainable during the expected life of the affected unit using
technologies that are both technically and economically feasible. Implementation of the final
rulemaking presumptive RACT requirements and RACT emission limitations will reduce the
amount of ozone precursor emissions that the owner and operator of a facility subject to the
final-form provisions in §§ 129.96—129.100 would be legally allowed to emit to the
atmosphere.

Design limitations of the existing SCR and SNCR control technology installed on the affected
coal-fired boilers dictate the operating parameters that are reasonably achievable. However,
based on consideration of comments received during the public comment period and on the
evaluation of NOx emissions data for coal-fired boilers for a 5-year period, the final-form
regulation addresses the use of installed SCR or SNCR equipment in § 129.97(g)(1)(viii) and §
129.97(g)(1)(ix). Further, the NOx emission limit for CFB combustion units in §
129.97(g)(1)(vi)(A) is revised from the proposed 0.20 lb NOx/million Btu heat input to 0.16 lb
NOx/million Btu heat input in the final-form regulation.

Currently, there are six coal-fired power plants with 15 coal-fired EGUs in Pennsylvania that are
not scheduled for retirement or fuel-switching from coal to natural gas. Of these six facilities,
five plants with 12 EGUs are equipped with SCR control technology. The sixth plant is
authorized to burn natural gas as well as coal. Upon reevaluation of the NOx emissions data
from the coal-fired EGUs equipped with SCR, the Department concluded that a NOx emission
limit of 0.12 lb/MMBtu was achievable with operation of SCR when an inlet temperature of
600°F is reached. This limit accounts for the design limitations of the existing SCR systems. In
addition, compliance with this emission limit is also required when by-passing the SCR system.



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Final-form subparagraph 129.97(g)(1)(viii) establishes an emission limitation for a combustion
unit equipped with SCR control technology as follows:

      (viii) For a combustion unit with a selective catalytic reduction system operating with an
   inlet temperature equal to or greater than 600oF, 0.12 lb NOx/million Btu heat input.
   Compliance with this emission limit is also required when by-passing the selective catalytic
   reduction system.

EGU flue gas temperature is directly affected by boiler load. EGU flue gas temperatures must be
at or above a minimum operating temperature to allow for the injection of ammonia since
adequate catalyst bed temperatures are needed to sustain the catalytic reaction for NOx control.
The injection of ammonia below a minimum operating temperature would not achieve the
required levels of NOx emissions reduction and would likely create excessive ammonia “slip.”
The excessive ammonia slip would then increase the amount of additional ammonium
compounds, such as ammonium bisulfate.

Ammonium bisulfate is a sticky, corrosive liquid that forms at lower flue gas temperatures.
Deposition of ammonium bisulfate can reduce EGU operational capabilities by plugging the
boiler’s air heater. Because a plugged air heater limits the capacity of the boiler, it also limits the
amount of ammonia that can be injected. This then limits the amount of NOx emissions that can
be reduced. The plugged air heater also increases the amount of ammonia slip. This operating
condition can ultimately result in excessive system back pressure that requires the boiler to be
taken out of service to allow water washing of the air heater. Additionally, higher ammonia slip
could contribute to additional PM2.5 concentrations.

While the minimum operating temperature varies depending on the type of SCR system,
typically for the SCR to function at its target efficiency rate and optimize the control of NOx
emissions, the temperature of the EGU flue gas entering the SCR must be no less than 600°F.
When the EGU flue gas temperature falls below 600°F, less efficient NOx emission reduction
occurs along with increased ammonia slip and increased potential for air heater fouling leading
to unscheduled outages.

Similarly, the minimum operating temperature for SNCR systems is typically 1600°F and
operating the SNCR system at a temperature below 1600°F would likely result in excessive
ammonia slip with a significant negative impact on the ability of the systems to achieve NOx
emission reductions.

Final-form subparagraph 129.97(g)(1)(ix) establishes an emission limitation for a combustion
unit with a selective non-catalytic reduction (SNCR) system as follows:

      (ix) For a combustion unit with a selective non-catalytic reduction system, the selective
   non-catalytic reduction system shall be operated with the injection of reagents including
   ammonia or other NOx-reducing agents, when the temperature at the area of the reagent
   injection is equal to or greater than 1600oF.




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Circulating fluidized bed (CFB) combustion units are typically controlled by SNCR systems. In
Pennsylvania, most CFB combustion units burn coal refuse such as anthracite culm and
bituminous gob. Due to significant variability in coal refuse and design of combustion units, the
NOx emissions from these units are widely varied. NOx emissions from certain combustion units
not equipped with any SNCR system are comparable to NOx emissions from other units
equipped with and operating SNCR systems. Upon reevaluation of the NOx emission data from
CFB boilers, the Department concluded that a NOx emission limit of 0.16 lb/MMBtu is
achievable. The owner and operator of a CFB combustion unit subject to § 129.97(g)(1)(vi)(A)
shall achieve the emission limitation of 0.16 lb/MMBtu NOx emission level at all times and
additionally, if the combustion unit is equipped with SNCR, the SNCR must be in operation with
the injection of reagents including ammonia or other NOx-reducing agents, when the temperature
at the area of the reagent injection is 1600°F or greater.

The NOx emission limit for CFBs has been lowered from the proposed 0.20 lb NOx/million Btu
heat input to 0.16 lb NOx/million Btu heat input in final-form § 129.97(g)(1)(vi)(A) as follows:

    (g) The owner and operator of a NOx air contamination source specified in this subsection,
   which is located at a major NOx emitting facility or a VOC air contamination source
   specified in this subsection, which is located at a major VOC emitting facility subject to §
   129.96 may not cause, allow or permit NOx or VOCs to be emitted from the air
   contamination source in excess of the applicable presumptive RACT emission limitation:

    (1) A combustion unit or process heater:
   …
      (vi) For a coal-fired combustion unit with a rated heat input equal to or greater than 250
   million Btu/hour that is:

        (A) A circulating fluidized bed combustion unit, 0.16 lb NOx/million Btu heat input.
   …

The Department further believes that continuous operation of existing SCR and SNCR control
technology installed on the combustion units subject to final-form §§ 129.97(g)(1)(vi)(A),
129.97(g)(1)(viii) and 129.97(g)(1)(ix) cannot be required, due to changing market conditions
and deployment of electric generating capacity. The onset of lower natural gas prices and
additional regulatory obligations has spurred an industry-wide shift in the operation of coal-fired
electric generating units (EGUs) from high capacity factor base load operation to variable modes
of operation. Variable modes of operation include load following and minimum load operations.
The increase in time spent in variable modes of operation rather than in high capacity factor base
load operation is reflected in recent monthly coal-fired generation data. Because of potential
increased operation of lower cost natural gas-fired EGUs, the deployment of renewable sources
of electric generation and the availability of increased nuclear electric-generating capacity
following the adoption of the EPA’s Clean Power Plan, coal-fired plants are increasingly likely
over the next several years to be operated only to provide load balancing electric generation. It is
also very difficult to compare future operation of coal-fired EGUs with recent historical
operations because the coal that is currently being burned possesses different characteristics than
the coal that was burned in the prior years. Therefore, due to the design limitations of the SCR

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and SNCR control technology and the minimum operating temperatures required for efficient
operation and optimized NOx emission reduction, operation of the existing SCR and SNCR
controls below the minimum designed temperature cannot be required in the final rulemaking.

91. Comment: The proposed rulemaking fails to set strict NOx emission limits for coal-fired
EGUs. SCR can reduce NOx emissions to as low as 0.05 lb/MMBtu. The RACT limit should be
0.05 lb/MMBTU NOx. (103, 116)

Response: The Department disagrees that the presumptive RACT emission limitation for coal-
fired EGUs should be established at 0.05 lb NOx/MMBtu in the final-form regulation. There are
specific operating conditions that may allow SCR to achieve NOx emissions as low as 0.05 lb
NOx/MMBtu on a very limited basis, but typical operating conditions for combustion units in
Pennsylvania are not conducive to a presumptive RACT emission limitation of 0.05 lb
NOx/MMBtu. The final-form regulation sets forth emission limitations for NOx or VOCs that
are achievable using technologies that are reasonably available. The emission limitations and
requirements set forth in this final-form regulation will reduce emissions of ozone precursors.
Please also see the Response to Comment 90.

92. Comment: In developing a State-wide rule, the EQB should consider worst-case costs,
including the cost of installing SCRs since not all units in the state currently have SCRs. The
EQB should finalize its proposed limit of 0.40 lb NOx/MMBtu for large units (over 250 MMBtu
/hr). (131)

Response: The Department acknowledges that not all combustion units in the state are equipped
with SCR control technology. The Department considered the costs of installing control
technology as part of its evaluation of what constitutes reasonably available control technology
for the final rulemaking. Please also see the Response to Comment 90. The final-form
regulation limit in § 129.97(g)(1)(vi)(C) for any other type of coal-fired combustion unit with a
rated heat input equal to or greater than 250 million Btu/hour remains 0.40 lb NOx/MMBtu.

93. Comment: Coal-fired EGUs with existing SCR controls cannot continue to inject ammonia
into the catalyst bed at operating rates below 60-65% load, due to inadequate catalyst bed
temperatures needed to sustain the catalytic reaction for NOx control. By way of specific
example, a coal-fired EGU equipped with SCR may be able to achieve NOx emission rates
approaching 0.1 lb/MMBtu at full load conditions; however, the same unit operating at a load
below 65% will emit NOx at a rate closer to 0.3-0.35 lb/MMBtu. (125)

Response: The Department acknowledges that coal-fired EGU flue gas temperature is directly
affected by boiler load. EGU flue gas temperatures must be at or above a minimum operating
temperature to allow for the injection of ammonia since adequate catalyst bed temperatures are
needed to sustain the catalytic reaction for NOx control. The injection of ammonia below a
minimum operating temperature would not achieve the required levels of NOx emissions
reduction and would likely create excessive ammonia “slip.” Please also see the Response to
Comment 90.



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130. Comment: Utilities should not be allowed to average their NOx emissions over their entire
fleet of power plants in addition to allowing them to average these emissions over 30 days rather
than the 1-hour or 8-hour standards. Peaking units should not be allowed to average their NOx
emissions over 30 days rather than 24 hours or less. (1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 15, 16, 17,
18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 29, 30, 31, 33, 34, 35, 36, 37, 38, 39, 40, 41, 42, 43, 44,
45, 46, 47, 48, 49, 50, 51, 52, 53, 54, 56, 58, 59, 60, 61, 62, 63, 65, 66, 70, 71, 72, 73, 74, 75, 76,
77, 78, 79, 80, 81, 82, 88, 90, 91, 95, 96, 98, 99, 100, 113, 116, 123, 133)

Response: The Department disagrees. A 30-day rolling averaging period is appropriate to
accommodate operation at varying load and operating conditions. The 30-day rolling averages
for combustion units are determined on an operating day basis by taking the total emissions
during each 30-day rolling period and dividing by the total heat input during the same 30-day
rolling period. Therefore, there is no difference in impact of the 30-day rolling average for
peaking units as compared to other units.

A 30-day rolling limit addresses problems that are faced by certain owners and operators,
including variability in fuel (such as in waste coal combustors), emission spikes during start-up
and shutdown of the emission source, and emissions during malfunctions. Due to these
unavoidable circumstances, which are not indicative of normal operation, it would not be
appropriate for the owners and operators of utilities using NOx CEMS to monitor the emissions
from the source to be required to show compliance with the presumptive NOx RACT emission
limitations over a 1-hour or 8-hour averaging period. The 30-day rolling average will require
that the owners and operators operate below the allowable standard in order to account for the
occasional higher emissions. A 30-day rolling average has been approved by the EPA to
demonstrate compliance with the short-term RACT limitations in SIP revisions submitted by
certain states including Wisconsin and New York. Wisconsin’s RACT regulations include
emissions averaging on a 30-day rolling basis for determining compliance. Wisconsin described
such a period as short term and noted that this approach would allow averaging of the typical
variations in emission levels from a single unit. See 75 FR 64155 (October 19, 2010) for
Wisconsin; 78 FR 41846 (July 12, 2013) for New York.

In a recent court decision from the 9th Circuit Court of Appeals, the court stated in Nat'l Parks
Conservation Ass'n v. EPA, No. 12-73710 (9th Cir. 2015) that, “EPA also properly set emissions
limits for Corette [a coal-fired power plant] on a 30-day rolling average. EPA’s reasoned
disagreement on this topic with PPL Montana’s comment reflects its conclusion on a highly
scientific question—the variance in emissions calculations that occurs when annualized rates are
translated into thirty-day rolling averages—precisely the kind of question justifying deference to
EPA’s discretion. See Nat’l Wildlife Fed’n v. U.S. Army Corps of Eng’rs, 384 F.3d 1163, 1177–
78 (9th Cir. 2004).” Similarly, the Department is setting a 30-day rolling average in order to
accommodate variances in hourly or daily emission calculations. With these variances
accommodated, the Department is able to set emission limitations at a lower level.

Additionally, the EPA supports the use of area-wide emissions averaging in the preamble to the
final rule for Implementation of the 2008 National Ambient Air Quality Standards for Ozone:
State Implementation Plan Requirements. See 80 FR 12264, 12280 (March 6, 2015). The EPA
states on page 12280 that: “The EPA’s existing policy recognizes that states can meet NOx

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RACT requirements by submitting as part of their NOx RACT SIP submittal a demonstration that
the weighted average NOx emission rate from sources in the nonattainment area subject to RACT
achieves RACT-level reductions.” The EPA also states, “Consistent with previous guidance, the
EPA continues to believe that RACT can be met on average by a group of sources within a
nonattainment area rather than at each individual source. Therefore, states can show that SIP
provisions for these sources meet the ozone RACT requirement using the averaging approach.”
The emissions averaging provision set forth in § 129.98 is consistent with the EPA’s final rule
for Implementation of the 2008 National Ambient Air Quality Standards for Ozone: State
Implementation Plan Requirements.

131. Comment: Emissions averaging is guaranteed to create “hot-spotting” somewhere in PA.
(116)

Response: The Department disagrees that emissions averaging will create “hot-spotting.” The
system-wide averaging provision set forth in § 129.98(a) has been revised from proposed to final
rulemaking as follows: “System-wide emissions averaging must be among sources under
common control of the same owner or operator within the same ozone nonattainment area
[emphasis added] in this Commonwealth.” This clarification should assure that the emissions
averaging occurs among units under common control in the same ozone nonattainment area.

Additionally, the EPA supports the use of area-wide emissions averaging in the preamble to the
final rule for Implementation of the 2008 National Ambient Air Quality Standards for Ozone:
State Implementation Plan Requirements. See 80 FR 12264, 12280 (March 6, 2015). The EPA
states on page 12280 that: “The EPA’s existing policy recognizes that states can meet NOx
RACT requirements by submitting as part of their NOx RACT SIP submittal a demonstration that
the weighted average NOx emission rate from sources in the nonattainment area subject to RACT
achieves RACT-level reductions.” The EPA also states, “Consistent with previous guidance, the
EPA continues to believe that RACT can be met on average by a group of sources within a
nonattainment area rather than at each individual source. Therefore, states can show that SIP
provisions for these sources meet the ozone RACT requirement using the averaging approach.”
The emissions averaging provision set forth in § 129.98 is consistent with the EPA’s final rule
for Implementation of the 2008 National Ambient Air Quality Standards for Ozone: State
Implementation Plan Requirements. As a result, the concern related to “hot-spotting” is
minimized.

132. Comment: Individual sources should be required to provide accurate - not averaged
emission levels. (55)

Response: Subsection 129.100(a) has been revised in the final-form regulation to set forth
comprehensive requirements for measuring compliance with established emissions limitations.
For the demonstration of compliance with the emissions averaging plan, the owner or operator of
affected sources is required to include actual emissions from individual sources. In addition, the
owner or operator is required to provide actual emissions from each source to the Department’s
emission inventory. This information is publicly available.




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Clean Air Act Amendments.” See 80 FR 12282. With a January 1, 2017, RACT
implementation deadline, the 6-months deadline for the submittal of alternatives to the
presumptive RACT requirements and limitations is reasonable.

The Department agrees with the commentators that the compliance deadline for an approved
alternative RACT should be submitted with the RACT proposal and included this requirement in
proposed § 129.99(d)(4). Section 129.99(i)(2)(v) has been revised in the final-form regulation to
specify that the written petition include a proposed final compliance date that is as soon as
possible but not later than 3 years after the approval of the petition. If the petition is for the
replacement of an existing source, the final compliance date will be determined on a case-by-
case basis.

183. Comment: The case-by-case RACT proposal submittal date should be 1 year, not 6
months. (121)

Response: The Department disagrees with the commentator that applicants should have 1 year
after the effective date of the final rulemaking to submit an alternative RACT proposal. The
case-by-case RACT proposals for the existing RACT requirements set forth in § 129.91 were
required to be submitted by the affected owners and operators by July 15, 1994, which was 6
months after the effective date of § 129.91. See 24 Pa.B. 467 (January 15, 1994). The 6-month
time frame set forth in final-form § 129.99(d)(1) for the submission of alternative RACT
proposals is consistent with existing Department regulations. RACT must be implemented by
January 1, 2017, for the 2008 ozone NAAQS. See 80 FR 12282.

184. Comment: Modify § 129.100(e) and (f) to both start as follows: “Beginning with the
compliance date specified in § 129.97(a)...” The requested changes would allow source owners
or operators subject to one or more presumptive NOx RACT limits to eliminate their applicability
to those limits by becoming a minor source of NOx and/or VOC emissions. (129)

Response: The Department agrees. Subsections 129.100(e) and (f) have been revised consistent
with the commentator’s recommendation.

      § 129.100(d) - § 129.100(i). Recordkeeping

185. Comment: Section 129.100 contains compliance demonstration and recordkeeping
requirements for sources subject to part or all of this proposed rulemaking. However, there
doesn't seem to be any direction for a source only subject to work practice standards (such as the
vague good engineering practices requirement). What is their compliance demonstration
method? What records is a site required to keep in order to meet this requirement? (97, 134)

Response: Section 127.444 requires sources to operate in a manner consistent with good
operating practices. The owners and operators of sources subject to § 129.97 are already subject
to § 127.444. The Title V Operating Permit includes the appropriate recordkeeping and
reporting requirements to demonstrate compliance with all applicable requirements.




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It should be noted that the presumptive RACT requirements included in § 129.93 require the
installation, maintenance and operation of the source in accordance with manufacturer’s
specifications. This requirement has been implemented since 1995. In addition, the owner or
operator may opt to determine RACT requirements and emission limitations on a case-by-case
basis under § 129.99 in place of the presumptive RACT requirements and emission limitations
set forth in § 129.97.

186. Comment: Proposed § 129.100(g) requires the owner or operator of a combustion unit
with a rated heat input between 20 million Btu/hour and 50 million Btu/hour to record each
adjustment conducted under certain procedures in "a permanently-bound log book or other
method approved by the Department." This is outdated. DEP should leave it to the operator how
best to record the information. Allow for records to be maintained in any reasonable format,
including computerized records. (108, 122, 134)

Response: The Department agrees with the commentators. Subsection 129.100(b) has been
revised in the final-form regulation to specify that the owner or operator of a combustion unit
subject to § 129.97(b) shall record each adjustment conducted under the procedures in §
129.97(b). The final rulemaking does not specify how the records shall be maintained or in
what format—this approach allows affected owners or operators to use existing recordkeeping
requirements and procedures.

187. Comment: The commentator feels that carbon monoxide (CO) should not be included in
the log book. At a minimum the CO emissions requirement should be removed as CO is not part
of the proposed NOx and VOC RACT. (111, 112)

Response: The Department disagrees. The applicable requirements of paragraphs 129.97(b)(1)
and (2) have been clarified in the final-form regulation. The owner and operator of an affected
combustion unit which is located at a major NOx emitting facility or major VOC emitting facility
subject to § 129.96 shall comply with the applicable requirements in paragraph 129.97(b)(1) or
paragraph 129.97(b)(2). Paragraph 129.97(b)(1) has been revised in the final rulemaking to
remove the reference to the requirements in paragraph (2) and to specify that the applicable
requirement for the owner and operator of a combustion unit with a rated heat input equal to or
greater than 20 million Btu/hour and less than 50 million Btu/hour is a biennial tune-up
conducted in accordance with the procedures described in 40 CFR 63.11223. The biennial tune-
up performed to comply with paragraph 129.97(b)(1) must include, at a minimum, the
inspections set forth in subparagraphs 129.97(b)(1)(i)—(iii). The requirements codified under 40
CFR 63.11223 specify that CO emissions are to be included in the record. In addition, CO
emissions are recorded as a surrogate for VOC emissions.

Paragraph 129.97(b)(2) has been revised from proposed to final rulemaking to remove the
requirements that applied only to an oil-fired, a gas-fired or a combination oil-fired and gas-fired
combustion unit with a rated heat input equal to or greater than 20 million Btu/hour and less than
50 million Btu/hour. Additionally, the reference to the 1983 EPA document has been removed.
Final-form paragraph 129.97(b)(2) specifies that the owner or operator of a combustion unit with
an oxygen trim system that maintains an optimum air-to-fuel ratio that would otherwise be
subject to a biennial tune-up shall conduct a tune-up of the boiler one time in each 5-year

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NOx emitting facility subject to § 129.96 shall propose a NOx RACT requirement or RACT
emission limitation in accordance with subsection (d).

198. Comment: The commentators recommend that the Department further outline the case-by-
case process, as well as update and define dollar-per-ton cost thresholds against which case-by-
case RACT petitions will be required to rank technology options. DEP provided similar detail in
the first RACT implementation program in 1994 and, for example, could include implementation
guidance and a reference to the updated EPA cost manual. (84, 105, 121)

Response: The Department did not establish a bright-line cost-effectiveness threshold to
determine RACT-level control for proposed §§ 129.96—129.100. For the determination of
presumptive NOx RACT emission limitations, DEP generally used a NOx emission cost-
effectiveness upper-bound of $2,800 per ton NOx controlled. However, the cost-effectiveness
thresholds used for presumptive RACT emission limitations may not be appropriate for case-by-
case determinations. Prior to the implementation of the final-form RACT regulation, the
Department may prepare additional guidance (e.g. fact sheets, frequently asked questions sheets,
etc.) for alternative RACT proposals and petitions for alternative compliance schedule, if
necessary.

The procedures for applying for an alternative RACT proposal (case-by-case) and for submitting
a petition for alternative compliance schedule are set forth in § 129.99.

199. Comment: The proposed rulemaking should not impose the costs of the SIP amendment
process on the owners and operators of sources for which the EPA is not setting presumptive
RACT requirements. It is not appropriate to require an owner/operator to bear the costs of public
hearings and notifications for case-by-case proposals. (102, 110)

Response: The Department disagrees. The Department established presumptive RACT
requirements and RACT emission limitations in the proposed rulemaking for several different
source categories with a large number of emission units. These presumptive RACT requirements
and RACT emission limitations are set forth to meet the Commonwealth’s obligations under the
APCA, the CAA and regulations issued under the CAA to attain and maintain the ozone
NAAQS. The ozone NAAQS are annual standards set by the EPA to protect public health and
welfare year-round. While the EPA is not directly setting the presumptive RACT requirements
and RACT emission limitations set forth in the proposed rulemaking, the final rulemaking
provisions will be submitted to the EPA as a revision to the Commonwealth’s SIP upon final-
form publication in the Pennsylvania Bulletin. Upon approval by the EPA as a revision to the
Commonwealth’s SIP, the presumptive RACT requirements and RACT emission limitations will
become Federally-enforceable elements of the SIP. An affected owner and operator of a source
that cannot meet the applicable presumptive RACT requirement or RACT emission limitation in
§ 129.97 may propose an alternative RACT requirement or emission limitation under § 129.99(a)
in accordance with § 129.99(d). The affected owner and operator of a source subject to §
129.99(b) or (c) shall propose an alternative RACT requirement or RACT emission limitation in
accordance with § 129.99(d). Consistent with the case-by-case process established under §§
129.91—129.95 and the publication requirement set forth in § 129.91(h), the owner and operator


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 Title 25—ENVIRONMENTAL                                           D. Background and Summary
                                                                     The EPA is required under section 109 of the CAA (42
         PROTECTION                                               U.S.C.A. § 7409) to set National Ambient Air Quality
                                                                  Standards (NAAQS) for six criteria pollutants, of which
       ENVIRONMENTAL QUALITY BOARD                                ground-level ozone is one. The NAAQS are established by
                                                                  the EPA as the maximum concentrations in the ambient
        [ 25 PA. CODE CHS. 121 AND 129 ]                          atmosphere for specific air contaminants to protect public
Additional RACT Requirements for Major Sources                    health and welfare.
 of NOx and VOCs                                                     Ozone is a highly reactive gas which at sufficient
                                                                  concentrations can produce a wide variety of harmful
  The Environmental Quality Board (Board) amends                  effects. At elevated concentrations, ground-level ozone can
Chapters 121 and 129 (relating to general provisions; and         adversely affect human health, vegetation, materials,
standards for sources) to read as set forth in Annex A.           economic values, and personal comfort and well-being. It
The final-form rulemaking amends Chapter 129 to adopt             can cause damage to important food crops, forests, live-
presumptive reasonably available control technology               stock and wildlife. Repeated exposure to ozone pollution
(RACT) requirements and RACT emission limitations for             may cause a variety of adverse health effects for healthy
certain major stationary sources of oxides of nitrogen            people and those with existing conditions including diffi-
(NOx) and volatile organic compound (VOC) emissions.              culty breathing, chest pains, coughing, nausea, throat
The final-form rulemaking also provides for a petition            irritation and congestion. It can worsen bronchitis, heart
process for an alternative compliance schedule, a facility-       disease, emphysema and asthma, and reduce lung capac-
wide or system-wide NOx emissions averaging plan provi-           ity. Asthma is a significant and growing threat to children
sion, an alternative RACT proposal petition process, and          and adults. High levels of ground-level ozone also affect
compliance demonstration and recordkeeping require-               animals in ways similar to humans.
ments.                                                               The EPA promulgated primary and secondary NAAQS
   The final-form rulemaking also amends § 121.1 (relat-          for photochemical oxidants under section 109 of the CAA
ing to definitions) to revise or add terms to support the         at 36 FR 8186 (April 30, 1971). These were set at an
final-form amendments to Chapter 129.                             hourly average of 0.08 parts per million (ppm) total
                                                                  photochemical oxidants not to be exceeded more than 1
 This order was adopted by the Board at its meeting of            hour per year. The EPA announced a revision to the
November 17, 2015.                                                then-current 1-hour standard at 44 FR 8202 (February 8,
A. Effective Date                                                 1979). The EPA final rule revised the level of the primary
                                                                  1-hour ozone standard from 0.08 ppm to 0.12 ppm and set
  This final-form rulemaking will be effective upon publi-        the secondary standard identical to the primary standard.
cation in the Pennsylvania Bulletin.                              This revised 1-hour standard was subsequently reaf-
                                                                  firmed at 58 FR 13008 (March 9, 1993).
  This final-form rulemaking will be submitted to the
United States Environmental Protection Agency (EPA) for              Section 110 of the CAA (42 U.S.C.A. § 7410) gives
approval as a revision to the Commonwealth’s State                states primary responsibility for achieving the NAAQS.
Implementation Plan (SIP) upon publication.                       The principal mechanism at the state level for complying
                                                                  with the CAA is the SIP. A SIP includes the regulatory
B. Contact Persons                                                programs, actions and commitments a state will carry out
                                                                  to implement its responsibilities under the CAA. Once
   For further information, contact Kirit Dalal, Chief,
                                                                  approved by the EPA, a SIP is legally enforceable under
Division of Air Resource Management, Bureau of Air
                                                                  both Federal and state law.
Quality, 12th Floor, Rachel Carson State Office Building,
P. O. Box 8468, Harrisburg, PA 17105-8468, (717) 772-               Section 182 of the CAA (42 U.S.C.A. § 7511a) requires
3436; or Robert ‘‘Bo’’ Reiley, Assistant Director, Bureau of      that, for areas that exceed the NAAQS for ozone, states
Regulatory Counsel, 9th Floor, Rachel Carson State Office         shall develop and implement a program that mandates
Building, P. O. Box 8464, Harrisburg, PA 17105-8464,              that certain major stationary sources develop and imple-
(717) 787-7060. Persons with a disability may use the             ment a RACT program. RACT is defined as the lowest
Pennsylvania AT&T Relay Service, (800) 654-5984 (TDD              emissions limitation that a particular source is capable of
users) or (800) 654-5988 (voice users). This final-form           meeting by the application of control technology that is
rulemaking is available on the Department of Environ-             reasonably available considering technological and eco-
mental Protection’s (Department) web site at www.dep.             nomic feasibility. See 44 FR 53762 (September 17, 1979).
pa.gov (select ‘‘Public Participation,’’ then ‘‘Environmental       Under section 182(f)(1) of the CAA and section 184(b)(2)
Quality Board (EQB)’’).                                           of the CAA (42 U.S.C.A. § 7511c(b)(2)), these RACT
C. Statutory Authority                                            requirements are applicable to all sources in this Com-
                                                                  monwealth that emit or have a potential to emit greater
  This final-form rulemaking is authorized under section          than 100 tons per year (tpy) of NOx. Under sections
5(a)(1) of the Air Pollution Control Act (act) (35 P.S.           182(b)(2) and 184(b)(2) of the CAA, these RACT require-
§ 4005(a)(1)), which grants the Board the authority to            ments are applicable to all sources in this Commonwealth
adopt rules and regulations for the prevention, control,          that emit or have a potential to emit greater than 50 tpy
reduction and abatement of air pollution in this Common-          of VOCs. NOx and VOC controls are required Statewide
wealth, and section 5(a)(8) of the act, which grants the          because of the Commonwealth’s inclusion in the North-
Board the authority to adopt rules and regulations de-            east Ozone Transport Region. See section 184(a) of the
signed to implement the Clean Air Act (CAA) (42 U.S.C.A.          CAA. Additionally, because the five-county Philadelphia
§§ 7401—7671q).                                                   area was designated as severe ozone nonattainment for
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the 1-hour standard, sources of greater than 25 tpy of             The Commonwealth submitted a SIP revision in Sep-
either pollutant are required to implement RACT under           tember 2006 certifying that RACT determinations made
section 182(d) of the CAA. The Commonwealth’s RACT              for the 1-hour ozone standard from 1995 to 2006 under
regulations in §§ 129.91—129.95 (relating to stationary         §§ 129.91—129.95 were still RACT for the 8-hour stan-
sources of NOx and VOCs) were implemented for the               dard, including for those sources where a determination
1-hour ozone standard. These regulations became effec-          was made that ‘‘no controls’’ continued to represent RACT
tive January 15, 1994.                                          for the 1-hour ozone standard. However, the EPA infor-
                                                                mally indicated to the Department that based on NRDC
   The EPA concluded that revisions to the current pri-         v. EPA, 571 F.3d 1245 (July 10, 2009), a reanalysis rather
mary standard to provide increased public health protec-        than certification is necessary for sources for which the
tion were appropriate at this time to protect public health     Department previously determined that ‘‘no controls’’
with an adequate margin of safety. See 62 FR 38856 (July        represented RACT for the 1-hour ozone standard.
18, 1997). Further, the EPA determined that it was
appropriate to promulgate primary and secondary ozone             As a result of the EPA’s decision, the Department
standards at a level of 0.08 ppm averaged over 8 hours.         conducted a generic RACT analysis of those existing
See 62 FR 38856. The EPA lowered the 8-hour standard            sources for which a RACT determination was previously
from 0.08 ppm to 0.075 ppm at 73 FR 16436 (March 27,            made under §§ 129.91—129.95 for the 1-hour ozone
2008).                                                          standard to evaluate whether the RACT determination
                                                                under §§ 129.91—129.95 would represent RACT-level
   The EPA designated 37 counties in this Commonwealth          control for the 8-hour ozone standards or if new or
as 8-hour ozone nonattainment areas for the 1997 8-hour         additional add-on control technology would represent
ozone NAAQS at 69 FR 23858, 23931 (April 30, 2004).             RACT-level control for the 8-hour ozone NAAQS. That
The EPA published final designations and classifications        generic analysis identified existing affected source catego-
for the 2008 8-hour ozone standards at 77 FR 30088 (May         ries by size and fuel type; identified available feasible
21, 2012) with an effective date of July 20, 2012. The          NOx or VOC control options for each type of existing
following nonattainment areas were classified as ‘‘mar-         source; estimated emission reduction potential for each
ginal’’ ozone nonattainment areas: Allentown-Bethlehem-         control technology; identified costs for technologies, using
Easton (Carbon, Lehigh and Northampton Counties);               appropriate updates; evaluated cost-effectiveness per EPA
Lancaster (Lancaster County), Philadelphia-Wilmington-          guidance for uncontrolled and controlled sources (combi-
Atlantic City (the Pennsylvania areas include Bucks,            nations of technologies); and projected what type of
Chester, Delaware, Montgomery and Philadelphia Coun-            control technology might be applied to each affected
ties); Pittsburgh-Beaver Valley (Allegheny, Armstrong,          source. The Department evaluated technically feasible
Beaver, Butler, Fayette, Washington and Westmoreland            emission controls for cost-effectiveness and economic fea-
Counties); and the Reading area (Berks County); the             sibility. Based on this analysis, the Board determined
remainder of this Commonwealth was designated                   that additional cost-effective controls represent RACT for
‘‘Unclassifiable/Attainment.’’ See 77 FR 30088, 30142. The      the 8-hour ozone NAAQS. There are nine source catego-
Commonwealth must ensure that these areas attain the            ries that are affected by this final-form rulemaking:
2008 ozone standard by July 20, 2015, and that they             combustion units; boilers; process heaters; turbines; en-
continue to maintain the standard thereafter. The Depart-       gines; municipal solid waste landfills; municipal waste
ment will seek an extension of the July 2015 8-hour ozone       combustors; cement kilns; and other sources that are not
NAAQS attainment date for the five-county Philadelphia          regulated elsewhere under Chapter 129.
Area (Bucks, Chester, Delaware, Montgomery and Phila-
delphia Counties) due to several violating monitors in             All together, this final-form rulemaking affects the
Maryland and New Jersey, and for the seven-county               owners and operators of approximately 810 individual
Pittsburgh-Beaver Valley Area (Allegheny, Armstrong,            sources at 192 major facilities throughout this Common-
Beaver, Butler, Fayette, Washington and Westmoreland            wealth. Under this final-form rulemaking, the Board
Counties).                                                      anticipates that the total potential NOx emission reduc-
                                                                tions will be approximately 253,623 tpy. The amount of
  A re-evaluation of what measures constitute RACT is a         NOx and VOC emission reductions achieved as a result of
requirement to be fulfilled each time a NAAQS is promul-        the application of RACT-level control is determined on the
gated or revised, as happened in 1997 and 2008 for ozone.       basis of the source’s potential to emit before and after the
According to the EPA’s final rule to implement the 8-hour       application of RACT-level control.
ozone NAAQS published at 70 FR 71612 (November 29,
2005), areas classified as ‘‘moderate’’ nonattainment or          The Board determines that this final-form rulemaking
higher must submit a demonstration, as a revision to the        fulfills the requirements for re-evaluation of RACT-level
SIP, that their current rules fulfill 8-hour ozone RACT         control for the 1997 and 2008 ozone NAAQS and is less
requirements for all Control Techniques Guidelines (CTG)        resource intensive than imposing case-by-case analysis for
categories and all major, non-CTG sources.                      affected facilities in the covered categories, as was done
                                                                under §§ 129.91—129.95. As more fully discussed in
   According to this implementation rule, demonstrations        Section E of this preamble, the Board finalized a suite of
can be made with either a new RACT determination or a           compliance options. The owner and operator of an indi-
certification that previously-required RACT controls rep-       vidual affected source may demonstrate compliance for
resent RACT for the 8-hour ozone NAAQS. The certifica-          that source in one of three ways: first, with the applicable
tion should be accompanied by appropriate supporting            presumptive RACT requirement or emission limitation
information, such as consideration of information received      under § 129.97 (relating to presumptive RACT require-
during the public comment period. The RACT SIP revi-            ments, RACT emission limitations and petition for alter-
sion submittal is in addition to the 8-hour ozone attain-       native compliance schedule); second, either by participat-
ment demonstration plan for the area, which will also be        ing in the emissions averaging plan under § 129.98
a revision to the Commonwealth’s SIP. The RACT SIP              (relating to facility-wide or system-wide NOx emissions
revision was required to be submitted to the EPA by             averaging plan general requirements) or by submitting a
September 15, 2006.                                             request for an alternative case-by-case RACT determina-
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tion under § 129.99 (relating to alternative RACT pro-           § 129.96. Applicability
posal and petition for alternative compliance schedule).
                                                                    Under subsection (a), the NOx requirements of the
   The Board determines that the requirements under this         final-form rulemaking apply Statewide to the owner and
final-form rulemaking are reasonably necessary to attain         operator of a major NOx emitting facility and the VOC
and maintain the 8-hour ozone NAAQS.                             requirements apply Statewide to the owner and operator
                                                                 of a major VOC emitting facility that were in existence on
   The Air Quality Technical Advisory Committee                  or before July 20, 2012, for which a requirement or
(AQTAC) was briefed on the final-form rulemaking and             emission limitation, or both, has not been established in
public comments on November 7, 2014. The AQTAC                   §§ 129.51—129.52c, 129.54—129.69, 129.71—129.73,
recommended that the preamble to the final-form rule-            129.75, 129.77, 129.101—129.107 and 129.301—129.310.
making include the clarifications for the following sec-
tions: § 129.96(c) (relating to applicability) and                  Under subsection (b), the NOx requirements of the
§ 129.97(c)—applicability to sources emitting less than 1        final-form rulemaking apply Statewide to the owner and
ton; and § 129.100(a) (relating to compliance demonstra-         operator of a NOx emitting facility and the VOC require-
tion and recordkeeping requirements)—calculations for            ments apply Statewide to the owner and operator of a
the 30-day rolling average. Following its discussion on          VOC emitting facility when the installation of a new
November 7, 2014, the AQTAC voted 11-5-0 (yes; no;               source or a modification or change in operation of an
abstain) to concur with the Department’s recommendation          existing source after July 20, 2012, results in the source
to move the final-form rulemaking forward to the Board           or facility meeting the definition of a major NOx emitting
for consideration. The draft final-form rulemaking was           facility or a major VOC emitting facility and for which a
discussed with the Small Business Compliance Advisory            requirement or an emission limitation, or both, has not
Committee (SBCAC) on January 28, 2015. The SBCAC                 been established in §§ 129.51—129.52c, 129.54—129.69,
voted 6-2-0 to concur with the Department’s recommenda-          129.71—129.73, 129.75, 129.77, 129.101—129.107 and
tion to forward the final-form rulemaking to the Board.          129.301—129.310.
The final-form rulemaking was discussed with the Citi-             Under subsections (a) and (b), the final-form rule-
zens Advisory Council (CAC), Policy and Regulatory Over-         making was clarified to ensure that it applies Statewide
sight Committee on February 20, 2015, and May 12,                to the owner and operator of a major NOx emitting
2015. The Policy and Regulatory Oversight Committee              facility or a major VOC emitting facility that was in
recommended that the CAC concur with the Department’s            existence on or before July 20, 2012. That is, the NOx
recommendation to move the final-form rulemaking for-            requirements apply Statewide to the owner and operator
ward to the Board. However, the CAC tabled consider-             of a major NOx emitting facility and the VOC require-
ation of the final-form rulemaking at its March 17, 2015,        ments apply Statewide to the owner and operator of a
and May 20, 2015, meetings. The CAC considered the               major VOC emitting facility.
final-form rulemaking at its September 15, 2015, meeting.
The CAC raised several concerns and recommendations                Subsection (c) was added to provide that the require-
that were considered by the Department. The CAC                  ments do not apply to the owner and operator of a NOx
supported the adoption of the final-form rulemaking and          air contamination source located at a major NOx emitting
unanimously voted to concur with advancing it to the             facility that has the potential to emit less than 1 tpy of
Board for action.                                                NOx or of a VOC air contamination source located at a
                                                                 major VOC emitting facility that has the potential to emit
E. Summary of Final-Form Rulemaking and Changes                  less than 1 tpy of VOC. This change addresses one of the
  from Proposed to Final-Form Rulemaking                         concerns raised by the AQTAC at its November 7, 2014,
                                                                 meeting.
§ 121.1. Definitions
                                                                  Subsection (d) was added to provide that the require-
   The final-form rulemaking amends § 121.1 by revising          ments do not apply to the owner and operator of a facility
the terms ‘‘CEMS—continuous emissions monitoring sys-            which is not a major NOx emitting facility or a major
tem,’’ ‘‘major NOx emitting facility,’’ ‘‘major VOC emitting     VOC emitting facility on or before January 1, 2017.
facility’’ and ‘‘stationary internal combustion engine or
stationary reciprocating internal combustion engine’’ and        § 129.97. Presumptive RACT requirements, RACT emis-
by adding the terms ‘‘process heater,’’ ‘‘refinery gas,’’          sion limitations and petition for alternative compliance
‘‘regenerative cycle combustion turbine,’’ ‘‘simple cycle          schedule
combustion turbine’’ and ‘‘stationary combustion turbine.’’        Under subsection (a), the owner and operator of a
   The final-form rulemaking made clarifying changes to          source listed in one or more of subsections (b)—(h) located
‘‘CEMS—continuous emissions monitoring system’’ and              at a major NOx emitting facility or major VOC emitting
‘‘stationary internal combustion engine or stationary re-        facility subject to § 129.96 shall comply with the appli-
ciprocating internal combustion engine.’’                        cable presumptive RACT requirement or RACT emission
                                                                 limitation beginning with the specified compliance date,
   In addition, under the final-form rulemaking the defini-      unless an alternative compliance schedule is submitted
tions of ‘‘major NOx emitting facility’’ and ‘‘major VOC         and approved under subsections (k)—(m) or § 129.99.
emitting facility’’ are amended. The 25 tpy major source           Under subsection (b), the owner and operator of a listed
NOx and VOC thresholds do not apply in Bucks, Chester,           combustion unit that is located at a major NOx emitting
Delaware, Montgomery and Philadelphia Counties for               facility or major VOC emitting facility subject to § 129.96
sources that would be subject to §§ 129.96—129.100. For          shall comply with the applicable presumptive RACT
the purposes of this final-form rulemaking, the 100-tpy          requirement for that source, which includes, among other
threshold applies for major NOx emitting sources and the         things, inspection and adjustment requirements.
50-tpy threshold applies for major VOC emitting sources
in those counties. However, the existing 25-tpy major               The applicable requirements of paragraphs (1) and (2)
source NOx and VOC thresholds continue to apply to               have been clarified in the final-form rulemaking. The
RACT sources subject to §§ 129.91—129.95 in those                owner and operator of an affected combustion unit which
counties.                                                        is located at a major NOx emitting facility or major VOC
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emitting facility subject to § 129.96 shall comply with the       comply with the presumptive RACT requirement of 180
applicable requirements in paragraph (1) or (2).                  parts per million, volumetric dry (ppmvd) NOx @ 7%
                                                                  oxygen.
  Paragraph (1) has been amended to delete the reference
to the requirements in paragraph (2) and to specify that            Under subsection (f), the applicable requirement for a
the applicable requirement for the owner and operator of          municipal waste combustor was revised from the pro-
a combustion unit with a rated heat input equal to or             posed requirement of the applicable Federal standards to
greater than 20 million British thermal units (Btu)/hour          the final-form rulemaking requirement of 180 ppmvd NOx
and less than 50 million Btu/hour is a biennial tune-up           @ 7% oxygen.
conducted in accordance with the procedures described in             Under subsection (g), except as specified under subsec-
40 CFR 63.11223 (relating to how do I demonstrate                 tion (c), the owner and operator of a NOx air contamina-
continuous compliance with the work practice and man-             tion source listed in this subsection located at a major
agement practice standards). The biennial tune-up per-            NOx emitting facility or of a VOC air contamination
formed to comply with this paragraph must include, at a           source listed in this subsection located at a major VOC
minimum, the inspections in subparagraphs (i)—(iii).              emitting facility subject to § 129.96 may not cause, allow
   Paragraph (2) has been amended to delete the require-          or permit NOx or VOCs to be emitted from the air
ments that applied only to an oil-fired, a gas-fired or a         contamination source in excess of the applicable presump-
combination oil-fired and gas-fired combustion unit with a        tive RACT emission limitation under paragraphs (1)—(4).
rated heat input equal to or greater than 20 million                Under subsection (g), a number of minor clarifications
Btu/hour and less than 50 million Btu/hour. Additionally,         were made regarding grammar and the types of fuels
the reference to the 1983 EPA document has been deleted.          used with certain air contamination sources.
Paragraph (2) specifies that the owner or operator of a
combustion unit with an oxygen trim system that main-                In addition to these clarifications, a number of substan-
tains an optimum air-to-fuel ratio that would otherwise           tive changes were made to the RACT limitations under
be subject to a biennial tune-up shall conduct a tune-up          subsection (g) between proposed and final-form rule-
of the boiler one time in each 5-year calendar period. The        making.
tune-up performed to comply with this paragraph must                 For instance, under subsection (g)(1)(i), the presump-
include, at a minimum, the inspections in subparagraphs           tive RACT emission limitation for natural gas-fired com-
(i)—(iii).                                                        bustion units or process heaters with a rated heat input
   Under subsection (c), the owner and operator of a              equal to or greater than 50 million Btu/hour was changed
source listed in this subsection located at a major NOx           from 0.08 to 0.10 lb NOx/million Btu heat rate.
emitting facility or major VOC emitting facility subject to         Under subsection (g)(1)(vi)(A), the presumptive RACT
§ 129.96 shall comply with the applicable presumptive             emission limitation for a circulating fluidized bed (CFB)
RACT requirement, which includes, among other things,             combustion unit was changed from 0.20 to 0.16 lb NOx/
the operation of the source in accordance with the                million Btu heat input.
manufacturer’s specifications and good operating prac-
tices.                                                              Under subsection (g)(2)(i)(B) and (D), the presumptive
                                                                  RACT emission limitation for certain combustion units
   In subsection (c), ‘‘good engineering practices’’ has been     when firing fuel oil was changed from 75 to 96 ppmvd
amended to ‘‘good operating practices’’ and air contamina-        NOx @ 15% oxygen and from 2 to 9 ppmvd VOC (as
tion sources that have the potential to emit less than 5          propane) @ 15% oxygen, respectively.
tpy of NOx or the potential to emit less than 2.7 tpy of
VOC have been added to the list of sources for which the             Under subsection (g)(2)(i)(C), the presumptive RACT
owner and operator shall install, maintain and operate in         emission limitation for certain combustion units when
accordance with the manufacturer’s specifications and             firing natural gas or noncommercial gaseous fuel was
with good operating practices. Additionally, language re-         changed from 2 to 5 ppmvd VOC (as propane) @ 15%
garding the annual capacity factors that must be used for         oxygen.
certain units has been added.                                        Under final-form subsection (g)(2)(iv), proposed subsec-
  Under subsection (d), the owner and operator of a               tion (g)(2)(iii), the rated output for an affected simple
combustion unit or other combustion source located at a           cycle or regenerative cycle combustion turbine was in-
major VOC emitting facility subject to § 129.96 shall             creased from equal to or greater than 1,000 bhp to equal
install, maintain and operate the source in accordance            to or greater than 6,000 bhp. Furthermore, under subsec-
with the manufacturer’s specifications and with good              tion (g)(2)(iv)(B), the presumptive RACT emission limita-
operating practices for the control of the VOC emissions          tion for these turbines that burn fuel oil was changed
from the combustion unit or other combustion source.              from 75 to 96 ppmvd NOx @ 15% oxygen.

  Under subsection (d), ‘‘good engineering practices’’ has          Under subsection (g)(3)(i)(B), the presumptive RACT
been amended to ‘‘good operating practices’’ and clarifying       emission limitation for a lean burn stationary internal
changes were made to ensure that the owner and opera-             combustion engine with a rating equal to or greater than
tor of an affected VOC facility shall install, maintain and       500 bhp that burns natural gas or a noncommercial
operate the source in accordance with specified require-          gaseous fuel, liquid fuel or dual-fuel was revised from 0.4
ments.                                                            to 1.0 gram VOC/bhp-hr excluding formaldehyde.

  Under subsection (e), the owner and operator of a                 The following subparagraphs were added to subsection
municipal solid waste landfill subject to § 129.96 shall          (g)(1) in the final-form rulemaking: subparagraph (vii)—
comply with the applicable presumptive RACT require-              the presumptive RACT emission limitation for any other
ment identified under paragraph (1) or (2). No changes            type of solid fuel-fired combustion unit with a rated heat
were made from proposed to final-form rulemaking.                 input equal to or greater than 50 million Btu/hr is 0.25 lb
                                                                  NOx/million Btu heat input; subparagraph (viii)—the
 Under subsection (f), the owner and operator of a                presumptive RACT emission limitation for a coal-fired
municipal waste combustor subject to § 129.96 shall               combustion unit with a selective catalytic reduction (SCR)
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system operating with an inlet temperature equal to or          priate approved local air pollution control agency. Fur-
greater than 600°F is 0.12 lb NOx/million Btu heat input        ther, the approved petition shall be incorporated in an
and compliance with this limit is also required when            applicable operating permit or plan approval. The pro-
by-passing the SCR system; and subparagraph (ix)—the            posed rulemaking specified under paragraph (2)(v) that
presumptive RACT requirement for a coal-fired combus-           the proposed final compliance date be as soon as possible
tion unit with a selective noncatalytic reduction (SNCR)        but not later than the date 3 years after the effective date
system is that the SNCR system shall be operated with           of adoption of the proposed rulemaking.
the injection of reagents including ammonia or other               Under subsection (l), the Department or appropriate
NOx-reducing agents, when the temperature at the area           approved local air pollution control agency will review a
of the reagent injection is equal to or greater than            timely and complete written petition requesting an alter-
1,600°F.                                                        native compliance schedule submitted in accordance with
   Subsection (g)(2)(iii) was added in the final-form rule-     subsection (k) and approve or deny the petition in
making. A presumptive RACT emission limitation was              writing. No changes were made from proposed to final-
added for a simple cycle or regenerative cycle combustion       form rulemaking.
turbine with a rated output equal to or greater than               Under subsection (m), approval or denial under subsec-
1,000 bhp and less than 6,000 bhp: clause (A)—when              tion (l) of the timely and complete petition for an
firing natural gas or a noncommercial gaseous fuel is 150       alternative compliance schedule submitted under subsec-
ppmvd NOx @ 15% oxygen; clause (B)—when firing fuel             tion (k) will be effective on the date the letter of approval
oil is 150 ppmvd NOx @ 15% oxygen; clause (C)—when              or denial of the petition is signed by the authorized
firing natural gas or a noncommercial gaseous fuel is 9         representative of the Department or appropriate approved
ppmvd VOC (as propane) @ 15% oxygen; and clause                 local air pollution control agency. No changes were made
(D)—when firing fuel oil is 9 ppmvd VOC (as propane) @          from proposed to final-form rulemaking.
15% oxygen. Proposed subsection (g)(2)(iii) has been
renumbered as final-form subsection (g)(2)(iv).                 § 129.98. Facility-wide or system-wide NOx emissions av-
                                                                   eraging plan general requirements
   Under subsection (h), the owner and operator of a
                                                                   Under subsection (a), the owner or operator of a major
Portland cement kiln subject to § 129.96 shall comply
                                                                NOx emitting facility subject to § 129.96 that includes at
with the applicable presumptive RACT emission limita-
                                                                least one air contamination source subject to a NOx RACT
tion under paragraphs (1)—(3). No changes were made
                                                                emission limitation in § 129.97 that cannot meet the
from proposed to final-form rulemaking.
                                                                applicable NOx RACT emission limitation may elect to
  Under subsection (i), among other things, the require-        meet that applicable NOx RACT emission limitation in
ments and emission limitations of this section supersede        § 129.97 by averaging NOx emissions on either a facility-
the requirements and emission limitations of a RACT             wide or system-wide basis using a 30-day rolling average.
permit issued to the owner or operator of an air contami-       System-wide emissions averaging must be among sources
nation source subject to one or more of subsections             under common control of the same owner or operator
(b)—(h) prior to April 23, 2016, under §§ 129.91—129.95         within the same ozone nonattainment area in this Com-
to control, reduce or minimize NOx emissions or VOC             monwealth.
emissions, or both, from an air contamination source               Under proposed subsection (a), there was no require-
unless the permit contains more stringent requirements          ment that system-wide averaging be conducted within the
or emission limitations, or both. Minor clarifying changes      same ozone nonattainment area. The final-form rule-
were made from proposed to final-form rulemaking.               making requires that system-wide emissions averaging
  Under subsection (j), among other things, the require-        must be among sources under common control of the
ments and emission limitations of this section supersede        same owner or operator. The averaging must be con-
the requirements and emission limitations of                    ducted within the same ozone nonattainment area in this
§§ 129.201—129.205, 145.111—145.113 and 145.141—                Commonwealth. The Department interprets this provision
145.146 (relating to additional NOx requirements; emis-         to allow emissions averaging in areas designated as
sions of NOx from stationary internal combustion engines;       unclassifiable/attainment for the ozone NAAQS.
and emissions of NOx from cement manufacturing) unless             Under subsection (b), the owner or operator of each
the requirements or emission limitations of §§ 129.201—         facility that elects to comply with subsection (a) shall
129.205, §§ 145.111—145.113 or §§ 145.141—145.146 are           submit a written NOx emissions averaging plan to the
more stringent. Minor clarifying changes were made from         Department or appropriate approved local air pollution
proposed to final-form rulemaking.                              control agency as part of an application for an operating
  Under subsection (k), the owner or operator of a major        permit modification or a plan approval, if otherwise
NOx emitting facility or a major VOC emitting facility          required. The application incorporating the requirements
subject to § 129.96 that includes an air contamination          of this section shall be submitted by the applicable date
source subject to one or more of subsections (b)—(h) that       in paragraph (1) or (2). Only minor clarifying changes
cannot meet the applicable presumptive RACT require-            were made between proposed and final-form rulemaking.
ment or RACT emission limitation without installation of          Under subsection (c), each NOx air contamination
an air cleaning device may submit a petition, in writing,       source included in the application for an operating permit
requesting an alternative compliance schedule in accord-        modification or a plan approval, if otherwise required, for
ance with paragraphs (1) and (2).                               averaging NOx emissions on either a facility-wide or
                                                                system-wide basis using a 30-day rolling average submit-
  Minor clarifying changes were made to subsection (k)
                                                                ted under subsection (b) must be an air contamination
from proposed to final-form rulemaking. Additionally,
                                                                source subject to a NOx RACT emission limitation in
subsection (k)(2)(v) was revised from proposed to final-
                                                                § 129.97. Only minor clarifying changes were made be-
form rulemaking to specify that the written petition must
                                                                tween proposed and final-form rulemaking.
include a proposed final compliance date that is as soon
as possible but not later than 3 years after the written          Under subsection (d), the application for the operating
approval of the petition by the Department or the appro-        permit modification or the plan approval, if otherwise
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required, for averaging NOx emissions on either a facility-        Under subsection (k), the owner or operator of an air
wide or system-wide basis using a 30-day rolling average        contamination source or facility included in a facility-wide
submitted under subsection (b) must demonstrate that            or system-wide NOx emissions averaging plan submitted
the aggregate NOx emissions emitted by the air contami-         in accordance with subsections (b)—(h) that achieves
nation sources included in the facility-wide or system-         emission reductions in accordance with other emission
wide NOx emissions averaging plan using a 30-day rolling        limitations required under the act or the CAA, or regula-
average are not greater than the NOx emissions that             tions adopted under the act or the CAA, that are not NOx
would be emitted by the group of included sources if each       RACT emission limitations may not substitute those
source complied with the applicable NOx RACT emission           emission reductions for the emission reductions required
limitation in § 129.97 on a source-specific basis. The          by the facility-wide or system-wide NOx emissions averag-
proposed ‘‘not greater than 90% of the sum’’ provision was      ing plan submitted to the Department or appropriate
deleted from this final-form rulemaking.                        approved local air pollution control agency under subsec-
   Under subsection (e), the owner or operator shall            tion (b). Only minor clarifying changes were made be-
calculate the alternative facility-wide or system-wide NOx      tween proposed and final-form rulemaking.
RACT emissions limitation using a 30-day rolling average          Under subsection (l), the owner or operator of an air
for the air contamination sources included in the applica-      contamination source subject to a NOx RACT emission
tion for the operating permit modification or plan ap-          limitation in § 129.97 that is not included in a facility-
proval, if otherwise required, submitted under subsection       wide or system-wide NOx emissions averaging plan sub-
(b) by using the equation in this subsection to sum the         mitted under subsection (b) shall operate the source in
emissions for all of the sources included in the NOx            compliance with the applicable NOx RACT emission limi-
emissions averaging plan.                                       tation in § 129.97. Only minor clarifying changes were
   Under subsection (e), the equation used in the NOx           made between proposed and final-form rulemaking.
emissions averaging plan was modified. Emissions from
start-ups, shutdowns and malfunctions shall be included           Under subsection (m), the owner and operator of the air
as well as the most stringent numerical emission rate           contamination sources included in a facility-wide or
applicable to each air contamination source in the calcula-     system-wide NOx emissions averaging plan submitted
tions. The more stringent numerical emission rate limit         under subsection (b) shall be liable for a violation of an
will include a limit established in the CAA, the act,           applicable NOx RACT emission limitation at each source
regulations adopted under these acts, a plan approval,          included in the NOx emissions averaging plan. Only
operating permit, consent decree, consent order and             minor clarifying changes were made between proposed
agreement, Department order or the SIP.                         and final-form rulemaking.
   Under subsection (f), the application for the operating      § 129.99. Alternative RACT proposal and petition for
permit modification or a plan approval, if otherwise              alternative compliance schedule
required, specified in subsections (b)—(e) may include
                                                                  Under subsection (a), the owner or operator of an air
facility-wide or system-wide NOx emissions averaging
using a 30-day rolling average only for NOx emitting            contamination source subject to § 129.97 located at a
sources or NOx emitting facilities that are owned or            facility subject to § 129.96 that cannot meet the appli-
operated by the applicant. Only minor clarifying changes        cable presumptive RACT requirement or RACT emission
were made between proposed and final-form rulemaking.           limitation of § 129.97 may propose an alternative RACT
                                                                requirement or RACT emission limitation in accordance
   Under subsection (g), the application for the operating      with subsection (d). Only minor clarifying changes were
permit modification or a plan approval, if otherwise            made between proposed and final-form rulemaking.
required, specified in subsections (b)—(f) must include the
information identified under paragraphs (1)—(3). Only              Under subsection (b), the owner or operator of a NOx
minor clarifying changes were made between proposed             air contamination source with a potential emission rate
and final-form rulemaking.                                      equal to or greater than 5.0 tons of NOx per year that is
                                                                not subject to § 129.97 or §§ 129.201—129.205 located at
   Under subsection (h), an air contamination source or         a major NOx emitting facility subject to § 129.96 shall
facility included in the facility-wide or system-wide NOx       propose a NOx RACT requirement or RACT emission
emissions averaging plan submitted in accordance with
                                                                limitation in accordance with subsection (d). Only minor
subsections (b)—(g) may be included in only one facility-
                                                                clarifying changes were made between proposed and
wide or system-wide NOx emissions averaging plan. Only
                                                                final-form rulemaking.
minor clarifying changes were made between proposed
and final-form rulemaking.                                        Under subsection (c), the owner or operator of a VOC
   Under subsection (i), the Department or appropriate          air contamination source with a potential emission rate
approved local air pollution control agency will issue a        equal to or greater than 2.7 tons of VOC per year that is
modification to the operating permit or a plan approval         not subject to § 129.97 located at a major VOC emitting
authorizing the NOx emissions averaging plan. Only              facility subject to § 129.96 shall propose a VOC RACT
minor clarifying changes were made between proposed             requirement or RACT emission limitation in accordance
and final-form rulemaking.                                      with subsection (d). Only minor clarifying changes were
   Under subsection (j), the owner or operator of an air        made between proposed and final-form rulemaking.
contamination source or facility included in the facility-        Under subsection (d), the owner or operator proposing
wide or system-wide NOx emissions averaging plan sub-           an alternative RACT requirement or RACT emission
mitted in accordance with subsections (b)—(h) shall sub-        limitation under subsection (a), (b) or (c) shall comply
mit the reports and records in subsection (g)(3) to the         with all of the RACT proposal requirements specified
Department or appropriate approved local air pollution          under paragraphs (1)—(7).
control agency on the schedule specified in subsection
(g)(3) to demonstrate compliance with § 129.100. Only             Under subsection (d), the deadline for completing the
minor clarifying changes were made between proposed             implementation of the RACT requirement or limitation
and final-form rulemaking.                                      was changed between proposed and final-form rulemaking
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to not later than January 1, 2017, which is the Federal             Under subsection (k), the emission limit and require-
implementation requirement date for RACT for the 2008             ments specified in the plan approval or operating permit
8-hour ozone standard.                                            issued by the Department or appropriate approved local
   Under subsection (e), the Department or appropriate            air pollution control agency under subsection (j) super-
approved local air pollution control agency will review the       sede the emission limit and requirements in the existing
timely and complete alternative RACT proposal submit-             plan approval or operating permit issued to the owner or
ted in accordance with subsection (d) as specified in             operator of the source prior to April 23, 2016, on the date
paragraph (1) and approve, deny or modify the alterna-            specified in the plan approval or operating permit issued
tive RACT proposal as indicated under paragraph (2) or            by the Department or appropriate approved local air
(3). Only minor clarifying changes were made between              pollution control agency under subsection (j), except to
proposed and final-form rulemaking.                               the extent the existing plan approval or operating permit
                                                                  contains more stringent requirements. No changes were
   Under subsection (f), the proposed alternative RACT            made between proposed and final-form rulemaking.
requirement or RACT emission limitation and the imple-
mentation schedule submitted under subsection (d) will               Under subsection (l), approval or denial under subsec-
be approved, denied or modified by the Department or              tion (j) of the timely and complete petition for an
appropriate approved local air pollution control agency in        alternative compliance schedule submitted under subsec-
accordance with subsection (e) in writing through the             tion (i) will be effective on the date the letter of approval
issuance of a plan approval or operating permit modifica-         or denial of the petition is signed by the authorized
tion prior to the owner or operator implementing the              representative of the Department or appropriate approved
alternative RACT requirement or RACT emission limita-             local air pollution control agency. No changes were made
tion. Only minor clarifying changes were made between             between proposed and final-form rulemaking.
proposed and final-form rulemaking.                               § 129.100. Compliance demonstration and recordkeeping
  Under subsection (g), the emission limit and require-             requirements
ments specified in the plan approval or operating permit            Under subsection (a), the owner and operator of an air
issued under subsection (f) supersede the emission limit          contamination source subject to a requirement in
and requirements in the existing plan approval or operat-         § 129.97 shall demonstrate compliance with the appli-
ing permit issued to the owner or operator of the source          cable RACT requirement or RACT emission limitation by
prior to April 23, 2016, on the date specified in the plan        performing the monitoring or testing procedures under
approval or operating permit issued by the Department or          paragraph (1) or (2), except as provided in subsection (c).
appropriate approved local air pollution control agency
                                                                    Under subsection (a)(1)—(4), the monitoring and testing
under subsection (f), except to the extent the existing
                                                                  requirements have been amended from proposed to final-
plan approval or operating permit contains more strin-
                                                                  form rulemaking for all affected air contamination
gent requirements. No changes were made between pro-
                                                                  sources.
posed and final-form rulemaking.
                                                                    Under subsection (b), except as provided in
   Under subsection (h), the Department will submit each
                                                                  §§ 129.97(k) and 129.99(i), the owner and operator of an
alternative RACT requirement or RACT emission limita-
                                                                  air contamination source subject to subsection (a) shall
tion approved under subsection (f) to the EPA for ap-
                                                                  demonstrate compliance with the applicable RACT re-
proval as a revision to the SIP. The owner and operator of
                                                                  quirement or RACT emission limitation in accordance
the facility shall bear the costs of public hearings and
                                                                  with the procedures in subsection (a) not later than the
notifications required for the SIP submittal. Only minor
                                                                  applicable time frame under paragraph (1) or (2).
clarifying changes were made between proposed and
final-form rulemaking.                                              Under subsection (b), the compliance demonstration
                                                                  date was changed between proposed and final-form rule-
   Under subsection (i), the owner and operator of a
                                                                  making to not later than January 1, 2017, which is the
facility proposing to comply with the applicable RACT
                                                                  Federal implementation requirement date for RACT.
requirement or RACT emission limitation under subsec-
tion (a), (b) or (c) through the installation of an air             Under subsection (c), an owner or operator of an air
cleaning device may submit a petition, in writing, re-            contamination source subject to this section and
questing an alternative compliance schedule in accord-            §§ 129.96—129.98 may request a waiver from the re-
ance with paragraphs (1) and (2).                                 quirement to demonstrate compliance with the applicable
                                                                  emission limitation in § 129.97 if the requirements under
  Subsection (i)(2)(v) is revised from proposed to final-
                                                                  paragraphs (1)—(4) are met. Only minor clarifying
form rulemaking to specify that the written petition must
                                                                  changes were made between proposed and final-form
include a proposed final compliance date that is as soon
                                                                  rulemaking.
as possible but not later than 3 years after the written
approval of the petition. If the petition is for the replace-        Under subsection (d), the owner and operator of an air
ment of an existing source, the final compliance date will        contamination source subject to this section and
be determined on a case-by-case basis. The proposed               §§ 129.96—129.99 shall keep records to demonstrate com-
rulemaking specified under subsection (i)(2)(v) that the          pliance with §§ 129.96—129.99 as set forth in paragraphs
proposed final compliance date be as soon as possible but         (1) and (2). No changes were made between proposed and
not later than the date 3 years after the effective date of       final-form rulemaking.
adoption of the proposed rulemaking.
                                                                     Under subsection (e), beginning with the compliance
  Under subsection (j), the Department or appropriate             date specified in § 129.97(a), the owner or operator of an
approved local air pollution control agency will review the       air contamination source claiming that the air contamina-
timely and complete written petition requesting an alter-         tion source is exempt from the applicable NOx emission
native compliance schedule submitted in accordance with           rate threshold specified in § 129.99(b) and the require-
subsection (i) and approve or deny the petition in writing.       ments of § 129.97 based on the air contamination source’s
Only minor clarifying changes were made between pro-              potential to emit shall maintain records that demonstrate
posed and final-form rulemaking.                                  to the Department or appropriate approved local air
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pollution control agency that the air contamination source             The Board agrees that the purpose of RACT is to
is not subject to the specified emission rate threshold.            decrease ozone precursor emissions. However, the amount
Only minor clarifying changes were made between pro-                of emission reductions achieved as a result of the applica-
posed and final-form rulemaking.                                    tion of RACT-level control is determined on the basis of
   Under subsection (f), beginning with the compliance              the source’s potential to emit before and after the applica-
date specified in § 129.97(a), the owner or operator of an          tion of RACT-level control, not on a comparison with a
air contamination source claiming that the air contamina-           source’s current actual emissions. The final-form rule-
tion source is exempt from the applicable VOC emission              making establishes presumptive RACT requirements and
rate threshold specified in § 129.99(c) and the require-            RACT emission limitations for NOx or VOCs that are
ments of § 129.97 based on the air contamination source’s           achievable and sustainable during the expected life of the
potential to emit shall maintain records that demonstrate           affected unit using technologies that are technically and
to the Department or appropriate approved local air                 economically feasible. Implementation of the final-form
pollution control agency that the air contamination source          rulemaking presumptive RACT requirements and RACT
is not subject to the specified emission rate threshold.            emission limitations will reduce the amount of NOx and
Only minor clarifying changes were made between pro-                VOC emissions that the owner and operator of a facility
posed and final-form rulemaking.                                    subject to §§ 129.96—129.100 would be legally allowed to
                                                                    emit to the atmosphere.
  Under subsection (g), the owner or operator of a
combustion unit subject to § 129.97(b) shall record each              In response to comments and the EPA’s Ozone NAAQS
adjustment conducted under the procedures in                        Implementation Rule published at 80 FR 12264 (March 6,
§ 129.97(b). This record must contain, at a minimum, the            2015), the Department conducted additional reviews of
information in paragraphs (1)—(6). Only minor clarifying            historical emissions data for coal-fired electric generating
changes were made between proposed and final-form                   units (EGU) equipped with SCR technology. The Depart-
rulemaking.                                                         ment determined that the NOx limit specified in
                                                                    § 129.97(g)(1)(viii) should be revised. Section
   Proposed subsection (h), providing a requirement for
                                                                    129.97(g)(1)(viii) specifies that any combustion unit
the owner or operator of an oil-fired, gas-fired or combina-
                                                                    equipped with an SCR system that is operating with an
tion oil-fired and gas-fired unit subject to § 129.97(b)(2)
                                                                    inlet temperature equal to or greater than 600°F must
to maintain records of the type of fuel, was deleted in the
                                                                    meet a NOx emission limit of 0.12 lb NOx/million Btu.
final-form rulemaking.
                                                                    Compliance with this emission limit is also required when
  Under final-form subsection (h), proposed subsection (i),         by-passing the SCR system. The Department acknowl-
the owner or operator of a Portland cement kiln subject to          edges that the NOx RACT limit in the final-form rule-
§ 129.97(h) shall maintain a daily operating log for each           making is not the lowest achievable emissions rate for
Portland cement kiln. The record for each kiln must                 this technology. However, the EPA has indicated in the
include the items in paragraphs (1)—(4).                            preamble for the final rule approving a SIP revision for
                                                                    Wisconsin’s NOx RACT Rule that:
  Under final-form subsection (i), records shall be re-
tained by the owner or operator for 5 years and made                  RACT limits are not meant to be the lowest achiev-
available to the Department or appropriate approved local             able emission rates. The Nitrogen Oxides Supplement
air pollution control agency upon receipt of a written                to the General Preamble for the Implementation of
request from the Department or the appropriate approved               Title I of the Clean Air Act Amendments of 1990
local air pollution control agency.                                   addresses the issue of an acceptable emission limit.
F. Summary of Major Comments and Responses                            See section 4.6 RACT for Certain Electric Utility
                                                                      Boilers (57 FR 55626), ‘‘The EPA expects States, to
General comments                                                      the extent practicable, to demonstrate that the vari-
  A commentator stated that the proposed rulemaking is                ety of emission controls adopted are consistent with
not RACT. It does not accomplish RACT, but maintains a                the most effective level of combustion modification
status quo that does not meet the CAA test of reducing                reasonably available for its individual affected
air pollution emissions for NOx and VOCs (volatile or-                sources.’’
ganic chemicals) ‘‘. . . as expeditiously as practicable.’’ The
proposed rulemaking would have allowed higher limit                    See 75 FR 64155, 64157 (October 19, 2010). The
(132,000 tons NOx) than what is already emitted. Power              Department’s re-evaluation of the NOx RACT limit for
plants would have been allowed to increase emissions,               coal-fired EGUs, taking into consideration cost-
while the purpose of RACT is to decrease emissions.                 effectiveness and technological feasibility, is consistent
                                                                    with the approach outlined in the preamble of the
   The Board disagrees that the proposed rulemaking was             rulemaking published at 75 FR 64155 approving Wiscon-
not RACT. The evaluation or re-evaluation of what consti-           sin’s RACT SIP revision.
tutes RACT-level control for affected sources is a require-
ment that must be fulfilled each time the EPA promul-                  The final-form RACT rulemaking will reduce the
gates a new NAAQS as was the case in 1979 for the                   amount of pollution that is currently allowed to be
1-hour ozone standard and in 1997 for the 8-hour ozone              emitted through implementation of more stringent limita-
standard; re-evaluation of RACT is also required when               tions. No facility owner or operator will be allowed to
the EPA revises a NAAQS as was the case in 2008 for the             increase their emissions. The final-form RACT rule-
8-hour ozone standard. The proposed rulemaking ad-                  making sets forth emission limitations for NOx or VOCs
dressed the RACT requirements for the 8-hour ozone                  that are achievable using technologies that are reason-
NAAQS promulgated in 1997 and 2008. The final-form                  ably available. For example, upon re-evaluation of the
rulemaking is applicable to certain owners and operators            NOx emissions data from coal-fired EGUs equipped with
of major sources of NOx or VOC emissions (precursors to             SCR, the Board concluded that a NOx emission limit of
ozone formation) in existence on or before July 20, 2012,           0.12 lb/MMBtu heat input is achievable with operation of
the effective date of the EPA’s designations and classifica-        the SCR when an inlet temperature of 600°F is reached.
tions for the 2008 ozone NAAQS. See 77 FR 30088.                    The Board also concluded that a NOx emission limit of
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0.16 lb/MMBtu heat input is achievable for CFB combus-               Commentators believed that the proposed rulemaking
tion units. The final-form rulemaking has been amended             would weaken current emissions limits. Regulatory and
accordingly.                                                       policy changes will add ozone and other criteria pollu-
                                                                   tants to some of the most overburdened communities in
  Potential NOx emission reductions beyond current                 this Commonwealth.
RACT allowable emissions are presented as follows. For
257 boilers, the potential NOx emissions reduction is                The Board disagrees because the final-form rulemaking
70,149 tpy or a 28% reduction. For 12 EGUs equipped                does not weaken existing emissions limits. The final-form
with SCR systems, the potential NOx emissions reduction            RACT rulemaking includes emission limitations for NOx
is 138,972 tpy or a 75% reduction. For 393 engines, the            or VOCs that are achievable using technologies that are
potential NOx emissions reduction is 20,596 tpy or a 44%           reasonably available.
reduction. For 148 turbines, the potential NOx emissions              Following the adoption and implementation of the
reduction is 23,906 tpy or a 40% reduction. In total for           final-form rulemaking, NOx emissions from the electric
810 air contamination sources, the potential NOx emis-             generating sector in this Commonwealth are expected to
sions reduction is 253,623 tpy or a 47% reduction.                 be reduced from 119,025 tpy, based on 2013 production
   Reductions in actual NOx emissions from coal-fired              rates, to 59,039 tpy. The actual NOx emissions from
boilers or EGUs are also anticipated as a result of the            coal-fired EGUs in this Commonwealth for 2013 were
implementation of the final-form RACT requirements and             119,025 tons. The actual 2013 NOx emissions from coal-
RACT emission limitations. The actual NOx emissions                fired EGUs that are not scheduled for retirement or for
from coal-fired EGUs in this Commonwealth for 2013                 fuel-switching were 92,728 tons. The expected NOx emis-
were 119,025 tons. The actual 2013 NOx emissions from              sions from coal-fired EGUs that are not scheduled for
coal-fired EGUs that are not scheduled for retirement or           retirement or fuel-switching, based on 2013 production
for fuel-switching were 92,728 tons. The expected NOx              rates and the NOx emission limitations in the final-form
emissions from coal-fired EGUs that are not scheduled for          rulemaking, are 59,039 tpy.
retirement or fuel-switching, based on 2013 production               In addition, the final-form rulemaking specifically pro-
rates and the NOx emission limitations in the final-form           vides under § 129.97(i) and (j) that the more stringent
rulemaking, are 59,039 tpy. This is an anticipated reduc-          limitation or requirement applies to the owner or operator
tion in actual emissions of approximately 36% [{(92,728            of a facility subject to the regulation.
tons ⫺ 59,039 tons) / 92,728 tons} × 100 = 36%] from this
sector.                                                               A commentator represented that for the class of the
                                                                   largest NOx-emitting sources, the representations of ‘‘An-
   A commentator cautioned the Department not to rigidly           ticipated Effect on Emissions’’ are overstatements in
apply a benchmark as low as $2,500 per ton to exclude              contrast with the much more common sense approach of
consideration of technically feasible controls. Rather, the        comparing the proposed emission limitation with current
Commonwealth needs to consider a broader range of cost             actual emissions. The latter comparison demonstrates
effectiveness to see if some level of additional control falls     that the proposed RACT requirements are no substantial
within that range. Based on Wisconsin’s analysis, the              improvement with respect to controlling NOx emissions
Department should consider raising its cost-effectiveness          from large coal-fired power plants.
‘‘benchmark’’ like Wisconsin and New York after consider-
ing and evaluating thoroughly the states’ analyses.                   The Board disagrees that the representation of ‘‘antici-
                                                                   pated effect on emissions’’ should be based on a compari-
  The Board did not establish a bright-line cost effective-        son of the emissions expected as a result of implementa-
ness threshold to determine RACT. The Board initially              tion of the presumptive RACT requirements and RACT
used minimum cost-effectiveness thresholds of $1,500 and           emission limitations with current actual emissions. The
$3,000 per ton of NOx and VOC controlled, respectively,            amount of NOx and VOC emission reductions achieved as
in 1990 dollars, for the implementation of RACT require-           a result of the application of RACT-level control is
ments for the 1979 1-hour ozone NAAQS in §§ 129.91—                determined on the basis of the source’s potential to emit
129.95. These cost-effectiveness thresholds were consis-           before and after the application of RACT-level control.
tent with thresholds used at that time by other states for         Implementation of the final-form rulemaking presumptive
RACT determinations for the 1979 1-hour ozone NAAQS                RACT requirements and RACT emission limitations will
as well. The Board used the United States Bureau of                reduce the amount of ozone precursor emissions that the
Labor Statistics Consumer Price Index to adjust $1,500 in          owner and operator of a facility subject to §§ 129.96—
1990 dollars to $2,500 in 2010 dollars. When extrapolated          129.100 would be legally allowed to emit to the atmo-
into 2014 dollars, this figure is approximately $2,750. The        sphere. Further, the final-form rulemaking revises the
Board used a NOx emission cost-effectiveness upper-                NOx emission limit for CFB combustion units in
bound of $2,800 per ton NOx controlled.                            § 129.97(g)(1)(vi)(A) from 0.20 lb NOx/million Btu heat
  Even with an additional 25% margin, the upper-bound              input to 0.16 lb NOx/million Btu heat input. The final-
                                                                   form rulemaking also addresses the use of installed SCR
cost-effectiveness threshold would not be any greater than
                                                                   or SNCR equipment in § 129.97(g)(1)(viii) and (ix).
$3,500 per ton NOx controlled. Similarly for VOC, the
upper-bound cost-effectiveness threshold would not be any            The potential NOx emission reductions in tpy beyond
greater than $7,000 per ton VOC controlled. Applying               current RACT allowable emissions is approximately
these new thresholds does not have an effect on the                253,623 tons from 810 units as follows: for 257 boilers—
add-on control technology decisions for the presumptive            approximately 70,149 tons; for EGUs equipped with SCR
RACT requirements established in the final-form rule-              systems—approximately 138,972 tons; for engines—
making. The RACT limits included in the final-form                 approximately 20,596 tons; and for turbines—approxi-
rulemaking are comparable to emission limits included in           mately 23,906 tons.
other states’ RACT regulations.
                                                                     The actual NOx emissions from coal-fired EGUs in this
  It should be noted that Wisconsin’s SIP-approved RACT            Commonwealth for 2013 were 119,025 tons. The actual
regulations in 2010 were based on a NO x cost-                     2013 NOx emissions from coal-fired EGUs that are not
effectiveness benchmark of $2,500 per ton controlled.              scheduled for retirement or for fuel-switching were 92,728
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tons. The expected NOx emissions from coal-fired EGUs             NOx emissions from EGUs participating in regional cap-
that are not scheduled for retirement or fuel-switching,          and-trade programs. NRDC v. EPA, No. 09-1198 (D.C.
based on 2013 production rates and the NOx emission               Cir.) (order of August 30, 2013). In the EPA’s comments
limitations in the final-form rulemaking, are 59,039 tpy.         on the proposed rulemaking, designated ozone nonattain-
This is an anticipated reduction in actual emissions of           ment areas required to implement RACT must achieve
approximately 36% from this sector.                               RACT level reductions inside the nonattainment area. In
  Some commentators allege that additional support and            response to the EPA’s comment, final-form § 129.98(a)
analysis is needed in the Regulatory Analysis Form (RAF)          has been amended to address the system-wide averaging
and preamble to justify the proposed regulations.                 provisions as follows: ‘‘System-wide emissions averaging
                                                                  must be among sources under common control of the
   The Board disagrees that there is insufficient informa-        same owner or operator within the same ozone nonattain-
tion in either the preamble to the proposed rulemaking or         ment area in this Commonwealth.’’ This approach should
the RAF to justify the regulations. Both of these docu-           assure that emissions averaging will occur among units in
ments are replete with substantive information regarding          the same ozone nonattainment area and that emission
emissions data, cost-effectiveness numbers, public health         reductions from outside a given area of more severe
information, statutory requirements, small business infor-        nonattainment cannot be used to offset emissions within
mation and other types of analyses to demonstrate that            the area of more severe nonattainment.
the regulations are legally required, in the public interest,
economically and technologically feasible, and will reduce           Some commentators believed that the proposed RACT
emissions. The estimates included in the RAF to the               standard would allow coal plants to keep the air in some
proposed rulemaking and the final-form rulemaking are             communities cleaner than others, a fact highly likely to
based on the information available to the Department.             continue racial disparity in air pollution. The health of
The presumptive RACT emission limitations were estab-             citizens in this Commonwealth who have limited incomes
lished based on cost-effectiveness of available control           or are living in poverty is also especially vulnerable to
technology and are not based on the total number of               smog pollution. The Department runs the risk of exposing
affected units or number of total units requiring control.        certain citizens, including those living in environmental
                                                                  justice communities, to a disproportionate amount of
  Some commentators believed that the proposed rule-              extra pollution.
making significantly underestimated the number of af-
fected units that would require installation of NOx or               The Board disagrees. The final-form rulemaking re-
VOC control technology. Approximately 150 units oper-             duces the allowable emission rates for certain coal-fired
ated by natural gas transmission companies would be               facilities and requires the operation of existing control
affected by the proposed rulemaking; this exceeds the             equipment for other facilities. Pollution from this sector
Department’s estimate for all affected units Statewide.           continues to decline. For example, the actual NOx emis-
                                                                  sions from coal-fired EGUs in this Commonwealth for
The proposed rulemaking would have significant impact
                                                                  2000 were 192,004 tons; the actual NOx emissions from
on natural gas transmission company operations, includ-
                                                                  coal-fired EGUs in this Commonwealth for 2013 were
ing many requirements to install control technology and
                                                                  119,025 tons. The actual 2013 NOx emissions from coal-
associated costs that are significantly under-estimated by
                                                                  fired EGUs that are not scheduled for retirement or for
the Commonwealth.
                                                                  fuel-switching were 92,728 tons. The expected future NOx
  The Board finds that the estimates for numbers of               emissions from coal-fired EGUs that are not scheduled for
affected units included in the RAF to the proposed                retirement or fuel-switching, based on 2013 production
rulemaking and the final-form rulemaking are based on             rates and the NOx emission limitations in the final-form
the information available to the Department. The pre-             rulemaking, are 59,039 tpy.
sumptive RACT emission limitations were established
                                                                  § 121.1. Definitions
based on cost-effectiveness of available control technology
and not based on the total number of affected units or               Several commentators believed that all definitions
number of total units requiring control.                          should match Federal definitions. The proposed new
                                                                  definition for ‘‘stationary internal combustion engine’’
  The Board re-evaluated the number of units requiring
                                                                  opens up application to the entirety of air quality regula-
control as a result of revisions to emission limitations in
                                                                  tions. It appears the Pennsylvania definition has always
the final-form rulemaking. The number of turbines re-
                                                                  included portable (not mobile) internal combustion en-
quiring control has dropped from 64 to 17 primarily due
                                                                  gines. The definition should be same as the EPA’s recipro-
to the final-form rulemaking setting forth a presumptive
                                                                  cating internal combustion engines rule in 40 CFR Part
RACT emission limitation of 150 ppmvd NOx @ 15%
oxygen for simple cycle or regenerative cycle turbines            63, Subpart ZZZZ (relating to National emission stan-
equal to or greater than 1,000 bhp and less than 6,000            dards for hazardous air pollutants for stationary recipro-
bhp.                                                              cating internal combustion engines). Some commentators
                                                                  suggested that definitions consistent with the Federal
  Several commentators said that compliance with the              definitions ‘‘‘capacity factor’ in 40 CFR 72, ‘combustion
Federal Clean Air Interstate Rule (CAIR) or Cross-State           turbine’ in 40 CFR 60 NSPS, and ‘stationary internal
Air Pollution Rule (CSAPR) should constitute compliance           combustion engine’ in NSPS IIII and JJJJ and NESHAPS
with RACT. The Department should rely on CAIR/CSAPR               ZZZZ’’ should be added.
to satisfy RACT for EGUs.
                                                                     The Board agrees. The final-form rulemaking contains
  The Board disagrees that compliance with CAIR/                  definitions consistent with the Federal regulations. The
CSAPR should constitute compliance with RACT and that             final-form rulemaking revises the definition of ‘‘stationary
the Department should rely on CAIR/CSAPR to satisfy               internal combustion engine’’ to include the term ‘‘station-
RACT for EGUs. Moreover, the United States Court of               ary reciprocating internal combustion engine.’’ The final-
Appeals for the D.C. Circuit granted the EPA’s request for        form rulemaking adds definitions for ‘‘regenerative cycle
voluntary vacatur of the presumption that compliance              combustion turbine,’’ ‘‘simple cycle combustion turbine’’
with the CAIR or the NOx SIP Call automatically consti-           and ‘‘stationary combustion turbine.’’ Final-form
tutes RACT or reasonably available control measures for           § 129.97(c)(7)(i) establishes that the ‘‘annual capacity
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factor’’ for a combustion unit is the ratio of the unit’s heat     mation indicating otherwise. See, for example, 70 FR
input (in million Btu or equivalent units of measure) to           71612, 71655 and NRDC v. EPA, 571 F.3d 1245, 1253—
the unit’s maximum rated heat input (in million Btu or             55. The Department should amend proposed § 129.96 to
equivalent units of measure) times 8,760 hours during a            exclude NOx and VOC sources that have already under-
period of 12 consecutive calendar months. The ‘‘annual             gone RACT review and have resulting NOx or VOC, or
capacity factor’’ for an EGU is established in final-form          both, limits or restrictions, unless new information indi-
§ 129.97(c)(7)(ii) as the ratio of the unit’s actual electric      cates that a new RACT analysis is justified.
output (expressed in MWe/hr) to the unit’s nameplate                 The Board believes that the commentator is referring to
capacity (or maximum observed hourly gross load (in                NRDC v. EPA, 571 F.3d 1245 (D.C. Cir. 2009), decided by
MWe/hr) if greater than the nameplate capacity) times              the D.C. Circuit Court in 2009, not 2008 as stated by the
8,760 hours during a period of 12 consecutive calendar             commentator. The Board disagrees with the commenta-
months. Final-form § 129.97(c)(7)(iii) establishes that for        tor’s assertion. The evaluation or re-evaluation of what
any other unit, the ‘‘annual capacity factor’’ is the ratio of     constitutes RACT-level control for affected sources is a
the unit’s actual operating level to the unit’s potential          requirement that must be fulfilled each time the EPA
operating level during a period of 12 consecutive calendar         promulgates a new NAAQS as was the case in 1979 for
months.                                                            the 1-hour ozone standard and in 1997 for the 8-hour
   A commentator stated that ‘‘air contamination source’’          ozone standard or revises a NAAQS as was the case in
is broadly defined and becomes problematic when used in            2008 for the 8-hour ozone standard. The final-form rule-
§ 129.99(b) and (c). The commentator asked if the term             making addresses the RACT requirements for the 8-hour
applies to each individual piece of equipment or to a              ozone NAAQS promulgated in 1997 and revised in 2008.
grouping of equipment.                                             The final-form rulemaking requirements are applicable to
   The Board disagrees. The applicability threshold values         the owners and operators of subject sources in existence
of § 129.99(b) and (c) were determined as generic emis-            on or before July 20, 2012, and to owners and operators of
sion levels below which the application of add-on emission         subject sources when the installation of a new source or a
control technology is not economically feasible. ‘‘Air con-        modification or change in operation of an existing source
tamination source’’ is already defined in the act and              after July 20, 2012, results in the source or facility
§ 121.1 and needs no further clarification.                        meeting the definition of a major NOx emitting facility or
                                                                   a major VOC emitting facility.
§ 129.96. Applicability
                                                                     The EPA’s Phase 2 Rule certification provision allows
   A commentator believed that the preamble should have            states to certify that the control measures approved as
clearly indicated that the proposed rulemaking only ap-            RACT under the 1-hour ozone standard also satisfy the
plied to major sources of NOx and VOCs.                            RACT requirements under the 8-hour ozone standard
   The Board agrees that the NOx RACT requirements are             absent information indicating they should not be ap-
applicable to major NOx emitting facilities and the VOC            proved. This approach adequately ensures that RACT
RACT requirements are applicable to major VOC emitting             determinations will take into account advances in tech-
facilities. The NOx requirements of §§ 129.96—129.100              nology.
apply Statewide to the owner and operator of a major                 The Department reviewed all available information,
NOx emitting facility and the VOC requirements of                  including Federal regulations and RACT regulations from
§§ 129.96—129.100 apply Statewide to the owner and                 various states. This review showed that a new RACT
operator of a major VOC emitting facility. Section 129.96          analysis is justified. The Board believes that the pre-
was amended to clarify the applicability.                          sumptive RACT requirements included in the final-form
   A commentator stated that while a number of existing            rulemaking are appropriate. Should an affected owner or
regulations are referenced in the applicability section,           operator not be able to comply with the presumptive
there is no clarifying statement of prior presumptive              requirement or emission limitation, the owner or operator
RACT requirements that were promulgated under                      may propose an alternative RACT requirement or RACT
§§ 129.91—129.95. In the proposed rulemaking, these                emission limitation under § 129.99(a) based on the
regulations are not superseded until the end of § 129.97.          source’s potential to emit NOx or VOCs.
It may be clearer to address all the applicability pieces            Several commentators believed that since they are
under § 129.96 instead of splitting it up.                         subject to more stringent requirements under other pro-
  The Board disagrees. Sections 129.91—129.95 are not              grams (such as Maximum Achievable Control Technology
superseded by the final-form rulemaking. The affected              (MACT), National Emission Standards for Hazardous Air
owners and operators of major VOC and NOx emitting                 Pollutants (NESHAP) and New Source Performance Stan-
facilities are subject to §§ 129.91—129.95 and                     dards (NSPS)) they should be exempt from RACT require-
§§ 129.96—129.100. Section 129.97(i) is intended to en-            ments. The Department should exempt emergency gen-
sure that an owner or operator complies with the more              erators and other sources with applicable Federally-
stringent of the RACT requirements in a RACT permit                mandated NOx and VOC control requirements from
issued under §§ 129.91—129.95 and the presumptive                  RACT requirements. Additional exemptions are needed to
RACT requirements in the final-form rulemaking. Section            accommodate facilities that are already subject to more
129.97(i) and (j) specifically provides that the more              stringent requirements or have already completed a
stringent provisions apply whether those provisions are            RACT process.
under the final-form rulemaking, some other regulation               The Board disagrees. An evaluation or re-evaluation of
or a previously issued permit. These safeguards prevent            what constitutes RACT for affected sources is required
backsliding from the most stringent applicable require-            under section 182 of the CAA for existing major NOx
ments.                                                             emitting or existing major VOC emitting facilities each
  A commentator’s understanding of EPA policy is that              time a NAAQS is promulgated or revised. The final-form
those sources that have already installed air pollution            rulemaking addresses the RACT requirements for the
control equipment as a result of previous RACT are not             8-hour ozone NAAQS promulgated in 1997 and revised in
required to install additional controls absent new infor-          2008. RACT applies to the owners and operators of
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existing major stationary sources of NOx and VOC in              specifications may no longer even be available. Therefore,
ozone nonattainment areas. RACT for covered categories           the regulation should be amended to require operation
is required Statewide and not just in designated ozone           and maintenance of regulated sources in accordance with
nonattainment areas in this Commonwealth because the             good engineering practice, which, in appropriate circum-
Commonwealth is in the Northeast Ozone Transport                 stances, would include operation in accordance with man-
Region established under section 184 of the CAA.                 ufacturer’s specifications.
  Section 182(b)(2) of the CAA requires that the Common-            The Board notes that the presumptive RACT require-
wealth implement RACT for each category of existing              ments included in § 129.93 (relating to presumptive
VOC sources in the area covered by a CTG document                RACT emission limitations) require the installation,
issued by the Administrator between November 15, 1990,           maintenance and operation of the source in accordance
and the date of attainment, as well as for all existing          with manufacturer’s specifications. This requirement has
VOC sources in the area covered by any CTG issued                been implemented since 1995. In addition, an affected
before November 15, 1990, and all other major stationary         owner or operator that is not able to comply with the
sources of VOCs that are located in the area. Under              applicable presumptive RACT requirements and emission
sections 182(f)(1) and 184(b)(2) of the CAA, RACT re-            limitations in the final-form rulemaking may opt to
quirements are applicable to all existing major sources of       determine RACT requirements on a case-by-case basis
NOx in this Commonwealth.                                        under § 129.99.
   The MACT and NESHAP requirements apply to the                    In the final-form rulemaking, ‘‘good engineering prac-
control of emissions of hazardous air pollutants (HAP)           tices’’ has been replaced with ‘‘good operating practices.’’
from existing or new major sources as required under             ‘‘Engineering’’ refers to design, whereas ‘‘operating’’ refers
section 112 of the CAA (42 U.S.C.A. § 7412). Many HAPs           to operation. Since this final-form rulemaking is appli-
are also VOCs, but not all VOCs are HAPs. NOx are also           cable to the owners and operators of existing operating
not HAP. Therefore the owner and operator of an existing         sources, it is more appropriate to regulate operating
major source subject to MACT/NESHAP requirements for             practices. In addition, this language is consistent with the
the control of HAP emissions may also be subject to              permit compliance requirements in § 127.444 (relating to
RACT requirements for the control of NOx and VOC                 compliance requirements.)
emissions. Therefore, the Board believes that no addi-              Some commentators stated that in proposed
tional exemptions are warranted to accommodate the               § 129.97(g)(3) there appears to be some disparity between
owners and operators of facilities that are already subject      the combustion turbine and the reciprocating engine
to more stringent requirements or have already com-              proposed requirements. The proposed combustion turbine
pleted a RACT process.                                           level of 42 ppm on natural gas is approximately four
§ 129.97. Presumptive RACT requirements, RACT emis-              times lower than the RACT level for a lean burn recipro-
  sion limitations and petition for alternative compliance       cating engine and approximately two times lower than a
  schedule                                                       rich burn engine. Uncontrolled combustion turbines are
                                                                 close to the proposed RACT levels for reciprocating
   Some commentators felt the proposed regulations were          engines. With reciprocating engines far outnumbering gas
less stringent than those that similarly-situated Mid-           turbines in this Commonwealth, the commentator asked
Atlantic states, including New Jersey, are proposing. The        if it makes sense, from an environmental or cost impact
commentators requested that the Board explain how the            basis, or both, to have a RACT for combustion turbines,
final-form rulemaking will ensure that the Common-               especially small combustion turbines. The RACT compli-
wealth is adequately addressing emissions under its              ance cost analyses conducted by the Department is not
jurisdiction so that the Commonwealth is properly meet-          detailed enough to determine if the RACT emissions level
ing its pollution control responsibilities to other states.      proposed for combustion turbines is cost effective.
   The Board disagrees. The Department reviewed and                 The Board disagrees with the comparison of emission
considered RACT regulations from similarly situated Mid-         rates for engines to turbines. They are different combus-
Atlantic states, including New Jersey, during the develop-       tion technologies and are considered to be different source
ment of the proposed and final-form rulemakings. Source          types for the purposes of RACT determinations. There-
categories in this Commonwealth are diverse with numer-          fore, the Board disagrees that presumptive RACT require-
ous sources having varying characteristics differing from        ments and emission limitations should not be established
those of the other Mid-Atlantic states. The Department           for turbines. The number of turbines subject to RACT
evaluated these source categories and determined that            requirements in this Commonwealth justifies the estab-
the presumptive RACT requirements included in the                lishment of presumptive RACT emission limitations for
final-form rulemaking are appropriate. In this Common-           turbines to minimize case-by-case RACT determinations.
wealth, all monitored areas are attaining the 1997 and              Presumptive RACT emission limitations are imple-
2008 ozone standards, except the Harrison monitor in             mented for each source category based on RACT determi-
Allegheny County. RACT regulations are not intended to           nations and associated emissions data. In addition, the
address interstate transport issues.                             owner or operator of any affected source that cannot meet
  Commentators said proposed § 129.97(c) appeared to             a presumptive RACT emission limitation may propose an
establish an absolute obligation for relevant sources to be      alternative limit determined on a case-by-case basis.
maintained and operated in accordance with both man-                One commentator was concerned with the Board’s
ufacturer’s specifications and good engineering practices.       statement in RAF Question 12 that the proposed regula-
However, in many cases, existing sources are components          tions are ‘‘similar to regulations already adopted by
of complex process systems, integrated operations, or are        Wisconsin and New York and approved by the EPA.’’
specialized and custom designed, such that the                   However, the commentator believed that New York has in
equipment-specific manufacturer’s specifications do not          place significantly more stringent emissions limits than
exist or are no longer relevant or applicable, and indeed        the Commonwealth. The commentator stated that the
can be inconsistent with ‘‘good engineering practice.’’ Even     Board should either support or amend its response to
more simply, with respect to older sources, manufacturer’s       RAF Question 12.
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  The Board believes that its response is adequate. The           The Board agrees that the requirements for combustion
Department reviewed and considered RACT regulations             units referencing ‘‘flame pattern’’ are not applicable to all
from various states when evaluating what constitutes            combustion sources, including turbines. The presumptive
RACT for the types of sources affected by the final-form        RACT requirement for a combustion unit with a rated
rulemaking. Source categories in this Commonwealth are          heat input equal to or greater than 20 million Btu/hour
diverse with numerous individual sources having varying         and less than 50 million Btu/hour is a biennial tune-up
characteristics. The Department evaluated these source          conducted in accordance with the procedures in 40 CFR
categories and determined that the presumptive RACT             63.11223, which includes inspection and adjustment of
requirements included in the final-form rulemaking are          the flame pattern. A combustion unit is a stationary
appropriate.                                                    equipment used to burn fuel primarily for the purpose of
                                                                producing power or heat by indirect heat transfer. While
   Due to variability in source type, combustion character-     turbines are combustion sources, they produce power by
istics, unit size, fuel usage, operating conditions and         direct heat transfer and are not combustion units by
source age, there are differences between the final-form        definition. Therefore, the tune-up requirement is not
rulemaking and the New York RACT regulations in terms           applicable to combustion turbines. In addition, this
of emission limits, exceptions, size cutoffs, and the like.     tune-up requirement should not appear as an applicable
For example, New York determined that combined-cycle            permit requirement for combustion turbines.
combustion turbines operated after July 1, 2014, should
undergo case-by-case analysis due to limited numbers. As           Commentators recommended that the presumptive
New York noted in their Regulatory Impact Statement,            RACT requirements for coal-fired boilers should be estab-
‘‘Because of the limited number of sources and the wide         lished based on actual emission levels achieved in prac-
range of available control technologies, the [NY] Depart-       tice while operating with post-combustion controls, such
ment was not able to identify a presumptive NOx RACT            as SCR or SNCR systems. The RACT regulations should
emission limit for combined cycle combustion turbines.’’        require the use of SCR or other control devices continu-
However, due to the large number of these sources               ously to minimize NOx pollution.
operating in this Commonwealth, the Department was                The Board disagrees that the presumptive RACT re-
able to determine a presumptive NOx RACT emission               quirements for coal-fired boilers should be established
limitation for different categories of combined-cycle com-      based solely on the lowest actual emission levels achieved
bustion turbines, including large combustion turbines           in practice by some of the affected units while operating
that will likely be required to use SCR control to meet the     with post-combustion controls. The proposed and final-
applicable NOx RACT emission limitation. The basis for          form RACT rulemakings establish presumptive emission
the determination of the presumptive RACT requirements          limitations for NOx or VOCs that are achievable and
and emission limitations included in the final-form rule-       sustainable during the expected life of the affected unit
making is included in the RAF and the comment and               using technologies that are both technically and economi-
response document.                                              cally feasible. Implementation of the final-form rule-
   The determinations of what add-on control technologies       making presumptive RACT requirements and RACT
are reasonably available to meet the presumptive RACT           emission limitations will reduce the amount of ozone
requirements and emission limitations included in the           precursor emissions that the owner and operator of a
final-form rulemaking are consistent with the determina-        facility subject to §§ 129.96—129.100 would be legally
tions of what add-on control technologies are reasonably        allowed to emit to the atmosphere.
available to meet the presumptive RACT requirements in             Design limitations of the existing SCR and SNCR
New York. The RACT emission limits included in the              control technology installed on the affected coal-fired
final-form rulemaking are comparable to emission limits         boilers dictate the operating parameters that are reason-
included in other states’ RACT regulations, including New       ably achievable. However, based on consideration of com-
York and Wisconsin.                                             ments received during the public comment period and on
Subsections (b) and (g)(1)—Combustion units                     the evaluation of NOx emissions data for coal-fired boilers
                                                                for a 5-year period, the final-form rulemaking addresses
  A commentator believed that the proposed rulemaking           the use of installed SCR or SNCR equipment in
requires minimization of NOx and carbon monoxide (CO)           § 129.97(g)(1)(viii) and (ix). Further, the NOx emission
emissions which is inconsistent with the boiler MACT            limit for CFB combustion units in § 129.97(g)(1)(vi)(A) is
rule. The commentator recommended that this provision           revised from the proposed 0.20 lb NOx/million Btu heat
be amended to mirror the boiler MACT requirements. The          input to 0.16 lb NOx/million Btu heat input in the
commentator also stated that a periodic tune-up con-            final-form rulemaking.
ducted in accordance with the boiler MACT satisfies
§ 129.99 in the year in which it is conducted.                    Upon re-evaluation of the NOx emissions data from the
                                                                coal-fired EGUs equipped with SCR, the Board concluded
   The Board revised the final-form rulemaking to require       that a NOx emission limit of 0.12 lb/MMBtu was achiev-
biennial tune-ups for a combustion unit with a rated heat       able with operation of SCR when an inlet temperature of
input equal to or greater than 20 million Btu/hour and          600°F is reached. This limit accounts for the design
less than 50 million Btu/hour conducted in accordance           limitations of the existing SCR systems. In addition,
with 40 CFR 63.11223. CO emissions are required to be           compliance with this emission limit is also required when
included in the record under 40 CFR 63.11223. In addi-          by-passing the SCR system.
tion, CO emissions are recorded as a surrogate for VOC
emissions.                                                        Upon re-evaluation of the NOx emission data from CFB
                                                                boilers, the Board concluded that a NOx emission limit of
  The commentator found that reference to ‘‘flame pat-          0.16 lb/MMBtu was achievable. The 0.16 lb/MMBtu NOx
tern’’ is not applicable to all combustion sources. The         emission level must be achieved at all times and, if
commentator has seen instances when combustion unit             equipped with SNCR, the SNCR must be in operation
language has been included in a combustion turbine              with the injection of reagents including ammonia or other
permit rendering an irrelevant and impossible-to-comply-        NOx-reducing agents, when the temperature at the area
with permit condition.                                          of the reagent injection is 1,600°F or greater.
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   The Board further believes that continuous operation             A commentator stated that even for those few boilers
of existing SCR and SNCR control technology installed             that lack controls superior to the contemplated RACT of
on the combustion units subject to final-form                     low NOx burners, installation and operation of SNCR
§ 129.97(g)(1)(vi)(A), (viii) and (ix) cannot be required due     would achieve reductions of NOx at significantly less than
to changing market conditions and deployment of electric          $2,500 per ton.
generating capacity. Therefore, due to the design limita-            The Board disagrees. The Department reviewed all
tions of the SCR and SNCR control technology and the              available information, including Federal regulations and
minimum operating temperatures required for efficient             RACT regulations from various states. The cost-
operation and optimized NOx emission reduction, opera-            effectiveness of technically feasible add-on control devices,
tion of the existing SCR and SNCR controls below the
                                                                  including SNCR, was calculated in accordance with the
minimum designed temperature cannot be required in the
                                                                  EPA Office of Air Quality Planning and Standards Cost
final-form rulemaking.
                                                                  Manual. The Board believes that the presumptive RACT
  A commentator wanted the Board to provide the techni-           requirements included in the final-form rulemaking are
cal analysis that supports the 0.08 lb NOx/MMBtu heat             appropriate.
input, as that is different from the EPA’s NSPS which             Subsection (g)(2)—Combustion turbines
recognizes 0.10 lb NOx/MMBtu.
                                                                     A commentator found that the Commonwealth’s analy-
   The Board agrees and that analysis is as follows. The          sis does not indicate whether a meaningful environmental
Department determined that the average uncontrolled               benefit would be derived from VOC reductions. The
NOx emission rate for natural gas-fired combustion units          Commonwealth should provide background documenta-
was 0.2 lb/MMBtu. At an average NOx control efficiency            tion to support the basis for the concentration-based
of 50% for low-NOx burners, the feasible control for              turbine standard.
natural gas-fired combustion units, the presumptive NOx
RACT emission limitation for natural gas-fired combus-              The Board notes that RACT re-evaluation is a require-
tion units rated at or above 50 MMBtu/hr is 0.1 lb/               ment to be fulfilled each time a NAAQS is promulgated.
MMBtu. The Department initially lowered this to 0.08 lb           The final-form rulemaking addresses the RACT require-
NOx/MMBtu to be consistent with Wisconsin’s SIP-                  ments for the 8-hour ozone NAAQS promulgated in 1997
approved RACT requirements.                                       and 2008. However, no specific emission reductions are
                                                                  required under the re-evaluation.
  Upon further analysis, the Department could not find               The Department found that the typical uncontrolled
sufficient information to support the Commonwealth es-            VOC emission limit for RACT I was 25 ppm @ 15%
tablishing a presumptive NOx RACT emission limitation             oxygen, as methane for turbines rated greater than 1,000
of 0.08 lb/MMBtu just to be consistent with Wisconsin’s           bhp and less than 180 MW. This translates into 9 ppm @
RACT requirements. Therefore, in the final-form rule-             15% oxygen, as propane. The cost of VOC control using
making, the presumptive NOx RACT emission limitation              an oxidation catalyst was found to be $21,112—$421,095,
was revised from 0.08 lb NOx/MMBtu to 0.10 lb NOx/                which is not cost-effective. Therefore, the final-form rule-
MMBtu for a natural gas-fired combustion unit or process          making establishes a presumptive RACT VOC emission
heater with a rated heat input equal to or greater than           limitation of 9 ppm @ 15% oxygen, as propane for simple
50 MMBtu/hour. This requirement is now consistent with            cycle turbines and combined cycle turbines fired on fuel
the requirement in the NSPS in 40 CFR Part 60, Subpart            oil rated at greater than 1,000 bhp and less than 180
Db (relating to standards of performance for industrial-          MW.
commercial-institutional steam generating units) and
§ 129.201 (relating to boilers).                                    Continuous emission monitoring system (CEMS) data
                                                                  indicates that a combined cycle turbine fired on natural
   A commentator believed that due to the larger combus-          gas rated at greater than 1,000 bhp and less than 180
tion zone available on natural gas-fired combustion units         MW can meet a VOC emission limitation of 5 ppm @ 15%
rated greater than 50 million Btu/hour, the presumptive           oxygen, as propane. Additionally, CEMS data indicates
RACT emission rate of 0.08 lb NOx/MMBtu for these                 that turbines rated at greater than 180 MW can meet a
units is not achievable for a unit that was designed to           VOC emission of 2 ppm @ 15% oxygen, as propane.
burn coal or fuel oil and has been converted to firing            Therefore, these emission limitations are established in
natural gas. For example, the units at the Martins Creek          the final-form rulemaking.
facility were converted from an oil-fired design to allow
combustion of natural gas. Stack testing of these units              The technical support document is available with the
revealed that NOx emission rates cannot approach the              final-form rulemaking, which includes documentation to
standard that may be achievable for units originally              support the basis for the VOC RACT emission limitations.
designed to combust primarily or exclusively natural gas.         VOC reductions of the type contemplated under this
Therefore, the commentator believed that case-by-case             final-form rulemaking will assist in the maintenance of
RACT determinations are appropriate for these sources.            the 8-hour 1997 and 2006 ozone standards. The EPA
                                                                  regulates ground-level ozone as a criteria air pollutant
   The Board finds that in the final-form rulemaking the          because of its widespread adverse health and environ-
presumptive NOx RACT emission limitation was revised              mental effects. Exposure to high concentrations of
from 0.08 lb NOx/MMBtu to 0.10 lb NOx/MMBtu for a                 ground-level ozone is a serious human and animal health
natural gas-fired combustion unit or process heater with          and welfare threat, causing respiratory illnesses and
a rated heat input equal to or greater than 50 million            decreased lung function, agricultural crop loss, visible
Btu/hour. This requirement is now consistent with the             foliar injury to sensitive plant species, and damage to
requirement in the NSPS in 40 CFR Part 60, Subpart Db             forests, ecosystems and infrastructure.
and § 129.201. Should the owner or operator of a combus-          Subsection (g)(3)—Internal combustion engines
tion unit choose not to comply with the presumptive
requirement, the owner or operator may propose an                   Some commentators believed § 129.97(g)(3) was un-
alternative NOx RACT emission limitation based on the             clear. This paragraph should clearly state that emergency
potential to emit NOx under § 129.99(a).                          engines greater than 500 bhp are excluded from the
                                 PENNSYLVANIA BULLETIN, VOL. 46, NO. 17, APRIL 23, 2016                        JA304
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emission limits for stationary internal combustion engines         Some commentators found that the proposed rule-
greater than 500 bhp. Proposed subsections (c)(6) and            making would impose year-round emission standards that
(g)(3) were not compatible. One exempts emergency                are currently ozone season standards on cement kilns.
stand-by engines operating less than 500 hours in a              This imposes additional costs without any public benefits.
12-month rolling period, while the other generally in-
cludes stationary internal combustion engines. The com-             The Board disagrees that the final-form rulemaking
mentators suggested adding ‘‘[e]xcept as provided in             imposes additional costs without any public benefits.
§ 129.97(c)(6)’’ to the beginning of subsection (g)(3).          RACT re-evaluation is a requirement to be fulfilled each
                                                                 time a NAAQS is promulgated. The final-form rule-
   The Board agrees that the proposed paragraph was              making addresses the RACT requirements for the 8-hour
unclear. The final-form rulemaking has been amended to           ozone NAAQS promulgated in 1997 and 2008. RACT
clarify that the owner or operator of a source that meets        applies to existing major stationary sources of VOCs and
the requirements under § 129.97(c) would not be required         NOx in ozone nonattainment areas. RACT is defined as
to also meet the numerical presumptive RACT emission             ‘‘the lowest emission limitation that a particular source is
limitations under § 129.97(g) for that source.                   capable of meeting by the application of control technol-
Subsection (h)—Portland cement kilns                             ogy that is reasonably available considering technological
                                                                 and economic feasibility.’’ Including §§ 145.141—145.146
   One commentator contended that the emissions limita-          in § 129.96 is not appropriate because the requirements
tions required of Portland cement kilns would likely             included in § 145.143 are applicable only during the
require the significant expenditure of funds for the instal-     ozone season (May 1 through September 30), whereas
lation of NOx air pollution control technologies such as         RACT requirements are applicable on a year-round basis.
SNCR systems.
                                                                 The emissions reductions resulting from year-round re-
   The Board disagrees. The presumptive RACT emission            quirements will be beneficial to the public due to lower
limitations included in the final-form rulemaking for            concentrations of ground-level ozone.
Portland cement kilns are consistent with the emission
limitations for Portland cement kilns in § 145.143 (relat-       Subsection (f)—Municipal waste combustors
ing to standard requirements). The Department believes             Commentators noted that the proposed NOx emissions
that the final-form rulemaking contains appropriate pre-         limits for municipal waste combustors require only that
sumptive RACT emission limitations for Portland cement           municipal waste combustor operators meet emissions
kilns. In addition, several existing Portland cement kilns       limits established in Federal emissions guidelines. While
are equipped with SNCR. Should the owner or operator of          the HAP emissions limits in the Federal guidelines are
a Portland cement kiln choose not to comply with the             MACT-based, and thus may be RACT for VOCs, the NOx
presumptive requirement, the owner or operator may               limits are not MACT-based and are not RACT. Therefore,
propose an alternative NOx RACT emission limitation              more stringent limitations should be established as
based on the potential to emit NOx under § 129.99(a).            RACT.
   Several commentators said that a compliance alterna-            The Board finds that the current proposed standards
tive needs to be included for cement kilns in this               are in compliance with the emission guidelines in 40 CFR
program, be it CAIR allowances or some other program             Part 60, Subpart Cb (relating to emission guidelines and
NOx allowances. To ensure that this program does not             compliance times for large municipal waste combustors
result in an increase of emissions over what was contem-         that are constructed on or before September 20, 1994).
plated in the proposed rulemaking, an allowance program          These emission guidelines range from 180 to 250 ppmvd
should require a two-for-one allowance surrender. This           NOx @ 7% oxygen. Out of six existing facilities, five are
provision would provide necessary flexibility to the ce-         already limited to 180 ppm or less. The Covanta Plym-
ment industry and would also provide even greater                outh (Montgomery County) facility has CEMS data (3rd
emission offsets in the event a facility found itself out of     quarter 2007) showing emissions above 180 ppm. Emis-
compliance with the proposed regulation.                         sions were generally between 190 and 200 ppm, with a
   The Board disagrees. RACT re-evaluation is a require-         few data points near 180 ppm (one below 180 ppm). The
ment to be fulfilled each time a NAAQS is promulgated.           units located at the Covanta Plymouth facility are
The final-form rulemaking addresses the RACT require-            equipped with SNCR. The existing SNCR could be opti-
ments for the 8-hour ozone NAAQS promulgated in 1997             mized to achieve an emission limit of 180 ppm. Upon
and 2008. RACT applies to existing major stationary              re-evaluation of the NOx emission data from municipal
sources of VOCs and NOx in ozone nonattainment areas.            waste combustors, the Board concluded that a NOx
RACT is defined as ‘‘the lowest emission limitation that a       emission limit of 180 ppmvd @ 7% oxygen was achievable.
particular source is capable of meeting by the application       In final-form § 129.97(f), the NOx limit is revised to 180
of control technology that is reasonably available consid-       ppmvd @ 7% oxygen for municipal waste combustors.
ering technological and economic feasibility.’’ Therefore,
CAIR allowances or some other program NOx allowances             § 129.98. Facility-wide or system-wide NOx emissions av-
cannot be used to meet the RACT requirements.                      eraging plan general requirements
   Furthermore, the EPA commented on the proposed                   One commentator believed that the proposed alterna-
rulemaking that designated ozone nonattainment areas             tive compliance mechanisms must include a rate suffi-
required to implement RACT must achieve RACT levels              cient to lower system-wide emissions. The 30-day system-
reductions inside the nonattainment area. In response to         wide rolling average rate is set so high that it fails to
the EPA’s comment, final-form § 129.98(a) has been               require reductions at all sources. The rulemaking may
amended to address the system-wide averaging provisions          have the effect of allowing operators to discontinue the
as follows: ‘‘System-wide emissions averaging must be            operation of NOx control equipment simply by running
among sources under common control of the same owner             controls on a different unit. Therefore, the emission rate
or operator within the same ozone nonattainment area in          needed to achieve compliance with system-wide average is
this Commonwealth.’’ This approach should assure that            not consistent with an appropriate level of post-
emissions averaging will occur among units in the same           combustion controls. The averaging mechanism itself
ozone nonattainment area.                                        must reflect some level of control. At a minimum, the
                                PENNSYLVANIA BULLETIN, VOL. 46, NO. 17, APRIL 23, 2016                       JA305
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system-wide rate needs to incorporate a sufficient use of         rolling basis for determining compliance. Wisconsin de-
control technologies already installed on the units. An           scribed this period as short term and noted that this
amendment to the NOx rate ought to take into account              approach would allow averaging of the typical variations
unit configuration and control technologies that have             in emission levels from a single unit.
already been installed.                                              The 30-day rolling averages are determined on an
   The Board disagrees. The final-form rulemaking will            operating-day basis by taking the total emissions and
not allow the operator to discontinue the operation of NOx        dividing by the total heat input during each 30-day
control equipment, such as SCR or SNCR, by operating              period. Therefore, there is no difference for peaking units
controls on a different unit. A 30-day rolling limit ad-          as compared to other units.
dresses problems that are faced by certain owners and                In a recent court decision from the 9th Circuit Court of
operators, including variability in fuel (such as in waste        Appeals, the court stated in Nat’l Parks Conservation
coal combustors), emission spikes during start-up and             Ass’n v. EPA, No. 12-73710 (9th Cir. 2015) that ‘‘EPA also
shutdown of the emission source, and emissions during             properly set emissions limits for Corette [a coal-fired
malfunctions. The 30-day rolling average will require that        power plant] on a 30-day rolling average. . . . EPA’s
the owners and operators operate below the allowable              reasoned disagreement on this topic with PPL Montana’s
standard to account for the occasional higher emissions.          comment reflects its conclusion on a highly scientific
Design limitations of the existing SCR and SNCR control           question—the variance in emissions calculations that
technology installed on the affected coal-fired boilers           occurs when annualized rates are translated into thirty-
dictate the operating parameters that are reasonably              day rolling averages—precisely the kind of question justi-
achievable.                                                       fying deference to EPA’s discretion. See Nat’l Wildlife
   However, based on consideration of comments received           Fed’n v. U. S. Army Corps of Eng’rs, 384 F.3d 1163,
during the public comment period and on the evaluation            1177-78 (9th Cir. 2004).’’ Similarly, the Department is
of NOx emissions data for coal-fired boilers for a 5-year         setting a 30-day rolling average to accommodate vari-
period, final-form § 129.97(g)(1)(viii) and (ix) addresses        ances in hourly or daily emission calculations. With these
the use of installed SCR or SNCR equipment. Further,              variances accommodated, the Department is able to set
the NOx emission limit for CFB combustion units in                emission limitations at a lower level.
§ 129.97(g)(1)(vi)(A) is lowered from the proposed 0.20 lb           In the preamble to the final rule for Implementation of
NOx/million Btu heat input to 0.16 lb NOx/million Btu             the 2008 National Ambient Air Quality Standards for
heat input in the final-form rulemaking.                          Ozone: State Implementation Plan Requirements, the
   The final-form rulemaking adds § 129.97(g)(1)(viii),           EPA supported the use of area-wide emissions averaging
which states that the presumptive emission limitation for         at 80 FR 12264, 12280. The final rule stated ‘‘[t]he EPA’s
a combustion unit with an SCR system operating with an            existing policy recognizes that states can meet NOx RACT
inlet temperature equal to or greater than 600°F is 0.12          requirements by submitting as part of their NOx RACT
lb NOx/million Btu heat input. Section 129.97(g)(1)(viii)         SIP submittal a demonstration that the weighted average
further states that compliance with this emission limit is        NOx emission rate from sources in the nonattainment
also required when by-passing the SCR system. There-              area subject to RACT achieves RACT-level reductions.’’
fore, operation of SCR for one facility cannot be used to         The final rule also stated ‘‘[c]onsistent with previous
offset non-operation of SCR from a different facility in an       guidance, the EPA continues to believe that RACT can be
emissions averaging plan.                                         met on average by a group of sources within a nonattain-
                                                                  ment area rather than at each individual source.’’ The
   Many commentators found that utilities should not be
                                                                  averaging provision included in § 129.98 is consistent
allowed to average their NOx emissions over their entire
                                                                  with the EPA’s final rule.
fleet of power plants in addition to allowing them to
average these emissions over 30 days rather than the                 A number of commentators found that the equation for
1-hour or 8-hour standard. Peaking units should not be            calculating the 30-day rolling average should reflect what
allowed to average their NOx emissions over 30 days               the proposed rulemaking’s actual text provides for, which
rather than 24 hours or less.                                     is that the value for the 30-day rolling average is
                                                                  calculated by taking the total mass of NOx emissions for
   The Board disagrees. A 30-day rolling averaging period         the sources under the plan (over the 30-day period) and
is appropriate to accommodate operation at varying load           comparing that with the total mass of NOx that the
and operating conditions.                                         sources could have emitted by using the emission rates
   A 30-day rolling limit addresses problems including            under the presumptive RACT. In these instances, the
variability in fuel (such as in waste coal combustors),           actual value of emissions must then be less than or equal
emission spikes during start-up and shutdown of the               to the allowable emissions over the 30-day period. Addi-
emission source, and emissions during malfunctions that           tionally, the averaging equation should also be general-
are faced by certain owners and operators. Due to these           ized to allow operators to use engineering units consistent
unavoidable circumstances not indicative of normal opera-         with the type of equipment or process.
tion, it would not be appropriate for utilities utilizing NOx        The Board agrees with the commentators’ suggestion
CEMS to be required to show compliance with the                   about the 30-day rolling average equation. The facility-
presumptive NOx RACT emission limitations over a                  wide NOx emission averaging equation in § 129.98(e) has
1-hour or 8-hour averaging period. The 30-day rolling             been revised in the final-form rulemaking to reflect a
average will require that the owners and operators                mass-to-mass comparison between actual and allowable
operate below the allowable standard to account for the           NOx emissions. The aggregated actual emissions from
occasional higher emissions. A 30-day rolling average has         sources included in the averaging plan must be no greater
been approved by the EPA to demonstrate compliance                than aggregated allowable emissions on a 30-day rolling
with the short-term RACT limitations in SIP revisions             basis. The allowable emissions are necessarily determined
submitted by certain states, including New York and               using the actual operation of the emission sources in-
Wisconsin.                                                        cluded in the plan. The owner or operator assumes the
   Wisconsin’s RACT regulations, which the EPA approved           responsibility to meet the allowable emission limit. See
in October 2010, include emission averaging on a 30-day           the response to comment 138 in the comment and
                                 PENNSYLVANIA BULLETIN, VOL. 46, NO. 17, APRIL 23, 2016                      JA306
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response document for information about how emission            even though it applied for an alternative in good faith
sources are selected for inclusion in an emissions averag-      and on a timely basis. The subsections should be
ing plan proposal submitted under § 129.98.                     amended to provide a mechanism for a regulated source
   Section 129.98(d) has been revised in the final-form         to secure an extension of those deadlines.
rulemaking to clarify that the application for the operat-         The Boards disagrees in part and agrees in part.
ing permit modification or the plan approval, if otherwise      Section 129.97(k)(2)(iv) has not been changed from pro-
required, for averaging NOx emissions on either a facility-     posed to final-form rulemaking. Proposed § 129.97(k)(2)(v)
wide or system-wide basis using a 30-day rolling average        specified that the written petition include a proposed final
submitted under § 129.98(b) must demonstrate that the           compliance date that is as soon as possible but not later
aggregate NOx emissions emitted by the air contamina-           than 3 years after the effective date of adoption of the
tion sources included in the facility-wide or system-wide       proposed rulemaking. Section 129.97(k)(2)(v) has been
NOx emissions averaging plan using a 30-day rolling             amended to specify that the written petition include a
average are not greater than the NOx emissions that             proposed final compliance date that is as soon as possible
would be emitted by the group of included sources if each       but not later than 3 years after the approval of the
source complied with the applicable NOx RACT emission           petition. The approved petition shall be incorporated in
limitation in § 129.97 on a source-specific basis.              an applicable operating permit or plan approval. The
   Section 129.98(e) has been revised in the final-form         affected owner and operator that cannot comply with the
rulemaking to incorporate the following changes in the          presumptive RACT requirement or RACT emission limita-
facility-wide or system-wide NOx emissions averaging            tion without the installation of an air cleaning device
equation: the 0.9 factor was deleted and the final-form         therefore has 6 months to submit the written petition
equation reflects a mass-to-mass comparison between             under § 129.97(k)(1) and may request an extension of the
actual and allowable NOx emissions. Since the final-form        compliance date under § 129.97(k)(2)(v) of up to 3 years
rulemaking sets forth more stringent requirements and           after the approval date of the petition.
emission limitations for certain affected sources than             Some commentators wanted to allow 12 to 18 months
were proposed, the 0.9 factor is not included in the            from the effective date of this final-form rulemaking to
averaging equation.                                             submit a proposed case-by-case RACT, and the compliance
§§ 129.97(a) and (k), 129.99(i) and 129.100(b)—Compli-          deadline for an approved alternative RACT should be
   ance demonstration timeline                                  submitted with the RACT proposal.
   Several commentators noted that the timing in the               The Board disagrees with the commentators that appli-
proposed rulemaking for the implementation of the RACT          cants should have 12 to 18 months after the effective date
regulations is not adequate. A 1-year compliance schedule       of the final-form rulemaking to submit an alternative
for implementing alternative RACT NOx limitations is            RACT proposal. The case-by-case RACT proposals for the
infeasible, grossly inadequate, impractical and unreason-       existing RACT requirements in § 129.91 (relating to
able. The Board should explain why the time frames are          control of major sources of NOx and VOCs) were required
reasonable or provide a request for extension provision in      to be submitted by the affected owners and operators by
the final-form rulemaking.                                      July 15, 1994, which was 6 months after the effective
                                                                date of § 129.91. See 24 Pa.B. 467 (January 15, 1994).
   The Board disagrees with the commentators. The final-        The 6-month time frame in final-form § 129.99(d)(1) for
form rulemaking provides an adequate amount of time for         the submission of alternative RACT proposals is consis-
the implementation of the alternative RACT requirement          tent with existing Department regulations.
or RACT emission limitation. Moreover, the EPA recently
established a January 1, 2017, RACT implementation                 Furthermore, at 80 FR 12264, 12282, the EPA stated
deadline for the 2008 8-hour ozone NAAQS. In the                that ‘‘. . . the January 1, 2017, date allows a sufficient
preamble for the SIP Implementation Requirements Rule           amount of time for states to make RACT determinations
published at 80 FR 12264, 12279, the EPA stated the             and for sources to meet RACT requirements on the
following:                                                      time-table originally anticipated under the 1990 CAA
                                                                Amendments. . . .’’ With a January 1, 2017, RACT imple-
   The EPA believes that the January 1, 2017, date              mentation deadline, the 6-month deadline for the submit-
   allows a sufficient amount of time for states to make        tal of alternatives to the presumptive RACT requirements
   RACT determinations and for sources to meet RACT             and limitations is reasonable.
   requirements on the time-table originally anticipated
   under the 1990 CAA Amendments, and ensures that                The Board agrees with the commentators that the
   RACT measures are required to be in place through-           compliance deadline for an approved alternative RACT
   out the last ozone season prior to the Moderate area         should be submitted with the RACT proposal and in-
   attainment date of July 20, 2018.                            cluded this requirement in proposed § 129.99(d)(4). Final-
                                                                form § 129.99(i)(2)(v) has been revised to specify that the
  The final-form rulemaking provides additional time for        written petition include a proposed final compliance date
compliance if the installation of air cleaning devices or       that is as soon as possible but not later than 3 years after
approval of alternative emission limitations or compliance      the approval of the petition. If the petition is for the
schedules will be necessary for RACT compliance pur-            replacement of an existing source, the final compliance
poses.                                                          date will be determined on a case-by-case basis.
   Two commentators found that § 129.97(a) and (k),             § 129.99. Alternative RACT proposal and petition for
relative to alternative compliance schedules, should allow        alternative compliance schedule
for an exception to the presumptive RACT limits in
                                                                  Several commentators supported the provisions of the
situations when a regulated entity submits a timely and
                                                                proposed rulemaking preserving case-by-case.
complete proposal for an alternative RACT. As written,
the subsections appear to require compliance with the             The Board thanks the commentators for their support.
presumptive RACT limits until the Department approves           The Board believes that the section dealing with case-by-
an alternative RACT. This creates uncertainty and puts          case provides certain flexibility for the regulated commu-
the regulated entity at risk of being in noncompliance          nity. However, the Board does not expect that this
                                PENNSYLVANIA BULLETIN, VOL. 46, NO. 17, APRIL 23, 2016                      JA307
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provision will be used routinely as the owners and              tion, it would not be appropriate for utilities utilizing NOx
operators of most affected sources shall likely meet the        CEMS to be required to show compliance with the
presumptive RACT requirements and RACT emission                 presumptive NOx RACT emission limitations over a
limitations.                                                    1-hour or 8-hour averaging period. The 30-day rolling
  The commentators recommended that the Department              average will require that the owners and operators
further outline the case-by-case process, as well as update     operate below the allowable standard to account for the
and define dollar-per-ton cost thresholds against which         occasional higher emissions. A 30-day rolling average has
case-by-case RACT petitions will be required to rank            been approved by the EPA to demonstrate compliance
technology options. The Department provided similar             with the short-term RACT limitations in SIP revisions
detail in the first RACT implementation program in 1994         submitted by certain states including New York and
and, for example, could include implementation guidance         Wisconsin.
and a reference to the updated EPA cost manual.                   Wisconsin’s RACT regulations, which the EPA approved
   The Board notes that the Department did not establish        in October 2010, include emission averaging on a 30-day
a bright-line cost effectiveness threshold to determine         rolling basis for determining compliance. Wisconsin de-
RACT. For the determination of presumptive NOx RACT             scribed this period as short term and noted that this
emission limitations, the Department generally used a           approach would allow averaging of the typical variations
NOx emission cost-effectiveness upper bound of $2,800           in emission levels from a single unit. For sources not
per ton NOx controlled. However, the cost effectiveness         equipped with CEMS, compliance with the presumptive
thresholds used for presumptive RACT emission limita-           NOx RACT emission limitations is to be shown with
tions may not be appropriate for case-by-case determina-        appropriate EPA reference-method source testing. There-
tions. Prior to the implementation of the final-form RACT       fore, the RACT rulemaking contains adequate require-
rulemaking requirements, the Department may prepare             ments for monitoring that are measureable and verifiable
additional guidance for alternative RACT proposals and          and will be Federally enforceable upon approval by the
petitions for an alternative compliance schedule, if neces-     EPA as a SIP revision.
sary. The case-by-case process itself is outlined under           One commentator believed that the waiver regarding
§ 129.99.                                                       stack testing compliance demonstration in § 129.100(c)
   A commentator said that the Department is to approve,        should be available to all sources subject to the proposed
deny or modify the alternative RACT proposal in writing         regulations, including those subject to § 129.99, the
through the issuance of a plan approval or an operating         case-by-case RACT determination.
permit modification prior to the owner or operator imple-          The Board responds by noting that the owner or
menting the alternative RACT emission limitation. The           operator of any source that is not subject to a presump-
proposed rulemaking should be revised to acknowledge            tive RACT requirement may propose an alternative RACT
that modifications of the alternative RACT proposal will        emission limitation. The alternative RACT proposal may
not be made without input from the applicant.                   include alternative methods of compliance demonstration,
  The Board finds that § 129.99(e)(3) allows the Depart-        including the use of previously performed source testing.
ment to deny or modify the alternative RACT proposal            Since this would involve case-by-case approval, there is
submitted by the applicant if the proposal does not             no need to put any additional requirements in the
comply with § 129.99(d). The proposed alternative RACT          final-form rulemaking.
determinations are required to undergo a public partici-          Another commentator stated that, under § 129.100,
pation process when the applicant will have an opportu-         compliance for each source subject to RACT limits is to be
nity to comment. In addition, the applicant has the right       demonstrated through CEMS or source testing. The final-
to appeal the final RACT determination.                         form rulemaking should provide that engines that are
§ 129.100. Compliance demonstration and recordkeeping           EPA-certified for the NSPS (40 CFR Part 60, Subparts
  requirements                                                  IIII and JJJJ (relating to standards of performance for
                                                                stationary compression ignition internal combustion en-
Subsections (a) and (c)—Source testing and monitoring           gines; and standards of performance for stationary spark
  A few commentators stated that many of these provi-           ignition internal combustion engines)) comply with RACT
sions do not meet the CAA requirement for a monitored,          without resort to CEMS or source testing. The use of an
verifiable, measureable and Federally-enforceable emis-         EPA-certified engine should be sufficient to demonstrate
sions control program.                                          compliance with RACT emission limitations.
  The Board disagrees. The final-form rulemaking con-             The Board disagrees. Compliance must be demon-
tains adequate requirements for monitoring that are             strated in accordance with § 129.100, which requires that
measureable and verifiable and will be Federally enforce-       compliance for each source subject to RACT limits is to be
able upon approval by the EPA as a SIP revision. These          demonstrated through either CEMS or stack testing. A
requirements are under § 129.100.                               certification in and of itself cannot show that a source is
                                                                in compliance with an emission limit. Only a CEMS,
  More than a few commentators believed that NOx
                                                                stack test or other measuring protocol can assure compli-
emissions should be monitored by pollution sources and
                                                                ance. In the case of RACT, the Department decided that a
over a 1-hour and 8-hour standard.
                                                                CEMS or stack test is the most efficacious way to show
   The Board disagrees. For sources equipped with CEMS,         compliance.
a 30-day rolling averaging period is appropriate to accom-      Subsections (d)—(i)—Recordkeeping
modate operation at varying load and operating condi-
tions. A 30-day rolling limit addresses problems including        A few commentators noted that proposed § 129.100
variability in fuel (such as in waste coal combustors),         contained compliance demonstration and recordkeeping
emission spikes during start-up and shutdown of the             requirements for sources subject to part or all of the
emission source, and emissions during malfunctions that         proposed rulemaking. However, there does not seem to be
are faced by certain owners and operators. Due to these         any direction for a source only subject to work practice
unavoidable circumstances not indicative of normal opera-       standards (such as the vague good engineering practices
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requirement). The commentators asked what is their               (precursors to ozone formation) in existence on or before
compliance demonstration method and what records is a            July 20, 2012, the effective date of the EPA’s designations
site required to keep to meet this requirement.                  and classifications for the 2008 ozone NAAQS published
                                                                 at 77 FR 30088.
  The Board points out that § 127.444 requires sources
to operate in a manner consistent with good operating               The Commonwealth must implement permanent and
practices. Sources subject to § 129.97 are already subject       enforceable control measures to attain and maintain the
to § 127.444. The Title V Operating Permit includes the          standards and to ensure violations of the standards do
appropriate recordkeeping and reporting requirements to          not occur for the next decade.
demonstrate compliance with all applicable requirements.            This final-form rulemaking will provide reductions of
   It should be noted that the presumptive RACT require-         both potential and actual NOx and VOC emissions from
ments included in § 129.93 require the installation,             major NOx and VOC emitting facilities Statewide. Addi-
maintenance and operation of the source in accordance            tionally, the owners and operators of many of the facilities
with manufacturer’s specifications. This requirement has         that the commentator is concerned about are already
been implemented since 1995. In addition, the owner or           subject to MACT.
operator may opt to determine RACT requirements on a                A commentator requested clarification regarding the
case-by-case basis under § 129.99 in place of the pre-           jurisdiction of the Philadelphia Air Management Services
sumptive RACT requirements and RACT emission limita-             (AMS) in implementing/enforcing the RACT regulations
tions under § 129.97.                                            in proposed §§ 129.96—129.100. The commentator recom-
  The commentator felt that CO should not be included            mended that compliance with proposed §§ 129.96—
in the log book. At a minimum the CO emissions require-          129.100 satisfy compliance with Philadelphia AMS RACT
ment should be removed as CO is not part of the                  requirements.
proposed NOx and VOC RACT.                                          The Philadelphia AMS in the City of Philadelphia’s
   The Board disagrees. The final-form rulemaking has            Health Department administers a local air pollution
been revised to require biennial tune-ups for a combus-          control program approved by the Department under
tion unit with a rated heat input equal to or greater than       section 12 of the act (35 P.S. § 4012). Air quality regula-
20 million Btu/hour and less than 50 million Btu/hour            tions enforced by the Philadelphia AMS are codified
conducted in accordance with 40 CFR 63.11223. CO                 under Title 3 of the Philadelphia Code. The Philadelphia
emissions are required to be included in the record under        AMS may incorporate Department regulations by refer-
40 CFR 63.11223. In addition, CO emissions are recorded          ence or may enact regulations of its own to satisfy the
as a surrogate for VOC emissions.                                obligations under the CAA and regulations issued under
                                                                 the CAA. The Philadelphia AMS has required the owners
  A commentator stated that the cement kiln limits apply         and operators of affected sources in its jurisdiction to
at all times, including malfunctions, so there is no logical     determine RACT requirements on a case-by-case basis for
reason why the Department would need malfunction logs            the 1997 ozone standard. While the Board’s RACT regula-
to assess compliance with the proposed rulemaking. Mal-          tions will apply Statewide, the Philadelphia AMS may
function records are already required under Title V              establish separate RACT requirements and compliance
boilerplate conditions and do not need to be repeated in         standards for the owners and operators of affected
the proposed rulemaking.                                         sources under its jurisdiction.
  The Board notes that the presumptive NOx RACT                     Commentators signed a petition that expressed concern
emission limitations for Portland cement kilns are appli-        that the proposed rulemaking will not do enough to
cable at all times, including start-up, shutdown and             address pollution at coal-fired power plants.
malfunction. The Department agrees that malfunction
                                                                    The Board acknowledges receipt of a petition containing
records are already required by Title V permits. There-
                                                                 2,246 signatures. The Board also disagrees with the
fore, no additional recordkeeping requirements are im-
                                                                 commentators. The final-form rulemaking requires the
posed on the owner or operator to record malfunction
                                                                 owners and operators of any combustion unit equipped
information due to the final-form rulemaking.
                                                                 with an SCR system that is operating with an inlet
Miscellaneous comments                                           temperature equal to or greater than 600°F to meet a
                                                                 NOx emission limit of 0.12 lb NOx/million Btu. Compli-
  A commentator believed that the failure to apply               ance with this emission limit is also required when
MACT-based limits uniformly, especially to municipal             by-passing the SCR system. The more stringent NOx
waste combustors, also poses a risk of increased VOC             emission limitation for coal-fired units equipped with SCR
exposure to vulnerable populations that may also fall            systems will reduce NOx emissions from the electric
under the rubric of environmental justice communities            generating sector to approximately 59,000 tons of actual
which are warranted additional protection under Federal          NOx emissions. It is also important to note that NOx
Executive Order 12898 (1994), Federal Actions To Address         emissions have declined significantly in this Common-
Environmental Justice in Minority Populations and Low-           wealth, especially from coal-fired EGUs—NOx emissions
Income Populations.                                              decreased from approximately 192,004 tons in 2000 to
   The Board disagrees that the failure to apply MACT-           119,025 tons of NOx emissions in 2013. The final-form
level limitations to subject sources, including municipal        rulemaking will result in further reductions in actual
waste combustors, will pose a risk of increased VOC              NOx emissions from one of the largest sources of NOx
exposure to vulnerable populations. The proposed and             emissions in the Department emissions inventory.
final-form rulemakings address the Commonwealth’s obli-          G. Benefits, Costs and Compliance
gations under the act, the CAA and regulations issued
under the CAA to establish RACT requirements for the             Benefits
8-hour ozone NAAQS promulgated in 1997 and revised in               Reduced ambient concentrations of ground-level ozone
2008. The RACT requirements and emission limitations             would reduce the incidences of hospital admissions for
in the proposed rulemaking are applicable to the owners          respiratory ailments including asthma and improve the
and operators of subject sources of NOx or VOC emissions         quality of life for citizens overall. While children, the
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elderly and those with respiratory problems are most at           Paperwork requirements
risk, even healthy individuals may experience increased             The final-form rulemaking will not increase the paper-
respiratory ailments and other symptoms when they are             work that is already generated during the normal course
exposed to high levels of ambient ground-level ozone              of business operations.
while engaged in activities that involve physical exertion.
                                                                  H. Pollution Prevention
  This final-form rulemaking may create economic oppor-              The Pollution Prevention Act of 1990 (42 U.S.C.A.
tunities for NOx and VOC emission control technology              §§ 13101—13109) established a National policy that pro-
innovators, manufacturers and distributors through an             motes pollution prevention as the preferred means for
increased demand for new or improved equipment. In                achieving state environmental protection goals. The De-
addition, the owners and operators of regulated facilities        partment encourages pollution prevention, which is the
may be required to install and operate an emissions               reduction or elimination of pollution at its source, through
monitoring system or equipment necessary for an emis-             the substitution of environmentally friendly materials,
sions monitoring method to comply with this final-form            more efficient use of raw materials and the incorporation
rulemaking, thereby creating an economic opportunity for          of energy efficiency strategies. Pollution prevention prac-
the emissions monitoring industry.                                tices can provide greater environmental protection with
                                                                  greater efficiency because they can result in significant
Compliance costs                                                  cost savings to the owners and operators of facilities that
                                                                  permanently achieve or move beyond compliance. The
   Compliance costs will vary for each facility depending         final RACT requirements allow the Department and
on which compliance option is chosen by the owner and             approved local air pollution control agencies to maintain
operator of a facility. The final-form rulemaking includes        or increase the reductions of NOx and VOC emissions
a provision for the owner and operator of an affected             from the regulated sources in this Commonwealth, sus-
facility to meet the applicable presumptive NOx RACT or           tain the gains made in healthful air quality and ensure
VOC RACT emission limitation under § 129.97, which is             continued protection of the environment and the public
the option to propose an alternative compliance schedule          health and welfare of the citizens of this Commonwealth.
if an air cleaning device must be installed. In addition, in
                                                                  I. Sunset Review
the case of a NOx limitation, the owners and operators of
an affected facility may elect to meet that applicable NOx           This final-form rulemaking will be reviewed in accord-
RACT emission limitation by averaging NOx emissions on            ance with the sunset review schedule published by the
either a facility-wide or system-wide basis using a 30-day        Department to determine whether the regulations effec-
rolling average under § 129.98.                                   tively fulfill the goals for which they were intended.
  An affected facility owner or operator may also submit          J. Regulatory Review
a case-specific RACT proposal for an alternative emission           Under section 5(a) of the Regulatory Review Act (71
limitation to the Department for approval under                   P.S. § 745.5(a)), on April 7, 2014, the Department submit-
§ 129.99. Under this provision, the owner or operator             ted a copy of the notice of proposed rulemaking, published
shall demonstrate to the Department’s satisfaction that it        at 44 Pa.B. 2392 (April 19, 2014), to the Independent
is economically or technically infeasible to meet the             Regulatory Review Commission (IRRC) and the Chairper-
applicable proposed NOx RACT or VOC RACT emission                 sons of the House and Senate Environmental Resources
limitation. These provisions may minimize compliance              and Energy Committees for review and comment.
costs to the owner or operator of an affected facility.
                                                                    Under section 5(c) of the Regulatory Review Act, IRRC
   The emission limitations established by this final-form        and the House and Senate Committees were provided
rulemaking will not require the submission of applica-            with copies of comments received during the public
tions for amendments to existing operating permits.               comment period, as well as other documents when re-
These requirements will be incorporated as applicable             quested. In preparing the final-form rulemaking, the
requirements at the time of permit renewal, if less than 3        Department has considered all comments from IRRC and
years remain in the permit term, as specified under               the public.
§ 127.463(c) (relating to operating permit revisions to             Under section 5.1(j.2) of the Regulatory Review Act (71
incorporate applicable standards). If 3 years or more             P.S. § 745.5a(j.2)), on March 9, 2016, the final-form
remain in the permit term, the requirements will be               rulemaking was deemed approved by the House and
incorporated as applicable requirements in the permit             Senate Committees. Under section 5.1(e) of the Regula-
within 18 months of the promulgation of the final-form            tory Review Act, IRRC met on March 10, 2016, and
rulemaking, as required under § 127.463(b). Most impor-           approved the final-form rulemaking.
tantly, § 127.463(e) specifies that ‘‘[r]egardless of whether
a revision is required under this section, the permittee          K. Findings
shall meet the applicable standards or regulations pro-             The Board finds that:
mulgated under the Clean Air Act within the time frame
required by standards or regulations.’’ Consequently, the           (1) Public notice of proposed rulemaking was given
requirements will apply to affected owners and operators          under sections 201 and 202 of the act of July 31, 1968
irrespective of a modification to the operating permit.           (P. L. 769, No. 240) (45 P.S. §§ 1201 and 1202) and
                                                                  regulations promulgated thereunder, 1 Pa. Code §§ 7.1
Compliance assistance plan                                        and 7.2.
                                                                    (2) At least a 60-day public comment period was
  The Department will continue to work with the Small
                                                                  provided as required by law and all comments were
Business Assistance Program to aid the facilities less able
                                                                  considered.
to handle permitting matters with in-house staff.
Through increased preapplication meetings with facilities,          (3) This final-form rulemaking does not enlarge the
industry and the Department both benefit by faster                purpose of the proposed rulemaking published at 44 Pa.B.
review of permit applications.                                    2392.
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  (4) These regulations are necessary and appropriate for         (i) Ten TPY in an ozone nonattainment area designated
administration and enforcement of the authorizing acts          as extreme under section 182(e) and (f) of the Clean Air
identified in Section C of this preamble.                       Act (42 U.S.C.A. § 7511a(e) and (f)).
  (5) These regulations are reasonably necessary to at-           (ii) Twenty-five TPY in an ozone nonattainment area
tain and maintain the 8-hour ozone NAAQS and to                 designated as severe under section 182(d) and (f) of the
satisfy related CAA requirements.                               Clean Air Act.
L. Order                                                          (iii) Fifty TPY in an area designated as serious under
   The Board, acting under the authorizing statutes,            section 182(c) and (f) of the Clean Air Act.
orders that:                                                      (iv) One hundred TPY in an area included in an ozone
   (a) The regulations of the Department, 25 Pa. Code           transport region established under section 184 of the
Chapters 121 and 129, are amended by adding                     Clean Air Act (42 U.S.C.A. § 7511c).
§§ 129.96—129.100 and by amending § 121.1 to read as              (v) Twenty-five TPY and is located in Bucks, Chester,
set forth in Annex A, with ellipses referring to existing       Delaware, Montgomery or Philadelphia County. This
text of the regulations.                                        threshold does not apply to §§ 129.96—129.100 (relating
   (b) The Chairperson of the Board shall submit this           to additional RACT requirements for major sources of
order and Annex A to the Office of General Counsel and          NOx and VOCs).
the Office of Attorney General for review and approval as         Major VOC emitting facility—A facility which emits or
to legality and form, as required by law.                       has the potential to emit VOCs from processes located at
   (c) The Chairperson of the Board shall submit this           the site or on contiguous properties under the common
order and Annex A to IRRC and the Committees as                 control of the same person at a rate greater than one of
required by the Regulatory Review Act.                          the following:
   (d) The Chairperson of the Board shall certify this            (i) Ten TPY in an ozone nonattainment area designated
order and Annex A and deposit them with the Legislative         as extreme under section 182(e) of the Clean Air Act.
Reference Bureau as required by law.                              (ii) Twenty-five TPY in an ozone nonattainment area
   (e) This final-form rulemaking will be submitted to the      designated as severe under section 182(d) of the Clean Air
EPA as an amendment to the Pennsylvania SIP.                    Act.
   (f) This order shall take effect upon publication in the       (iii) Fifty TPY in an area included in an ozone trans-
Pennsylvania Bulletin.                                          port region established under section 184 of the Clean Air
                                                                Act.
                                       JOHN QUIGLEY,
                                               Chairperson        (iv) Twenty-five TPY and is located in Bucks, Chester,
                                                                Delaware, Montgomery or Philadelphia County. This
   (Editor’s Note: See 46 Pa.B. 1623 (March 26, 2016) for       threshold does not apply to §§ 129.96—129.100.
IRRC’s approval order.)
                                                                                   *   *    *    *     *
   Fiscal Note: Fiscal Note 7-485 remains valid for the
final adoption of the subject regulations.                        Process—A method, reaction or operation in which
                                                                materials are handled or whereby materials undergo
                          Annex A                               physical change—that is, the size, shape, appearance,
      TITLE 25. ENVIRONMENTAL PROTECTION                        temperature, state or other physical property of the
                                                                material is altered—or chemical change—that is, a sub-
    PART I. DEPARTMENT OF ENVIRONMENTAL
                                                                stance with different chemical composition or properties
                      PROTECTION
                                                                is formed or created. The term includes all of the
       Subpart C. PROTECTION OF NATURAL                         equipment, operations and facilities necessary for the
                   RESOURCES                                    completion of the transformation of the materials to
           ARTICLE III. AIR RESOURCES                           produce a physical or chemical change. There may be
                                                                several processes in series or parallel necessary to the
      CHAPTER 121. GENERAL PROVISIONS                           manufacture of a product.
§ 121.1. Definitions.                                             Process heater—
  The definitions in section 3 of the act (35 P. S. § 4003)       (i) An enclosed device using controlled flame, that is
apply to this article. In addition, the following words and     not a boiler, the primary purpose of which is to transfer
terms, when used in this article, have the following            heat to a process material or to a heat transfer material
meanings, unless the context clearly indicates otherwise:       for use in a process unit.
                  *    *    *     *     *                        (ii) The term does not include an enclosed device that
  CEMS—Continuous emissions monitoring system—All               meets either of the following circumstances:
of the equipment that may be required to meet the data            (A) Has the primary purpose of generating steam.
acquisition and availability requirements established un-
der the act or the Clean Air Act to monitor, measure,             (B) In which the material being heated is in direct
calculate, sample, condition, analyze and provide a record      contact with the products of combustion, including:
of emissions from an affected unit on a continuous basis.         (I) A furnace.
                  *    *    *     *     *                         (II) A kiln.
  Major NOx emitting facility—A facility which emits or           (III) An unfired waste heat recovery heater.
has the potential to emit NOx from the processes located
at the site or on contiguous properties under the common          (IV) A unit used for comfort heat, space heat or food
control of the same person at a rate greater than one of        preparation for onsite consumption.
the following:                                                    (V) An autoclave.
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  Project—A physical change in or change in the method              (ii) The term does not include the following:
of operation of an existing facility, including a new               (A) A combustion turbine.
emissions unit.
                                                                    (B) A nonroad engine as defined in 40 CFR 1068.30
                  *     *    *     *     *                        (relating to what definitions apply to this part), excluding
  Refinery component—A piece of equipment which has               paragraph (2)(ii) of this definition.
the potential to leak VOCs when tested in the manner                (C) An engine used to propel a motor vehicle, an
specified in § 129.58 (relating to petroleum refineries—          aircraft or a vehicle used solely for competition.
fugitive sources). These sources include, but are not
limited to, pump seals, compressor seals, seal oil degas-           (D) A portable temporary source such as an air com-
sing vents, pipeline valves, pressure relief devices, process     pressor or generator.
drains and open-ended pipes. Excluded from these                    Stockpiling—The act of placing, storing and removing
sources are valves which are not externally regulated.            materials on piles exposed to the outdoor atmosphere.
  Refinery gas—Gas produced at a refinery which pro-              Placing refers to the deposition of material onto the pile.
duces petroleum products, including gasoline, from refin-         Removing refers to disturbing the pile either for loading
ery units.                                                        of material into or onto vehicles for transportation pur-
                                                                  poses or for material handling. Material that is not to be
  Refinery unit—A basic process operation, such as distil-        utilized in the production of a product or is not itself a
lation hydrotreating, cracking or reforming of hydrocar-          useful product is excluded from the definition of stockpile
bons which is made up of a set of refinery components.            material. Operations which consist entirely of transfer-
   Regenerative cycle combustion turbine—A stationary             ring material between different transportation convey-
combustion turbine which recovers heat from the combus-           ances are also excluded from this definition.
tion turbine exhaust gases to preheat the inlet combus-                             *    *     *    *    *
tion air to the combustion turbine.
                                                                       CHAPTER 129. STANDARDS FOR SOURCES
  Regulated NSR pollutant—
                                                                  ADDITIONAL RACT REQUIREMENTS FOR MAJOR
                  *     *    *     *     *                                      SOURCES OF NOx AND VOCs
  Silicone insulation material—An insulating material             § 129.96. Applicability.
applied to exterior metal surfaces of aerospace vehicles             (a) The NO x requirements of this section and
for protection from high temperatures caused by atmo-             §§ 129.97—129.100 apply Statewide to the owner and
spheric friction or engine exhaust. These materials differ        operator of a major NOx emitting facility and the VOC
from ablative coatings in that they are not designed to be        requirements of this section and §§ 129.97—129.100 ap-
purposefully exposed to open flame or extreme heat and            ply Statewide to the owner and operator of a major VOC
charred.                                                          emitting facility that were in existence on or before July
   Simple cycle combustion turbine—A stationary combus-           20, 2012, for which a requirement or emission limitation,
tion turbine which does not recover heat from the com-            or both, has not been established in §§ 129.51—129.52c,
bustion turbine exhaust gases to preheat the inlet com-           129.54—129.69, 129.71—129.73, 129.75, 129.77,
bustion air to the combustion turbine, or which does not          129.101—129.107 and 129.301—129.310.
recover heat from the combustion turbine exhaust gases               (b) The NO x requirements of this section and
for purposes other than enhancing the performance of the          §§ 129.97—129.100 apply Statewide to the owner and
combustion turbine itself.                                        operator of a NOx emitting facility and the VOC require-
  Single coat—One film of coating applied to a metal              ments of this section and §§ 129.97—129.100 apply State-
surface.                                                          wide to the owner and operator of a VOC emitting facility
                                                                  when the installation of a new source or a modification or
                  *     *    *     *     *                        change in operation of an existing source after July 20,
  Start-up—For purposes of §§ 129.301—129.310, the                2012, results in the source or facility meeting the defini-
period of time, after initial construction, shutdown or cold      tion of a major NOx emitting facility or a major VOC
shutdown, during which a glass melting furnace is heated          emitting facility and for which a requirement or an
to stable operating temperature by the primary furnace            emission limitation, or both, has not been established in
combustion system, and systems and instrumentation are            §§ 129.51—129.52c, 129.54—129.69, 129.71—129.73,
brought to stabilization.                                         129.75, 129.77, 129.101—129.107 and 129.301—129.310.
  Stationary combustion turbine—Equipment, including                 (c) This section and §§ 129.97—129.100 do not apply to
the turbine, fuel, air, lubrication and exhaust gas sys-          the owner and operator of a NOx air contamination source
tems, control systems (except emissions control equip-            located at a major NOx emitting facility that has the
ment), heat recovery system, and ancillary components             potential to emit less than 1 TPY of NOx or a VOC air
and subcomponents comprising a simple cycle combustion            contamination source located at a major VOC emitting
turbine, a regenerative or recuperative cycle combustion          facility that has the potential to emit less than 1 TPY of
turbine, a combined cycle combustion turbine, and a               VOC.
combined heat and power combustion turbine-based sys-               (d) This section and §§ 129.97—129.100 do not apply
tem. The equipment is not self-propelled or intended to be        to the owner and operator of a facility which is not a
propelled while performing its function. The equipment            major NOx emitting facility or a major VOC emitting
may be mounted on a vehicle for portability.                      facility on or before January 1, 2017.
  Stationary internal combustion engine or stationary             § 129.97. Presumptive RACT requirements, RACT
reciprocating internal combustion engine—                           emission limitations and petition for alternative
                                                                    compliance schedule.
  (i) An internal combustion engine which uses recipro-
cating motion to convert heat energy into mechanical               (a) The owner and operator of a source listed in one or
work and which is not mobile.                                     more of subsections (b)—(h) located at a major NOx
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emitting facility or major VOC emitting facility subject to        (1) A NOx air contamination source that has the poten-
§ 129.96 (relating to applicability) shall comply with the      tial to emit less than 5 TPY of NOx.
applicable presumptive RACT requirement or RACT
                                                                  (2) A VOC air contamination source that has the
emission limitation, or both, beginning with the specified
                                                                potential to emit less than 2.7 TPY of VOC.
compliance date as follows, unless an alternative compli-
ance schedule is submitted and approved under subsec-             (3) A boiler or other combustion source with an indi-
tions (k)—(m) or § 129.99 (relating to alternative RACT         vidual rated gross heat input less than 20 million Btu/
proposal and petition for alternative compliance sched-         hour.
ule):
                                                                  (4) A combustion turbine with a rated output less than
  (1) January 1, 2017, for a source subject to § 129.96(a).     1,000 bhp.
  (2) January 1, 2017, or 1 year after the date the source        (5) A stationary internal combustion engine rated at
meets the definition of a major NOx emitting facility or        less than 500 bhp (gross).
major VOC emitting facility, whichever is later, for a
source subject to § 129.96(b).                                    (6) An incinerator, thermal oxidizer or catalytic oxi-
                                                                dizer used primarily for air pollution control.
  (b) The owner and operator of a source specified in this
subsection, which is located at a major NOx emitting              (7) A fuel-burning unit with an annual capacity factor
facility or major VOC emitting facility subject to § 129.96     of less than 5%.
shall comply with the following:                                  (i) For a combustion unit, the annual capacity factor is
   (1) The presumptive RACT requirement for a combus-           the ratio of the unit’s heat input (in million Btu or
tion unit with a rated heat input equal to or greater than      equivalent units of measure) to the unit’s maximum rated
20 million Btu/hour and less than 50 million Btu/hour,          hourly heat input rate (in million Btu/hour or equivalent
which is the performance of a biennial tune-up conducted        units of measure) multiplied by 8,760 hours during a
in accordance with the procedures in 40 CFR 63.11223            period of 12 consecutive calendar months.
(relating to how do I demonstrate continuous compliance
with the work practice and management practice stan-              (ii) For an electric generating unit, the annual capacity
dards). The biennial tune-up must include, at a mini-           factor is the ratio of the unit’s actual electric output
mum, the following:                                             (expressed in MWe/hr) to the unit’s nameplate capacity
                                                                (or maximum observed hourly gross load (in MWe/hr) if
  (i) Inspection and cleaning or replacement of fuel-           greater than the nameplate capacity) multiplied by 8,760
burning equipment, including the burners and compo-             hours during a period of 12 consecutive calendar months.
nents, as necessary, for proper operation as specified by
the manufacturer.                                                 (iii) For any other unit, the annual capacity factor is
                                                                the ratio of the unit’s actual operating level to the unit’s
  (ii) Inspection of the flame pattern and adjustment of        potential operating level during a period of 12 consecutive
the burner, as necessary, to optimize the flame pattern to      calendar months.
minimize total emissions of NOx and, to the extent
possible, emissions of CO.                                        (8) An emergency standby engine operating less than
                                                                500 hours in a 12-month rolling period.
   (iii) Inspection and adjustment, as necessary, of the
air-to-fuel ratio control system to ensure proper calibra-        (d) Except as specified under subsection (c), the owner
tion and operation as specified by the manufacturer.            and operator of a combustion unit or other combustion
                                                                source located at a major VOC emitting facility subject to
  (2) The owner or operator of a combustion unit with an        § 129.96 shall install, maintain and operate the source in
oxygen trim system that maintains an optimum air-to-            accordance with the manufacturer’s specifications and
fuel ratio that would otherwise be subject to a biennial        with good operating practices for the control of the VOC
tune-up shall conduct a tune-up of the boiler one time in       emissions from the combustion unit or other combustion
each 5-year calendar period. The tune-up must include, at       source.
a minimum, the following:
                                                                  (e) The owner and operator of a municipal solid waste
  (i) Inspection and cleaning or replacement of fuel-           landfill subject to § 129.96 shall comply with the follow-
burning equipment, including the burners and compo-             ing applicable presumptive RACT requirement:
nents, as necessary, for proper operation as specified by
the manufacturer.                                                 (1) For a municipal solid waste landfill constructed on
                                                                or before May 30, 1991, emission guidelines and compli-
  (ii) Inspection of the flame pattern and adjustment of        ance times in 40 CFR Part 60, Subpart Cc (relating to
the burner, as necessary, to optimize the flame pattern to      emission guidelines and compliance times for municipal
minimize total emissions of NOx and, to the extent              solid waste landfills), which are adopted and incorporated
possible, emissions of CO.                                      by reference in § 122.3 (relating to adoption of stan-
   (iii) Inspection and adjustment, as necessary, of the        dards), and applicable Federal or state plans in 40 CFR
air-to-fuel ratio control system to ensure proper calibra-      Part 62 (relating to approval and promulgation of state
tion and operation as specified by the manufacturer.            plans for designated facilities and pollutants).
   (3) The applicable recordkeeping requirements of               (2) For a municipal solid waste landfill constructed
§ 129.100(d), (e) or (f) (relating to compliance demonstra-     after May 30, 1991, New Source Performance Standards
tion and recordkeeping requirements).                           in 40 CFR Part 60, Subpart WWW (relating to standards
                                                                of performance for municipal solid waste landfills), which
  (c) The owner and operator of a source specified in this      are adopted and incorporated by reference in § 122.3.
subsection, which is located at a major NOx emitting
facility or major VOC emitting facility subject to § 129.96       (f) The owner and operator of a municipal waste com-
shall install, maintain and operate the source in accord-       bustor subject to § 129.96 shall comply with the pre-
ance with the manufacturer’s specifications and with good       sumptive RACT requirement of 180 ppmvd NOx @ 7%
operating practices:                                            oxygen.
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   (g) Except as specified under subsection (c), the owner          (ii) For a combined cycle or combined heat and power
and operator of a NOx air contamination source specified          combustion turbine with a rated output equal to or
in this subsection, which is located at a major NOx               greater than 180 MW when firing:
emitting facility or a VOC air contamination source                 (A) Natural gas or a noncommercial gaseous fuel, 4
specified in this subsection, which is located at a major         ppmvd NOx @ 15% oxygen.
VOC emitting facility subject to § 129.96 may not cause,
allow or permit NOx or VOCs to be emitted from the air              (B) Fuel oil, 8 ppmvd NOx @ 15% oxygen.
contamination source in excess of the applicable presump-           (C) Natural gas or a noncommercial gaseous fuel, 2
tive RACT emission limitation:                                    ppmvd VOC (as propane) @ 15% oxygen.
   (1) A combustion unit or process heater:                         (D) Fuel oil, 2 ppmvd VOC (as propane) @ 15% oxygen.
   (i) For a natural gas-fired combustion unit or process           (iii) For a simple cycle or regenerative cycle combustion
heater with a rated heat input equal to or greater than           turbine with a rated output equal to or greater than
50 million Btu/hour, 0.10 lb NOx/million Btu heat input.          1,000 bhp and less than 6,000 bhp when firing:
   (ii) For a distillate oil-fired combustion unit or process       (A) Natural gas or a noncommercial gaseous fuel, 150
heater with a rated heat input equal to or greater than           ppmvd NOx @ 15% oxygen.
50 million Btu/hour, 0.12 lb NOx/million Btu heat input.
                                                                    (B) Fuel oil, 150 ppmvd NOx @ 15% oxygen.
   (iii) For a residual oil-fired or other liquid fuel-fired
combustion unit or process heater with a rated heat input           (C) Natural gas or a noncommercial gaseous fuel, 9
equal to or greater than 50 million Btu/hour, 0.20 lb             ppmvd VOC (as propane) @ 15% oxygen.
NOx/million Btu heat input.                                          (D) Fuel oil, 9 ppmvd VOC (as propane) @ 15% oxygen.
   (iv) For a refinery gas-fired combustion unit or process          (iv) For a simple cycle or regenerative cycle combustion
heater with a rated heat input equal to or greater than           turbine with a rated output equal to or greater than
50 million Btu/hour, 0.25 lb NOx/million Btu heat input.          6,000 bhp when firing:
   (v) For a coal-fired combustion unit with a rated heat            (A) Natural gas or a noncommercial gaseous fuel, 42
input equal to or greater than 50 million Btu/hour and            ppmvd NOx @ 15% oxygen.
less than 250 million Btu/hour, 0.45 lb NOx/million Btu
                                                                     (B) Fuel oil, 96 ppmvd NOx @ 15% oxygen.
heat input.
                                                                     (C) Natural gas or a noncommercial gaseous fuel, 9
   (vi) For a coal-fired combustion unit with a rated heat
                                                                  ppmvd VOC (as propane) @ 15% oxygen.
input equal to or greater than 250 million Btu/hour that
is:                                                                  (D) Fuel oil, 9 ppmvd VOC (as propane) @ 15% oxygen.
   (A) A circulating fluidized bed combustion unit, 0.16 lb          (3) A stationary internal combustion engine:
NOx/million Btu heat input.                                          (i) For a lean burn stationary internal combustion
   (B) A tangentially fired combustion unit, 0.35 lb NOx/         engine with a rating equal to or greater than 500 bhp
million Btu heat input.                                           fired with:
   (C) Any other type of coal-fired combustion unit, 0.40            (A) Natural gas or a noncommercial gaseous fuel, 3.0
lb NOx/million Btu heat input.                                    grams NOx/bhp-hr.
  (vii) For any other type of solid fuel-fired combustion            (B) Natural gas or a noncommercial gaseous fuel,
unit with a rated heat input equal to or greater than 50          liquid fuel or dual-fuel, 1.0 gram VOC/bhp-hr excluding
million Btu/hour, 0.25 lb NOx/million Btu heat input.             formaldehyde.
  (viii) For a coal-fired combustion unit with a selective           (ii) For a stationary internal combustion engine with a
catalytic reduction system operating with an inlet tem-           rating equal to or greater than 500 bhp fired with liquid
perature equal to or greater than 600°F, 0.12 lb NOx/             fuel or dual-fuel, 8.0 grams NOx/bhp-hr.
million Btu heat input. Compliance with this emission                (iii) For a rich burn stationary internal combustion
limit is also required when by-passing the selective              engine with a rating equal to or greater than 500 bhp
catalytic reduction system.                                       fired with:
  (ix) For a coal-fired combustion unit with a selective            (A) Natural gas or a noncommercial gaseous fuel, 2.0
noncatalytic reduction system, the selective noncatalytic         grams NOx/bhp-hr.
reduction system shall be operated with the injection of
reagents including ammonia or other NOx-reducing                    (B) Natural gas or a noncommercial gaseous fuel, 1.0
agents when the temperature at the area of the reagent            gram VOC/bhp-hr.
injection is equal to or greater than 1,600°F.                      (4) A unit firing multiple fuels:
  (2) A combustion turbine:                                         (i) The applicable RACT multiple fuel emission limit
                                                                  shall be determined on a total heat input fuel weighted
   (i) For a combined cycle or combined heat and power
                                                                  basis using the following equation:
combustion turbine with a rated output equal to or
greater than 1,000 bhp and less than 180 MW when
firing:                                                                                    兺
                                                                               EHIweighted =
                                                                                                n
                                                                                                 i = 1 EiHIi

  (A) Natural gas or a noncommercial gaseous fuel, 42
ppmvd NOx @ 15% oxygen.
                                                                                           兺    n
                                                                                                i = 1 HIi
                                                                    Where:
  (B) Fuel oil, 96 ppmvd NOx @ 15% oxygen.
                                                                    EHIweighted = The heat input fuel weighted multiple fuel
  (C) Natural gas or a noncommercial gaseous fuel, 5              emission rate or emission limitation for the compliance
ppmvd VOC (as propane) @ 15% oxygen.
                                                                  period, expressed in units of measure consistent with the
  (D) Fuel oil, 9 ppmvd VOC (as propane) @ 15% oxygen.            units of measure for the emission limitation.
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  Ei = The emission rate or emission limit for fuel i              (2) The written petition must include:
during the compliance period, expressed in units of                (i) A description, including make, model and location,
measure consistent with the units of measure for the             of each affected source subject to a RACT requirement or
emission limitation.                                             a RACT emission limitation in one or more of subsections
  HIi = The total heat input for fuel i during the               (b)—(h).
compliance period.                                                 (ii) A description of the proposed air cleaning device to
  n = The number of different fuels used during the              be installed.
compliance period.                                                 (iii) A schedule containing proposed interim dates for
  (ii) A fuel representing less than 1% of the unit’s            completing each phase of the required work to install the
annual fuel consumption on a heat input basis is excluded        air cleaning device described in subparagraph (ii).
when determining the applicable RACT multiple fuel                  (iv) A proposed interim emission limitation that will be
emission limit calculated in accordance with subpara-            imposed on the affected source until compliance is
graph (i).                                                       achieved with the applicable RACT requirement or RACT
  (iii) The determination in subparagraph (i) does not           emission limitation.
apply to a stationary internal combustion engine that is            (v) A proposed final compliance date that is as soon as
subject to the RACT emission limits in paragraph (3).            possible but not later than 3 years after the written
  (h) The owner and operator of a Portland cement kiln           approval of the petition by the Department or the appro-
subject to § 129.96 shall comply with the following              priate approved local air pollution control agency. The
applicable presumptive RACT emission limitation:                 approved petition shall be incorporated in an applicable
                                                                 operating permit or plan approval.
  (1) 3.88 pounds of NOx per ton of clinker produced for
a long wet-process cement kiln as defined in § 145.142              (l) The Department or appropriate approved local air
(relating to definitions).                                       pollution control agency will review the timely and com-
                                                                 plete written petition requesting an alternative compli-
  (2) 3.44 pounds of NOx per ton of clinker produced for         ance schedule submitted in accordance with subsection
a long dry-process cement kiln as defined in § 145.142.          (k) and approve or deny the petition in writing.
  (3) 2.36 pounds of NOx per ton of clinker produced for:           (m) Approval or denial under subsection (l) of the
  (i) A preheater cement kiln as defined in § 145.142.           timely and complete petition for an alternative compli-
                                                                 ance schedule submitted under subsection (k) will be
  (ii) A precalciner cement kiln as defined in § 145.142.        effective on the date the letter of approval or denial of the
   (i) The requirements and emission limitations of this         petition is signed by the authorized representative of the
section supersede the requirements and emission limita-          Department or appropriate approved local air pollution
tions of a RACT permit issued to the owner or operator of        control agency.
an air contamination source subject to one or more of            § 129.98. Facility-wide or system-wide NOx emis-
subsections (b)—(h) prior to April 23, 2016, under                  sions averaging plan general requirements.
§§ 129.91—129.95 (relating to stationary sources of NOx
and VOCs) to control, reduce or minimize NOx emissions              (a) The owner or operator of a major NOx emitting
or VOC emissions, or both, from the air contamination            facility subject to § 129.96 (relating to applicability) that
source unless the permit contains more stringent require-        includes at least one air contamination source subject to a
ments or emission limitations, or both.                          NOx RACT emission limitation in § 129.97 (relating to
                                                                 presumptive RACT requirements, RACT emission limita-
   (j) The requirements and emission limitations of this         tions and petition for alternative compliance schedule)
section supersede the requirements and emission limita-          that cannot meet the applicable NOx RACT emission
tions of §§ 129.201—129.205, 145.111—145.113 and                 limitation may elect to meet the applicable NOx RACT
145.141—145.146 (relating to additional NOx require-             emission limitation in § 129.97 by averaging NOx emis-
ments; emissions of NOx from stationary internal combus-         sions on either a facility-wide or system-wide basis using
tion engines; and emissions of NOx from cement manufac-          a 30-day rolling average. System-wide emissions averag-
turing) unless the requirements or emission limitations of       ing must be among sources under common control of the
§§ 129.201—129.205,         §§ 145.111—145.113          or       same owner or operator within the same ozone nonattain-
§§ 145.141—145.146 are more stringent.                           ment area in this Commonwealth.
  (k) The owner or operator of a major NOx emitting                 (b) The owner or operator of each facility that elects to
facility or a major VOC emitting facility subject to             comply with subsection (a) shall submit a written NOx
§ 129.96 that includes an air contamination source sub-          emissions averaging plan to the Department or appropri-
ject to one or more of subsections (b)—(h) that cannot           ate approved local air pollution control agency as part of
meet the applicable presumptive RACT requirement or              an application for an operating permit modification or a
RACT emission limitation without installation of an air          plan approval, if otherwise required. The application
cleaning device may submit a petition, in writing, re-           incorporating the requirements of this section shall be
questing an alternative compliance schedule in accord-           submitted by the applicable date as follows:
ance with the following:
                                                                   (1) October 24, 2016, for a source subject to
  (1) The written petition shall be submitted to the             § 129.96(a).
Department or appropriate approved local air pollution
                                                                   (2) October 24, 2016, or 6 months after the date that
control agency as soon as possible but not later than:
                                                                 the source meets the definition of a major NOx emitting
  (i) October 24, 2016, for a source subject to § 129.96(a).     facility, whichever is later, for a source subject to
  (ii) October 24, 2016, or 6 months after the date that         § 129.96(b).
the source meets the definition of a major NOx emitting            (c) Each NOx air contamination source included in the
facility, whichever is later, for a source subject to            application for an operating permit modification or a plan
§ 129.96(b).                                                     approval, if otherwise required, for averaging NOx emis-
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sions on either a facility-wide or system-wide basis using       may be included in only one facility-wide or system-wide
a 30-day rolling average submitted under subsection (b)          NOx emissions averaging plan.
must be an air contamination source subject to a NOx               (i) The Department or appropriate approved local air
RACT emission limitation in § 129.97.                            pollution control agency will issue a modification to the
   (d) The application for the operating permit modifica-        operating permit or a plan approval authorizing the NOx
tion or the plan approval, if otherwise required, for            emissions averaging plan.
averaging NOx emissions on either a facility-wide or               (j) The owner or operator of an air contamination
system-wide basis using a 30-day rolling average submit-         source or facility included in the facility-wide or system-
ted under subsection (b) must demonstrate that the               wide NOx emissions averaging plan submitted in accord-
aggregate NOx emissions emitted by the air contamina-            ance with subsections (b)—(h) shall submit the reports
tion sources included in the facility-wide or system-wide        and records specified in subsection (g)(3) to the Depart-
NOx emissions averaging plan using a 30-day rolling              ment or appropriate approved local air pollution control
average are not greater than the NOx emissions that              agency on the schedule specified in subsection (g)(3) to
would be emitted by the group of included sources if each        demonstrate compliance with § 129.100.
source complied with the applicable NOx RACT emission
limitation in § 129.97 on a source-specific basis.                  (k) The owner or operator of an air contamination
                                                                 source or facility included in a facility-wide or system-
   (e) The owner or operator shall calculate the alterna-        wide NOx emissions averaging plan submitted in accord-
tive facility-wide or system-wide NOx RACT emissions             ance with subsections (b)—(h) that achieves emission
limitation using a 30-day rolling average for the air            reductions in accordance with other emission limitations
contamination sources included in the application for the        required under the act or the Clean Air Act, or regula-
operating permit modification or plan approval, if other-        tions adopted under the act or the Clean Air Act, that are
wise required, submitted under subsection (b) by using           not NOx RACT emission limitations may not substitute
the following equation to sum the emissions for all of the       those emission reductions for the emission reductions
sources included in the NOx emissions averaging plan:            required by the facility-wide or system-wide NOx emis-
     [兺     n
                       ] [兺
            i = 1 Eiactual ⱕ
                               n
                                               ]
                               i = 1 Eiallowable
                                                                 sions averaging plan submitted to the Department or
                                                                 appropriate approved local air pollution control agency
                                                                 under subsection (b).
  Where:
                                                                    (l) The owner or operator of an air contamination
  Eiactual = The actual NOx mass emissions, including            source subject to a NOx RACT emission limitation in
emissions during start-ups, shutdowns and malfunctions,          § 129.97 that is not included in a facility-wide or system-
for air contamination source i on a 30-day rolling basis.        wide NOx emissions averaging plan submitted under
  Eiallowable = The allowable NOx mass emissions com-            subsection (b) shall operate the source in compliance with
puted using the allowable emission rate limitations for air      the applicable NO x RACT emission limitation in
contamination source i on a 30-day rolling basis specified       § 129.97.
in § 129.97. If an air contamination source included in an          (m) The owner and operator of the air contamination
averaging plan is subject to a numerical emission rate           sources included in a facility-wide or system-wide NOx
limit that is more stringent than the applicable allowable       emissions averaging plan submitted under subsection (b)
emission rate limitation in § 129.97, then the numerical         shall be liable for a violation of an applicable NOx RACT
emission rate limit shall be used for the calculation of the     emission limitation at each source included in the NOx
allowable NOx mass emissions.                                    emissions averaging plan.
  n = The number of air contamination sources included           § 129.99. Alternative RACT proposal and petition
in the NOx emissions averaging plan.                                for alternative compliance schedule.
   (f) The application for the operating permit modifica-           (a) The owner or operator of an air contamination
tion or a plan approval, if otherwise required, specified in     source subject to § 129.97 (relating to presumptive RACT
subsections (b)—(e) may include facility-wide or system-         requirements, RACT emission limitations and petition for
wide NOx emissions averaging using a 30-day rolling              alternative compliance schedule) located at a major NOx
average only for NOx emitting sources or NOx emitting            emitting facility or major VOC emitting facility subject to
facilities that are owned or operated by the applicant.          § 129.96 (relating to applicability) that cannot meet the
                                                                 applicable presumptive RACT requirement or RACT
   (g) The application for the operating permit modifica-        emission limitation of § 129.97 may propose an alterna-
tion or a plan approval, if otherwise required, specified in     tive RACT requirement or RACT emission limitation in
subsections (b)—(f) must include the following informa-          accordance with subsection (d).
tion:
                                                                    (b) The owner or operator of a NOx air contamination
  (1) Identification of each air contamination source in-        source with a potential emission rate equal to or greater
cluded in the NOx emissions averaging plan.                      than 5.0 tons of NOx per year that is not subject to
  (2) Each air contamination source’s applicable emission        § 129.97 or §§ 129.201—129.205 (relating to additional
limitation in § 129.97.                                          NOx requirements) located at a major NOx emitting
                                                                 facility subject to § 129.96 shall propose a NOx RACT
  (3) Methods for demonstrating compliance and                   requirement or RACT emission limitation in accordance
recordkeeping and reporting requirements in accordance           with subsection (d).
with § 129.100 (relating to compliance demonstration and
                                                                    (c) The owner or operator of a VOC air contamination
recordkeeping requirements) for each source included in
                                                                 source with a potential emission rate equal to or greater
the NOx emissions averaging plan submitted under sub-
section (b).                                                     than 2.7 tons of VOC per year that is not subject to
                                                                 § 129.97 located at a major VOC emitting facility subject
  (h) An air contamination source or facility included in        to § 129.96 shall propose a VOC RACT requirement or
the facility-wide or system-wide NOx emissions averaging         RACT emission limitation in accordance with subsection
plan submitted in accordance with subsections (b)—(g)            (d).
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  (d) The owner or operator proposing an alternative               (3) Deny or modify the alternative RACT proposal
RACT requirement or RACT emission limitation under               submitted under subsection (d), in writing, if the proposal
subsection (a), (b) or (c) shall:                                does not comply with the requirements of subsection (d).
  (1) Submit a written RACT proposal in accordance with            (f) The proposed alternative RACT requirement or
the procedures in § 129.92(a)(1)—(5), (7)—(10) and (b)           RACT emission limitation and the implementation sched-
(relating to RACT proposal requirements) to the Depart-          ule submitted under subsection (d) will be approved,
ment or appropriate approved local air pollution control         denied or modified by the Department or appropriate
agency as soon as possible but not later than:                   approved local air pollution control agency in accordance
  (i) October 24, 2016, for a source subject to § 129.96(a).     with subsection (e) in writing through the issuance of a
                                                                 plan approval or operating permit modification prior to
  (ii) October 24, 2016, or 6 months after the date that         the owner or operator implementing the alternative
the source meets the definition of a major NOx emitting          RACT requirement or RACT emission limitation.
facility or major VOC emitting facility, whichever is later,
for a source subject to § 129.96(b).                               (g) The emission limit and requirements specified in
                                                                 the plan approval or operating permit issued by the
   (2) Be in receipt of an approval issued by the Depart-        Department or appropriate approved local air pollution
ment or appropriate approved local air pollution control         control agency under subsection (f) supersede the emis-
agency in writing through a plan approval or operating           sion limit and requirements in the existing plan approval
permit modification for a RACT proposal submitted under          or operating permit issued to the owner or operator of the
paragraph (1)(ii) prior to the installation, modification or     source prior to April 23, 2016, on the date specified in the
change in the operation of the existing air contamination        plan approval or operating permit issued by the Depart-
source that will result in the source or facility meeting        ment or appropriate approved local air pollution control
the definition of a major NOx emitting facility or major         agency under subsection (f), except to the extent the
VOC emitting facility.                                           existing plan approval or operating permit contains more
   (3) Include in the RACT proposal the proposed alterna-        stringent requirements.
tive NOx RACT requirement or RACT emission limitation              (h) The Department will submit each alternative RACT
or VOC RACT requirement or RACT emission limitation              requirement or RACT emission limitation approved under
developed in accordance with the procedures in                   subsection (f) to the Administrator of the EPA for ap-
§ 129.92(a)(1)—(5) and (b).                                      proval as a revision to the SIP. The owner and operator of
   (4) Include in the RACT proposal a schedule for com-          the facility shall bear the costs of public hearings and
pleting implementation of the RACT requirement or                notifications, including newspaper notices, required for
RACT emission limitation as soon as possible but not             the SIP submittal.
later than:                                                        (i) The owner and operator of a facility proposing to
   (i) January 1, 2017, for a source subject to § 129.96(a).     comply with the applicable RACT requirement or RACT
                                                                 emission limitation under subsection (a), (b) or (c)
   (ii) January 1, 2017, or 1 year after the date that the       through the installation of an air cleaning device may
source meets the definition of a major NOx emitting              submit a petition, in writing, requesting an alternative
facility or major VOC emitting facility, whichever is later,     compliance schedule in accordance with the following:
for a source subject to § 129.96(b).
                                                                   (1) The written petition requesting an alternative com-
   (5) Include interim dates in the schedule required            pliance schedule shall be submitted to the Department or
under paragraph (4) for the:                                     appropriate approved local air pollution control agency as
   (i) Issuance of purchase orders.                              soon as possible but not later than:
   (ii) Start and completion of process, technology and            (i) October 24, 2016, for a source subject to § 129.96(a).
control technology changes.                                        (ii) October 24, 2016, or 6 months after the date that
  (iii) Completion of compliance testing.                        the source meets the definition of a major NOx emitting
                                                                 facility, whichever is later, for a source subject to
  (6) Include in the RACT proposal methods for demon-            § 129.96(b).
strating compliance and recordkeeping and reporting
requirements in accordance with § 129.100 (relating to             (2) The written petition must include:
compliance demonstration and recordkeeping require-                (i) A description, including make, model and location,
ments) for each air contamination source included in the         of each air contamination source subject to a RACT
RACT proposal.                                                   requirement or RACT emission limitation in one or more
  (7) Demonstrate to the satisfaction of the Department          of subsections (a)—(c).
or the appropriate approved local air pollution control            (ii) A description of the proposed air cleaning device to
agency that the proposed requirement or RACT emission            be installed.
limitation is RACT for the air contamination source.
                                                                   (iii) A schedule containing proposed interim dates for
  (e) The Department or appropriate approved local air           completing each phase of the required work to install the
pollution control agency will:                                   air cleaning device described in subparagraph (ii).
  (1) Review the timely and complete alternative RACT              (iv) A proposed interim emission limitation that will be
proposal submitted in accordance with subsection (d).            imposed on the affected air contamination source until
  (2) Approve the alternative RACT proposal submitted            compliance is achieved with the applicable RACT require-
under subsection (d), in writing, if the Department or           ment or RACT emission limitation.
appropriate approved local air pollution control agency is         (v) A proposed final compliance date that is as soon as
satisfied that the alternative RACT proposal complies            possible but not later than 3 years after the approval of
with the requirements of subsection (d) and that the             the petition by the Department or the appropriate ap-
proposed alternative requirement or RACT emission limi-          proved local air pollution control agency. If the petition is
tation is RACT for the air contamination source.                 for the replacement of an existing source, the final
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compliance date will be determined on a case-by-case             sions that occur during the entire operating day, includ-
basis. The approved petition shall be incorporated in an         ing emissions from start-ups, shutdowns and malfunc-
applicable operating permit or plan approval.                    tions.
   (j) The Department or appropriate approved local air            (2) For a Portland cement kiln with a CEMS, monitor-
pollution control agency will review the timely and com-         ing of clinker production rates in accordance with 40 CFR
plete written petition requesting an alternative compli-         63.1350(d) (relating to monitoring requirements).
ance schedule submitted in accordance with subsection (i)
and approve or deny the petition in writing.                       (3) For a municipal waste combustor with a CEMS,
                                                                 monitoring and testing in accordance with the require-
   (k) The emission limit and requirements specified in          ments in Chapter 139, Subchapter C, using a daily
the plan approval or operating permit issued by the              average.
Department or appropriate approved local air pollution
control agency under subsection (j) supersede the emis-            (4) For an air contamination source without a CEMS,
sion limit and requirements in the existing plan approval        monitoring and testing in accordance with a Department-
or operating permit issued to the owner or operator of the       approved emissions source test that meets the require-
source prior to April 23, 2016, on the date specified in the     ments of Chapter 139, Subchapter A (relating to sampling
plan approval or operating permit issued by the Depart-          and testing methods and procedures). The source test
ment or appropriate approved local air pollution control         shall be conducted one time in each 5-year calendar
agency under subsection (j), except to the extent the            period.
existing plan approval or operating permit contains more           (b) Except as provided in § 129.97(k) and § 129.99(i)
stringent requirements.                                          (relating to alternative RACT proposal and petition for
   (l) Approval or denial under subsection (j) of the timely     alternative compliance schedule), the owner and operator
and complete petition for an alternative compliance              of an air contamination source subject to subsection (a)
schedule submitted under subsection (i) will be effective        shall demonstrate compliance with the applicable RACT
on the date the letter of approval or denial of the petition     requirement or RACT emission limitation in accordance
is signed by the authorized representative of the Depart-        with the procedures in subsection (a) not later than:
ment or appropriate approved local air pollution control           (1) January 1, 2017, for a source subject to § 129.96(a)
agency.                                                          (relating to applicability).
§ 129.100. Compliance            demonstration          and
                                                                   (2) January 1, 2017, or 1 year after the date that the
   recordkeeping requirements.
                                                                 source meets the definition of a major NOx emitting
  (a) Except as provided in subsection (c), the owner and        facility or major VOC emitting facility, whichever is later,
operator of an air contamination source subject to a NOx         for a source subject to § 129.96(b).
requirement or RACT emission limitation or VOC re-
quirement or RACT emission limitation, or both, listed in          (c) An owner or operator of an air contamination source
§ 129.97 (relating to presumptive RACT requirements,             subject to this section, §§ 129.96 and 129.97 and
RACT emission limitations and petition for alternative           § 129.98 (relating to facility-wide or system-wide NOx
                                                                 emissions averaging plan general requirements) may re-
compliance schedule) shall demonstrate compliance with
                                                                 quest a waiver from the requirement to demonstrate
the applicable RACT requirement or RACT emission
                                                                 compliance with the applicable emission limitation listed
limitation by performing the following monitoring or
                                                                 in § 129.97 if the following requirements are met:
testing procedures:
  (1) For an air contamination source with a CEMS,                 (1) The request for a waiver is submitted, in writing, to
monitoring and testing in accordance with the require-           the Department not later than:
ments of Chapter 139, Subchapter C (relating to require-           (i) October 24, 2016, for a source subject to § 129.96(a).
ments for source monitoring for stationary sources) using
a 30-day rolling average, except municipal waste combus-           (ii) October 24, 2016, or 6 months after the date that
tors.                                                            the source meets the definition of a major NOx emitting
                                                                 facility or major VOC emitting facility, whichever is later,
  (i) A 30-day rolling average emission rate for an air          for a source subject to § 129.96(b).
contamination source that is a combustion unit shall be
expressed in pounds per million Btu and calculated in              (2) The request for a waiver demonstrates that a
accordance with the following procedure:                         Department-approved emissions source test was per-
                                                                 formed in accordance with the requirements of Chapter
  (A) Sum the total pounds of pollutant emitted from the         139, Subchapter A, on or after:
combustion unit for the current operating day and the
previous 29 operating days.                                        (i) April 23, 2015, for a source subject to § 129.96(a).
  (B) Sum the total heat input to the combustion unit in           (ii) April 23, 2015, or within 12 months prior to the
million Btu for the current operating day and the previ-         date that the source meets the definition of a major NOx
ous 29 operating days.                                           emitting facility or major VOC emitting facility, which-
                                                                 ever is later, for a source subject to § 129.96(b).
  (C) Divide the total number of pounds of pollutant
emitted by the combustion unit for the 30 operating days           (3) The request for a waiver demonstrates to the
by the total heat input to the combustion unit for the 30        satisfaction of the Department that the test results show
operating days.                                                  that the source’s rate of emissions is in compliance with
                                                                 the source’s applicable NOx emission limitation or VOC
   (ii) A 30-day rolling average emission rate for each          emission limitation.
applicable RACT emission limitation shall be calculated
for an affected air contamination source for each consecu-         (4) The Department approves, in writing, the request
tive operating day.                                              for a waiver.
  (iii) Each 30-day rolling average emission rate for an           (d) The owner and operator of an air contamination
affected air contamination source must include the emis-         source subject to this section and §§ 129.96—129.99 shall
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keep records to demonstrate compliance with §§ 129.96—         under the procedures in § 129.97(b). This record must
129.99 in the following manner:                                contain, at a minimum:
  (1) The records must include sufficient data and calcu-        (1) The date of the tuning procedure.
lations to demonstrate that the requirements of                  (2) The name of the service company and the techni-
§§ 129.96—129.99 are met.                                      cian performing the procedure.
  (2) Data or information required to determine compli-          (3) The final operating rate or load.
ance shall be recorded and maintained in a time frame            (4) The final NOx and CO emission rates.
consistent with the averaging period of the requirement.
                                                                 (5) The final excess oxygen rate.
   (e) Beginning with the compliance date specified in           (6) Other information required by the applicable oper-
§ 129.97(a), the owner or operator of an air contamina-        ating permit.
tion source claiming that the air contamination source is
exempt from the applicable NOx emission rate threshold           (h) The owner or operator of a Portland cement kiln
specified in § 129.99(b) and the requirements of § 129.97      subject to § 129.97(h) shall maintain a daily operating log
based on the air contamination source’s potential to emit      for each Portland cement kiln. The record for each kiln
shall maintain records that demonstrate to the Depart-         must include:
ment or appropriate approved local air pollution control         (1) The total hours of operation.
agency that the air contamination source is not subject to       (2) The type and quantity of fuel used.
the specified emission rate threshold.
                                                                 (3) The quantity of clinker produced.
   (f) Beginning with the compliance date specified in           (4) The date, time and duration of a start-up, shutdown
§ 129.97(a), the owner or operator of an air contamina-        or malfunction of a Portland cement kiln or emissions
tion source claiming that the air contamination source is      monitoring system.
exempt from the applicable VOC emission rate threshold
specified in § 129.99(c) and the requirements of § 129.97        (i) The records shall be retained by the owner or
based on the air contamination source’s potential to emit      operator for 5 years and made available to the Depart-
shall maintain records that demonstrate to the Depart-         ment or appropriate approved local air pollution control
ment or appropriate approved local air pollution control       agency upon receipt of a written request from the Depart-
agency that the air contamination source is not subject to     ment or appropriate approved local air pollution control
the specified emission rate threshold.                         agency.
                                                                   [Pa.B. Doc. No. 16-694. Filed for public inspection April 22, 2016, 9:00 a.m.]
  (g) The owner or operator of a combustion unit subject
to § 129.97(b) shall record each adjustment conducted




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   DEPARTMENT OF ENVIRONIVlENTAL
   PROTECTION

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September 22, 2017
                                                                                                             3EP 2            2017
Mr. Cecil A. Rodrigues                                                                                         EPA. REGION 111
Acting Regional Administrator        •FP 2 6 2017                                                    0•1• OFREOIONAL ADMINISTRATOR
                                                                                              :?:
U.S. Environmental Protection Agency, Region III
1650 Arch Street, (Mail Code: 3RA00)
Philadelphia, PA 19103-2029

Dear Mr. Rodrigues:

Enclosed for your approval is a supplement to the revision to Pennsylvania's State
Implementation Plan (SIP) concerning amendments to 25 Pa. Code Chapters 121 and 129
(relating to general provisions; and standards for sources) to adopt additional reasonably
available control technology (RACT) requirements for major sources of oxides of nitrogen (NO,,)
and volatile organic compound (VOC) emissions. The final rulemaking adopting these RACT
amendments was effective upon publication in the Pennsylvania Bulletin on April 23, 2016
(46 Pa.B. 2036). The amendments were submitted to the U.S. Environmental Protection Agency
(EPA) on May 16, 2016, to fulfill certain 8-hour ozone RACT requirements for the 1997 and
2008 ozone National Ambient Air Quality Standards and to satisfy requirements of the Clean Air
Act (42 U.S.C.A. §§ 7401--7671q) for sources located in ozone nonattainment areas and the
Ozone Transport Region.

This supplement includes the cost analysis performed in relation to the presumptive RACT NOx
and VOC emission limitations. In addition, this supplement includes information regarding the
Talen Energy Brunner Island facility.

Should you have questions regarding this SIP submittal supplement, please contact
Krishnan Ramamurthy, Director of the Bureau of Air Quality, by e-mail at kramamurth@pa.gov
or by telephone at 717.787.9702.

Sincerely,



Patrick McDonnell
Secretary

Enclosures




                                                                  Secretary
    Rachel Carson State Office Building   I   P.O. Box 2063   I   Harrisburg, PA 17105-2063     I   717.787.2814   I   www.dep.pa.govJA320
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The Environmental Protection Agency (“EPA”) has requested the Pennsylvania
Department of Environmental Protection (“Department” or “DEP”) to clarify aspects of
the Reasonably Available Control Technology (“RACT”) regulation for the 1997 and
2008 8-hour ozone national ambient air quality standards (“NAAQS”). The Department
is submitting the clarifications in this letter to EPA from the Secretary of the
Pennsylvania DEP to be included in EPA’s rulemaking docket for the review of
Pennsylvania’s RACT rule as a state implementation plan (“SIP”) revision.

Calculation of Allowable Mass Emission Levels (Eiallowable) in an Averaging Plan
under 25 Pa. Code §129.98(e)

The core principal behind the RACT averaging provisions in 25 Pa. Code §129.98 is
that the total nitrogen oxides (“NOx”) emissions from a given group of emission units
must be no greater than the NOx emissions from the same group had they individually
been compliant with the presumptive NOx RACT emission limitations.

In all cases but one, the emission units within averaging plans have NOx emissions
monitored through continuous emission monitoring systems (“CEMS”). Mass NOx
emissions from each emission unit are calculated each hour using Department certified
CEMS. The allowable mass emissions are calculated each hour using the presumptive
NOx RACT emission limit (or more-stringent limit, if applicable) and the actual heat input
from the Department certified CEMS. The total mass emissions and total allowable
mass emissions from all emission units in an averaging plan are summed over each 30-
operating day period and compared. The company data acquisition system (“DAS”) will
be programmed to calculate the actual and allowable emissions for the 30-operating
day period using information obtained from Department certified CEMS. A summary
report will be provided to the applicable DEP Regional Office staff to demonstrate
compliance or non-compliance with the RACT averaging plan. If the total mass
emissions exceed the allowable mass emissions during the 30-operating days, all
sources that make up the average will be deemed out of compliance for the operating
day and appropriate enforcement action will be taken.

Each facility will have the calculations present and up-to-date. On any day, an inspector
at the facility can easily determine if the averaged sources are in compliance with the
RACT averaging plan.

In the proposed RACT rule, the averaging equations were tailored specifically for
combustion units for which the presumptive emission limits are expressed as pounds of
NOx per million Btu. Total mass emissions for each emission unit were to be calculated
based on daily NOx emission rate and the actual heat input. The total allowable mass
emissions for each emissions unit were to be calculated based on the allowable NO x
emission rate and the actual heat input. In response to public comments received, the
Department revised the regulations to allow averaging of NOx emissions from emission
units including combustion units to demonstrate compliance with the applicable
presumptive NOx emission limits. However, the equation in the proposed regulation is
not appropriate for emission units other than combustion units since the presumptive

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NOx emission limitations for units other than combustion units are not expressed as
pounds per million Btu. Therefore, the Department revised the equation accordingly in
the final form rulemaking. The attached document entitled RACT 2 – Source Testing
and Monitoring Requirements was developed to assist with implementing the source
testing and monitoring requirements contained in the RACT requirements at major NO x
or VOC emitting facilities that are subject to 25 Pa. Code Chapter 129. (See Attachment
1). Please note that for combustion units, allowable mass emissions are still calculated
based on the allowable NOx emission rate and the actual heat input. For turbines, the
NOx emission standard in ppm can be translated into a lb/MMBtu standard through the
use of EPA-approved conversion factors. Also attached is an actual compliance
demonstration from Talen Energy averaging NOx emissions from their emission units
located at the Brunner Island and Montour facilities for the first quarter of 2017 (See
Attachments 2 and 3).

One of the provisions in calculating allowable NOx mass emissions is that if an emission
unit has an applicable NOx emission limitation that is more stringent than the
presumptive NOx emission limitation, the owner or operator is required to use the more
stringent NOx emission limitation. This provision is to preclude the possibility of an
owner or operator using already required NOx emission reductions to offset NOx RACT
emission reductions from a different emission unit.

Conditions pertaining to the averaging provisions will be included in the Title V permit
for each facility employing facility-wide or system-wide NOx RACT averaging. While the
Department does not believe that these specific conditions need to be submitted to EPA
for approval as facility-specific SIP revisions, it intends to submit the terms and
conditions dealing with emission averaging to EPA as facility specific SIP revisions to
address EPA’s concerns.

Applicability of System-Wide Averaging Provisions

25 Pa. Code §129.98(a) states, in part, “System-wide emissions averaging must be
among sources under common control of the same owner or operator within the same
ozone nonattainment area in this Commonwealth.” In response to comments submitted
by EPA the final rulemaking clarified the conditions under which an owner or operator
may propose an averaging plan. The Department’s interpretation, which is consistent
with EPA’s response, regarding unclassifiable/attainment areas is laid out in the
preamble to the regulation as follows. “The averaging must be conducted within the
same ozone nonattainment area in this Commonwealth. The Department interprets this
provision to allow emissions averaging in areas designated as unclassifiable/attainment
for the ozone NAAQS.” For the purposes of 25 Pa. Code §129.98, all areas of the
Commonwealth designated as unclassifiable/attainment for ozone are to be considered
as one single nonattainment area.




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Alternative RACT proposals

The Department will submit all source-specific RACT determinations under 25 Pa. Code
§129.99 to EPA for approval as SIP revisions within 12 months of EPA’s final
rulemaking.

Presumptive RACT for Large Coal-Fired Boilers Without Post-Combustion
Controls

The public comment period for draft final-form RACT regulation for the 1997 and 2008
8-hour ozone NAAQS, also known as RACT II, ended on June 30, 2014. On March 2,
2015, the Sierra Club sent a letter to the Department objecting to certain provisions in
the draft final-form RACT II regulation approved by the Air Quality Technical Advisory
Committee (“AQTAC”) on November 7, 2014 (See Attachment 4). Sierra Club provided
their cost analysis for the installation of selective catalytic reduction (“SCR”) controls on
electric generating units (“EGUs”) at Brunner Island. According to the analyses
prepared by the Sierra Club’s consultant, cost efficacy for NOx removal for boilers at
Brunner Island would be approximately $3,500 per ton. Although the Sierra Club based
its analyses on the EPA methodology, DEP staff determined that these analyses are
flawed.

The Sierra Club’s cost analysis did not provide the basis or reference for total capital
costs (“TCC”) for the installation of SCR on the units. The TCC used in the Sierra Club’s
analysis was not consistent with the either the actual capital costs incurred by the recent
installation of SCR on comparable units at the Conemaugh Generating Station or the
average capital costs estimated using estimates from the PJM Interconnection (See
Attachment 5).

While Sierra Club’s analysis was reported to be conducted using EPA Office of Air
Quality Planning and Standards (“OAQPS”) cost analysis methodologies, the Sierra
Club did not include the administrative cost of 2% of TCC and overhead cost of 60% of
maintenance cost as prescribed in EPA’s OAQPS Cost Manual. Additionally, the Sierra
Club used 1.5% of TCC factors for property tax and insurance rather than 2% of TCC as
prescribed in EPA’s Cost Manual.

In addition to the review of Sierra Club’s March 2, 2015 cost analysis, DEP
independently conducted its own economic feasibility analysis for installation of
additional NOx emission control by SCR (See Attachment 5). DEP determined that it
would cost prohibitive to install and operate SCR for the EGUs at Brunner Island for
RACT compliance purposes. DEP concluded that no changes to the draft final-form
RACT regulation for presumptive RACT emission limitations for large coal-fired boilers
were necessary, based on the supplemental information provided by Sierra Club.

In the independent analysis, DEP calculated cost-effectiveness using quoted capital
costs and balance of plant costs for SCR installation for Unit 3 at Brunner Island (See
Attachment 6) and the EPA’s OAQPS factors for other costs. The SCR capital cost for

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the Unit 3 project would be $200,875,714, or approximately $27,408 per (MMBtu/hr).
This is consistent with the actual capital SCR controls recently installed for two existing
boilers at the Conemaugh power plant. The cost for the SCR systems installation for the
Conemaugh units, incurred between 2012 and 2015, was approximately $450 million
dollars or $27,900 per MMBtu/hr. DEP estimated the capital costs and balance of plant
costs from Units 1 and 2 using the Vendor Quote for Unit 3 and the ratios derived from
the default capital and balance of plants costs determined by the EPA’s OAQPS
spreadsheet. The SCR capital costs for the Unit 1 and Unit 2 projects are estimated
using EPA’s OAQPS ratios to be $81,096,990 and $91,520,219, respectively.

DEP’s cost analysis for the Brunner Island facility is based on the current unit-by-unit
NOx potential-to-emit (“PTE”) as a baseline. The restricted PTE levels were established
on March 28, 2016 with the issuance of plan approval 67-05005J (See Attachment 7).
All units at the Brunner Island facility were capable of firing on natural gas as of April
2017. The PTE established for units 1, 2, and 3 at the Brunner Island facility are 3751,
4261, and 8186 tons of NOx per year, respectively.

There were a few deviations made from the default settings in the EPA’s OAQPS SCR
cost spreadsheet. DEP used Method 2 to calculate catalyst replace costs as it is more
appropriate for a coal-fired boiler as indicated within the spreadsheet. Method 1 does
not take into account additional costs incurred specifically related to the use of coal as
fuel, such as the amount and chemical nature of particulate loading to the catalyst. This
results in several million dollars’ worth of added annual cost likely due to the harsh
environment in which the catalyst must operate.

DEP also used a 20-year capital recovery period as opposed to the default 30-year
capital recovery period. In the recent Best Available Retrofit Technology (“BART”)
analysis conducted nation-wide on existing coal-fired EGUs, a maximum of 20 years
was used in the economic analysis. In addition, the Internal Revenue Service (“IRS”)
requires the use of the General Depreciation System (“GDS”) to recover basis. Under
GDS electrical generating equipment should be depreciated over 20 years in
accordance with IRS Publication 946. The Brunner Island units are also not expected to
be in operation for 30 years. The latest unit, Unit 3, was built in the early 1970s. After
30 years from today, the unit would be approximately 75 years old. Very few existing
coal-fired units of that age exist today. It is highly improbable that the Brunner Island
units will still be running on coal at that age or older.

The DEP cost analysis for these units using the PTE as baseline emissions and the NOx
RACT presumptive SCR limit of 0.12 lb/MMBtu as the controlled emission rate yields a
cost effectiveness of $7123, $7028, and $6456 per ton of NOx controlled for units 1, 2,
and 3, respectively. It should be noted that Wisconsin’s SIP-approved RACT
regulations in 2010 were based on a NOx cost-effectiveness benchmark of $2,500 per
ton controlled. Additionally, New York’s SIP-approved RACT regulations for coal-fired
EGUs indicated a cost-effectiveness benchmark of approximately $5,500 per ton
controlled. Therefore, DEP concludes that the installation of SCR on the units at the
Brunner Island facility continues to be cost prohibitive for RACT purposes.

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DEP also performed a cost analysis for the use of selective non-catalytic reduction
(“SNCR”) on the Brunner Island Units (See Attachment 8). DEP calculated costs using
the EPA’s OAQPS SNCR cost spreadsheet and the current restricted NOx PTE per
unit.

In addition to the use of a 20-year capital recovery period, there are other deviations
from the default settings in the EPA’s OAQPS SNCR cost spreadsheet. Data from
several coal-fired facilities that utilize SNCR show that actual NOx reduction efficiency is
approximately 20%. When compared to smaller boilers, SNCR does not scale well due
to the difficulties involved in properly mixing such a large exhaust volume. There was
also added costs due to fly ash. Currently, Talen sells the fly ash from the Brunner
Island units for a small profit. The addition of an SNCR will expose the exhaust stream
to ammonia or urea which will render the ash unusable for the customer. The will result
in Talen having to pay to have the ash removed at considerable cost. Therefore, the
costs to dispose the ammonia-laden fly ash as well as the lost revenue from not being
able to sell the fly ash have been included into the cost-efficiency calculations.

The DEP cost analysis for these units using the PTE as baseline emissions and a 20%
NOx control efficiency rate for SNCR yields a cost effectiveness of $8019, $7873, and
$7278 per ton of NOx controlled for units 1, 2, and 3, respectively. DEP concludes that
the installation of SNCR on the units at the Brunner Island facility continues to be cost
prohibitive for RACT purposes.

Presumptive RACT for Large Coal-Fired Boilers with SCR Already Installed

The actual NOx emission rates from coal-fired EGUs operating with SCR range from
0.09 to 0.22 lb/MMBtu on a 30-operating-day rolling basis with an average NOx
emission rate of 0.15 lb/MMBtu heat input. DEP determined subsequently that the
average NOx emission rate from all EGUs located at Bruce Mansfield, Keystone, and
Montour is 0.12 lb/MMBtu when the SCR is operational. This emission rate is lower
than the NOx emission rate (0.15 lb/MMBtu heat input) included in the draft final-form
NOx RACT regulation considered by AQTAC in November 2014. Based on the DEP
analysis of historical data, EGUs at Keystone and Bruce Mansfield should not have a
problem meeting 0.12 lb/MMBtu heat input limit (See Attachment 9). The EGUs at the
Montour facility also should be able to achieve a NOx emission level at or below 0.12
lb/MMBtu heat input if the ammonia injection rate is adjusted and other changes in the
SCR system are implemented by the operator. However, the operators of the units with
SCR installed at Homer City will be upgrading the SCR systems at the plant in order to
achieve the 0.12 lb/MMBtu NOx emission rate.

The DEP acknowledges that the NOx RACT limit in the final rulemaking is not the lowest
achievable emissions rate (“LAER”) for this technology. However, the EPA has
indicated in the preamble for the final rule approving a SIP revision for Wisconsin’s NO x
RACT Rule that:



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“RACT limits are not meant to be the lowest achievable emissions rate. The Nitrogen
Oxides Supplement to the General Preamble for the Implementation of Title I of the
Clean Air Act Amendments of 1990 addresses the issue of an acceptable emission limit.
See section 4.6 RACT for Certain Electric Utility Boilers (57 FR 55626), “The EPA
expects States, to the extent practicable, to demonstrate that the variety of emission
controls adopted are consistent with the most effective level of combustion modification
reasonably available for its individual affected sources.” See 75 FR 64155, 64157
(October 19, 2010).

The Department’s reevaluation of the NOx RACT limit for coal-fired EGUs, taking into
consideration cost-effectiveness and technological feasibility, is consistent with the
approach outlined in the preamble of the October 19, 2010, EPA rule approving
Wisconsin’s RACT SIP revision. In addition, on May 18, 2015, DEP received a letter
from EPA Region III concurring that the NOx RACT presumptive limit of 0.12 lb per
million Btu is, “consistent with what the Agency has previously approved for RACT in
other nearby Ozone Transport Commission states such as Delaware, New York and
New Jersey” (See Attachment 10).

Presumptive RACT for Large Coal-Fired Boilers with SNCR Already Installed

The following list contains facilities and units which were operating with SNCR in 2011.
Several facilities on that list are permanently shut down. They are AES Beaver Valley,
Cromby, Eddystone, Elrama, Hatfield’s Ferry, and Piney Creek. DEP has approved
emission reduction credits (“ERCs”) as a result of the permanent shutdown of AES
Beaver Valley Units 032, 033, 034, and 035; Cromby Unit 1; Eddystone Units 1 and 2;
Elrama Units 1, 2, 3, and 4; and Piney Creek Unit 031 (See Attachment 11). The
generation of ERCs show that the shutdowns are permanent and enforceable. The
application for the generation of ERCS as a result of permanently shutdown of emission
units at Hatfield’s Ferry in 2013 is still under review.

  Facility      Unit        Boiler        Operational     Comments
  Name          IDs         Type          Status
                032,                                      ERCs certified on August 11,
  AES                                     Shutdown
                033,                                      2016 acknowledging
  Beaver                    Wall          September
                034,                                      permanent shutdown of the
  Valley                                  2015
                035                                       sources
                                                          ERCs certified on August 14,
                                          Shutdown
                                                          2013 acknowledging
  Cromby        1           Wall          December
                                                          permanent shutdown of the
                                          2011
                                                          source
                                                          ERCs certified on March 19,
                                          Shutdown        2013 acknowledging
  Eddystone     1, 2        Tangential
                                          May 2012        permanent shutdown of the
                                                          sources
                1, 2, 3,    3 Vertical,   Shutdown        ERCs certified on March 10,
  Elrama
                4           1 Wall        October 2012    2015 acknowledging

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                                                         permanent shutdown of the
                                                         sources
                                                         Application for ERCs received
  Hatfield’s                             Shutdown
                3            Cell                        on April 30, 2015 is under
  Ferry                                  October 2013
                                                         review
                                                         ERCs certified on October 5,
  Piney                                  Shutdown        2015 acknowledging
                031          CFB
  Creek                                  April 2013      permanent shutdown of the
                                                         source
  Cambria
                1, 2         CFB         Operational     Waste coal-fired
  Cogen
  Scrubgrass    1, 2         CFB         Operational     Waste coal-fired
  Seward        1, 2         CFB         Operational     Waste coal-fired
  P.H.
                036          CFB         Operational     Waste coal-fired
  Glatfelter
  New Castle    3, 4, 5      Wall       Operational      Added natural gas
                1, 2, 3,     2 Wall, 2
  Shawville                             Operational      Added natural gas
                4            Tangential

An analysis of actual emission rates from CFB boilers shows that units equipped with
SNCR do not emit NOx at a lower level than units without SNCR. Please see the chart
below.

                           CFB EGU                     NOx
                                         NOx
                           Performance                 Weighted
                                         Average
                           Jan 2010 -                  Average
                                         lb/MMBtu
                           Mar 2017                    lb/MMBtu
                           SNCR          0.142         0.134
                           Non-SNCR      0.093         0.084

CFB boilers are used to burn waste coal. This provides an enormous overall
environmental benefit by reducing the waste coal piles that litter parts of Pennsylvania’s
landscape. It mitigates acid drainage and the slow uncontrolled combustion of these
piles that happen naturally. A consequence of burning waste coal is that the fuel is not
uniform. When compared to conventional coal, waste coal (both anthracite and
bituminous) is not as homogeneous and the variability of fuel characteristics are
significant. Fuel-bound nitrogen plays a larger role in NOx formation from waste coal
than conventional coal. While the CFB technology can mitigate some of this
uncertainty, some facilities employ SNCR to further reduce NOx emissions. As shown
on the chart above, these facilities still have higher NOx emissions than those that do
not require SNCR. The Department has determined that the installation of SNCR is not
necessary and also cost prohibitive for all CFB units burning waste coal to comply with
RACT requirements. It is also generally accepted that SCR is not technically feasible
for CFB boilers due to high temperatures. Given the performance of CFBs with and
without SNCR, based on the evaluation of all available emission data from these units

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burning waste coal DEP determined that the presumptive RACT NOx emission limit of
0.16 lb/MMBtu is appropriate for all CFB boilers. The final form rulemaking requires
these units to operate already installed SNCR irrespective of their emission rates.

The only operating EGUs that are equipped with SNCR and capable of firing
conventional coal (i.e. not waste coal) are located at the Shawville and New Castle
facilities. It is the Department’s interpretation that no presumptive NOx RACT emission
limitations have been established in 25 Pa. Code §129.97 for non-CFB combustion
units equipped with SNCR when firing coal. Therefore, the Department will submit
source-specific RACT determinations to EPA as SIP revisions for these EGUs prior to
the firing of coal at these facilities. Conditions will be included in the Shawville and New
Castle Title V permits prohibiting the use of coal as fuel as these facilities until a source-
specific RACT determination has been approved by the Department.




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Average NOx Rate, lb/MMBtu,
presumably when SCR is in
                                  Daily     30-Day
operation (i.e. <0.30 lb/MMBtu)
over the last 5 years
Homer City Unit 1                 0.19       0.19
Homer City Unit 2                 0.19       0.19
Homer City Unit 3                 0.19       0.19
Bruce Mansfield Unit 1            0.12       0.12
Bruce Mansfield Unit 2            0.11       0.11
Bruce Mansfield Unit 3            0.14       0.14
Keystone Unit 1                   0.10       0.10
Keystone Unit 2                   0.10       0.09
Montour Unit 1                    0.15       0.15
Montour Unit 2                    0.16       0.15
Cheswick                          0.21       0.22
Average of BM, Key, Mon Only      0.12       0.12




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                   UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                          REGION Ill
                                      1650 Arch Street
                           Philadelphia, Pennsylvania 19103-2029




Ms. Joyce Epps, Director                                                    MAY 162015
Bureau of Air Quality
Department of Environmental Protection
Market Street Office Building, 12th Floor
P.O. Box 8468
Harrisburg, PA 17105-8468

Dear Ms. Epps:

        The Environmental Protection Agency (EPA) has reviewed the draft final-form
Reasonably Available Control Technology (RACT) II regulation that the Pennsylvania
Department of Environmental Protection (PADEP) sent to the Air Quality Technical Advisory
Committee (AQTAC) for the April16, 2015 meeting in which the nitrogen oxides (NOx)
emission limit was revised to 0.12 pounds ofNOx per million British Thermal Units (lbs
NOx/mm BTU) for the coal-fired electric generating units (EGUs) currently equipped with
selective catalytic reduction (SCR).

        EPA believes this limit is consistent with what the Agency has previously approved for
RACT in other nearby Ozone Transport Commission states such as Delaware, New York and
New Jersey. Also, according to data reviewed by EPA, several Pennsylvania affected units
(Homer City Units 1 through 3, Bruce Mansfield Units 1 through 3, Cheswick Unit 1, Keystone
Units 1 and 2, and Montour Units 1 and 2) were able to average 0.12 lbs NOx/mm BTU or less
(as a 153-day ozone season average) after installation of the SCR in the 2003 to 2004 time frame
after the NOx SIP call requirements were first imposed. Therefore, a limit of 0.12lb NOx/mm
BTU heat input appears achievable by Pennsylvania EGUs with SCR.

       We offer our technical assistance as your regulation and SIP development process
continue and will continue to work with you and your staff at PADEP. If you have any
questions, please contact Ms. Cristina Fernandez from the Office of Air Program Planning at
(215) 814-2178 or femandez.cristina@epa.gov.




                                            Diana Esher, Director
                                            Air Protection Division



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April 13, 2018

Filed via Regulations.gov and Electronic Mail to speilberger.susan@epa.gov

Re:    Sierra Club Comments Concerning EPA’s Proposed Approval and Promulgation of Air
       Quality Implementation Plans; Pennsylvania; Regulatory Amendments Addressing
       Reasonably Available Control Technology Requirements Under the 1997 and 2008 8-
       Hour Ozone National Ambient Air Quality Standards

        Sierra Club submits, on behalf of its over 32,000 members in the state of Pennsylvania,
and of the tens of thousands of others residing in states downwind of Pennsylvania’s ozone-
causing pollution sources, submits these comments concerning EPA’s Proposed Approval and
Promulgation of Air Quality Implementation Plans; Pennsylvania; Regulatory Amendments
Addressing Reasonably Available Control Technology Requirements Under the 1997 and 2008
8-Hour Ozone National Ambient Air Quality Standards (“Proposed RACT SIP Approval”), 83
Fed. Reg. 11,155 (March 14, 2018). While the Sierra Club applauds EPA taking steps to move
forward in taking long overdue action on Pennsylvania’s RACT SIP submittal, EPA’s proposed
approval is nonetheless flawed for three main reasons:

       (1) The proposed emission limits for SCR-equipped coal-fired boilers are far laxer than
           achievable with reasonably available control technology;
       (2) The temperature-based exemptions from SCR operation are unsupported and
           unsupportable; and,
       (3) The lack of reporting requirements for those same temperature-based exemptions
           from SCR operation render it nearly impossible for members of the public or
           regulatory agencies to ever know for sure if the RACT limits are being complied
           with.

Essentially, the combination of a high base emission rate, a thirty-day averaging period, and an
inlet-temperature exemption for SCR-equipped coal boilers presents a very weak and
unprotective emission standard inconsistent with the requirements of RACT. Accordingly, EPA
should partially disapprove the RACT SIP submittal, and instead issue a Federal Implementation
Plan (“FIP”) correcting these problems and imposing a 0.07 lbs/MMbtu NOx emission limit for
SCR-equipped coal-fired boilers, without an inlet temperature exemption, as discussed in greater
detail below.




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Background

        A.       Ground-Level Ozone Is Dangerous to Human Health

        Ozone, the main component of smog, is a corrosive air pollutant that inflames the lungs,
constricts breathing, and likely kills people. See U.S. EPA, National Ambient Air Quality
Standards for Ozone, 80 Fed. Reg. 65,292, 65,308/3-09/1 (Oct. 26, 2015); U.S. EPA, Integrated
Science Assessment for Ozone and Related Photochemical Oxidants 2-20 to -23 tbl.2-1 (EPA-
HQ-OAR-2008-0699-0405, Feb. 2013) (“ISA”). It causes and exacerbates asthma attacks,
emergency room visits, hospitalizations, and other serious health harms. See, e.g., EPA, Policy
Assessment for the Review of the Ozone National Ambient Air Quality Standards 3-18, 3-26 to -
29, 3-32 (EPA-HQ-OAR-2008-0699-0404, Aug. 2014) (“PA”); ISA 2-16 to -18, 2-20 to -24
tbl.2-1. Ozone-induced health problems can force people to change their ordinary activities,
requiring children to stay indoors and forcing people to take medication and miss work or school.
See, e.g., PA 4-12.

       Ozone can harm healthy adults, but others are more vulnerable. See 80 Fed. Reg. at
65,310/1-3. Because their respiratory tracts are not fully developed, children are especially
vulnerable to ozone pollution, particularly when they have elevated respiratory rates, as when
playing outdoors. See, e.g., PA 3-81 to -82. People with lung disease and the elderly also have
heightened vulnerability. See 80 Fed. Reg. at 65,310/3. People with asthma suffer more severe
impacts from ozone exposure than healthy individuals do and are more vulnerable at lower levels
of exposure. Id. at 65,311/1 n.37, 65,322/3.

        Ozone also damages vegetation and forested ecosystems, causing or contributing to
widespread stunting of plant growth, tree deaths, visible leaf injury, reduced carbon storage, and
reduced crop yields. PA 5-2 to -3; ISA 9-1. The damage includes tree-growth losses reaching
30- 50% in some areas, and widespread visible leaf injury, including 25-37% of sites studied in
just one state. PA 5-13; ISA 9-40. By harming vegetation, ozone can also damage entire
ecosystems, leading to ecological and economic losses. 80 Fed. Reg. at 65,370/1-2, 65,377/3.

        B.       Ozone National Ambient Air Quality Standards and Pennsylvania

       In 2008, EPA revised the 1997 ozone NAAQS to 75 parts per billion with an 8-hour
averaging period.1 In 2012, EPA finalized designations, including nonattainment designations,
under this 2008 NAAQS, adding to unresolved nonattainment designations in Pennsylvania
under the preexisting 1997 NAAQS.

       Seventeen counties centered around Pittsburgh and Philadelphia are designated
nonattainment under the 2008 ozone NAAQS.2 These seventeen counties contain over 8.1
million residents, or roughly two-thirds of Pennsylvania’s total population.3

1
 73 Fed. Reg. 16,483 (March 27, 2008).
2
 These seventeen counties are Allegheny, Armstrong, Beaver, Berks, Bucks, Butler, Carbon, Chester, Delaware,
Fayette, Lancaster, Lehigh, Montgomery, Northampton, Philadelphia, Washington and Westmoreland. See
Pennsylvania DEP, Attainment Status by Principal Pollutants, at
http://www.dep.pa.gov/Business/Air/BAQ/Regulations/Pages/Attainment-Status.aspx.

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Figure 1: Pennsylvania Ozone Nonattainment Areas




        Moreover, huge numbers of Pennsylvania residents are particularly susceptible to ozone
pollution, including more than 1.9 million seniors, 2.4 million children, and nearly 1.2 million
asthma sufferers.4

        Because of these nonattainment designations, and because Pennsylvania is part of the
Ozone Transport Region, Pennsylvania was required to prepare a RACT SIP revision for major
stationary sources of the ozone precursor pollutants NOx and VOCs in Pennsylvania. See 42
U.S.C. § 7502(c)(1).

        In Pennsylvania, electric power plants are the source of a quarter of all NOx emissions in
the state.



3
  To be precise, 8, 147,144 out of 12,805,537 Pennsylvanians (US Census Bureau 2017 population estimate) live in
ozone nonattainment areas.
4
  See American Lung Association State of the Air 2017 at 138, available at
http://www.lung.org/assets/documents/healthy-air/state-of-the-air/state-of-the-air-2017.pdf.

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Table 1: Sources of NOx Pollution in Pennsylvania5
    Category                           Pollutant         Tonnage    Percentage

    Highway Vehicles                   Nitrogen Oxides    174,231   34.7%

    Fuel Comb. Elec. Util.             Nitrogen Oxides    123,147   24.5%

    Off-Highway                        Nitrogen Oxides     61,726   12.3%

    Fuel Comb. Industrial              Nitrogen Oxides     53,329   10.6%

    Fuel Comb. Other                   Nitrogen Oxides     32,312   6.4%

    Petroleum & Related Industries     Nitrogen Oxides     20,254   4.0%

    Other Industrial Processes         Nitrogen Oxides     17,266   3.4%

    Natural Resources                  Nitrogen Oxides      9,343   1.9%

    Waste Disposal & Recycling         Nitrogen Oxides      7,914   1.6%

    Metals Processing                  Nitrogen Oxides      2,208   0.4%

    TOTAL                              Nitrogen Oxides    501,730   100.0%

Accordingly, properly implemented RACT standards in the electrical generating sector are
critical to addressing Pennsylvania’s ozone attainment problems.

           C.       The Legal Standard for RACT

        RACT determinations and RACT-based emission limits are required by the Clean Air
Act for areas failing to attain National Ambient Air Quality Standards (“NAAQS”). See 42
U.S.C. § 7502(c)(1). RACT is a technology-forcing standard intended to ensure that polluting
sources are controlled consistent with available methods for reducing pollution. As a result,
RACT is a stringent standard, designed to induce and require improvements in control
technology and reductions in pollutant emissions. Indeed, EPA has long maintained that “RACT
should represent the toughest level of control considering technological and economic feasibility
that can be applied to a specific situation” and that “[a]nything less than this is by definition less
than RACT.”6

       RACT is defined as “the lowest emissions limit that a particular source is capable of
meeting by the application of control technology that is reasonably available considering
technological and economic feasibility.”7 The RACT definition comprises two parts: (a)
technological feasibility and (b) economic feasibility.
5
  Data from the National Emissions Inventory 2014.
6
  Memorandum from Roger Strelow, Assistant Administrator for Air and Waste Management, U.S. EPA, to
Regional Administrators, Regions I - X (Dec. 9, 1976), at 2 (hereinafter “Strelow Memo”), available at
https://www3.epa.gov/ttn/naaqs/aqmguide/collection/cp2/19761209_strelow_ract.pdf.
7
  State Implementation Plans; Nitrogen Oxides Supplement to the General Preamble for the Implementation of Title
I of the Clean Air Act Amendments of 1990, 57 Fed. Reg. 55,620, 55,624/3 (Nov. 25, 1992); see also Navistar Int’l
Transp. Corp. v. United States EPA, 941 F.2d 1339, 1343 (6th Cir. 1991) (“Since 1976, the EPA has interpreted

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         (a) Technological Feasibility

        “The technological feasibility of applying an emission reduction method to a particular
source should consider the source’s process and operating procedures, raw materials, physical
plant layout, and any other environmental impacts such as water pollution, waste disposal, and
energy requirements.”8

         (b) Economic Feasibility

       As EPA has explained, “[e]conomic feasibility considers the cost of reducing emissions
and the difference in costs between the particular source and other similar sources that have
implemented emission reduction.”9 Specifically,

         EPA presumes that it is reasonable for similar sources to bear similar costs of
         emission reductions. Economic feasibility rests very little on the ability of a
         particular source to ‘afford’ to reduce emissions to the level of similar
         sources. Less efficient sources would be rewarded by having to bear lower
         emission reduction costs if affordability were given high consideration.
         Rather, economic feasibility for RACT purposes is largely determined by
         evidence that other sources in a source category have in fact applied the
         control technology in question.10

       Further, EPA has explained that RACT is not intended to enshrine existing control
methods, but rather is technology-forcing.11 Thus, “[i]n determining RACT for an individual
source or group of sources, the control agency, using the available guidance, should select the
best available controls, deviating from those controls only where local conditions are such that
they cannot be applied there and imposing even tougher controls where conditions allow.”12

         D.       The Pennsylvania RACT SIP Revision Proposal

        In relevant part, the Pennsylvania RACT SIP Revision Proposal under consideration by
EPA sets NOx emission limits for selective catalytic converter (“SCR”)-equipped coal-fired
boilers. Specifically, for such boilers, while operating with an inlet temperature greater or equal
to 600 degrees Fahrenheit, such units are required to hit an emission limit of 0.12 pounds of NOx
per MMbtu. 25 Pa. Code § 129.97(g)(1)(viii); see also Proposed RACT SIP Approval Technical
Support Document (“TSD”) at 11. Under the Proposal, when SCR-equipped boilers are
operating with an inlet temperature of below 600 degrees Fahrenheit, the 0.12 lbs/MMbtu limit
does not apply.

reasonably available control technology to be the lowest emission limitation that a particular source is capable of
meeting by the application of control technology that is reasonably available considering technological and
economic feasibility.”) (quotations omitted).
8
  U.S. EPA, State Implementation Plans; General Preamble for the Implementation of Title I of the Clean Air Act
Amendments of 1990; Supplemental, 57 Fed. Reg. 18,070, 18,074 (Apr. 28, 1992).
9
  57 Fed. Reg. at 18,074.
10
   57 Fed. Reg. at 18,074 (emphasis added).
11
   Strelow Memo at 2.
12
   Id.

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Substantive Comments

            A.          The Emission Limit for SCR-Equipped Coal Boilers in the Proposed Approval is
                        Far Laxer than Required by RACT

        SCR is capable of high rates of NOx removal, resulting in control levels significantly
better than the 0.12 lbs/MMbtu 30-day rolling average rates that EPA proposes to approve.
Indeed, this fact is recognized in other states that have set RACT provisions for SCR-equipped
coal boilers. As such, EPA should not approve the Pennsylvania ozone RACT SIP revision, and
should instead prepare a Federal plant requiring a 0.07 lbs/MMbtu limit, without an inlet
temperature exemption.

        SCR systems maintained consistent with good operating procedures can regularly ensure
NOx emission reductions of 90% or more. This translates to emission limits of 0.05 lbs/MMBtu
or lower, such that a 0.07 lbs/MMBtu rate is consistently achievable on 30-day averages. Nor
are such emission reductions theoretical: the actual historical experience of the Pennsylvania coal
fleet has been that, when the Pennsylvania facilities run their SCR systems, they have achieved
very high rates of NOx removal.

Table 2: Historically Achieved Low NOx Emission Rates from Large SCR-Equipped
        Pennsylvania Coal EGUs13
                                                          Avg. NOx
 Facility        Unit                                                               Heat Input               Gross Load
                          Associated     Year               Rate      NOx (tons)                 Operating
 Name            ID                             Month                               (MMBtu)                   (MW-h)
                            Stacks                      (lbs/MMBtu)                                Time
 Montour          2                      2003     7         0.030       67.1        4439436.4       744       536857
 Cheswick         1                      2012     5         0.032       0.588       35245.188     101.18        36
 Montour          2                      2003     9         0.038      76.344       4123397.3       720       499275
 Keystone         2                      2007     7         0.040      112.732      5665959.7       744       640802
 Keystone         1                      2003     5         0.040      118.068      5859460.6       744       646929
 Keystone         2                      2004     5         0.040      114.972      5703423.8       744       660861
 Keystone         1                      2003     8         0.040      118.286       5865375        744       645819
 Keystone         2                      2007     5         0.040      116.926      5791947.1       744       644098
 Keystone         2                      2007     8         0.040      115.714      5726245.2       744       652474
 Keystone         1                      2005     9         0.041      113.99       5636526.6       720       625140
 Keystone         1                      2006     9         0.041      115.749      5707471.6       720       613484
 Keystone         2                      2010     8         0.041      124.326      6126809.2       744       674539
 Keystone         1                      2003     9         0.041      113.58       5592747.1       720       619893
 Keystone         2                      2008     9         0.041      115.562      5650612.5       720       625472
 Montour          2                      2004     8         0.041       88.05       4407282.1       744       512416
 Keystone         1                      2006     5         0.042      121.882      5873818.6       744       646370
 Montour          2                      2004     7         0.042      92.634       4531632.4       744       524862
 Keystone         2                      2008     6         0.042      116.154       5595462        720       630999
 Keystone         2                      2005     7         0.042      117.264      5638788.3       744       646167
 Keystone         2                      2003     7         0.042      102.321     5161755.284    655.54      575235
 Montour          2                      2006     6         0.042       85.84        4210710        720       500644
 Keystone         1                      2006     8         0.042        114       5660406.822    702.13      617690
 Montour          1                      2005     8         0.042      98.216       4692243.3       744       548099
 Montour          2                      2004     6         0.042      87.029        4185072        720       482174
 Keystone         1                      2003     7         0.043      120.762      5800313.2       744       645725
 Keystone         2                      2010     9         0.043      124.082      5791138.9       720       643614
 Montour          1                      2003     5         0.043      86.214       4172669.3       744       488193
 Montour          1                      2003     7         0.043      97.155       4579253.7       744       526681
 Montour          1                      2004     8         0.043      92.851       4388824.7       744       499426
 Montour          2                      2007     8         0.043      100.713      4715245.9       744       564056

13
     Data taken from U.S. EPA’s Air Markets Database, available at http://ampd.epa.gov/ampd/.

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Keystone   1             2005   6       0.043   117.118    5583698.5      720     609977
Keystone   1             2004   5       0.043   111.845   5392678.613   694.97    606445
Keystone   1             2005   8       0.043   124.287    5924907.2      744     649394
Cheswick   1             2003   8       0.044   66.075     3064135.7      744     376917
Keystone   2             2008   5       0.044   120.629    5583061.9      744     630889
Keystone   2             2009   2       0.044   114.36     5243190.4      672     596584
Keystone   2             2010   5       0.044   127.333    5824804.1      744     651472
Keystone   1             2005   7       0.044   119.069    5513428.04    697.1    600535
Keystone   2             2008   8       0.044   121.724   5818626.565   732.02    635635
Keystone   2             2003   9       0.044   123.735     5594491       720     623178
Keystone   2             2010   10      0.044   134.278    6036814.9      744     655498
Montour    2             2005   8       0.044   104.979    4750366.6      744     554523
Montour    1             2003   9       0.045   96.161     4402838.5      720     500590
Montour    2             2000   8       0.045   102.498    4597455.5      744     527334
Keystone   2             2010   6       0.045   122.603   5667520.546   715.73    634835
Montour    1             2008   8       0.045   15.817     704049.22     106.8     77906
Keystone   2             2010   4       0.045   125.975    5691292.1      720     642937
Keystone   2             2009   3       0.045   130.202    5780320.6      744     656156
Montour    1             2003   8       0.045   98.488     4534403.9      744     515840
Keystone   2             2010   1       0.046   127.776    5738525.8      744     666152
Keystone   1             2006   7       0.046   123.511   5515930.472   700.16    607318
Keystone   1             2006   6       0.046   124.226   5498493.328    708.8    602567
Keystone   2             2008   7       0.046   130.683    5932011.6      744     647563
Montour    1             2005   7       0.046   103.265    4600618.2      744     539606
Montour    1             2003   6       0.047   86.746     3914353.4      720     450434
Montour    1             2006   6       0.047    96.12     4171816.3      720     502086
Montour    2             2006   7       0.047    91.26    4091489.974   683.41    484712
Cheswick   1             2003   9       0.047   58.531    2694701.412   697.23    330643
Montour    2             2005   9       0.047   105.137    4464323.4      720     524176
Montour    1             2004   7       0.048   104.511    4434905.9      744     505947
Keystone   1             2009   8       0.048   133.631    5603868.2      744     645152
Montour    1             2005   9       0.048   106.054     4470857       720     521034
Keystone   2             2004   6       0.048   124.727    5429282.6      720     617362
Keystone   1             2003   6       0.048   111.497    4864688.19    642.3    537339
Montour    1             2004   9       0.049   99.722     4103421.6      720     478214
Montour    2             2003   6       0.049   74.863    3345036.754   647.34    403755
Keystone   2             2005   6       0.049   97.685    4347359.412   598.93    496629
Montour    1             2006   8       0.049   106.304   4311772.008   738.33    531098
Keystone   2             2003   6       0.049   128.762    5528386.09    719.9    608507
Keystone   1             2007   8       0.050   133.845    5503301.8      744     653050
Montour    1             2006   7       0.050   105.205     4397388       744     528127
Keystone   1             2005   5       0.050   126.863    5429174.66   699.82    588554
Keystone   1             2010   6       0.050   144.737    5780176.2      720     641856
Keystone   2             2005   5       0.050   128.387     5477229       744     630823
Montour    1             2007   8       0.050   114.684    4581728.1      744     533517
Keystone   2             2003   5       0.050   100.231   4268130.166   563.32    474305
Montour    2             2007   9       0.050   112.935    4507820.8      720     536571
Montour    1             2006   5       0.050   106.735    4310819.7      744     519205
Keystone   1             2007   5       0.051   145.762    5712706.8      744     650215
Keystone   1             2009   7       0.051   113.213   4737472.379   651.76    541948
Keystone   1             2010   8       0.051   152.639    5990596.6      744     669599
Keystone   1             2010   9       0.052   146.121    5674395.1      720     639307
Keystone   2             2009   1       0.052   139.232     5750126       744     649321
Keystone   1             2010   5       0.052   148.113    5791544.8      744     644327
Keystone   1             2009   12      0.052   152.335    5854402.1      744     672058
Keystone   2             2007   9       0.053   119.857    4684463.18   622.64    530819
Keystone   2             2009   7       0.053   127.679   5162814.304   690.83    564361
Keystone   2             2003   8       0.053   120.464   4937351.476   642.03    551836
Montour    1             2005   6       0.054   114.326    4338969.4      720     508440
Keystone   2             2007   6       0.054   103.178   4340638.132   591.56    483415
Montour    1             2007   7       0.054   122.431    4572721.6      744     523045
Montour    1             2009   3       0.054   121.922    4540397.3      744     523361
Keystone   1             2009   6       0.054   117.05    4566425.597   623.69    524741
Keystone   1             2010   10      0.055   147.988    5601051.18    739.9    634498


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Cheswick    1              2003   7       0.055   68.347      2778570.434   698.08    328214
Montour     2              2003   8       0.055   96.629      3642299.201   699.88    447330
Bruce            MS1A,
Mansfield   1    MS1B      2003   6       0.056   126.544     4563727.9      720      574675
Keystone    2              2006   5       0.056   139.477     5395247.14    735.52    623124
Keystone    1              2010   7       0.056   168.277     6034383.8      744      660722
Keystone    1              2004   6       0.057   107.733     4315921.66    569.26    477163
Bruce            MS3A,
Mansfield   3    MS3B      2005   5       0.057   150.553      5292144.7      744     641675
Keystone    1              2010   1       0.057   163.683      5895917.4      744     672754
Keystone    1              2010   4       0.057   156.169      5654026.3      720     634793
Montour     1              2009   7       0.057   137.654      4926893.1      744     521721
Montour     2              2005   7       0.057   108.57       4068449.3      744     459714
Montour     2              2010   12      0.057   128.541      4499373.4      744     555083
Keystone    1              2010   2       0.057   138.747      5008294.24    625.1    566803
Keystone    2              2010   7       0.057   122.096     4459914.556   585.14    495821
Montour     2              2004   5       0.057   111.611     4161139.228   677.44    470150
Montour     1              2009   2       0.058   117.562      4100018.2      672     477837
Cheswick    1              2003   6       0.058   94.561       3372816.3      720     357948
Montour     2              2006   5       0.058   101.767     3811081.603   664.95    452392
Montour     1              2004   6       0.058   113.071      4017715.2    709.48    458048
Keystone    2              2004   7       0.059   143.343      5028431.47   668.22    571750
Montour     2              2006   9       0.059   125.415       4259988       720     504968
Montour     1              2007   9       0.060   101.639     3644159.541    652.5    446656
Keystone    2              2009   6       0.060   119.418     4282524.051   572.84    469497
Homer
City        1              2006   9       0.061   119.361      3947780.2     720      444131
Homer
City        1              2005   7       0.061   132.522      4380951.4     744      481003
Homer
City        1              2005   8       0.062   136.908      4438118.5     744      485917
Montour     2              2004   9       0.063   129.886      4240015.3     720      500903
Homer
City        1              2006   6       0.063   126.702      3983712.7     720      451522
Keystone    1              2007   9       0.064   170.901      5345386.9     720      632436
Homer
City        2              2006   7       0.064   130.854      4056510.6     744      447616
Bruce            MS2A,
Mansfield   2    MS2B      2005   5       0.065   168.187      5207301.4     744      621467
Keystone    1              2009   10      0.065   104.135     3451199.249   456.27    391201
Bruce            MS1A,
Mansfield   1    MS1B      2012   2       0.065   142.759      4372958.3     696      491167
Montour     2              2001   5       0.066   155.928      4737194.8     744      527504
Montour     2              2003   5       0.066   115.101     3632931.472   668.53    442468
Homer
City        1              2005   9       0.066   135.781       4157677      720      466586
Montour     2              2001   8       0.066   156.025      4759565.7     744      524923
Keystone    2              2009   8       0.066   190.941      5741709.6     744      637227
Homer
City        1              2006   7       0.067   136.98       4113099.7     744      462874
Bruce            MS1A,
Mansfield   1    MS1B      2005   5       0.067   151.791     4850905.825    737.5    590200
Montour     2              2007   7       0.067   128.34      4159041.928   670.26    491905
Montour     1              2008   6       0.067   130.214      4238735.25    714.5    486000
Montour     1              2009   4       0.068   121.22      3743460.243   637.85    413289
Bruce            MS1A,
Mansfield   1    MS1B      2007   9       0.068   174.528      5161775       720      607226
Homer
City        1              2006   5       0.068   147.544      4301079.2     744      479114
Montour     2              2001   6       0.069   144.912      4199958.5     720      476719
Bruce            MS2A,
Mansfield   2    MS2B      2003   7       0.069   169.455     5092103.375   709.25    573960
Homer
City        2              2006   9       0.069   113.652     3442640.383   673.35    385976
Keystone    2              2009   4       0.069   195.181      5606989.5     720      630282
Bruce            MS1A,
Mansfield   1    MS1B      2008   7       0.069   198.379      5749920.8     744      644504


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 Bruce                MS1A,
 Mansfield    1       MS1B        2004       6        0.070        176.7      5021082.3      720         570982
 Cheswick     1                   2004       8        0.070       100.668    3254830.324    701.22       322538
 Cheswick     1                   2004       9        0.070       101.226    3133899.647    705.25       330034
 Bruce                MS1A,
 Mansfield    1       MS1B        2008       9        0.070       188.69     5396446.1       720         628014
 Montour      1                   2009       6        0.070       136.068    4090406.03     651.01       432885
 Keystone     1                   2008       5        0.070        205.1     5870815.6       744         634256


Table 2 above demonstrates this. As the shaded column records, Pennsylvania coal plants
equipped with SCR have historically achieved 30-day periods with average NOx emission rates
lower than 0.07 lbs/MMBtu; many, in fact, have emitted at even lower rates—as low as 0.04 or
even 0.03 lbs/MMBtu. Plainly, the actual experience of SCR in Pennsylvania is that, when
facilities operate the controls, very low levels of NOx emissions are the result.

        Indeed, Pennsylvania itself has recognized that coal-fired EGUs equipped with SCR are
capable of dramatic reductions in NOx. For example, in 2000, Pennsylvania DEP stated in a
public notice that operation of SCR controls at a coal-fired EGU

         [W]ill control the nitrogen oxides emissions from Unit #1 and, when operating,
         will reduce the nitrogen oxides emissions by up to 90% from the level which
         currently exists. The resultant nitrogen oxides emission rate may be as low as .04
         pounds per million BTU of heat input.14

Pennsylvania has thus long-acknowledged that SCR-equipped coal-fired facilities can achieve
very low rates of NOx emissions, without an inlet temperature-based exemption. Moreover,
DEP’s assessment of the reduction rate for the SCR controls referenced in the public notice
proved accurate: while operating its SCR, the plant in question—Montour—has achieved
extremely high rates of NOx removal, with emissions in the 0.04 lbs/MMbtu range for multiple
months in 2003, 2004, 2005, and 2008. See Table 2, supra. Accordingly, a RACT/RACM
determination of 0.07 lbs/MMbtu is well-supported by this and other Pennsylvania facilities’
actual historical experience.

        Peer states have also determined presumptive RACT limits far more protective of air
quality than EPA proposes to approve here. For example, the state of New York has set NOx
emission rates for coal-fired boilers of all sorts at a range of between 0.12 and 0.08 lbs/MMbtu.
See 6 CRR-NY 227-2.4(a)(1)(ii), (b)(1)(ii) (for “very large” and “large” coal-fired boilers,
respectively). Notably, nowhere in New York’s more protective standard is an exemption for
inlet temperatures. Id. Likewise, Connecticut’s RACT limits for EGU coal boilers, while also
0.12 lbs/MMbtu, are on a much shorter daily block average, and—like with New York—there is
no inlet temperature-based exemption. See RCSA 22a-174-22e(d)(2)(C).

        In face of this, the Proposed Approval points to a single table listing ranges of “Other
States’ NOx RACT Limits,” but does no actual analysis of the applicability of those ranges to the
Pennsylvania context. See Proposed Approval TSD at 22-23. As is clear from a review of
Appendix B to the TSD, the Proposed Approval ignores such critical distinctions as averaging

14
 June 20, 2000 Correspondence from DEP to Linda A. Boyer, PPL Electric Utilities Corporation Re: Plan
Approval Application #OP-47-0001D, at 2, attached hereto as Exhibit 1.

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periods (the 30-day averaging period in Pennsylvania’s RACT submission is far longer than the
24-hour averaging period in Delaware, for example), gives no weight to Pennsylvania’s proposed
inlet temperature exemption, and ignores Connecticut’s Phase 2 RACT regulations in favor of
the prior, less protective emission limits. As a result, the Proposed Approval presents little more
than a perfunctory conclusion that Pennsylvania’s proposed limits are “comparable,” when they
plainly are not.

        This is clear even when looking at the Proposed Approval’s other proffered support for
Pennsylvania’s coal-fired, SCR-equipped emission rates: EPA’s assessment of annualized
emission rates from SCR-equipped boilers. As EPA concedes, these units have, historically (in
2011, 2015, and 2016) achieved annual emission rates of 0.107 lbs/MMbtu. Setting aside the
fact that this supports a lower emission rate than 0.12 lbs/MMbtu, EPA’s approach is flawed for
two reasons. First, and most critically, during the 2011, 2015, and 2016 years that EPA
examined, Pennsylvania’s SCR-equipped coal boilers were not required by state or federal law
to consistently hit any particularly low NOx emission limit. As a result, these years represent
control operation that dramatically underestimates the NOx reductions Pennsylvania’s SCR
controls can actually achieve. EPA’s selection of years is somewhat odd, moreover. Looking at
annual emission rates from 2016 to 2016, there are many plants that, despite lacking any specific
low emission rate requirement, nonetheless achieved emission rates significantly lower than the
ones EPA cites. For example, Seward, Keystone, and Bruce Mansfield all achieved lower annual
NOx emission rates than the 0.107 lbs/MMbtu rate that EPA cites—indeed, in 2009, Bruce
Mansfield, plantwide, achieved an annual rate of 0.088 lbs/MMbtu, and Keystone achieved
0.074 lbs/MMbtu. Absent from the Proposed Approval is any explanation for why such data was
ignored.

Table 3: Exemplar Low Annual NOx Emission Rates from Large SCR-Equipped Pennsylvania
        Coal EGUs 15
 Facility Name                     Year       Yearly Avg. NOx Rate (lbs/MMBtu)
 Keystone                           2009                                  0.074
 Keystone                           2010                                  0.086
 Bruce Mansfield                    2009                                  0.088
 Seward                             2012                                  0.092
 Seward                             2007                                  0.096
 Seward                             2014                                  0.099
 Seward                             2013                                  0.101
 Seward                             2015                                  0.101
 Seward                             2006                                  0.102
 Seward                             2011                                  0.103

      Second, and relatedly, when well-operated, Pennsylvania’s SCR-equipped coal fleet has
demonstrated emission rates less than half of what the Proposed Approval appears to consider as
demonstrative, and significantly less than that in Pennsylvania’s RACT SIP submittal, as is
demonstrated in Table 2, supra. Indeed, numerous plants have demonstrated that they are quite

15
     Data from EPA’s Air Markets Program Data tool, available at https://ampd.epa.gov/ampd/.

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capable of hitting, for extended, 30-day periods of time, emission rates that are less than half,
less than a third, and even less than a quarter of the emission rates in the RACT limits
considered in the Proposed Approval. Id. (noting that Bruce Mansfield has historically achieved
a 30-day average of 0.055 lbs/MMbtu, Keystone has achieved 0.040 lbs./MMbtu, Cheswick has
achieved 0.032 lbs/MMbtu, and Montour has achieved 0.030 lbs/MMbtu). Notably, this is
straight, self-reported emissions data, without emissions removed when the facilities were
operating below some inlet-temperature threshold.

        Accordingly, the Proposed Approval of Pennsylvania’s 0.12 lbs/MMbtu NOx limit, with
its lengthy averaging period and inlet-temperature exceptions, is unsupported.

           B.      The Proposed Approval of Pennsylvania’s SCR Inlet Temperature Exemption is
                   Unsupported

        The Proposed Approval of 25 Pa. Code section 129.97(g)(1)(viii) lacks adequate basis,
and is contradicted by facts concerning SCR operation and inlet temperature. Accordingly,
finalizing such an approval would be arbitrary and capricious. An agency must “must examine
the relevant data and articulate a satisfactory explanation for its action including a rational
connection between the facts found and the choice made.” Motor Vehicle Mfrs. Ass’n v. State
Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). EPA’s approval is “arbitrary and capricious if
the agency has relied on factors which Congress has not intended it to consider [or] entirely
failed to consider an important aspect of the problem.” Id. Here, despite the Proposed Approval,
EPA has provided no data, relevant or otherwise, to support the inlet temperature exemption in
Pennsylvania’s SIP revision. Moreover, even adopting the premise that catalysts have minimum
operating temperature (MOTs) of 600degrees Fahrenheit, the Proposed Approval fails entirely to
consider what significance this design parameter has in the statutory RACT framework or
whether it justifies wholesale abandonment of NOx emission limits under those conditions.16

         The sub-600degrees Fahrenheit loophole is quite significant in terms of the greater
amount of NOx it allows facilities to emit. See State Farm, 463 U.S. at 43. The magnitude of the
loophole, and the degree to which Pennsylvania utilities use it to avoid controls is evident from
emissions data taken since 25 Pa. Code 129.97 came into effect at the beginning of 2017. As
illustrated in Figure 2 below, which depicts typical emissions from a coal unit subject to
Pennsylvania’s RACT regulations for SCR-equipped coal boilers (Cheswick), utilities rely on the
loophole at night when demand is low. During evenings and at night, Cheswick reduces its heat
rate by ~50% and appears to bypass its SCR system, causing NOx emission rates to more than
triple to ~0.35 lb NOx per million Btu. The jump in NOx emissions is so great that the total
amount of NOx released per hour at night is actually larger than during the day at when the plant
is operating at capacity. The flood of NOx at night pushed Cheswick’s overall emissions during
June 2017 to ~0.15 lb NOx per million Btu, 50% higher than the ~0.1 the plant achieved when
controls are operating.




16
     See Proposed Approval TSD at 21.

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Figure 2: Typical Cheswick performance, post-25 Pa. Code 129.97(g)(1)(viii).17

                     June 2017 Cheswick NOx Emission Performance




                                                                                                         Heat Rate (MMBtu)
            1.4                                                                                 7000
            1.2                                                                                 6000
 NOx Rate



              1                                                                                 5000
            0.8                                                                                 4000
            0.6                                                                                 3000
            0.4                                                                                 2000
            0.2                                                                                 1000
              0                                                                                 0




                      NOx Emission Rate (lbs./MMBtu)    NOx Emission Rate (lbs./hr)        Heat Rate


        However, in face of the dramatic increase in emission levels the loophole would allow,
EPA has provided no evidence, nor has Pennsylvania, either that a temperature-based exemption
is necessary or that 600 degrees is the correct threshold. In fact, EPA does not mention the
loophole at all in its proposed approval, and only mentions it in passing in the TSD, merely
claiming without data or support that that 600 degrees Fahrenheit is consistent with a range of
SCR operating temperatures.18 Nor does Pennsylvania provide such data or support: in response
to comments, Pennsylvania simply states that operating SCR below some temperature threshold
can cause issues, but does not discuss what that threshold should be, what those issues could be,
or how feasible remedying those issues may be.19 This is in direct contract to prior actions by
EPA, where, when considering the implications of MOTs in determining BACT, EPA
recognized that MOT varies significantly between EGU’s and required utilities to supply more
technical data to support any accommodation of this parameter.20

        Unsurprisingly, contrary to the unsupported claims of Pennsylvania accepted uncritically
in the Proposed Approval, it is simply not the case that below 600 degrees Fahrenheit SCR does
not work and irreparable fouling occurs.21 In actuality, MOT is neither a hard limit below which
catastrophe occurs, nor is a temperature as high as 600 degrees Fahrenheit a supportable MOT
for RACT purposes. Instead, MOT is significantly lower and contingent on a range of variables
that contribute to ammonium bisulfate formation, including fuel sulfur content, operational
parameters like injected ammonia and excess oxygen, water vapor concentration, and catalyst



17
   Data from EPA’s Air Markets Program Data tool, available at https://ampd.epa.gov/ampd/.
18
   See Proposed Approval TSD at 21.
19
   See Pennsylvania Department of Environmental Protection, Comment and Response Document: Additional
RACT Requirements for Major Sources of NOx and VOCs (“PADEP, Comment Response”) at 58-59, available at
https://www.regulations.gov/document?D=EPA-R03-OAR-2017-0290-0004.
20
   See Promulgation of Air Quality Implementation Plans; Arizona; Regional Haze Federal Implementation Plan;
Reconsideration, 81 Fed. Reg. 21,735 at 39/3 (Apr. 13, 2016), available at https://www.gpo.gov/fdsys/pkg/FR-
2016-04-13/pdf/2016-07911.pdf.
21
   See PADEP, Comment Response at 58-59.

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characteristics22—none of which is discussed by either Pennsylvania or the Proposed Approval.
Indeed, an actual MOT for plants is far below 600 degrees Fahrenheit, as EPA seems to
acknowledge, listing a MOT of 315 degrees Fahrenheit in this docket23 and 400 degrees
Fahrenheit in others.24 Moreover, operation of a unit below MOT for relatively short time
periods—such as running at reduced load overnight, as Cheswick and other Pennsylvania SCR-
equipped coal plants do—does not cause significant SCR-operation problems: any formation of
ammonium bisulfate is readily and almost immediately reversed by subsequently operating the
unit above the MOT, causing the ammonium bisulfate to evaporate.25

        The Proposed Approval discusses none of this, and thus improperly assumes that the
temperature loophole is consistent with RACT. In this very rulemaking proposal, even though
EPA describes a purported typical RACT analysis, it nonetheless fails to apply it the temperature
loophole. Specifically, while EPA concedes that it is required consider technical and economic
feasibility,26 controls that have been achieved by other similar sources,27 and even NOx limits in
place in other states,28 EPA does none of this concerning MOT.29 Accordingly, EPA does not
even attempt to justify inclusion of the loophole.

        Nor could it—there are simply too many reasonably available alternatives for utilities to
comply with the presumptive RACT limit without the loophole (as is clear from the fact that
other states, such as New York and Connecticut, do not include such loopholes in their RACT
regulations). The Cheswick example is instructive.

        In 2017, under Pennsylvania’s RACT regulations, Cheswick appears to have only turned
on its SCR controls once its boiler reached ~3100 MMbtu/hour.




22
   See, e.g., Jay Ratafia-Brown, Advanced NOx Control Assessment at 2-7, 2-8, prepared for U.S. Department of
Energy (March 1989) available at
https://www.netl.doe.gov/File%20Library/Research/Coal/major%20demonstrations/cctdp/Round2/00000157.pdf;
Reinhold Environmental, Ltd., Presentation at 2008 Conference of Worldwide Pollution Control Association,
Richmond, VA, at 24, available at
http://wpca.info/pdf/presentations/Richmond2008/WPCA,%20SCR%20Catalyst%20Design,%20Argillon.pdf
(explaining dependence of MOT on SO3 and water vapor).
23
   See Proposed Approval TSD at 21.
24
   See EPA, Technical Support Document for the Proposed Phase 3 Action on the Federal Implementation Plan for
the Regional Haze Program in the State of Arizona at 24 (Jan. 27, 2013), available at
https://www.regulations.gov/document?D=EPA-R09-OAR-2013-0588-0009
25
   See, e.g., EPRI, Investigation of Catalyst Deactivation from Operation Below the Minimum Operating
Temperature (abstract), Product ID:1023928(Sept. 11, 2012), available at
https://www.epri.com/#/pages/product/1023928/ .
26
   See Approval and Promulgation of Air Quality Implementation Plans; Pennsylvania; Regulatory Amendments
Addressing Reasonably Available Control Technology Requirements Under the 1997 and 2008 8-Hour Ozone
National Ambient Air Quality Standards, 83 Fed. Reg. 11,155 at 11156/3, (Mar. 14, 2018).
27
   See id. at 11,158/3.
28
   Id.
29
   See Proposed Approval TSD at 21.

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Figure 3: Cheswick NOx Emission Rate and Heat Input in 201730
                 Cheswick 2017 Hourly NOx (lb/MMBtu) Compared to Heat Input
     0.6

     0.5

     0.4

     0.3

     0.2

     0.1

      0
           0         1000          2000          3000           4000          5000             6000    7000

As Figure 3 shows, hours in which Cheswick operated in 2017 with heat inputs above 0 but
below 3100 MMbtu/hour have widely varied but generally significantly high NOx emission
rates—consistent with no control operation. It is above 3100 MMbtu/hour that Cheswick
appears to use its SCR, resulting in the strong clustering of data around 0.10 as a NOx emission
rate. However, during prior years, Cheswick demonstrated that it is quite able to use its SCR
very effectively at much lower heat inputs.

Figure 4: Cheswick NOx Emission Rate and Heat Input in 2003-2005 Ozone Season31

               Cheswick 2003-2005 Ozone Seaon Hourly NOx (lb/MMBtu)
                              Compared to Heat Input
     0.6


     0.5


     0.4


     0.3


     0.2


     0.1


      0
           0         1000          2000          3000           4000          5000             6000    7000



30
     Data from EPA’s Air Markets Program Data tool, available at https://ampd.epa.gov/ampd/.
31
     Data from EPA’s Air Markets Program Data tool, available at https://ampd.epa.gov/ampd/.

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        As Figure 4 makes plain, in prior years, Cheswick’s emissions data shows the clustering
of low-NOx emission rates, consistent with SCR-operation, beginning at ~2400 MMbtu/hour,
roughly 700 MMbtu/hour lower than under Pennsylvania’s ozone RACT regulations. Cheswick
operated this way long-term, without apparent control issues. Accordingly, operating under the
assumption that Cheswick’s 2017 operation is informed by the 600-degree MOT in the RACT
regulations, and that the heat input of the boiler is a rough proxy for inlet temperature, it is
evident that Cheswick is quite capable of utilizing its SCR at temperatures much, much lower
than 600 degrees. The situation is similar for other Pennsylvania SCR-equipped coal plants.

         This is true because there are numerous ways plant operators can achieve low NOx
emission rates despite variable inlet temperature conditions. For example, here are controls and
operation adjustments capable of elevating the inlet temperatures such as bypassing or reducing
heat outtake of the economizer, allowing a greater SCR operation range, and a concomitant
reduction in emissions.32 Likewise, periodic operation of controls below MOT, such as during
nighttime low-load periods at Cheswick, is also technically feasible: as noted above, it is well-
established that any ammonium bisulfate accumulation is readily reversible.33 Finally, a 30-day
average presumptive RACT limit of 0.12 lb NOx per million Btu—which Pennsylvania
repeatedly acknowledges is higher than the lowest achievable emissions reductions from SCR—
itself is more than enough to accommodate occasional lapses of control operation.

       At bare minimum it is technically and economically feasible to lower the temperature
threshold for the loophole to a level closer to the idle temperature for the unit, removing the
economic incentive to park just outside the threshold for controls and reducing the impact of
such behavior. As currently structured, the loophole perversely incentivizes higher hourly NOx
emissions at night and profitable circumvention of controls. As such, EPA should not approve
Pennsylvania’s proposed inlet temperature loophole as part of its RACT SIP revision.

        C.       Because the RACT SIP Proposal Fails to Require Reporting of Inlet Temperature,
                 It is Nearly Impossible for the Public—Or Regulators—to Assess Compliance

         Compounding the problems identified above, the RACT SIP Proposal considered in the
Proposed Approval does not actually require SCR-equipped coal plant operators to report exactly
what their continuous SCR inlet temperatures are, thus rendering it extremely difficult for
stakeholders to know whether or not such plants are complying with the RACT regulations.
Hiding this information from regulators and the public would render 25 Pa. Code section
129.97(g)(1)(viii) effectively unenforceable, meaning it is a violation of the Clean Air Act’s
requirements for nonattainment plans for EPA to approve it. Emission limitations issued in
compliance with section 172 of the act must be enforceable. See 42 U.S.C. § 7502(c)(6); Ass’n
of Irritated Residents v. United States EPA, 686 F.3d 668, 677-78 (9th Cir. 2012) (finding EPA
approval of an unenforceable/discretionary SIP element arbitrary and capricious). When
compliance cannot be assessed, a provision cannot be enforced.


32
   See, e.g., EPRI, Summary of Selective Catalytic Reduction System Operational Issues at Low Load at § 2 and 3,
Product Id: 1021208 (Nov. 2010) (explaining strategies for maintaining SCR minimum temperature and operating
below minimum temperature) available at https://www.epri.com/#/pages/product/1021208/.
33
   Id.

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        Under the inlet temperature loophole in 129.97(g)(1)(viii), SCR-equipped coal plants
only required to achieve compliance with the 0.12 lbs /MMbtu emission limit when SCR inlet
temperature—data known only to the utility—is above 600degrees Farenheit. While this is
likely the case when a large unit is running at full capacity, there is no straightforward way for
members of the public to know whether an EGU has simply switched off its controls at 610 or
620 or 700 or 800º F instead, absent an inlet temperature reporting requirement. This lack of a
reporting requirement renders calculating the 30-day running average the RACT regulation uses
to determine compliance exceedingly difficult. This violates the Clean Air Act’s requirement
that required elements of SIPs, such as RACT, be enforceable. See 42 U.S.C. § 7502(c)(6).

        As such, EPA should not approve the inlet temperature loophole in the RACT SIP
revision.

Conclusion

        For the foregoing reasons EPA should partially disapprove the RACT SIP submittal, and
instead issue a FIP correcting these problems and imposing a 0.07 lbs/MMbtu NOx emission
limit for SCR-equipped coal-fired boilers, without an inlet temperature exemption.


       /s/
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                  Exhibit 1




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